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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


 PAR PHARMACEUTICAL, INC., PAR
 STERILE PRODUCTS, LLC and ENDO                   C.A. No. 18-cv-2032-CFC-CJB
 PAR INNOVATION COMPANY, LLC,                     (Consolidated)

                    Plaintiffs,
       v.

 AMNEAL PHARMACEUTICALS OF
 NEW YORK, LLC, et al.


                    Defendants.


            AMENDED JOINT [PROPOSED] PRETRIAL ORDER
      This matter comes before the Court at a final pretrial conference held

pursuant to Rule 16 of the Federal Rules of Civil Procedure. Plaintiffs Par

Pharmaceutical, Inc., Par Sterile Products, LLC, and Endo Par Innovation

Company, LLC (collectively “Plaintiffs” or “Par”) and Defendants Amneal EU,

Limited, Amneal Pharmaceuticals of New York LLC, Amneal Biosciences LLC,

and Amneal Pharmaceutical Pvt. Ltd.’s (“Defendants” or “Amneal”), by their

undersigned counsel, collectively submit this proposed Joint Pretrial Order

pursuant to D. Del. L.R. 16.3. The parties attempted in good faith to reach

consensus on the following issues. To the extent the parties had differing



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positions, each parties’ respective proposal is explained for the Court’s

consideration. A Pretrial Conference was held on January 5, 2021, but the trial

scheduled for January 11, 2021 was postponed. Trial was rescheduled for

February 1, 2021 before being further postponed until July 7, 2021. On June 9,

2021, the Court severed the infringement portion of the case and ordered that the

July 7, 2021 trial proceed only with respect to Amneal’s invalidity and

unenforceability defenses. Accordingly, the issues in this case relating to

Amneal’s allegations that the Asserted Claims are invalid and unenforceable,

which are described in the following Exhibit sections:

     Exhibit 3, Sections I, II, IV-VIII;

     Exhibit 5, Substantive Issues of Law Remaining to be Litigated Sections I,

       III-V; Legal Authority Sections I, II, IV-VI; and

     Exhibit 14, Sections I, III-V1,

are to be tried along with Par Pharmaceutical, Inc., et al. v. Eagle

Pharmaceuticals, Inc., C.A. No. 18-cv-823-CFC (the “Eagle Action”).2 The issues


1
 While Amneal’s exhibits to this Amended Pre-trial Order may at times address
both infringement and invalidity issues, for purposes of this Amended Pretrial
Order, Amneal relies on its disclosures with respect to invalidity issues. Amneal
reserves the right to amend any amended or supplemental pretrial order filed with
respect to alleged infringement issues.
2
 Amneal intends to rely on the evidence presented by Eagle’s expert witnesses
with respect to issues regarding invalidity and unenforceability.


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in this case relating to Par’s allegations that Amneal infringes the Asserted Claims

will be tried at a later date.3 In addition to the revisions to the body of the Pretrial

Order below, amended versions of Exhibits 1, 2, 4, 7, 9, and 13 are submitted

herewith.

I.    NATURE OF THE CASE AND PLEADINGS

      A.     Nature of the Action
      1.     This is a Hatch-Waxman patent infringement action in which Par

asserts that Amneal has infringed and will infringe U.S. Patent Nos. 9,744,209

(“the ’209 patent”) and 9,750,785 (“the ’785 patent”) (collectively, the “Asserted

Patents”). These actions arise under the Patent Laws of the United States, 35

U.S.C. § 100, et seq. The accused products are described in two Abbreviated New

Drug Applications (“ANDAs”) Nos. 212944 and 212945, filed under 21 U.S.C.

§ 355(j) seeking approval from the United States Food and Drug Administration

(“FDA”) to engage in the commercial manufacture, use, and sale of two proposed

generic Vasopressin Injection USP products. Amneal’s ANDA No. 212944 seeks

FDA approval to engage in the commercial manufacture, use, and sale of a

proposed generic Vasopressin Injection USP, 20 units/1 mL (1 mL) product (the


3
  This Amended Pretrial Order will be subject to further amendments prior to any
such trial addressing Amneal’s alleged infringement of the Asserted Claims.
[Amneal’s proposal]: Should the Eagle Action resolve before the issues of
invalidity and unenforceability of the Asserted Claims are tried, Amneal reserves
the right to further amend this Amended Pretrial Order.


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“SDV ANDA”). Amneal’s ANDA No. 212945 seeks FDA approval to engage in

the commercial manufacture, use and sale of a proposed Vasopressin Injection

USP, 20 units/1mL (10 mL product) (the “MDV ANDA” and, collectively with the

SDV ANDA, “Amneal’s ANDAs”). Par asserts that Amneal infringes claims 1-2

and 4-8 of the ’209 patent and claims 1, 5, and 8 of the ’785 patent (the “Asserted

Claims”). Amneal asserts that it does not infringe any of the Asserted Claims and

that the Asserted Claims are invalid and unenforceable.

      2.     The operative pleadings are Par’s Complaint (D.I. 1), Amneal’s

Amended Answer, Defenses, and Counterclaims (D.I. 145), and Par’s Answer to

Amneal’s Amended Counterclaims (D.I. 183).

      3.     The Court issued an Order on claim construction on May 11, 2020

(D.I. 105). The Court also entered an Order on claim construction on July 22,

2020 (D.I. 179, so ordered on July 22, 2020).

II.   JURISDICTION
      4.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a), 21 U.S.C. § 355(j)(5)(C), and 28

U.S.C. §§ 2201 and 2202. Venue is proper in this district pursuant to 28 U.S.C. §§

1391(b) and 1400(b), and 21 U.S.C. § 355(j)(5)(C)(i)(II). Jurisdiction and venue

are not disputed.




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III.   STATEMENT OF ADMITTED FACTS
       5.    The parties stipulate to the facts listed in the attached Exhibit 1.

These proposed stipulated facts require no proof at trial and will become part of the

evidentiary record in this case.

IV.    STATEMENTS OF CONTESTED ISSUES OF FACT
       6.    Plaintiffs’ statement of contested issues of fact is attached as

Exhibit 2.

       7.    Defendants’ statement of contested issues of fact is attached as

Exhibit 3.

V.     STATEMENTS OF CONTESTED ISSUES OF LAW
       8.    Plaintiffs’ statement of contested issues of law is attached as

Exhibit 4.

       9.    Defendants’ statement of contested issues of law is attached as

Exhibit 5.

VI.    EXHIBITS

       A.    Exhibit Lists
       10.   The parties’ joint list of exhibits is attached as Exhibit 6.

       11.   Plaintiffs’ list of exhibits and Defendants’ objections thereto is

attached as Exhibit 7.

       12.   Defendants’ list of exhibits and Plaintiffs’ objections thereto is

attached as Exhibit 8.


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         13.   Subject to the remaining provisions of this Order, no party may add to

its exhibit list or use at trial an exhibit not present on its list absent good cause.

Each party reserves the right to offer exhibits from any other party’s trial exhibit

list, even if not separately listed on its own exhibit list. The demonstrative exhibits

the parties intend to use at trial do not need to be included on their respective

exhibit lists. The parties also agree that any description of a document on an

exhibit list is provided for convenience only and shall not be used as an admission

or otherwise as evidence regarding the document.

         14.   Exhibits to be used solely for impeachment need not be included on

the lists of trial exhibits or disclosed in advance of being used at trial. Such

exhibits used solely for impeachment and not included on an exhibit list may not

be admitted into evidence.

         15.   Statements from any request for admission responses, interrogatory

responses, or pleadings may be read at trial and need not be included on the exhibit

lists.

         B.    Demonstratives and Summary Exhibits
         16.   Notwithstanding any contrary provisions in this Order, the parties will

disclose and exchange copies of demonstrative and summary exhibits in

accordance with the following procedure.

         17.   Plaintiffs’ demonstratives will be identified with PDX numbers.



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        18.    Defendants’ demonstratives will be identified with DDX numbers.

        19.    The parties shall exchange complete color representations of all

demonstrative exhibits, excluding those for opening and closing statements, no

later than 7:00 p.m. the night before they will be used in Court and any objections

thereto will be lodged by 9:00 p.m. that same night.4 The parties shall meet and

confer at 10:00 p.m. that night to resolve the objections.

        20.    By no later than 5:00 p.m. on the calendar day before the opening

statements, the Parties shall exchange color copies of demonstrative exhibits that

they intend to use in their respective opening statements. By no later than 7:00

p.m. that same day, any objections to the demonstrative exhibits shall be lodged.

By no later than 8:00 p.m. that same day, the parties shall meet and confer to

resolve any objections, which if necessary will be raised with the Court the

following morning.

        21.    The party seeking to use a demonstrative will provide a color

representation of the demonstrative to the other side in PDF form. However, for

video or animations, the party seeking to use the demonstrative will provide it to

the other side via DVD, CD, flash drive, email, or secure FTP or Box website. For

irregularly sized physical exhibits, the party seeking to use the demonstrative will



4
    All times set forth herein refer to Eastern Daylight Time (EDT).


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provide a color representation as a PDF or 8.5 x 11 copies of the exhibits, in

addition to making them available for inspection.

      22.    The provisions in this section do not apply to demonstratives created

during testimony or argument at trial or to demonstratives to be used for cross

examination, neither of which need to be provided to the other side in advance of

their use. In addition, ballooning, blow-ups, excerpting, or highlighting of exhibits

or parts of exhibits or testimony are not required to be provided to the other side in

advance of their use.

      23.    If good faith efforts to resolve objections to demonstrative or physical

exhibits fail, the objecting party shall raise its objections with the Court prior to

their anticipated use.

      24.    Any exhibit identified on a party’s exhibit list and not objected to is

deemed to be authentic and admissible and may be entered into evidence by the

party, except that nothing herein shall be construed as a stipulation or admission

that the document is entitled to any weight in deciding the merits of this case.

      25.    The parties stipulate to the authenticity of the documents listed in the

attached exhibit lists unless such objections are specifically and expressly

preserved therein. The parties further agree that they will not dispute the

authenticity of any document that was produced during discovery, which on its

face appears to have been authored by an employee, officer or agent of the



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producing party in the ordinary course of business, and that such documents shall

be deemed prima facie authentic, subject to the right of the party against whom

such a document is offered to adduce evidence to the contrary or to require the

offering party to provide authenticating evidence if the opposing party has a

reasonable basis to believe the document is not authentic and subject to any

contrary determination or ruling by the Court.

      26.    Complete legible copies of documents may be offered and received in

evidence to the same extent as an original unless a genuine question is raised as to

the authenticity of the original, or in the circumstances it would be unfair to admit

the copy in lieu of the original. Legible copies of United States patents may be

offered and received in evidence in lieu of certified copies thereof, subject to all

other objections that might be made to the admissibility of certified copies.

VII. WITNESSES & EXHIBIT DISCLOSURE PROCEDURE

      A.     Live Witnesses & Exhibits
      27.    Plaintiffs’ list of the names of the fact and expert witnesses that they

intend to call at trial is attached as Exhibit 9.

      28.    Defendants’ list of the names of the fact and expert witnesses that they

intend to call at trial is attached as Exhibit 10.

      29.    Any witness not listed in the exhibits referenced above will be

precluded from testifying absent good cause shown, except that each party reserves



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 the right to call such rebuttal witnesses (who are not presently identifiable) as may

 be necessary. Defendants shall identify any such un-listed rebuttal witnesses that

 they intend to call no later than the close of Plaintiffs’ case-in-chief. Plaintiffs

 shall identify any such un-listed rebuttal witnesses that they intend to call no later

 than the close of Defendants’ rebuttal. Subject to the notice requirements adopted

 by the Court, the listing of a witness on a party’s pre-trial witness list does not

 require that party to call that witness to testify, and does not necessarily mean that

 the listing party has the power to compel the live testimony of that witness.

       30.    For those depositions that have been videotaped, to the extent

 admissible, a party may introduce the deposition excerpt by videotape instead of,

 or in addition to, by transcript. If a party opts to introduce deposition testimony by

 videotape, any counter-designations of that same witness’s deposition testimony

 must also be submitted by videotape.

       31.    When deposition designation excerpts are introduced, all admissible

 deposition counter-designation excerpts, whether offered by videotape or by

 transcript, will be introduced simultaneously in the sequence in which the

 testimony was originally given. To the extent such designations are read or played

 in open court, each party will be charged for the time taken to read or play its

 designations. If the parties cannot agree on an appropriate time apportionment for

 the designations, each party will be charged for the proportion of lines of testimony



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 for its designations to the total number of lines of testimony read or played. The

 parties agree to edit out deposition objections and long pauses between the end of

 an answer and the start of the next question from the clips of the deposition

 designations to be played to the Court, and further agree to meet and confer

 regarding any designated colloquy, i.e., between counsel.

       32.    Each side will provide to the other side the name of any witness that it

 intends to call to testify, whether live or by deposition testimony, the exhibits to be

 introduced through each such witness, and the order of presentation of those

 witnesses, by no later than 7:00 p.m. two days before the day the witness is

 expected to testify. Thereafter, each side shall update its expected witnesses at the

 end of each trial day by 7:00 p.m. If later events cause the need to remove a

 witness from a party’s witness list, the parties agree to notify the other side as soon

 as possible. Objections to the identified exhibits to be introduced on direct

 examination shall be provided by 7:00 p.m. the following evening. The parties

 shall meet-and-confer by 10:00 p.m. the same day regarding any objections to the

 identified exhibits. Thus, for example, the parties will provide notice of what

 witness they intend to call live and the exhibits they will use on direct examination

 on a Monday by the previous Saturday at 7:00 p.m. and objections thereto shall be

 provided by 7:00 p.m. Sunday, with a meet-and-confer to occur as necessary by

 10:00 p.m. Sunday. Any disputes or objections that cannot be resolved shall be



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 raised with the Court before calling such witnesses or using any such exhibits

 during examination of the witness.

       33.    The parties agree that this provision does not require the disclosure of

 exhibits to be used for cross examination or redirect examination.

       34.    The parties have met and conferred to develop protocols for the

 remote examination of Dr. Winter.

       35.    For a witness who is to testify out of order or has limitations or

 requirements with regard to timing or availability, the sponsoring party must, if

 possible, raise these issues no later than two calendar days prior to the day said

 witness is to testify in order for the Court to have sufficient time to resolve any

 issues, as necessary. The parties agree to be reasonable and cooperate in permitting

 witnesses to testify out of order due to scheduling issues outside of the witness’ or

 parties’ controls.

       36.    The parties understand that Defendants’ expert witness, Gerhard

 Winter, Ph.D. will be testifying remotely from Belgium. In order to account for

 the difference in time zone and allow Dr. Winter to testify at a reasonable local

 time, the parties agree that Defendants may amend the order of presentation of

 Defendants’ rebuttal cases, so long as the disclosures under this section are

 otherwise timely made, including the advance notice required by Paragraph 36.




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       37.    The parties will meet and confer on specific procedures to ensure that

 binders can be printed and delivered to Dr. Winter, or otherwise agree to use

 electronic documents. The boxes or other packages containing the cross-

 examination exhibits will be sealed and shall remain sealed until Opposing

 Counsel instructs the witness and Examining Counsel to open them during the trial

 on camera.

       B.     Deposition Designations
       38.    Plaintiffs’ list of deposition designations, Defendants’ objections to

 Plaintiffs’ designations, Defendants’ counter-designations, and Plaintiffs’

 objections to such counter-designations are attached as Exhibit 11.

       39.    Defendants’ list of deposition designations, Plaintiffs’ objections to

 Defendants’ designations, Plaintiffs’ counter-designations, and Defendants’

 objections to such counter-designations are attached as Exhibit 12.

       40.    Absent good cause shown, no deposition testimony not previously

 designated pursuant to this Order may be later added for these witnesses.

       41.    The deposition testimony taken by defendants in both Par

 Pharmaceutical, Inc. et al. v. Eagle Pharmaceuticals Inc., C.A. No. 18-cv-823-

 CFC (D. Del.) and Par Pharmaceutical, Inc. et al. v. Sandoz Inc., 18-cv-14895-

 BRM-DEA (D.N.J.) may be used as if taken in this case.




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       42.    With respect to those witnesses who will be called to testify at trial

 (designated in the Pretrial Order as “will call”), no deposition designations or

 counter-designations are required. A party shall promptly provide notice if for any

 reason it does not intend to call live a witness who is so identified on the list of

 trial witnesses. To the extent a party gives notice that a fact witness identified as a

 live witness on the list of trial witnesses is not going to be called live, the opposing

 party may designate specific pages and lines of transcript that it intends to read or

 play in lieu of the witness’s appearance at least 72 hours prior to introducing the

 deposition testimony.

       43.    Each party reserves the right to offer testimony designated by any

 other party (whether as a designation or counter-designation), even if not

 separately listed on its own deposition designation list.

       44.    The parties may offer some or all of the deposition testimony set forth

 herein at trial. A party’s decision not to introduce some or all of the testimony of a

 witness designated by that party herein shall not be commented upon by the other

 party at trial. However, for those witnesses to be presented via deposition

 testimony, the parties agree that the proffering party will provide the initial

 deposition designations (by page and line number) that are actually intended to be

 played or read at trial, or a disclosure that all pages and lines previously designated

 will be played by 6:30 p.m. three days prior to the day that testimony will be



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 offered. By 6:30 p.m. the following day (two days prior to the day that the

 testimony will be offered), the other party will provide the specific pages and lines

 it counter-designates and any objections. By 8:30 p.m. the same day, the

 proffering party will provide objections. The parties shall meet-and-confer by

 10:00 p.m. the same day regarding any objections to the deposition

 designations. If the objections to the disputed testimony cannot be resolved by the

 parties, the objections will be presented to the Court as appropriate before trial

 resumes on the day the testimony is expected to be introduced. By 6:30 p.m. the

 day before the witness will be offered by videotaped deposition, the offering party

 will provide to all parties the transcript clip and a copy of the video containing the

 designations from all parties for that witness.

       45.    For rebuttal deposition testimony where compliance with the three-

 day deadline in the preceding paragraph is impracticable, such deadline shall not

 apply, and the parties will act in good faith to designate rebuttal testimony in time

 to allow for counter-designations, and any objections, and the parties will meet and

 confer to resolve the objections and to give the introducing party time to prepare

 any necessary video/DVD of the testimony. [Amneal’s proposal: Further, if any

 non-rebuttal witness that a party intended to call live unexpectedly becomes

 unavailable through no fault of that party such that compliance with the three-day

 deadline in the preceding paragraph becomes impracticable, the parties agree to



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 cooperate in good faith to allow for deposition designations, counter-designations,

 and any objections thereto for such witness to be made, and the parties will meet

 and confer to resolve the objections and to give the introducing party time to

 prepare any necessary video/DVD of the testimony.]

       46.    Copies of exhibits referred to during the introduction of deposition

 testimony will be offered into the trial evidence record to the extent admissible.

 Where a video recording of a deposition is available, the offering party shall play

 portions of the video containing the designated testimony at trial. Where a video

 recording of the deposition is not available, the offering party shall read the

 designated testimony into the record at trial. Whether introduced via video

 recording or read into the record, deposition testimony shall count toward the

 offering party’s total allotted time in Court. The parties shall provide the Court

 with a stipulated record of the total time allocated to each party’s designations.

       47.    Any deposition testimony may be used at trial for the purpose of

 impeachment, regardless of whether a party specifically identified that testimony

 on its list of deposition designations, if the testimony is otherwise competent for

 such purpose.

 VIII. BRIEF STATEMENT OF WHAT PLAINTIFFS INTEND TO PROVE
       48.    A brief statement of what Plaintiffs intend to prove in support of

 Plaintiffs’ claims is attached as Exhibit 13.



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 IX.   BRIEF STATEMENT OF WHAT DEFENDANTS INTEND TO
       PROVE
       49.    A brief statement of what Defendants intend to prove as defenses is

 attached as Exhibit 14.

 X.    AMENDMENTS TO PLEADINGS
       50.    The parties do not seek to amend the pleadings.

 XI.   MOTIONS IN LIMINE
       51.    The parties have agreed not to submit motions in limine. The parties

 reserve all rights to make objections to exhibits and to fact and expert testimony

 during the course of trial.

 XII. CERTIFICATION REGARDING SETTLEMENT
       52.    The parties certify that they have engaged in a good-faith effort to

 explore the resolution of the controversy by settlement. The parties have been

 unable to reach agreement.

 XIII. OTHER MATTERS
       53.    The Court has entered a Stipulated Protective Order to safeguard the

 confidentiality of certain of the parties’ business and technical information, as well

 as that of third parties. All outside counsel shall handle such protected information

 in accordance with the terms of the Protective Order and shall not disclose such

 Confidential Information to persons not authorized to view such information under

 the terms of the Protective Order. Nonetheless, the presentation of evidence at trial



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 shall take place in open court, unless a party specifically requests, and the Court

 agrees, that the Court be closed to the public during presentation of certain portions

 of the evidence.

       54.    Corporate Representatives: Each party may have up to three

 corporate representatives (total) attend the entire July 7, 2021 trial, including any

 closed portions. The parties have agreed that corporate representatives attending

 the trial need not have been listed in the Protective Order. However, if a corporate

 representative is not listed in the Protective Order, that representative may not have

 access to the other party’s confidential information except for that presented at

 trial. The corporate representatives must agree to maintain in confidence the

 confidential information of the opposing party and all third parties that is presented

 during any closed portion of the trial, and to use such information only in

 connection with this litigation and not for any other purpose, including competitive

 decision making, communications with FDA, and/or patent applications or

 prosecution relating to any products. Fact witnesses other than corporate

 representatives shall not be present in the courtroom during the presentation of

 evidence or arguments until they are called to testify. Expert witnesses and outside

 counsel may be present in the courtroom at any time during trial.

       55.    Subject to the approval of the Court, the parties propose the following

 order for the July 7, 2021 trial:



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       Plaintiffs then Defendants shall present their opening statements. Plaintiffs

       will then present their case-in-chief on infringement against Eagle. Eagle

       will present its rebuttal case on infringement, and Defendants will present

       their case-in-chief on invalidity and unenforceability. Plaintiffs will then

       present their rebuttal case on validity and enforceability.

       56.    [Par Proposal:] In the event the trial proceeds as a consolidated trial,

 Par will not object to Eagle and Amneal presenting consolidated invalidity and

 unenforceability arguments at trial, provided that Par shall be permitted to present

 consolidated rebuttals thereto and that each expert will be permitted to testify only

 about opinions and evidence that are within the scope of his/her report(s). The

 parties shall be permitted to rely on any testimony and evidence presented at trial,

 even if, for example, it is testimony from an expert whose opinions were disclosed

 in the other case.

       [Amneal Proposal:] Par will not object to Eagle and Amneal presenting

 consolidated invalidity and unenforceability arguments at trial. Par will also not

 object to Amneal and/or Eagle relying on testimony and evidence presented by

 experts who disclosed opinions in Par’s case against the other defendant.

       57.    Plaintiffs and Amneal have entered into the following agreements for

 the purposes of this case:




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                  a.




       58.   [Par Proposal]: Given the overlap in opinions expressed by

 Defendants’ respective experts regarding issues of invalidity and unenforceability,

 and Defendants’ representations that they did not intend to present duplicative

 expert testimony, Par requests that the Defendants disclose specific information

 concerning what topics will be addressed by which expert. [Amneal Proposal]:

 Defendants have already disclosed to Par the topics that each expert witness is

 expected to address at trial in e-mail communications dated January 8, 2021 and

 June 23, 2021.




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       59.     [Par Proposal]: Par respectfully requests a modification to the post-

 trial briefing schedule as follows:

  Event                      Current Due Date        Proposed Modified Due
                                                     Date
  Opening Post-Trial         July 19, 2021           July 29, 2021
  Briefs
  Responsive Post-Trial      July 26, 2021           August 13, 2021
  Briefs


 XIIV. ORDER CONTROLS

       60.    This order shall control the subsequent course of the action with

 respect to the trial scheduled to commence on July 7, 2021, unless modified by the

 Court to prevent manifest injustice.

 Respectfully submitted,




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 DATED: June 25, 2021                    FARNAN LLP

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 SO ORDERED this ___ day of _______________________, 2021


 The Honorable Colm F. Connolly
 Judge, U.S. District Court for the District of Delaware




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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE



PAR PHARMACEUTICAL, INC., PAR
STERILE PRODUCTS, LLC and ENDO               C.A. No. 18-cv-2032-CFC-CJB
PAR INNOVATION COMPANY, LLC,                 (Consolidated)

                  Plaintiffs,
      v.

AMNEAL PHARMACEUTICALS OF
NEW YORK, LLC, et al.


                  Defendants.


                   STATEMENT OF THE FACTS
           WHICH ARE ADMITTED AND REQUIRE NO PROOF
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 I.    THE PARTIES

       1.     Plaintiff Par Pharmaceutical, Inc. (“Par Pharmaceutical”) is a

 corporation organized and existing under the laws of the State of New York, having

 a principal place of business at 1 Ram Ridge Road, Chestnut Ridge, New York

 10977. Par Pharmaceutical develops, manufactures, and markets pharmaceutical

 products in the United States.

       2.     Plaintiff Par Sterile Products, LLC (“Par Sterile Products”) is a limited

 liability company organized and existing under the laws of Delaware, having its

 principal place of business at 1 Ram Ridge Road, Chestnut Ridge, New York

 10977. Par Sterile Products develops, manufactures, and markets injectable

 pharmaceutical products, and provides manufacturing services to the

 biopharmaceutical and pharmaceutical industry.

       3.     Plaintiff Endo Par Innovation Company (“EPIC”) is a limited liability

 company organized and existing under the laws of Delaware, having its principal

 place of business at 1 Ram Ridge Road, Chestnut Ridge, New York 10977.

       4.     Plaintiffs Par Pharmaceutical, Par Sterile Products, and EPIC are

 referred to collectively as “Par.”

       5.     Defendant Amneal EU, Limited (“Amneal EU”) is a limited liability

 company organized and existing under the laws of the Switzerland, having its

 principal place of business at Turmstrasse 30 6312, Steinhausen, Switzerland.



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 Amneal EU develops, manufactures, markets and distributes pharmaceutical

 products, including injectable pharmaceutical products, for sale in the State of

 Delaware and throughout the United States.

       6.     Defendant Amneal Pharmaceuticals of New York, LLC (“Amneal

 New York”) is a limited liability company organized and existing under the laws of

 the State of Delaware having its principal place of business at 50 Horseblock Road,

 Brookhaven, New York 11719. Amneal New York develops, produces, and

 distributes pharmaceutical products, including injectable pharmaceutical products,

 for sale in the State of Delaware and throughout the United States.

       7.     Defendant Amneal Biosciences, LLC (“Amneal Biosciences”) is a

 limited liability company organized and existing under the laws of the State of

 Delaware having its principal place of business at 400 Crossing Boulevard, Floor

 3, Bridgewater, New Jersey 08807. Amneal Biosciences distributes

 pharmaceutical products, including injectable pharmaceutical products, for sale in

 the State of Delaware and throughout the United States.

       8.     Defendant Amneal Pharmaceutical PVT. LTD. (“Amneal India”) is a

 limited liability company organized and existing under the laws of the India having

 a principal place of business at Plot No. 15, PHARMEZ Special Economic Zone,

 Sarkhej-Bavia N.H., No. 8A, Vil.: Matoda, Tal.:Sanand, Ahmedabad, Gujarat,




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 382213, India. Amneal India manufactures, packages, tests, and ships

 pharmaceutical products to the United States.

       9.     Collectively, Defendants Amneal EU, Amneal Pharma NY, Amneal

 Biosciences, and Amneal PVT are referred to collectively as “Amneal.”

 II.   TECHNOLOGY BACKGROUND

       10.    Vasopressin is a peptide drug that causes contraction of vascular and

 other smooth muscle cells.

       11.    FDA reviews ANDAs submitted by industry sponsors seeking

 marketing authorization to manufacture and sell generic drug products in the

 United States as part of the process to approve a generic drug product.

       12.    FDA requires stability testing before drug product approval. Stability

 testing is used to evaluate the appropriate shelf-life for a new product. It is

 conducted on (among other things) samples of the final packaged proposed

 pharmaceutical product. The samples are either stored under the label-specified

 storage conditions or under harsher conditions. Samples are withdrawn

 periodically and tested for, among other things, the amount of the active ingredient,

 the pH, and/or the presence of impurities. The results may be used to set the

 storage conditions and the product specifications, which include pH, active

 ingredient assay, and impurities.




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        13.   Typically, drug companies place the first three batches of any new

 product on long-term stability testing. After approval, the FDA requires drug

 companies to place samples from at least one commercial batch on stability testing

 each year. Any failure to meet specifications during stability testing requires

 investigation.

 III.   PAR’S VASOSTRICT® PRODUCTS

        A.    Original VASOSTRICT®

        14.   On September 25, 2012, JHP Pharmaceuticals, LLC submitted NDA

 No. 204485 under Section 505(b)(2) of the Federal Food, Drug, and Cosmetic Act,

 seeking approval from the United States Food and Drug Administration (“FDA”)

 for a vasopressin injection product to increase blood pressure in adults with

 vasodilatory shock.

        15.   On February 20, 2014, Par Pharmaceutical Companies, Inc. acquired

 JHP Pharmaceuticals, LLC. On February 26, 2014, JHP Pharmaceuticals, LLC

 changed its name to Par Sterile Products, LLC.

        16.   On April 17, 2014, FDA approved NDA No. 204485. The trade name

 for the approved vasopressin product was VASOSTRICT®.

        17.   The parties refer to the formulation as described in NDA 204485,

 NDA 204485/S-001, and NDA 204485/S-002 and approved on April 17, 2014,

 September 18, 2014, and May 7, 2015 as “Original VASOSTRICT.”



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         18.   Original VASOSTRICT was first sold and offered for sale in

 November 2014, with the approved September 2014 label. That label (DTX-1044

 at AMPHPA0006831-832) discloses that the 1 mL solution of Original

 VASOSTRICT “contains vasopressin 20 units/mL, chlorobutanol, NF 0.5% as a

 preservative, and Water for Injection, USP adjusted with acetic acid to pH 3.4 –

 3.6.”

         19.   Original VASOSTRICT was indicated to increase blood pressure in

 adults with vasodilatory shock (e.g., post-cardiotomy or sepsis) who remain

 hypotensive despite fluids and catecholamines.

         B.    Reformulated VASOSTRICT®

         20.   Subsequently, Par Sterile Products filed a further supplement to its

 NDA (204485/S-003) seeking approval for a new 1 mL formulation of

 VASOSTRICT. Changes to the formulation of VASOSTRICT in this supplement

 included addition of a sodium acetate buffer and change in pH―from 3.4 to 3.6 in

 Original VASOSTRICT to 3.8 in Reformulated VASOSTRICT. On March 18,

 2016, FDA approved NDA 204485/S-003.

         21.   Thereafter, Par Sterile Products filed an additional supplement to its

 NDA (204485/S-004) seeking approval for a 10 mL multi-dose formulation of

 VASOSTRICT with the same concentration of vasopressin as the 1 mL formulation




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 (i.e., 20 units of vasopressin/mL). On December 17, 2016, FDA approved NDA

 204485/S-004.

       22.    The parties refer to the current formulation of VASOSTRICT—first

 approved on March 18, 2016 (1 mL presentation) and December 17, 2016 (10 mL

 presentation)—as “Reformulated VASOSTRICT.”

       23.    The approved label for Reformulated VASOSTRICT (PTX-469 at

 PAR-VASO_0014615-616) discloses that it “is a sterile, aqueous solution of

 synthetic arginine vasopressin for intravenous administration. The 1 mL solution

 contains vasopressin 20 units/mL, Water for Injection, USP and, sodium acetate

 buffer adjusted to a pH of 3.8.”

       24.    Reformulated VASOSTRICT is indicated to increase blood pressure in

 adults with vasodilatory shock (e.g., post-cardiotomy or sepsis) who remain

 hypotensive despite fluids and catecholamines.

       25.    Par first sold Reformulated VASOSTRICT in September 2016.

       26.    Par Sterile Products is the holder of NDA No. 204485 for

 VASOSTRICT, including all supplements thereto.

 IV.   PATENT CLAIMS ASSERTED BY PAR

       27.    On August 29, 2017, the PTO issued U.S. Patent No. 9,744,209 (“the

 ’209 patent”), entitled “Vasopressin Formulations for Use in Treatment of




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 Hypotension,” to Par Pharmaceutical as assignee. Matthew Kenney, Vinayagam

 Kannan, Sunil Vandse, and Suketu Sanghvi are named as inventors.

        28.     The ’209 patent was filed on February 7, 2017, as U.S. Application

 No. 15/426,693 (the “’693 Application”). The ’693 Application is a continuation-

 in-part of the ’640 Application, which is a continuation-in-part of the ’877

 Application.

        29.     Amneal alleges that the effective filing date for the Asserted Claims of

 the ’209 patent is February 7, 2017. For purposes of this case only, Par accepts

 that date as the effective filing date.

        30.     On September 5, 2017, the PTO issued U.S. Patent No. 9,750,785

 (“the ’785 patent”), entitled “Vasopressin Formulations for Use in Treatment of

 Hypotension,” to Par Pharmaceutical as assignee. Matthew Kenney, Vinayagam

 Kannan, Sunil Vandse, and Suketu Sanghvi are named as inventors.

        31.     The ’785 patent was also filed on February 7, 2017, as U.S.

 Application No. 15/426,703 (the “’703 Application”). The ’703 Application is a

 continuation-in-part of the ’640 Application, which is a continuation-in-part of the

 ’877 Application.

        32.     Amneal alleges that the effective filing date for the Asserted Claims of

 the ’785 patent is February 7, 2017. For purposes of this case only, Par accepts

 that date as the effective filing date.



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       33.      Par Pharmaceutical is the assignee and owner of the ’209 and ’785

 patents (collectively, “the Asserted Patents”). EPIC is the exclusive licensee of the

 ’209 and ’785 patents.

       34.      Craig Kenesky and Trisha Agrawal participated in the prosecution of

 the Asserted Patent and the ’239 patent. Mr. Kenesky oversaw the work of Ms.

 Agrawal.

       35.      Christina Bradley was the examiner of record during prosecution of

 the Asserted Patents and the ’239 patent.

       36.      The ’209 and ’785 patents are listed in the FDA publication, the

 Approved Drug Products with Therapeutic Equivalence Evaluations (which is

 referred to as the “Orange Book”), with respect to Reformulated VASOSTRICT.

       37.      Par asserts that Amneal infringes claims 1-2 and 4-8 of the ’209

 patent. Those claims read as follows:

       Claim 1: A method of increasing blood pressure in a human in need
       thereof, the method comprising administering to the human a unit
       dosage form, wherein the unit dosage form comprises from about 0.01
       mg/mL to about 0.07 mg/mL of vasopressin or a pharmaceutically
       acceptable salt thereof, wherein:
             the unit dosage form has a pH of 3.7-3.9;
             the unit dosage form further comprises impurities that are present in
             an amount of 0.9% - 1.7%, wherein the impurities have from about
             85% to about 100% sequence homology to SEQ ID NO.: 1;
             the administration provides to the human from about 0.01 units of
             vasopressin or the pharmaceutically-acceptable salt thereof per
             minute to about 0.1 units of vasopressin or the pharmaceutically-
             acceptable salt thereof per minute; and

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             the human is hypotensive.

       Claim 2: The method of claim 1, wherein the impurities comprise SEQ
       ID NO.: 2, and SEQ ID No.: 2 is present in the unit dosage form in an
       amount of 0.1% to 0.3%.

       Claim 4: The method of claim 1, wherein the impurities comprise SEQ
       ID NO.: 4, and SEQ ID NO.: 4 is present in the unit dosage form in an
       amount of 0.2% to 0.4%.

       Claim 5: The method of claim 1, wherein the impurities comprise SEQ
       ID NO.: 7, and SEQ ID NO.: 7 is present in the unit dosage form in an
       amount of 0.3% to 0.6%.

       Claim 6: The method of claim 1, wherein the impurities comprise SEQ
       ID NO.: 10, and SEQ ID No.: 10 is present in the unit dosage form in
       an amount of 0.1%.

       Claim 7: The method of claim 1, wherein the impurities comprise SEQ
       ID NO.: 2 and SEQ ID NO.: 4, and SEQ ID NO.: 2 is present in the unit
       dosage form in an amount of 0.1% to 0.3% and SEQ ID NO.: 4 is
       present in the unit dosage form in an amount of 0.2% to 0.4%.

       Claim 8: The method of claim 7, wherein the impurities further
       comprise SEQ ID NO.: 3, SEQ ID NO.: 7 and SEQ ID NO.: 10, and
       SEQ ID No.: 3 is present in the unit dosage form in an amount of 0.1%,
       SEQ ID NO.: 7 is present in the unit dosage form in an amount of 0.3%
       to 0.6%, and SEQ ID NO.: 10 is present in the unit dosage form in an
       amount of 0.1%.

       38.      Par asserts that Amneal infringes claims 1, 5, and 8 of the ’785 patent.

 Those claims read as follows:

       Claim 1: A pharmaceutical composition comprising, in a unit dosage
       form, from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin or a
       pharmaceutically-acceptable salt thereof, wherein the unit dosage form
       further comprises impurities that are present in an amount of 0.9% to
       1.7%, wherein the impurities have from about 85% to about 100%
       sequence homology to SEQ ID NO.: 1, and wherein the unit dosage
       form has a pH of 3.7-3.9.


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       Claim 5: The pharmaceutical composition of claim 1, wherein the
       impurities comprise SEQ ID NO.: 4, and SEQ ID NO.: 4 is present in
       the unit dosage form in an amount of 0.2% to 0.4%.

       Claim 8: The pharmaceutical composition of claim 1, wherein the
       impurities comprise SEQ ID NO.: 2 and SEQ ID NO.: 4, and SEQ ID
       NO.: 2 is present in the unit dosage form in an amount of 0.1% to 0.3%
       and SEQ ID NO.: 4 is present in the unit dosage form in an amount of
       0.2% to 0.4%.

       39.    As defined in the asserted ’209 and ’785 patents:

             SEQ ID NO.: 1 refers to vasopressin;

             SEQ ID NO.: 2 refers to Gly9-vasopressin (Gly9);

             SEQ ID NO.: 3 refers to Asp5-vasopressin (Asp5);

             SEQ ID NO.: 4 refers to Glu4-vasopressin (Glu4);

             SEQ ID NO.: 7 refers to Acetyl-vasopressin (Acetyl);

             SEQ ID NO.: 10 refers to D-Asn-vasopressin (DAsn).

       40.    On June 9, 2021, Judge Connolly severed issues of infringement from

 the July 7, 2021 trial. Accordingly, Par’s allegations of infringement will be tried,

 if necessary, at a later date to be determined.

 V.    AMNEAL’S PROPOSED ANDA PRODUCTS

       41.    On December 21, 2018, Amneal submitted ANDA No. 212944

 (“Amneal’s SDV ANDA”) pursuant to 35 U.S.C. § 355(j), seeking approval to

 engage in the commercial manufacture, use, and sale of a proposed generic

 vasopressin product, Vasopressin Injection USP, 20 units/1 mL (20 units/mL) (1




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 mL) (“Amneal’s SDV Proposed ANDA Product”), identifying VASOSTRICT as

 the reference listed drug.

       42.    On December 21, 2018, Amneal submitted ANDA No. 212945

 (“Amneal’s MDV ANDA”) pursuant to 35 U.S.C. § 355(j), seeking approval to

 engage in the commercial manufacture, use, and sale of a proposed generic

 vasopressin product, Vasopressin Injection, USP, 20 units/1 mL (20 units/mL) (10

 mL) (“Amneal’s Proposed MDV ANDA Product”), identifying VASOSTRICT as

 the reference listed drug.

       43.    Pursuant to its ANDAs, Amneal is seeking FDA approval to make,

 use, and sell both of its Proposed ANDA Products before expiration of the Asserted

 Patents.

       44.    Amneal’s SDV ANDA includes Paragraph IV certifications to the

 Asserted Patents pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), certifying that

 Amneal believes the Asserted Patents are invalid or will not be infringed by the

 commercial manufacture, use, or sale of Amneal’s Proposed SDV ANDA Product.

       45.    Amneal’s MDV ANDA includes Paragraph IV certifications to the

 Asserted Patents pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), certifying that

 Amneal believes the Asserted Patents are invalid or will not be infringed by the

 commercial manufacture, use, or sale of Amneal’s Proposed MDV ANDA Product.

 AMVAS0000296, at 302 (Amneal SDV Quality Overall Summary) (PTX-611)



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       55.    The PITRESSIN formulation contained vasopressin, acetic acid,

 chlorobutanol, and water. Prior art to the Asserted Patents disclosed that the pH of

 PITRESSIN was adjusted to pH 3.6 with acetic acid.

       56.    For purposes of this case only, Par does not dispute that the September

 2014 (DTX-1044 at AMPHPA0006831-832) and May 2015 (DTX-1043 at PAR-

 VASO_0014785-786) approved labels for Original VASOSTRICT are prior art to

 the Asserted Patents. The April 2014 VASOSTRICT Label (PAR-VASO_0254534-

 542, DTX-1042) and the September 2014 VASOSTRICT Label were before the

 Patent Office during prosecution of the Asserted Patents.

       57.    Lithuanian Patent No. 4487, titled “Antidiuretic Preparation and Its

 Manufacturing Method” (translated) (“Lithuanian Patent”) (AMPHPA0006289-

 300, DTX-1016), identifies the “date of publication of patent” as April 26, 1999.

 The Lithuanian Patent discloses that the “purpose of the invention is to increase

 pharmaceutical activity of antidiuretic preparation and to improve its

 manufacturing method.” Id. at AMPHPA0006289. It describes using a preparation

 containing animal-derived arginine vasopressin.

       58.    Bi and Singh, “HPLC Method for Quantification of Arginine

 Containing Vasopressin,” J. Liq. Chrom. & Rel. Technol. 22(4):551-60 (1999),

 (“Bi 1999”) (AMPHPA0005652-661, DTX-248) is prior art to the Asserted




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 Patents. Bi 1999 discloses an isocratic HPLC method for quantification of

 vasopressin.

       59.      A. Russell et al., Vasopressin versus Norepinephrine Infusion in

 Patients with Septic Shock, N. Eng. J. Med. 358(9):877-87 (2008) (“Russell 2008”)

 (AMPHPA0006646-656, DTX-232) is prior art to the Asserted Patents. Russell

 2008 was before the Patent Office during prosecution of the Asserted Patents.

 Russell 2008 compares vasopressin with norepinephrine infusion in patients with

 septic shock.

       60.      Intravenous Medications (B. L. Gahart & A. R. Nazareno et al., eds.

 29th ed. 2013) (“Gahart”) (AMPHPA0006081-100, DTX-206) is prior art to the

 Asserted Patents. Gahart is a handbook of drugs for intravenous administration.

 Gahart contains an entry for Vasopressin Injection.

                2.    Prior Art

       61.      Adamsons et al, The Stability of Natural and Synthetic Neurophysial

 Hormones in Vitro, Endocrinology, 63(5):679-87 (1958) (“Adamsons”)

 (EAGLEVAS0038897-905, PTX-153) is prior art to the Asserted Patents.

       62.      Kirsch, L. E., Notari, R., Theoretical Basis for the Detection of

 General-Base Catalysis in the Presence of Predominating Hydroxide Catalysis,

 Journal of Pharmaceutical Sciences, 73(6):724-727 (1984) (“Kirsch 1984”) (PAR-

 VASO_0298225-228, PTX-418) is prior art to the Asserted Patents.



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       63.   Lawrence, C.E., Reilly, A. A., Maximum Likelihood Estimation of

 Subsequence Conservation, J. Theor. Biol., 113:425-439 (1985) (“Lawrence”)

 (PAR-VASO_0298726-740, PTX-423) is prior art to the Asserted Patents.

       64.   Kirsch, L. E., Riggin, R., Gearhart, D., LeFeber, D., Lytle, D., In-

 process Protein Degradation by Exposure to Trace Amounts of Sanitizing Agents,

 Journal of Parenteral Science & Technology, 47(4):155-160 (1993) (“Kirsch

 1993”) (PAR-VASO_0298219-224, PTX-417) is prior art to the Asserted Patents.

       65.   Jens Brange and Lotte Langkjaer, “Insulin Structure and Stability,” in

 Stability and Characterization of Protein and Peptide Drugs: Case Histories, eds. Y.

 John Wang and Rodney Pearlman, Plenum Press, New York, 1993 (“Brange”)

 (PAR-VASO_0298412-450, PTX-420) is prior art to the Asserted Patents.

       66.   Joost J. M. Holthuis and Reinoud J. Driebergen, “Chromatographic

 Techniques for the Characterization of Proteins,” in Physical Methods to

 Characterize Pharmaceutical Protein, eds. James N. Herron, Wim Jiskoot, Daan

 J.A. Crommelin, Plenum Press, New York, 1995 (“Holthuis”) (PAR-

 VASO_0298229-302, PTX-419) is prior art to the Asserted Patents.

       67.   W. Wang, Instability, stabilization, and formulation of liquid protein

 pharmaceuticals, International Journal of Pharmaceutics 185:129-188 (1999)

 (“Wang”) (PTX-381) is prior art to the Asserted Patents. Wang was before the

 Patent Office during prosecution of the Asserted Patents.



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       68.    M. Bi & J. Singh, Effect of Buffer pH, Buffer Concentration and Skin

 with or Without Enzyme Inhibitors on the Stability of [Arg8]-vasopressin, Int’l J.

 Pharmaceut. 197:87-93 (2000) (“Bi 2000”) (PAR-VASO_0089744-750, PTX-275)

 is prior art to the Asserted Patents. Bi 2000 was before the Patent Office during

 prosecution of the Asserted Patents.

       69.    A. Joshi, E. Rus, L. Kirsch, The degradation pathways of glucagon in

 acidic solutions, International Journal of Pharmaceutics 203 (2000) 115-125

 (“Joshi”) (PTX-320) is prior art to the Asserted Patents.

       70.    L. Stratton et al., Controlling Deamidation Rates in a Model Peptide:

 Effects of Temperature, Peptide Concentration, and Additives, Journal of

 Pharmaceutical Sciences 90(12):2141-2148 (2001) (“Stratton”) (PTX-374) is prior

 art to the Asserted Patents.

       71.    Development and Manufacture of Protein Pharmaceuticals (Nail &

 Akers, eds., 2002) (“Nail”) (PAR-VASO_0298451-599, PTX-421) is prior art to

 the Asserted Patents.

       72.    S. Yoshioka & V. Stella, Stability of Drugs and Dosage Forms (2002)

 (“Yoshioka”) (EAGLEVAS0058064-337, PTX-232) is prior art to the Asserted

 Patents.




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       73.    Manning et al., Stability of Protein Pharmaceuticals: An Update,

 Pharm. Research, 27:544–75 (2010) (“Manning”) (EAGLEVAS0038359-390,

 DTX-254) is prior art to the Asserted Patents.

       74.    Avanti et al., “Innovative Strategies for Stabilization of Therapeutic

 Peptides in Aqueous Formulations,” University of Groningen, 54-55 (2012)

 (“Avanti 2012”) (AMPHPA0005495-651, DTX-263) is prior art to the Asserted

 Patents.

       75.    Biopharmaceutics Review for NDA 204485, Center for Drug

 Evaluation and Research (March 2013) (“FDA Biopharmaceutics Review”)

 (EAGLEVAS0014051, EAGLEVAS0014351-355, PTX-146) is prior art to the

 Asserted Patents.

       76.    Chemistry Review(s) for NDA 204485, Center for Drug Evaluation

 and Research (“FDA Chemistry Review”) (PAR-VASO_0238720-757, PTX-309)

 is prior art to the Asserted Patents.

       77.    Pharmaceutical Formulation Development of Peptides and Proteins,

 149-192 (Hovgaard et al., eds.) (2013) (“Hovgaard”) (AMPHPA0006136-184,

 DTX-1028) is prior art to the Asserted Patents.

       78.    The vasopressin products Fresenius Kabi USA, LLC marketed under

 the trademark Novaplus® (“FK Vasopressin”) that were on sale and in public use

 before February 7, 2017 are prior art to the Asserted Patents. The label for the FK



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 Vasopressin product, dated October 2013 (AMPHPA0006560-565, DTX-368), was

 before the Patent Office during prosecution of the Asserted Patents.

       B.     Section 112

       79.    Amneal contends that the Asserted Claims are invalid for lack of

 written description and lack of enablement under 35 U.S.C. § 112 based on the

 following grounds:

     Lack of written description because a POSA would not understand the
      patentees of the ’209 and ’785 patents to be in possession of the “from about
      85% to about 100% sequence homology to SEQ ID NO.: 1” limitation; and

     Lack of enablement because a POSA would not understand how to practice
      the “from about 85% to about 100% sequence homology to SEQ ID NO.: 1”
      limitation.

       80.    Par denies that Amneal’s Section 112 invalidity theories render any of

 the Asserted Claims invalid.

 VIII. AMNEAL’S UNENFORCEABILITY DEFENSE

       81.    Amneal contends that the Asserted Claims are unenforceable for

 inequitable conduct based on the alleged intentional withholding of material prior

 art during prosecution of the Asserted Patents, and the alleged submission to the

 PTO of unmistakably false declarations during prosecution of the ’239 patent.

       82.    Par denies the factual assertions that underlie Amneal’s inequitable

 conduct defense and denies that Amneal’s inequitable conduct theories render any

 of the Asserted Claims unenforceable.



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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE



  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO               C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                 (Consolidated)

                   Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.


                   Defendants.


      PLAINTIFFS’ STATEMENT OF CONTESTED ISSUES OF FACT
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       Pursuant to Local Rule 16.3(c)(4), Plaintiffs Par Pharmaceutical, Inc., Par

 Sterile Products, LLC and Endo Par Innovation Company, LLC (collectively

 “Plaintiffs”) submit the following statement of issues of fact that remain to be

 litigated. The following statements are meant to serve as an overview of the

 contested facts to be litigated at trial. Accordingly, Par reserves the right to prove

 additional details regarding the below facts that have been identified throughout

 the discovery process including facts identified in expert reports. Plaintiffs further

 intend to offer evidence to rebut evidence offered by Defendants. Plaintiffs reserve

 the right to modify or amend this Statement to the extent necessary to reflect any

 future rulings by the Court, and to supplement or amend this Statement to fairly

 respond to any new issues that Defendants may raise. To the extent Plaintiffs’

 statement of the issues of law that remain to be litigated, which is submitted as

 Exhibit 4 hereto, contains issues of fact, those issues are incorporated herein by

 reference. Moreover, if any issue of fact identified below should properly be

 considered an issue of law, then such statement should be considered to be part of

 Plaintiffs’ statement of issues of law that remain to be litigated. Plaintiffs

 incorporate by reference their expert reports in support of any proof to be presented

 by expert testimony. Plaintiffs’ Statement of Intended Proofs is submitted as

 Exhibit 13 hereto.




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 I.    PERSON OF ORDINARY SKILL IN THE ART
       1.     A person of ordinary skill in the art (“POSA”) to whom the Asserted

 Patents are directed would have a Master’s, Pharm.D., or Ph.D. in the field of

 pharmaceutical sciences or a related discipline and several years of experience in

 the development of pharmaceutical dosage forms. The amount of experience

 would vary in relation to the level of formal education and depth of experience

 with pharmaceutical dosage development. A person of ordinary skill in the art

 may also have less formal education and a greater amount of experience. Further,

 a POSA would have had access to and would have worked in collaboration with

 persons who have several years of experience in the formulation of drug products

 as well as other professionals in the drug development field, such as

 pharmacologists, chemists, biologists, or clinicians.

 II.   TECHNOLOGY BACKGROUND
       2.     A peptide is a molecule comprised of a (generally linear) sequence of

 amino acids joined together via peptide bonds. The vasopressin peptide is

 comprised of nine amino acids. The Asserted Patents relate to “arginine

 vasopressin” which has the peptide sequence CYFQNCPRG-NH2. The below

 table summarizes the amino acids that make up peptides, along with their

 abbreviations:




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 The “NH2” at the terminus of the peptide sequence indicates that the arginine

 vasopressin peptide is modified by the addition of an amino group.

       3.     Peptide drugs can undergo various chemical degradation processes

 including hydrolysis, oxidation, isomerization, polymerization, and photochemical

 decomposition, which result in a decrease in amount of the active pharmaceutical

 ingredient (“API”). These processes can occur after synthesis of the API, during

 storage of the API prior to drug product manufacture, during manufacture of the

 drug product, and over the shelf-life of the manufactured drug product, resulting in

 the generation and growth of unwanted impurities in the drug product.

       4.     In view of the prior art, a POSA would have understood that the levels

 of impurities and amount of degradation in a given formulation can be affected by

 many different factors, including, for example, how the formulation is


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 manufactured, storage conditions (such as temperature), the amount of time the

 formulation is stored, the pH of the formulation, as well as the other ingredients or

 excipients in a formulation.

        5.    Because of degradation of vasopressin, the levels of impurities in

 vasopressin formulations increase over time.

        6.    pH is the measure of the acidity or alkalinity of a solution. The pH

 value is related to the concentration of hydrogen ions in a solution. pH is one of

 many parameters that can be adjusted in a pharmaceutical formulation.

        7.    A person of ordinary skill in the art (“POSA”) would have understood

 2-8°C to refer to refrigerated temperature and 15-30°C to refer to room

 temperature in the context of storing and stability testing of vasopressin

 formulations.

 III.   TERMINOLOGY

        8.    The asserted ’209 and ’785 claims require a “pH of 3.7-3.9.” These

 limitations are referred to herein collectively as the “pH limitations.”

        9.    The asserted ’209 and ’785 claims require “impurities that are present

 in an amount of 0.9% to 1.7%, wherein the impurities have from about 85% to

 about 100% sequence homology to SEQ ID NO.: 1.” Dependent claims 2 and 4-8

 of the ’209 patent and dependent claims 5 and 8 of the ’785 patent further narrow

 the amount of certain impurities present—namely, 0.1-0.3% SEQ ID NO. 2 (Gly9),



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 IV.    INFRINGEMENT
        11.       On June 9, 2021, Judge Connolly severed issues of infringement from

 the July 7, 2021 trial. Accordingly, Par’s allegations of infringement will be tried,

 if necessary, at a later date to be determined.

        12.       When Par’s allegations of infringement are tried, Amneal has agreed

 that it will not dispute that the proposed ANDA products that are accused of

 infringement in this case meet all limitations of the asserted claims except for the

 limitation in each independent claim “wherein the unit dosage form has a pH of

 3.7-3.9.” D.I. 233.

 V.     VALIDITY1

        A.        State of the Prior Art

        13.       Vasopressin products had a long history of successful and safe use in

 the prior art.


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   The Sections herein relating to Validity and Enforceability are set forth in
 response to Amneal’s Statement of Contested Issues of Fact on Invalidity and
 Unenforceability. Rather than setting forth the contested issues of fact, Amneal
 has provided a putative statement of asserted facts, the majority of which appears
 to be copied directly from its expert reports. Par hereby responds to those
 statements by identifying facts it contends to be relevant to Amneal’s allegations of
 invalidity and unenforceability, and which demonstrate that Amneal has failed to
 prove by clear and convincing evidence that any Asserted Claim is either invalid or
 unenforceable. However, Par has not attempted to respond on a point-by-point
 basis to all of the facts set forth in Amneal’s statement, and it should not be
 interpreted as such. Any failure to respond to any particular alleged fact set forth
 in Amneal’s statement is not an admission as to the truth of that fact or an
 indication that Par does not dispute it. Par also incorporates by reference herein

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       14.      There were no reported issues, problems, or concerns in the prior art

 with the stability of vasopressin products, such as Original VASOSTRICT,

 PITRESSIN, and the Luitpold (American Regent) Vasopressin Product.

       15.      There were no reported efforts in the prior art to try to improve the

 stability of Original VASOSTRICT, PITRESSIN, or the Luitpold (American

 Regent) Vasopressin Product.

       16.      There were no reported issues, problems, or concerns in the prior art

 with the levels of impurities within vasopressin formulations.

       17.      There were no reported disclosures in the prior art about the impurity

 content and amount of impurities within vasopressin formulations.

       18.      Although the technology needed to measure and characterize

 vasopressin degradation products was known in the prior art, there were no

 reported disclosures about the characterization of the degradation products of

 vasopressin.




 the Expert Report of Lee E. Kirsch, Ph.D Regarding Validity and Enforceability
 (dated October 31, 2020) (PTX-805), the Supplemental Expert Report of Lee E.
 Kirsch, Ph.D. Regarding Validity (dated November 11, 2020) (PTX-845), and the
 Second Supplemental Expert Report of Lee E. Kirsch, Ph.D Regarding Validity
 (dated May 17, 2021) (PTX-959).


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       19.    Before Par’s patents, there was no appreciation in the prior art that the

 claimed pH 3.7-3.9 range would provide a vasopressin product with an enhanced

 stability and impurity profile.

       20.    The optimal pH for vasopressin formulations had already been

 determined as of the effective filing date of the Asserted Patents, and the optimal

 pH was believed to be below that of the claimed pH 3.7-3.9 range—namely, pH

 3.4-3.6 or even lower. See, e.g., Adamsons (PTX-153); Bi 2000 (PTX-275), FDA

 Biopharmaceutics Review (PTX-146); FDA Chemistry Review (PTX-309).

       21.    The prior art taught away from the claimed pH 3.7-3.9 range because

 of the likelihood of enhanced degradation.

       22.    The prior art taught many different strategies for trying to improve

 peptide stability other than optimizing the pH, including without limitation: ionic

 strength optimization; cosolvents; optimizing buffer choice and concentration;

 inert gas overlay; inclusion of antioxidants and/or chelating agents; selection of

 appropriate polyols; protection against radiant energy; and inclusion of various

 reported peptide stabilizers.

       B.     Primary Asserted References

       23.    Amneal contends that the Asserted Claims are invalid as anticipated

 by Original VASOSTRICT.




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        28.   There were no reported issues, problems, or concerns in the prior art

 with access to Original Vasostrict or storing it at refrigerated conditions.

        29.   The prior art taught that the pH of Original VASOSTRICT was 3.4-

 3.6.

        30.   Of the many lots of Original VASOSTRICT from which vials were

 sold before the effective filing date of the Asserted Patents, the only lot of Original

 VASOSTRICT identified by Amneal’s expert as purportedly having a pH within

 the claimed pH 3.7-3.9 range when it was on sale or in public use is lot 788436.

        31.   Original VASOSTRICT lot 788436 was manufactured on February

 24, 2015, and vials from that lot were first sold 260 days later, on November 11,

 2015. There are no pH or impurity measurements for Original VASOSTRICT lot

 788436 at the time it was on sale and in public use.

        32.   To try to predict the pH of and amount of impurities within Original

 VASOSTRICT lot 788436 when it was on sale and in public use, Amneal’s expert

 relies on stability data for Original VASOSTRICT lots 310571, 310573, and

 310574, which were registration batches submitted with NDA 204485 (“Original

 VASOSTRICT Registration Batches”). The Original VASOSTRICT Registration

 Batches were neither sold nor publicly used before the effective filing date of the

 Asserted Patents. The Original VASOSTRICT Registration Batches expired

 before Original VASOSTRICT was first sold in November 2014. The stability



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 data for the Original VASOSTRICT Registration Batches were not publicly

 known.

       Issues Presented:

       33.    Whether Amneal can demonstrate by clear and convincing evidence

 that Original VASOSTRICT from lot 788436 exhibited the same pH behavior as

 the Original VASOSTRICT Registration Batches.

       34.    Whether Amneal can demonstrate by clear and convincing evidence

 that Original VASOSTRICT from lot 788436 exhibited the same impurity

 behavior as the Original VASOSTRICT Registration Batches.

       35.    Whether Amneal can demonstrate by clear and convincing evidence

 the pH of and amount of impurities having from about 85% to about 100%

 sequence homology to SEQ ID NO. 1 within any Original VASOSTRICT product,

 including Original VASOSTRICT from lot 788436, when it was on sale and in

 public use before the effective filing date of the Asserted Patents.

       36.    Whether Amneal can demonstrate by clear and convincing evidence

 the pH of and amount of impurities having from about 85% to about 100%

 sequence homology to SEQ ID NO. 1 within any Original VASOSTRICT product,

 including Original VASOSTRICT from lot 788436, when it was administered to a

 patient before the effective filing date of the Asserted Patents.




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       37.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, had a pH of 3.7-3.9 when it was on sale or in public use before the

 effective filing date of the Asserted Patents.

       38.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, had a pH of 3.7-3.9 when it was administered to a patient before the

 effective filing date of the Asserted Patents.

       39.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, satisfied the impurity limitations of the Asserted Claims when it was

 on sale or in public use before the effective filing date of the Asserted Patents.

       40.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, satisfied the impurity limitations of the Asserted Claims when it was

 administered to a patient before the effective filing date of the Asserted Patents.

       41.    Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations of the Asserted Claims were inherent properties of

 Original VASOSTRICT, including Original VASOSTRICT from lot 788436.




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       42.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, satisfied the impurity limitations of the Asserted Claims when it had a

 pH of 3.7-3.9 and when it was on sale or in public use before the effective filing

 date of the Asserted Patents.

       43.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, satisfied the impurity limitations of the Asserted Claims when it had a

 pH of 3.7-3.9 and when it was administered to a patient before the effective filing

 date of the Asserted Patents.

               2.   PITRESSIN

       44.    Certain vasopressin products were sold under the trade name

 PITRESSIN.

       45.    PITRESSIN was indicated for the prevention and treatment of

 postoperative abdominal distention, in abdominal roentgenography to dispel

 interfering gas shadows and in diabetes insipidus. PITRESSIN was not indicated

 for the treatment of hypotensive patients.

       46.    The prior art taught that the pH of PITRESSIN was 3.6.




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       47.    PITRESSIN was sold for over 100 years. Par stopped selling

 PITRESSIN in the fall of 2014, more than 2 years before the effective filing date

 of the Asserted Patents.

       48.    PITRESSIN had a shelf life of 24 months at room temperature.

       49.    Of the many lots of PITRESSIN from which vials were sold before

 the effective filing date of the Asserted Patents, the only lot of PITRESSIN

 identified by Amneal’s expert as having a pH within the claimed pH 3.7-3.9 range

 when it was on sale or in public use is lot 78495.

       50.    PITRESSIN lot 78495 was manufactured on                     , and vials

 from that lot were first sold on April 18, 2008. PITRESSIN lot 78495 expired in

 February 2010, 7 years before the Asserted Patents were filed.

       51.    The PITRESSIN formulation is different than the Original

 VASOSTRICT formulation. For example, PITRESSIN contained overages of

 vasopressin and chlorobutanol, whereas Original VASOSTRICT did not.

 Specifically, the target vasopressin concentration in PITRESSIN was

 Units/mL compared with 20.0 Units/mL in Original VASOSTRICT, and the target

 chlorobutanol concentration in PITRESSIN was         mg/mL compared with 5.0

 mg/mL in Original VASOSTRICT.




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       Issues Presented:

       52.    Whether Amneal can demonstrate by clear and convincing evidence

 the pH of and amount of impurities having from about 85% to about 100%

 sequence homology to SEQ ID NO. 1 within any PITRESSIN product, including

 PITRESSIN from lot 78495, when it was on sale and in public use before the

 effective filing date of the Asserted Patents.

       53.    Whether Amneal can demonstrate by clear and convincing evidence

 the pH of and amount of impurities having from about 85% to about 100%

 sequence homology to SEQ ID NO. 1 within any PITRESSIN product, including

 PITRESSIN from lot 78495, when it was administered to a patient before the

 effective filing date of the Asserted Patents.

       54.    Whether Amneal can demonstrate by clear and convincing evidence

 that any PITRESSIN product, other than PITRESSIN from lot 78495, had a pH of

 3.7-3.9 when it was on sale or in public use before the effective filing date of the

 Asserted Patents.

       55.    Whether Amneal can demonstrate by clear and convincing evidence

 that any PITRESSIN product, including PITRESSIN from lot 78495, had a pH of

 3.7-3.9 when it was administered to a patient before the effective filing date of the

 Asserted Patents.




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       56.    Whether Amneal can demonstrate by clear and convincing evidence

 that any PITRESSIN product, including PITRESSIN from lot 78495, satisfied the

 impurity limitations of the Asserted Claims when it was on sale or in public use

 before the effective filing date of the Asserted Patents.

       57.    Whether Amneal can demonstrate by clear and convincing evidence

 that any PITRESSIN product, including PITRESSIN from lot 78495, satisfied the

 impurity limitations of the Asserted Claims when it was administered to a patient

 before the effective filing date of the Asserted Patents.

       58.    Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations of the Asserted Claims were inherent properties of

 PITRESSIN, including PITRESSIN from lot 78495.

       59.    Whether Amneal can demonstrate by clear and convincing evidence

 that any PITRESSIN product, including PITRESSIN from lot 78495, satisfied the

 impurity limitations of the Asserted Claims when it had a pH of 3.7-3.9 and when

 it was on sale or in public use before the effective filing date of the Asserted

 Patents.

       60.    Whether Amneal can demonstrate by clear and convincing evidence

 that any PITRESSIN product, including PITRESSIN from lot 78495, satisfied the

 impurity limitations of the Asserted Claims when it had a pH of 3.7-3.9 and when




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 it was administered to a patient before the effective filing date of the Asserted

 Patents.

                3.   Luitpold (American Regent) Vasopressin Product

       61.    Amneal has not demonstrated by clear and convincing evidence that

 the vasopressin product marketed by American Regent, Inc. and the vasopressin

 product marketed by Luitpold Pharmaceuticals, Inc. are the same product.

       62.    Although Par disputes that the vasopressin product marketed by

 American Regent, Inc. and the vasopressin product marketed by Luitpold

 Pharmaceuticals, Inc. are the same product, for purposes of addressing Amneal’s

 contentions, Par will refer herein to the vasopressin product marketed by American

 Regent, Inc. and the vasopressin product marketed by Luitpold Pharmaceuticals,

 Inc. collectively as “Luitpold (American Regent) Vasopressin Product.”

       63.    Amneal’s expert identifies only four documents concerning Luitpold

 (American Regent) Vasopressin Product:




                          Although Amneal has provided no evidence to authenticate

 the foregoing confidential documents, for purposes of addressing Amneal’s




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 contentions, Par will assume herein (but does not admit) that the documents are

 what Amneal claims them to be.

       64.      There is no evidence that Luitpold (American Regent) Vasopressin

 Product



       65.      Luitpold (American Regent) Vasopressin Product was indicated for

 the prevention and treatment of postoperative abdominal distention, in abdominal

 roentgenography to dispel interfering gas shadows and in diabetes insipidus. It

 was not indicated for the treatment of hypotensive patients.

       66.      The label for the vasopressin product marketed by American Regent,

 dated November 2011 (DTX-1041) instructed storage of the product solely at room

 temperature.

       67.      The prior art taught that the pH of Luitpold (American Regent)

 Vasopressin Product was 2.5-4.5.

       68.      It was not known in the prior art that any



       69.      It was not known in the prior art that any



       70.




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        71.




        72.



        73.   Luitpold (American Regent) Vasopressin Product contained sodium

 chloride, which can affect drug stability by primary and/or secondary kinetic salt

 effects.

        74.



        75.




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        Issues Presented:

        76.   Whether Amneal can demonstrate by clear and convincing evidence

 that the manufacturing target pH and manufacturing pH limits for Luitpold

 (American Regent) Vasopressin Product              applied to any other lot of

 Luitpold (American Regent) Vasopressin Product.

        77.   Whether Amneal can demonstrate by clear and convincing evidence

 the pH of and amount of impurities having from about 85% to about 100%

 sequence homology to SEQ ID NO. 1 within any Luitpold (American Regent)

 Vasopressin Product, including Luitpold (American Regent) Vasopressin Product

 from          , when it was on sale and in public use before the effective filing date

 of the Asserted Patents.

        78.   Whether Amneal can demonstrate by clear and convincing evidence

 the pH of and amount of impurities having from about 85% to about 100%

 sequence homology to SEQ ID NO. 1 within any Luitpold (American Regent)

 Vasopressin Product, including Luitpold (American Regent) Vasopressin Product

 from          , when it was administered to a patient before the effective filing date

 of the Asserted Patents.

        79.   Whether Amneal can demonstrate by clear and convincing evidence

 that any Luitpold (American Regent) Vasopressin Product, other than Luitpold

 (American Regent) Vasopressin Product from              , had a pH of 3.7-3.9 when



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 it was on sale or in public use before the effective filing date of the Asserted

 Patents.

       80.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Luitpold (American Regent) Vasopressin Product, including Luitpold

 (American Regent) Vasopressin Product from               , had a pH of 3.7-3.9 when

 it was administered to a patient before the effective filing date of the Asserted

 Patents.

       81.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Luitpold (American Regent) Vasopressin Product, including Luitpold

 (American Regent) Vasopressin Product from               , satisfied the impurity

 limitations of the Asserted Claims when it was on sale or in public use before the

 effective filing date of the Asserted Patents.

       82.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Luitpold (American Regent) Vasopressin Product, including Luitpold

 (American Regent) Vasopressin Product from               , satisfied the impurity

 limitations of the Asserted Claims when it was administered to a patient before the

 effective filing date of the Asserted Patents.

       83.    Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations of the Asserted Claims were inherent properties of




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 Luitpold (American Regent) Vasopressin Product, including Luitpold (American

 Regent) Vasopressin Product from               .

       84.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Luitpold (American Regent) Vasopressin Product, including Luitpold

 (American Regent) Vasopressin Product from               , satisfied the impurity

 limitations of the Asserted Claims when it had a pH of 3.7-3.9 and when it was on

 sale or in public use before the effective filing date of the Asserted Patents.

       85.    Whether Amneal can demonstrate by clear and convincing evidence

 that any Luitpold (American Regent) Vasopressin Product, including Luitpold

 (American Regent) Vasopressin Product from               , satisfied the impurity

 limitations of the Asserted Claims when it had a pH of 3.7-3.9 and when it was

 administered to a patient before the effective filing date of the Asserted Patents.

                4.   Lithuanian Patent
       86.    The Lithuanian Patent, entitled “Antidiuretic Preparation and Its

 Manufacturing Method,” appears to be a patent issued by the Republic of

 Lithuania.

       87.    The Lithuanian Patent identifies the “date of publication of patent” as

 April 26, 1999, which precedes the effective filing date of the Asserted Patents by

 nearly 18 years.




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       88.    The Court ordered that the claim term “vasopressin” in all of the

 Asserted Claims should be construed to mean “arginine vasopressin as described in

 SEQ. ID. NO. 1.” D.I. 105 at 2. The vasopressin as described in SEQ ID. NO. 1 is

 synthetic vasopressin. Claim Construction Hearing Tr. (Apr. 29, 2020) at 23:7-11.

       89.    The Lithuanian Patent describes an antidiuretic preparation containing

 animal-derived vasopressin, not synthetic vasopressin as claimed in the Asserted

 Claims.

       90.    The use of animal-derived vasopressin was the essence of the

 purported invention disclosed in the Lithuanian Patent.

       91.    The vasopressin preparation disclosed in the Lithuanian Patent

 contained sodium chloride, which can affect drug stability by primary and/or

 secondary kinetic salt effects.

       92.    The Lithuanian Patent provides no information for determining the

 amount of impurities within the disclosed vasopressin preparation.

       93.    There is no evidence that anyone used the vasopressin preparation

 disclosed in the Lithuanian Patent or relied upon the reference in making a

 vasopressin formulation.




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       Issues Presented:

       94.    Whether Amneal can demonstrate by clear and convincing evidence

 that the Lithuanian Patent disclosed a preparation with the vasopressin claimed in

 the Asserted Patents.

       95.    Whether Amneal can demonstrate by clear and convincing evidence

 that the Lithuanian Patent disclosed a preparation with from about 0.01 mg/mL to

 about 0.07 mg/mL of vasopressin.

       96.    Whether Amneal can demonstrate by clear and convincing evidence

 that the Lithuanian Patent disclosed that the vasopressin preparation had a pH of

 3.7-3.9.

       97.    Whether Amneal can demonstrate by clear and convincing evidence

 that the Lithuanian Patent disclosed that the vasopressin preparation satisfied the

 impurity limitations of the Asserted Claims.

       98.    Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations of the Asserted Claims were inherent properties of the

 vasopressin preparation disclosed in the Lithuanian Patent.

       99.    Whether Amneal can demonstrate by clear and convincing evidence

 that the Lithuanian Patent disclosed that the vasopressin preparation satisfied the

 impurity limitations of the Asserted Claims when it had a pH of 3.7-3.9.




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                5.    Bi 1999
       100. Bi 1999 discloses an isocratic HPLC method for quantification of

 vasopressin.

       101. Although the disclosed HPLC method purports to separate

 vasopressin from its degradation products, the Bi 1999 researchers did not

 characterize the degradation products of vasopressin.

                6.    Gahart
       102. Gahart is a handbook of drugs for intravenous administration that

 contains an entry to Vasopressin Injection.

       103. The Vasopressin Injection entry in Gahart is directed primarily to the

 administration of intravenous Vasopressin Injection products. Gahart discloses

 that all intravenous doses and uses of Vasopressin Injection are unlabeled. Gahart

 does not identify any Vasopressin Injection product that was actually administered

 intravenously to treat hypotensive patients.

       104. Gahart makes one reference to PITRESSIN in the heading of the

 Vasopressin Injection entry. Gahart does not mention Luitpold (American Regent)

 Vasopressin Product.

       105. Other than generally noting that Vasopressin Injection had a pH of 2.5

 to 4.5, Gahart does not disclose the pH or impurity properties of any Vasopressin

 Injection product.



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       106. Gahart notes that unopened vials of Vasopressin Injection products

 are stored at room temperature.

               7.   Russell 2008

       107. Russell 2008 is directed to comparing vasopressin with

 norepinephrine infusion in patients with septic shock.

       108. Russell 2008 does not identify any vasopressin product that was

 actually administered intravenously to treat hypotensive patients, nor does Russell

 2008 disclose which vasopressin product was used in the reported study.

       109. Russell does not disclose the pH or impurity properties of any

 vasopressin product.

       C.     Anticipation

       110. Par incorporates by reference herein the issues of fact listed above in

 the Validity Section.

       Issues Presented:

       111. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims is invalid as anticipated.

       112. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims is invalid as anticipated by the prior sale or public

 use of Original VASOSTRICT with its prescribing information.




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        113. Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, satisfied every limitation of each of the Asserted Claims when it was

 on sale or in public use before the effective filing date of the Asserted Patents.

        114. Whether Amneal can demonstrate by clear and convincing evidence

 that any Original VASOSTRICT product, including Original VASOSTRICT from

 lot 788436, satisfied every limitation of each of the Asserted Claims when it was

 administered to a patient before the effective filing date of the Asserted Patents.

        D.     Obviousness

        115. Par incorporates by reference herein the issues of fact listed above in

 the Validity Section.

        Issues Presented:

        116. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims is invalid as obvious in view of any of its

 proposed prior art combinations.

        117. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims is invalid as obvious over the prior sale and public

 use of Original VASOSTRICT with its prescribing information in view of Bi 1999,

 in light of the full scope and content of the prior art and the level of ordinary skill

 in the art at the time.



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        118. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims of the ’209 patent is invalid as obvious over the

 prior sale and public use of PITRESSIN with its prescribing information in view of

 Bi 1999, Gahart, and/or Russell 2008, in light of the full scope and content of the

 prior art and the level of ordinary skill in the art at the time.

        119. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims of the ’785 patent is invalid as obvious over the

 prior sale and public use of PITRESSIN with its prescribing information in view of

 Bi 1999, in light of the full scope and content of the prior art and the level of

 ordinary skill in the art at the time.

        120. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims of the ’209 patent is invalid as obvious over the

 prior sale and public use of Luitpold (American Regent) Vasopressin Product with

 its prescribing information in view of Bi 1999, Gahart, and/or Russell 2008, in

 light of the full scope and content of the prior art and the level of ordinary skill in

 the art at the time.

        121. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims of the ’785 patent is invalid as obvious over the

 prior sale and public use of Luitpold (American Regent) Vasopressin Product with




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 its prescribing information in view of Bi 1999, in light of the full scope and content

 of the prior art and the level of ordinary skill in the art at the time.

         122. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims of the ’209 patent is invalid as obvious over the

 Lithuanian Patent in view of Bi 1999, Gahart, and/or Russell 2008, in light of the

 full scope and content of the prior art and the level of ordinary skill in the art at the

 time.

         123. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims of the ’785 patent is invalid as obvious over the

 Lithuanian Patent in view of Bi 1999, in light of the full scope and content of the

 prior art and the level of ordinary skill in the art at the time.

         124. Whether Amneal can demonstrate by clear and convincing evidence

 that each claim limitation of the Asserted Claims was in the prior art.

         125. Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations of the Asserted Claims are inherent properties of the

 claimed vasopressin formulation.

         126. Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations of the Asserted Claims are necessarily present in a

 formulation that has from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin

 and a pH of 3.7-3.9.



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       127. Whether Amneal can demonstrate by clear and convincing evidence

 that the impurity limitations were inherent properties of Original VASOSTRICT,

 PITRESSIN, Luitpold (American Regent) Vasopressin Product, or the Lithuanian

 Patent preparation as modified in the manner that Amneal proposes.

       128. Whether Amneal can demonstrate by clear and convincing evidence

 that Bi 1999, Gahart, or Russell 2008 discloses claimed subject matter which is

 absent from the primary references upon which Amneal relies.

       129. Whether Amneal can demonstrate by clear and convincing evidence

 which particular teachings in the asserted prior art references would have been

 modified or combined to achieve the claimed inventions.

       130. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to modify or combine the prior art to

 achieve the claimed inventions in the manner that Amneal proposes.

       131. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to select any Original VASOSTRICT

 product, PITRESSIN product, Luitpold (American Regent) Vasopressin Product,

 or the Lithuanian Patent preparation for the modifications and prior art

 combinations that Amneal proposes.

       132. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to select Original VASOSTRICT from lot



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 7884346, PITRESSIN from lot 78495, or Luitpold (American Regent) Vasopressin

 Product from           for the modifications and prior art combinations that

 Amneal proposes.

       133. Whether a POSA would have considered the Lithuanian Patent, which

 is directed to an animal-derived vasopressin formulation, relevant to making a

 synthetic vasopressin formulation, as claimed in the Asserted Claims, or found its

 teachings to be instructive.

       134. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to substitute the animal-derived

 vasopressin in the Lithuanian Patent preparation with synthetic vasopressin.

       135. Whether the Lithuanian Patent taught away from using synthetic

 vasopressin within the disclosed preparation.

       136. Whether a POSA would have expected that the composition of the

 Lithuanian Patent preparation—including its pH—was designed specifically for

 animal-derived vasopressin.

       137. Whether a POSA would have been motivated to adapt the

 composition disclosed in the Lithuanian Patent for use with animal-derived

 vasopressin to practice the claimed inventions, which require synthetic

 vasopressin.




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       138. Whether the stability of Original VASOSTRICT, PITRESSIN, or

 Luitpold (American Regent) Vasopressin Product was an issue, concern, or

 problem to be solved in the prior art.

       139. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to improve the stability of Original

 VASOSTRICT, PITRESSIN, Luitpold (American Regent) Vasopressin Product, or

 the Lithuanian Patent preparation.

       140. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to optimize the pH of Original

 VASOSTRICT, PITRESSIN, Luitpold (American Regent) Vasopressin Product, or

 the Lithuanian Patent preparation.

       141. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to optimize the pH of vasopressin to

 improve stability.

       142. Whether Amneal can demonstrate by clear and convincing evidence

 that adjusting the pH of prior art vasopressin formulations to the claimed pH 3.7-

 3.9 range would have been obvious to try.

       143. Whether pH studies for vasopressin formulations in the prior art

 would have directed a POSA away from the pH 3.7-3.9 range claimed in the

 Asserted Claims and towards a lower pH value.



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       144. Whether the prior art taught away from the pH 3.7-3.9 range claimed

 in the Asserted Claims.

       145. What the prior art taught was the optimal pH for the stability of

 vasopressin.

       146. Whether, in view of the prior art, a POSA would have considered it

 counterproductive to conduct a pH optimization study for vasopressin

 formulations.

       147. Whether because the pH of vasopressin formulations was understood

 to have already been optimized, there would have been a reason for a POSA to

 optimize the pH.

       148. Whether, even assuming that there was a motivation to modify prior

 art vasopressin formulations to improve their stability, a POSA would have

 considered strategies other than optimizing the pH, including without limitation:

 ionic strength optimization; cosolvents; optimizing buffer choice and

 concentration; inert gas overlay; inclusion of antioxidants and/or chelating agents;

 selection of appropriate polyols; protection against radiant energy; and inclusion of

 various reported peptide stabilizers.

       149. Whether reduced impurity levels within vasopressin products was an

 actual perceived need amongst skilled artisans in the prior art.




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        150. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to reduce the levels of impurities within

 Original VASOSTRICT, PITRESSIN, Luitpold (American Regent) Vasopressin

 Product, or the Lithuanian Patent preparation.

        151. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to achieve the specific impurity levels

 claimed in the impurity limitations of the Asserted Claims.

        152. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to treat patients and administer

 PITRESSIN, Luitpold (American Regent) Vasopressin Product, or the Lithuanian

 Patent preparation according to the clinical limitations of the Asserted ’209

 Claims.

        153. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have been motivated to treat patients and administer

 PITRESSIN from lot 78495 or Luitpold (American Regent) Vasopressin Product

 from          according to the clinical limitations of the Asserted ’209 Claims.

        154. Whether Amneal can demonstrate by clear and convincing evidence

 that there would have been a reasonable expectation of success in achieving the

 claimed inventions by modifying or combining the prior art in the manner that

 Amneal proposes.



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       155. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have reasonably expected to arrive at the claimed pH 3.7-3.9

 range in the course of trying to improve the stability of prior art vasopressin

 formulations or otherwise modifying such formulations.

       156. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have reasonably expected that a pH optimization study would

 identify a pH value within the claimed pH 3.7-3.9 range as the optimal pH for

 vasopressin formulations.

       157. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have reasonably expected that the claimed pH 3.7-3.9 range

 would enhance the stability of vasopressin.

       158. Whether, in view of the prior art, a POSA would have considered a

 pH optimization study for vasopressin formulations to be unlikely to identify an

 optimal pH within the claimed 3.7-3.9 range.

       159. Whether there was any appreciation in the prior art that the claimed

 pH 3.7-3.9 range provided a vasopressin product with an enhanced stability and

 impurity profile.

       160. Whether, in view of the prior art, a POSA would have had any basis to

 believe that the claimed pH 3.7-3.9 range would improve the stability of

 vasopressin.



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       161. Whether the claimed pH 3.7-3.9 range is presumptively obvious over

 any pH range known in the prior art.

       162. Whether the claimed pH 3.7-3.9 range is presumptively obvious over

 the prior art pH range of 3.4-3.6.

       163. Whether the claimed pH 3.7-3.9 range is critical over any prior art pH

 range that raises a presumption of obviousness.

       164. Whether the superior stability benefits achieved by Reformulated

 Vasostrict compared with Original Vasostrict and Amneal’s ANDA exhibit batches

 support the criticality of the claimed pH 3.7-3.9 range.

       165. Whether any presumption of obviousness of the claimed pH 3.7-3.9

 range is rebutted by the teaching away in the prior art from the claimed pH range,

 the criticality of the claimed pH range, and/or other reasons supporting the non-

 obviousness of the Asserted Claims.

       166. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have reasonably expected to achieve the specific impurity

 levels claimed in the impurity limitations of the Asserted Claims.

       167. Whether the prior art gave direction as to which, if any, of the many

 strategies for potentially reducing impurity levels would be successful for

 vasopressin formulations.




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       168. Whether the prior art gave direction as to the degree to which impurity

 levels needed to be reduced to achieve the specific impurity levels claimed in the

 impurity limitations of the Asserted Claims.

       169. What insight, if any, the prior art provided about the degradation

 pathways and degradation products of vasopressin.

       170. What insight, if any, the prior art provided about the impurity content

 and amount of impurities within vasopressin formulations.

       171. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would have actually arrived at the claimed inventions by modifying or

 combining the prior art in the manner that Amneal proposes.

       E.     pH Declarations in Support of Criticality

               1.   August 11, 2015 Vandse Declaration
       172. Inventor Sunil Vandse submitted a declaration signed on August 11,

 2015 to the PTO under 37 C.F.R. § 1.132 during prosecution of unasserted U.S.

 Patent No. 9,375,478 (the “’478 patent”).

       173. The August 11, 2015 Vandse declaration contained the results of

 experiments performed by the inventors “[t]o analyze the amount of vasopressin

 and associated impurities that were present in the Vasopressin Formulations”

 adjusted to pH 3.5 to 4.5 with 10 mM acetate buffer.




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       174. The August 11, 2015 Vandse declaration reported that “[a]t 25 ºC, the

 remaining vasopressin after four weeks was highest between pH 3.6 and pH 3.8

 (FIGURE 1). Within the range of pH 3.6 to pH 3.8, the level of impurities was

 lowest at pH 3.8 (FIGURE 2).”

       175. The August 11, 2015 Vandse declaration reported that “[a]t 40 ºC, the

 remaining vasopressin after four weeks was highest between pH 3.6 and pH 3.8

 (FIGURE 1). Within the range of pH 3.6 to pH 3.8, the level of impurities was

 lowest at pH 3.8 (FIGURE 2).”

       176. The August 11, 2015 Vandse declaration concluded that “pH 3.8

 provided the best overall results because pH 3.8 provided excellent stability, and

 lower levels of impurities compared to the results at pH 3.6 or pH 3.7.”

                2.   January 22, 2016 Vandse Declaration
       177. Inventor Sunil Vandse submitted a declaration signed on January 22,

 2016 to the PTO under 37 C.F.R. § 1.132 during prosecution of the ’478 patent.

       178. The January 22, 2016 Vandse declaration was submitted in response

 to the examiner’s rejection in an Office Action dated October 22, 2015, which

 stated “Applicant has not provided data for pH values below 3.5 even though the

 prior art teaches a range of 2.5-4.5.”

       179. The January 22, 2016 Vandse declaration contained the results of

 experiments performed by the inventors to analyze by HPLC “[t]he amount of



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 vasopressin and associated impurities that were present in” vasopressin

 formulations adjusted to pH 2.5 to 3.4 with 10 mM acetate buffer.

       180. The January 22, 2016 Vandse declaration also contained the results of

 the experiments reported in the August 11, 2015 Vandse declaration for

 vasopressin formulations adjusted to pH 3.5-4.5.

       181. The January 22, 2016 Vandse declaration reported that “[a]t 25 ºC, the

 percent decrease in vasopressin after four weeks was lowest between pH 3.6 and

 pH 3.8 (FIGURE 1). Within the range of pH 3.6 to pH 3.8, the level of impurities

 was lowest at pH 3.8 (FIGURE 2).”

       182. The January 22, 2016 Vandse declaration reported that “[a]t 40 ºC, the

 percent decrease in vasopressin after four weeks was lowest between pH 3.6 and

 pH 3.8 (FIGURE 1). Within the range of pH 3.6 to pH 3.8, the level of impurities

 was lowest at pH 3.8 (FIGURE 2).”

       183. The January 22, 2016 Vandse declaration concluded that “pH 3.8

 provided the best overall results because pH 3.8 provided excellent stability, and

 lower levels of impurities compared to the results at pH 3.6 or pH 3.7.”

       184. The January 22, 2016 Vandse declaration reported, in its two

 appendices, starting and ending assay and impurity values for vasopressin

 formulations adjusted to pH 2.5 to 4.5 with 10 mM acetate buffer.




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                3.   March 31, 2016 Kannan Declaration
       185. Inventor Vinayagam Kannan submitted a declaration signed on March

 31, 2016 to the PTO under 37 C.F.R. § 1.132 during prosecution of the ’478 patent.

       186. In the March 31, 2016 Kannan declaration, Vinayagam Kannan

 “reviewed the procedures for and the results of the stability tests presented in the

 August 14, 2015 and January 22, 2016 [Vandse] Declarations” and concluded “that

 the differences in the results of the stability tests for each formulation are

 attributable to a change in pH.”

       187. The March 31, 2016 Kannan declaration presented precision results

 for the experiments presented in the August 14, 2015 and January 22, 2016 Vandse

 declarations in the form of intra-assay repeatability and inter-analyst repeatability.

 Intra-assay repeatability was reported as 0.5% for Chemist 1 and 0.2% for Chemist

 2. Inter-analyst repeatability was reported as 0.5%. Both intra-assay repeatability

 and inter-analyst repeatability were reported to meet the acceptance criteria.

       188. The March 31, 2016 Kannan declaration concluded that “pH 3.8

 provided the best overall results because pH 3.8 provided excellent stability, and

 lower levels of impurities compared to the results at pH 3.6 or pH 3.7.”

       189. The March 31, 2016 Kannan declaration noted that “[t]he January 22,

 2016 Declaration presented plots directly comparing the % total impurities




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 observed in the Vasopressin 2.5 to 3.4 Formulations with those observed in the

 Vasopressin 3.5 to 4.5 Formulations.”

       190. The March 31, 2016 Kannan declaration noted that “[t]he January 22,

 2016 Declaration also contained normalized plots comparing the assay (% label

 claim; vasopressin remaining) observed in the Vasopressin 2.5 to 3.4 Formulations

 with those observed in the Vasopressin 3.5 to 4.5 Formulations. The data were

 normalized and presented as % assay decrease of vasopressin over the four-week

 study period, rather than absolute assay, because the amount of starting vasopressin

 varied between the Vasopressin pH 2.5 to 3.4 Formulations and the Vasopressin

 pH 3.5 to 4.5 Formulations.”

       191. The March 31, 2016 Kannan declaration concluded that “the

 criticality of pH 3.8 in stabilizing a vasopressin formulation would be desirable to

 the FDA and ICH, and therefore would result in a practical benefit to a user of a

 vasopressin.”

       192. The August 11, 2015 Vandse declaration, January 22, 2016 Vandse

 Declaration, and March 31, 2016 Kannan declaration were also filed during

 prosecution of unasserted U.S. Patent No. 9,687,526 (the “’526 patent).

                 4.   May 1, 2017 Kannan Declaration
       193. Inventor Vinayagam Kannan submitted a declaration signed on May

 1, 2017 to the PTO under 37 C.F.R. § 1.132 during prosecution of the ’526 patent.



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       194. The May 1, 2017 Kannan declaration concluded that “cooling a

 vasopressin formulation would not cause an increase in decomposition in

 comparison to a vasopressin formulation stored at 25 ºC or 40 ºC. Thus, the

 stability of the formulations at 5 ºC should not be lesser than the stability of the

 same formulations at 25 ºC or 40 ºC. The stability data obtained at 25 ºC or 40 ºC

 are sufficient to show at least a similar level of stability at the claimed

 temperatures.”

                5.   May 22, 2017 Kannan Declaration

       195. Inventor Vinayagam Kannan submitted a declaration signed on May

 22, 2017 to the PTO under 37 C.F.R. § 1.132 during prosecution of unasserted U.S.

 Patent No. 9,844,239 (the “’239 patent”).

       196. The May 22, 2017 Kannan declaration referred to the data from

 experiments reported in the August 11, 2015 Vandse declaration, January 22, 2016

 Vandse Declaration, and March 31, 2016 Kannan declaration.

       197. The May 22, 2017 Kannan declaration reported that the results of the

 experiments reported in the August 11, 2015 Vandse declaration, January 22, 2016

 Vandse Declaration, and March 31, 2016 Kannan declaration “suggest that the

 stability of a vasopressin formulation is affected by pH” and concluded that “the

 differences in the results of the stability tests for each formulation are attributable

 to a change in pH.”



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       198. The May 22, 2017 Kannan declaration concluded that “[t]he claimed

 pH range of 3.5 to 4.1 reflects the good stability of vasopressin provided at pH 3.5

 to 4.1 at both temperatures tested.”

       199. The May 22, 2017 Kannan declaration presented precision results for

 the experiments presented in the August 14, 2015 and January 22, 2016 Vandse

 declarations in the form of intra-assay repeatability and inter-analyst repeatability.

 Intra-assay repeatability was reported as 0.5% for Chemist 1 and 0.2% for Chemist

 2. Inter-analyst repeatability was reported as 0.5%. Both intra-assay repeatability

 and inter-analyst repeatability were reported to meet the acceptance criteria.

       200. The May 22, 2017 Kannan declaration noted that “FIGURES 5-6

 provide direct comparisons of the % total impurities observed in the Vasopressin

 2.5 to 3.4 Formulations with those observed in the Vasopressin 3.5 to 4.5

 Formulations.”




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       201. The May 22, 2017 Kannan declaration noted that “FIGURES 7-8

 provide normalized plots comparing the assay (% label claim; vasopressin



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 remaining) observed in the Vasopressin 2.5 to 3.4 Formulations with those

 observed in the Vasopressin 3.5 to 4.5 Formulations. The data were normalized

 and presented as % assay decrease of vasopressin over the four-week study period,

 rather than absolute assay, because the amount of starting vasopressin varied

 between the Vasopressin pH 2.5 to 3.4 Formulations and the Vasopressin pH 3.5 to

 4.5 Formulations.”




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       202. The y-axis of the graphs presented in Figure 5 and Figure 6 is “%

 Total Impurities.”

       203. The y-axis of the graphs presented in Figure 7 and Figure 8 is “%

 Assay Decrease (Absolute).”

       204. The experiments reported in the aforementioned Kannan and Vandse

 declarations used the same lot of vasopressin API

       F.    Section 112

       205. In his opening expert report, Amneal’s expert provided opinions that

 the Asserted Claims were indefinite. Those opinions violated the parties’

 agreement to narrow the scope of discovery and were ultimately struck by the

 Court. See Nov. 16, 2020 Hr’g Tr. at 55:24-59:23. Although nominally labelled as

 directed to written description and enablement, Amneal’s expert’s opinions as to

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 alleged invalidity on those grounds rest on his stricken indefiniteness opinions that

 the claim term “% sequence homology” is indefinite. The fact that Amneal’s

 written description and enablement defenses are merely indefiniteness arguments

 shoehorned inappropriately into other legal theories is illustrated by the written

 description section of Amneal’s Statement of Contested Issues of Fact, which is

 expressly based on the stricken defense, concluding that the Asserted Claims “are

 indefinite.” See Pretrial Order Ex. 3 ¶ 343.

       Issues Presented:

       206. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims is invalid for lack of written description.

       207. Whether Amneal can demonstrate by clear and convincing evidence

 that each of the Asserted Claims is invalid for lack of enablement.

       208. Whether, based on the context of the Asserted Patents and the

 knowledge of a POSA, a POSA would have understood “from about 85% to about

 100% sequence homology to SEQ ID NO.: 1,” as it is used in the Asserted Claims,

 to mean from about 85% to about 100% sequence identity to SEQ ID NO. 1.

       209. Whether Amneal can demonstrate by clear and convincing evidence

 that the determination of whether an impurity has “from about 85% to about 100%

 sequence homology to SEQ ID NO.: 1” would be different if a sequence similarity

 calculation would be made in lieu of a sequence identity calculation.



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       210. Whether Amneal can demonstrate by clear and convincing evidence

 that a POSA would not know the identity of all of the impurities to determine if a

 particular composition was within the scope of the claims where, for example, a

 POSA could readily determine the chemical structure of all impurities within

 vasopressin formulations or, if not all impurities have been identified, use the

 amounts of known impurities and total impurities to assess whether any

 unidentified impurities with sufficient homology would exceed the claimed range.

       211. Whether a POSA would have understood that the inventors possessed

 a method of determining whether an impurity has “from about 85% to about 100%

 sequence homology to SEQ ID NO.: 1.”

       212. Whether a POSA would have understood that the inventors possessed

 vasopressin formulations with 0.9-1.7% impurities having “from about 85% to

 about 100% sequence homology to SEQ ID NO.: 1.”

       213. Whether determining whether a specific vasopressin formulation

 contains 0.9-1.7% impurities having “from about 85% to about 100% sequence

 homology to SEQ ID NO.: 1” would have required undue experimentation.

 VI.   ENFORCEABILITY
       214. Whether Amneal can demonstrate by clear and convincing evidence

 that any of the Asserted Patents is unenforceable.




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              A.    Asserted Patents

       215. The Asserted Patents are part of a family of patents arising from U.S.

 Patent Application 14/610,499 (the “’499 application”). The ’478 and ’239 patents

 are each a continuation of the ’499 application. The ’526 patent is a continuation-

 in-part (“CIP”) of the ’239 patent. As such, the ’526 patent contains additional

 matter in the specification as compared to the ’239 patent. For example, the

 specification of the ’526 patent contains more than sixty columns of additional

 disclosure, eight additional figures, and seven additional examples as compared to

 the ’239 patent. The ’209 and ’785 patents are each a CIP of the ’526 patent. The

 ’209 and ’785 patents share a common specification with each other, and contain

 additional matter as compared to the ’526 patent. For example, the specification of

 the ’209 and ’785 patents contains 15-month stability data for certain vasopressin

 formulations.

              B.    Declarations related to the April 2014 VASOSTRICT Label

       216. Inventor Vinayagam Kannan submitted a declaration signed on

 November 24, 2015 to the PTO under 37 C.F.R. § 1.130(a) during prosecution of

 the ’239 patent.

       217. The Office Action cited in the November 24, 2015 Kannan

 declaration alleged that the April 2014 VASOSTRICT Label anticipated the

 invention recited in the pending claims at issue.



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       218. The November 24, 2015 Kannan declaration states “Matthew Kenney

 and I invented the subject matter of the Label that is cited in the Office Action. As

 part of my responsibilities, I forwarded the details of the joint invention to the

 regulatory department of PAR STERILE.”

       219. As of November 24, 2015, the relevant pending claim of U.S.

 Application No. 14/717,877 (the application that led to the ’239 patent) recited:




       220. Dr. Kannan was an inventor of that subject matter, including without

 limitation the limitation related to storing the composition in refrigerated

 conditions.

       221. Michelle Bonomi-Huvala submitted a declaration signed on

 November 24, 2015 to the PTO under 37 C.F.R. § 1.130(a) during prosecution of

 the ’239 patent.



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        222. As of November 24, 2015, Michelle Bonomi-Huvala was “Senior

 Vice President, Regulatory Affairs at Par Pharmaceutical, Inc.”

        223. The November 24, 2015 Bonomi-Huvala declaration states that “[a]s

 part of the inventors’ employment responsibilities, the inventors forwarded the

 details of the joint invention to my department. One of the functions performed by

 my department is the submission of regulatory filings to the FDA. Upon receiving

 the details of the joint invention and at my direction, a member of my department

 submitted the details of the joint invention to the FDA in the filings directed

 toward regulatory approval of the VASOSTRICT product manufactured by PAR

 CO.”

        224. The November 24, 2015 Bonomi-Huvala declaration further states

 that “[t]he FDA obtained the subject matter disclosed in the Label directly from a

 member of my department, who obtained the subject matter directly from the

 inventors. Thus, the FDA obtained the subject matter recited in the Label from the

 inventors.”

        225. The Kannan and Bonomi-Huvala declarations are consistent with the

 practice and procedure followed by Par in connection with the submission of

 information to the FDA in connection with pending NDAs and ANDAs. In

 particular, Dr. Kannan was member of the formulation team at Par working on the

 development of VASOSTRICT and was a named inventor with respect to the then-



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 pending claims of U.S. Patent Application No. 14/717,877. Dr. Kannan

 contributed to the conception of the portion of the April 2014 VASOSTRICT

 Label that recites refrigeration of the diluted vasopressin for up to 24 hours. This

 and other information compiled by the formulation team was incorporated into the

 proposed label submitted to the FDA by the regulatory department and that was

 ultimately published by the FDA as the April 2014 VASOSTRICT Label. Thus,

 the proposed label submitted to the FDA by the regulatory department at Par was

 obtained, directly or indirectly, from at least Kannan, one of the joint inventors.

        C.     Alleged Inequitable Conduct

        226. Whether Amneal can demonstrate by clear and convincing evidence

 that the inventors or prosecuting attorneys of the Asserted Patents knowingly

 withheld material information from the PTO during prosecution of the Asserted

 Patents.

        227. Whether any information allegedly not disclosed during prosecution,

 including alleged prior art or other information, was material to the prosecution of

 the Asserted Patents.

        228. Whether Amneal can demonstrate by clear and convincing evidence

 that the April 2014 VASOSTRICT Label was material to the patentability of the

 Asserted Patents. The above sections relating to validity of the Asserted Patents

 are relevant to this issue.



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       229. Whether Amneal can demonstrate by clear and convincing evidence

 that PITRESSIN was material to the patentability of the Asserted Claims. The

 above sections relating to validity of the Asserted Patents are relevant to this issue.

       230. Whether Amneal can demonstrate by clear and convincing evidence

 that the allegedly withheld information about PITRESSIN was material to the

 patentability of the Asserted Claims. The above sections relating to validity of the

 Asserted Patents are relevant to this issue.

       231. Whether Amneal can demonstrate by clear and convincing evidence

 that the inventors had knowledge of the relevant properties of PITRESSIN during

 prosecution of the Asserted Patents.

       232. Whether Amneal can demonstrate by clear and convincing evidence

 that Vinayagam Kannan, Michelle Bonomi-Huvala, or Craig Kenesky knowingly

 submitted unmistakably false declarations to the PTO during prosecution of the

 ’239 patent, and whether they specifically intended to deceive the PTO by

 submitting such declarations.

       233. Whether Amneal can demonstrate by clear and convincing evidence

 that the April 2014 VASOSTRICT Label was material to the patentability of the

 unasserted ’239 patent. The above sections relating to validity of the Asserted

 Patents are relevant to this issue.




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        234. Whether Amneal can demonstrate by clear and convincing evidence

 that the April 2014 VASOSTRICT Label disclosed the “0-2% vasopressin

 degradation products” limitation of the ’239 patent.

        235. Whether, even if there is a finding of inequitable conduct with respect

 to the ’239 patent, Amneal can demonstrate by clear and convincing evidence that

 such conduct would infect the prosecution of the Asserted Patents.

        236. Whether any material information was withheld from the PTO during

 prosecution of the Asserted Patents, and whether any of the above-named actors

 acted with the specific intent to deceive the PTO.

        237. Whether any information allegedly withheld from the PTO was either

 cumulative of prior art already before the examiner during prosecution or not

 disclosed for scientific reasons.

              1.     Par did not commit inequitable conduct during prosecution
                     of the ’239 patent
        238. Amneal asserts that Vinayagam Kannan and Michelle Bonomi-Huvala

 submitted false declarations to the PTO to remove the April 2014 VASOSTRICT

 Label from consideration as prior art and to secure issuance of the ’239 patent.

 The declarations are not unmistakably false and, even if, arguendo, they are proven

 false by clear and convincing evidence, Amneal cannot prove by clear and

 convincing evidence that they were submitted with specific intent to deceive the

 PTO.


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       239. The November 24, 2015 Kannan Declaration states that “[t]he FDA

 obtained the subject matter disclosed in the Label directly from the regulatory

 department of PAR STERILE, who obtained the subject matter directly from the

 inventors. Thus, the FDA indirectly obtained the subject matter disclosed in the

 Label from the inventors.” Kannan Decl. ¶ 8. Ms. Bonomi-Huvala’s November

 24, 2015 Declaration contains a similar statement. See Bonomi-Huvala Decl. ¶¶ 6-

 7.

       240. The November 24, 2015 Kannan Declaration also contains a listing of

 administration limitations and limitations related to the composition of the

 pharmaceutical formulation recited in the Label, for example, “a method of

 increasing blood pressure in a hypotensive human.” Kannan Decl. ¶ 7. The final

 two sentences of this paragraph state “The Label recites refrigeration of the diluted

 vasopressin for up to 24 hours. Label, page 1. The FDA obtained this information

 from me and Matthew Kenney, as we invented this subject matter.” Id.

       241. In his deposition, Dr. Kannan stated that he contributed to the April

 2014 label by “evaluating that refrigeration of diluted vasopressin” for up to 24

 hours. Kannan Sept. 2019 Dep. 254:19-257:7. Thus, Dr. Kannan testified that he

 invented this subject matter of the Label. Dr. Kannan also testified regarding his

 other contributions to the April 2014 VASOSTRICT Label and the then-pending




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 claims. See, e.g., Kannan Sept. 2019 Tr. at 257:21-261:2; Kannan Mar. 2020 Tr. at

 110:3-112:4.

       242. It is unreasonable to assume that Dr. Kannan or Craig Kenesky

 intended to represent to the PTO that either Dr. Kannan or Mr. Kenney, both

 pharmaceutical formulators, invented vasopressin, a method of increasing blood

 pressure using vasopressin, an administration regime for vasopressin, or an

 infusion rate for vasopressin. As the examiner was well-aware, such elements

 from the April 2014 VASOSTRICT Label were known in the prior art to a POSA

 at the time of Dr. Kannan’s November 24, 2015 declaration.

       243. It is unreasonable to assume that the examiner understood Dr. Kannan

 to be saying in his declaration that he and Mr. Kenney themselves invented each

 element of the recited subject matter.

       244. Moreover, in addition to his contributions described above, Dr.

 Kannan believed at the time he signed his November 24, 2015 declaration that the

 declaration referred to the version of the Original VASOSTRICT Label that was

 used with Original VASOSTRICT as sold by Par (that is, the label approved in

 September 2014 rather than the April 2014 label which was never included with

 any product actually sold by Par) and that, like the then-pending patent claim being

 prosecuted, further recited refrigerated storage of the product, to which Dr. Kannan

 contributed.



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       245. The representations in the November 24, 2015 declarations are thus

 not unmistakably false, because Dr. Kannan invented the subject matter of the

 Label related to refrigeration of the diluted vasopressin for up to 24 hours, and the

 declarations can be reasonably read to relate to invention of this inventive subject

 matter.

       246. The witnesses’ and Par’s lack of current knowledge regarding the

 preparation of the April 2014 VASOSTRICT Label and forwarding of the details

 of the invention does not create a presumption that the November 24, 2015

 declarations are unmistakably false.

       247. For example, Ms. Bonomi-Huvala stated




       248. Neither Vinayagam Kannan, Michelle Bonomi-Huvala, nor Craig

 Kenesky engaged in affirmatively egregious misconduct in connection with the

 November 24, 2015 declarations.

       249. The April 2014 VASOSTRICT Label was cited as an anticipating

 reference in an Office Action dated October 21, 2015 during prosecution of the

 ’239 patent. The anticipation rejection was based on the Label’s pH disclosure,

 which was identical to the pH range recited in the pending claims at the time.



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 However, the pH limitation in the claims was later amended to recite a range of

 3.5-4.1 and degradation-related limitations were added to the claims.

              2.     The alleged inequitable conduct during prosecution of the
                     ’239 patent, even if proven, would not infect the Asserted
                     Patents
       250. Amneal asserts that any alleged inequitable conduct during

 prosecution of the ’239 patent, if proven by clear and convincing evidence, would

 render the Asserted Patents unenforceable under the doctrine of infectious

 unenforceability. However, at least because there is no immediate and necessary

 relation between this alleged conduct and the prosecution of the Asserted Patents,

 the Asserted Patents cannot be found unenforceable under this doctrine.

       251. Neither Vinayagam Kannan, Michelle Bonomi-Huvala, nor Craig

 Kenesky engaged in inequitable conduct during prosecution of the ’239 patent.

 However, a finding of inequitable conduct against the ’239 patent does not and

 would not infect the Asserted Patents for at least the following reasons. There is

 no immediate and necessary relation between the alleged misconduct and the

 prosecution of the Asserted Patents, at least because the claims of the Asserted

 Patents are significantly different from the claims that were at issue at the time that

 the alleged inequitable conduct in the ‘239 prosecution took place, and because the

 April 2014 VASOSTRICT Label is merely cumulative of other art cited during

 prosecution of the Asserted Patents (including the PPC and Treschan references)



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 and would not have anticipated or rendered obvious, and does not anticipate or

 render obvious, any claim of any Asserted Patent.

       252. For example, the claims pending at the time of the November 2015

 Kannan and Bonami-Huvala declarations during prosecution of the ’239 patent

 recited a pH of 3.4-3.6. This was the same pH range disclosed in the April 2014

 VASOSTRICT Label. However, the pH range recited in the Asserted Claims is

 3.7-3.9, which does not overlap with the pH range of 3.4-3.6 disclosed in the April

 2014 VASOSTRICT Label. Thus, the pH 2.5-4.5 range disclosed in the PPC

 reference and cited by the examiner during prosecution of the Asserted Patents is

 closer to the pH 3.7-3.9 range claimed in the Asserted Patents than the 3.4-3.6 pH

 range disclosed in the April 2014 VASOSTRICT Label. In addition, Par

 incorporates by reference the above sections relating to validity of the Asserted

 Patents into its response to Amneal’s inequitable conduct defense.

              3.    The inventors did not withhold material information during
                    prosecution of the Asserted Patents

                    a)     The allegedly withheld information about PITRESSIN is
                           not but-for material

       253. Amneal asserts that Par committed inequitable conduct by

 intentionally withholding information regarding a prior art PITRESSIN

 formulation with the specific intent to deceive the PTO, but Amneal cannot prove




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 by clear and convincing evidence that this information is but-for material, nor that

 it was withheld with specific intent to deceive the PTO.

       254. Amneal cannot meet its burden of proving by clear and convincing

 evidence that any prior art sale or use of PITRESSIN anticipated or rendered

 obvious any Asserted Claim.

       255. The examiner had information about PITRESSIN through at least the

 “Product Insert for Pitressin” reference that was before the Patent Office.

       256. Amneal asserts that the inventors would not have been able to show

 the criticality of the claimed pH values over the target manufacturing

 range for PITRESSIN. However, the target manufacturing                   range for

 PITRESSIN does not raise a presumption of obviousness for the pH 3.7-3.9 range

 claimed in the Asserted Patents. Accordingly, the inventors would not have had to

 demonstrate criticality over the target manufacturing pH range for PITRESSIN.

       257. PPC, the primary reference relied on by Examiner Bradley in initially

 rejecting the claims of each of the Asserted Patents, disclosed a pH range of 2.5-

 4.5. This range encompasses the pH 3.7-3.9 range claimed in the Asserted Patents,

 whereas the target manufacturing              range for PITRESSIN does not even

 overlap with the claimed range. Thus, for purposes of the materiality analysis

 here, the pH range disclosed in PPC is closer to the claimed pH range than the

 target manufacturing pH range for PITRESSIN.



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       258. The pH 2.5-4.5 range disclosed in PPC contains the target

 manufacturing                range for PITRESSIN. Therefore, the target

 manufacturing                range for PITRESSIN is cumulative of the 2.5-4.5 range

 of PPC.

       259. Amneal cannot prove by clear and convincing evidence that the

 information allegedly withheld regarding PITRESSIN is but-for material to the

 prosecution of any of the Asserted Patents.

       260. Additionally, Amneal cannot demonstrate by clear and convincing

 evidence that the inventors had knowledge of the relevant properties of

 PITRESSIN, including the pH values of particular batches thereof, during

 prosecution of the Asserted Patents.

                    b)     The April 2014 VASOSTRICT Label is not but-for
                           material.
       261. Amneal asserts that Par committed inequitable conduct by

 intentionally removing the April 2014 VASOSTRICT Label from consideration as

 prior art under Section 102(b)(1), but Amneal cannot prove by clear and

 convincing evidence that this information was but-for material to the patentability

 of the ’239 patent or the Asserted Patents, nor that it was withheld with specific

 intent to deceive the PTO.

       262. Amneal asserts that the inventors would not have been able to show

 the criticality of the claimed pH values over the pH 3.4-3.6 range disclosed in the


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 April 2014 VASOSTRICT Label. However, the pH 3.4-3.6 range in the label does

 not raise a presumption of obviousness for the pH 3.7-3.9 range claimed in the

 Asserted Patents. Accordingly, the inventors would not have had to demonstrate

 criticality over the pH range in the April 2014 VASOSTRICT Label.

       263. PPC, the primary reference relied on by Examiner Bradley in initially

 rejecting the claims of each of the Asserted Patents, disclosed a pH range of 2.5-

 4.5. This range encompasses the pH 3.7-3.9 range claimed in the Asserted Patents,

 whereas the pH 3.4-3.6 range disclosed in the April 2014 VASOSTRICT Label

 does not even overlap with the claimed range. Thus, for purposes of the

 materiality analysis here, the pH range disclosed in PPC is closer to the claimed pH

 range than the pH range in the April 2014 VASOSTRICT Label.

       264. The pH 2.5-4.5 range disclosed in PPC contains the pH 3.4-3.6 range

 disclosed in the April 2014 VASOSTRICT Label. Therefore, the pH 3.4-3.6 range

 in the April 2014 VASOSTRICT Label is cumulative of the 2.5-4.5 range of PPC.

       265. The examiner also relied upon the Treschan reference in rejecting the

 then-pending claims of the Asserted Patents as obvious, and Defendants assert that

 that reference “taught the limitations relating to the clinical administration of

 vasopressin.” Pretrial Order Ex. 3 ¶ 369. The alleged disclosure of the claimed

 clinical indication and administration limitations from the April 2014




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 VASOSTRICT Label was cumulative of the teachings within Treschan that were

 before the examiner during prosecution of the Asserted Patents.

       266. Amneal cannot demonstrate by clear and convincing evidence that the

 April 2014 VASOSTRICT Label is but-for material to the prosecution of the

 Asserted Patents.

 VII. EXCEPTIONAL CASE
       267. As an initial matter, exceptional case is not an issue to be tried, but

 rather an issue for the Court to decide post-trial.

       268. Amneal contends that this case is exceptional and should be awarded

 attorneys’ fees because Par allegedly lacked a reasonable basis to bring and

 maintain this suit against Amneal and allegedly engaged in inequitable

 conduct. None of Amneal’s contentions have any merit. Amneal seeks approval

 to sell ANDA products that will infringe the Asserted Patents. Par has not acted in

 bad faith. Moreover, Amneal’s inequitable conduct allegations fail for at least all

 the reasons set forth above. In fact, it is Amneal’s litigation conduct during this

 case that is exceptional, which Par will demonstrate at the appropriate time when

 seeking to recover its own attorneys’ fees.




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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO
  PAR INNOVATION COMPANY, LLC,                 C.A. No. 18-cv-2032-CFC-CJB
                                               (Consolidated)
                    Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.

                    Defendants.


     DEFENDANTS’ STATEMENT OF CONTESTED ISSUES OF FACT




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             Pursuant to Local Rule 16.3(c)(4) and the Court's Scheduling Order (D.I. 47),

     Defendants Amneal EU, Limited, Amneal Pharmaceuticals of New York, LLC,

     Amneal Biosciences LLC, and Amneal Pharmaceutical Pvt. Ltd. (“Defendants” or

     “Amneal”) (collectively, “Amneal”) submit this Statement of Contested Issues of

     Fact (“Statement”). Amneal incorporates by reference any issues of fact set forth in

     its responsive papers to any comparable material filed or submitted by Plaintiffs Par

     Pharmaceuticals, Inc., Par Sterile Product, LLC., and Endo Par Innovation Co., LLC

     (collectively, “Plaintiffs”).

             In this action, Plaintiffs are currently asserting U.S. Patent No. 9,744,209 (“the

     ’209 patent”) and U.S. Patent No. 9,750,785 (“the ’785 patent”) (collectively, the

     “Patents-in-Suit”). Specifically, Plaintiffs are asserting claims 1-8 of the ’209 patent

     and claims 1, 5, and 8 of the ’785 patent (the “Asserted Claims”).

             Amneal reserves all rights with respect to these disclosures, including the right

     to amend, supplement, or otherwise modify these disclosures without prejudice

      according to the schedule107237set forth by the Parties for pre-trial        exchanges, the local
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     rules, the Federal Rules of Civil Procedure, and any other basis in fact or law.

     Amneal reserves the right to affirmatively use, elaborate upon, or dispute any fact

     cited by Plaintiffs, including the scientific bases for such fact or Plaintiffs’

     application of such fact in this case.


                                                      1
            By including a fact herein, Amneal does not assume the burden of proof or

     production with regard to that fact. For instance, Plaintiffs bear the burden of proof

     with respect to infringement. As such, Amneal reserves the right to object to and/or

     contest those alleged facts and present any and all rebuttal evidence in response to

     those alleged facts when identified by Plaintiffs. Any fact not specifically admitted

     in the parties’ Statement of Uncontested Facts should be considered contested, even

     if not specifically enumerated herein. Amneal’s following statement is based, in

     relevant part, on its current understanding of Plaintiffs’ positions and the prior

     proceeding in this litigation.

            To the extent Amneal’s Statement of Contested Issues of Law contains issues

     of fact, those issues are incorporated herein by reference. If the Court determines

     that any issue identified in this list as an issue of fact is more properly considered an

     issue of law, Amneal incorporates such issue by reference into its Statement of Issues

     of Law. Amneal incorporates by reference its expert reports in support of any proof

     to be presented by expert testimony. To the extent that a fact or an issue of fact in

      one section applies to another
                                  107238section, claim or theory, it is incorporated   therein as
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     well without separate repetition. Amneal incorporates by reference the Statement of

     Uncontested Facts.


       I.   CONSTRUCTION OF THE ASSERTED CLAIMS

            1.     All Asserted Claims of the ’785 and ’209 patents require the claimed

                                                 2
     vasopressin formulation to have “a pH of 3.7-3.9.” A person of ordinary skill in the

     art (POSA) would have understood that the plain and ordinary meaning of “a pH of

     3.7-3.9” would exclude any pH value below 3.7 or above 3.9.

             2.     The prosecution history makes clear that the applicants understood the

     claimed pH range of “3.7-3.9” would not encompass pH values outside of that range.

     The applicants originally sought patent claims on a formulation with a pH of “3.75

     to 3.85” and subsequently reworded the range as “3.7-3.9.” See U.S. Application No.

     15/426,693 File History, (JTX-0008) PAR-VASO-0005400-6452 at PAR-VASO-

     0005810, June 28, 2017 Amendments to the Claims (hereinafter, “’209 patent file

     history”); U.S. Application No. 15/426,703 File History, (JTX-0009) PARVASO-

     0009319-10365 at PAR-VASO-009716, June 28, 2017 Amendments to the Claims

     (hereinafter, “’785 patent file history”). Not only does this demonstrate that the

     claimed range would begin at 3.7 and end at 3.9, but also that the scope of this range

     is nowhere near a pH of 3.6.

             3.     The applicants also sought to overcome the patent examiner’s

      obviousness rejection by107239 arguing that the pH range claimed             was critical to the
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     claimed invention.        See ’209 patent file history at (JTX-0008) PAR-VASO-

     0005816-17, June 28, 2017 Response to Non-Final Office Action at 8-9; ’785 patent

     file history at (JTX-0009) PAR-VASO-0009721-22, June 28, 2017, Response to

     Non-Final Office Action at 7-8. During the prosecution history of the patents-in-


                                                      3
     suit, the applicants argued that total impurities were greater in vasopressin

     formulations with when the pH was below 3.7 or above 3.9. See ’209 patent file

     history at (JTX-0008) PAR-VASO-0005816, June 28, 2017 Response to Non-Final

     Office Action at 8; ’785 patent file history at (JTX-0009) PAR-VASO-0009721,

     June 28, 2017, Response to Non-Final Office Action at 7. The applicants also

     described the claimed range as “narrowly drawn” around a formulation with a pH of

     3.8. See ’209 patent file history at (JTX-0008) PAR-VASO-0005816, June 28, 2017

     Response to Non-Final Office Action at 8; ’785 patent file history at (JTX-0009)

     PAR-VASO-0009721, June 28, 2017, Response to Non-Final Office Action at 7.

             4.     The patent specification further confirms that a POSA would

     understand “a pH of 3.7-3.9” to exclude pH values outside that range. The patent

     specification describes a comparison formulation with a pH of “about 3.4 to about

     3.6,” that is used to compare with the claimed formulation. ’209 patent at 12:17-24;

     ’785 patent at 12:16:23. A comparison formulation must be considered different

     from the claimed formulation. Here, the comparison formulation described in the

      Asserted Patents was the         formulation of Pitressin®. See
                                  107240                                           Section 3.2.P.2.2
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     Pharmaceutical Development Drug Product- Pitressin®, NDA No. 204485, (DTX-

     1303) PAR-VASO_0072798-803 at PAR-VASO_0072800.                                By using this

     comparison formulation in the patents, a POSA would understand that the patentees

     considered a pH of “about 3.6” to be different from a pH of 3.7.


                                                     4
             5.     The patent specification also lists different embodiments of the claimed

     formulation using different pH ranges which differ in increments of 0.05. ’209

     patent at 47:44-48:5; ’785 patent at 47:43-48:4. This list of possible pH ranges

     describes different embodiments and indicates to a POSA that the patentees were

     differentiating between embodiments with pH ranges such as “about 3.65 to about

     3.85” and “about 3.7 to about 3.9.” ’209 patent at 47:59-60; ’785 patent at 47:58-

     59.

             6.     In addition, U.S. Patent No. 9,937,223, a patent in the same family as

     the Patents-in-Suit, claims a formulation with a pH of “about 3.7 to about 3.8.” U.S.

     Patent No. 9,937,223 at claim 1. A POSA would understand that the fact that the

     patentees chose to use the term “about” in a related patent means that the term

     “about” cannot be implied or incorporated into claim limitations which expressly do

     not use the term “about.” Therefore, a POSA would not understand “a pH of 3.7-

     3.9” to include anything outside the scope of that numerical range.

             7.     This understanding of “a pH of 3.7-3.9” is further consistent with the

      fact that a pH of 3.6 has 26%    more protons than a pH of 3.7, and
                                  107241                                           therefore would be
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     different. Because pH is based on a logarithmic scale, a construction of “a pH of

     3.7-3.9” that encompass pH values of 3.65 to 3.94 would result in a 51% increase in

     the claimed range of proton concentrations, and incorporate prior art formulations.




                                                     5
      II.    PERSON OF ORDINARY SKILL IN THE ART (“POSA”)

             8.      A POSA would possess a relatively high level of skill, such as an M.D.

     and several years of experience in cardiovascular medicine and pulmonary and

     critical care and/or clinical research in those areas, or with several years of

     experience treating patients with vasopressin or other antidiuretic hormones,

     including regarding their use to increase blood pressure, treat vasodilatory shock,

     septic shock and other related conditions, their mechanism of action, and clinical

     and laboratory experience with their use. The amount of post-graduate experience

     would depend on the level of formal education and amount of experience treating

     cardiovascular and pulmonary conditions such as vasodilatory shock, and/or clinical

     research. A POSA to the clinical aspects of the claim limitations would have had

     access to and would have worked in collaboration with persons having several years

     of experience in drug development and/or the formulation of drug products.

             9.      A POSA would include a person having a Ph.D. in pharmacy,

     biochemistry, chemistry, chemical engineering or a related field and at least two

     years of experience in107242
                              working with parenteral formulations and protein
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     formulations. A POSA may have a Master’s Degree in pharmacy, biochemistry,

     chemistry, chemical engineering or a related field and at least five years of

     experience in parenteral formulations and peptide formulations. Additionally, a

     POSA would have had access to and would have worked in collaboration with


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 persons having several years of experience in clinical medicine as well as other

 professions in the drug development field, such as pharmacologists, chemists, or

 biologists.

 III.     AMNEAL’S PROPOSED ANDA PRODUCTS WILL NOT INFRINGE
          THE PATENTS-IN-SUIT

                A. OVERVIEW OF AMNEAL’S PROPOSED ANDA PRODUCTS

          10.     Amneal submitted two ANDAs seeking approval of a generic

 Vasopressin Injection, ANDA No. 212944 for its single-dose 1 mL vial product

 (“SDV Product”) and ANDA No. 212945 for its multi-dose 10 mL vial product

 (“MDV Product”). The ingredients of both formulations are outlined in the below

 table:




                                        7
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 Section 2.3.S Quality Overall Summary, ANDA No. 212944, (DTX-1177)

 AMVAS0000296-456 at AMVAS0000302 (hereinafter, “SDV Quality Overall

 Summary”).




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 Section 2.3.S Quality Overall Summary, ANDA No. 212945, (DTX-1199)

 AMVAS0009368-544 at AMVAS0009374 (hereinafter, “MDV Quality Overall

 Summary”).

             B. AMNEAL’S PROPOSED ANDA PRODUCT SPECIFICATIONS

       11.     The Amneal ANDAs both provide specifications for the quality

 attributes of the SDV Product and MDV Product upon release. Among several

 attributes, specifications are provided for pH and impurity levels. The specifications

 for these attributes upon release are summarized below:




                                           9
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 Section 3.2.P.5.1 Specification, ANDA No. 212944, (DTX-1263)

 AMVAS0132440-55 at AMVAS0132443-44 (hereinafter, “SDV Specification”);

 Section 3.2.P.5.1 Specification, ANDA No. 212945, (DTX-1270)

 AMVAS0134689-706 at AMVAS0134692-94 (hereinafter, “MDV Specification”).

       12.   In its original submission to the FDA,

                            .    SDV Quality Overall Summary at (DTX-1177)

 AMVAS0000314;       MDV        Quality    Overall   Summary    at   (DTX-1199)


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 AMVAS0009386.



                                     .        See (DTX-1220) AMVAS0018322 at

 AMVAS0018323; (DTX-1224) AMVAS0018470 at AMVAS0018471 (




 SDV Quality Overall Summary at (DTX-1177) AMVAS0000314 (emphasis

 added); MDV Quality Overall Summary at (DTX-1199) AMVAS0009386

 (emphasis added).

       13.




                                         11
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 Section 3.2.P.5.6 Justification of Specification, ANDA No. 212944, (DTX-

 1106) AMVAS0018354 at AMVAS0018357 (hereinafter, “Sept. 2019 SDV

 Justification of Specification”); Section 3.2.P.5.6 Justification of

 Specification, ANDA No. 212945, (DTX-1227) AMVAS0018502 at

 AMVAS0018505 (hereinafter, “Sept. 2019 MDV Justification of

 Specification”).

       14.




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             C. AMNEAL’S STABILITY TESTING

       15.     The proposed storage conditions for both SDV and MDV products are

 to “[s]tore between 2º to 8º C (36º to 46º F),” which are considered refrigerated

 conditions. Section 3.2.P.8.1 Stability Summary and Conclusions, ANDA No.

 212944, (DTX-1264) AMVAS0132632-34 at AMVAS0132634 (hereinafter, “SDV

 Stability Summary”); Section 3.2.P.8.1 Stability Summary and Conclusions, ANDA

 No. 212945, (DTX-1271) AMVAS0134908-10 at AMVAS0134910 (hereinafter,

 “MDV Stability Summary”).




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       16.    As part of its ANDAs, Amneal has conducted stability testing through

 the proposed shelf life of its SDV and MDV Products under its proposed storage

 conditions to demonstrate that pH and impurities, as well as other quality attributes,

 remain within Amneal’s proposed finished product specifications.            See, e.g.,

 Stability Protocol, ANDA No. 212944 at (JTX-0008) AMVAS0005552 at

 AMVAS0005554-55; Section 3.2.P.8.3 Stability Report for Additional Study,

 ANDA No. 212944, (DTX-1266) AMVAS0132645-65 (hereinafter, SDV

 Additional Stability Report); Stability Protocol, ANDA No. 212945, (DTX-1368)

 AMVAS0134808-907 at AMVAS0134900-01; Additional Study Protocol, ANDA

 No. 212945, (DTX-1387) AMVAS0134891-97 at AMVAS0134893-95.




                                                   . Three batches for each of the

 Amneal Products (SDV and MDV) were monitored for stability testing:

                                                    were monitored for ANDA No.

 212944 and                                                                      were


                                          14
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 monitored for ANDA No. 212945. The results of Amneal’s stability testing is

 discussed in greater detail below.

              D. AMNEAL’S MANUFACTURING PROCESS

        17.     Amneal’s manufacturing process consists of several steps which

 require the monitoring of pH, including a pH adjusting step. Amneal’s ANDAs

 describe the manufacturing process as follows:

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    




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       19.   The bulk solution is subsequently analyzed to determine whether it

 meets the specification for certain parameters.     See SDV Description of

 Manufacturing Process at (DTX-1182) AMVAS0001456-57; MDV Description of

 Manufacturing Process at (DTX-1203) AMVAS0010636.




       20.




       21.


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       22.




       23.   Batch manufacturing records were submitted as part of both Amneal

 ANDAs which demonstrate all the relevant quality attributes which were recorded

 during the manufacturing process




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       .

           E. AMNEAL’S PROPOSED ANDA PRODUCTS WILL NOT
              SATISFY THE pH CLAIM LIMITATION OF THE ’785 AND
              ’209 PATENTS UPON MANUFACTURE OR DURING THEIR
              SHELF LIFE
                                       20
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       24.   All Asserted Claims of the ’785 and ’209 patents require the claimed

 vasopressin formulation to have “a pH of 3.7-3.9.” A POSA would not understand

 any pH value below 3.7 or above 3.9 to be encompassed by the claimed range.

       25.   Under a POSA’s understanding of the claimed pH range, Amneal’s

 ANDA Products would not literally infringe the Asserted Claims. First, the pH

 specification for Amneal’s ANDA Products upon release and throughout stability

 testing does not overlap with the claimed range. Second, the pH values recorded for

 Amneal’s ANDA batches upon release and throughout their shelf life have

 consistently demonstrated pH values that fall outside of the claimed range, and it

 would be expected that the pH behavior recorded is representative of Amneal’s

 future batches. And third, the formulation, manufacturing, and packaging choices

 made by Amneal show that it does not intend to make a vasopressin product with a

 pH of 3.7-3.9. For example, Amneal’s manufacturing process reflects




       26.   Amneal is not seeking FDA approval to market a vasopressin product

 with a pH between 3.7 and 3.9, nor does Amneal intend that its proposed products

 will have a pH between 3.7 and 3.9 during the shelf life.

                                                                            and the

 stability specification for Amneal’s proposed ANDA Products, Amneal has given


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 adequate control with respect to both manufacturing as well as finished product

 specification to ensure that the products will remain within the specification limit.

 Furthermore, Joshi testified



                                                                              .

       27.    Par’s expert Dr. Kirsch relies on pH data for development batches that

 are not representative of Amneal’s proposed ANDA Products.             Dr. Kirsch’s

 infringement analysis also relies on hypothetical batches released at the upper end

 of Amneal’s specification,                , but Dr. Kirsch does not explain how a

 vasopressin formulation                                                 , and he has

 not determined the likelihood of such an event occurring.

              1.        The pH Specification in Amneal’s ANDAs Does Not Meet
                        the pH Claim Limitation of the ’785 and ’209 Patents

       28.    As discussed above, pH is a quality attribute for Amneal’s proposed

 ANDA Products which is measured and recorded to characterize Amneal’s proposed

 ANDA Products upon manufacture and for stability testing during the products’

 proposed shelf life.

                                               . See SDV Specification at (DTX-1263)

 AMVAS0132443; MDV Specification at (DTX-1270) AMVAS0134692. This

 same specification for pH is also used for each measured time point in the stability

 study described in Amneal’s ANDAs. See SDV Specification at (DTX-1263)

                                          22
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 AMVAS0132443; MDV Specification at (DTX-1270) AMVAS0134692.                          Put

 another way, Amneal has told the FDA that it will manufacture a product that has a



 throughout its shelf life, as stored per the instructions in its proposed label. Amneal’s

 proposed ANDA products will not deviate from this pH specification during their

 shelf life, as discussed below.

       29.    A pH of 3.60 has 26% more protons than a pH of 3.7; therefore, a POSA

 would not consider 3.7 the same as a pH of 3.60. Furthermore, even assuming Dr.

 Kirsch’s interpretation of the pH limitations is correct and ordinary rounding

 principles apply, a POSA would not consider 3.65 —the lowest pH value that rounds

 to 3.7—to be the same as a pH of 3.60 because a pH of 3.60 has 12% more protons

 than a pH of 3.65.

              2.      The pH Data for Amneal’s ANDA Batches Do Not Meet the
                      pH Claim Limitation of the ’785 and ’209 Patents

       30.    In its ANDAs, Amneal has also provided pH data for exhibit batches

 that have been monitored upon manufacture and for 24 months, in line with the

 products’ shelf life. That data consistently reflects that Amneal’s products do not

 meet the pH claim limitation of the ’785 and ’209 patents, under either party’s

 understanding of the ordinary meaning of the limitation.

                      (a)

       31.                                 was manufactured according to Amneal’s

                                            23
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       32.



                                                                     therefore

 are not within the claimed range of 3.7 to 3.9.

       33.




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 to encompass 3.65-3.94 or 3.70-3.90.

                   (b)

       38.




                          :




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       39.



                                            therefore do not fall within the claimed

 pH range of 3.7-3.9.

       40.




                                      .


                                       29
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 This data is charted below:




       41.




                         therefore do not fall within the claimed pH range of 3.7-3.9.

       42.

                                           .




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       48.




                                                       and therefore do not fall

 within the claimed pH range of 3.7-3.9.

       49.

                                            .




                                                :




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       50.



                    . The pH therefore does not fall within the claimed pH range of

 3.7-3.9.

       51.



                                  . None of the pH values

 fall within the claimed pH range of 3.7-3.9, regardless of whether it is considered to

 encompass 3.65-3.94 or 3.70-3.90.



       52.




                                          35
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                                  107272
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                                                therefore do not fall within the

 claimed pH range of 3.7-3.9.

       54.




                                       37
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                                  107274




       55.    The results from this study show that



                                                                       The pH

 therefore does not fall within the claimed pH range of 3.7-3.9.

       56.




                                          38
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                                  107275




       57.   The data points in this study reflect that



                     The pH therefore does not fall within the claimed pH range of

 3.7-3.9.

       58.



                                  None of the pH values




                                          39
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                   (e)

       59.




       60.
                                       40
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                                  107278



       62.



                                and therefore does not fall within the claimed pH

 range of 3.7-3.9.

       63.




                                       42
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                                  107279




       64.




       65.    As demonstrated above, none of the stability studies conducted on



                                   None of the pH values

 fall within the claimed pH range of 3.7-3.9, regardless of whether it is considered to

 encompass 3.65-3.94 or 3.70-3.90.

                    (f)

       66.



                                                                                      ,


                                          43
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       67.   As can be seen from the table and chart above,




                                        44
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                  and therefore do not fall within the claimed pH range of 3.7-3.9.

       68.




 1



                                        45
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       69.




                              therefore does not fall within the claimed pH range

 of 3.7-3.9.

       70.




                                       46
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                                  107283




       71.



                     The pH therefore does not fall within the claimed pH range of

 3.7-3.9.

       72.



                                     None of the pH values

        fall within the claimed pH range of 3.7-3.9, regardless of whether it is

 considered to encompass 3.65-3.94 or 3.70-3.90.

                                        47
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       73.     The data provided in both Amneal’s ANDAs overwhelmingly reflect

 that the pH of Amneal’s proposed ANDA products will not meet the pH claim

 limitation of the ’785 and ’209 patent, under either party’s understanding of the

 limitation.




       74.     Dr. Kirsch's statistical analyses and conclusions regarding infringement

 are framed entirely in terms of his assessments, based on hypothetical data for

 fictitious Amneal product batches, of probabilities that an individual pH

 measurement, rather than the mean pH of a batch, might reach a pH of 3.65. The

 basic distinction between a batch-level mean pH and an isolated, single pH

 measurement for a specimen from that batch is important because Dr. Kirsch’s

 statistical analyses rest on the assumption that individual pH measurements may

 deviate essentially randomly from the mean of all potential, comparable pH

 measurements. This mean value is a stable property of the batch, unlike any single

 pH measurement subject to the idiosyncratic random variation assumed by Dr.


                                           48
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 Kirsch’s models. Accordingly, it is reasonable to interpret the concept of “the pH

 of a batch” as referring to the mean pH of the batch and—conversely—unreasonable

 to interpret it as referring to any individual pH measurement, which may differ from

 other, comparable pH measurements for the same batch. This logical defect alone

 renders his analyses irrelevant to his purported conclusion concerning infringement

 and incapable of supporting Par's infringement claims.

         75.   Dr. Kirsch’s statistical analyses focus on a fictitious Amneal product

 batch

 However, he fails to consider what Amneal’s test data teaches about the probability

 of such a batch being released. By a standard statistical calculation, the estimated

 probability of obtaining a batch                                     is approximately

 0.069%. Dr. Kirsch’s statistical analyses describing a hypothetical extreme batch

 which is expected to occur 0.069% of the time, if ever, have little relevance for

 characterizing a randomly chosen, representative batch of Amneal’s ANDA

 Products.

         76.   Statistical logic dictates that a conditional conclusion, such as that “a

 batch manufactured at the top end of Amneal’s release specification would more

 likely than not reach a pH value of 3.7-3.9 at some point during its shelf-life,” does

 not imply that, unconditionally, “A batch manufactured [in compliance with]

 Amneal’s release specification would more likely than not reach a pH value of 3.7-


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 3.9 at some point during its shelf-life.” The mathematics of probabilities holds that

 the unconditional probability of a proposition P (that an Amneal batch will reach pH

 3.7) can generally be calculated from its conditional probability assuming a

 condition C (that the initial pH of that batch was at the top end of Amneal’s pH

 specification), by multiplying the conditional probability (of P given C) by the

 probability that condition C will occur, i.e., that the initial pH of a batch will attain

 the top end of Amneal’s pH specification. Thus, the probability that a batch of

 Amneal’s ANDA Products would be released at the upper limit of Amneal’s

 specifications imposes an upper bound (i.e. 0.069%) on unconditional probabilities

 that falls far short of a preponderance threshold.

       77.    Dr. Kirsch’s time-dependent statistical analysis of the pH data, in which

 he shifts the entire ensemble of observed and calculated pH values up to set the

 shifted initial pH value (representing measured pH at product age zero) equal to

       is not a routinely used, standard statistical method; rather it is a novel, pseudo-

 statistical, ad hoc device, for which there is no support in the literature. For the data

 for which Dr. Kirsch claims a time-dependent relationship, Dr. Kirsch’s analysis

 shows a downward trend in pH over time.

       78.    Dr. Kirsch also errs in his use of prediction intervals rather than

 confidence intervals. There are two distinct kinds of statistical intervals can be used

 to describe two logically distinct ranges of uncertainty: (1) “confidence intervals”


                                            50
     quantify our uncertainty about the level, at a given age, of the regression line and,

     hence, about the expected (average) level of a new pH measurement at that age; and

     (2) “prediction intervals” account, in addition, for the fact that a single new pH

     measurement will fall not necessarily on the regression line but could deviate from

     it to the same extent as do the actual data points. The confidence and prediction

     intervals at a given age will both be centered on and symmetrical around the

     regression line, but the prediction interval will be wider than the confidence interval

     because it accounts for the idiosyncratic random variation of individual pH

     measurements. This distinction between confidence and prediction intervals is the

     computational statistical counterpart of the distinction set forth above between a

     batch-level pH and a single, individual pH measurement. Because the upper limit

     of a prediction interval is necessarily greater than upper limit of a confidence

     interval, all else being equal, reliance on prediction intervals improves the chances

     of a finding at or above any given threshold, including the pH claim threshold of 3.7

     (or 3.65, if Dr. Kirsch is correct that rounding principles apply).

              79. A fundamental   107287conceptual distinction between             the two kinds of
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     intervals is that only the narrower confidence intervals can be interpreted as

     quantifying a stable, intrinsic characteristic of Amneal’s product specifications and

     production method per se. Meanwhile, the wider prediction intervals represent a

     mixture of such stable, intrinsic characteristics with essentially random measurement


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 error of the kind that leads to differences among replicate pH measurements for the

 same product stored and tested under the same conditions.            An infringement

 determination should reflect stable, intrinsic product characteristics rather than, say,

 happenstance variability in laboratory procedure; therefore, it follows that the

 relevant metrics for assessing Par’s claims in this dispute are confidence bounds for

 the true mean pH of the product rather than prediction bounds for individual pH

 measurements. Moreover, the ICH statistical testing guidelines cited by Dr. Kirsch

 himself favor the use of confidence intervals, as opposed to prediction intervals.

       80.    The 95% confidence intervals calculated using the pH data for

 Amneal’s exhibit batches and shifting the initial pH to a value at the upper limit of

 Amneal’s specification never reach a pH of 3.7 over 24 months storage at both room

 temperature and refrigerated storage conditions. This indicates that that a batch

 manufactured at the top end of Amneal’s release specification would be unlikely to

 reach a pH value of 3.7–3.9 because the probability of obtaining a value at or above

 the 95% upper bound is only 2.5%, not 51%.

       81.    Dr. Kirsch’s time-independent statistical analysis of the pH data for

 Amneal’s exhibit batches is likewise also flawed.           By pegging the imputed

 hypothetical lifespan-average pH               , Dr. Kirsch artificially increases the

 likelihood that some individual imputed pH measurement(s) during the product

 lifespan will reach or exceed 3.7 (since some measured pH values must exceed the


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 average—unless all are identical). Furthermore, Dr. Kirsch ignores that Amneal

 would not release any batch having pH exceeding the product specifications.

       82.    The table below shows (in the second column from the right) the

 implied (conditional) probabilities, by Dr. Kirsch’s time-independent logic and

 methods, that “a batch manufactured at the top end of Amneal’s release

 specification” would achieve a true mean pH at or above 3.7. This probability is

 below one percent for all 24 test setups; for eight of 24 it is no greater than one

 hundredth of one percent (i.e., less than 0.01%).          Here, the unconditional

 probabilities of obtaining a batch with true mean of 3.7 or higher can be calculated

 by multiplying the conditional probabilities by 0.001% or 0.069% (the estimated

 probabilities of obtaining a batch with release                               ). Even

 the highest conditional probability in the table below, 0.589%, would translate into

 an unconditional probability of only 0.00000589%.). The table also shows (in the

 rightmost column) parallel estimates

                                                        ). All are below 0.1%. Here

 again the unconditional probabilities can be approximated by multiplying the

 conditional probabilities by 0.069%, the probability of obtaining a batch with release

                       . The highest conditional probability

 in Table 3, 0.064%, would translate into an unconditional probability of only

 0.000044%.


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       Sources: AMVAS0120290-385.


       83.      If the following corrections and reasonable alternatives are applied to

 Dr. Kirsch’s statistical analysis, in no scenario would there be support for Dr.

 Kirsch’s infringement opinion regarding pH:

              Calculating conceptually appropriate confidence intervals for the
                mean predicted value of a future pH measurement (as recommended
                by the statistical guidance cited by Dr. Kirsch);


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              Calculating conceptually appropriate one-sided 95% intervals (Dr.
                 Kirsch’s assignment is intrinsically one-sided);

             
                                    and

              Applying a pH claim limitation lower bound pH of 3.7.

       84.       Dr. Kirsch’s calculation of the “likelihood that Amneal could release

 an MDV or SDV batch based on a pH value at the upper acceptable limit of

 Amneal’s pH specification                                          when the true mean pH

 value for the batch was actually within the

                  is flawed. First, Dr. Kirsch does not account for the probability of an

 Amneal batch being released at the upper end of the specification, which as

 discussed above is less than 0.1%. Second, if this analysis is applied in view of

 Amneal’s                                                     the probability estimates

 decrease significantly from 36% and 41% to 0.04% and 1.2% (based on MDV or

 SDV exhibit batches, respectively).

       85.       Dr. Kirsch’s very-recent calculation of the number of vials from a batch

 of Amneal’s ANDA Products that would alleged meet the pH limitations ignores the

 actual data from Amneal’s exhibit batches. T

                          which if applied to Dr. Kirsch’s analysis and calculations (see

 table below), would result in 0 vials per batch having a pH of 3.65 or greater.



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      during the course of their shelf life. In its manufacturing process,



                       See SDV 2020 Amendment at (DTX-1261) AMVAS0131456;

 MDV 2020 Amendment at (DTX-1268) AMVAS0133720. Manufacturing batch

 records submitted by Amneal to the FDA reflect the pH recorded and adjusted, and

 this process demonstrates



        The pH adjustment step used in Amneal’s manufacturing process and its

 express goal

                                     and not the claimed pH range of 3.7 to 3.9, under

 either party’s understanding of the claimed range.

       88.      Below is a chart that provides the pH values before and after the pH

 adjustment step for Amneal’s ANDA batches submitted to the FDA:




 2




          Compare, e.g., SDV 2020 Amendment at (DTX-1261)
 AMVAS0131456 with, e.g.,          Manufacturing Record at (DTX-1194)
 AMVAS0006375.
                                          57
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       89.   As can be seen for each batch,




 Carrying out this step allows for the pH of Amneal’s ANDA batches to stay within

 the pH specification upon manufacture and throughout its shelf life. Amneal’s clear


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 intent to manufacture a product at this pH supports the fact that Amneal has no intent

 to release a product within the claimed pH range, and further undermines any

 argument or speculation that Amneal’s ANDA Products are made to have a pH of

 3.7 to 3.9—under either party’s understanding of the claimed range—during their

 shelf life.

         90.   Finally,



                                                              . See SDV Packaging

 Specification at (DTX-1187) AMVAS0005531-37; MDV Packaging Specification

 at (DTX-1209) AMVAS0014975-81; see also                                     at (DTX-

 1186)    AMVAS0005526;                                              at   (DTX-1208)

 AMVAS0014972.

         91.   Overall, the evidence contained in Amneal’s ANDAs, through actual

 data of its proposed products from their manufacture and throughout their entire

 shelf life, through the pH specification, and through an evaluation of their

 formulation, manufacturing, and packaging choices, supports a finding that

 Amneal’s proposed ANDA Products do not meet the pH claim limitation of the ’785

 and ’209 patents, regardless of whether “pH of 3.7-3.9” is considered to encompass

 3.65-3.94 or 3.70-3.90, and therefore will not infringe any of the Asserted Claims of

 those patents.


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       92.    In addition, given the manufacturing process and, in particular, the pH

 adjusting step,

       Amneal does not intend to release a product with a pH above          including a

 pH of 3.7-3.9. Furthermore, Amneal is not seeking FDA approval to market a

 vasopressin product with a pH between 3.7 and 3.9, and Amneal does not intend that

 its proposed products will have a pH between 3.7 and 3.9 during the shelf life. Based

 on the batch manufacturing record

 and the stability specification for Amneal’s ANDA Products, Amneal has given

 adequate control with respect to both manufacturing as well as finished product

 specification to ensure that the products will remain within the specification limit.

 Amneal will not release any batches that have                         . (DTX-1261)

 AMVAS0131386 at AMVAS0131456-57; (DTX-1268) AMVAS0133654 at

 AMVAS0133720-21.

              4.     Amneal Is Unlikely To Market Out-of-Specification ANDA
                     Products That Meet The pH Claim Limitations of the ’785
                     and ’209 Patents

       93.    Amneal is unlikely to avoid a recall of out-of-specification products.

 First, if the a product failure is discovered, there will be a Field Alert, the

 communication to the FDA within three days after discovering a product that is on

 the market has failed to meet a quality attribute or specification. Once the failure is

 confirmed, the company must notify the FDA of the resolution. For drug products,


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     resolution means the product is recalled from the market. Companies typically

     engage in discussion with the FDA during the confirmatory testing and subsequent

     investigation as well as during the recall process. The FDA must agree to the recall

     announcement, proposed classification (Class 1, 2 or 3) and plan. While a company

     may choose to ignore the FDA’s wishes (the FDA does not have mandatory recall

     power over drug products unless they are a serious risk to patient health), it is not in

     a company’s best interest to do so.

            94.    Second, Amneal is likely to recall an out of specification product before

     it expires. The FDA’s position has been that if any product is likely to remain on the

     market and it is within its labeled expiry, then the product must be recalled.

     However, a firm may notify the FDA that a product’s supply turnover rate is so high,

     that product at or near expiration is highly unlikely to remain on the market. If the

     FDA agrees and the company can prove that the recalled lot was distributed months

     or even years before the Field Alert and that product inventory history and orders

     show the speed in which it is sold or replaced, the FDA may forgo recall of such a

      lot. This scenario and FDA       decision are highly unlikely, however,
                                  107297                                           as the FDA is
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     risk averse and does not assume all vials of an “older” lot of product have indeed

     been used or replaced.

            95.    Third, Amneal is unlikely to avoid a recall for out of specification drug

     products due to a drug shortage within the United States. Vasopressin is not


                                                 61
     currently on the drug product shortage list and does not appear to have been on this

     list previously.         FDA Drug Shortages, U.S. FOOD & DRUG ADMIN.,

     https://www.accessdata.fda.gov/scripts/drugshortages/ (last visited Oct. 28, 2020).

     In addition, alternative treatments are available (e.g. epinephrine).                   Similarly,

     Amneal is unlikely to avoid a recall for out of specification drug products due to a

     determination that vasopressin is considered a critical medical necessity in treating

     certain diseases or conditions. There are a variety of drugs on the market that can

     be used as alternatives to vasopressin. For instance, norepinephrine, epinephrine,

     and angiotensin II are drugs that can be used instead of vasopressin. This is a non-

     exhaustive list of drugs that could be used instead of vasopressin, a second-line

     vasopressor, to achieve similar clinical results. In light of these alternatives, a

     shortage in the supply of vasopressin would not cause a significant risk to patient

     safety. Therefore, it is highly unlikely that vasopressin would avoid a recall on the

     basis that it is critical given its use as a second line treatment and the availability of

     other drugs that could be used instead.

              96. Fourth, Amneal       is unlikely to avoid a recall for out
                                  107298                                           of specification drug
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     products by seeking a meeting with the FDA by justifying the failure as presenting

     minimal or low risk to patients’ health. Again, the FDA would have to agree to this

     which is highly unlikely. Companies who present such justifications to the FDA for

     product recalls would also likely to be regarded suspiciously by the FDA for other


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 issues and other products in the future – an outcome that most generic companies

 are not willing to accept given the constant need to obtain approvals for new generic

 products.

       97.    Amneal is also likely to investigate any drug products with

 specifications at the high end of a specified range. Values that are just below or just

 above a drug product specification are likely to be considered “out-of-trend” (OOT)

 or out of the norm. Such results are always investigated in the same way as a result

 that fails to meet acceptance criteria (“out of specification” or “OOS”). This type of

 investigation requires extensive and additional testing of the final product, review of

 the laboratory analyses to ensure the sample, preparation, instrumentation and

 testing were all proper, and review of the manufacturing batch record to verify

 operations were performed correctly. This investigation would either confirm the

 original results or nullify them with additional test results and analyses. Thus, even

 if a pH specification

                                    , such results will still be investigated.

       98.    The requirement for testing one lot per year for stability is sufficient

 and would not lead to potential OOS products on the market. First, any stability lot

 that fails to meet any single specification would be reported to the FDA via Field

 Alert and may result in a product recall. The language in the Vasopressin ANDAs

 states that “[i]f the deviation is a single occurrence that does not affect the safety and


                                            63
     efficacy of the product, it will be promptly discussed” with FDA. See Section

     3.2.P.8.2 Post-approval Stability Commitment, ANDA No. 212944, (DTX-1265)

     AMVAS0132635-644 at AMVAS0132640; Section 3.2.P.8.2 Post-approval

     Stability Commitment, ANDA No. 212945, (DTX-1272) AMVAS0134911-20 at

     AMVAS0134916.

            99.    Second, the number of lots placed in a stability program has been

     established by the FDA and other regulatory agencies worldwide and is a firm

     standard. A single lot per year is sufficient because it is representative of all batches

     of a product the company is selling. Conducting stability testing on one lot per year

     is standard because other GMP regulations require that stringent manufacturing

     controls must be in place that ensure every lot consistently meets specifications and

     quality expectations. Such controls include process validation, change control (to

     verify any change made does not impact on the product), equipment qualification,

     cleaning validation, in-process sampling and testing, verification of acceptability of

     all raw materials, etc. As long as these controls and company practices are well

      designed, implemented and   107300documented, testing one randomly           selected lot of
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     product per year for stability testing is sufficient evidence that the company’s

     personnel, systems, facility, equipment and process are functioning as designed,

     producing a quality product that meets approved specifications and FDA

     requirements.


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             100. Third, in reality, most companies place more than one lot per year on

     stability as issues occur on occasion whereby a company may decide that other lots

     should also be tested for stability. Events such as minor changes to a process or

     equipment, or deviations during manufacture may lead to questions as to whether

     the product’s stability may or may not have been affected. When such questions

     arise, the FDA expects and most companies place any such lot impacted by an event

     on stability.

             101. Fourth, the FDA requires that all drug companies submit an Annual

     Report for each approved drug product. See 21 CFR 314.81(b)(2). This report must

     include ongoing stability data for all lots undergoing such testing. See 21 CFR

     314.81(b)(2)(viii). Thus, FDA sees all stability data on an ongoing basis during the

     lifespan of the product. Any year that is missing at least one lot of a product placed

     on stability or any change in the stability profile, including a trend of increasing pH

     over time, would be noticed and questioned by the FDA.

                     5.     Amneal Will Not Induce Infringement of the Asserted
                            Claims
                                  107301
              102. Amneal
Case 1:18-cv-02032-CFC-CJB    did not
                           Document 305 know    and would
                                         Filed 08/30/21       notofhave
                                                        Page 180         known
                                                                   820 PageID #:   that acts of any third

     party would result in direct infringement of the Asserted Claims.

             103. Amneal did not have an intent to cause any acts that would constitute

     infringement.

             104. Because Amneal’s ANDA products to be sold and used are not the

                                                      65
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 products described in Asserted Claims, Amneal’s proposed package inserts would

 not encourage, promote, or recommend nurses or other medical professionals

 administering Amneal’s ANDA products to perform the claimed methods.            The

 Original Vasostrict® Labels recited a pH of 3.4-3.6, and therefore Amneal’s ANDA

 products,                             , are within the pH range of prior art Original

 Vasostrict®. Physicians administering the Amneal ANDA products would be

 practicing the same method that was practiced with the prior art products.

 IV.   THE ASSERTED CLAIMS OF THE PATENTS-IN-SUIT ARE
       INVALID

             A. BACKGROUND

                 i. Arginine Vasopressin

       105. As of January 2015, vasopressin was known to be a hormone crucial

 for osmoregulation, cardiovascular control, and homeostasis. Treschan 20063 at

 599. The structure of arginine vasopressin and structurally-related analogs are

 presented in Figure 1.




 3
  Treschan and Peters, “The Vasopressin System,” Anesthesiology 105:599-612
 (2006), (DTX-0238) AMPHPA0006695-708 (“Treschan 2006”).
                                         66
     Id. at 600. Vasopressin is a nine amino acid peptide.4 The sulfur-containing side

     chains of both cysteine amino acids form a disulfide bond, a chemical bond between

     the sulfurs in their side chains, resulting in a cyclic structure. The human hormone

     has an arginine (“Arg”) in position 8, italicized in the figure above. Due to this

     arginine, the human hormone is specifically called “arginine vasopressin” (“AVP”)

     to distinguish it from related analogs, peptides having a similar structures.

            106. Vasopressin was marketed for therapeutic use by Parke-Davis for

     nearly 100 years. In 1928, Parke-Davis first introduced naturally-derived bovine

      vasopressin under the name       Pitressin® to treat diabetes insipidus
                                  107303                                           and raise blood
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     4
      Proteins are comprised of fundamental building blocks called amino acids
     connected in a linear fashion by chemical bonds. Amino acids differ from each
     other in the chemical composition of their side chains which branch from a
     common amino acid backbone. When 50 or fewer amino acids are connected, they
     are collectively referred to as a “peptide.” Amino acids (e.g. Glycine or Arginine)
     can be referred to by a three-letter designation (e.g. Gly or Arg).
                                                  67
     pressure. FDA NDA Review,5 Clinical Pharmacology Review at 6. Parke-Davis

     and others have since marketed Pitressin® until shortly before Vasostrict® was

     approved and launched.            Other marketed vasopressin products included those

     marketed by, among others, American Regent and Fresenius Kabi. These marketed

     vasopressin products are discussed in more detail below.

             107. As discussed in more detail below, by January 2015, vasopressin had

     been formulated for nearly a century as an injectable solution containing water,

     acetic acid and chlorobutanol. It was therefore known to be adequately stable in

     solution to be marketed. It was also known to be compatible with these excipients.

             108. There were multiple publications investigating the use of AVP for

     vasodilatory shock and hypotension that took place in the 1990’s and early 2000’s.

     These studies examined the outcomes of hypotensive patients who were

     administered vasopressin to increase blood pressure. In these studies, vasopressin

     was administered intravenously at infusion rates ranging from 0.01 to 0.1 units per

     minute.

                         ii. Formulation
                                  107304     Development
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 183 of 820 PageID #:

                                 1. Parenteral Drug Formulation Development

             109. The Patents-in-Suit are directed to intravenous formulations of




     5
      FDA Clinical Pharmacology Review of NDA No. 204485, (DTX-1024) PAR-
     VASO_0240262-575 (“FDA NDA Review”).
                                                       68
     vasopressin or a pharmaceutically-acceptable salt thereof. A POSA would have

     well-understood the principles of parenteral drug developments by the priority date

     of the Patents-in-Suit.

             110. By 2015, it was understood that the intended use of the drug product

     informs the target profile of the formulated drug product. For example, the route of

     administration determines the final characteristics of the drug product, including

     dosage form, vehicle, volume, and tonicity requirements. Hovgaard6 at 151.

             111. After identifying the formulated drug product’s target profile, a POSA

     would have methodically screened different formulation parameters for their effect

     on the stability and solubility on the drug substance. Id. It was essential to have a

     thorough understanding of the physical and chemical properties of the peptide drug

     substance, including the effects of temperature, pH, buffer type and concentration,

     ionic strength, and peptide concentration, while developing a pharmaceutical

     formulation. Id. at 150.

             112. For some drug products, formulation studies may have already been

      performed and published107305  in the literature. These studies, in          addition to existing
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 184 of 820 PageID #:

     formulations, may have offered insight into an initial set of formulation conditions.

     However, if the studies were performed with outdated techniques or were



     6
      Pharmaceutical Formulation Development of Peptides and Proteins, 149-192
     (Hovgaard et al., eds.) (2013), (DTX-1028) AMPHPA0006136-184 (“Hovgaard”).
                                                      69
     inconclusive, a POSA would have considered designing and performing his/her own

     formulation studies. To the extent that existing studies were incomplete, a POSA

     would have supplemented their understanding with additional studies as well.

                                 2. Liquid Peptide Formulations

             113. A POSA would have understood by 2015 that therapeutic peptides

     generally lacked oral efficacy. Avanti 20127 at 15. Orally administered peptides

     were known to be prone to degradation in the gastrointestinal tract and poorly

     absorbed, resulting in poor bioavailability. Id. Intravenous administration would

     have been the preferred administration route due to the direct delivery of peptide

     drugs to the circulatory system, bypassing the gastrointestinal absorption process.

     Id.

                                        a. Peptide Stability

             114. As of the earliest priority date of the asserted patents, a POSA would

     have known that peptide solutions required additional considerations in their

     formulation. By 2015 it was appreciated that the stability of peptide drugs in liquid

     formulation was the most important factor to consider during formulation
                                  107306
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 185 of 820 PageID #:
     development. Id. at 17. Having an understanding of the mechanisms underlying




     7
      Avanti et al., Innovative Strategies for Stabilization of Therapeutic Peptides in
     Aqueous Formulations, University of Groningen, 54-55 (2012), (DTX-0263)
     AMPHPA0005495-651 (“Avanti 2012”).

                                                       70
     instability would have been essential to developing a pharmaceutical formulation

     with optimized stability. Id. A POSA would have understood that peptide instability

     can be broadly categorized as chemical instability or physical instability. Manning

     20108 at 544. Chemical instability involves processes that make or break chemical

     bonds, whereas physical instability includes changes to the physical state without

     changing its chemical composition. Id.

           115. A POSA would have been concerned with the stability of a peptide as

     it directly impacts its utility as a therapeutic. As the stability of a peptide drug

     decreases, the amount of peptide also effectively decreases and the peptide may

     exhibit lower potency. Id. at 554. Further, peptide instability may have implications

     for patient safety if any of the degradation products are toxic or have other side

     effects. Id.

           116. A POSA would have had initial hypotheses of degradation products

     based on a peptide’s amino acid sequence and chemical structure. By 2015, a POSA

     would have understood that the most common chemical degradation pathway for

      peptides and proteins was107307deamidation, or the loss of a nitrogen-containing   amide
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 186 of 820 PageID #:

     group, of asparagine (Asn) or glutamine (Gln) side chains. Id. at 544. Under acidic




     8
      Manning et al., “Stability of Protein Pharmaceuticals: An Update,”
     Pharmaceutical Research 27(4):544-575 (2010), (DTX-0254) PAR-
     VASO_0256577-608 (“Manning 2010”).
                                                71
     conditions (pH < 3),9 deamidation occurs by direct hydrolysis10 of the side chain

     amide. Manning 2010 at 545; Avanti 2012 at 19. Under neutral or basic conditions

     (pH > 6), deamidation occurs through the formation of a cyclic succinimide

     intermediate followed by hydrolysis. Manning 2010 at 545; Avanti 2012 at 19. The

     mechanism of asparagine (Asn) deamidation is presented in Figure 1.




     Avanti 2012 at 20. It would have been appreciated that deamidation is practically
                                  107308
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 187 of 820 PageID #:
      irreversible as ammonia (NH3) rapidly dissipates once liberated              as a gas. Manning



     9
       pH is a measure of how acidic or basic a solution is. It is calculated using the
     formula: pH = -log([H+]), where [H+] is the concentration of hydrogen ions in the
     solution.
     10
        A hydrolysis reaction is one in which water is used to break chemical bonds of
     another molecule.
                                                    72
     2010 at 545.

            117. Another type of chemical instability is disulfide exchange, in which

     alternative disulfide bonds form through mismatched cysteine pairs. Avanti 2012 at

     23; Manning 2010 at 552. As discussed above, the sulfur-containing sidechain of a

     cysteine amino acid can form a disulfide bond, a chemical bond with other cysteines,

     which can influence a peptide or protein’s structure. If a peptide or protein has more

     than 2 cysteines, a disulfide bond may incorrectly form between an alternative pair

     of cysteines which could alter the protein or peptide’s structure. Further, cysteines

     can form disulfide bonds with cysteines of other peptides, resulting in dimers and

     potentially large aggregates. Avanti 2012 at 23; Manning 2010 at 552.

            118. Elevated temperatures were well-known to increase reaction kinetics,

     thus increasing the rate of peptide degradation. The degradation of vasopressin had

     previously been demonstrated to show a marked dependence on temperature. Bi

     200011 at 90. Indeed, it was well understood that one way of reducing degradation

     is to store the peptide formulation at reduced temperatures. Specifically, it was

      known that vasopressin could107309be stored at refrigerated conditions.      For example, USP
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 188 of 820 PageID #:

     Vasopressin12 instructs storage of vasopressin in a refrigerator, and the WHO


     11
        Bi and Singh, “Effect of Buffer pH, Buffer Concentration and Skin with or
     Without Enzyme Inhibitors on the Stability of [Arg8]-vasopressin,” Int’l J.
     Pharmaceut. 197:87-93 (2000), (DTX-1002) AMPHPA0005662-668 (“Bi 2000”).
     12
        USP Vasopressin Monograph, USP 38-NF 33, Vol. 3, (DTX-1039)
     AMPHPA0006744-747 (“USP Vasopressin”).
                                                    73
     Standard13 states that “solutions of the standard (pH 3.0-4.0) containing a suitable

     preservative (eg 0.2% chlorbutol [sic]) may be stored at +4°C in tightly-closed

     containers for at least 3 months.” USP at 5753; WHO Standard at 1. Furthermore,

     Original Vasostrict® required refrigerated storage between 2°C and 8°C.

     Vasostrict® September 2014 Label14.

             119. Unlike proteins, which are large and complex, peptides are smaller and

     typically lack a defined tertiary structure. Avanti 2012 at 15. Therefore, physical

     stability is less of a concern for peptides than it is for proteins. In the context of

     peptides, a POSA would have understood physical instability to include aggregation

     and precipitation, the formation of soluble and insoluble protein complexes,

     respectively. Manning 2010 at 553-555. A POSA would have further understood

     physical instability to be exacerbated by elevated temperature. Id. at 553.

             120. A POSA would have understood that chemical and physical stability

     are operably linked. Id. at 562. For example, it has been reported that deamidation

     can result in a protein species with a higher propensity to aggregate than the native

      species. Id.                107310
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 189 of 820 PageID #:




     13
        WHO International Standard, Arginine Vasopressin (AVP), Instructions for Use
     (Version 6.0, dated April 4, 2013), (DTX-0201) AMPHPA0006833-834 (“WHO
     Standard”).
     14
        Vasostrict® (Vasopressin Injection, USP) Package Insert, Par Pharmaceutical
     Companies, Inc.(May 2014), (DTX-1044) AMPHPA0006829-832 (“Vasostrict®
     September 2014 Label”).
                                                       74
             121. By 2015, the degradation pathways for vasopressin were known from

     the literature.     For example, it was taught, based on the peptide structure of

     vasopressin, that vasopressin may undergo degradation via deamidation of the

     glutamine and/or asparagine residues; hydrolysis of the HN-CO bond; oxidation and

     photooxidation of the tyrosine and/or phenylalanine residues; and β-elimination of

     the cystine residue. Bi 1999 at 557; see also Robinson15 at 178. The Patents-in-Suit

     reflect that a POSA would have known that “[t]he glycine, glutamine, and asparagine

     residues can undergo deamidation to yield the parent carboxylic acid and several

     degradation products as detailed in EXAMPLE 1 and TABLE l below.” See, e.g.,

     ’478 patent at 3:4-10.




                                  107311
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 190 of 820 PageID #:




     15
       Noah E. Robinson, Arthur B. Robinson, Molecular Clocks: Deamidation of
     Asparaginyl and Glutaminyl Residues in Peptides and Proteins (2004)
     (“Robinson”).
                                                       75
     Id. at Table 1. Additionally, it was appreciated that vasopressin could form dimers

     through “the formation of disulfide bridges that bind a pair of vasopressin monomers

     together.” Id. at 3:30-34. Furthermore, it was known that vasopressin was less likely

      to degrade through dimerization
                                  107312     within the pH range of 3.0-4.0.
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 191 of 820 PageID #:
                                                                                   WHO Standard

     at 1.

                                      b. Formulation Optimization for Peptide Stability

             122. A POSA would have been familiar with several formulation strategies

     to optimize peptide stability in liquid formulations. The pH, buffer composition, and


                                                   76
     ionic strength were routinely optimized during development of peptide formulations

     to increase peptide stability. Avanti 2012 at 24; Hovgaard at 152-157.

            123. A POSA would have understood that optimizing the pH of a peptide

     formulation could reduce both chemical and physical instabilities. Accordingly, a

     POSA would have considered it important to investigate pH during the early stages

     of formulation development. Hovgaard at 152. When optimizing pH, a POSA

     would have first determined the pH range with acceptable peptide solubility for the

     target dosage followed by determining the pH within this range with the greatest

     stability. Id. There is often a trade-off between solubility and stability as a pH with

     high peptide solubility often will demonstrate lower chemical stability while a pH

     with low peptide solubility will often demonstrate lower physical stability. Id.

            124. As of January 2015, vasopressin was known to be soluble in aqueous

     solutions having acidic pH (such as, between pH 2.5-4.5). For example, USP

     Vasopressin Injection16 describes a preparation of vasopressin solution at pH 2.5 to

     4.5. USP Vasopressin Injection at 5753. Similarly, the WHO Standard describes

      making a vasopressin standard
                                  107313 solution at pH 3.0 to 4.0. WHO            Standard at 1.
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 192 of 820 PageID #:

     Indeed, the prior art taught formulations that contained 20 unit/mL vasopressin in

     aqueous solutions of pH ranging from 2.5 to 4.5.



     16
      USP Vasopressin Injection Monograph, USP 38-NF 33, Vol. 3, (DTX-1039)
     AMPHPA0006744-747 (“USP Vasopressin Injection”).
                                                  77
             125. A POSA would have known that modifying the pH is the most effective

     approach to limit peptide deamidation. Manning 2010 at 547. The deamidation of

     a single reactive Asn displays “a V-shaped pH-rate profile” with minimal

     deamidation “between pH 3 and 6.” Id. The rate of deamidation is affected by amino

     acid sequence, particularly the amino acids adjacent to the reactive Asn or Gln.

     Hovgaard at 154. Accordingly, the pH with the minimal deamidation rate constant

     will also depend on the adjacent amino acids.

             126. To optimize the pH, a POSA would have known to design a set of

     experimental formulations that vary only in their pH. A POSA would have looked

     to existing marketed formulations or formulations published in the literature when

     selecting a range of pH values to evaluate. At a minimum, the existing formulations

     would have informed a POSA of the known range of pH values for which the peptide

     displays an appreciable stability.

             127. In addition to pH, a POSA would have known that the selection of

     buffer components can affect peptide stability. Buffers are compounds or mixtures

                                changes in pH upon the addition of acid or base. Martin17
     of compounds which resist107314
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 193 of 820 PageID #:

     at 237. The use of buffers to stabilize proteins had often been attributed to their

     ability to regulate changes in pH. Manning 2010 at 557. Since peptide stability is


     17
       Martin et al. “Buffers and Buffered Isotonic Systems,” Physical Pharmacy:
     Physical Chemical Principles in the Pharmaceutical Sciences, 236-263 (1969),
     (DTX-1020) AMPHPA0006326-356 (“Martin”).
                                                       78
     often dependent on pH, the ability of a buffer to maintain a narrow pH range is

     critical for maintaining the integrity of the peptide drug. Each buffer system has a

     pH range in which it can most effectively resist changes in pH. A list of the

     commonly used buffers for parenteral solutions are listed in Table 8.2.




     Hovgaard at 155. The most common buffers are acetate, citrate, and phosphate

     buffers. Id.

            128. In determining the appropriate buffer concentration to use in a
                                  107315
      formulation, a formulator
Case 1:18-cv-02032-CFC-CJB Document 305would    typically
                                        Filed 08/30/21      start
                                                       Page 194     byPageID
                                                                of 820  examining
                                                                             #:     a few different

     physiologically-acceptable concentrations and select one providing optimal

     stability. A formulator would test a finite number of concentrations, typically at 10

     mM, 20 mM and 100 mM and assess which is best. He would in general use the

     lowest amount of buffer that is able to keep the pH in the desired range, particularly

                                                    79
     when the pH is away from the physiological pH, to keep tissue irritation at a

     minimum.

             129. By 2015, a POSA would have appreciated that not only the buffer pH

     but also the buffer components could influence peptide stability. Manning 2010 at

     557; Avanti 2012 at 24. For example, it had been reported that the rate of peptide

     deamidation is faster in phosphate and bicarbonate buffers than in acetate and

     pyruvate buffers. Avanti 2012 at 24.

             130. A POSA would have looked to existing marketed formulations or

     formulations published in the literature when selecting the buffer components. At a

     minimum, the existing formulations would have informed a POSA of the known

     buffer components that are compatible with the peptide drug. Indeed, the prior art

     marketed vasopressin products’ inclusion of acetic acid in their formulations

     indicated that acetate is compatible with vasopressin. Furthermore, the pH of the

     prior art marketed vasopressin products overlaps with the typical buffer pH range

     for acetic acid/acetate.

              131. Ionic strength    is the measure of the electrical field
                                  107316                                           intensity of a given
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 195 of 820 PageID #:

     solution and depends the total concentration of ions as well as valence, or charge, of

     each ion. Hovgaard at 157. A POSA would have known that ionic strength could

     affect the solubility of the peptide and effect peptide stability within the formulation.

     Id.   Increasing the ionic strength of a solution typically lowers the peptide’s


                                                     80
     solubility although it may have either stabilizing or destabilizing effects on the

     peptide, dependent on the nature of the charge-charge interactions that take place

     with the peptide. Hovgaard at 157; Avanti 2012 at 24. However, it has been reported

     that ionic strength did not have a significant effect on the rate of deamidation in

     small peptides. Avanti 2012 at 24.

                                       c. Peptide Assay and Impurity Measurement

             132. To methodically screen formulation conditions, a formulator would

     have prepared a set of test formulations designed to investigate a given parameter,

     e.g. pH, or the compatibility of a certain excipient with the drug substance. The test

     formulations were then placed on a stability study and their properties assayed after

     set periods in specific conditions. At a minimum, the formulations would be assayed

     for the amount of intact drug substance as well as the amount of impurities.

     Measuring these values across different times would enable a POSA to calculate the

     rate of drug substance degradation as well as the rate of impurity formation. Stability

     studies for early formulation development were typically performed under

      accelerated conditions. 107317   Accelerated stability conditions            include elevated
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 196 of 820 PageID #:

     temperatures which typically increase the rate of degradation. Accelerated stability

     studies provide information for short-term assessment of proposed formulations and




                                                     81
     may help elucidate degradation profiles. Nail18 at 110. Performing these types of

     stability studies were routine as of 2015.

            133. A POSA would have understood that impurities in the formulated drug

     product could have originated from two sources – in-process impurities resulting

     from the synthesis of the drug substance or degradation impurities arising from the

     degradation, or decay, of the drug substance over time. By 2015, it was understood

     that the identity of an impurity or degradation product could be determined by

     techniques such as liquid chromatography-mass spectrometry/mass spectrometry

     (LC-MS/MS). Avanti 2012 at 54-55. Further, a POSA would have been able to

     determine the source of a given impurity by monitoring its formation during short

     term stability studies. A POSA would also have known that generally, the amount

     of an in-process impurity is unlikely to increase over time whereas a degradation

     impurity would increase throughout the duration of the stability study.

            134. A POSA would have monitored impurities during the formulation stage

     of drug development in order to comply with FDA guidelines. The FDA guidance

      for impurities in new drug107318
                                    substances require that “the actual and potential impurities
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 197 of 820 PageID #:

     most likely to arise during the synthesis, purification, and storage of a new drug

     substance” be quantified and potentially identified if present in sufficient quantities.



     18
       Development and Manufacture of Protein Pharmaceuticals (Nail & Akers, eds.,
     2002), (DTX-1007) AMPHPA0006362-559 (“Nail”).
                                                  82
     FDA Q3A Impurities Guidance19 at 3. Specifically, any impurity measured in an

     amount greater than 0.05% must be reported and any impurity measured as greater

     than 0.10% must be identified. Id. at 11. Further, the impurity measurements

     “should be presented numerically” which would necessitate an accurate method to

     quantify them. Id. at 4.

             135. By 2015, it was well understood that drug product impurities could be

     measured by techniques such as reverse-phase high performance liquid

     chromatography (RP-HPLC). Bi 199920 at 551-560. During RP-HPLC, a drug

     product sample is applied to a non-polar, hydrophobic stationary phase, i.e. an

     adsorbent column. A polar solvent mobile phase is pumped across the column,

     separating the compounds in the drug product based on their hydrophobic properties.

     The API and impurities elute from the column and pass through a UV detector to

     generate a UV spectrum as a function of chromatography run time. This UV

     spectrum may look like Figure 4:



                                  107319
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     19
        FDA Guidance for Industry: Q3A Impurities in New Drug Substances (June
     2008), (DTX-1009) AMPHPA0006019-035 (“FDA Q3 Impurities Guidance”).
     20
        Bi and Singh, “HPLC Method for Quantification of Arginine Containing
     Vasopressin,” Journal of Liquid Chromatography & Related Technologies
     22(4):551-560, (DTX-0248) AMPHPA0005652-661 (1999).
                                                       83
     ’478 patent, Figure 4. The API and impurities are then identified by comparing the

     elution time of each compound to the elution times of a set of reference compounds.

     The amount of impurity can then be calculated by the area of its peak from the UV

     spectrum. By 2015, a POSA would have also been able to use a gradient elution

     technique in which the mobile phase comprises two buffers in a proportion that is

     varied throughout the duration of the chromatography run. Avanti 2012 at 38, 54,

     82-83.
                                  107320
                  B. SCOPE
Case 1:18-cv-02032-CFC-CJB     AND305CONTENT
                           Document    Filed 08/30/21 OF
                                                      PageTHE     PRIOR
                                                           199 of 820 PageID ART
                                                                             #:


                        i. Pitressin

                               1. Pitressin Formulation

            136. Vasopressin was marketed for therapeutic use by Parke-Davis for

     nearly 100 years. In 1928, Parke-Davis first introduced naturally-derived bovine


                                                    84
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                                  107321



 vasopressin under the name Pitressin® to treat diabetes insipidus and raise blood

 pressure. FDA NDA Review, Clinical Pharmacology Review at 6. This pre-dates

 the Federal Food, Drug, and Cosmetic Act (“FDCA”) of 1938 so Pitressin® was not

 subject to the FDA approval process.

        137. JHP Pharmaceuticals (“JHP”) acquired the manufacturing site and

 vasopressin formulation from Parke-Davis and continued to market the product

 under the name Pitressin®. Id. The formulation marketed by JHP was the same

 formulation initially marketed by Parke-Davis. FDA Biopharmaceutics Review21 at

 2. Pitressin® was formulated as a solution for intravenous administration consisting

 of 20 units/mL of synthetic vasopressin USP, 0.5% chlorobutanol NF, acetic acid

 NF, and water for injection USP in a 1 mL vial. Pitressin® Label 201222 at

 DESCRIPTION. Pitressin® was to be stored between 20° to 25°C. Id. at HOW

 SUPPLIED.      Furthermore, Pitressin® was formulated with slight overages of

 vasopressin and chlorobutanol. Specifically, Pitressin® contained         units/ mL

 vasopressin and     mg/mL chlorobutanol. (DTX-1298) PAR-VASO_0058258 at

 277.



 21
    NDA 204485 Review, Office of New Drug Quality Assessment (E. Chickhale),
 Biopharmaceutics Review (dated Mar. 15, 2013),
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2014/204485Orig1s000ClinP
 harmR.pdf, AMPHPA0006005-6010 (“FDA Biopharmaceutics Review”).
 22
    Pitressin® (Vasopressin Injection, USP) Package Insert, JHP Pharmaceuticals,
 LLC, (Oct. 2012), (DTX-0178) AMPHPA0006579-583 (“Pitressin® Label 2012”).
                                         85
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                                  107322



       138. Pitressin® was formulated with a target              and had a product

 specification for pH of 2.5-4.5.    (DTX-1314) PAR-VASO_0078041 at 147.

 Therefore, batches manufactured having pH within those specifications, could be

 sold. For example, lot number 78495 of Pitressin® was sold no later than April 18,

 2008. (DTX-1119) PAR-VASO_0297181. Lot number 78495 was manufactured on

                . (DTX-1316) PAR-VASO_0108645. On March 17, 2008 the pH of

 the lot was measured at 3.7 but the pH was measured at 3.8 on June 25, 2008, after

 it was stored at 25 ° C. Id.




                                                               (DTX-1310) PAR-

 VASO_0088553 at 569; (DTX-1313) PAR-VASO_0095102; (DTX-1315) PAR-

 VASO_0108554 at 556-559; (DTX-1316) PAR-VASO_0108640 at 645, 650;

 (DTX-1121) PAR-VASO_0108703 at 705, 707, 709; (DTX-1318) PAR-

 VASO_0108711 at 711, 713-716, 720; (DTX-1319) PAR-VASO_0108983 at 983-

 985; (DTX-1320) PAR-VASO_0108986 at 986.

                        2. Knowledge in the Art Concerning Use of Pitressin in
                           the Treatment of Vasodilatory Shock

       139. Pitressin® was first manufactured and marketed by Parke-Davis at least

 as early as the 1920’s, before the establishment of the FDA and the regulatory



                                        86
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 202 of 820 PageID #:
                                  107323



 approval scheme for drug products. See (DTX-1323) PAR-VASO_0241702 at 706-

 07; (DTX-1298) PAR-VASO_0058258 at 266.

       140. When the FDCA was passed in 1938, it included a “grandfather clause,”

 which exempted a previously marketed drug product from the new approval

 requirements if the product maintained the same formulation and conditions of use

 in the labeling. See (DTX-1323) PAR-VASO_0241702 at 706-07. As a result,

 Pitressin® and other vasopressin products were marketed throughout the twentieth

 century and up until 2014 without FDA approval.          See (DTX-1323) PAR-

 VASO_0241702 at 706-09;         see also id. at 729-730; (DTX-1298) PAR-

 VASO_0058258 at 266.

       141. JHP acquired ownership of Pitressin® in 2007, see (DTX-1298) PAR-

 VASO_0058258 at 266,




       142.

                the original trademark for PITRESSIN, issued in 1929 to Parke-

 Davis, which covered chemicals, medicines, and pharmaceutical preparations “for

 the PRESSOR PRINCIPLE OF THE PITUITARY GLAND, FOR THE


                                        87
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                                  107324
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 204 of 820 PageID #:
                                  107325



 id. at 724-726 (“Pitressin stimulates contraction and increases the tone of smooth

 muscle. . . . It sustains blood pressure by stimulation of the peripheral blood-vessels

 . . .”; “In shock and collapse, the dose is 0.05 to 1 cc., repeated at hourly intervals as

 needed during the critical period; concurrent administration of fluids (glucose

 solution or physiologic saline) by hypodermoclysis or intravenously is suggested.”)).

       145. The references                                  also described Pitressin® as

 a safe and stable drug product with few side effects. See (DTX-1323) PAR-

 VASO_0241702 at 724 (“Pitressin is relatively free from protein; absorption is rapid

 and side reactions are reduced to a minimum. Pitressin is remarkable stable, assuring

 uniformity of action.”).

       146. Pitressin® was accepted in the medical community as safe and

 effective. (DTX-1298) PAR-VASO_0058258 at 266. The prior art also did not

 suggest that the stability of Pitressin® had any appreciable impact on its safety or

 efficacy.

       147. Pitressin®, both the product and its prescribing information, is prior art

 to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA) because it was “described

 in a printed publication, or in public use, on sale, or otherwise available to the public

 before the effective filing date of” each of the Patents-in-Suit.

                 ii. Original Vasostrict®

                         1. Original Vasostrict ® Formulation


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       148. JHP, now Par Pharmaceutical Companies, Inc. (“Par”), sought approval

 for Vasostrict®, a vasopressin product with the same formulation as the marketed

 Pitressin® product but without overages, in 2012

 Original Vasostrict® was approved by the FDA on April 17, 2014, and was first

 launched on November 12, 2014 (“Original Vasostrict”).

       149. Original Vasostrict® was formulated as a solution for intravenous

 administration consisting of 20 units/mL of synthetic vasopressin, chlorobutanol NF

 0.5% as a preservative, and water for injection USP, adjusted with acetic acid to pH

 3.4 – 3.6, and provided in a 1 mL vial.        Vasostrict® April 2014 Label23 at

 DESCRIPTION; Vasostrict® September 2014 Label at DESCRIPTION.

       150. As originally approved in April 2014, Original Vasostrict® could be

 stored between 15 °C and 25 °C for up to 12 months. Vasostrict® April 2014 Label

 at HOW SUPPLIED/STORAGE AND HANDLING. The Vasostrict® label was

 later updated to require storage under refrigeration (for up to 24 months).

 Vasostrict® September 2014 Label at HOW SUPPLIED/STORAGE AND

 HANDLING; see also (DTX-1372) PAR-VASO_0080154; (DTX-1373) PAR-

 VASO_0014805. Additionally, Original Vasostrict® could be stored at room

 temperature up to 12 months following removal from refrigeration (with the total


 23
   Vasostrict® (Vasopressin Injection, USP) Package Insert, Par Pharmaceutical
 Companies, Inc.(April 2014), (DTX-1042) PAR-VASO_0254534-542
 (“Vasostrict® April 2014 Label”).
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 room temperature and refrigerated storage not exceeding 24 months). Vasostrict®

 March 2015 Label24 at HOW SUPPLIED/STORAGE AND HANDLING.

       151. Vasostrict® was to be stored between 2° and 8°C and discarded 48

 hours after the first puncture of the vial. Vasostrict® September 2014 Label at HOW

 SUPPLIED/STORAGE AND HANDLING.

       152. Original Vasostrict® was formulated with a target pH of 3.4-3.6, it had

 a product specification for pH of              .   Vasostrict® April 2014 Label at

 DESCRIPTION; (DTX-1403) PAR-VASO_0014742 at 743; (DTX-1374) PAR-

 VASO_0078041 at 147. Therefore, batches manufactured having pH within those

 specifications, could be and were sold. For example, Original Vasostrict® Lot

 788436 had a pH of 3.7 at the time of manufacture, on February 24, 2015. (DTX-

 1314) PAR-VASO_0096688 at 688. Lot 788436 was first sold on November 11,

 2015, and was sold through at least November 20, 2015. See (DTX-1119) PAR-

 VASO_0297182 at 190-191; see also Plaintiffs’ Objections and Responses to

 Defendants’ Joint Interrogatory No. 12.

       153. Vasostrict® April 2014 Label and Vasostrict® September 2014 Label

 (collectively, the “Original Vasostrict® Labels”) disclose the prescribing

 information for the Original Vasostrict® formulation initially marketed by Par. The


 24
   Vasostrict® (Vasopressin Injection, USP) Package Insert, Par Pharmaceutical
 Companies, Inc.(March 2015), (DTX-1043) PAR-VASO_0014782-787
 (“Vasostrict® March 2015 Label”).
                                           91
     DESCRIPTION section states:

                   Vasopressin is a polypeptide hormone that causes contraction of
                   vascular and other smooth muscles and antiduresis. Vasostrict is
                   a sterile, aqueous solution of synthetic arginine vasopressin for
                   intravenous administration. The 1 mL solution contains
                   vasopressin 20 units/mL, chlorobutanol, NF 0.5% as a
                   preservative, and Water for Injection, USP adjusted with acetic
                   acid to pH 3.4-3.6

     (DTX-1042) PAR-VASO_0254534 at 539; (DTX-1044) AMPHPA0006829 at 832.

     The DESCRIPTION section further discloses that “One mg is equivalent to 530

     units.” (DTX-1042) PAR-VASO_0254534 at 539; (DTX-1044) AMPHPA0006829

     at 832.

            154. The Original Vasostrict® Labels all disclose that Original Vasostrict®

     is indicated “to increase blood pressure in adults with vasodilatory shock (e.g., post-

     cardiotomy or sepsis) who remain hypotensive despite fluids and catecholamines.”

     PAR-VASO_0254534 at 536; AMPHPA0006829 at 831.

            155. Original Vasostrict® Labels at INDICATIONS AND USAGE.

     Original Vasostrict® is to be diluted with normal saline (9% sodium chloride) or 5%

      dextrose in water to either107328
                                    0.1 units/mL or 1 unit/mL for intravenous      administration.
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     Id. at DOSAGE AND ADMINISTRATION. The Original Vasostrict® Labels

     instruct that it should be administered to patients with post-cardiotomy shock at a

     rate of 0.03 to 0.1 units/minute and to patients with septic shock at a rate of 0.01 to

     0.07 units/min. Id.


                                                  92
             156. Original Vasostrict® was generally considered safe and effective by the

     FDA. PAR-VASO_0266141 at 144. The prior art also did not suggest that the

     stability of Original Vasostrict® had any appreciable impact on its safety or efficacy.

             157. The Vasostrict® April 2014 Label would have been publicly available

     shortly after Vasostrict® was approved by the FDA in April 2014. Furthermore,

     Plaintiffs have stated that Original Vasostrict® was first sold and offered for sale in

     November 2014 with the Vasostrict September 2014 Label.                           See Plaintiffs’

     Responses to Defendants’ Joint Interrogatory No. 13.                      Therefore, Original

     Vasostrict® (both the product and the Original Vasostrict® April 2014 and

     September 2014 Labels) is prior art to all of the Asserted Claims under 35 U.S.C.

     § 102(a) (AIA) because it was “described in a printed publication, or in public use,

     on sale, or otherwise available to the public before the effective filing date of” each

     of the Patents-in-Suit. Additionally, the Vasostrict® March 2015 Label is prior art

     to the Asserted Claims of the ’526, ’209, ’785, and ’223 patents under 35 U.S.C.

     § 102(a) (AIA) because it was “described in a printed publication, or in public use,

      on sale, or otherwise available
                                  107329 to the public before the effective        filing date of” each
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     of these patents.

             158. Furthermore, the named inventors of the Patents-in-Suit did not develop

     the formulation of Original Vasostrict®. Therefore, the exception under § 102(b)(1)

     does not apply to Original Vasostrict® because the disclosures relating to Original


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 Vasostrict® and in the Original Vasostrict Labels were not made by the named

 inventors or joint inventor or by another who obtained the subject matter disclosed

 directly or indirectly from the named inventors or a joint inventor.

                        2. Par’s Vasostrict® NDA and its Reliance on the
                           Knowledge of Vasopressin and its Use as Discussed in
                           the Medical Literature

       159. As noted above, JHP filed New Drug Application (“NDA”) No. 204485

 with the FDA on September 25, 2012, seeking regulatory approval to market a

 vasopressin injection product for the treatment of vasodilatory shock. See (DTX-

 1301) PAR-VASO_0072406. While the NDA was pending at the FDA, JHP was

 acquired by Par Pharmaceutical Holdings, Inc., along with ownership of Pitressin®

 and NDA No. 204485. See Par Pharmaceutical Holdings, Inc., General Form for

 Registration of Securities Under the Securities Act of 1933 (Form S-1) F-21 (March

 12,                                                                          2015),

 https://www.sec.gov/Archives/edgar/data/1559149/000119312515089746/d880840

 ds1.htm. For the sake of simplicity, JHP will be referred to as “Par” in the context

 of NDA No. 204485.

       160. The vasopressin product for which Par sought approval was nearly

 identical to the unapproved Pitressin® product already on the market.




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                                                                 25
                                                                      See (DTX-1297)

 PAR-VASO_0037497 at 503-04.



                  See (DTX-1307) PAR-VASO_0077369; (DTX-1308) PAR-

 VASO_0077570.

       161. Typically, the FDA requires a sponsor seeking approval of a new drug

 or a new indication to conduct clinical studies to establish efficacy and safety.




                                          See (DTX-1297) PAR-VASO_0037497 at

 500, 503-04, 507-08; (DTX-1298) PAR-VASO_0058258 at 266, 271-273.

       162.




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         Although the labeling for the unapproved Pitressin® product stated that it
 contained 20 units/mL (0.038 mg/mL) of vasopressin and 5 mg/mL of
 chlorobutanol, Pitressin® actually contained       units/mL (0.041 mg/mL) of
 vasopressin and         mg/mL of chlorobutanol.        See (DTX-1298) PAR-
 VASO_0058258 at 271, 277.
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       163.




       164.




       165.




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       166.




       167.



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       168.




       169. The above recommended practices are generally consistent with

 medical practice and the clinical use of vasopressin dating back to the 1990s.

                       3. Prior Art “Off-Label” Use of Vasopressin Injections
                          to Treat Vasodilatory Shock

       170. As noted above, Vasopressin was first sold in 1928 under the trade

 name Pitressin®. Pitressin® was used for the treatment of diabetes insipidus (among

 other conditions), and was known to cause constriction of blood vessels based on

 contraction of the smooth muscles surrounding them. See Pitressin® Label 2012,

 (DTX-0178) AMPHPA0006579 at 579, 581. Clinicians and members of the critical

 care community have been using Pitressin® to treat vasodilatory shock since the


                                          99
     1990s and continued to use prior art vasopressin products in this way, including up

     until January 30, 2015.

            171. Due to the knowledge of vasopressin’s natural mechanism of action and

     the role it plays in modulating blood pressure, it has been used “off-label” since at

     least the 1990s to treat hypotension in patients suffering from vasodilatory shock

     who do not otherwise respond to fluids and/or catecholamines.

            172. Vasopressin has been used “off-label” to treat vasodilatory shock

     through intravenous (“IV”) administration. For IV administration, the drugs often

     must be diluted to ensure that they are given at the appropriate dose. Clinicians also

     want to ensure that the patient receives the drug in a physiologically-acceptable form

     to avoid tissue irritation or hemotoxicity, and with an appropriate osmotic pressure.

     Clinicians have used saline or 5% dextrose in water (“D5W”) for dilution. These

     are the two diluents (i.e., solutions within which drugs are mixed to dilute them prior

     to administration) that are most commonly used in IV bags.

            173. Clinicians typically administer vasopressin at the rate and for the length

      of time appropriate for 107336each individual patient. It is common          to administer
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     vasopressin intravenously at a rate of 0.03-0.04 units/minute to treat vasodilatory

     shock, but it has been known to be administered at a rate of up to 0.4 units per minute,

     prior to January 30, 2015. It is possible to either start at this dose range, or

     incrementally increase it based on the patient’s response. If it is administered with


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 an incremental increase, the drug is administered at a starting rate of around 0.01

 units/minute and the administration rate is increased by 0.005 units/minute every 10-

 15 minutes until the desired administration rate is reached. However, depending on

 the patient’s response, the administration rate can be increased or decreased as

 needed to reach the target blood pressure. IV administration may be continued for

 hours, days, or weeks, depending on the patient’s state. When clinicians begin to

 wean the patient off of vasopressin, they gradually decrease the administration rate

 to avoid a shock to the patient’s system. It is typical to decrease administration at a

 rate of 0.005 to 0.01 units/minute. This is done over several minutes. After each

 decrease, clinicians assess the patient’s blood pressure for a period of time (around

 10-15 minutes). They then continue to decrease or increase the administration rate

 based on the patient’s response.

       174. The “off-label” prior art uses of vasopressin injections to treat

 vasodilatory shock are described above. Par relied on these prior art uses in the

 prosecution history of the Patents-in-Suit



       175. Before Vasostrict® was approved, vasopressin injections had been sold

 for decades. As noted above, these were not approved formally by the FDA, but

 instead were sold legally under a regulatory framework that allowed for old,

 unapproved drugs to be sold. These are often referred to as “grandfathered”


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 products.

                iii. American Regent (Luitpold) Vasopressin Product

         176. American Regent, Inc. and its predecessor Luitpold Pharmaceuticals,

 Inc. manufactured and sold vasopressin for over a decade prior to the launch of

 Original Vasostrict®. Luitpold Vasopressin Label 201129 published in November

 2011.

         177. Luitpold Vasopressin Label, (DTX-1041) AMPHPA0006315-16,

 provides the prescribing information for one of the unapproved vasopressin injection

 products sold prior to Vasostrict®’s entry into the market. The Luitpold Vasopressin

 Label is dated November 2011. Vasopressin Injection, USP, Luitpold Vasopressin

 is “a sterile, aqueous solution of synthetic vasopressin (8-L-arginine vasopressin).”

 Luitpold Vasopressin Label 2011 at DESCRIPTION. Luitpold Vasopressin was

 formulated “to contain 20 pressor units/mL. Each mL contains: Vasopressin 20

 units, Sodium Chloride 9 mg, Chlorobutanol 0.5% (as a preservative), Water for

 Injection q.s. pH (range 2.5 -4.5) adjusted with Acetic Acid.” Id. According to the

 manufacturing specifications,

                                        VAS0000011 at 013.

         178. Luitpold Vasopressin was also indicated for the prevention and



 29
   Vasopressin Injection, USP Package Insert, American Regent, Inc. (Nov. 2011),
 (DTX-1041) AMPHPA0006315-316 (“Luitpold Vasopressin Label 2011”).
                                         102
     treatment of postoperative abdominal distention, in abdominal roentgenography to

     dispel interfering gas shadows, and in diabetes insipidus. Luitpold Vasopressin

     Label at INDICATIONS AND USAGE. Luitpold Vasopressin was supplied in

     various packages: 10 units per 0.5 mL multiple dose vial; 20 units per 1 mL multiple

     dose vial; and 200 units per 10 mL multiple dose vial. Id. at HOW SUPPLIED. As

     with other prior art vasopressin products, Luitpold Vasopressin was used “off label”

     to increase blood pressure in patients with hypotension.

            179. The prior art did not suggest that the stability of Luipold Vasopressin

     had any appreciable impact on its safety or efficacy.

            180. Luitpold Vasopressin (both the product and its prescribing information)

     is prior art to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA) because it

     was “described in a printed publication, or in public use, on sale, or otherwise

     available to the public before the effective filing date of” each of the Patents-in-Suit.

                      iv. FK Vasopressin

            181. Fresenius previously manufactured and marketed a vasopressin

      formulation under the trademark
                                  107339     Novaplus® (“FK Vasopressin”).         The prescribing
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     information for FK Vasopressin, Novaplus® Label 201330 published in October

     2013. Therefore, FK Vasopressin and Novaplus® Label 2013 is prior art to all of


     30
       Novaplus® (Vasopressin Injection, USP) Package Insert, Fresenius Kabi USA,
     LLC (Oct. 2013), (DTX-0368) AMPHPA0006560-565 (“Novaplus® Label
     2013”).
                                                  103
     the Asserted Claims under 35 U.S.C. 102(a) (AIA) because it was “described in a

     printed publication, or in public use, on sale, or otherwise available to the public

     before the effective filing date of” each of the Patents-in-Suit.

            182. FK Vasopressin was formulated to contain “20 USP Vasopressin Units,

     chlorobutanol (anhydrous) 5 mg as preservative; Water for Injection q.s. Glacial

     acetic acid and/or sodium hydroxide may have been added for pH adjustment (2.5-

     4.5).” Novaplus® Label 2013 at DESCRIPTION. FK Vasopressin was supplied as

     1 mL in a 2 mL flip-top vial. Id. at HOW SUPPLIED. The Novaplus® Label 2013

     further instructed that FK Vasopressin should be stored “at 20° to 25°C (68° to

     77°F).” Id. FK Vasopressin had a shelf life of 18 months when stored between 68°

     and 77°F. (DTX-1275) FKSS0000095.

                      v. LT ’487

            183. Lithuanian Patent No. 4487 (“LT ’487”), titled “Antidiuretic

     Preparation     and    Its   Manufacturing        Method”     (translated),     (DTX-1016)

     AMPHPA0006289-300, published on April 26, 1999. Therefore, LT ’487 is prior

      art to all of the Asserted107340
                                     Claims under 35 U.S.C. 102(a) (AIA)           because it was
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     “patented, described in a printed publication, or in public use, on sale, or otherwise

     available to the public before the effective filing date of” each of the Patents-in-Suit.

            184. LT ’487 is directed to an “antidiuretic preparation comprised of an

     active ingredient derived from an animal posterior lobe pituitary extract [purified


                                                 104
     HPLC vasopressin].” LT ’487 at Summary.

             185. LT ’487 teaches formulations containing chromatographically purified

     vasopressin, chlorobutanol hydrate, sodium acetate, acetic acid, sodium chloride,

     and injection water. Id. Specifically, LT ’487 describes a vasopressin formulation

     containing 0.01 g vasopressin, 5.0 g chlorobutanol, 2.2 g sodium acetate, 6.8 g

     sodium chloride, 836.60 mL of 0.1 mol/L acetic acid, and injection water up to 1000

     total mL solution, which is then filled in 1.1 mL ampoules. Id. at 5. LT ’487 teaches

     that the pH of the solution must be in the range of 3.80-3.95. Id. LT ’487 also

     teaches that the formulations have a purity of at least 95% and an oxytocin content

     of no more than 0.1%. Id. at 4. LT ’487 teaches preparing formulations with 0.01

     g vasopressin in 1000 mL of solution. Id. at 2.

             186. LT ’487 further provides “[a]n example [] manufacturing method” for

     a vasopressin formulation, which is packaged in 1.1 mL glass vials. Id. The

     formulation includes an acetate buffer with a pH “in the range of 3.80 – 3.95” and

     0.01 g of vasopressin (i.e., 10 mg). Id.

                        vi. Gahart107341
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             187. “Vasopressin Injection,” 2013 Intravenous Medications (29th Ed.,

     2013), (DTX-0206) AMPHPA0006081-100 (“Gahart”) published in 2013.

     Therefore, Gahart is prior art to all of the Asserted Claims under 35 U.S.C. 102(a)

     (AIA) because it was “described in a printed publication, or in public use, on sale,


                                                      105
     or otherwise available to the public before the effective filing date of” each of the

     Patents-in-Suit.

            188. Gahart is a handbook for nurses and health professionals and contains

     an entry for “VASOPRESSIN INJECTION.” Gahart at 1167.

            189. Gahart teaches that vasopressin is indicated to have a pH of 2.5 to 4.5

     and is sold under tradenames such as Pitressin® and Pressyn. Id. Gahart teaches

     that vasopressin has been administered intravenously for several unlabeled

     indications, including vasodilatory shock and septic shock. Id.

            190. For vasodilatory shock, e.g. septic shock, Gahart teaches that “AHA

     guidelines recommend a continuous infusion of 0.02 to 0.04 units/min.” Id. Gahart

     also teaches “not [to] discontinue abruptly” and instead “tapering over 2 to 3 hours

     while monitoring effects.” Id. at 1168. Gahart teaches that vasopressin should be

     diluted in normal saline (0.9%) or 5% dextrose in water for intravenous

     administration. Id. at 1167. Further, Gahart discloses that vasopressin increases

     blood pressure in hypotensive patients. Id.

              191. Gahart states       that vasopressin is an antidiuretic
                                  107342                                           and “a potent
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     vasoconstrictor,” which “[c]auses smooth muscle contraction of all parts of the

     vascular bed (e.g., capillaries, small arterioles, and venules).”               (DTX-0206)

     AMPHPA0006081 at 099. Gahart discloses that vasopressin’s “IV use is as an

     alternative pressor agent to epinephrine[,]” which “promotes an effective increase in


                                                  106
     BP in hypotensive patients, even when other agents have failed.” Id.

             192. Gahart describes several intravenous uses of vasopressin to increase

     blood pressure in hypotensive patients, including providing “[h]emodynamic

     support during vasodilatory shock (e.g., septic shock)” and treating “[h]ypotension

     unresponsive to norepinephrine following cardiopulmonary bypass,” (i.e.,

     postcardiotomy shock) (DTX-0206) AMPHPA0006081 at 098.

             193. As stated above, for septic shock, Gahart states: “AHA guidelines

     recommend a continuous infusion of 0.02 to 0.04 units/min. Other sources in the

     literature recommended low-dose vasopressin infusions in vasodilatory shock

     refractory to catecholamines. 0.04 units/min as an infusion (range was 0.01 to 0.1

     units/min). . . .” Id. Gahart also describes a 2002 study by Masetti and colleagues,

     in which vasopressin was administered to patients with hypotension following

     cardiopulmonary bypass at rates of 0.1 to 1 unit/min. Id.

             194. Gahart states that “All IV Doses and Uses are Unlabeled”, id., which a

     POSA would have understood to mean that the listed IV doses and uses were not

      approved at that time by 107343
                                   a regulatory agency such as the FDA,            and were therefore
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     “off-label.” This is further clarified in the “Indications and Uses” section of the

     monograph, in which Gahart discloses that vasopressin is indicated for use as an

     antidiuretic in patients with diabetes insipidus, but that “[t]he AHA Handbook of

     Emergency Cardiovascular Care recommends use [of vasopressin] in the treatment


                                                    107
     of adult shock-refractory ventricular fibrillation (class IIb) (an alternative pressor

     agent to epinephrine) and for hemodynamic support in vasodilatory shock (e.g.,

     septic shock).” (DTX-0206) AMPHPA0006081 at 099.

             195. While Gahart discusses Pitressin® specifically, a POSA would have

     understood that Gahart’s teachings regarding administration of vasopressin apply to

     all prior art formulations of vasopressin unless otherwise contraindicated in their

     respective label.

                       vii. Russell 2008

             196. Russell et al., “Vasopressin Versus Norepinephrine Infusion in Patients

     with Septic Shock,” New Eng. J. Med. 358:877-87 (2008), (DTX-0232)

     AMPHPA0006646-656 (“Russell 2008”) published February 28, 2008. Therefore,

     Russell 2008 is prior art to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA)

     because it was “described in a printed publication, or in public use, on sale, or

     otherwise available to the public before the effective filing date of” each of the

     Patents-in-Suit.

              197. Russell 2008107344 describes a study investigating              the use of low-dose
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     vasopressin infusion in patients with septic shock. Russell 2008 at 877.

             198. Russell 2008 reports “studies involving the use of vasopressin infusion

     rates below 0.1 U per minute in patients with vasodilatory shock have repeatedly

     shown improved short-term blood pressure responses.” Id. at 878. Russell 2008


                                                      108
     discloses that vasopressin was mixed with “5% dextrose in water with [a] final

     concentration[] of 0.12 U of vasopressin per milliliter.” Id. at 879.

             199. Russell 2008 teaches that vasopressin was administered “at 5 ml per

     hour and increased by 2.5 ml per hour every 10 minutes during the first house to

     achieve a constant target rate of 15 ml per hour.” Id. This is equivalent to

     administering vasopressin at a rate of 0.01 U per minute up to a maximum of 0.03

     U per minute.

             200. Russell 2008 set out to determine, through a multi-center, double-blind

     clinical trial, whether administration of a low dose of vasopressin would decrease

     mortality compared with norepinephrine in patients suffering from septic shock. See

     (DTX-0232) AMPHPA0006646. The study was conducted from July 2001 to April

     2006. See (DTX-0232) AMPHPA0006646 at 647.

             201. Russell 2008 discloses that vasopressin had been used at infusion rates

     below 0.1 units/minute in treating vasodilatory shock. See id. It was clinicians’

     practice to use vasopressin in this manner before 2001, when the study began.

              202. Russell 2008’s 107345description of the dilution and            administration of
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     vasopressin to the study subjects is also consistent with general practice prior to

     2001.

             203. First, Russell 2008 describes mixing vasopressin in an IV bag. Russell

     2008 refers to “Vasopressin (30 U) . . . Mixed in . . . 250-ml intravenous bags of 5%


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 dextrose in water, with [a] final concentration[] of 0.12 U of vasopressin per

 milliliter . . . .”31 Id. at 648. It is necessary to dilute prepared injections of

 vasopressin prior to IV administration to avoid irritation and to avoid administering

 too high of a dose. Clinicians have commonly used either 5% dextrose in water or

 9% saline (two conventionally used IV diluents) to dilute vasopressin injections

 before IV administration.

       204. Russell 2008 discloses that, after dilution, vasopressin was infused at a

 rate of “5 ml per hour and increased by 2.5 ml per hour every 10 minutes during the

 first hour to achieve a constant target rate of 15 ml per hour. Thus, the blinded

 vasopressin infusion was started at 0.01 U per minute and titrated to a maximum of

 0.03 U per minute . . . .” Id. it was conventional to administer an infusion rate of

 about 0.03 or 0.04 units per minute in patients with vasodilatory shock (including

 septic shock and post-cardiotomy shock patients).

       205.




 31
   When converted, 0.12 units/mL corresponds to a concentration of 0.23 µg/mL.
  (1 mg = 530 units (see Vasostrict® September 2014 Label, Vasostrict® April 2014
  Label); 0.12 unit/mL * 1 mg/530 units * 1000 µg/mg = 0.23 µg/mL)

                                         110
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                                  107347




       206. Russell 2008 notes that a recommended MAP was 65 to 75 mm Hg, but

 that the target MAP could be varied for each patient as determined by the physician.

 See (DTX-0232) AMPHPA0006646 at 648. This is consistent with conventional

 practice. The goal is to reach a target MAP quickly, and keep the patient on the

 vasopressor until he or she has stabilized.

       207. Russell 2008 states that “[t]apering of the study drug was commenced

 only when the target mean arterial pressure had been maintained for 8 hours without

 any open-label vasopressors.” Id. 8 hours would be a minimum time at which to

 taper off the vasopressin because many patients are not stabilized within this time.

 Many patients will remain on vasopressin for even longer.

       208. Russell 2008 also discloses tapering of the administration rate, in a

 manner consistent with conventional practice.         Russell 2008 explains that

 “[w]eaning of the study medication was commenced when the target MAP was

 maintained while off all open-label vasopressors for eight hours. The infusion of

 study medication was decreased in 2.5 mL decrements every hour while the target



 32
   2.5 mL/hr * 0.12 units/mL = 0.3 units/hr; 0.3 units/hr * 1 hr/60 min = 0.005
 units/min.
                                          111
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                                  107348
     solution [10 mM] containing equal quantities of acetic acid and sodium acetate.”

     Martin at 237. Martin also teaches that an “acetate buffer should be effective over a

     pH range of about 3.8 to 5.8.” Id. at 247.

                       ix. Flynn

             213. Flynn, G.L., “Buffers – pH Control Within Pharmaceutical Systems,”

     PDA J. Pharmaceut. Sci and Technol., 34: 139-62 (1980), (DTX-1012)

     AMPHPA0006054-080 (“Flynn”) published in 1980. Therefore, Flynn is prior art

     to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA) because it was “described

     in a printed publication, or in public use, on sale, or otherwise available to the public

     before the effective filing date of” each of the Patents-in-Suit.

             214. Flynn is a publication describing the use of buffers to control pH in

     pharmaceutical applications. Flynn at 139.

             215. Flynn teaches that a “buffer is a solution of chemicals (buffering agents)

     which imparts an ability to resist change in the effective acidity or alkalinity of a

     medium upon the addition of increments of acid or base” and is used to stabilize

      dosage forms with respect       to pH. Id. Flynn further teaches
                                  107349                                           that “pH is a critical
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     variable in most studies involving aqueous systems as both chemical reaction rates

     and the positions of diverse equilibria . . . are directly affected by the acidity of the

     media.” Id. at 140.

             216. Flynn discloses that in pharmaceutical formulations, “[t]he first and


                                                      113
     most general purpose of buffering agents in pharmaceutical systems is to establish

     and sustain a precise chemical environment consistent with maintaining the highest

     possible degree of physical and chemical integrity of the dosage form, that is, a

     chemical environment consistent with “good stability.’” Id. at 144.

             217. Flynn teaches that buffer selection “depends on the desired pH of the

     system to be buffered and the compatibility of the buffer with all other formulation

     ingredients.” Id. at 155. Flynn further teaches that acetic acid buffers have an

     approximate buffering range of 3.8-5.8. Id. at 154.

             218. Flynn discloses that pharmaceutical buffer concentrations typically “lie

     between 0.01 and 0.1 molar,” or 10 and 100 mM. Id. at 157.

                         x. Hovgaard

             219. Pharmaceutical Formulation Development of Peptides and Proteins

     (Lars Hovgaard et al., eds., 2013), (DTX-1028) AMPHPA0006136-184

     (“Hovgaard”) published in 2013. Therefore, Hovgaard is prior art to all of the

     Asserted Claims under 35 U.S.C. 102(a) (AIA) because it was “patented, described

      in a printed publication, or107350
                                     in public use, on sale, or otherwise          available to the public
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     before the effective filing date of” each of the Patents-in-Suit.

             220. Hovgaard is a textbook describing the development of peptide and

     protein formulations. Chapter 8, “Peptides and Proteins as Parenteral Solutions,”

     was written to “provide practical guidance to formulation scientists charged with the


                                                      114
     development of stable, manufacturable, and elegant sterile solution dosage forms of

     peptides and proteins.” Hovgaard at 150.

             221. Hovgaard explains that the “effect of solution pH is a very important

     factor to study in early protein solution development.” Id. at 152. Hovgaard teaches

     that pH studies are conducted early in formulation development “to understand

     protein solubility and stability over an appropriate pH range.” Id.

             222. Hovgaard teaches that “[h]ydrolysis or deamidation occurs with

     peptides and proteins containing susceptible Asn and Gln amino acids.” Id. at 154.

     Hovgaard further teaches that hydrolytic instability can be minimized by formulating

     “at optimal solution pH.” Id. Additionally, hydrolytic instability can be minimized

     by “[s]tor[ing] at low temperatures,” noting that “the market prefers ready-to-use

     solutions that should be refrigerated over lyophilized dosage forms that can be stored

     at room temperatures.” Id.

             223. Hovgaard discloses that buffers “are used to prevent small changes in

     solution pH that can affect protein solubility and stability.” Id. at 155. Further,

      Hovgaard describes acetate      as one of the most common buffers
                                  107351                                           and that the typical
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     buffer pH range is 3.5-5.7. Id.

                       xi. Avanti 2012

             224. Avanti et al., “Innovative Strategies for Stabilization of Therapeutic

     Peptides in Aqueous Formulations,” University of Groningen (2012), (DTX-0263)


                                                    115
     AMPHPA0005495-651 (“Avanti 2012”) published in 2012. Therefore, Avanti 2012

     is prior art to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA) because it

     was “patented, described in a printed publication, or in public use, on sale, or

     otherwise available to the public before the effective filing date of” each of the

     Patents-in-Suit.

             225. Avanti 2012 is a thesis investigating the stabilization of therapeutic

     peptides in aqueous formulations.

             226. Avanti 2012 teaches that peptide stability is the most important factor

     in developing liquid peptide formulations.              Avanti 2012 at 17.          Avanti 2012

     discusses chemical and physical stability as the major degradation pathways for

     peptides in aqueous formulations. Id. at 18-23.

             227. Avanti 2012 discloses a number of methods to improve the stability of

     peptide formulations, which first require “knowledge of the peptide’s structure and

     thorough understanding of the possible degradation pathways of the specific

     peptide.” Id. at 23. Avanti 2012 teaches that the “[s]tability of peptides depends on

      the pH, therefore the common107352 strategy to avoid instability of          peptides in aqueous
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     solution is adjusting the pH using buffers.” Id. at 24. Avanti 2012 further teaches

     that pH can affect multiple degradation pathways, including deamidation.                      Id.

     Deamidation is minimized in formulations with a pH of 3 - 5. Id. Avanti 2012 also

     describes that the buffer species can affect deamidation as deamidation has been


                                                     116
     demonstrated to be faster in phosphate and bicarbonate buffers relative to acetate

     and pyruvate buffers. Id.

             228. Avanti 2012 describes that “most peptide drugs have to be stored and

     transported at low temperatures” because of their instability. Id at 17. Avanti 2012

     summarizes information for known peptide-formulations in Table, which includes

     “[v]asopressins and analog” and “[o]xytocins,” describing that “the majority of the

     formulations [are] to be stored under refrigerated conditions.” Id. at 15-16, 17.

             229. Avanti 2012 also discloses the effect of several variables on oxytocin

     stability. Id. at 34-48, 51-77, 79-93, 95-118, 121-134. Avanti 2012 teaches that

     peptide stability can be monitored in several ways although “HPLC with UV/vis

     detection is the most frequently used physiochemical method.” Id. at 61. Avanti

     2012 further discloses several HPLC methods to monitor stability. Id. at 38, 54, 82-

     83, 126. These HPLC methods can be run with a gradient elution method in which

     the mobile phase comprises two buffers in a proportion that is varied throughout the

     duration of the chromatography run. Id. at 38, 54, 83.

                       xii. Bi 1999
                                  107353
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             230. Bi and Singh, “HPLC Method for Quantification of Arginine

     Containing Vasopressin,” J. Liq. Chrom. & Rel. Technol. 22(4):551-60 (1999),

     (DTX-0248) AMPHPA0005652-661 (“Bi 1999”) published in 1999. Therefore, Bi

     1999 is prior art to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA) because


                                                      117
     it was “described in a printed publication, or in public use, on sale, or otherwise

     available to the public before the effective filing date of” each of the Patents-in-Suit.

             231. Bi 1999 is directed to the development of “a simple and fast HPLC

     separation method for the quantification of [vasopressin (“AVP”)] that could be used

     in the stability testing of AVP in various pharmaceutical dosage and delivery

     systems.” Bi 1999 at 552.

             232. The method was developed by investigating “[t]he effect of flow rates,

     columns, mobile phase compositions, and temperatures on the resolution of AVP

     and its degradation products[.]” Id. at 553. The study was conducted with a high

     pressure liquid chromatography (HPLC) instrument outfitted with one of three

     chromatography column containing an adsorbent stationary phase - C18

     MICROSORB-MV™ column (silica 5 μm, 100 Å, 25 cm x 4.6 mm); ZORBAX C8

     (silica 5 μm, 100 Å, 15 cm x 4.6 mm); or Brownlee Spheri-ODS column (5 μm, 100

     Å, 25 cm x 4.6 mm). Id. at 552-556. Bi 1999 discloses that the optimal flow rate of

     the liquid mobile phase was 1.5 mL/min. Id. at 556. Bi 1999 further discloses AVP

      and degradation products107354 were detected by UV detector as               they eluted from the
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 233 of 820 PageID #:

     chromatography columns. Id. at 552-553.

             233. Although Bi 1999 did not characterize the vasopressin degradation

     products that were studied, it teaches that based on vasopressin’s structure, “several

     reactions might occur, such as deamidation (Gln, Asn), hydrolysis (HN-CO bond),


                                                      118
     oxidation and photooxidation (Tyr, Phe), and β-elimination (Cys). Id. at 557.

                      xiii. Bi 2000

             234. Bi and Singh, “Effect of Buffer pH, Buffer Concentration and Skin with

     or Without Enzyme Inhibitors on the Stability of [Arg8]-vasopressin,” Int’l J.

     Pharmaceut. 197:87-93 (2000), (DTX-1002) AMPHPA0005662-668 (“Bi 2000”)

     published in 2000. Therefore, Bi 2000 is prior art to all of the Asserted Claims under

     35 U.S.C. 102(a) (AIA) because it was “described in a printed publication, or in

     public use, on sale, or otherwise available to the public before the effective filing

     date of” each of the Patents-in-Suit.

             235. Bi 2000 investigates the stability of vasopressin “as a function of buffer

     pH, temperature, buffer concentration, salt concentration, and skin with or without

     enzyme inhibitors.” Bi 2000 at 88.

             236. Bi 2000 teaches that “[p]eptides and proteins are inherently unstable

     molecules, which presents unique difficulties in their formulation, storage, and

     delivery.” Id. at 87. Bi 2000 further teaches that “the physicochemical stability of

      peptides and proteins in 107355
                                   formulations and delivery systems               should be considered
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     carefully in order to improve their systemic bioavailability.” Id.

             237. Bi 2000 discloses that buffer pH, type of buffer, and temperature have

     been shown to affect the stability of proteins and peptides. Id. at 88. Based on the

     results of a study investigating the effect of pH on vasopressin formulations prepared


                                                      119
     in 0.1 M phosphate buffer at 50º C, Bi 2000 reports that “AVP is most stable at pH

     3.35 among pH values tested and its degradation rate is highly pH-dependent.” Id.

     at 90. Bi 2000 further teaches that “AVP degradation shows a marked dependence

     on temperature” and “[b]uffer concentrations did not influence the degradation of

     AVP.” Id.       Bi 2000 reports that the shelf-life of AVP at 25° C and pH 3.35 is

     calculated to be 1.38 years. Id. at 91.

                     xiv. USP Vasopressin

             238. USP Vasopressin Monograph, USP 38-NF 33, Vol. 3, (DTX-1039)

     AMPHPA0006744-747 (“USP Vasopressin”) was released on November 1, 2014.

     Therefore, USP Vasopressin is prior art to all of the Asserted Claims under 35 U.S.C.

     102(a) (AIA) because it was “described in a printed publication, or in public use, on

     sale, or otherwise available to the public before the effective filing date of” each of

     the Patents-in-Suit.

             239. USP Vasopressin is an official United States Pharmacopeia-National

     Formulary monograph and articulates the quality expectations for Vasopressin.

              240. USP Vasopressin107356 discloses that “[v]asopressin             is a polypeptide
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     hormone having properties of causing the contraction of vascular and other smooth

     muscles, and of antidiuresis.” USP Vasopressin at 5752.

             241. USP Vasopressin teaches a chromatographic method to assay the

     amount of vasopressin. Id. at 5752-53.


                                                    120
             242. Furthermore, USP Vasopressin teaches that vasopressin should be

     stored in a refrigerator. Id. at 5753.

                       xv. USP Vasopressin Injection

             243. USP Vasopressin Injection Monograph, USP 38-NF 33, Vol. 3,

     AMPHPA0006744-747 (“USP Vasopressin Injection”) (DTX-1039) was released

     on November 1, 2014. Therefore, USP Vasopressin Injection is prior art to all of the

     Asserted Claims under 35 U.S.C. 102(a) (AIA) because it was “described in a printed

     publication, or in public use, on sale, or otherwise available to the public before the

     effective filing date of” each of the Patents-in-Suit.

             244. USP Vasopressin Injection is an official United States Pharmacopeia-

     National Formulary monograph and articulates the quality expectations for

     Vasopressin Injection.

             245. USP Vasopressin Injection discloses that “Vasopressin injection is a

     sterile solution of Vasopressin in a suitable diluent.” USP Vasopressin Injection at

     5753. USP Vasopressin Injection further discloses that the Vasopressin injection

      “may contain a suitable preservative.”
                                  107357             Id.
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             246. USP Vasopressin Injection teaches that the vasopressin injection should

     be “[p]reserve[d] in single-dose or multiple-dose containers, preferably of Type 1

     glass. Do not freeze.” Id.

             247. USP Vasopressin Injection further teaches that the vasopressin


                                                      121
     injection should have a pH “between 2.5 and 4.5.” Id.

                      xvi. WHO Standard

             248. WHO           International      Standard,      Arginine      Vasopressin      (AVP),

     Instructions for Use (Version 6.0, dated April 4, 2013), AMPHPA0006833-834

     (“WHO Standard”) (DTX-0201) published on April 30, 2013. Therefore, WHO

     Standard is prior art to all of the Asserted Claims under 35 U.S.C. 102(a) (AIA)

     because it was “described in a printed publication, or in public use, on sale, or

     otherwise available to the public before the effective filing date of” each of the

     Patents-in-Suit.

             249. WHO Standard teaches that “[a]rginine vasopressin is less likely to

     dimerize within the pH range 3.0-4.0.” WHO Standard at 1. WHO Standard further

     teaches to store “a solution of the standard (pH 3.0-4.0) containing a suitable

     preservative (e.g., 0.2% chlorobutol [sic]) by be stored at +4°C in tightly-closed

     containers for at least 3 months.” Id.

                 C. THE ASSERTED CLAIMS OF THE ’209 AND ’785 PATENTS
                    ARE ANTICIPATED BY ORIGINAL VASOSTRICT®
                                    107358
Case 1:18-cv-02032-CFC-CJBi. Document
                              Claim 305
                                      1 ofFiled
                                           the08/30/21
                                                ’209 Patent   and
                                                       Page 237      Claim
                                                                of 820 PageID 1
                                                                              #: of   the ’785 Patent

             250. Independent claim 1 of the ’785 patent claims a pharmaceutical

     composition, in a unit dosage form, from about 0.01 mg/ml to about 0.07 mg/mL of

     vasopressin or pharmaceutically-acceptable salt thereof, wherein the unit dosage

     form comprises impurities that are present in an amount of 0.9% to 1.7% wherein

                                                      122
    the impurities have from about 85% to about 100% sequence homology to SEQ ID

    NO.: 1, and wherein the unit dosage form has a pH of 3.7-3.9.

          251. Independent claim 1 of the ’209 patent claims a method of increasing

    blood pressure in a human in need thereof, comprising administering to the human

    a unit dosage form having identical limitations as what is claimed in claim 1 of the

    ’785 patent, wherein the administration provides the human from about 0.01 units

    per minute to about 0.1 units per minute of vasopressin or the pharmaceutically-

    acceptable salt thereof.

          252. Original Vasostrict® was indicated to increase blood pressure in adults

    with vasodilatory shock (e.g., post-cardiotomy or sepsis) who remain hypotensive

    despite fluids and catecholamines. (DTX-1042) Original Vasostrict® Labels at

    INDICATIONS AND USAGE.                 The prescribing information for Original

    Vasostrict® instructed that for post-cardiotomy shock, the starting dose should be

    0.03 units per minute and for septic shock the starting dose should be 0.01 units per

    minute. Furthermore, the maximum dose is 0.1 units per minute for post-cardiotomy

      shock and 0.07 units per107359 minute for septic shock. Id. at INDICATIONS      AND
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    USAGE. Therefore, the administration of Original Vasostrict® as instructed by the

    prescribing information provided the human from about 0.01 units per minute to

    about 0.1 units per minute of vasopressin. Accordingly, the administration of

    Original Vasostrict® satisfies the limitations in claim 1 of the ’209 patent relating to


                                              123
     the method of administration of the claimed formulation.

             253. With respect to the formulation limitations, Original Vasostrict® was

     provided as a unit dosage form in vial containing 1 mL of the vasopressin

     formulation. Id. at HOW SUPPLIED/STORAGE AND HANDLING. The Original

     Vasostrict® formulation contained 20 units/mL synthetic arginine vasopressin

     having the sequence:

                   H-Cys-Tyr-Phe-Glu(NH2)-Asp(NH2)-Cys-Pro-Arg-Gly-NH2

     which is the same sequence as that described in SEQ ID NO. 1 of the ’478 patent33:




     Id. at DESCRIPTION; ’209 Patent at col. 103-104. Additionally, 20 units/mL

     vasopressin is the same as 0.038 mg/mL synthetic vasopressin,34 which is within

     “from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin” as claimed in claim

     1 of the ’785 and claim 1 of the ’209 patents.

              254. Certain lots 107360
                                    of Original Vasostrict® were sold
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                                                                                   with a formulation



     33
        Glu(NH2) and Asp(NH2) are notations for glutamine and asparagine,
     respectively, that were formerly used; the recommended notation for these residues
     are now Gln and Asn.
     34
        The Original Vasostrict® Label indicates that there are 530 units per mg
     vasopressin; therefore 20 units/mL vasopressin is 0.038 mg/mL vasopressin.
     (DTX 1042) Vasostrict® April 2014 Label at DESCRIPTION.
                                                     124
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                                  107361



 having pH within the range 3.7 to 3.9. For example, Original Vasostrict® from Lot

 788436 had a pH of 3.7 at the time of manufacture, which was on February 24,

 2015.35 (DTX-1314) PAR-VASO_0096688 at 688; see also (DTX-1378) PAR-

 VASO_0065296 at 333, (DTX-1060) Plaintiffs’ Supplemental Response to

 Defendants’ Joint Interrogatory No. 17. Lot 788436 was first sold on November 11,

 2015, and was sold through at least November 20, 2015. See (DTX-1362) PAR-

 VASO_0297182 at 190-191; see also (DTX-1053) Plaintiffs’ Objections and

 Responses to Defendants’ Joint Interrogatory No. 12. This means that Lot 788436

 was in public use, on sale, or otherwise available to the public approximately 9

 months after it was manufactured.

       255.




                                     (DTX-1293) PAR-VASO_0028307 at 328-333.




 35
    The Certificate of Analysis for lot no. 788436 was signed on May 4, 2015. To
 the extent the analytical tests described in this Certificate of Analysis were not
 performed on February 24, 2015, and were instead performed at some point
 between February 24, 2015 and May 4, 2015, the analysis would not change. For
 example, assuming that month 0 were instead May 2015, it would only shift the
 stability data by about 2 months, which would not change the conclusions from
 these data.
                                         125
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              (DTX-1314) PAR-VASO_0096688 at 688; (DTX-1293) PAR-

 VASO_0028307 at 313; (DTX-1361) PAR-VASO_0272691 at 723-734



                                                                     Furthermore, the

 purpose of performing stability studies on registration batches, is to provide the FDA

 with data that is representative of the stability behavior expected for the commercial

 product.

       256. Data from Original Vasostrict® registration batches 310571,

               stored at the same conditions as that instructed by the Original

 Vasostrict® prescribing information (i.e. at 5 C, with the vial positioned upright and

 inverted)




                                          126
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                                  107363
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                                  107364
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                                  107365



               stored at the same conditions as that instructed by the Original

 Vasostrict® prescribing information (i.e. at 5°C, with the vial positioned upright and

 inverted) showed that all batches had



    total of impurities identified in Table 3 of the ’209 and ’785 patents over 24

 months (for batch 310571):




                                          129
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                                  107366
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                                  107367
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                                  107368




                 ii. Claim 2 of the ’209 Patent

         262. Claim 2 of the ’209 Patent depends from claim 1 and adds the

 limitations that the impurities comprise SEQ ID NO. 2, and SEQ ID NO. 2 is present

 in the unit dosage form in an amount of 0.1% to 0.3%.

         263. There are no limitations in claim 2 indicating any difference between

 the formulation of claim 1 and claim 2. Therefore, there is nothing in claim 2 to

 account for the additional claimed impurity limitation and no limitations in the claim

 to bring about the stated stability further claimed in claim 2. Accordingly, claim 2

 merely recites an inherent property of the vasopressin composition claimed in claim

 1.

         264. Original Vasostrict® contained an impurity having SEQ ID NO. 2.,

 which is Gly9-AVP. ’209 Patent at Table 3; (DTX-1314) PAR-VASO_0096688 at

 688. Original Vasostrict® meets each of the formulation limitations of claim 1, and

 therefore, to the extent the impurity limitation is infringed by Defendants, Original

 Vasostrict® would have inherently contained between 0.1% to 0.3% Gly9-AVP.

 The formulation limitations are the only factors recited in claim 1 that govern

 impurity formation; therefore, because Original Vasostrict® met the formulation

 limitations of claim 1, it inherently met the impurity limitations of claims 1 and 2 as

 well.


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                                  107369
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                                  107370
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                                  107371
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                                  107372
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                                  107373
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                                  107374
            273. Claim 4 of the ’209 Patent depends from claim 1 of the ’209 patent.

     Claim 5 of the ’785 patent depends from claim 1 of the ’785 patent. Both claim 4 of

     the ’209 patent and claim 5 of the ’785 patent add the limitations that the impurities

     comprise SEQ ID NO. 4, and SEQ ID NO. 4 is present in the unit dosage form in an

     amount of 0.2% to 0.4%.

            274. There are no limitations in claim 4 of the ’209 patent and claim 5 of the

     ’785 patent indicating any difference between the formulation of claim 1 and the

     respective dependent claims. Therefore, there is nothing in claim 4 of the ’209 patent

     and claim 5 of the ’785 patent to account for the additional claimed impurity

     limitation and no limitations in the claim to bring about the stated stability.

     Accordingly, claim 4 of the ’209 patent and claim 5 of the ’785 patent merely recite

     an inherent property of the vasopressin composition claimed in claim 1 of the

     respective patents.

            275. Original Vasostrict® contained an impurity having SEQ ID NO. 4.,

     which is Glu4-AVP. ’209 Patent at Table 3; (DTX-1314) PAR-VASO_0096688 at

      688. Original Vasostrict®107375meets each of the formulation limitations     of claim 1, and
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     therefore, to the extent the impurity limitation is infringed by Defendants, Original

     Vasostrict® would have inherently contained between 0.2% to 0.4% Glu4-AVP.

     The formulation limitations are the only factors recited in claim 1 of the ’209 and

     ’785 patents that govern impurity formation; therefore, because Original


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       292. To the extent the impurity limitation of claim 7 is not an inherent

 property of the claimed vasopressin composition, as discussed above.




              viii. Claim 8 of the ’209 Patent

       293. Claim 8 of the ’209 Patent depends from claim 1 of the ’209 patent, and

 adds the limitations that the impurities comprise SEQ ID NO. 3, SEQ ID NO. 7, and

 SEQ ID NO. 10, and SEQ ID NO. 3 is present in the unit dosage form in an amount

 of 0.1%; SEQ ID NO. 7 is present in an amount of 0.3 to 0.6%, and SEQ ID NO. 10

 is present in an amount of 0.1%.

       294. The formulation limitations are the only factors recited in claim 1 that

 govern impurity formation; therefore, because Original Vasostrict® met the

 formulation limitations of claim 1, it inherently met the impurity limitations of

 claims 1 and 8 as well.


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 have considered several factors when developing a peptide-based drug formulation.

 These include: (1) the known physicochemical properties of the API, such as, its

 solubility, excipient compatibility, stability and degradation profile, (2) the known

 formulations of the API and (3) the required or preferred delivery method.

       298. At the time of the earliest priority date of the Patents-in-Suit in 2015,

 vasopressin was already a well-known and established drug. As discussed above,

 an injectable vasopressin product called Pitressin® had been marketed by Parke-

 Davis for nearly a century. Because Pitressin® had been marketed since before the

 institution of the FDA drug approval process in 1938, it was permitted to remain on

 the market as a “grandfathered” product, which means that the composition and

 labeling must remain unchanged.

       299. Prior to the earliest priority date of the asserted Patents-in-Suit (January

 30, 2015), there were several vasopressin products on the market, all of which had

 similar compositions or formulations. For example, the Pitressin® vasopressin

 product marketed by Parke-Davis (and later, King Pharmaceuticals, Parkdale, and

 JHP Pharmaceuticals)39 was a an aqueous solution supplied in 1 mL vials containing

 20 units/mL synthetic 8-arginine vasopressin, along with 0.5% chlorobutanol, and

 acetic acid for adjusting the pH to            (DTX-1141) Pitressin® Label 2012 at



 39
   Par Pharmaceutical Companies, Inc. acquired JHP Pharmaceuticals in January
 2014.
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     per 0.5 mL multiple dose vial; 20 units per 1 mL multiple dose vial; and 200 units

     per 10 mL multiple dose vial. (DTX-1041) Luitpold Vasopressin Label at HOW

     SUPPLIED.

             301. Fresenius Kabi also marketed a vasopressin product prior to 2014 (“FK

     Vasopressin”).       FK vasopressin contained 20 units/mL synthetic 8-L-arginine

     vasopressin, 5 mg/mL chlorobutanol, water for injection and glacial acetic acid

     and/or sodium hydroxide for adjusting the pH to 2.5 to 4.5. (DTX-0368) FK

     Vasopressin Label at DESCRIPTION. FK vasopressin was indicated for the

     prevention and treatment of postoperative abdominal distention, in abdominal

     roentgenography to dispel interfering gas shadows, and in diabetes insipidus. (DTX-

     0368) FK Vasopressin Label at DESCRIPTION.

             302. In April 2014, FDA approved Vasostrict®, which contained 20

     units/mL synthetic arginine vasopressin, 0.5% chlorobutanol, NF as a preservative,

     water for injection, and acetic acid for adjusting the pH to 3.4 to 3.6 (“Original

     Vasostrict®”). (DTX-1042) Vasostrict® April 2014 Label at DESCRIPTION.

      Original Vasostrict® had107389an essentially identical formulation           as Pitressin®, except
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     that the vasopressin and chlorobutanol overages were removed. (DTX-1023) FDA

     Biopharmaceutics Review at 2.

             303. Vasopressin formulations were also described in the literature. In

     addition to the prescribing information for each of the prior art marketed vasopressin


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                                  107390



 products, other printed publications also teach vasopressin formulations.        For

 example, LT ’487 describes a vasopressin formulations containing 0.01 g

 vasopressin, 5.0 g chlorobutanol, 2.2 g sodium acetate, 6.8 g sodium chloride, 836.60

 mL of 0.1 mol/L acetic acid, and injection water up to 1000 total mL solution.

 (DTX-1176) LT ’487 at 5. LT ’487 teaches that the pH of the solution must be in

 the range of 3.80-3.95. Id.

       304. As discussed in more detail below, the prior art marketed vasopressin

 products are similar in many respects. They all contain approximately 20 units/mL

 synthetic arginine vasopressin; water; approximately 0.5% chlorobutanol; and acetic

 acid for pH adjustment.



                               a. About 0.01 mg/mL to about 0.07 mg/mL of
                                  vasopressin

       305. The vasopressin formulations that were marketed—Pitressin®,

 Original Vasostrict®, and Luitpold Vasopressin—and prior art printed publications

 concerning vasopressin formulations each taught unit dosage forms (such as in 1 mL

 vials or ampoules) containing from about 0.01 mg/mL to about 0.07 mg/mL of

 vasopressin or a pharmaceutically-acceptable salt thereof.

       306. As discussed above, Pitressin®, Original Vasostrict®, and Luitpold

 Vasopressin each contained 20 units/mL synthetic 8-arginine vasopressin. (DTX-

 1041) Luitpold Vasopressin Label at DESCRIPTION; (DTX-1141) Pitressin®

                                         154
     Label 2012 at DESCRIPTION; (DTX-1042) Vasostrict® April 2014 Label at

     DOSAGE FORMS AND STRENGTHS.

             307. Pitressin®, Original Vasostrict®, and Luitpold Vasopressin each

     contained 20 units/mL synthetic arginine vasopressin having the sequence:

                   H-Cys-Tyr-Phe-Glu(NH2)-Asp(NH2)-Cys-Pro-Arg-Gly-NH2

     which is the same sequence as that described in SEQ ID NO. 1 of the ’478 patent40:




             308. (DTX-1041) Luitpold Vasopressin Label at DESCRIPTION; (DTX-

     1141) Pitressin® Label 2012 at DESCRIPTION; (DTX-1042) Vasostrict® April

     2014 Label at DESCRIPTION; (DTX-1139) ’478 patent at col. 25-26. Therefore,

     Pitressin®, Original Vasostrict®, and Luitpold Vasopressin each taught vasopressin

     compositions containing arginine vasopressin as described in SEQ. ID NO. 1 of the

     Patents-in-Suit.

             309. Additionally, 20 units/mL vasopressin is the same as 0.038 mg/mL
                                  107391
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     synthetic vasopressin,        which is within “from about 0.01 mg/mL to about 0.07


     40
        Glu(NH2) and Asp(NH2) are notations for glutamine and asparagine,
     respectively, that were formerly used; the recommended notation for these residues
     are now Gln and Asn.
     41
        The Original Vasostrict® Label indicates that there are 530 units per mg
     vasopressin. Additionally, the Patents-in-Suit state that one mg of vasopressin is
     equivalent to 530 units. See, e.g., (DTX-1139) ’478 patent at 23:42. Therefore 20
                                                     155
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                                  107392



 mg/mL of vasopressin” as claimed in claim 1. Therefore, Pitressin®, Original

 Vasostrict®, and Luitpold Vasopressin each contains from about 0.01 mg/mL to

 about 0.07 mg/mL of vasopressin or a pharmaceutically-acceptable salt thereof and

 water.

          310. With respect to LT ’487, it teaches that the arginine vasopressin used

 has the general formula:




 (DTX-1176) LT ’487 at 1-2. This is the same sequence as SEQ ID NO. 1
 described in the Patents-in-Suit:




 See, e.g., (DTX-1139) ’478 Patent at Table 1. To the extent the arginine vasopressin

 as described in SEQ. ID NO. 1 must be synthetic, although LT ’487 does not teach

 using synthetic vasopressin, for the reasons described in more detail below, it would

 have been obvious to use synthetic arginine vasopressin in the formulation taught by

 LT ’487.

          311. LT ’487 discloses a vasopressin formulation containing 0.01 g


 units/mL vasopressin is 0.038 mg/mL vasopressin. Furthermore, to the extent
 Pitressin® was manufactured to contain an overage of vasopressin of
 units/mL, Pitressin® contained an amount equivalent to 0.041 mg/mL vasopressin.
                                          156
     vasopressin in a 1000 total mL solution. LT ’487 at 5. A 1000 mL solution

     containing 0.01 g vasopressin has 0.01 mg per milliliter vasopressin. Therefore, the

     formulation of LT ’487 contains from about 0.01 mg/mL to about 0.07 mg/mL of

     vasopressin or a pharmaceutically-acceptable salt thereof.

                                        a. Water

              312. The vasopressin formulations that were marketed—Pitressin®,

     Original Vasostrict®, and Luitpold Vasopressin—and prior art printed publications

     concerning vasopressin formulations each taught unit dosage forms containing

     water.     Not only are these prior art marketed vasopressin products aqueous

     solutions—meaning that they are solutions containing water—the Pitressin®,

     Original Vasopressin®, and Luitpold Vasopressin prescribing information also

     indicate that these products contain “water for injection.”

              313. LT ’487 also teaches a vasopressin formulation containing water.

     Specifically, this reference teaches the addition of “injection water” to the

     formulation “up to 1000 mL of solution.” (DTX-1176) LT ’487 at 5.

                                       b. pH
                                  107393
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              314. The vasopressin formulations that were marketed—Pitressin®,

     Original Vasostrict®, and Luitpold Vasopressin—and prior art printed publications

     concerning vasopressin formulations each taught vasopressin compositions having

     pH ranges that encompass, overlap with, or are close to the pH ranges and values


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 claimed in the Patents-in-Suit (i.e. “pH of 3.8,” “pH of 3.7-3.9,” and “pH from about

 3.7 to about 3.8”).

       315.

       See (DTX-1023) FDA Biopharmaceutics Review at 2; (DTX-1374) PAR-

 VASO_0078041 at 076; (DTX-1321) PAR-VASO_0120243 at 271, 278; (DTX-

 1312) PAR-VASO_0095005.

                                                              See (DTX-1374) PAR-

 VASO_0078041 at 147; (DTX-1321) PAR-VASO_0120243 at 349.




       316.




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       317. Lot No. 78495, for example, was manufactured on                      , and

 was sold                               on April 18, 2008.        (DTX-1316) PAR-

 VASO_0108640 at 645; (DTX-1119) PAR-VASO_0297181.                    Stability testing

 showed that lot No. 78495 had a pH of 3.8 after 3 months storage at 25 ºC. (DTX-

 1316) PAR-VASO_0108640 at 645. Therefore, Pitressin® having pH 3.8 was in

 public use, on sale, or otherwise available to the public before the earliest priority

 date of the Patents-in-Suit.

       318. Similarly, Original Vasostrict® was formulated and manufactured with

 a pH of 3.4 to 3.6. See, e.g., (DTX-026) PAR-VASO_0072472 at 474, 478-79; see

 also (DTX-1042) Vasostrict® April 2014 Label at DESCRIPTION; (DTX-1044)

 Vasostrict® September 2014 Label at DESCRIPTION. The pH release specification

 for Vasostrict®, which is 3.3 to 4.0, fully encompasses the claimed ranges. See

 (DTX-026) PAR-VASO_0072472 at 497. This means that a particular batch or lot

 of Original Vasostrict® could be sold as long as the pH of that lot was between 3.3

 and 4.0 at the time of manufacture.

       319. Furthermore, Par’s internal testing of commercially-sold Original


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 Vasostrict® batches reflect pH values within the claimed ranges. For example,

 Original Vasostrict® from Lot 788436 had a pH of 3.7 at the time of manufacture,

 which was on February 24, 2015. (DTX-1314) PAR-VASO_0096688 at 688; see

 also   (DTX-1378)      PAR-VASO_0065296          at   333,   (DTX-1060)      Plaintiffs’

 Supplemental Response to Defendants’ Joint Interrogatory No. 17. Lot 788436 was

 first sold on November 11, 2015, and was sold through at least November 20, 2015.

 See (DTX-1362) PAR-VASO_0297182 at 190-191; see also (DTX-1053) Plaintiffs’

 Objections and Responses to Defendants’ Joint Interrogatory No. 12. This means

 that Lot 788436 was in public use, on sale, or otherwise available to the public

 approximately 9 months after it was manufactured. Therefore, Original Vasostrict®

 having pH overlapping with the claimed pH ranges of pH 3.7-3.9 and pH from about

 3.7 to about 3.8 was in public use, on sale, or otherwise available to the public before

 the priority dates of the ’785 and ’209 patents. Likewise Original Vasostrict®

 having pH close to the claimed pH value of 3.8 was in public use, on sale, or

 otherwise available to the public before the priority dates of the ’785 and ’209.

        320. The Luitpold Vasopressin Label indicates that acetic acid is used to

 adjust the pH of the formulation to a range of 2.5-4.5, which fully encompasses the

 claimed ranges. (DTX-1041)        Luitpold Vasopressin Label at DESCRIPTION.




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       321. LT ’487 teaches that the pH of the vasopressin composition it describes

 is tested after the components are combined together, and that the pH value must be

 in the range of 3.80-3.95. Therefore, LT ’487 discloses a vasopressin composition

 with pH overlapping with each of the claimed pH ranges and values.

       322. As discussed above, the prior art taught pH ranges and values that

 encompass, overlap with, or are close to the pH ranges and values claimed in the

 Patents-in-Suit. Therefore, claimed values are presumptively obvious.

                        2. The Prior Art Taught Each of the Clinical
                           Limitations of the Asserted Claims

       323. The clinical administration aspects of this claim were known in the art

 well before the earliest priority date of the Patents-in-Suit. Specifically, vasopressin

 was known to increase the blood pressure in a hypotensive human and that

 intravenous administration of vasopressin to such hypotensive humans at between

 about 0.01 units per minute to about 0.1 units per minute of vasopressin was known.

 As discussed, each of Russell 2008 and Gahart discloses every one of the clinical

                                           161
     limitations of the Asserted Claims. Moreover, while Russell 2008 and Gahart

     discussed Pitressin® specifically, a POSA would have understood that these same

     teachings and applications contained in could be applied to any other prior art

     vasopressin formulations.

            324. Although each of the vasopressin products marketed before 2014 were

     indicated for treating postoperative abdominal distention, dispelling interfering gas

     shadows, and treating diabetes insipidus, numerous clinical studies had

     demonstrated the safety and efficacy for increasing blood pressure in patients with

     vasodilatory shock (such as post-cardiotomy or sepsis) and are hypotensive. (DTX-

     0232) Russell 2008 at 877; (DTX-0206) Gahart at 1167. Vasopressin products, such

     a Pitressin®, were intravenously administered off-label by clinicians in emergency

     situations to increase the blood pressure of patients in vasodilatory shock. Indeed.

     Gahart, a handbook for nurses and health professionals, teaches such off-label use

     of Pitressin®. (DTX-0206) Gahart at 1167.

            325. Furthermore, Original Vasostrict®, first approved in April 2014, was

      indicated to increase blood      pressure in adults with vasodilatory
                                  107398                                           shock (e.g., post-
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     cardiotomy or sepsis) who remain hypotensive despite fluids and catecholamines.

     (DTX-1042) Vasostrict® April 2014 Label at INDICATIONS AND USAGE. The

     prescribing information for Original Vasostrict® instructed that for post-cardiotomy

     shock, the starting dose should be 0.03 units per minute and for septic shock the


                                                   162
     starting dose should be 0.01 units per minute. Furthermore, the maximum dose is

     0.1 units per minute for post-cardiotomy shock and 0.07 units per minute for septic

     shock.      (DTX-1042) Vasostrict® April 2014 Label at INDICATIONS AND

     USAGE.

                                3. Stability Limitations Would Have Been Inherently
                                   Met

             326. The only limitations that accounts for the stability limitation of the

     Asserted Claims (i.e. the limitations concerning percent degradation after storage or

     amount of impurities) are the limitations relating to the formulation. That is, the

     limitations described above with respect to concentration of vasopressin; acetic acid

     or acetate buffer; water; and pH of the unit dosage or pharmaceutical composition

     of vasopressin, are the only parameters recited in the asserted patents that would

     have an effect on the amount of vasopressin degradation or impurities. Aside from

     these limitations, there are no other limitations in the Asserted Claims that would

     bring about the stated stability limitation (i.e. amount of degradation or impurities).

     Thus, as described in further detail below, to the extent a vasopressin composition
                                  107399
      meets the formulation
Case 1:18-cv-02032-CFC-CJB      limitations,
                           Document              it would
                                    305 Filed 08/30/21      inherently
                                                       Page 278           meet
                                                                of 820 PageID #:   the degradation and

     impurity limitations. Alternatively, the Asserted Claims are not enabled, lack

     adequate written description, and/or are indefinite.

             327. If the prior art discloses a range or genus that overlaps with or is very

     close to a range or species claimed in a patent, the patent claim can be presumed to

                                                     163
     be obvious without a rebuttal showing of secondary considerations or a teaching

     away. As set forth above, the prior art disclosures overlap or encompass the Asserted

     Claims of the Patents-in-Suit almost entirely. Indeed, in some instances, the prior

     art is identical to what is claimed. In other instances, the claims fall within a small

     range or genus known in the art or overlap or are close to values that were either

     reported in the art or reflected in prior art products sold prior to the applicable

     priority dates. There is significant, if not complete, overlap between the prior art

     and the Asserted Claims of the Patents-in-Suit. As set forth below, there is no

     evidence of criticality, or teaching away, that would rebut a finding of prima facie

     obviousness as a result of the extreme closeness of the prior art to the Asserted

     Claims.

                        ii. A POSA Would Have Been Motivated to Modify the
                            Formulation of Existing Vasopressin Products and/or
                            Vasopressin Compositions Taught in the Prior Art

                                 1. Alleged Problem to be Solved by the Asserted Patents

             328. The obviousness analysis requires consideration of an alleged problem

     in the art that was to be solved by the alleged invention. The alleged problem to be
                                  107400
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     solved identified in the asserted patents is: to improve the stability of existing

     vasopressin injections.

             329. The asserted patents state that the named inventors worked to address

     the alleged problem of poor long-term stability during a vasopressin injection’s shelf


                                                      164
     life due to degradation of vasopressin. See, e.g., (DTX-1139) ’478 patent at 1:22-

     25 (“Current formulations of vasopressin require refrigeration for maintenance or

     reconstitution of lyophilized powders due to vasopressin’s poor long-term stability.”

     (emphasis added)), Abstract (discussing decrease in degradation), 15:26-27 (noting

     that the claimed inventions allegedly “provide advantages in stability,” among other

     things); (DTX-1173) ’526 patent at 1:19-21 (“Current formulations of vasopressin

     suffer from poor long-term stability.”); ’209 patent at 1:23-25 (same); (DTX-1145)

     ’785 patent at 1:19-21 (same).

             330. Vasopressin injections have been on the market since the early 1900s,

     and were known to be safe and effective in treating low blood pressure in humans.

     A POSA seeking to administer a vasopressin injection to treat low blood pressure

     could therefore focus on optimizing the formulation of these long-existing products.

     It is common to try to enhance stability of pharmaceuticals so that they have a longer

     shelf-life. Because stability, and therefore, shelf-life, is related to the degradation of

     the active ingredient, one obvious approach to extending shelf life is to reduce

      degradation. It was known      that the stability of products like the
                                  107401                                           prior art vasopressin
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     injections could be improved through the optimization of pH of the formulation

     (including through the use of excipients like buffers) as well as through refrigeration.

                                2. A POSA Would Have Been Motivated to Improve the
                                   Stability of Existing Vasopressin Formulations

             331. Starting around the mid-2000s, the FDA issued guidance encouraging

                                                     165
     companies to seek approval of previously unapproved grandfathered products, such

     as the grandfathered vasopressin products. The FDA issued an additional guidance

     in 2011 to clarify its enforcement priorities with respect to unapproved products.

     Specifically, FDA stated that in situations where it has granted approval to a

     previously unapproved grandfathered drug product, the FDA is more likely to take

     enforcement action against remaining unapproved drugs of that type. These actions

     by the FDA would have motivated POSAs to develop improved formulations of

     vasopressin. In September 2012, JHP (which Par later acquired), submitted a New

     Drug Application under section 505(b)(2) of the Food, Drug, and Cosmetic Act for

     an FDA-approved version of Pitressin®. See (DTX-1301) PAR-VASO_0072406.

           332. In April 2014, FDA approved Vasostrict®,42 which, as discussed

     above, contained 20 units/mL synthetic arginine vasopressin, 0.5% chlorobutanol,

     NF as a preservative, water for injection, and acetic acid for adjusting the pH to 3.4

     to 3.6 (“Original Vasostrict®”).

           333. As discussed above, Original Vasostrict® was indicated to increase

      blood pressure in adults with
                                  107402vasodilatory shock (e.g., post-cardiotomy   or sepsis)
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 281 of 820 PageID #:

     who remain hypotensive despite fuilds and catecholamines.                (DTX-1042)

     Vasostrict® April 2014 Label at INDICATIONS AND USAGE. The prescribing


     42
       During the approval process, JHP changed the brand name of its proposed
     vasopressin product from Pitressin® to Vasostrict®. See PARVASO_0077369;
     PAR-VASO_0077570.
                                              166
     information for Original Vasostrict® instructed that for post-cardiotomy shock, the

     starting dose should be 0.03 units per minute and for septic shock the starting dose

     should be 0.01 units per minute. Furthermore, the maximum dose is 0.1 units per

     minute for post-cardiotomy shock and 0.07 units per minute for septic shock. (DTX-

     1042) Vasostrict® April 2014 Label at INDICATIONS AND USAGE.

            334. Original Vasostrict®, as approved in April 2014, had a shelf life of 12

     months when stored between 15°C and 25ºC. (DTX-1042) Vasostrict® April 2014

     Label at HOW SUPPLIED/STORAGE AND HANDLING; (DTX-1358) PAR-

     VASO_0037819 at 819.             In September 2014, Par updated the prescribing

     information for Original Vasostrict® to specify that the product should be stored

     between 2°C and 8ºC (i.e. refrigerated conditions).              (DTX-1044) Vasostrict®

     September 2014 Label at HOW SUPPLIED/STORAGE AND HANDLING.

            335. Original Vasostrict® had to be stored under refrigerated conditions. A

     POSA would have wanted to improve the stability of Original Vasostrict® such that

     it would be stable without requiring storage at low temperatures. This is because it

      is often more difficult 107403to transport drug products requiring           storage at low
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     temperatures. Access to drug products that require refrigeration can be limited,

     especially for rural or tropical areas where it may be difficult to maintain a cold

     supply chain. (DTX-0263) Avanti 2012 at 17. Due to the preference for room

     temperature storage rather than refrigerated storage of drug products, Avanti 2012


                                                  167
     suggests that “an urgent need exists for new strategies to tackle the problems

     associated with peptide instability.” Id. at 17. Avanti 2012 provides a table of the

     shelf-life and storage conditions of various marketed peptide products. Id. at 16-17.

     Avanti states that the requirement for many of these peptide products to be stored at

     refrigerated conditions indicates that these products have poor stability. Id. at 17.

     Furthermore, because vasopressin is used in emergency circumstances, a POSA

     would have recognized that it is particularly helpful to be able to store a vasopressin

     formulation at room temperature. Accordingly, a POSA would have been motivated

     to improve the stability of existing vasopressin formulations through the use of

     routine formulation optimization.

             336. Furthermore, many of the peptide products listed in Table 1 of Avanti

     2012 have a shelf life of 3 to 4 years under refrigerated conditions, including

     compounds that are similar to vasopressin, such as desmopressin, felypressin, and

     oxytocin. Id. at 16. The fact that Original Vasostrict® was only approved for a

     shelf-life of 24 months under refrigerated conditions would have further motivated

      a POSA to improved stability107404of existing vasopressin products.
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             337. In optimizing a vasopressin formulation to improve product stability, a

     POSA would have considered existing vasopressin formulations as starting points

     with respect to formulation components, the amounts of those components, and the

     pH to target. This is especially true for a drug like vasopressin, where there have


                                                     168
     been existing products on the market, such as Pitressin®, Original Vasostrict®, and

     Luitpold Vasopressin, all of which, for the reasons discussed above, have very

     similar or nearly identical formulations and had been successfully used clinically in

     thousands of patients for decades. A POSA also would have considered printed

     publications such as LT ’487, which also has a very similar formulation as the

     existing marketed vasopressin products. Based on these existing formulations, both

     marketed and described in the literature, a POSA would have understood that

     chlorobutanol, acetic acid, and sodium acetate are likely compatible with

     vasopressin.

                                3. A POSA Would Have Been Motivated to Optimize the
                                   pH of the Vasopressin Formulation to Improve
                                   Stability

             338. To the extent the pH ranges and values taught in the prior art do not

     render the claimed pH ranges and values presumptively obvious, a POSA would

     have been motivated to optimize the pH of the prior art vasopressin formulations to

     improve stability. As discussed above, stability of the peptide drug in the liquid

      formulation is one of the107405most important factors to consider            when designing and
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     developing a liquid parenteral peptide formulation. (DTX-0263) Avanti 2012 at 17;

     (DTX-0247) Carpenter43 at 13 (“The optimization of formulation variables for



     43
       Rational Design of Stable Protein Formulations (J. F. Carpenter & M. C.
     Manning, eds., 2002), AMPHPA0005693-914 (“Carpenter”).
                                                     169
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 285 of 820 PageID #:
                                  107406
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 286 of 820 PageID #:
                                  107407
     The named inventors of the Patents-in-Suit agreed that deamidation was known as a

     common degradation pathway.

             342. With respect to vasopressin, a POSA would have known that

     deamidation was degradation pathway because vasopressin contains asparagine and

     glutamine residues at the fourth and fifth positions:44

                   H-Cys-Tyr-Phe-Glu(NH2)-Asp(NH2)-Cys-Pro-Arg-Gly-NH2


     (DTX-1042) Vasostrict® April 2014 Label at DESCRIPTION; see also (DTX-

     0263) Avanti 2012 at 19 (“Peptides containing asparagine and glutamine residues

     are known to undergo spontaneous deamidation.”); (DTX-1028) Hovgaard at 154

     (“Hydrolysis or deamidation occurs with peptides and proteins containing

     susceptible Asn and Gln amino acids, the only two amino acids that are primary

     amines.”). Indeed, Bi 1999, which discussed the development of an HPLC method

     for quantifying vasopressin and its degradation product, taught that “several reaction

     might occur, such as deamidation (Gln, Asn), hydrolysis (HN-CO bond), oxidation

     and photooxidation (Tyr, Phe), and β-elimination (Cys).” (DTX-0248) Bi 1999 at
                                  107408
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 287 of 820 PageID #:
     557. Furthermore, the Patents-in-Suit reflect that a POSA would have known that

     “[t]he glycine, glutamine, and asparagine residues can undergo deamidation to yield



     44
       Glu(NH2) and Asp(NH2) are notations for glutamine and asparagine,
     respectively, that were formerly used; the recommended notation for these residues
     are now Gln and Asn.
                                                      172
     the parent carboxylic acid and several degradation products.” See, e.g., (DTX-1363)

     ’239 patent at 2:38-44.

             343. A POSA would have known that nearly all of the degradation reactions

     identified by Bi 1999 are affected by pH. Specifically, a POSA would have known

     that these reactions tend to occur under neutral or basic conditions. Hovgaard at 153

     (Figure 8.1). Furthermore, Bi 2000 teaches that the stability of vasopressin is

     dependent on the pH of the formulation. (DTX-1002) Bi 2000 at 90.

             344. Based on the structure of vasopressin, and as confirmed by the

     teachings of Bi 1999 and Bi 2000, a POSA would have known that vasopressin may

     be susceptible to pH-dependent degradation reactions, in particular, deamidation of

     the Gln and Asn residues

             345. A POSA would have known that one of the most basic and common

     strategies for solving problems with pH-dependent peptide degradation reactions is

     to optimize pH. (DTX-0263) Avanti 2012 at 24 (“Stability of peptides depends on

     the pH, therefore the common strategy to avoid instability of peptides in aqueous

      solution is adjusting the 107409
                                   pH using buffers….The pH of the                 formulation can also
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 288 of 820 PageID #:

     substantially affect deamidation. Deamidation is known to be sensitive to both the

     pH and the composition and concentration of the buffer.”); (DTX-0247) Carpenter

     at 13 (Table 6 listing “pH optimization” as a possible solution for deamidation and

     Table 7 listing pH as a formulation variable for minimizing degradations); (DTX-


                                                      173
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 289 of 820 PageID #:
                                  107410



 1028) Hovgaard at 154 (“Hydrolytic instability of peptides and proteins can be

 minimized through one or more of the following approaches:…Formulate at optimal

 solution pH.”).

       346. Accordingly, a POSA would have been motivated to determine the

 optimal pH for vasopressin through routine pH-stability studies, which are described

 above. Given that the prior art taught various vasopressin formulations having pH

 within a relatively narrow window—pH 3.4 to 3.6 for                        Original

 Vasostrict®; pH 2.5 to 4.5 and more specifically pH

                                               ; pH 3.80 to 3.95 for the formulation

 of LT ’487 –a POSA would have focused pH optimization efforts within that

 window. A POSA would have identified a narrow pH range such as pH 2.5 to 4.5

 or pH 3.0 to 4.0 as the range on which to focus for pH optimization. As part of this

 focused effort, a POSA would have been motivated to perform pH stability studies

 using relatively small pH increments (such at 0.1 pH unit increments) as opposed to

 the larger pH increments used in the prior art literature when studying larger pH

 ranges. See, e.g., (DTX-0361) Adamsons,45 (DTX-1002) Bi 2000 at 88. It would

 have been typical to for a POSA to vary pH in 0.1 increments when performing

 routine pH-stability testing over a narrow range of pH values.


 45
   Adamsons et al., “The Stability of Natural and Synthetic Neurohypophysial
 Hormones In Vitro,” Endocrinology 63(5):679-87 (1958), AMPHPA0005427-437
 (“Adamsons”).
                                         174
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 290 of 820 PageID #:
                                  107411



       347. The fact that vasopressin products were sold having specific pHs would

 not have discouraged a POSA from optimizing the pH of a vasopressin formulation

 to improve stability because a POSA would have known of the incremental

 differences and variations in pH of the prior art vasopressin formulation, and would

 have been further motivated to find an optimal pH within the pH ranges taught in

 the prior art to improve stability. Additionally, while a POSA would have relied on

 stability data and information reported in the literature, to the extent such data or

 information was outdated or incomplete, a POSA would have been motivated to

 perform his own studies, including, for example, pH-stability studies.

       348.




       349. Accordingly, in view of the prior art vasopressin formulations, which

 had incremental differences in pH, a POSA would have been motivated to optimize

 the formulation of vasopressin, through routine pH-stability studies, to improve the

 stability of the formulation.

       350. Additionally, to the extent a POSA would not have been motivated


                                         175
     optimize the pH through the use of routine experimentation, adjusting the pH to the

     claimed pH ranges and values would have been obvious to try. For the reasons

     discussed above, there would have been a design need to improve the stability of

     existing vasopressin formulations, which had to be refrigerated. As discussed, pH

     is the main parameter out of a finite set of strategies a formulator would try to modify

     to improve stability of vasopressin formulations.

            351. Given the relatively narrow pH range for optimization suggested by the

     prior art, and the practical limits of controlling the pH to increments below 0.1 pH

     units, there would have been a finite number of predictable pH values that a POSA

     would try. A POSA would have anticipated being able to improve stability through

     pH modifications. Therefore, the claimed pH ranges and values, in addition to being

     obvious, would have been obvious to try.

            352. In view of the importance of pH for the stability of peptide drug

     products generally, and specifically with respect to vasopressin, a POSA would have

     also been motivated to add a buffer to the vasopressin formulation. A POSA would

      have known that adding a107412buffer would help the vasopressin drug         product resist any
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     changes in pH during storage and thereby result in a more stable product.

            353. When selecting the buffer, a POSA would have considered the pH

     range of the solution and any information regarding the compatibility of vasopressin

     with potential buffer systems. (DTX-1012) Flynn at 155. A POSA would have


                                                   176
     known that a buffer solution is typically useful within a range of about one pH unit

     of the pKa of its acid. (DTX-1020) Martin at 247. A POSA would have considered

     an acetate buffer because it is one of the most common buffers used in sterile drug

     solutions, and it has a pKa of 4.76, which means that it is effective over the range of

     around pH 3.5 to 5.8. (DTX-1020) Martin at 238, 247; (DTX-1028) Hovgaard at

     155.

            354. Furthermore, acetate buffer is created by mixing acetic acid with one of

     its salts (i.e. an acetate salt). Thus, a POSA would have been especially interested

     in an acetate buffer given the inclusion of acetic acid in the prior art marketed

     formulations, which indicated vasopressin’s compatibility with acetate. Indeed, as

     Dr. Kirsch recognized, acetic acid has some minimal buffering capacity, and a POSA

     would have wanted to increase that buffering capacity by adding an acetate salt to

     the acetic acid that was already in the formulation. .

            355. A POSA would have been motivated to select an acetate buffer because

     its typical buffer pH range only overlapped with a portion of the 2.5-4.5 pH range

      described for vasopressin107413in some of the prior art. A POSA              would have been
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     motivated to first determine the optimal pH, which would then influence the POSA’s

     choice of buffer. Thus, to the extent the claimed pH ranges and values minimized

     degradation and impurities, a POSA would have arrived at those pHs. Then, based

     on those pH ranges and values, which overlaps with the typical buffer pH range for


                                                   177
     an acetate buffer, a POSA would have considered and selected the acetate buffer.

     Additionally, all of the vasopressin products marketed in the prior art were

     formulated successfully with acetic acid, and thus the proven compatibility between

     vasopressin and acetate would have further motivated a POSA to start with an acetate

     buffer even if pH were set toward the edge of its buffering capacity.

                              4. A POSA Would Have Been Motivated to Detect,
                                 Quantify, and Identify Impurities and/or Degradation
                                 Products

            356. Furthermore, acetate buffer is created by mixing acetic acid with one of

     its salts (i.e. an acetate salt). Thus, a POSA would have been especially interested

     in an acetate buffer given the inclusion of acetic acid in the prior art marketed

     formulations, which indicated vasopressin’s compatibility with acetate. Indeed, as

     Dr. Kirsch recognized, acetic acid has some minimal buffering capacity, and a POSA

     would have wanted to increase that buffering capacity by adding an acetate salt to

     the acetic acid that was already in the formulation.

            357. In the course of performing pH-stability and degradation studies, a

      POSA would have been motivated
                                  107414       to detect, quantify, and identify   impurities and/or
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 293 of 820 PageID #:

     degradation products.        The recommendations for identifying and quantifying

     impurities in drug products is outlined in the FDA’s Guidance for Industry Q3B(R2)




                                                  178
     Impurities in New Drug Products (“FDA Q3B Impurities Guidance”) (DTX 1010).46

             358. FDA Q3B Impurities Guidance recommends summarizing the

     degradation products observed during manufacture and/or stability studies of a new

     drug product. A POSA would have been motivated to seek regulatory approval for

     marketing and optimized vasopressin formulation, and therefore would have been

     motivated to follow the FDA Q3B Impurities Guidance, and detect, quantify, and

     identify any impurities and degradation products.

             359. Specifically, considering a maximum daily dose of 0.27 mg

     vasopressin47, the FDA Q3B Impurities Guidance recommends a reporting threshold

     of 0.1% impurity and an identification threshold of 1.0% impurity. (DTX 1010)

     FDA Q3B Impurities Guidance at Attachment 1. Therefore, to the extent the

     formulation could not be optimized to reduce the levels of specific impurities below

     these thresholds, a POSA would have been motivated to detect, quantify and identify

     any impurities and degradation products exceeding these limits.

                        iii. A POSA Would Have Expected to Be Able to Successfully
                             Improve the Stability of Vasopressin Formulations by
                             Optimizing
                                  107415 the pH
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 294 of 820 PageID #:



     46
        FDA Guidance for Industry: Q3B(R2) Impurities in New Drug Products (July
     2006), AMPHPA0006036-053 (“FDA Q3B Impurities Guidance”).
     47
        Original Vasostrict® Label indicates that the maximum dose is 0.1 units per
     minute infusion. Using this maximum dose, a maximum daily dose of 144 units
     per day or approximately 0.27 mg per day (assuming that there are 530 units per
     mg):
     (0.1 units/minute) (1440 minutes/day) / (530 units/mg) = 0.27 mg/day
                                                      179
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 295 of 820 PageID #:
                                  107416
     optimization of a vasopressin formulation with respect to stability in a formulation

     containing 2.5 mg vasopressin per mL (i.e. approximately 1325 units/mL, assuming

     a conversion factor of 530 units/mg vasopressin); 0.1 M phosphate buffer, and 0.3

     M NaCl. (DTX-1002) Bi 2000 at 88. Bi tested the stability of this formulation at

     various pH values from 2.6 to 8.5. See id. Bi 2000 found that for this particular

     formulation, of the pH values tested, a pH of 3.35 provided maximum stability.48 Id.

     at 90. A POSA would have understood from Bi 2000 that the pH of a vasopressin

     formulation can be successfully optimized in improve stability.

             362. Accordingly, a POSA would have expected that stability could be

     improved compared to formulations in the prior art through adjustment of pH and

     buffers.

                        iv. Claims 1-8 of the ’209 Patent Are Obvious Over Pitressin®,
                            Original Vasostrict®, the American Regent Vasopressin
                            Product, and/or LT ’487 in View of Bi 1999, and in Further
                            View of Gahart and/or Russell 2008 and the General
                            Knowledge in the Art

                                 1. Claim 1 of the ’209 Patent

             363. Independent claim 1 of the ’209 patent claims a method of increasing
                                  107417
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 296 of 820 PageID #:
     blood pressure in a hypotensive human in need thereof comprising administering to


     48
       A POSA would not have understood Bi 2000 to teach that pH 3.35 is the optimal
     pH for vasopressin generally with respect to maximizing stability. A POSA would
     have understood that the type of buffer can also affect stability. See Avanti 2012 at
     24. Accordingly, a POSA would still have performed pH stability studies for the
     buffer system that is ultimately chosen.
                                                      181
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 297 of 820 PageID #:
                                  107418



 the human a unit dosage form comprising from about 0.01 mg/ml to about 0.07

 mg/mL of vasopressin or pharmaceutically-acceptable salt thereof, wherein the unit

 dosage form comprises impurities that are present in an amount of 0.9% to 1.7% and

 have from about 85% to about 100% sequence homology to SEQ ID NO.: 1, and

 wherein the unit dosage form has a pH of 3.7-3.9. Claim 1 further requires that the

 administration provides the human from about 0.01 units per minute to about 0.1

 units per minute of vasopressin or the pharmaceutically-acceptable salt thereof.

                               a. The clinical administration aspects of Claim 1
                                  of the ’209 Patent were known in the art

       364. The clinical administration aspects of this claim were known in the art

 well before the Feb 17, 2017 priority date of the ’209 patent. Vasopressin was

 known to increase the blood pressure in a hypotensive human and that administration

 of vasopressin to such hypotensive humans at between about 0.01 units per minute

 to about 0.1 units per minute of vasopressin was known. Russell 2008 and Gahart

 each disclose every one of the clinical limitations of claim 1.

       365. From a clinical POSA’s perspective, all of the limitations concerning

 the claimed methods of administering vasopressin injections were known in the prior

 art before 2015.




                                                                           The NDA

                                          182
     submissions also indicate that the instructions for use included in the package insert

     for Original Vasostrict® were based on the literature. This included a discussion of

     Russell 2008, in addition to many other references discussing uses of vasopressin to

     treat vasodilatory shock. The FDA ultimately agreed that this prior art was an

     acceptable method of establishing safety and efficacy, and did not require clinical

     trials to prove either parameter.

             366. As discussed above, the literature, and Par’s justifications for relying

     on it to support its Vasostrict® filing, are consistent with a clinical POSA’s medical

     practice of administering vasopressin injections to patients in vasodilatory shock

     dating back to the 1990s. Clinicians used unapproved vasopressin injection products

     “off-label” in the manner claimed in the Method Patents since the 1990s. Indeed,

     Vasostrict® is currently being used in exactly the same way as earlier vasopressin

     products to increase blood pressure in patients with hypotension.

             367. Finally, during the prosecution of the Method Patents, Par did not

     dispute that the claim limitations related to the administration of the vasopressin

      injection were disclosed in     the literature. Instead, Par focused
                                  107419                                           on arguing that its
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 298 of 820 PageID #:

     claims were allegedly not obvious based on the “criticality” of the pH of the

     injections. See id.

             368. The Asserted Method Claims include the following clinical elements:

                 “A method of increasing blood pressure in a human in need thereof, the

                                                    183
                    method comprising”

                 “wherein the administration provides to the human from about 0.01

                    units of vasopressin or the pharmaceutically-acceptable salt thereof per

                    minute to about 0.1 units of vasopressin or the pharmaceutically-

                    acceptable salt thereof per minute;” and

                 “wherein the human is hypotensive”

            369. As explained further below, these elements were explicitly disclosed

     and/or rendered obvious by the prior art. Indeed, these claim elements reflect uses

     of vasopressin that were well known and commonly practiced by healthcare

     professionals since at least the early 1990s and continued to be practiced up to at

     least January 30, 2015

                                              i. “A method of increasing blood pressure
                                                 in a human in need thereof, the method
                                                 comprising”

            370. It has been known for decades that vasopressin has the physiological

     effects on the body of increasing fluid retention and constricting blood vessels, both

      of which were known to 107420increase blood pressure. Before 2015,           it was also known
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     that vasopressin could be administered to humans with low blood pressure for the

     purpose of increasing their blood pressure. Indeed, the administration of vasopressin

     to increase blood pressure in hypotensive patients has been a typical practice of

     healthcare professionals since at least the early 1990s.


                                                   184
            371. Such practices are also described in the medical literature published

     before 2015. For example, Russell 2008 and Gahart each disclose the administration

     of vasopressin to humans in hypotensive states, such as vasodilatory shock. See

     (DTX-10230)        AMPHPA0006646          at     647   (Russell   2008);      (DTX-0206)

     AMPHPA0006081 at 099 (Gahart). Additionally, the Vasostrict® April 2014 Label

     and Vasostrict® September 2014 Label explicitly teach the administration of

     Original Vasostrict® for the claimed use. See (DTX-1042) PAR-VASO_0254534

     at 536 (disclosing that Original Vasostrict® is “indicated to increase blood pressure

     in adults with vasodilatory shock (e.g., post-cardiotomy or sepsis) who remain

     hypotensive despite fluids and catecholamines.”), (DTX-1044) AMPHPA0006829

     at 831 (same).

            372. This element was therefore explicitly disclosed and/or rendered

     obvious by the prior art. Indeed, this claim element reflect uses of vasopressin that

     were well known and commonly practiced by healthcare professionals since at least

     the early 1990s.

                                  107421       ii. “the administration provides
                                                                            to the
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 300 of 820 PageID #:
                                              human from about 0.01 units of
                                              vasopressin or the pharmaceutically-
                                              acceptable salt thereof per minute to
                                              about 0.1 units of vasopressin or the
                                              pharmaceutically-acceptable salt thereof
                                              per minute”

            373. Before 2015, the prior art disclosed the intravenous administration of


                                                185
     vasopressin at rates encompassed by or overlapping with the claimed range of about

     0.01 to about 0.1 units per minute.

             374. Russell 2008 discloses a study in which vasopressin was administered

     intravenously at an infusion rate of 0.01 to 0.03 units per minute. See (DTX-0232)

     AMPHPA0006646 at 648.

             375. Gahart discloses that, for the treatment of vasodilatory shock, AHA

     guidelines recommend administering vasopressin in “a continuous infusion of 0.02

     to 0.04 units/min.”         See (DTX-0206) AMPHPA0006081 at 098. Gahart also

     discloses that “[o]ther sources in the literature recommended low-dose vasopressin

     infusions in vasodilatory shock refractory to catecholamines” at “0.04 units/min as

     an infusion (range was 0.01 to 0.1 units/min).” Id.

             376. The Vasostrict® April 2014 Label and Vasostrict® September 2014

     Label teach intravenous administration of vasopressin to treat vasodilatory shock.

     See (DTX-1042) PAR-VASO_0254534 at 534 (disclosing that Original Vasostrict®

     is    “for intravenous use” and “for intravenous administration.”); (DTX-1044)

      AMPHPA0006829 at 831-32     107422(same).
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 301 of 820 PageID #:

             377. Furthermore, it was conventional practice before 2015 to administer

     vasopressin at an infusion rate between 0.03 to 0.04 units per minute to increase

     blood pressure in patients experiencing vasodilatory shock. It was also known

     before 2015 to administer vasopressin at an infusion rate up to 0.4 units per minute.


                                                      186
             378. This element was therefore explicitly disclosed and/or rendered

     obvious by the prior art. Indeed, this claim element reflect uses of vasopressin that

     were well known and commonly practiced by healthcare professionals since at least

     the early 1990’s

                                               iii. “The human is hypotensive”

             379. Before 2015, the prior art disclosed the administration of vasopressin

     to increase blood pressure in humans experiencing various hypotensive states. For

     example, Russell 2008 and Gahart both disclose the administration of vasopressin

     to treat hypotension, including hypotension associated with vasodilatory shock.

     See (DTX-0232) AMPHPA0006646 at 647 (Russell 2008); (DTX-0206)

     AMPHPA0006081 at 099 (Gahart). Additionally, the Vasostrict® April 2014

     Label and the Vasostrict® September 2014 Label disclose that Original

     Vasostrict® is “indicated to increase blood pressure in adults with vasodilatory

     shock (e.g., post-cardiotomy or sepsis) who remain hypotensive despite fluids and

     catecholamines.” See (DTX-1042) PAR-VASO_0254534 at 536; (DTX-1044)

      AMPHPA0006829 at 831.107423
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 302 of 820 PageID #:

             380. Furthermore, as discussed above, the administration of vasopressin to

     increase blood pressure of hypotensive patients has been known and commonly

     practiced by healthcare professionals since at least the early 1990s and continued

     to be practice up to at least January 30, 2015. This element was therefore


                                                      187
     explicitly disclosed and/or rendered obvious by the prior art.

                                       b. The formulation aspects of Claim 1 of the ’209
                                          Patent were known in the art

             381. Original Vasostrict® was indicated to increase blood pressure in adults

     with vasodilatory shock (e.g., post-cardiotomy or sepsis) who remain hypotensive

     despite fluids and catecholamines. (DTX-1042) Vasostrict® April 2014 Label at

     INDICATIONS AND USAGE. The prescribing information for Original

     Vasostrict® instructed that for post-cardiotomy shock, the starting dose should be

     0.03 units per minute and for septic shock the starting dose should be 0.01 units per

     minute. Furthermore, the maximum dose is 0.1 units per minute for post-cardiotomy

     shock and 0.07 units per minute for septic shock. (DTX-1042) Vasostrict® April

     2014 Label at INDICATIONS AND USAGE. Therefore, the administration of

     Original Vasostrict® as instructed by the prescribing information provided the

     human from about 0.01 units per minute to about 0.1 units per minute of vasopressin.

     Accordingly, Original Vasostrict® discloses the limitations in claim 1 of the ’209

     patent relating to the method of administration of the claimed formulation.
                                  107424
              382. With Document
Case 1:18-cv-02032-CFC-CJB respect 305
                                   to the
                                       Filedformulation
                                             08/30/21 Pageaspects
                                                          303 of 820of claim
                                                                    PageID #:   1, as set forth above,

     LT ’487 discloses a vasopressin formulations containing 0.01 mg/mL vasopressin,

     5.0 mg/mL chlorobutanol, 2.2 mg/mL sodium acetate, 6.8 g/mL sodium chloride,

     glacial acetic acid, and injection water up to 1000 total mL solution. (DTX-1176)

     LT ’487 at 5. LT ’487 teaches that the pH of the solution must be in the range of

                                                    188
     3.80-3.95. Id. Therefore, the formulation of LT ’487 contains from about 0.01

     mg/mL to about 0.07 mg/mL of vasopressin or a pharmaceutically-acceptable salt

     thereof and had a pH of 3.7-3.9.

             383. With respect to the vasopressin drug substance, as discussed above, LT

     ’487 teaches a formulation containing arginine vasopressin having the same

     sequence as SEQ ID NO. 1 described in the ’209 patent. ’209 patent at cols. 107-

     08.

             384. Accordingly, the formulation disclosed in LT ’487 differs from the

     formulation of claim 1 of the ’209 patent in only one aspect: LT ’487 does not

     specify that the vasopressin used is synthetic. Additionally, LT ’487 does not

     expressly disclose that the unit dosage comprise impurities that are present in an

     amount of 0.9% -1.7%, wherein the impurities have from about 85% to 100%

     sequence homology to SEQ ID NO. 1.49

             385. Given that the marketed vasopressin products—Pitressin®, Original

     Vasostrict®, Luitpold Vasopressin, and FK Vasopressin—all use synthetic

      vasopressin, it would have107425
                                     been obvious for a POSA to use a              synthetic vasopressin
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 304 of 820 PageID #:

     as the drug substance in LT ’487. A formulator would have known that a synthetic

     version of a peptide could be used in place of a naturally-derived one in a


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       For the reasons discussed above, the formulation limitations are the only claim
     element that affect the amount of vasopressin impurities present in the unit dosage,
     and this limitation is an inherent property of the claimed vasopressin formulation.
                                                      189
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 synthetic 8-L-arginine vasopressin, 9 mg/mL sodium chloride, 0.5% chlorobutanol,

 water for injection and acetic acid for                       . (DTX-1041)Luitpold

 Vasopressin Label at DESCRIPTION; (DTX-1366) VAS0000011 at 013.

       388. As discussed above, Original Vasostrict® contained 20 units/mL

 synthetic arginine vasopressin, 0.5% chlorobutanol, NF as a preservative, water for

 injection, and acetic acid for adjusting the pH to 3.4 to 3.6. However, the pH release

 specification for Original Vasostrict® was between 3.3 and 4.0, See (DTX-026)

 PAR-VASO_0072472 at 497, and batches of Original Vasostrict were manufactured

 that had pH between 3.7 to 3.9 (e.g., 310571). (DTX-1293) PAR-VASO_0028307

 at 328.

       389. As discussed above, Pitressin®, Original Vasostrict®, and Luitpold

 Vasopressin each contained 20 units/mL synthetic arginine vasopressin having the

 same sequence as that described in SEQ ID NO. 1 of the ’209 patent. (DTX-1041)

 Luitpold Vasopressin Label at DESCRIPTION; (DTX-1141) Pitressin® Label 2012

 at DESCRIPTION; (DTX-1042) Vasostrict® April 2014 Label at DESCRIPTION;

 ’209 patent at cols. 107-08.      Additionally, as discussed above, 20 units/mL

 vasopressin is the same as 0.038 mg/mL synthetic vasopressin.              Therefore,

 Pitressin®, Original Vasostrict®, and Luitpold Vasopressin each contains from

 about 0.01 mg/mL to about 0.07 mg/mL of vasopressin or a pharmaceutically-

 acceptable salt thereof and water.


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                      (DTX-1365) VAS0000009; (DTX-1366) VAS0000011 at 013.

       390. Accordingly, certain batches of Pitressin® and Original Vasostrict®

 differed from the claimed pharmaceutical composition of claim 1 of the ’209 patent

 in only one respect: the pH of Pitressin® and Original Vasostrict® were not actually

 adjusted to between 3.7 and 3.9.



       391. With respect to the pH, to the extent the pH ranges and values taught

 by Pitressin®, Original Vasostrict®, and Luitpold Vasopressin do not render the

 claimed pH of 3.7-3.9 presumptively obvious, a POSA would have been motivated

 to optimize the pH of the these formulations to improve the stability of vasopressin

 and would have reasonably expected that optimizing the pH could improve the

 stability for the reasons discussed above. To the extent pH 3.7 to 3.9 is critical to

 the stability of vasopressin, a POSA would have arrived at that pH through routine

 optimization of the Pitressin® and/or Original Vasostrict® formulations.

       392. Additionally, the impurity levels in the optimized formulations would

 be an inherent property of the optimized formulation.        First, the formulation

 components and pH of claim 1 are the only recited means of controlling the

 impurities contained in the claimed vasopressin composition of claim 1.

       393. Furthermore, the formulation of LT ’487 with synthetic vasopressin and

 formulations of vasopressin optimized to pH 3.7 to 3.9 from the formulations of


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 Pitressin®, Original Vasostrict®, and Luitpold Vasopressin would result in a

 formulation that would necessarily exhibit impurities that are present in an amount

 of 0.9% to 1.7% wherein the impurities have from about 85% to about 100%

 sequence homology to SEQ ID NO. 1. Claim 1 does not specify a time point or

 storage condition for meeting amount of impurity claimed, and an optimized

 vasopressin formulation would likely have met the impurity amount limitation at

 some point in time during storage.

                                                           PAR-VASO_0073585 at

 622, 625, 628.

       394. Additionally, as discussed in detail above, lots of Original Vasostrict®

 actually contained the claimed amount of impurities. The formulation of Original

 Vasostrict® is identical or nearly identical to that of LT ’487, Pitressin®, and

 Luitpold Vasopressin. This provides further support that the formulation of LT ’487

 with synthetic vasopressin and formulations of vasopressin optimized to pH 3.7 to

 3.9 from the formulations of Pitressin®, Original Vasostrict®, and Luitpold

 Vasopressin would inherently exhibit the claimed impurity levels.

       395. Accordingly, it would have been obvious for a POSA to combine the

 teaching of LT ’487, Pitressin®, Original Vasostrict®, and/or Luitpold Vasopressin

 with the general knowledge in the art to modify and optimize the stability of the

 formulation disclosed in LT ’487 and/or the formulations of Pitressin®, Original


                                        193
     Vasostrict®, and/or Luitpold Vasopressin.                In doing so, a POSA would have

     modified the prior art LT ’487, Pitressin®, Original Vasostrict®, and/or Luitpold

     Vasopressin formulation in the ways described above. The resulting vasopressin

     formulation would have inherently met the impurity limitations claimed in claim 1.

     If not inherent, the Asserted Claims would not be enabled, lack adequate written

     description, and/or are indefinite. It also would have been obvious to administer

     such optimized formulation to a hypotensive human at a rate of about from about

     0.01 units per minute to about 0.1 units per minute of vasopressin (or the

     pharmaceutically-acceptable salt thereof) in order to increase the human’s blood

     pressure.      (DTX-0232) Russell 2008 at 879; (DTX-0206) Gahart at 1167.

     Therefore, claim 1 of the ’209 patent is obvious over LT ’487, Pitressin®, Original

     Vasostrict®, and/or Luitpold Vasopressin in view of Bi 1999, Gahart and/or Russell

     2008 and in further view of the general knowledge in the art.

                                        c. There is No Evidence to Rebut the Prima Facie
                                           Case That the Claimed pH Range Is Obvious

                                                 i. Claimed pH Range is Not Critical to
                                  107430            Stability
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             396. Par argues that the claimed pH range (i.e. pH 3.7-3.9) is critical to the

     stability of vasopressin. During the prosecutions of the Patents-in-Suit, Plaintiffs

     asserted that the claimed pH ranges were “critical” to their invention. See, for

     example, (DTX-1364) PAR-VASO-0000422 at 2290, 2580-90 (’478 Patent File


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 History); (JTX-0007) PAR-VASO-0002629 at 4869, 4881 (’526 Patent File

 History); (JTX-0008) PAR-VASO-0005400 at 5816-17 (’209 Patent File History).

       397. Par submitted two declarations from named inventor Sunil Vandse

 purporting to demonstrate the stability of vasopressin formulations across a range of

 pH from 2.5 to 4.5. Declaration of Inventor Sunil Vandse, August 11, 2015, PAR-

 VASO-0001039-46 (“Vandse Declaration I”) (DTX-1339) ; Declaration of Inventor

 Sunil Vandse, January 22, 2016, PAR-VASO-0002304-17 (“Vandse Declaration

 II”) (DTX-1340) . Par also submitted a declaration from named inventor Vinayagam

 Kannan, relying on the data set forth in the two Vandse declarations and purporting

 to establish that pH 3.8 was critical to the claimed formulation. (DTX-1292) PAR-

 VASO_0004878-88; (DTX-1074) PAR-VASO-0002580-590. These declarations

 reported vasopressin assay values and total impurity levels for each test formulation

 at an initial time point and after storage for four weeks at either 25°C or 40°C.

       398. In the test data provided to the Patent Office, both vasopressin assays

 and the percent total impurities for a given test formulation were captured at

 specified time points.




                                          195
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       399. These data can be combined and are depicted in the following Figures50:




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       400. Using standard statistical method of linear regression analysis, the

 statistical significance of the apparent differences between pH 3.6 and pH 3.8 can be

 analyzed. This analysis shows there is no statistically reliable evidence of a true

 stability difference between these values. See, e.g., Tables below.




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     that the claimed pH range is not critical to stability. The Original Vasostrict®

     formulation, which was formulated with a target pH of 3.4 to 3.6, was FDA approved

     for storage up to 24 months under refrigerated conditions. The product could also

     be stored for up to 12 months at room temperature following storage at refrigerated

     conditions (with the combined refrigerated and room temperature storage time not

     exceeding 24 months total).         (DTX-1043) PAR-VASO_0014782 at 782, 786.

     Specifically, the March 2015 Original Vasostrict® Label states:

            Vials may be held up to 12 months upon removal from refrigeration to
            room temperature storage conditions (20°C to 25°C [68°F to 77°F], USP
            Controlled Room Temperature, anytime within the labeled shelf life [i.e.
            24 months]. Once removed from refrigeration, unopened vial should be
            marked to indicate the revised 12 month expiration date. If the
            manufacturer’s original expiration date is shorter than the revised
            expiration date, then the shorter date must be used. Do not use
            Vasostrict® beyond the manufacturer’s expiration date stamped on the
            vial.

     Id. As the approval letter for the March 2015 label states, the Original Vasostrict®

     product can be stored at refrigerated conditions for up to 24 months.

            404. Reformulated Vasostrict®, which is formulated with a target pH of 3.8,

      has the exact same shelf107436  life specifications. It must be stored       at refrigerated
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     conditions (for up to 24 months) and may be stored for up to 12 months at room

     temperature after removing from refrigerated conditions. (DTX-1165) Vasostrict®

     April 2020 Label at HOW SUPPLIED/STORAGE AND HANDLING.

     Specifically, the Vasostrict® April 2020 Label also states:


                                                 200
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       Vials may be held up to 12 months upon removal from refrigeration to
       room temperature storage conditions (20°C to 25°C [68°F to 77°F],
       USP Controlled Room Temperature), anytime within the labeled shelf
       life. Once removed from refrigeration, unopened vial should be marked
       to indicate the revised 12 month expiration date. If the manufacturer’s
       original expiration date is shorter than the revised expiration date, then
       the shorter date must be used. Do not use Vasostrict® beyond the
       manufacturer’s expiration date stamped on the vial.

 Id . To the extent Plaintiffs attempt to rely on some internal evidence of a possible

 incremental improvement in shelf life for Vasostrict, the FDA approved shelf-life

 for the product remains the same as what was known in the prior art. Without a

 rigorous regulatory review of Par internal stability data, there is no reliable evidence

 that data would support a longer shelf life, which requires FDA approval. Even if

 there were some theoretical improvement in shelf life of several months, however,

 that is not something that would be unexpected to a POSA seeking to improve

 vasopressin formulations.      A POSA would expect slight modifications to

 formulation characteristics could lead to incremental differences in shelf-life

 behavior. This shelf-life difference is one of degree, and not a difference in kind.

       405. Reformulated Vasostrict® product did not show any practical

 difference with respect to storage conditions and shelf life compared to Original

 Vasostrict®. Therefore, for this additional reason, pH 3.8 is not critical to the

 stability of vasopressin compared to the stability of the prior art products, formulated

 at pH 3.4-3.6.

       406.
                                           201
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 necessarily meet the impurity and degradation limitations of the claims, this

 argument is also inconsistent with any argument that pH 3.8 is critical to the stability

 of vasopressin formulations. If the claimed pH range does not necessarily confer the

 stability benefits that purportedly result from the claims, then these pH values cannot

 be critical. Instead, other aspects of these formulations and their manufacture must

 enable a formulation to satisfy those impurity and degradation limitations

       408.




                                     ii. Prior Art Did Not Teach Away from the
                                         Claimed pH Range

       409. First, there are no prior art references that specifically tested a

 formulation of vasopressin, with the claimed formulation components (i.e. 0.01 to

 0.07 mg/mL vasopressin, acetic acid/acetate buffer, water) and claimed pH values,

 and showed that such a formulation was inferior to one in the prior art. For example,

 although Bi 2000 arrived at a slightly different optimal pH for vasopressin, the

 formulations tested in that reference contained a different buffer and a much higher

                                           204
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 buffer concentration (100 mM phosphate buffer) than the prior art formulations of

                                                           and LT ’487. Therefore,

 the formulation of Bi 2000 and the prior art vasopressin formulations containing

 acetic acid and/or sodium acetate are not directly comparable.

       410. Moreover, there is nothing in the Bi 2000 paper that discredits or

 criticizes vasopressin formulations with pH values incrementally higher than the

 optimal 3.35 value identified. Indeed, the formulations with pHs slightly higher than

 the 3.35 value that were analyzed in Bi generally performed well on the stability

 metrics identified. See (DTX-1002) Bi 2000 at 89-90. Particularly in view of prior

 art products that had been successfully marketed for decades with a target pH above

 3.35, a POSA would not have been discouraged from performing pH optimization

 experimentation at incrementally higher pHs based on the teaching of Bi 2000.

       411. Rather than reduce the pH from that of the prior art vasopressin

 formulations, a POSA would have in fact favored increasing the pH. A POSA would

 have recognized that the pH of the prior art formulations were already low for

 peptide parenteral formulations. For example, of the approximately 20 example

 peptide products Avanti 2012 provides in Table 1, only one product was formulated

 at a lower pH than that of the prior art vasopressin formulations. Id. at 16.

 Furthermore, a POSA would have considered that at lower pH, the rate of acid-

 catalyzed hydrolysis increases. See (DTX-0263) Avanti 2012 at 18.


                                         205
             412. Adamsons does not teach away from the claimed pH range. Adamsons

     tested vasopressin solutions that were adjusted to pH 3, 5, 6.5, 7.5, and 8.5; therefore,

     Adamsons did not test a pH value near, or even within the Asserted Claims.

     Additionally, only one of the pH values tested—pH 3—is within the broadest pH

     range taught by the prior art vasopressin products (i.e. pH 2.5-4.5 as disclosed by the

     Luitpold Vasopressin Label). Adamsons concluded that of the pH values tested,

     vasopressin was the most stable at pH 3 and 5, which is not inconsistent with the

     Patents-in-Suit’s claims that vasopressin formulations with pH 3.7-3.9 is the most

     stable. Furthermore, Adamsons used a different buffer system at each of these pHs,

     which makes direct comparison between the formulations tested at different pH

     values less reliable. For the reasons above, neither Bi 2000 nor Adamsons teach

     away from the claimed values because they do not criticize, disparage, or otherwise

     discuss the claimed pH values.

             413. A POSA would not have understood that the pH of the prior art

     vasopressin products is already optimized. A POSA would have been motivated to

      improve the stability of 107442
                                    existing vasopressin formulations              based on the storage
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     conditions and shelf-life of the existing vasopressin products. As discussed above,

     a POSA would have known that there were slight pH differences between the

     vasopressin formulations taught in the prior art. In view of these pH differences, a

     POSA would have understood that the pH of the formulations taught in the prior art


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     could be further optimized to a specific pH value or narrower pH range.

     Accordingly, as discussed above, a POSA would have been motivated to perform

     routine pH optimization experiments to arrive at that pH value or range. In doing

     so, the POSA would have performed his pH optimization experiments focusing on

     the pH window for vasopressin taught by the prior art.

                               2. Claims 2-8 of the ’209 Patent

            414. Claim 2 of the ’209 Patent depends from claim 1 and adds the

     limitations that the impurities comprise SEQ ID NO. 2, and SEQ ID NO. 2 is present

     in the unit dosage form in an amount of 0.1% to 0.3%.

            415. Claim 3 of the ’209 Patent depends from claim 1 and adds the

     limitations that the impurities comprise SEQ ID NO. 3, and SEQ ID NO. 3 is present

     in the unit dosage form in an amount of 0.1%.

            416. Claim 4 of the ’209 Patent depends from claim 1 and adds the

     limitations that the impurities comprise SEQ ID NO. 4, and SEQ ID NO. 4 is present

     in the unit dosage form in an amount of 0.2% to 0.4%.

              417. Claim 5 of 107443the ’209 Patent depends from claim             1 and adds the
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     limitations that the impurities comprise SEQ ID NO. 7, and SEQ ID NO. 7 is present

     in the unit dosage form in an amount of 0.3% to 0.6%.

            418. Claim 6 of the ’209 Patent depends from claim 1 and adds the

     limitations that the impurities comprise SEQ ID NO. 10, and SEQ ID NO. 10 is


                                                   207
     present in the unit dosage form in an amount of 0.1%.

             419. Claim 7 of the ’209 Patent depends from claim 1 and adds the

     limitations that the impurities comprise SEQ ID NO. 2 and SEQ ID NO. 4, and SEQ

     ID NO. 2 is present in the unit dosage form in an amount of 0.1% to 0.3% and SEQ

     ID NO. 4 is present in an amount of 0.2% to 0.4%.

             420. Claim 8 of the ’209 Patent depends from claim 1, and adds the

     limitations that the impurities comprise SEQ ID NO. 3, SEQ ID NO. 7, and SEQ ID

     NO. 10, and SEQ ID NO. 3 is present in the unit dosage form in an amount of 0.1%;

     SEQ ID NO. 7 is present in an amount of 0.3 to 0.6%, and SEQ ID NO. 10 is present

     in an amount of 0.1%.

             421. A POSA would have known from Bi 1999 and the general knowledge

     in the art that, based on its peptide structure, vasopressin could degrade via a few

     different pathways. A POSA would have known that hydrolysis of the HN-CO bond

     could occur. Bi 1999 at 557. Additionally, a POSA would have known that

     deamidation of the Gln and Asn residues could also be a potential degradation

      pathway for vasopressin.107444  Id. A POSA would have known                  that if vasopressin
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     actually degraded through one of these pathways, then the corresponding

     degradation product would form. Id.

             422. The ’209 patent specification identifies SEQ ID NO.:2 as “Gly9-

     vasopressin” with the sequence of CYFQNCPRG. ’209 patent at Tables 1 and 3,


                                                    208
     Sequence Listing . SEQ ID NO.:2 is nearly identical to vasopressin (i.e., SEQ ID

     NO.:1), and the difference is that it has a carboxylic acid group at the C-terminus,

     rather than the amide group in vasopressin. See id. A skilled artisan would have

     known that degradation of vasopressin via hydrolysis would result in a degradation

     product having SEQ ID NO.:2. See, e.g., (DTX-0248) Bi 1999 at 557 (identifying

     potential degradation pathways for vasopressin, including hydrolysis of the NH-CO

     bond); see also, e.g., (DTX-0263) Avanti 2012 at 18-19 (discussing hydrolysis of

     peptides in aqueous solutions).

            423. The ’209 patent specification identifies SEQ ID NO.:3 as “Asp5-

     vasopressin” with the sequence of CYFQDCPRG-NH2. ’209 patent at Tables 1 and

     3, Sequence Listing. SEQ ID NO.:3 is nearly identical to vasopressin (i.e., SEQ ID

     NO.:1), and the difference is that that the 5-position is occupied by an aspartic acid

     (Asp (D)) residue rather than the asparagine (Asn (N)) residue in vasopressin. See

     id. A POSA would have known that deamidation of the asparagine (Asn) residue in

     vasopressin would result in a degradation product having SEQ ID NO.:3. See, e.g.,

      (DTX-0248) Bi 1999 at107445     557 (identifying potential degradation       pathways for
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     vasopressin, including deamidation of asparagine); see also, e.g., (DTX-0263)

     Avanti 2012 at 19 (“Peptides containing asparagine (Asn) and glutamine (Gln)

     residues are known to undergo spontaneous deamidation to form aspartic acid (Asp)

     and glutamic acid (Glu) residues under physiological conditions.”).


                                                 209
             424. The ’209 patent specification identifies SEQ ID NO.:4 as “Glu4-

     vasopressin” with the sequence of CYFENCPRG-NH 2. ’209 patent at Tables 1 and

     3, Sequence Listing. SEQ ID NO.:4 is nearly identical to vasopressin (i.e., SEQ ID

     NO.:1), and the difference is that the 4-position is occupied by a glutamic acid (Glu

     (E)) residue rather than the glutamine (Gln (Q)) residue in vasopressin. See id. A

     POSA would have known that deamidation of the glutamine (Gln) residue in

     vasopressin would result in a degradation product having SEQ ID NO.:4. See, e.g.,

     Bi 1999 at 557 (identifying potential degradation pathways for vasopressin,

     including deamidation of glutamine (Gln)); see also, e.g., Avanti 2012 at 19

     (“Peptides containing asparagine (Asn) and glutamine (Gln) residues are known to

     undergo spontaneous deamidation to form aspartic acid (Asp) and glutamic acid

     (Glu) residues under physiological conditions.”).

             425. The ’209 patent specification identifies SEQ ID NO.:7 as “Acetyl-

     vasopressin (Acetyl-AVP)” with the sequence of Ac-CYFQNCPRG-NH2. ’209

     patent at Tables 1 and 3, Sequence Listing. SEQ ID NO.:7 is nearly identical to

      vasopressin (i.e., SEQ ID107446
                                    NO.:1), and the difference is that the         amide group at the
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     N-terminus is acetylated in SEQ ID NO.:7. See id. A POSA would have understood

     that SEQ ID NO.:7 describes a molecular variant of vasopressin arising from either

     manufacturing processes (i.e., from side reactions during the chemical synthesis of

     the drug substance) or degradation of vasopressin in the unit dosage form during


                                                    210
     storage. See, e.g., (DTX-0263) Avanti 2012 at 61 (concluding that acetylated

     oxytocin derivative identified in HPLC is “an impurity of oxytocin formed during

     synthesis” rather than “a degradation product formed under stress conditions.”).

             426. The ’209 patent specification identifies SEQ ID NO.:10 as “D-Asn-

     vasopressin (DAsn-AVP)” with the sequence of CYFQ(D-Asn)CPRG-NH 2. ’209

     patent at Tables 1 and 3, Sequence Listing. SEQ ID NO.:10 is nearly identical to

     vasopressin (i.e., SEQ ID NO.:1), and the difference is that it has a D-asparagine (D-

     Asn) residue at the 5-position, rather than the L-asparagine (L-Asn) residue in

     vasopressin. See id. A POSA would have understood that SEQ ID NO.:10 describes

     a molecular variant of vasopressin arising from either manufacturing processes (i.e.,

     from the incomplete separation of the D- and L-Asn isomers during protein

     synthesis) and/or degradation of vasopressin in the unit dosage form during storage.

             427. As discussed above, a POSA would have been motivated to optimize

     the vasopressin formulation to improve the stability and reduce the degradation of

     vasopressin. However, to the extent a POSA is not able to reduce a particular

      degradation product to below107447reporting level, a POSA would              have been motivated
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     to detect, identify, and quantify degradation products that are present. (DTX-1010)

     FDA Q3B Impurities Guidance at Attachment 1. A POSA would have reasonably

     expected that optimizing the formulation could reduce the degradation of

     vasopressin, and that any degradants present in a sufficient amount could be


                                                     211
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                                  107448



 detected, identified and quantified using existing analytical techniques. A POSA

 would have been able to do using standard analytical techniques such as HPLC.

 (DTX-0248) Bi 1999 at 551-560. The impurity levels for impurities having SEQ ID

 NO. 2, 3, 4, 7, and 10 in the optimized formulations would be an inherent property

 of the optimized formulation. First, the formulation components and pH of these

 claims are the only recited means of controlling the specific impurities contained in

 the vasopressin composition claimed therein.

       428. Furthermore, the formulation of LT ’487 with synthetic vasopressin and

 formulations of vasopressin optimized to pH 3.7 to 3.9 from the formulations of

 Pitressin®, Original Vasostrict®, and Luitpold Vasopressin would result in a

 formulation that would necessarily exhibit impurities that are present in an amounts

 claimed in claims 2-8. These claims do not specify a time point or storage condition

 for meeting the amount of impurity claimed, and an optimized vasopressin

 formulation would likely have met each of the impurity limitations at some point in

 time during storage. For example,

                                                                           (DTX-1304)

 PAR-VASO_0073585 at 611, 617, 620, 622, 625, 628.

       429.

                                                           The formulation of Original

 Vasostrict is identical or nearly identical to that of LT ’487, Pitressin®, and Luitpold


                                           212
     Vasopressin. This provides further support that the formulation of LT ’487 with

     synthetic vasopressin and formulations of vasopressin optimized to pH 3.7 to 3.9

     from the formulations of Pitressin®, Original Vasostrict®, and Luitpold Vasopressin

     would each inherently exhibit the claimed impurity levels.

             430. Accordingly, it would have been obvious for a POSA to combine the

     teaching of LT ’487, Pitressin®, Original Vasostrict®, and/or Luitpold Vasopressin

     with Bi 1999 and the general knowledge in the art to modify and optimize the

     stability of the formulation disclosed in LT ’487 and/or the formulations of

     Pitressin®, Original Vasostrict®, and/or Luitpold Vasopressin. In doing so, a POSA

     would have modified the prior art LT ’487, Pitressin®, Original Vasostrict®, and/or

     Luitpold Vasopressin formulation in the ways described above. The resulting

     vasopressin formulation would have inherently met each of the impurity limitations

     claimed in claims 2-8. If not inherent, the Asserted Claims are not enabled, lack

     adequate written description, and/or are indefinite. It also would have obvious to

     administer such optimized formulation to a hypotensive human at a rate of about

      from about 0.01 units per 107449
                                   minute to about 0.1 units per minute            of vasopressin (or the
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     pharmaceutically-acceptable salt thereof) in order to increase the human’s blood

     pressure. (DTX-0232) Russell 2008 at 879; (DTX-0206) Gahart at 1167. Therefore,

     claims 2-8 of the ’209 patent are obvious over LT ’487, Pitressin®, Original

     Vasostrict®, and/or Luitpold Vasopressin in view of Bi 1999 and in further view of


                                                      213
     Gahart and/or Russell 2008 and the general knowledge in the art.

                       v. Claims 1, 5, and 8 of the ’785 Patent Are Obvious Over
                          Pitressin®, Original Vasostrict®, the American Regent
                          Vasopressin Product, and/or LT ’487 in View of Bi 1999,
                          and in Further View of the General Knowledge in the Art

            431. Independent claim 1 of the ’785 patent claims a pharmaceutical

     composition, in a unit dosage form, from about 0.01 mg/ml to about 0.07 mg/mL of

     vasopressin or pharmaceutically-acceptable salt thereof, wherein the unit dosage

     form comprises impurities that are present in an amount of 0.9% to 1.7% wherein

     the impurities have from about 85% to about 100% sequence homology to SEQ ID

     NO.: 1, and wherein the unit dosage form has a pH of 3.7-3.9.

            432. Claim 5 of the ’785 patent depends from claim 1 of the ’785 patent, and

     adds the limitation that the impurities comprise SEQ ID NO. 4, and SEQ ID NO. 4

     is present in the unit dosage form in an amount of 0.2% to 0.4%.

            433. Claim 8 of the ’785 patent depends from claim 1 of the ’785 patent, and

     adds the limitations that the impurities comprise SEQ ID NO. 2 and SEQ ID NO. 4,

     and SEQ ID NO. 2 is present in the unit dosage form in an amount of 0.1% to 0.3%
                                 107450
      and SEQ ID NO. 4Document
Case 1:18-cv-02032-CFC-CJB is present
                                  305 in  an08/30/21
                                       Filed amountPage
                                                     of 329
                                                        0.2%    to PageID
                                                            of 820 0.4%.#:

            434. For the same reasons as discussed above with respect to the ’209 patent,

     it would have been obvious for a POSA to combine the teaching of LT ’487,

     Pitressin®, Original Vasostrict®, and/or Luitpold Vasopressin with Bi 1999 and the

     general knowledge in the art to modify and optimize the stability of the formulation

                                                  214
     disclosed in LT ’487 and/or the formulations of Pitressin®, Original Vasostrict®,

     and/or Luitpold Vasopressin. In doing so, a POSA would have modified the prior

     art LT ’487, Pitressin®, Original Vasostrict®, and/or Luitpold Vasopressin

     formulation in the ways described above. The resulting vasopressin formulation

     would have inherently met each of the impurity limitations claimed in claims 1, 5

     and 8. If not inherent, the Asserted Claims are not enabled, lack adequate written

     description, and/or are indefinite. Therefore, claims 1, 5, and 8 of the ’785 patent

     are obvious over LT ’487, Pitressin®, Original Vasostrict®, and/or Luitpold

     Vasopressin in view of Bi 1999 and in further view of the general knowledge in the

     art.

      V.     CERTAIN ASSERTED CLAIMS ARE INVALID UNDER 35 U.S.C. §
             112

                 A. THE ASSERTED CLAIMS OF THE ’209 AND ’785 PATENTS
                    ARE INVALID FOR LACK OF WRITTEN DESCRIPTION
                    BECAUSE SPECIFICATION DOES NOT CONVEY
                    POSSESSION OF FULL SCOPE OF IMPURITY PROPERTIES

             435. The Asserted Claims of the ’209 and ’785 patent require that the

     impurities have from about 85% to about 100% sequence homology to SEQ ID
                                  107451
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 330 of 820 PageID #:
     NO.:1. Based on the specifications of the ’209 and ’785 patents, a POSA would not

     have understood that the named inventors possessed a method of determining

     whether an impurity has “from about 85% to about 100% sequence homology to

     SEQ ID NO.: 1” and therefore would not have possessed a formulations having 0.9%


                                                      215
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 331 of 820 PageID #:
                                  107452



 - 1.7% impurities that meet this limitation.

       436. A POSA would not have understood how to determine a percentage

 value of sequence homology for a small peptide, such as vasopressin, and the

 specifications of the ’209 and ’785 patents do not teach or disclose how to determine

 the sequence homology of the individual impurities. In fact,




       437. “Percent sequence homology” is not a meaningful term. In describing

 peptide sequence comparisons, several different terms are commonly used (and

 sometimes mis-used): identity, similarity and homology. Each of these terms have

 different meanings. Sequence identity refers to the occurrence of exactly the same

 nucleotide or amino acid in the same position within two aligned sequences.

 Pertsemlidis53 at 2. For example, two peptides having ten amino acids each, would

 have 90% sequence identity if they had exactly identical peptide sequences except

 for at one position. Sequence similarity is a slightly different metric that takes

 approximate matches into account; that is, sequence similarity takes into

 consideration whether the different amino acids at a given position nonetheless have

 similar properties (e.g., leucine and isoleucine). Id. In contrast, the term “sequence


 53
   (DTX-1251) Pertsemlidis, A., Fondon, J.W. Having a BLAST with
 bioinformatics (and avoiding BLASTphemy). Genome Biol 2, reviews2002.1,
 AMVAS0129888-897 (2001) (“Pertsemlidis”).
                                          216
     homology” refers to the common evolutionary ancestry of two peptide sequences

     Id. Therefore, it is not a percent value, but rather a kind of true or false statement—

     two peptide sequences are either homologous or they are not.

             438. Although “percent sequence homology” is sometimes used in the

     literature to describe to a comparison of two sequences, that usage is generally

     incorrect and really refers to sequence identity or sequence similarity. Id. As

     discussed above sequence identity and sequence similarity mean different things and

     are calculated differently. Therefore, even if a POSA were to understand the

     “percent sequence homology” term in the claims of the ’209 and ’785 patents to

     mean either sequence identity or sequence similarity the POSA would need to know

     from the specifications which measurement the “percent sequence homology” refers

     to. Nowhere in the specifications of the ’209 and ’785 patents is there any guidance

     on what “percent sequence homology” refers to and how it is calculated or

     determined. Based on this lack of disclosure a POSA would not have understood

     the named inventors of the ’209 and ’785 patents to be in possession of the “from

      about 85% to about 100%107453 sequence homology to SEQ ID NO.:               1” limitation of those
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 332 of 820 PageID #:

     patents because the POSA would not have understood that the named inventors

     possessed a method for determining whether that limitation is met by a particular

     formulation.

             439. Furthermore, “percent sequence homology” is not a term that is used in


                                                     217
     the field of peptide formulation to describe degradation products or impurities. For

     example, I have never used a percentage value of sequence homology in the context

     of peptide formulations and degradation products or impurities. I have also never

     encountered any literature that refers to a percentage value of sequence homology

     for peptide degradation products or impurities.

             440. Moreover, even if a POSA understood how to determine the sequence

     homology of impurities, a skilled artisan would not know the identity of all of the

     impurities to determine if a particular composition was within the scope of the

     claims.     Tables 25-42 in the ’209 and ’785 patents indicate the presence of

     unidentified impurities (designated as “UI”). A skilled artisan would not have been

     able to determine whether these unidentified impurities have a “85% to about 100%

     sequence homology to SEQ ID No.: 1” without analytical work to determine the

     identity of these unknown impurities. Therefore claims 1-11 are indefinite because

     the claim language, viewed in light of the specification and the prosecution history,

     fails to “inform those skilled in the art about the scope of the invention with

      reasonable certainty.” For      the reasons above, a POSA would
                                  107454                                           not have understood
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 333 of 820 PageID #:

     the patentees of the ’209 and ’785 patents to be in possession of the “from about

     85% to about 100% sequence homology to SEQ ID NO.: 1” limitation and the claims

     of the ’209 and ’785 patents lack written description.

                 B. THE ASSERTED CLAIMS OF THE ’209 AND ’785 PATENTS
                    ARE INVALID FOR LACK OF ENABLEMENT BECAUSE IT
                                                     218
                    WOULD REQUIRE UNDUE EXPERIMENTATION TO
                    PRACTICE THE FULL SCOPE OF THE CLAIMS

            441. The Asserted Claims of the ’209 and ’785 patents require that the

     impurities have from about 85% to about 100% sequence homology to SEQ ID

     NO.:1. Based on the specifications of the ’209 and ’785 patents, a POSA would not

     have understood how to determine whether an impurity has “from about 85% to

     about 100% sequence homology to SEQ ID NO.: 1” and therefore, to the extent the

     percent impurity limitation is not an inherent property of the claimed formulations

     of the ’209 and ’785 patents, the Asserted Claims of these patents are not enabled

     because the POSA would not be able to determine whether a specific formulation

     has 0.9% - 1.7% impurities that meet this limitation.

            442. For the same reasons as described above, a POSA would not know the

     meaning of the “percent sequence homology” claim term, and the specifications of

     these patents do not provide any guidance regarding how to determine the “percent

     sequence homology” for impurities in the claimed vasopressin formulation. To the

     extent it is possible to determine whether an impurity has about 85% to about 100%
                                  107455
      sequence homology
Case 1:18-cv-02032-CFC-CJB    to SEQ
                           Document     ID 08/30/21
                                    305 Filed NO.:1, Page
                                                     it would     require
                                                          334 of 820        undue
                                                                     PageID #:      experimentation

     because the specifications do not provide such guidance. Accordingly, the Asserted

     Claims of the ’209 and ’785 patents are not enabled because the POSA would not

     be able to determine whether a specific formulation has 0.9% - 1.7% impurities that

     meet this limitation.

                                                   219
     VI.    INEQUITABLE CONDUCT

               A. PROSECUTION HISTORY OF THE PATENTS-IN-SUIT AND
                  THEIR PARENT ’239 PATENT

            443. The ’209 and ’785 patents are continuations-in-part of U.S. Patent No.

     9,744,239 (“the ’239 patent”). The ’239 Patent claims priority to U.S. Application

     No. 14/610,499 (the “’499 Application”), filed January 30, 2015. The application

     that issued as the ’239 Patent was filed at the U.S. Patent & Trademark Office

     (“Patent Office”) on May 20, 2015, as U.S. Application No. 14/717,877 (the “’877

     Application”). The ’877 Application is a continuation of the ’499 Application and

     shares a specification with the ’499 Application.

            444. Claim 1 of the ’239 patent claims a method of increasing blood pressure

     in a human in need thereof by administering vasopressin:

                1. A method of increasing blood pressure in a human in need thereof,
                the method comprising:

                     a) providing a pharmaceutical composition for intravenous
                     administration consisting of, in a unit dosage form: i) from about
                     0.01 mg/mL to about 0.07 mg/mL of vasopressin or a
                     pharmaceutically-acceptable             salt       thereof; ii) optionally
                     chlorobutanol;    iii) acetic acid, acetate , or a combination thereof; iv)
                                  107456
                     0-2% vasopressin degradation products; and v) water;
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 335 of 820 PageID #:



                   b) diluting the unit dosage form in a diluent to provide a concentration
                   from about 0.1 units/mL to about 1 unit/mL of vasopressin or the
                   pharmaceutically- acceptable salt thereof; and

                   c) administering the diluted unit dosage form to the human by
                   intravenous administration;

                                                220
                  wherein:

                     the unit dosage form has a pH of 3.5 to 4.1;

                     the administration provides to the human from about 0.01 units of
                     vasopressin or the pharmaceutically-acceptable salt thereof per minute
                     to about 0.1 units of vasopressin or the pharmaceutically-acceptable salt
                     thereof per minute; and the human is hypotensive.

     ’239 Patent at claim 1.

             445. On October 21, 2015, the patent examiner issued a Final Office Action

     rejecting all pending claims of the ’877 Application as both anticipated and obvious

     over the April 2014 Vasostrict® Label. (DTX-1381) PAR-VASO-0008323 at

     8326; see also id. at 8349.

             446. At the time of the rejection, pending independent claim 16 recited:

                 16. A method of increasing blood pressure in a human in need thereof,
                 the method comprising:

                     a. providing a pharmaceutical composition for intravenous
                     administration comprising, in a unit dosage form: i) from about 0.01
                     mg/mL to about 0.07 mg/mL of vasopressin or a pharmaceutically-
                     acceptable salt thereof; ii) chlorobutanol; iii) acetic acid; and iv)
                     water, wherein  the unit dosage form has a pH of 3.4 to 3.6;
                                 107457
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 336 of 820 PageID #:

                     b. storing the unit dosage form at 2-8 °C; and

                     c. administering the unit dosage form to the human;

                  wherein:

                           the administration provides to the human from about 0.01
                     units of vasopressin or the pharmaceutically-acceptable salt thereof
                                                      221
                  per minute to about 0.1 units of vasopressin or the pharmaceutically-
                  acceptable salt thereof per minute; and the human is hypotensive.

    (DTX-1389) PAR-VASO-0007062 at 7064.

           447. In rejecting the pending claims of the ’877 Application, the patent

    examiner cited to and relied on various portions of the April 2014 Vasostrict® Label,

    including the description of the Vasostrict® formulation, its indication, and its

    method of administration, which are described above.

           448. The applicants sought to overcome Examiner Bradley's October 21,

    2015 rejection by invoking the exception of Section 102(b)(1)(A), which states that

    a prior art disclosure made one year or less before the effective filing date of the

    patent may not be used against that patent if the disclosure was made by the inventor

    or joint inventor or by another who obtained the subject matter disclosed directly or

    indirectly from the inventor or a joint inventor. In attempting to overcome the

    examiner’s rejection, named inventor Vinayagam Kannan submitted a declaration

    on November 24, 2015, that stated,

              The [Vasostrict 2014] Label discloses part of the subject matter of the
              claims, including a107458
                                    method of increasing blood pressure in a hypotensive
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 337 of 820 PageID #:
              human. The Label recites that, ‘[v]asostrict is indicated to increase blood
              pressure in adults with vasodilatory shock who remain hypotensive…”
              Label, page 1 (parentheticals omitted). The Label thither recites a
              pharmaceutical composition for intravenous administration having 20 units
              vasopressin per mL ….” Label, page 3. The Label further recites that the
              vasopressin formulation comprises ‘chlorobutanol [and] Water for Injection,
              USP adjusted with acetic acid to pH 3.4-3.6…' Label, page 6, The Label
              recites the infusion rate of the claim by stating that ‘[f]or post-cardiotomy
              shock, start with a dose of 0.03 units/minute. For septic shock, start with a
                                              222
             dose of 0.01 units/minute.” Label, page 3. The Label recites refrigeration of
             the diluted vasopressin for up to 24 hours. Label, page 1. The FDA
             obtained this information from me and Matthew Kenney, as we invented this
             subject matter.

     (DTX-1075) PAR-VASO_0008388 at 389.


             449. On January 11, 2016, based on named inventor Vinayagam Kannan’s

     November 24, 2015 declaration, the patent examiner withdrew the rejection of the

     pending claims over the April 2014 Vasostrict® Label, stating:

             The declarations under 37 CFR l.130(a) filed November 24, 2015 are
             sufficient to overcome the rejection of claims 16-29 based upon FDA label
             for VASOSTRICT™ (NPL USPTO-892, published 4/2014). The declaration
             by Inventor Vanayagam [sic] Kannan includes an unequivocal statement that
             he and Matthew Kenney invented the subject matter disclosed in the FDA
             Label and relied upon in the rejection (¶ 6-7), and a reasonable explanation
             for the presence of the FDA as an author of the prior art disclosure (¶ 6, 8).
             The declaration by Michelle Bonomi-Huvala supports the explanation that
             the subject matter in the prior art was invented by Vanayagam [sic] Kannan
             and Matthew Kenney and provided to the FDA as part of the regulatory
             filings (¶ 6-7). Accordingly, the rejection of claims 16-29 under 35 U.S.C.
             102(a)(l) as anticipated by or, in the alternative, under 25 U.S.C. 103 as
             obvious over the FDA label for VASOSTRICT™ is withdrawn.


     (DTX-1382) PAR-VASO-0008417 at 8419-20.
                                  107459
              450. Mr. Kannan
Case 1:18-cv-02032-CFC-CJB          has Filed
                           Document 305 testified
                                              08/30/21that he338did
                                                        Page         notPageID
                                                                 of 820   invent
                                                                               #:   or contribute to the

     formulation described in the April 2014 Vasostrict® Label.



             451. Mr. Kannan has testified that he did not invent or contribute to the

     clinical aspects of Vasostrict® described in the April 2014 Vasostrict® Label,

                                                      223
     including the use and method of administration identified in Paragraph 7 of his

     declaration:



            452. With respect to the subject matter of the April 2014 Vasostrict® Label,

     Mr. Kannan testified that his only “contribution was related to refrigerated storage.”

     .   However, the claims of the ’239 patent contain no limitations relating to

     refrigeration storage of diluted vasopressin for up to 24 hours. (DTX-1363) PAR-

     VASO-0000198 at 230-231. Furthermore, the issued claims of the ’209 and ’785

     patents also contain no limitation on refrigerated storage of diluted vasopressin for

     up to 24 hours. (JTX-0004) PAR-VASO_0000034 at 112-113; (JTX-0005) PAR-

     VASO_0000114 at 196-197; (JTX-0006) PAR-VASO_0000232 at 313-314.

            453. Named inventor Matthew Kenney did not work on the Original

     Vasostrict® formulation, which means that he did not invent or contribute to the

     formulation described in the April 2014 Vasostrict® Label.



              454. Matthew Kenney 107460also did not invent or contribute to       the clinical aspects
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     of Vasostrict® described in the April 2014 Vasostrict® Label, including the use and

     method of administration identified in Paragraph 7 of the declaration.



            455. Matthew Kenney did not contribute to the information in the Original


                                                    224
    Vasostrict® April 2014 Label, which means that he did not invent or contribute to

    any of the subject matter of the April 2014 Vasostrict® Label.



           456. Therefore, contrary to Mr. Kannan’s declaration, neither he nor Mr.

    Kenney invented or contributed to at least the following subject matter of the April

    2014 Vasostrict® Label, which the examiner relied on in the October 21, 2015

    rejection:

            “[v]asostrict is indicated to increase blood pressure in adults with
             vasodilatory shock who remain hypotensive . . . .” PAR-VASO-
             0006453 at 8351 (Vasostrict® April 2014 Label at INDICATIONS
             AND USAGE);

            “a pharmaceutical composition for intravenous administration having
             20 units of vasopressin per mL. . . . .” Id. (Vasostrict® April 2014
             Label at DOSAGE FORMS AND STRENGTHS);

            “that the vasopressin formulation comprises ‘Chlorobutanol [and]
             Water for Injection, USP adjusted with acetic acid to pH 3.4- 3.6.’”
             I d . a t 8354 (Vasostrict® April 2014 Label at DESCRIPTION); and

               “the infusion rate of the claim . . . that ‘[f]or post-cardiotomy shock
                  start with a dose of 0.03 units/minute. For septic shock, start with a
                  dose of 0.01 units/
                                  107461minute.’” Id. at 8351 (Vasostrict® April 2014
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                  Label at DOSAGE AND ADMINISTRATION).

                 B. (DTX-1075) PAR-VASO_0259744 0008388 AT 745389. THE
                    NAMED INVENTORS’ DISQUALIFICATION OF THE
                    VASOSTRICT® APRIL 2014 LABEL DURING
                    PROSECUTION WAS MATERIAL TO THE PATENTABILITY
                    OF THE ’785 AND ’209 PATENTS

           457. In rejecting the then-pending claims of the ’877 Application, the patent
                                              225
     Examiner stated that the Vasostrict® April 2014 Label disclosed each and every

     limitation of at least then-pending claims 16, 17-28, and 30, and therefore anticipated

     them. (DTX-1381) PAR- VASO-0008327-28.

            458. Furthermore, the Vasostrict® April 2014 Label discloses, either

     explicitly or inherently, each limitation that ultimately issued with the ’239 patent

     after the patent examiner had disqualified the April 2014 Vasostrict® Label as prior

     art.

            459. For example, the Vasostrict® April 2014 Label disclosed the claim

     limitation of “diluting the unit dosage form in a diluent to provide a concentration

     from about 0.1 units/mL to about 1 unit/mL of vasopressin”:

            Dilute Vasostrict in normal saline (0.9% sodium chloride) or 5% dextrose in

            water (D5W) prior to use. Discard unused diluted solution after 18 hours at

            room temperature or 24 hours under refrigeration.

                             Table 1 Preparation of diluted solutions

                           Fluid         Final                     Mi
                                                                    x
                        restriction concentratio
                                                           Vasostrict Diluent
Case 1:18-cv-02032-CFC-CJB          n Filed 08/30/21
                        ? Document107462
                                   305                 Page 341 of 820 PageID #:

                          No         0.1                   2.5 mL(S0         500mL
                                     units/mL                units)
                          Yes             1                  5 mL             I00mL
                                      unit/mL                (100
                                                             units)


                                             *         *      *

                                                   226
           For post-cardiotomy shock, start with a dose of 0.03 units/minute. For septic

           shock, start with a dose of 0.01 units/minute. . . . The maximum dose for

           post-cardiotomy shock is 0.1 units/minute and for septic shock 0.07

           units/minute.

     (DTX 1140) PAR-VASO-0008349 at 8351.

           460. The April 2014 Vasostrict® Label also disclosed the limitation

     “administering the diluted unit dosage form to the human by intravenous

     administration”:

           Dilute Vasostrict with normal saline (0.9% sodium chloride) or 5% dextrose

           in water (D5W) to either 0.1 units/mL or 1 unit/mL for intravenous

           administration.

     Id. at 8349.

           461. The April 2014 Vasostrict® Label further disclosed the limitation “the

     unit dosage form has a pH of 3.5 to 4.1”:

              The 1 mL solution contains
                                  107463      vasopressin 20 units/mL, chlorobutanol, NF
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 342 of 820 PageID #:

           0.5% as a preservative, and Water for Injection, USP adjusted with acetic

           acid to pH 3.4 - 3.6.

     Id.at 8354.

           462. Thus, the Vasostrict® April 2014 Label disclosed each and every


                                               227
    limitation of claim 1 of the ’239 patent as issued, either explicitly or inherently.

           463. The Vasostrict® April 2014 Label also was relevant to the

    patentability of the ’209 and ’785 patents, which were each filed after the examiner

    had withdrawn the April 2014 Vasostrict® Label as prior art against the ’877

    Application, because for the reasons discussed above, each of the Asserted Claims

    of the Patents-in-Suit are anticipated by and/or obvious in view of the Vasostrict®

    April 2014 Label.

           464. During prosecution of the ’209 and ’785 patents, the patent examiner

    cited only prior art that was not as close to the pending claims of those patents as the

    Vasostrict® April 2014 Label. For example, during prosecution of each of the ’209

    and ’785 patents, the patent examiner rejected the pending claims as obvious under

    Section 103 in view of a reference called “PPC,” which discloses a pH of 2.5 to 4.5.

           465. The examiner stated that:

              Pharmaceutical Partners of Canada teaches that Vasopressin Injection, USP
              is a sterile, nonpyrogenic solution of synthetic vasopressin of the posterior
              pituitary gland. It is substantially free from the oxytocic principle and is
              standardized to contain 20 pressor units posterior structural formula is
              identical to instant SEQ
                                   107464ID NO: 1. Each mL contains 20 USP vasopressin
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 343 of 820 PageID #:
              units, chlorobutanol (anhydrous) 5 mg as preservative, water for injection
              q.s. glacial acetic acid and/or sodium hydroxide for pH adjustment (2.5-4.5).


    (DTX-1364) PAR-VASO-0000422 at 2250-251. However, the PPC reference

    did not disclose the clinical elements of the claims because it has different

    indications and instructions for use.

                                              228
            466. During prosecution of these patents, the examiner also relied on

     Treschan & Peters, The Vasopressin System: Physiology & Clinical Strategies, 105

     Anesthesiology 599-612 (2006) (“Treschan 2006”), which taught the limitations

     relating to the clinical administration of vasopressin.

            467. However, the patent examiner eventually withdrew the rejections based

     on data the named inventors submitted that purportedly showed that pH 3.7-3.9 and

     3.8 were critical to the stability of vasopressin.

            468. The Vasostrict® April 2014 Label is closer prior art to the issued

     claims of the ’209 and ’785 patents than the references (e.g., PPC) cited during those

     patents’ prosecution, which disclosed vasopressin formulations having pH 2.5-4.5.

     Unlike PPC, the Vasostrict® April 2014 Label discloses the formulation, including

     the pH of 3.4 to 3.6, as well as the claimed indications and method of administration

     in a single reference. Furthermore, the Vasostrict® April 2014 Label discloses

     exactly the claimed clinical indication and administration limitations.

            469. Furthermore, rather than disclosing a broader pH range of 2.5 to 4.5,

      the Vasostrict® April 2014       Label discloses a narrower pH range
                                  107465                                           of 3.4-3.6, which
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     is close to the claimed pH range of 3.7-3.9, in the issued claims of the ’209 and ’785

     patents.

            470. The pH limitations in the ’209 and ’785 patents are prima facie

     obvious over the pH range disclosed in the prior art as a whole, including the


                                                  229
    Vasostrict® April 2014 Label.

           471. Therefore, if Vasostrict® April 2014 Label had been before the

    examiner (as it should have been), for the reasons discussed above, the applicants

    would have needed to show the criticality of the claimed pH range of 3.7-3.9, over

    the pH range 3.4-3.6 of the closest prior art in the April 2014 Vasostrict®.

           472. For the reasons set forth above, a pH value of 3.7, 3.8, 3.9 or range

    of 3.7-3.9, is not critical to the stability of vasopressin as compared to a pH of

    3.6 as disclosed in the Vasostrict® April 2014 Label. Thus, Vasostrict® April

    2014 Label would have been material to the prosecution of the ’209 and ’785

    patents.

           473. Furthermore, for the reasons discussed above, the Asserted Claims of

    the ’209 and ’785 patents are obvious over the Vasostrict® April 2014 Label in

    view of the prior art. A prior art reference that renders the Asserted Claims of

    ’209 and ’785 patents invalid is necessarily material to the prosecution of these

    patents.

                  C. THE NAMED         INVENTORS’ FAILURE TO DISCLOSE
                                  107466                                           PRIOR
Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 345 of 820 PageID #:
                 ART PITRESSIN® WAS MATERIAL TO THE
                 PATENTABILITY OF THE PATENTS-IN-SUIT

           474. With respect to Pitressin®, each of the named inventors had knowledge

    or would have had access to the Pitressin® formulation.        This information was

    never disclosed to the Patent Office during the prosecution of any of the Patents-in-


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 based rejections by arguing that the pH range of 3.7-3.9 is critical to the stability of

 its claimed vasopressin formulation compared to other pHs disclosed in the art,

 including pH 3.4-3.6. Yet, in clear contradiction to the positions it took during

 prosecution, Par continues to assert infringement against Amneal’s Proposed ANDA

 Products,



       482. Par’s untenable infringement position is further highlighted by the

 contrary positions its expert is taking with respect to the validity of the Patents-in-

 Suit. First, although Par insists that Amneal infringes the Asserted Claims, its expert

 has made clear for validity purposes



                               Second, Par maintains its infringement position even

 though its own expert recognizes that the pH of Amneal’s Proposed ANDA Products

 is the same pH found in the prior art. Indeed, Dr. Kirsch echoes Par’s argument

 made during prosecution that

                                                                                   . He

 even further acknowledges that a prior art vasopressin formulation had been

 formulated to a pH of 3.6 for over 100 years. Most significantly, Dr. Kirsch has

 opined that the pH of Amneal’s proposed product reflects the prior art pH range.

       483. Despite these opinions from its own expert, Par continues to maintain


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 its infringement claims against Amneal, even though Par and its experts can point to

 no evidence that the pH of Amneal’s Proposed ANDA Products

        Par’s infringement theory is based purely on the unsupported speculation that

 some undefined hypothetical future batch of Amneal’s ANDA Product might fail to

 meet its shelf-life specifications. Yet, a Par expert has agreed that approval of

 Amneal’s ANDA Product will be based on a satisfactory showing to the FDA, based

 on Amneal’s manufacturing process and other data and information submitted in the

 ANDA, that its product will meet the specifications that have been set, including the

 pH specification.

       484. These glaring inconsistencies go beyond just the credibility of any

 witness Par may offer to support its infringement case. They undermine the entire

 foundation of Par’s infringement case.

       485. Par knew or should have known, at least since receiving Amneal’s 24-

 month stability data, the exceptional weakness of its infringement claims,

 particularly in view of its validity arguments and its knowledge that the prior art

 taught the same pH range that is exhibited by Amneal’s Proposed ANDA Products.

 Subsequent discovery may make clear whether Par knew about the exceptional

 weakness of its infringement claims earlier, in view of its prior litigation with Eagle

 and the similar infringement and invalidity arguments raised in that case, in which

 Amneal took no part.


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                 B. PAR BROUGHT THIS SUIT IN BAD FAITH

             486. Par brought this suit in bad faith in order to maintain its monopoly

     on the supply on vasopressin. Par has had a monopoly on the supply of

     vasopressin since December 2014, when, following the approval of Par’s NDA

     for its unapproved vasopressin product, the FDA removed all competing

     vasopressin products from the market.

             487. During that time, Par has increased the price of vasopressin from

     approximately five dollars per vial to well over one hundred thirty dollars per

     vial. Because vasopressin is a life-saving drug used to treat refractory cases of

     lethal conditions, hospitals have continued to purchase and use vasopressin

     notwithstanding Par’s monopoly pricing.

             488. By filing and maintaining this baseless suit, Par was able to guarantee

     that its monopoly would not be broken by Amneal. During that time, Par has

     continued to increase the price of vasopressin and enjoy monopoly profits.

             489. Because this suit was brought in bad faith, this case is exceptional and
                                107472
      Amneal should be Document
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                                         reasonable    attorney
                                              08/30/21 Page        fees.
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                 C. PAR ENGAGED IN INEQUITABLE CONDUCT TO PROCURE
                    THE PATENTS-IN-SUIT

             490. As set forth above, Par obtained the Patents-in-Suit through inequitable

     conduct and, in addition, the Patents-in-Suit are tainted and unenforceable on

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     account of the inequitable conduct that occurred in the parent ’239 patent

     prosecution.

             491. Because Par engaged in inequitable conduct, this case is exceptional

     and Amneal should be awarded its reasonable attorney fees.

   VIII.     PAR IS NOT ENTITLED TO INJUNCTIVE OR MONETARY
             RELIEF

             492. Par cannot prove that it is entitled to a judgment against Amneal for

     infringement of any Asserted Claim.

             493. Par cannot prove that it is entitled to any relief because Amneal does

     not infringe any valid, enforceable claim of the Patents-in-Suit.

             494. Par cannot prove that it is entitled to injunctive relief.

             495. Par cannot prove that it suffered irreparable injury or harm.

             496. Par cannot prove that the legal remedies available to it are inadequate

     to compensate any alleged injury or harm.

             497. Par cannot prove that the balance of hardships favors an injunction.

             498. Par cannot prove that an injunction is in the public interest.
                                  107473
              499. Par cannot
Case 1:18-cv-02032-CFC-CJB       prove
                           Document     that08/30/21
                                    305 Filed it is entitled toofdamages
                                                      Page 352    820 PageIDor
                                                                            #:   other monetary relief.

             500. Par cannot prove that it is entitled to attorneys’ fees, filing fees, and any

     costs of suit incurred by Plaintiffs in this action.

             501. In the event that Plaintiffs are found to be the prevailing party in this

     action, whether Plaintiffs may recover costs under Federal Rule of Civil Procedure

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     54(d)(1) and D. Del. LR 54.1 and the amount of costs to which they are entitled.

             502. In the event that Amneal is found to be the prevailing party in this

     action, Whether Amneal may recover costs under Federal Rule of Civil Procedure

     54(d)(1) and D. Del. LR 54.1 and the amount of costs to which it is entitled.




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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE



  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO                      C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                        (Consolidated)

                      Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF NEW
  YORK, LLC, et al.


                      Defendants.


       PLAINTIFFS’ STATEMENT OF CONTESTED ISSUES OF LAW
                 THAT REMAIN TO BE LITIGATED

       Pursuant to Local Rule 16.3(c)(5), Plaintiffs Par Pharmaceutical, Inc., Par

 Sterile Products, LLC, and Endo Par Innovation Company, LLC (collectively

 “Par”) submit the following issues of law that remain to be litigated. The

 following statements are not exhaustive, and Par reserves the right to prove any

 matters identified in its pleadings, interrogatory responses, and/or expert reports.

 Par reserves the right to modify or amend this Statement to the extent necessary to

 reflect any future rulings by the Court, to supplement or amend this Statement to

 fairly respond to any new issues that Defendants may raise, to address any new

 discovery produced by Amneal, or to address any further amendments to Amneal’s


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 ANDAs. To the extent Par’s statement of the issues of fact that remain to be

 litigated, which is submitted as Exhibit 2 hereto, contains issues of law, those

 issues are incorporated herein by reference. Moreover, if any issue of law

 identified below should properly be considered an issue of fact, then such

 statement should be considered to be part of Par’s statement of issues of fact that

 remain to be litigated. Plaintiffs’ Statement of Intended Proofs is submitted as

 Exhibit 13 hereto.

       Further, Par’s identification of the issues that remain to be litigated on

 issues where Amneal bears the burden of proof is based on its understanding of

 the arguments that Amneal has put forth to date. To the extent Amneal intends or

 attempts to introduce different or additional legal arguments to meet their burden

 of proof, Par reserves its rights to contest those legal arguments, and to present

 any and all rebuttal evidence in response to those arguments, and will not be

 bound by this summary of remaining legal issues.

 I.    CLAIM CONSTRUCTION

       1.     The infringement analysis involves two steps. Markman v. Westview

 Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370

 (1996). The first step is to define disputed terms of the patent consistent with how

 those terms would be understood by a person of ordinary skill in the art. Id.;

 Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc).



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       2.     “[T]he words of a claim are generally given their ordinary and

 customary meaning,” which is “the meaning that the term would have to a person

 of ordinary skill in the art in question at the time of the invention.” Phillips, 415

 F.3d at 1312–13 (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576,

 1582 (Fed. Cir. 1996)).

       3.     The ordinary meaning may be determined by reviewing various

 sources, such as the claims themselves, the specification, the prosecution history,

 dictionaries, and any other relevant evidence. See Teleflex, Inc. v. Ficosa N. Am.

 Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).

       4.     Unless there is an express intent to impart a novel meaning to the

 claim terms, the words of the claim are presumed to have their “ordinary and

 customary meanings attributed to them by those of ordinary skill in the art.” Int’l

 Rectifier Corp. v. IXYS Corp., 361 F.3d 1363, 1369 (Fed. Cir. 2004).

       5.     There is “a heavy presumption that claim terms carry their full

 ordinary and customary meaning,” which should apply “unless [Defendants] can

 show the patentee expressly relinquished claim scope.” Epistar Corp. v. Int’l

 Trade Comm’n, 566 F.3d 1321, 1334 (Fed. Cir. 2009).

       6.     Rounding of numerical values “is a standard scientific convention

 when a number has not been carried to the next mathematically significant figure.”

 Viskase Corp. v. Am. Nat. Can Co., 261 F.3d 1316, 1322 (Fed. Cir. 2001).



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       7.     Claim language should not be restricted to “an example provided in

 the specification,” particularly when the specification states that “[t]he examples

 are illustrative and are not to be read as limiting the scope of the invention as it is

 defined by the appended claims.” Spectrum Pharms., Inc. v. InnoPharma, Inc., 12-

 260-RGA-CJB, 2014 WL 3365684, *5 (D. Del. July 3, 2014) (quoting Pfizer, Inc.

 v. Ranbaxy Labs. Ltd., 457 F.3d 1284, 1290 (Fed. Cir. 2006).

       8.     This Court construed the disputed claim terms in a Memorandum

 Opinion dated May 11, 2020 (D.I. 105). The parties further agreed to adopt the

 Court’s construction of terms construed by the Court in the related action against

 Eagle Pharmaceuticals Inc. (See D.I 179). Additionally, there remains a dispute as

 to the plain and ordinary meaning of the limitation “a pH of 3.7-3.9,” which the

 Court indicated it would resolve at trial.

       9.     The second step of the infringement inquiry is to determine whether

 the accused product infringes the patent, which is done by comparing the accused

 product with the properly construed claims. Markman, 52 F.3d at 976.

 II.   INFRINGEMENT

       10.    On June 9, 2021, Judge Connolly severed issues of infringement from

 the July 7, 2021 trial. Accordingly, Par’s allegations of infringement—and any

 associated contested issues of law—will be addressed if necessary, at a later date to

 be determined.



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 III.   VALIDITY
        11.      Whether Amneal has proven by clear and convincing evidence that

 any of the Asserted Claims are invalid.

        12.      The Asserted Claims are presumed to be valid, and the burden of

 proving invalidity of each claim rests with Amneal. 35 U.S.C. § 282. The

 presumption that an issued patent claim is valid requires that an invalidity defense

 or counterclaim be proven by clear and convincing evidence. Microsoft Corp. v.

 i4i Ltd. P’ship, 131 S. Ct. 2238, 2242 (2011). The presumption of validity and

 corresponding burden of proof in overcoming that presumption applies to each

 patent claim independently. See Uniroyal, Inc. v. Rudkin-Wiley Corp., 837 F.2d

 1044, 1050 (Fed. Cir. 1988); Carroll Touch, Inc. v. Electro Mechanical Sys., Inc.,

 15 F.3d 1573, 1581 (Fed. Cir. 1993).

        13.      Par’s identification of the issues of validity that remain to be litigated

 is based on its understanding of the arguments that Amneal is likely to make in

 attempting to establish invalidity, given the pleadings and discovery in the action

 to date. To the extent Amneal intends or attempts to introduce different or

 additional legal arguments to meet their burden of proof, Par reserves its rights to

 contest those legal arguments, and to present any and all rebuttal evidence in

 response to those arguments, and will not be bound by this summary of remaining

 legal issues.



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       A.     Anticipation

       14.    Whether Amneal has proven by clear and convincing evidence that

 any Asserted Claim is invalid as anticipated by the prior art.

       15.    “A person shall be entitled to a patent unless the claimed invention

 was patented, described in a printed publication, or in public use, on sale, or

 otherwise available to the public before the effective filing date of the claimed

 invention.” 35 U.S.C. § 102(a)(1).

       16.    Anticipation is a question of fact, subject to the Court’s application of

 the proper legal standards in making that factual determination. See Microsoft

 Corp. v. Biscotti, Inc., 878 F.3d 1052, 1067-68 (Fed. Cir. 2017).

       17.    “In order to anticipate the claimed invention, a prior art reference

 must ‘disclose all elements of the claim within the four corners of the document,’

 and it must ‘disclose those elements ‘arranged as in the claim.’” Id. at 1063

 (quoting Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1369 (Fed. Cir.

 2008)); 35 U.S.C. § 102.

       18.    To prove anticipation by a prior art product, “the party with the

 burden of proof must show that ‘the subject of the barring activity met each of the

 limitations of the claim, and thus was an embodiment of the claimed

 invention.’” See Juicy Whip, Inc. v. Orange Bang, Inc., 292 F.3d 728, 737 (Fed

 Cir. 2002) (quoting Scaltech Inc. v. Retec/Tetra, LLC, 178 F.3d 1378, 1383 (Fed.



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 Cir. 1999)) (reversing a jury verdict of anticipation by a prior art device because

 the record lacked evidence “regarding at least one limitation of each asserted

 claim”).

       19.    In order to prove inherent anticipation, the patent challenger must

 prove by clear and convincing evidence that the missing element or elements are

 necessarily present in the allegedly anticipating disclosure. See Continental Can

 Co. USA, Inc. v. Monsanto Co., 948 F.2d 1264, 1268 (Fed. Cir. 1991); see also

 Transclean Corp. v. Bridgewood Servs., Inc., 290 F.3d 1364, 1373 (Fed. Cir.

 2002). Inherency “may not be established by probabilities or possibilities. The

 mere fact that a certain thing may result from a given set of circumstances is not

 sufficient.” In re Robertson, 169 F.3d 743, 745 (Fed. Cir. 1999) (quoting

 Continental Can, 948 F.2d at 1269).

       20.    “In order to anticipate a claimed invention, a prior art reference must

 enable one of ordinary skill in the art to make the invention without undue

 experimentation.” Impax Labs., Inc. v. Aventis Pharms., Inc., 545 F.3d 1312, 1314

 (Fed. Cir. 2008) (citing Finisar Corp. v. DirecTV Grp., Inc., 523 F.3d 1323, 1336

 (Fed. Cir. 2008)).




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       B.     Obviousness

       21.    Whether Amneal has proven by clear and convincing evidence that

 any Asserted Claim is invalid as obvious in view of the prior art to a person of

 ordinary skill in the art (“POSA”) at the time of the claimed inventions.

       22.    Whether the definition of a POSA in this case is as follows:

       A person with a Master’s, Pharm.D., or Ph.D. in the field of
       pharmaceutical sciences or a related discipline and several years of
       experience in the development of pharmaceutical dosage forms. The
       amount of experience would vary in relation to the level of formal
       education and depth of experience with pharmaceutical dosage
       development. A POSA may also have less formal education and a
       greater amount of experience. Further, a POSA would have had
       access to and would have working collaboration with persons having
       several years of experience in the formulation of drug products as well
       as other professions in the drug development field, such as
       pharmacologists, chemists, biologists, or clinicians.

       23.    Obviousness is a question of law that is based on underlying issues of

 fact. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 427 (2007).

       24.    To prove that the asserted claims are obvious, Amneal must prove by

 clear and convincing evidence that the differences between the claimed subject

 matter and the prior art are such that the invention would have been obvious to a

 hypothetical person having ordinary skill in the art at the time of invention. 35

 U.S.C. § 103; Microsoft, 131 S. Ct. at 2242.

       25.    To determine obviousness, the Court must consider: (i) the scope

 and content of the prior art; (ii) the differences between the prior art and the



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 claims at issue; (iii) the level of ordinary skill in the pertinent art; and (iv)

 objective or secondary considerations of nonobviousness, if present. See

 Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966); In re Rouffet, 149 F.3d

 1350, 1355 (Fed. Cir. 1998).

       26.     Even if the prior art discloses all the elements of a claim, the claim is

 only obvious if the patent challenger proves by clear and convincing evidence that

 a person of ordinary skill in the art would be motivated to combine the elements

 and would have a reasonable expectation that the combination would successfully

 result in the claimed invention. Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d 1352,

 1364 (Fed. Cir. 2011); Procter & Gamble Co. v. Teva Pharm. USA, Inc., 566 F.3d

 989, 994 (Fed. Cir. 2009).

       27.     “[O]bviousness must be judged from the knowledge of one skilled in

 the art at the time of invention.” Genetics Inst., LLC v. Novartis Vaccines &

 Diagnostics, Inc., 655 F.3d 1291, 1318 n.6 (Fed. Cir. 2011). Only art that meets

 the requirements of the relevant subsections of 35 U.S.C § 102 qualifies as prior

 art for an obviousness analysis under § 103. See, e.g., Panduit Corp. v. Dennison

 Mfg. Co., 810 F.2d 1561, 1568 (Fed. Cir. 1987).

       28.     “Patentability shall not be negated by the manner in which the

 invention was made.” 35 U.S.C. § 103. A court cannot rely on an inventor’s own

 efforts to find obviousness, but it can consider an inventor’s testimony regarding



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 how the invention was made in making a finding of nonobviousness. E.g., Life

 Techs., Inc. v. Clontech Labs., Inc., 224 F.3d 1320, 1325 (Fed. Cir. 2000); Otsuka

 Pharm. Co. v. Sandoz, Inc., 678 F.3d 1280, 1296 (Fed. Cir. 2012).

       29.    A defendant’s “burden [to prove invalidity by clear and convincing

 evidence] is especially difficult when the prior art was before the PTO examiner

 during prosecution of the application.” Hewlett-Packard Co. v. Bausch & Lomb

 Inc., 909 F.2d 1464, 1467 (Fed. Cir. 1990). In that situation:

       [The party asserting invalidity] has the added burden of
       overcoming the deference that is due to a qualified government
       agency presumed to have properly done its job, which includes
       one or more examiners who are assumed to have some expertise
       in interpreting the references and to be familiar from their work
       with the level of skill in the art and whose duty it is to issue only
       valid patents.

 Am. Hoist & Derrick Co. v. Sowa & Sons, Inc., 725 F.2d 1350, 1359 (Fed. Cir.

 1984), abrogated on other grounds by Therasense, Inc. v. Becton, Dickinson &

 Co., 649 F.3d 1276 (Fed. Cir. 2011).

       30.    The claimed invention must be viewed “in the state of the art that

 existed at the time the invention was made.” Sensonics Inc. v. Aerosonic Corp.,

 81 F.3d 1566, 1570 (Fed. Cir. 1996).

       31.    The scope and content of the prior art must be considered as a whole.

 See In re Wesslau, 353 F.2d 238, 241 (C.C.P.A. 1965) (“It is impermissible . . . to

 pick and choose from any one reference only so much of it as will support a given



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 position, to the exclusion of other parts necessary to the full appreciation of what

 such reference fairly suggests to one of ordinary skill in the art.”); see also In re

 Kuderna, 426 F.2d 385, 389 (C.C.P.A. 1970) (“We must approach the issue of

 patentability in terms of what would have been obvious to one of ordinary skill in

 the art at the time the invention was made in view of the sum of all the relevant

 teachings in the art, not in view of first one and then another of the isolated

 teachings in the art.”).

       32.    “[S]ome kind of motivation must be shown from some source, so

 that the [fact-finder] can understand why a person of ordinary skill would have

 thought of either combining two or more references or modifying one to achieve

 the patented method.” Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363, 1374

 (Fed. Cir. 2008).

       33.    “[W]hen the prior art as a whole teaches away from combining certain

 known elements” by discouraging a person of ordinary skill in the art from

 following the path set out in the prior art or by leading the skilled artisan in a

 direction divergent from the path that was taken by the inventors of the claimed

 invention, “a successful means of combining [the known elements] is more likely

 to be nonobvious.” KSR Intern. Co. v. Teleflex Inc., 550 U.S. 398, 416 (2007);

 Depuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1327 (Fed.

 Cir. 2009). “[A] reference that ‘teaches away’ from a given combination may



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 negate a motivation to modify the prior art to meet the claimed invention.” Ormco

 Corp. v. AlignTech., Inc., 463 F.3d 1299, 1308 (Fed. Cir. 2006). “An inference of

 nonobviousness is especially strong where the prior art’s teachings undermine the

 very reason being proffered as to why a person of ordinary skill would have

 combined the known elements.” Depuy Spine, 567 F.3d at 1326.

       34.      An invention claimed in a patent is not obvious if it is a solution to a

 problem which does not have a finite number of identified and predictable

 solutions or if the identified solution was not reasonably predictable. KSR, 550

 U.S. at 421.

       35.      An invention claimed in a patent is not obvious if the prior art gives

 only general guidance as to the particular form of the claimed invention or how to

 achieve the invention. In re Cyclobenzaprine Hydrochloride Extended-Release

 Capsule Patent Litig., 676 F.3d 1063, 1073 (Fed. Cir. 2012). For “a patent

 challenger to establish obviousness, it is insufficient to allege a general

 motivation to discover an undefined solution that could take many possible

 forms.” In re Armodafinil, 939 F. Supp. 2d 456, 500, 502 (D. Del. 2002) (internal

 citations omitted); see also In re Cyclobenzaprine, 676 F.3d at 1072 (“Evidence

 of obviousness, especially when that evidence is proffered in support of an

 ‘obvious-to-try’ theory, is insufficient unless it indicates that the possible options

 skilled artisans would have encountered were ‘finite,’ ‘small,’ or ‘easily



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 traversed,’ and that skilled artisans would have had a reason to select the route

 that produced the claimed invention.” (quoting Ortho McNeil Pharm., Inc. v.

 Mylan Labs., Inc., 520 F.3d 1358, 1364 (Fed. Cir. 2008)).

       36.    Hindsight must be avoided in the obviousness analysis. KSR, 550

 U.S. at 421. “[T]he great challenge of the obviousness judgment is proceeding

 without any hint of hindsight.” Star Scientific, Inc. v. R.J. Reynolds Tobacco Co.,

 655 F.3d 1364, 1375 (Fed. Cir. 2011). When fact-finders fall prey to a hindsight-

 driven obviousness analysis, they often find motivation and a reasonable

 expectation of success where none existed at the time of the invention. See, e.g.,

 Ortho-McNeil, 520 F.3d at 1364-65; ATD Corp. v. Lydall, Inc., 159 F.3d 534, 546

 (Fed. Cir. 1998).

       37.    That which was unknown cannot have been obvious. In re Newell,

 891 F.2d 899, 901-02 (Fed. Cir. 1989); see also In re Rijckaert, 9 F.3d 1531, 1534

 (Fed. Cir. 1993) (“Such a retrospective view of inherency is not a substitute for

 some teaching or suggestion supporting an obviousness rejection.”).

       38.    To protect against the “distortion caused by hindsight bias,” there

 must be “a reason that would have prompted a person of ordinary skill in the

 relevant field to combine the elements in the way the claimed new invention

 does.” KSR, 550 U.S. at 418, 421.




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       39.     An accused infringer must provide evidence that a “skilled artisan,

 confronted with the same problems as the inventor and with no knowledge of the

 claimed invention, would select the elements from the cited prior art references

 for combination in the manner claimed.” In re Rouffet, 149 F.3d 1350, 1357 (Fed.

 Cir. 1998).

       40.     A patentee may argue objective indicia of non-obviousness, but is

 not obligated to do so, because objective indicia of non-obviousness are not a

 requirement of patentability. Therefore “[s]uch evidence, if present, would weigh

 in favor of non-obviousness, although the lack of such evidence does not weigh in

 favor of obviousness.” Miles Labs., Inc. v. Shandon Inc., 997 F.2d 870, 878 (Fed.

 Cir. 1993); see also Custom Accessories, Inc. v. Jeffrey-Allan Indus., Inc., 807

 F.2d 955, 960 (Fed. Cir. 1986) (“[T]he absence of objective evidence does not

 preclude a holding of nonobviousness because such evidence is not a requirement

 for patentability . . . . [T]he absence of objective evidence is a neutral factor.”

 (internal quotation marks omitted)).

       41.     “[W]here there is a range disclosed in the prior art, and the claimed

 invention falls within that range, a relevant inquiry is whether there would have

 been a motivation to select the claimed composition from the prior art ranges. In

 those circumstances, the burden of production falls upon the patentee to come

 forward with evidence that (1) the prior art taught away from the claimed



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 invention; (2) there were new and unexpected results relative to the prior art; or

 (3) there are other pertinent secondary considerations.” Allergan, Inc. v. Sandoz

 Inc., 796 F.3d 1293, 1304-05 (Fed. Cir. 2015) (internal citation and quotation

 marks omitted) (affirming district court’s holding that patentee successfully

 rebutted prima facie obviousness case where prior art disclosed range containing

 claimed drug concentration).

       42.    Where the issue of obviousness is based on overlapping ranges,

 “[o]ne way in which the patentee may rebut the presumption of obviousness is by

 showing that there is something special or critical about the claimed range.”

 Genentech, Inc. v. Hospira, Inc., 946 F.3d 1333, 1341 (Fed. Cir. 2020) (internal

 citations omitted).

       43.    Courts have assessed criticality based on whether the claimed range

 is critical to the operability or functionality of the claimed invention. See, e.g.,

 Ineos USA LLC v. Berry Plastics Corp., 783 F.3d 865, 869-71 (Fed. Cir. 2015);

 see also Atofina v. Great Lakes Chem. Corp., 441 F.3d 991, 999 (Fed. Cir. 2006).

       44.    The presumption of obviousness for overlapping ranges attaches

 only when “the range or value of a particular variable” is “the difference between

 the claimed invention and the prior art.” Tris Pharma, Inc. v. Actavis Labs. Fl.,

 Inc., No. 14-1309-CFC, 2020 WL 7028456, at *15 (D. Del. Nov. 30, 2020)




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 (emphasis in original) (citing Haynes Int'l, Inc. v. Jessop Steel Co., 8 F.3d 1573,

 1577 n.3 (Fed. Cir. 1993)).

       45.    “[I]n order to render a claimed apparatus or method obvious, the

 prior art must enable one skilled in the art to make and use the apparatus or

 method.” Endo Pharm. Inc. v. Amneal Pharm., LLC, 224 F. Supp. 3d 368, 379-

 80 (D. Del. 2016) (quoting In re Kumar, 418 F.3d 1361, 1365 (Fed. Cir. 2005)).

       C.     Written Description

       46.    Whether Amneal has proven by clear and convincing evidence that

 any Asserted Claim is invalid as lacking an adequate written description.

       47.    The written description requirement is met if the specification and

 the existing knowledge in the art reasonably convey “to those skilled in the art

 that the inventor had possession of the claimed subject matter as of the filing

 date.” Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1355 (Fed. Cir.

 2010). For a patent claim to be held invalid for lack of written description, it

 must be proven by clear and convincing evidence that the patent fails to provide a

 POSA a basis “to recognize that the inventor invented what is claimed.” Id. at

 1351. The test for reasonably conveying possession of an invention is a flexible

 one, “requir[ing] an objective inquiry into the four corners of the specification

 from the perspective of a [POSA].” Id.




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       48.    A failure to “specifically mention a limitation that later appears in

 the claims is not a fatal one when one skilled in the art would recognize upon

 reading the specification that the new language reflects what the specification

 shows has been invented.” All Dental Prodx, LLC v. Advantage Dental Prods.,

 Inc., 309 F.3d 774, 779 (Fed. Cir. 2002).

       49.    “Written description is a question of fact, judged from

 the perspective of one of ordinary skill in the art as of the relevant filing

 date.” Immunex Corp. v. Sandoz Inc., 964 F.3d 1049, 1063 (Fed. Cir.

 2020). “The [written description] requirement is applied in the context of the

 state of knowledge at the time of the invention.” Zoltek Corp. v. U.S., 815 F.3d

 1302, 1308 (Fed. Cir. 2016). The specification therefore “need not include

 information that is already known and available to the experienced public.” Id.

 (quoting Space Sys./Loral, Inc. v. Lockheed Martin Corp., 405 F.3d 985, 987

 (Fed. Cir. 2005)).

       50.    A specification implicitly satisfies the written description

 requirement if a POSA would find it “reasonably clear what the invention is and

 that the patent specification conveys that meaning.” All Dental Prodx., 309 F.3d

 at 779. That is, the “reasonably conveys” standard does not require the disclosure

 and claims to match exactly. Ariad Pharm., 598 F.3d at 1352 (“[T]he [written]




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 description requirement does not demand any particular form of disclosure or that

 the specification recite the claimed invention in haec verba”).

       51.    Nor will a claim be invalidated simply because the embodiments of

 the specification do not contain examples explicitly covering the full scope of the

 claim language. See Ralston Purina Co. v. Far-Mar-Co., Inc., 772 F.2d 1570,

 1575-76 (Fed. Cir. 1985) (holding that specification’s disclosure preferring a

 lower operating range, yet indicating no upper limit, combined with the industry

 knowledge at the time, was sufficient for a POSA to discern that higher ranges

 could be used).

       52.    A patent applicant need only convey, “with reasonable clarity to

 those skilled in the art that, as of the filing date sought, he or she was in

 possession of the invention. The invention is, for purposes of the ‘written

 description’ inquiry, whatever is now claimed.” Vas-Cath v. Mahurkar, 935 F.2d

 1555, 1563-64 (Fed. Cir. 1991) (emphasis in original).

       53.    The word “comprising” in a patent claim “suggests that there may be

 additional, unclaimed elements,” but such additional elements are not required.

 See Technical Consumer Prods., Inc. v. Lighting Sci. Grp. Corp., 955 F.3d 16,

 2020 WL 1696642, at *4 (Fed. Cir. 2020) (emphasis added) (citing Crystal

 Semiconductor Corp. v. TriTech Microelecs. Int’l, Inc., 246 F.3d 1336, 1348

 (Fed. Cir. 2001)).



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       54.     Neither the written description nor enablement requirements of 35

 U.S.C. § 112 require support for unclaimed elements. See Lochner Techs., LLC

 v. Vizio, Inc., 567 F. App’x 931, 938-39 (Fed. Cir. 2014) (vacating summary

 judgment of invalidity for lack of written description and agreeing with patentee

 that “there is no precedent requiring a patentee to disclose or enable unclaimed

 elements”).

       55.     “[A] patent claim is not necessarily invalid for lack of written

 description just because it is broader than the specific examples disclosed.”

 Martek Biosci. Corp. v. Nutrinova, Inc., 579 F.3d 1363, 1371 (Fed. Cir. 2009).

 Further, “[a]n applicant is not required to describe in the specification every

 conceivable and possible future embodiment of his invention.” Cordis Corp. v.

 Medtronic AVE, Inc., 339 F.3d 1352, 1365 (Fed. Cir. 2003) (quoting Rexnord

 Corp. v. Laitram Corp., 274 F.3d 1336, 1344 (Fed. Cir. 2001)); see also Lampi

 Corp. v. Am. Power Prods., Inc., 228 F.3d 1365, 1378 (Fed. Cir. 2000) (holding

 written description sufficient to support claims covering non-identical half-shells

 where patent drawings, the only cited written description support, only disclosed

 identical half-shells).

       D.      Enablement

       56.     Whether Amneal has proven by clear and convincing evidence that

 any Asserted Claim is invalid as not enabled.



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       57.    A patent is enabled if a person of ordinary skill in the field could

 make and use the invention without having to perform undue experimentation. 35

 U.S.C. § 112 ¶ 1; Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367,

 1384 (Fed. Cir. 1986).

       58.    Factors considered in determining whether experimentation is undue

 or excessive include: (1) the scope of the claimed invention; (2) the amount of

 guidance presented in the patent; (3) the amount of experimentation necessary;

 (4) the time and cost of any necessary experimentation; (5) how routine any

 necessary experimentation is in the applicable field; (6) whether the patent

 discloses specific working examples of the claimed invention; (7) the nature and

 predictability of the field; and (8) the level of ordinary skill in the field. In re

 Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

       59.    Even a considerable amount of routine experimentation required to

 practice a claimed invention does not violate the enablement requirement.

 Cephalon, Inc. v. Watson Pharms., Inc., 707 F.3d 1330, 1336 (Fed. Cir. 2013);

 PPG Indus. v. Guardian Indus. Corp., 75 F.3d 1558, 1565 (Fed. Cir. 1996).

       60.    “[T]he enablement requirement is met if the description enables any

 mode of making and using the invention.” Invitrogen Corp. v. Clontech

 Laboratories Inc., 429 F.3d 1052, 1070-71 (Fed. Cir. 2005) (quoting Johns

 Hopkins Univ. v. Cellpro, Inc., 152 F.3d 1342, 1361 (Fed. Cir. 1998)).



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       61.    The specification preferably omits information that would already be

 known to a POSA. Streck v. Res. & Diagnostic Sys., Inc., 665 F.3d 1269, 1288

 (Fed. Cir. 2012).

 IV.   ENFORCEABILITY
       62.    Whether Amneal has proven by clear and convincing evidence that

 the Asserted Patents are unenforceable based on inequitable conduct. Therasense,

 Inc. v. Becton, Dickinson and Co., 649 F.3d 1276, 1287-90 (Fed. Cir. 2011); see

 also Outside the Box Innovations, LLC v. Travel Caddy, Inc., 695 F.3d 1285, 1290

 (Fed. Cir. 2012).

       63.    To prove inequitable conduct, a challenger must demonstrate both

 that a person having a duty of candor and good faith to the PTO withheld or

 misrepresented information, or submitted false information, that was material to

 the examination of the patent application, and that this individual or individuals

 acted with the specific intent to deceive or mislead the PTO. Therasense, 649

 F.3d at 1287-90, Outside the Box, 695 F.3d at 1290-92.

       64.    Materiality and intent to deceive are separate requirements that must

 each be proven by clear and convincing evidence. Therasense, 649 F.3d at 1287.

 If the accused infringer meets this burden, the district court must weigh the

 equities to determine whether the applicant’s conduct before the PTO warrants

 rendering the entire patent unenforceable. Id.



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       65.    In its seminal en banc Therasense decision, the Federal Circuit noted

 that the doctrine originated from a line of Supreme Court cases, each dealing with

 “particularly egregious misconduct, including perjury, the manufacture of false

 evidence, and the suppression of evidence.” Id. Subsequent lower court cases

 broadening the doctrine had “numerous unforeseen and unintended

 consequences,” including, “[m]ost prominently,” that the defense “has become a

 significant litigation strategy.” Id. at 1288. The Court decried the fact that

 litigants have flooded the courts with inequitable conduct allegations “routinely

 brought on ‘the slenderest grounds,’” finding that this “has plagued not only the

 courts but also the entire patent system.” Id. at 1289 (citation omitted).

       66.    In an effort to stem that tide, the en banc Court “now tightens the

 standards for finding both intent and materiality in order to redirect a doctrine that

 has been overused to the detriment of the public.” Id. at 1290.

       67.    “[T]he specific intent to deceive must be the single most reasonable

 inference able to be drawn from the evidence. . . . [W]hen there are multiple

 reasonable inferences that may be drawn, intent to deceive cannot be found.” Id.

 at 1290-91 (internal citation omitted).

       68.    There can be no inference of intent to deceive based solely on

 materiality. There must be a deliberate and conscious decision to withhold or

 misrepresent the information. See id. at 1290 (“A district court should not use a



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 ‘sliding scale,’ where a weak showing of intent may be found sufficient based on

 a strong showing of materiality, and vice versa.”).

       69.    Moreover, “[a] finding that the misrepresentation or omission

 amounts to gross negligence or negligence under a ‘should have known’ standard

 does not satisfy this intent requirement.” Id. at 1290.

       70.    “[T]he materiality required to establish inequitable conduct is but-for

 materiality. When an applicant fails to disclose prior art to the PTO, that prior art

 is but-for material if the PTO would not have allowed a claim had it been aware

 of the undisclosed prior art.” Id. at 1291. “But-for” materiality requires “proof

 that the patentee withheld or misrepresented information that, in the absence of

 the withholding or misrepresentation, would have prevented a patent claim from

 issuing.” Ohio Willow Wood Co. v. Alps South, LLC, 735 F.3d 1333, 1345 (Fed.

 Cir. 2013) (citing Therasense, 649 F.3d at 1291). This is a reflection of “basic

 fairness”—a patent should only be rendered unenforceable “in instances where

 the patentee’s misconduct resulted in the unfair benefit of receiving an

 unwarranted claim.” Therasense, 649 F.3d at 1292.

       71.    Therasense recognizes a narrow exception to the requirement of “but

 for” materiality, which applies when “the patentee has engaged in affirmative acts

 of egregious misconduct, such as the filing of an unmistakably false affidavit.”

 649 F.3d at 1292. The exception is a reflection of the earlier Supreme Court



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 cases, “which dealt with ‘deliberately planned and carefully executed scheme[s]’

 to defraud not only the PTO and the courts.” Id. (citation omitted). It is intended

 to apply to “extraordinary circumstances” (id. at 1293), and as such, it is a narrow

 exception, reserved for “truly extreme misdeeds.” Smith & Nephew, Inc. v.

 Interlace Med., Inc., 955 F. Supp. 2d 69, 73 (D. Mass. 2013); see also Scanner

 Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365 (Fed. Cir. 2008)

 (reversing judgment of unenforceability based on allegedly false affidavit);

 Golden Hour Data Sys., Inc. v. emsCharts, Inc., No. 2:06-CV-381-JRG, 2012 WL

 3494366, at *12 (E.D. Tex. Aug. 15, 2012) (noting that this exception “is reserved

 for extreme behavior”).

       72.    “In a case involving nondisclosure of information, clear and

 convincing evidence must show that the applicant made a deliberate decision to

 withhold a known material reference.” Therasense, 649 F.3d at 1292 (citing

 Molins PLC v. Textron, Inc., 48 F.3d 1172, 1181 (Fed. Cir. 1995)).

       73.    “[I]nfectious unenforceability occurs when inequitable conduct

 renders unenforceable claims in a related application” having an immediate and

 necessary relation to the inequitable conduct. Robocast, Inc. v. Apple Inc., 39 F.

 Supp. 3d 552, 570 (D. Del. 2014) (citing Agfa Corp. v. Creo Prods., Inc., 451

 F.3d 1366, 1379 (Fed. Cir. 2006)); Truth Hardware Corp. v. Ashland Prods., Inc.,

 2003 WL 22005839, at *1 (D. Del. Aug. 19, 2003)).



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       74.    “The Federal Circuit has indicated that similar subject matter in

 related patents is not necessarily ‘infectious.’” New Medium LLC v. Barco N.V.,

 No. 05 C 5620, 2009 WL 10695784, at *2 (N.D. Ill. Mar. 18, 2009) (citing

 Pharmacia Corp. v. Par Pharm., Inc., 417 F.3d 1369, 1373-75 (Fed. Cir. 2005)

 (holding that a finding of inequitable conduct did not infect a later patent defining

 a very similar invention and joined to the unenforceable patent by a terminal

 disclaimer)). “An ‘immediate and necessary relation’ requires a relation between

 ‘the inequitable conduct that occurred earlier in the chain’ of the issued patents

 and the ‘targeted claims of the ultimately-issued patent or patents sought to be

 enforced.’” Baxalta Inc. v. Bayer Healthcare LLC, 17-1316-RGA-SRF, 2020

 WL 5445375, at *10 (July 13, 2020) (citing eSpeed, Inc. v. Brokertec USA,

 L.L.C., 417 F. Supp. 2d 580, 595 (D. Del. 2006)).

       75.    “Sharing a parent application, sharing similarities in subject matter,

 and containing a citation to an unenforceable patent are not sufficient to

 automatically suggest infectious unenforceability.” Baxalta, 2020 WL 5445375,

 at *10 (citing IBM v. Priceline Grp., Inc., C.A. No. 15-137-LPS-CJB, 2017 WL

 1349175, at *20 (D. Del. Apr. 10, 2017); Nilssen v. Osram Sylvania, Inc., 440 F.

 Supp. 2d 884, 900 (N.D. Ill. 2006)).

 V.    EXCEPTIONAL CASE




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       76.    Whether this case is an exceptional case within the meaning of 35

 U.S.C. § 285, such that Par is entitled to recover its attorneys’ fees and costs. See

 Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756

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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO
                                               C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                 (Consolidated)

                    Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.

                    Defendants.


             DEFENDANTS’ STATEMENT OF ISSUES OF LAW
                  THAT REMAIN TO BE LITIGATED
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       Pursuant to Local Rule 16.3(c)(5) and the Court’s Scheduling Order

 (D.I. 47), Defendants Amneal EU, Limited, Amneal Pharmaceuticals of New

 York, LLC, Amneal Biosciences LLC, and Amneal Pharmaceutical Pvt. Ltd.

 (collectively, “Amneal” or “Defendants”) respectfully submit the following

 issues of law that remain to be litigated and a citation of representative

 authorities relied upon. Amneal’s submission is based, in part, on its current

 understanding of the positions of the Plaintiffs Par Pharmaceutical, Inc., Par

 Sterile Products, LLC, and Endo Par Innovation Company, LLC (collectively,

 “Par” or “Plaintiffs”) and the proceedings in this action to date.

       In this action, Plaintiffs are currently asserting U.S. Patent No.

 9,744,209 (“the ’209 patent”) and U.S. Patent No. 9,750,785 (“the ’785

 patent”) (collectively, the “Patents-in-Suit”).1 Specifically, Plaintiffs are

 asserting claims 1-8 of the ’209 patent; and claims 1, 5, and 8 of the ’785

 patent (the “Asserted Claims”).

       Amneal reserves the right to amend or supplement this submission after

 considering     Plaintiffs’   submissions,     including     amendments      or



 1
  The Patents-in-Suit share two common inventors and a common chain of
 priority to U.S. Patent No. 9,744,239 (“the ’239 patent”), and therefore may
 be referred to as the '’239 family." Each of these patents also claims priority
 to U.S. Application 14/610,499. Par has not disputed that the Patents-in-Suit
 are not entitled to priority dates earlier than their own filing dates, based on
 their claims of priority to the ’239 patent and ’499 application.
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 supplementation made apparent in pre-trial proceedings, the trial itself, post-

 trial briefing, or otherwise.

       The following statements are not exhaustive, and Amneal reserves the

 right to prove any matters identified in its pleadings, invalidity contentions,

 interrogatory responses, and/or expert reports. In addition, the citation of

 authorities referenced in this document is not intended to be exhaustive.

 Amneal reserves the right to rely on additional authorities in support of its

 defenses and intended proofs. Amneal also reserves the right to rely upon the

 legal authorities cited by Plaintiffs in their corresponding exhibit.

       By including an issue herein, Amneal does not assume the burden of

 proof or production with regard to that issue. For instance, Plaintiffs bear the

 burden of proof with respect to infringement.

       To the extent this exhibit contains issues of fact, they are incorporated

 by reference into Defendants’ Statement of Issues of Fact that Remain to be

 Litigated. To the extent Defendants’ Statement of Issues of Fact that Remain

 to be Litigated contains issues of law, they are hereby incorporated into this

 exhibit.




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  SUBSTANTIVE ISSUES OF LAW REMAINING TO BE LITIGATED
 I.    ISSUES OF CLAIM CONSTRUCTION REMAINING TO BE
       LITIGATED
       1.    The scope of the claim term “the unit dosage form has a pH of

 3.7-3.9” and whether the claim scope covers what is in the prior art or what

 has been dedicated to the public.

 II.   ISSUES OF NONINFRINGEMENT REMAINING TO BE
       LITIGATED
       2.    Whether Plaintiffs have failed to carry their burden of proving by

 a preponderance of the evidence that submission of Amneal’s ANDA No.

 212944 (the “SDV ANDA”) and ANDA No. 212945 (the “MDV ANDA”,

 and collectively with the SDV ANDA, “Amneal’s ANDAs”) infringes “the

 unit dosage form has a pH of 3.7-3.9” limitation of the Asserted Claims of the

 ’209 and ’758 patent under 35 U.S.C. §271(e)(2)(A).

       3.    Whether Plaintiffs have failed to carry their burden of proving by

 a preponderance of the evidence that, if Amneal’s ANDAs were to be

 approved by the FDA, the use, sale, offer for sale, or importation of the drug

 that is the subject of those ANDAs would constitute direct infringement of

 “the unit dosage form has a pH of 3.7-3.9” limitation of any of the Asserted

 Claims of the Patents-in-Suit by Amneal.

       4.    Whether Plaintiffs have failed to carry their burden of proving by

 a preponderance of the evidence that, if Amneal’s ANDAs were to be

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 approved by the FDA, the use of the drug that is the subject of that ANDA

 would constitute direct infringement of “the unit dosage form has a pH of 3.7-

 3.9” limitation of any of the Asserted Claims of the Patents-in-Suit by any

 third parties.

        5.      To the extent Plaintiffs prove direct infringement of the Asserted

 Claims by a third party (rather than by Amneal), whether Plaintiffs have failed

 to carry their burden of proving by a preponderance of the evidence that, if

 Amneal’s ANDAs were to be approved by the FDA, the use, sale, offer for

 sale, or importation of the drug that is the subject of that ANDA will actively

 induce infringement of “the unit dosage form has a pH of 3.7-3.9” limitation

 of any of the Asserted Claims of the Patents-in-Suit.

 III.   ISSUES OF UNENFORCEABILITY REMAINING TO BE
        LITIGATED
        A.      Inequitable Conduct

        6.      Whether Amneal has proven by clear and convincing evidence

 that the ’209 patent is unenforceable due to inequitable conduct before the

 United States Patent and Trademark Office (“PTO”) during prosecution of the

 ’209 patent.

        7.      Whether Amneal has proven by clear and convincing evidence

 that the ’785 patent is unenforceable due to inequitable conduct before the

 PTO during prosecution of the ’785 patent.


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       B.    Infectious Unenforceability

       8.    Whether Amneal has proven by clear and convincing evidence

 that the ’209 patent is unenforceable due to inequitable conduct before the

 PTO during prosecution of the ’239 patent.

       9.    Whether Amneal has proven by clear and convincing evidence

 that the ’785 patent is unenforceable due to inequitable conduct before the

 PTO during prosecution of the ’239 patent.

 IV.   ISSUES OF INVALIDITY REMAINING TO BE LITIGATED
       A.    Anticipation

       10.   Whether claims 1-8 of the ’209 patent are invalid as anticipated

 pursuant to 35 U.S.C. § 102.

       11.   Whether claims 1, 5, and 8 of the ’785 patent are invalid as

 anticipated pursuant to 35 U.S.C. §102.

       B.    Obviousness

       12.   Whether claims 1-8 of the ’209 patent are invalid for obviousness

 pursuant to 35 U.S.C. § 103.

       13.   Whether claims 1, 5, and 8 of the ’785 patent are invalid for

 obviousness pursuant to 35 U.S.C. § 103.




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       14.    Whether Plaintiffs have failed to meet their burden of production

 to demonstrate that the prior art taught away from the claimed inventions

 recited in the Asserted Claims of the Patents-in-Suit.

       15.    Whether Plaintiffs have failed to meet their burden of production

 to demonstrate criticality to overcome the presumption that the Asserted

 Claims of the Patents-in-Suit are invalid as obvious.

       C.     Written Description

       16.    Whether Amneal has proven by clear and convincing evidence

 that the asserted claims of the ’209 patent and the asserted claims of the ’785

 patent, reciting “from about 85% to 100% sequence homology to SEQ ID

 NO.: 1” is invalid for lack of written description pursuant to 35 U.S.C. §

 112(a).

       D.     Enablement

       17.    Whether Amneal has proven by clear and convincing evidence

 that the asserted claims of the ’209 patent and the ’785 patent reciting “from

 about 85% to 100% sequence homology to SEQ ID NO.: 1” is invalid for lack

 of enablement pursuant to 35 U.S.C. § 112(a).

 V.    ISSUES OF REMEDIES REMAINING TO BE LITIGATED
       18.    Whether Amneal is entitled to a judgment that the Asserted

 Claims of the Patents-in-Suit are invalid, unenforceable and/or not infringed.



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       19.    Whether Amneal should be granted an award of Defendant’s

 costs and expenses in this action.

       20.    Whether this is an exceptional case under 35 U.S.C. § 285 such

 that Amneal is entitled to an award of attorneys’ fees.




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                           LEGAL AUTHORITY
 I.    HATCH-WAXMAN BACKGROUND
       21.    Under the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §

 301 et seq. (“FDCA”), the FDA must approve all new drugs before they may

 be distributed in interstate commerce. 21 U.S.C. §355(a). To secure approval

 for a new drug, an applicant may file a New Drug Application (“NDA”) that

 includes, for instance, a full description of the drug and data supporting its

 safety and efficacy, as well as any patents that claim the drug or a method of

 using the drug if a claim of patent infringement could reasonably be asserted.

 Id. at § 355(b)(1); 21 C.F.R § 314.53(b). “The FDA publishes the names of

 approved drugs and their associated patent information in the Approved Drug

 Products with Therapeutic Equivalence Evaluations list, commonly referred

 to as the ‘Orange Book.’” AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042,

 1045 (Fed. Cir. 2010).

       22.    In an effort to increase competition and reduce drug prices,

 statute permits others seeking approval to market a generic version of a

 previously- approved drug (“NDA product”) to file an Abbreviated New Drug

 Application (“ANDA”). An ANDA “allows an applicant to rely on the safety

 and efficacy information for the listed drug if the applicant can show that the




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 generic drug is ‘bioequivalent’ to the listed drug.” Id. (citing 21 U.S.C. §

 355(b)(2), (j)).

       23.    If a proposed generic product (“ANDA product”) is rated

 “Q1/Q2” to a NDA product, the FDA has determined that the ANDA product

 is qualitatively and quantitatively the same as the NDA product, and will not

 require separate bioequivalence studies. 21 C.F.R. § 320.22(b)(1); see also

 id. § 314.94(a)(9)(iii).

       24.    The ANDA must specify the formulation and properties of the

 proposed ANDA product that will be marketed by the applicant, and provide

 specifications for parameters such as pH and impurities in accordance with

 good manufacturing practices.         Id. § 314.94(a)(5)-(7), (9); id. §

 314.50(d)(l)(i)-(ii); see generally 21 C.F.R. §211 et seq. (Current Good

 Manufacturing Practices For Finished Pharmaceuticals).

       25.    Manufacturing specifications define properties the product must

 have throughout the manufacturing process. Id. § 211.110(a)-(c). “Release”

 specifications define properties the product must have on release from

 manufacturing. Id. § 211.165(a), (c)-(f). “Stability” specifications define

 properties the product must have after release and through its shelf life. Id.

 §211.166(a).




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       26.     An ANDA applicant must conduct stability studies to

 demonstrate that its proposed ANDA product will meet its specifications over

 its shelf life. Id. § 211.166. In such studies, the product may be stored under

 various conditions and appropriate measurements taken at regular intervals

 during the product’s shelf life, which are reported to the FDA.          Id. §

 211.166(b).

       27.     Once its ANDA is approved, an ANDA applicant may not

 market a product that does not comply with its ANDA specifications, without

 being subject to strict sanctions. See, e.g., 21 U.S.C. §§ 331(d), 332(a),

 333(a), 334(a)(1), 335b(a)( 1), 335c(a)(l); see also Bayer AG v. Elan Pharm.

 Research Corp., 212 F.3d 1241, 1249-50 (Fed. Cir. 2000).

       28.     Additionally, an ANDA applicant must certify under any one of

 four bases as to why the ANDA product will not infringe a patent: “(i) that

 such patent information has not been filed, (ii) that such patent has expired,

 (iii). . . [the ANDA product will not be released before] the date on which

 such patent will expire, or (iv) that such patent is invalid or will not be

 infringed by the manufacture, use, or sale of the new drug for which the

 application is submitted.” 21 U.S.C. § 355(j)(2)(A)(vii)(i)-(iv).

       29.     A certification of invalidity or noninfringement is called a

 “paragraph IV certification.” If an ANDA applicant certifies under paragraph


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 IV, the applicant must also send a Notice Letter to the NDA holder and owner

 of the patents listed in the Orange Book to inform them of the ANDA and the

 allegations of invalidity and/or noninfringement. Id. § 355(b)(3); 21 C.F.R. §

 314.95(a). Upon receiving the Notice Letter, the patent owner then has 45

 days in which to bring a patent infringement suit, and FDA approval of the

 ANDA product is automatically subject to a 30-month stay. 21 U.S.C. §

 355(c)(3)(C).

 II.   CLAIM CONSTRUCTION
       30.    “It is a ‘bedrock principle’ of patent law that ‘the claims of a

 patent define the invention to which the patentee is entitled the right to

 exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en

 banc), quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc.,

 381 F.3d 1111, 1115 (Fed. Cir. 2004).

       31.    Claims must be construed the same way for determining validity

 and infringement. Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d

 1343, 1351 (Fed. Cir. 2001); Markman v. Westview Instruments, Inc., 52 F.3d

 967, 976, 996 n. 7 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996).

       32.    The words of a claim are generally given their ordinary and

 customary meaning. Phillips, 415 F.3d at 1312.          “[T]he ordinary and

 customary meaning of a claim term is the meaning that the term would have



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 to a person of ordinary skill in the art in question at the time of the invention,

 i.e., as of the effective filing date of the patent application.” Id. at 1313.

       33.    “[T]he person of ordinary skill in the art is deemed to read the

 claim not only in the context of the particular claim in which the disputed term

 appears, but in the context of the entire patent, including the specification.”

 Phillips, 415 F.3d at 1313.

       34.    “[T]he court looks to ‘those sources available to the public that

 show what a person of skill in the art would have understood disputed claim

 language to mean.’” Phillips, 415 F.3d at 1314 quoting Innova, 381 F.3d at

 1116. “Those sources include ‘the words of the claims themselves, the

 remainder of the specification, the prosecution history, and extrinsic evidence

 concerning the relevant scientific principles, the meaning of technical terms,

 and the state of the art.’” Phillips, 415 F.3d at 1314 quoting Innova, 381 F.3d

 at 1116.

       35.    The prosecution history is also part of the intrinsic evidence to

 be considered during claim construction. Phillips, 415 F.3d at 1317. The

 prosecution history “consists of the complete record of the proceedings before

 the PTO and includes the prior art cited during the examination of the patent.”

 Id. “Like the specification, the prosecution history provides evidence of how

 the PTO and the inventor understood the patent.” Id.


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       36.    “[P]ast and future prosecution of related patents may be relevant

 to the construction of a given claim term.” Teva Pharmas. USA, Inc. v.

 Sandoz, Inc., 789 F.3d 1335, 1343 n.5 (Fed. Cir. 2015) (relying on applicant’s

 attorney’s arguments made in subsequent continuation applications).

       37.    The court must “construe the claim as written, not as the

 patentees wish they had written it.” Chef America, 358 F.3d at 1374; see also

 Bayer CropScience AG v. Dow AgroSciences LLC, 728 F.3d 1324, 1332 (Fed.

 Cir. 2013) (“[I]t is hardly unknown for a patentee with an invention that could

 be protected to fail in securing such protection by bad choices in claim

 drafting); Hoganas AB v. Dresser Indus., Inc., 9 F.3d 948, 951 (Fed. Cir.

 1993) (“If Hoganas, who was responsible for drafting and prosecuting the

 patent, intended something different, it could have presented this result

 through clearer drafting. . . . It would not be appropriate for us now to interpret

 the claim differently just to cure a drafting error made by Hoganas. That

 would unduly interfere with the function of claims in putting competitors on

 notice of the scope of the claimed inventions.”).

       38.    An established principle of claim construction is that “different

 claim terms are presumed to have different meanings.” Helmsderfer, 527 F.3d

 at 1382. When a claim term reciting a quantitative value for a specified

 parameter uses qualifying language, such as “about” or “approximately,” and


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 a second claim term does not use a qualifier to describe the same parameter,

 the absence of the modifier supports narrowly construing the second term to

 its precise recitation. See Takeda Pharm. Co., Ltd. v. Zydus Pharm. USA, Inc.,

 743 F.3d 1359, 1365 (Fed. Cir. 2014) (construing “400 μm or less” to mean

 “precisely 400 μm or less” where the inventors did use the term “about” to

 describe other numerical parameters in the claim); see also Jeneric/Pentron,

 Inc. v. Dillon Co., Inc., 205 F.3d 1377, 1381 (Fed. Cir. 2000); see also Cobalt

 Boats, LLC v. Brunswick Corp., 773 F. App’x 611, 616 (Fed. Cir. 2019)

 (“Where a precise value is included in the claim without a term such as

 ‘about,’ we interpret the claim language as imposing a strict numerical

 boundary, absent evidence that such a construction would be inconsistent with

 the intrinsic evidence.”); Noven Pharm., Inc. v. Amneal Pharm. LLC, No. CV

 18-699-LPS, 2019 WL 1102681, at *4 (D. Del. Mar. 8, 2019) (rejecting the

 proposed construction that “coat weight of greater than 10 mg/cm 2” means

 “coat weight of greater than or equal to 9.5 mg/cm2” because “[t]he absence

 of ‘about’ gives this term sufficient precision require [sic] no additional

 construction”).

       39.    Where a claimed numerical parameter is alleged by the patentee

 to be critical to the purported invention, that numerical parameter should be

 narrowly construed. See Conopco, Inc. v. May Dep’t Stores Co., 46 F.3d


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 1556, 1561 (Fed. Cir. 1994) (finding error with the district court’s broad

 construction of “about 40:1,” when the patentees “emphasized the criticality

 of the claimed ratio” during prosecution); see also Andersen Corp. v. Fiber

 Composites, LLC, 474 F.3d 1361, 1367 (2007) (citations omitted) (narrowly

 construing “composite composition” to require a specific processing step

 where the specification stated that the step was a “critical element”).

 III.   NONINFRINGEMENT
        40.   “The patentee bears the burden of proving infringement by a

 preponderance of the evidence.” Vanda Pharm. Inc. v. W.-Ward Pharm. Int’I

 Ltd., 887 F.3d 1117, 1125 (Fed. Cir. 2018); accord, Takeda Pharm. Co. v.

 Teva Pharm. USA, Inc., 668 F. Supp. 2d 614, 619 (D. Del. 2009) (“The patent

 owner has the burden of proving infringement and must meet its burden by a

 preponderance of the evidence.”).

        41.   Mere speculation cannot satisfy the patentee’s burden of proof.

 See, e.g., Brigham & Women’s Hosp., Inc. v. Perrigo Co., 761 F. App’x 995,

 1003-04 (Fed. Cir. 2019) (“At most, the study suggests that Pepcid

 Complete® might provide immediate and sustained relief; such speculative

 data, however, cannot sustain Brigham’s burden of proof.”).




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       42.    An invalid claim cannot be infringed. See Richdel, Inc. v.

 Sunspool Corp., 714 F.2d 1573, 1580 (Fed. Cir. 1983) (“The claim being

 invalid there is nothing to be infringed.”).

       A.     Infringement Under Hatch-Waxman

       43.    The filing of an ANDA application constitutes an “artificial act

 of infringement for purposes of establishing jurisdiction in the federal courts”

 under 35 U.S.C. § 271(e)(2), as the ANDA precedes any product that could

 constitute actual infringement under § 271(a). Glaxo Grp. Ltd. v. Apotex, Inc.,

 376 F.3d 1339, 1551 (Fed. Cir. 2004); see also Eli Lilly & Co. v. Medtronic,

 Inc., 496 U.S. 661, 676 (1990) (same); 35 U.S.C. § 271(e)(2) (“It shall be an

 act of infringement to submit (A) an application under section 505(j) of the

 Federal Food, Drug, and Cosmetic Act or described in section 505(b)(2) of

 such Act for a drug claimed in a patent or the use of which is claimed in a

 patent.”).

       44.    The filing of an ANDA, however, does not by itself prove

 infringement. See Ferring B.V. v. Watson Labs., Inc.-Fla., 764 F.3d 1401,

 1408 (Fed. Cir. 2014) (Ferring II) (“The district court here thus erred to the

 extent that it read § 271(e) to mean that [defendant’s] act of filing an ANDA,

 by itself, established] infringement. . . . The filing only constituted a technical

 act of infringement for jurisdictional purposes.”).


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       45.    Nor does the analysis under § 271(e)(2) “alter a patentee’s

 burden of proving infringement” by a preponderance of the evidence. Glaxo,

 Inv. v. Novopharm, Ltd., 110 F.3d 1562, 1567 (Fed. Cir. 1997). That burden

 always remains with the patent owner. See Tech. Licensing Corp. v. Videotek,

 Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008) (noting that the “burden to prove

 infringement” never shifts from the plaintiff); Amgen Inc. v. Apotex Inc., 712

 F. App’x 985, 993 (Fed. Cir. 2017) (noting it is not the accused infringer’s

 “burden to prove non-infringement”).

       46.    In Hatch-Waxman cases, the question of infringement is a

 hypothetical one; “[t]he relevant inquiry is whether the patentee has proven

 by a preponderance of the evidence that the alleged infringer will likely market

 an infringing product. What is likely to be sold, or, preferably, what will be

 sold, will ultimately determine whether infringement exists.” Glaxo, 110 F.3d

 at 1570 (emphasis added).

       47.    It is “the ANDA itself [that] dominates th[is] analysis.” Ferring

 II, 764 F.3d at 1408; accord, Glaxo, 110 F.3d at 1569 (“[T]his hypothetical

 inquiry is properly grounded in the ANDA application and the extensive

 materials typically submitted in its support.”).

       48.    Where “the ANDA is to sell a well-defined compound, then the

 ultimate question of infringement is usually straightforward.” Bayer AG v.


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 Elan Pharm. Research Corp., 212 F.3d 1241, 1249 (Fed. Cir. 2000) (internal

 quotation marks and brackets omitted) (finding no infringement based entirely

 on defendant’s ANDA). That is, in instances where the ANDA specification

 “directly resolves the infringement question because it defines a proposed

 generic product in a manner that either meets the limitations of an asserted

 patent claim or is outside the scope of such a claim,” the inquiry ends. Ferring

 II, 764 F.3d at 1408; accord, Ferring B.V. v. Watson Labs., Inc.-Fla., 764 F.3d

 1382, 1389 (Fed. Cir. 2014) (Ferring I) (affirming district court’s

 determination of no infringement, finding that the “ANDA specification

 speaks directly to the question of infringement and would not permit [the

 ANDA filer] to market an infringing product”).

       49.    The hypothetical inquiry does not consider speculative

 allegations that an ANDA product may undergo changes, or the ANDA may

 be revised, at some point in the future. See Bayer AG v. Biovail Corp., 279

 F.3d 1340, 1349 (Fed. Cir. 2002) (endorsing the district court’s view that “‘[i]t

 is not enough for [the patentee] to suggest that the accused product may be

 infringing at some point in the future [due to changes in its properties]. The

 relevant test is whether [the applicant’s] drug, if put on the market, would

 infringe [the] patent.’”); see also AstraZeneca Pharm. LP v. Apotex Corp.,

 669 F.3d 1370, 1380-81 (Fed. Cir. 2012) (rejecting arguments that future


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 amendments to an ANDA may result in infringement, and finding that

 “[s]ection 271(e)(2) does not encompass ‘speculative’ claims for

 infringement. . . . Regardless what may or may not occur in the future, the

 infringement analysis under § 271(e)(2) is limited to whether the accused

 infringer’s ANDA seeks approval for activities that would constitute

 infringement of the asserted patents.”) (citations omitted); Par Pharm., Inc. v.

 Luitpold Pharm., Inc., 2017 WL 452003, at *6 (D.N.J. Feb. 2, 2017)

 (“Because Par’s claim is entirely premised on speculation that future,

 uncertain amendments to Luitpold’s ANDA will infringe Par’s patents, and

 there is no question that the drug specified in Luitpold’s ANDA does not

 infringe the Patents-in-Suit, judgment in favor of Luitpold is warranted.”).

       50.    Data submitted alongside the ANDA, even data tending to show

 infringement, is generally irrelevant when the specification “directly

 addresses the question of infringement.”          Bayer, 212 F.3d at 1249

 (“[Plaintiff’s] focus on the biobatch [data], whose test data was submitted with

 [defendant’s] ANDA, is misplaced for two reasons. First, the [FDCA]

 specifically provides an ANDA applicant immunity from allegations of

 infringement for acts that are necessary in preparing an ANDA. . . . Second,

 the specification in [defendant’s] ANDA defines its product in a way that

 directly addresses the question of infringement.”); see also In re Brominidine


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 Patent Litig., 643 F.3d 1366, 1376-77 (Fed. Cir. 2011) (reversing judgment

 of infringement and rejecting reliance on expert testimony regarding testing

 data where the ANDA specified a pH outside the claimed range, finding “the

 highest pH at which Exela will manufacture and sell its proposed product is

 6.7 or Exela will not, legally, market anything at all. . . . We cannot assume

 that Exela will not act in full compliance with its representations to the

 FDA.”).

       51.    In fact, when an ANDA specification does not infringe the patent

 on its face, one of the only times it may be appropriate to rely on extrinsic data

 is when such data shows infringement of the “actual commercial product with

 actual test results,” in spite of the non-infringing specification. Biovail, 279

 F.3d at 1349. In such cases, the inquiry no longer concerns “what [the

 defendant] will likely market, but what [the defendant] has actually

 marketed.” Id. (emphasis added); cf. Tyco Healthcare Grp. LP v. Mutual

 Pharm. Co., 762 F.3d 1338, 1344 (Fed. Cir. 2014) (noting, in the context of

 Noerr-Pennington immunity from antitrust liability, that “it is not

 unreasonable for a patent owner to allege infringement under section

 271(e)(2)(A) if the patent owner has evidence that the as-marketed

 commercial ANDA product will infringe, even though the hypothetical

 product specified in the ANDA could not infringe.” (emphasis added)).


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       52.    In the context of the hypothetical inquiry (not actual

 infringement by an actual commercial product), only when “the ANDA

 specification does not resolve the infringement question in the first instance”

 do courts look to additional evidence, such as “biobatch data [or] actual

 samples of the proposed generic composition that the ANDA filer had

 submitted to the FDA.” Ferring II, 764 F.3d at 1409; see also Bayer, 212

 F.3d at 1250 (if the ANDA specification does “not define the compound in a

 manner that directly addresse[s] the issue of infringement,” other data may

 then be considered); Glaxo, 110 F.3d at 1569-70 (looking to testing data when

 the drug product could exist in two forms only because the ANDA

 specification did address which form would be present in the likely ANDA

 product). Even then, reliance on “outliers” and “anomalies” in biobatch data

 cannot satisfy a patentee’s burden to “prove[] infringement by a

 preponderance of the evidence. . . .” Ferring II, 764 F.3d at 1409-10.

       B.     Direct Infringement

       53.    Under Section 271(a), “whoever without authority makes, uses,

 offers to sell, or sells any patented invention, within the United States or

 imports into the United States any patented invention during the term of the

 patent therefor, infringes the patent.” 35 U.S.C. § 271(a).




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       54.    Determining direct infringement requires a two-step inquiry.

 Step one is to construe the disputed terms of the patent at issue; step two is to

 compare the accused products with the properly construed claims of the

 patent. Alza Corp. v. Andrx Pharm., LLC, 607 F. Supp. 2d 614, 623 (D. Del.

 2009). Step one is a question of law; step two is a question of fact. Id.; see

 also Wavetronix v. EIS Elec. Integrated Sys., 573 F.3d 1343, 1354 (Fed. Cir.

 2009).

       55.    For method patents, direct infringement can occur only where

 “all steps of a claimed method are performed by or attributable to a single

 entity.” Akamai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022

 (Fed. Cir. 2015) (en banc) (citing BMC Res., Inc. v. Paymentech, L.P., 498

 F.3d 1371, 1379-81 (Fed. Cir. 2007)).

       56.    “Literal infringement occurs when each element of at least one

 claim of the patent is found in the alleged infringer’s product.” Alza, 607 F.

 Supp. 2d at 623; see also Microsoft Corp. v. GeoTag, Inc., 817 F.3d 1305,

 1313 (Fed. Cir. 2016). “If any claim limitation is absent from the accused

 device, there is no literal infringement as a matter of law.” Bayer AG v. Elan

 Pharm. Research Corp., 212 F.3d 1241, 1247 (Fed. Cir. 2000); Glaxo Inc. v.

 Novopharm, Ltd., 110 F.3d 1562, 1566 (Fed. Cir. 1997) (“It is elementary




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 patent law that all limitations are material,” and plaintiffs are “required to

 establish the presence of each limitation of the asserted claims”).

       C.     Induced Infringement

       57.    “Whoever actively induces infringement of a patent shall be

 liable as an infringer.” 35 U.S.C. § 271(b).

       58.    “[Liability for induce[d infringement] must be predicated on

 direct infringement.” Limelight Networks, Inc. v. Akamai Techs., Inc., 572

 U.S. 915, 921 (2014). In other words, the patent owner must show that the

 alleged infringer, with knowledge of the asserted patents, “knowingly aided

 and abetted” another’s direct infringement. Takeda Pharm. U.S.A., Inc. v. W.-

 Ward Pharm. Corp., 785 F.3d 625, 630 (Fed. Cir. 2015). “[I]n the ANDA

 context, it is well-established that ‘mere knowledge of possible infringement

 by others does not amount to inducement; specific intent and action to induce

 infringement must be proven.’” Id. at 631; see also DSU Med. Corp. v. JMS

 Co., 471 F.3d 1293, 1305 (Fed. Cir. 2006) (“[I]nducement requires that the

 alleged infringer knowingly induced infringement and possessed specific

 intent to encourage another’s infringement.”) (internal quotations omitted);

 Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1363 (Fed. Cir. 2003)

 (“[P]roof of actual intent to cause the acts which constitute the infringement

 is a necessary prerequisite to finding active inducement.”).


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       59.    “[The] sale of a lawful product by lawful means, with the

 knowledge that an unaffiliated, third party may infringe, cannot, in and of

 itself, constitute inducement of infringement.” Dynacore Holdings Corp. v.

 U.S. Philips Corp., 363 F.3d 1263,1276 n. 6 (Fed. Cir. 2004) (internal

 quotation marks and citation omitted). Rather, “plaintiff has the burden of

 showing that the alleged infringer’s actions induced infringing acts and that

 he knew or should have known his actions would induce actual

 infringements.” Manville Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544,

 553 (Fed. Cir. 1990). “[T]he patentee must show that the accused inducer

 took an affirmative act to encourage infringement with the knowledge that the

 induced acts constitute patent infringement.” Power Integrations, Inc. v.

 Fairchild Semiconductor, 843 F.3d 1315, 1332 (Fed. Cir. 2016); accord, DSU

 Med., 471 F.3d at 1306 (This requires “more than just intent to cause the acts

 that produce direct infringement”; rather, the patentee must prove that an

 accused infringer has “an affirmative intent to cause direct infringement”)

 (emphasis added). Stated differently, the patentee is “required to prove that:

 (1) a third party directly infringed the asserted claims of the . . . patents; (2)

 [the alleged infringer] induced those infringing acts; and (3) [the alleged

 infringer] knew the acts it induced constituted infringement.” Id.




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       60.    In the ANDA context, “[t]he mere existence of direct

 infringement by physicians, while necessary to find liability for induced

 infringement, is not sufficient for inducement.” Takeda, 785 F.3d at 631; see

 also, e.g., United Therapeutics Corp. v. Sandoz, Inc., V.S. No. 12-CV-01617,

 2014 WL 429153, at *21 (D.N.J. Aug. 29, 2014) (“It is not enough that ‘a user

 following the instructions may end up’ practicing the patented method.”).

 “This requirement of inducing acts is particularly important in the Hatch-

 Waxman Act context because the statute was designed to enable the sale of

 drugs for non-patented uses even though this would result in some off-label

 infringing uses.” Takeda, 785 F.3d at 631.

       61.    As such, “in the Hatch-Waxman Act context where . . . it is

 alleged that the drug label induces infringement by physicians,” “[t]he label

 must encourage, recommend, or promote infringement.” Takeda, 785 F.3d at

 631. It is not enough that the “instructions describe the infringing mode.” Id.

 (internal quotation marks and brackets omitted); accord Eli Lilly & Co. v.

 Teva Parenteral Meds., Inc., 845 F.3d 1357, 1368 (Fed. Cir. 2017);

 Grunenthal GMBH v. Alkem Labs. Ltd., 919 F.3d 1333, 1339-40 (Fed. Cir.

 2019) (claims directed to a method of using tapentadol and tapentadol

 hydrochloride for the treatment of polyneuropathic pain were not directly or

 indirectly infringed by drug manufacturer, where the accused infringer’s


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 proposed label did not indicate its drug product was to be used to treat

 polyneuropathic pain).

       62.    “[V]ague label language cannot be combined with speculation

 about how physicians may act to find inducement.” Takeda, 785 F.3d at 632.

 Indeed, “where a product has substantial non-infringing uses, intent to induce

 infringement cannot be inferred even when the defendant has actual

 knowledge that some users of its product may be infringing the patent.” Vita-

 Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1329 (Fed. Cir. 2009)

 (citation omitted); accord, Warner-Lambert, 316 F.3d at 1365. At bottom,

 there can be no inducement simply because “a user following the instructions

 may end up using the device in an infringing way.” Vita-Mix, 581 F.3d at

 1329 n.2.

       63.    A use that is permitted but not necessarily required by the label

 may not amount to inducement. See Shire LLC v. Amneal Pharm., LLC, C.A.

 No. 11-3781 (SRC), 2014 WL 2861430 at *4-5 (D.N.J. June 23,2014), aff’d,

 802 F.3d 1301 (Fed. Cir. 2015) (finding a label that instructed administration

 with or without food did not induce infringement of a patent that required

 administration with food); see also In re Depomed Patent Litig., C.A. No. 13-

 4507 (CCC-MF), 2016 WL 7163647 at *58, *63-64 (D. N. J. Sept. 30, 2016),

 aff’d sub. nom. Grunenthal GmbH v. Alkem Labs. Ltd., 919 F.3d 1333 (Fed.


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 Cir. 2019) (finding a label that instructed administration for numerous

 reasons, including polyneuropathic pain, did not induce infringement of a

 patent that required for polyneuropathic pain, as the label did not cause its use

 for that purpose). Labeling instructions that demonstrate “indifference to the

 administration of the ANDA products [according to the claimed method]” do

 not “actively encourage or direct such administration.” Otsuka Pharm. Co. v.

 Torrent Pharm. Ltd., 99 F. Supp. 3d 461, 493-94 (D.N.J. 2015).

       D.     Divided Infringement

       64.    Whereas direct infringement involves a single actor performing

 the entire claimed method, “[w]here more than one actor is involved in

 practicing the steps, a court must determine whether the acts of one are

 attributable to the other such that a single entity is responsible for the

 infringement.” Akamai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d

 1020, 1022 (Fed. Cir. 2015) (en banc). To establish inducement of claim, a

 patentee must demonstrate “that joint direct infringement would occur, which

 requires that ‘the acts of one are attributable to the other such that a single

 entity is responsible for the infringement.’” Pernix Ire. Pain DAC v. Alvogen

 Malta Operations Ltd., 323 F. Supp. 3d 566, 578 (D. Del. 2018) (quoting

 Akamai Techs., 797 F.3d at 1022).




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       65.    A “court will not ‘unilaterally restructure the claim or the

 standards for joint infringement to remedy [ ] ill-conceived claims’ requiring

 multiple parties to perform different acts within one claim.” CBA Envtl.

 Servs., Inc. v. Toll Brothers Inc., 403 F. Supp. 3d 403, 418 (D.N.J. 2019)

 (alteration in original) (citation omitted).

       66.    “[A]n entity responsible for others’ performance of method steps

 in two sets of circumstances: (1) where that entity directs or controls others’

 performance, and (2) where the actors form a joint enterprise.” Akamai

 Techs., 797 F.3d at 1022.

       67.    To pursue a joint enterprise theory, the patent holder must allege

 facts sufficient to substantiate four elements: “(1) an agreement, express or

 implied, among the members of the group; (2) a common purpose to be carried

 out by the group; (3) a community of pecuniary interest in that purpose, among

 the members; and (4) an equal right to a voice in the direction of the enterprise,

 which gives an equal right of control.” Sonrai Sys., LLC v. AMCS Grp. Inc.,

 C.A. No. 16 C 9404, 2017 WL 4281122, at *4 (N.D. Ill. Sept. 27, 2017)

 (quoting Akamai Techs., 797 F.3d at 1023).

       68.    “Under either the agency or joint enterprise theories of direct

 infringement, [one entity] would have to exercise a degree of control over . .

 . the other entity allegedly involved in the infringement: for an agency theory,


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 the authority of a principal, or for a joint enterprise, an equal voice in the

 direction of the enterprise.” Sonrai Sys., 2017 WL 4281122, at *6.

       69.    As such, to determine whether the “entity directs or controls”

 another’s performance, courts will apply the general principles of vicarious

 liability, including whether the entity “acts through an agent (applying

 traditional agency principles)” or through a contract “to perform one or more

 steps of the claimed method.” Akamai Techs., 797 F.3d at 1022-23. “The

 ‘control or direction’ standard is ‘satisfied in situations where the law would

 traditionally hold the accused direct infringer vicariously liable for the acts

 committed by another party that are required to complete performance of a

 claimed method.’” CBA Envtl., 403 F. Supp. 3d at 418 (citation omitted).

       70.    “Direction and control can be shown where an actor ‘(1)

 conditions participation in an activity or receipt of a benefit” upon others’

 performance of one or more steps of a patented method,’ and (2) ‘establishes

 the manner or timing of that performance.’” Pernix Ire., 323 F. Supp. 3d at

 580 (quoting Akamai Techs., 797 F.3d at 1023). “Accordingly, the ‘direction

 or control’ test requires the controlling party to be, in effect, the ‘mastermind’

 of the entire process.” CBA Envtl., 403 F. Supp. 3d at 418 (citation omitted).

       71.    A “contractual relationship between [two entities] is not

 sufficient, by itself, to state a claim for joint-direct infringement: the test for


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 direction and control is analogous to the test for vicarious liability, and a

 contracting party is not vicariously liable for the actions of an independent

 contractor unless that party controls the details of the independent contractor’s

 work to such an extent that the contractor cannot perform the work as he

 chooses.” CBA Envtl., 403 F. Supp. 3d at 418. “Moreover, the existence of a

 contractual relationship may, in some instances, be suggestive of one party’s

 control and direction, but the necessary level of control ‘requires more than a

 general right to order work stopped or resumed, to inspect its process or to

 receive reports, to make suggestions or recommendations which need not

 necessarily be followed, or to prescribe alterations and deviations . . . .’” Id.

 at 419 (alterations in original) (citation omitted).

       72.    “[M]ere ‘arms-length cooperation’ will not give rise to a claim

 for joint- direct infringement.” CBA Envtl., 403 F. Supp. 3d at 418.

 IV.   UNENFORCEABILITY
       A.     Inequitable Conduct

       73.    Inequitable conduct is an equitable defense to patent

 infringement. Therasense Inc. v. Becton Dickinson & Co., 649 F.3d 1276,

 1285 (Fed. Cir. 2011). A finding of “fraud,” “inequitable conduct,” or

 violation of duty of disclosure with respect to any claim in an application or

 patent, renders all the claims thereof unpatentable or invalid. See id. at 1288.



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 “[Unequitable conduct infects the invention itself, and all claims which form

 a part of that invention.” Robocast, Inc. v. Microsoft Corp., 21 F. Supp. 3d

 320, 338 (D. Del. 2014). As such, “the taint of a finding of inequitable

 conduct can spread from a single patent to render unenforceable other related

 patents and applications in the same technology family.” Therasense, 649

 F.3d at 1288 (citing Consol. Aluminum Corp. v. Foseco Int’l Ltd., 910 F.2d

 804, 808-12 (Fed. Cir. 1990)); see also eSpeed Inc. v. Brokertec USA LLC,

 417 F. Supp. 2d 580, 595 (D. Del. 2006) (inequitable conduct during the

 prosecution of a patent application “can therefore render unenforceable . . .

 claims that issue from related applications as well”), aff’d, 480 F.3d 1129

 (Fed. Cir. 2007).

       74.    Evidence “that the patent applicant (1) misrepresented or omitted

 information material to patentability, and (2) did so with specific intent to

 mislead or deceive” the PTO requires a finding that the patent is unenforceable

 due to inequitable conduct. Intellect Wireless, Inc. v. HTC Corp., 732 F.3d

 1339, 1341–42 (Fed. Cir. 2013); accord, Ohio Willow Wood Co. v. Alps South,

 LLC, 735 F.3d 1333, 1344 (Fed. Cir. 2013). The determination of inequitable

 conduct is a flexible doctrine based on the Court’s equitable powers, which is

 “not bound by formula or restrained by any limitation that tends to trammel




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 the free and just exercise of discretion.” Keystone Driller Co. v. Gen.

 Excavator Co., 290 U.S. 240, 245–46 (1933).

              1.     Patentee’s Duty of Candor

        75.   The duty owed to the PTO includes those whose “involvement

 relates to the content of the application or decisions related thereto, and . . . is

 not wholly administrative or secretarial in nature.” Avid Identification Sys.,

 Inc. v. Crystal Imp. Corp., 603 F.3d 967, 974 (Fed. Cir. 2010). The person

 who misrepresents or omits material information can be an inventor,

 prosecuting attorney, or a person otherwise “substantively involved in the

 preparation or prosecution of the [patent] application.” Id. at 973. The proper

 resolution of inequitable conduct requires evaluating the actions of all

 involved. See, e.g., Trans Web, LLC v. 3M Innovative Props. Co., 16 F. Supp.

 3d 385, 406-07 (D.N.J. 2014) (“[T]he actions of other 3M employees—

 Rousseau, Legare, Nagel, Lyons, and others—provide strong corroborating

 evidence of the inequitable conduct of Jones and Hanson.”), aff’d, 812 F.3d

 1295 (Fed. Cir. 2016). The Court’s determination of inequitable conduct

 should not be “bound by formula” and need not be adjudicated with respect

 to each individual in isolation. Keystone Driller, 290 U.S. at 245-46.

        76.   All individuals covered by 37 C.F.R. § 1.56 have a duty to

 disclose to the PTO all material information they are aware of, regardless of


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 the source of or how they become aware of the information. See Brasseler,

 U.S.A. I, L.P. v. Stryker Sales Corp., 267 F.3d 1370, 1383 (Fed. Cir. 2001)

 (“Once an attorney, or an applicant has notice that information exists that

 appears material and questionable, that person cannot ignore that notice in an

 effort to avoid his or her duty to disclose.”).

              2.     Materiality

       77.    Materiality is established if the PTO would not have issued the

 claim if it had been aware of the omitted or misrepresented information.

 Aventis Pharma S.A. v. Hospira, Inc., 675 F.3d 1324, 1334 (Fed. Cir. 2012)

 (quoting Therasense, 649 F.3d at 1291).

       78.    The materiality required to establish inequitable conduct is “but-

 for” materiality. Aventis Pharma, 675 F.3d at 1334 (citing Therasense, 649

 F.3d at 1291).      However, but-for materiality need not be shown for

 “affirmative acts of egregious misconduct.” See Therasense, 649 F.3d at

 1292-93 (contrasting against “mere nondisclosure of prior art” and deliberate

 omission by “fail[ing] to mention prior art references in an affidavit”). Indeed,

 but-for materiality is presumed where “the patentee has engaged in

 affirmative acts of egregious misconduct, such as the filing of an

 unmistakably false affidavit.” Therasense, 649 F.3d at 1292-93 (citing Rohm

 & Haas Co. v. Crystal Chern. Co., 722 F.2d 1556, 1571 (Fed. Cir. 1983)


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 (“there is no room to argue that submission of false affidavits is not

 material”)); see also Ohio Willow Wood, 735 F.3d at 1345. “After all, a

 patentee is unlikely to go to great lengths to deceive the PTO with a falsehood

 unless it believes that the falsehood will affect issuance of the patent.”

 Therasense, 649 F.3d at 1292.

       79.    Because the PTO applies a preponderance of the evidence

 standard and gives claims their broadest reasonable interpretation, a defendant

 can show materiality under a preponderance of the evidence standard even if

 the issued claims are not invalidated by clear and convincing evidence at trial.

 Aventis Pharma, 675 F.3d at 1334 (citing Therasense, 649 F.3d at 1291-92).

       80.    The selective disclosure of material information to other

 recipients, but not to the PTO, supports the inference that an inventor

 understood the importance of the material and withheld it from the PTO with

 deceptive intent. See Bruno Indep. Living Aids, Inc. v. Acorn Mobility Servs.

 Ltd., 394 F.3d 1348, 1354 (Fed. Cir. 2005); A.B. Dick Co. v. Burroughs Corp.,

 798 F.2d 1392, 1399 (Fed. Cir. 1986).

       81.    A finding of patent validity does not bind the Court’s decision on

 materiality. As the Federal Circuit in American Calcar v. American Honda

 Motor Co. stated:

       This court held in Therasense that the standard for ‘the
       materiality required to establish inequitable conduct is but-for

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       materiality.’ In particular, undisclosed prior art is ‘but-for
       material if the PTO would not have allowed a claim had it been
       aware of it. This means that to assess materiality, the court must
       look to the standard used by the PTO to allow claims during
       examination. To wit: ‘The court should apply the preponderance
       of the evidence standard and give claims their broadest
       reasonable construction.’ District courts and the PTO employ
       different evidentiary standards and rules for claim construction.
       Therefore, ‘even if a district court does not invalidate a claim
       based on a deliberately withheld reference, the reference may be
       material if it would have blocked patent issuance under the
       PTO’s different evidentiary standards.’ The jury’s verdict
       finding the patents at issue non-obvious thus does not weigh on
       the determination of materiality for inequitable conduct, and
       indeed, Calcar does not make any arguments on appeal that rely
       on the jury’s determination.
 768 F.3d 1185, 1189 (Fed. Cir. 2014) (internal citations omitted).
       82.    Even though the attorney, agent, or applicant does not consider a

 reference or information necessarily material, “where the materiality of the

 information is uncertain, disclosure is required.” Brasseler, 267 F.3d at 1386;

 see also, e.g., LaBounty Mfg., Inc. v. U.S. Int’l Trade Comm’n, 958 F.2d 1066,

 1076 (Fed. Cir. 1992).

              3.    Intent to Deceive

       83.    Inequitable conduct has occurred when a patent applicant has

 “misrepresented or omitted material information with the specific intent to

 deceive the PTO.” Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d

 1276, 1287 (Fed. Cir. 2011). The determination of inequitable conduct is a

 flexible doctrine based on the Court’s equitable powers, which is “not bound

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 by formula or restrained by any limitation that tends to trammel the free and

 just exercise of discretion.” Keystone Driller Co. v. Gen. Excavator Co., 290

 U.S. 240, 245–46 (1933).

       84.    “Inequitable conduct is an equitable defense to patent

 infringement.” Regeneron Pharm., Inc. v. Merus N.V., 864 F.3d 1343, 1350

 (Fed. Cir. 2017) (quoting Therasense, 649 F.3d at 1285). The defendant

 proves inequitable conduct “by clear and convincing evidence that the patent

 applicant (1) misrepresented or omitted information material to patentability,

 and (2) did so with specific intent to mislead or deceive the PTO.” Ohio

 Willow Wood Co. v. Alps South, LLC, 735 F.3d 1333, 1344 (Fed. Cir. 2013).

 Materiality and intent are separate requirements. Regeneron Pharm., 864

 F.3d at 1351 (citing Therasense, 649 F.3d at 1290). “The accused infringer

 must prove both elements—intent and materiality—by clear and convincing

 evidence.” Therasense, 649 F.3d at 1287.

       85.    Materiality is established if the Patent Office would not have

 issued a claim if it had been aware of the omitted or misrepresented

 information. Aventis Pharma S.A., 675 F.3d at 1334 (quoting Therasense, 649

 F.3d at 1291). Prior art that would have anticipated a claim or rendered it

 obvious is material information. See Therasense , 649 F.3d at 1291–92

 (“When an applicant fails to disclose prior art to the PTO, that prior art is but-


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 for material if the PTO would not have allowed a claim had it been aware of

 the undisclosed prior art.”); see also Sig Sauer, Inc. v. Freed Designs, Inc.,

 No. 14-CV-461-SM, 2017 WL 4119046, at *5 (D.N.H. Mar. 17, 2017)

 (determining prior art that anticipates asserted claims “is the start and end of

 the court’s materiality analysis”); DS Smith Plastics Ltd. v. Plascon

 Packaging, Inc., No. 15 C 5760, 2016 WL 69632, at *5 (N.D. Ill. Jan. 6, 2016)

 (“The fact that the counterclaim does not even recite the words ‘anticipated’

 or ‘obvious,’ . . . does not alter the basic doctrinal (or common-sense)

 requirements for but-for materiality.”).

       86.    Intent is established by a showing of clear and convincing

 evidence that the patentee: “[1] knew of the reference, [2] knew that it was

 material, and [3] made a deliberate decision to withhold it.” Therasense, 649

 F.3d at 1290. “[T]he specific intent to deceive must be ‘the single most

 reasonable inference able to be drawn from the evidence.’” Id. (quoting Star

 Sci. v. R.J. Tobacco, 537 F.3d 1357, 1366 (Fed. Cir. 2008)); see GS Cleantech

 Corp. v. Adkins Energy LLC, 951 F.3d 1310, 1329–32 (Fed. Cir. 2020)

 (affirming finding of inequitable conduct where material prior art reference

 was intentionally withheld from the patent office); Monsanto Co., 514 F.3d at

 1240–42 (holding that an inference of intent to deceive can be drawn where

 patent applicant lacks a credible reason for nondisclosure).


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       87.    “Direct evidence of intent or proof of deliberate scheming is

 rarely available in instances of inequitable conduct, but intent may be inferred

 from the surrounding circumstances.” Critikon, Inc. v. Becton Dickinson

 Vascular Access, Inc., 120 F.3d 1253, 1256 (Fed. Cir. 1997); see also Paragon

 Podiatry Lab., Inc. v. KLM Labs., Inc., 984 F.2d 1182, 1189-91 (Fed. Cir.

 1993) (“‘[S]moking gun’ evidence is not required in order to establish an

 intent to deceive. Rather, this element of inequitable conduct . . . must

 generally be inferred from the facts and circumstances surrounding the

 applicant’s overall conduct.”). “[A] district court may infer intent from

 indirect and circumstantial evidence.” Therasense, 649 F.3d at 1290. “[I]n

 the absence of a credible explanation, intent to deceive is generally inferred

 from the facts and circumstances surrounding a knowing failure to disclose

 material information.” Bruno, 394 F.3d at 1354. Where the single most

 reasonable inference from the circumstantial evidence is intent to deceive,

 specific intent is satisfied. See Therasense, 649 F.3d at 1290; see also Aventis

 Pharma, 675 F.3d at 1335 (“specific intent to deceive must be the single most

 reasonable inference able to be drawn from the evidence” (citations and

 quotations omitted)).

       88.    The Court may take into account circumstances where a

 witness’s “memory of facts was suspiciously selective, and he refused to


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 acknowledge certain incontrovertible events.”       Avid, 603 F.3d at 975.

 Contradictions and shifting explanations are strong evidence of deceptive

 intent. Advanced Magnetic Closures, Inc. v. Rome Fastener Corp., 607 F.3d

 817, 830 (Fed. Cir. 2010) (finding “evasive, argumentative, and at times

 contradictory testimony” evidence of deceptive intent).

       89.    In the absence of a good faith explanation for failing to disclose

 material information, deceptive intent is the single most reasonable inference.

 Critikon, 120 F.3d at 1256-57 (“[A] patentee facing a high level of materiality

 and clear proof that it knew or should have known of that materiality, can

 expect to find it difficult to establish ‘subjective good faith’ sufficient to

 prevent the drawing of an inference of intent to mislead.”); Merck & Co. v.

 Danbury Pharmacal, Inc., 873 F.2d 1418, 1422 (Fed. Cir. 1989) (stating

 intent is often proven by “a showing of acts the natural consequences of which

 are presumably intended by the actor” (citation omitted)).

       90.    “Partial disclosure of material information about the prior art to

 the PTO cannot absolve a patentee of intent if the disclosure is intentionally

 selective.” See Am. Calcar, 768 F.3d at 1190-91 (finding intent where

 Calcar’s founder, Mr. Obradovich, “was not candid about the inventors’

 possession of photographs” of the prior art, and “knew the information was




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 material because he himself acknowledged the importance of the information

 he possessed”).

       91.    Where a prosecuting attorney’s “statements were not mere

 advocacy for a preferred interpretation . . . [but] factual in nature and contrary

 to the true information he had in his possession,” those statements cross “the

 line from legitimate advocacy to genuine misrepresentation of material facts,”

 supporting a finding of inequitable conduct. See Apotex Inc. v. UCB, Inc., 763

 F.3d 1354, 1362 (Fed. Cir. 2014); see also Regeneron Pharm., Inc. v. Merus

 B.V., 144 F. Supp. 3d 530, 583 (S.D.N.Y. 2015) (finding that “incomplete

 and/or inaccurate” statements about scientific data support inequitable

 conduct), aff’d, 864 F.3d 1343 (Fed. Cir. 2017).

       92.    “[I]t can be expected that an innocent party will be motivated to

 try to present convincing reasons for its actions or inaction.” Bruno, 394 F.3d

 at 1354. “[A]n inference of deceptive intent may fairly be drawn in the

 absence of’ any “credible explanation” for nondisclosure or material

 misrepresentation. Id. And “[i]n the absence of a credible explanation, intent

 to deceive is generally inferred from the facts and circumstances surrounding

 a knowing failure to disclose material information.” Id.

       93.    If the accused infringer meets its burden to prove inequitable

 conduct, “then the district court must weigh the equities to determine whether


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 the applicant’s conduct before the PTO warrants rendering the entire patent

 unenforceable.” Therasense, 649 F.3d at 1287. Inequitable conduct related

 to even a “single claim renders the entire patent unenforceable.” Id. at 1288;

 Kingsdown Med. Consultants, Ltd. v. Hollister, Inc., 863 F.2d 867, 874 (Fed.

 Cir. 1988).

       B.      Infectious Unenforceability

       94.     “The duty of candor extends throughout the patent’s entire

 prosecution history. . . . Therefore, a breach of the duty of candor early in the

 prosecution may render unenforceable all claims which eventually issue from

 the same or a related application.” Fox Indus., Inc. v. Structural Pres. Sys.,

 Inc., 922 F.2d 801, 803-04 (Fed. Cir. 1990); see also Agfa Corp. v. Creo

 Prods. Inc., 451 F.3d 1366, 1379 (Fed. Cir. 2006) (holding continuation patent

 unenforceable based on inequitable conduct found in the prosecution of the

 parent application); Nilssen v. Osram Sylvania, Inc., 504 F.3d 1223, 1230

 (Fed. Cir. 2007).

       95.     “The doctrine[] of infectious unenforceability [is] closely related

 to the doctrine of inequitable conduct.” Hoffman-La Roche, Inc. v. Promega

 Corp., 319 F. Supp. 2d 1011, 1017 (N.D. Cal. 2004).                   Infectious

 unenforceability may arise when “an unconscionable act that occurs during

 the prosecution of one patent has an immediate and necessary relation to the


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 equity sought in the prosecution of another patent.” Id. As such, “the taint of

 a finding of inequitable conduct can spread from a single patent to render

 unenforceable other related patents and applications in the same technology

 family.” Therasense, 649 F.3d at 1288. Indeed, “a finding of inequitable

 conduct may endanger a substantial portion of a company’s patent portfolio.”

 Id.

       96.    Infectious unenforceability arises so long as the inequitable

 conduct as to one patent bears “an immediate and necessary relation” to

 enforcement of the related patent. eSpeed, 417 F. Supp. 2d at 595; see also

 Report and Recommendation, Guardant Health, Inc. v. Found. Med., Inc., 1-

 17-CV-01616, D.I. 343 at 8-9 (D. Del. Jan. 7, 2020) (quoting Consol.

 Aluminum, 910 F. 2d at 812). That is, “the inequitable conduct that occurred

 earlier in the chain [of issued patents] ‘must be related to the targeted claims

 of the ultimately-issued patent or patents sought to be enforced.’” eSpeed,

 417 F. Supp. 2d at 595 (quoting Semiconductor Energy Lab., Inc. v. Samsung

 Elecs. Co., 24 F. Supp. 2d 537, 543 (E.D. Va. 1998)); Truth Hardware Corp.

 v. Ashland Prods., Inc., No. 02-1541 GMS, 2003 WL 22005839, at * 1 (D.

 Del. Aug. 19, 2003).       This may include, for instance, a continuation

 application that is not “sufficiently distinct from its parent.” Agfa, 451 F.3d

 at 1379.


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 V.    INVALIDITY
       97.      The burden rests on a party challenging the patent to show

 invalidity by clear and convincing evidence. Microsoft Corp. v. i4i Ltd.

 P’ship, 564 U.S. 91, 100 (2011); Apotex USA, Inc. v. Merck & Co., 254 F.3d

 1031, 1036 (Fed. Cir. 2001). Clear and convincing evidence is evidence that

 “could place in the ultimate factfinder an abiding conviction that the truth of

 [the] factual contentions are ‘highly probable.’” Colorado v. New Mexico,

 467 U.S. 310, 316 (1984); see also Procter & Gamble Co. v. Teva Pharm.

 USA, Inc., 566 F.3d 989, 994 (Fed. Cir. 2009).

       98.      Once the challenging party “has presented a prima facie case of

 invalidity, the patentee has the burden of going forward with rebuttal

 evidence.” Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1360 (Fed. Cir. 2007).

 If the patentee fails to do so, the patent cannot be found valid. See, e.g.,

 Ralston Purina Co. v. Far- Mar-Co., 772 F.2d 1570, 1573 (Fed. Cir. 1985)

 (“If this burden [of making a prima facie case of invalidity] is met, the party

 relying on validity is then obligated to come forward with evidence to the

 contrary.”).

       99.      “The courts are the final arbiter of patent validity and, although

 courts may take cognizance of, and benefit from, the proceedings before the

 patent examiner, the question is ultimately for the courts to decide, without



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 deference to the rulings of the patent examiner.” Quad Envtl. Techs. Corp. v.

 Union Sanitary Dist., 946 F.2d 870, 876 (Fed. Cir. 1991). Any relevant

 evidence, whether or not previously considered by the PTO, can be considered

 by the court in determining validity. Constant v. Advanced Micro-Devices,

 Inc., 848 F.2d 1560, 1571-72 (Fed. Cir. 1988).

       100.   A “commonsense principle that the Federal Circuit has

 recognized throughout its existence” is “that new evidence supporting an

 invalidity defense may carry more weight in an infringement action than

 evidence previously considered by the PTO.” Microsoft Corp., 564 U.S. at

 110 (quotations omitted). While the Supreme Court has “not reach[ed] the

 question whether the failure to disclose [an invalidating prior art reference]

 during the prosecution of [the patent-in-suit] voids the presumption of validity

 given to issued patents,” it “nevertheless . . . note[d] that the rationale

 underlying the presumption—that the PTO, in its expertise, has approved the

 claim—seems much diminished” in that context. KSR Int’l Co. v. Teleflex

 Inc., 550 U.S. 398, 426 (2007).

       A.     Prior Art

       101.   Section 102(a) of the America Invents Act (AIA) provides:

       A person shall be entitled to a patent unless—
          (1) the claimed invention was patented, described in a printed
          publication, or in public use, on sale, or otherwise available to the
          public before the effective filing date of the claimed invention; or

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          (2) the claimed invention was described in a patent issued under
          section 151, or in an application for patent published or deemed
          published under section 122(b), in which the patent or application,
          as the case may be, names another inventor and was effectively filed
          before the effective filing date of the claimed invention.
 35 U.S.C. § 102(a).
       102.    Section 102 does not state the only sources of prior art. In re

 Font, 675 F.2d 297, 300-01 (C.C.P.A. 1982). An inventor’s admission that

 he “had actual knowledge of [a] prior . . . invention . . . constitutes an

 admission that it is prior art to” him. Id. at 301; Baxter Diagnostics Inc. v.

 AVL Sci. Corp., 924 F. Supp. 994, 1007 (C.D. Cal. 1996).

       103.    “Once [a pharmaceutical] formulation was disclosed in full to [a

 third party], without any restriction on its use, it had been released into the

 ‘public domain’ for purposes of § 102[b].” Pronova Biopharm Norge AS v.

 Teva Pharm. USA, Inc., 549 F. App’x 934, 942-43 (Fed. Cir. 2013).

       104.    “Section 102 [a] may create a bar to patentability either alone, if

 the device placed on sale is an anticipation of the later claimed invention or,

 in conjunction with 35 U.S.C. § 103 (1988), if the claimed invention would

 have been obvious from the on-sale device in conjunction with the prior art.”

 LaBounty Mfg., Inc. v. U.S. Int’l Trade Comm’n, 958 F.2d 1066, 1071 (Fed.

 Cir. 1992).




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       105.   “If a product that is offered for sale inherently possesses each of

 the limitations of the claims, then the invention is on sale, whether or not the

 parties to the transaction recognize that the product possesses the claimed

 characteristics.” Abbott Labs. v. Geneva Pharm., Inc., 182 F.3d 1315, 1319

 (Fed. Cir. 1999); see also, e.g., Taro Pharm. U.S.A., Inc. v. Perrigo Isr.

 Pharm. Ltd., C.A. 14-cv-989-RGA, 2015 WL 7737310, at *2 (D. Del. Dec. 1,

 2015) (“In response, Hill argues that Derma-Smoothe cannot possibly

 constitute invalidating prior art, as its formulation was—and still is—secret,

 and therefore could not be ‘known to someone of ordinary skill in the art.’

 The secret nature of Derma-Smoothe does not foreclose its relevance to the §

 103 inquiry.”). “[T]he question is not whether the sale, even a third party sale,

 ‘discloses’ the invention at the time of the sale, but whether the sale relates to

 a device that embodies the invention.” J.A. LaPorte, Inc. v. Norfolk Dredging

 Co., 787 F.2d 1577, 1583 (Fed. Cir. 1986).

       106.   “A bar under § 102[] arises where, before the critical date, the

 invention is in public use and ready for patenting.” E.g., Invitrogen Corp. v.

 Biocrest Mfg., L.P., 424 F.3d 1374, 1379 (Fed. Cir. 2005). “Public use . . .

 includes any use of the claimed invention by a person other than the inventor

 who is under no limitation, restriction or obligation of secrecy to the inventor.”




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 Art+Com Innovationpool GmbH v. Google LLC, 712 F. App’x 976, 980 (Fed.

 Cir. 2017).

       107.    “The fact that the device was not hidden from view may make

 the use not secret but non-secret use is not ipso facto ‘public use’ activity.

 Nor, it must be added, is all secret use ipso facto not ‘public use’ within the

 meaning of the statute, if the inventor is making commercial use of the

 invention under circumstances [that] preserve its secrecy.” New Railhead

 Mfg., LLC v. Vermeer Mfg. Co., 298 F.3d 1290, 1299 (Fed. Cir. 2002)

 (alterations in original) (citations omitted).

       108.    “Beyond this ‘in public use or on sale’ finding, there is no

 requirement for an enablement-type inquiry.” In re Epstein, 32 F.3d 1559,

 1567-68 (Fed. Cir. 1994).

       109.    Placing a composition on sale, including with instructions to

 practice a method, places the method of using those compositions on sale.

 See, e.g., Enzo Biochem, Inc. v. Gen-Probe Inc., 424 F.3d 1276, 1285 (Fed.

 Cir. 2005) (“The shipment to Ortho consisted not only of the GC155 probe,

 but also accompanying instructions as to how to use the probe in the

 hybridization assay. Moreover, given that the composition claims read on

 probes that hybridize with N. gonorrhoeae, carrying out such a hybridization

 assay is inseparable from the compositions themselves. Effectively, the offer


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 to sell the compositions invalidates claims 5 and 6 based on those same

 probes.”).

       110.   Apart from prior art references, “[a]dmissions in the

 specification regarding the prior art are binding on the patentee for purposes

 of a later inquiry into obviousness.” PharmaStem Therapeutics, Inc. v.

 ViaCell, Inc., 491 F.3d 1342, 1362 (Fed. Cir. 2007); Sjolund v. Musland, 847

 F.2d 1573, 1577-79 (Fed. Cir. 1988) (admission in the patent specification

 “must [be] accepted . . . as prior art, as a matter of law”); In re Nomiya, 509

 F.2d 566, 570-71 (C.C.P.A. 1975) (representations in the specification are

 “accepted at face value as admissions” of what is “considered ‘prior art’ for

 any purpose, including use as evidence of obviousness under § 103”).

       111.   Section 102(b)( 1) sets forth limited exceptions to what

 constitutes prior art under § 102(a)(1). It provides:

       A disclosure made 1 year or less before the effective filing date of a
       claimed invention shall not be prior art to the claimed invention under
       subsection (a)(1) if—
          (A) the disclosure was made by the inventor or joint inventor or by
          another who obtained the subject matter disclosed directly or
          indirectly from the inventor or a joint inventor; or
          (B) the subject matter disclosed had, before such disclosure, been
          publicly disclosed by the inventor or a joint inventor or another who
          obtained the subject matter disclosed directly or indirectly from the
          inventor or a joint inventor.
 35 U.S.C. § 102(b)(1).




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       112.   Section 102(b)(1) was intended to codify the one-year grace

 period for public disclosures by or obtained through an inventor. See Robert

 A. Armitage, Understanding the America Invents Act and Its Implications for

 Patenting, 40 AIPLA Q. J. 1, 72 (2012) (“the two subparagraph (A)

 exceptions [(i.e. § 102(b)(1) and (2)] contain no substantive differences from

 one another in the sense that a disclosure reflecting the work of the inventor

 (or a joint inventor), rather than an independent creator of the subject matter

 disclosed, made during the one-year ‘grace period’ prior to the effective filing

 date of the inventor’s claimed invention, is excepted from prior art . . . [and

 thus] provide no more and no less than a new codification of the pre-AIA

 grace period.”); N. Scott Lierce, Invetorship, Double Patenting, and the

 America Invents Act, 30 Berkeley Tech. L.J. 1613, 1616 (2015) (“‘Grace

 periods’ play an important role under the AIA because disclosure of

 components that are the work of the same inventive entity as the claimed

 combination can be excepted from prior art under the AIA, as they were under

 the provisions of the Patent Act of 1952.”).

       113.   According to the PTO’s interpretation of § 102(b)(1)(A), in cases

 where the alleged prior art names individuals in addition to the inventors of

 the patent application, “it is incumbent upon the applicant to provide a

 satisfactory showing that the additional named authors did not contribute to


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 the claimed subject matter.” Examination Guidelines for Implementing the

 First Inventor to File Provisions of the Leahy-Smith America Invents Act, 78

 Fed. Reg. 11059, 11064-65 (Feb. 14, 2013).

       B.     Anticipation

       114.   Under 35 U.S.C. § 102(a)(1), a patent claim is invalid if “the

 claimed invention was patented, described in a printed publication, or in

 public use, on sale, or otherwise available to the public before the effective

 filing date of the claimed invention.”

       115.   “A patent is invalid for anticipation if a single prior art reference

 discloses each and every limitation of the claimed invention.” Schering Corp.

 v. Geneva Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir. 2003).

       116.   Anticipation is not limited to what the prior art expressly

 discloses— anticipation also extends to what the prior art inherently discloses.

 Impax Labs., Inc. v. Aventis Pharm. Inc., 468 F.3d 1366, 1381 (Fed. Cir. 2006)

 (“A patent claim is invalid as anticipated if every limitation in a claim is found

 in a single prior art reference, either explicitly or inherently.”). For “a prior

 art reference may anticipate without disclosing a feature of the claimed

 invention if that missing characteristic is necessarily present, or inherent, in

 the single anticipating reference.” Schering Corp., 339 F.3d at 1337; see also,

 e.g., Purdue Pharma L.P. v. Epic Pharma, LLC, 811 F.3d 1345, 1351 (Fed.


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 Cir. 2016) (“A single prior art reference may anticipate without disclosing a

 feature of the claimed invention if such feature is necessarily present, or

 inherent, in that reference.”).

       117.   “[I]nherent anticipation does not require a person of ordinary

 skill in the art to recognize the inherent disclosure in the prior art at the time

 the prior art is created.” SmithKline Beecham Corp. v. Apotex Corp., 403 F.3d

 1331, 1343 (Fed. Cir. 2005); see also Atlas Powder Co. v. Ireco, Inc., 190

 F.3d 1342, 1347 (Fed. Cir. 1999) (“[T]he discovery of a previously

 unappreciated property of a prior art composition, or of a scientific

 explanation for the prior art’s functioning, does not render the old composition

 patentably new to the discoverer.”).

       118.   “[A] prior art product that sometimes, but not always, embodies

 a claimed method nonetheless teaches that aspect of the invention.” King

 Pharms., Inc. v. Eon Labs, Inc., 616 F.3d 1267, 1276 (Fed. Cir. 2010)

 (alteration in original) (quoting Hewlett-Packard Co. v. Mustek Sys., Inc., 340

 F.3d 1314, 1326 (Fed. Cir. 2003)).

       119.   “A reference includes an inherent characteristic if that

 characteristic is the ‘natural result’ flowing from the reference’s explicitly

 explicated limitations.” Eli Lilly & Co. v. Barr Labs., Inc., 251 F.3d 955, 970

 (Fed. Cir. 2001).


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       120.   “Under the principles of inherency, if the prior art necessarily

 functions in accordance with, or includes, the claimed limitations, it

 anticipates.” E.g., Cubist Pharm., Inc. v. Hospira, Inc., 75 F. Supp. 3d 641,

 650 (D. Del. 2014).

       121.   “To anticipate, the prior art need only meet the inherently

 disclosed limitation to the extent the patented method does.” King Pharms.,

 616 F.3d at 1276.

       122.   “Inherency is not necessarily coterminous with the knowledge of

 those of ordinary skill in the art. Artisans of ordinary skill may not recognize

 the inherent characteristics or functioning of the prior art.” Atlas Powder, 190

 F.3d at 1347 (citing Titanium Metals v. Banner, 778 F.2d 775, 782 (Fed. Cir.

 1985)).

       123.   “Extrinsic evidence ‘may be used to interpret the allegedly

 anticipating reference and [to] shed light on what it would have meant to’” a

 person of ordinary skill in the art (POSA). Monsanto Tech. LLC v. E.I.

 DuPont de Nemours & Co., 878 F.3d 1336, 1345 (Fed. Cir. 2018) (alterations

 in original) (citation omitted). Such “extrinsic evidence need not antedate the

 critical date of the patent at issue.” Id. (citation omitted).

       124.   A reference that discloses a range that touches or overlaps a

 claimed value can anticipate the claim. ClearValue Inc. v. Pearl River


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 Polymers Inc., 668 F.3d 1340, 1344-45 (Fed. Cir. 2012) (the claimed range of

 50 ppm or less was anticipated by the prior art disclosure of 150 ppm or less

 because no demonstration or claim that 50 ppm or less was “‘critical,’ or that

 the claimed method works different at different points within the prior art

 range”). Perricone v. Medicis Pharmaceutical Corp. is also instructive. In

 Perricone, the Federal Circuit affirmed the district court’s summary judgment

 of invalidity after finding, inter alia, that the prior art “nonetheless discloses

 and anticipates [the inventor’s] particular claimed ‘effective amount’ ranges”

 even though the prior art’s disclosed range “does not exactly correspond to

 [the inventor’s] claimed range.” 432 F.3d 1368, 1377 (Fed. Cir. 2005). As

 the Court noted, the prior art’s range “entirely encompasses, and does not

 significantly deviate from, [the inventor’s] claimed ranges,” therefore

 warranting a finding of anticipation. Id.

       125.   Anticipation is a question of fact. In re Gleave, 560 F.3d 1331,

 1334-35 (Fed. Cir. 2009).

       C.     Obviousness

       126.   Section 103 provides:

       A patent for a claimed invention may not be obtained,
       notwithstanding that the claimed invention is not identically
       disclosed as set forth in section 102, if the differences between
       the claimed invention and the prior art are such that the claimed
       invention as a whole would have been obvious before the

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       effective filing date of the claimed invention to a person having
       ordinary skill in the art to which the claimed invention pertains.
 35 U.S.C. § 103. The prior art that is used for determining if the difference

 between the claimed subject matter and the prior art is obvious is any of the

 same prior art that is described in Section 102.

       127.   Obviousness is a question of law based on four underlying

 factual determinations: (1) the scope and content of the prior art; (2) the

 differences between the claims and the prior art; (3) the level of ordinary skill

 in the pertinent art; and (4) secondary considerations, if any, of

 nonobviousness. KSR Int’I Co. v. Teleflex Inc., 550 U.S. 398, 406-07 (2007)

 (citing Graham v. John Deere Co., 383 U.S. 1,17-18 (1966)).

       128.   “Nothing in [35 U.S.C. § 103] or [Federal Circuit] case law

 requires [a defendant] to prove obviousness by starting with a prior art

 commercial embodiment and then providing motivation to alter that

 commercial embodiment.” Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d

 731, 737 (Fed. Cir. 2013). “This is particularly true where, as here, the prior

 art teaches a range that encompasses both the prior art commercial

 embodiment and the claimed invention.” Id.

       129.   “[T]he scope of the relevant prior art . . . include[es] that

 reasonably pertinent to the particular problem with which the inventor was

 involved.” In re GPAC Inc., 57 F.3d 1573, 1577 (Fed. Cir. 1995) (quotation


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 omitted). “A reference is reasonably pertinent if, even though it may be in a

 different field of endeavor, it is one which, because of the matter with which

 it deals, logically would have commended itself to an inventor’s attention in

 considering his problem.” Id. at 1578 (quotation omitted). “If a reference

 disclosure relates to the same problem as that addressed by the claimed

 invention, that fact supports use of that reference in an obviousness [finding].”

 Id. (quotation omitted).

       130.   “A known or obvious composition does not become patentable

 simply because it has been described as somewhat inferior to some other

 product for the same use.” In re Gurley, 27 F.3d 551, 553 (Fed. Cir. 1994).

 “[A] finding that the prior art as a whole suggests the desirability of a

 particular combination need not be supported by a finding that the prior art

 suggests that the combination claimed by the patent applicant is the preferred,

 or most desirable.” In re Fulton, 391 F.3d 1195, 1200 (Fed. Cir. 2004).

 “[J]ust because ‘better alternatives’ may exist in the prior art ‘does not mean

 that an inferior combination is inapt for obviousness purposes.’” Dome Patent

 L.P. v. Lee, 799 F.3d 1372, 1381 (Fed. Cir. 2015) (quoting In re Mouttet, 686

 F.3d 1322, 1334 (Fed. Cir. 2012)).

       131.   Where the prior art alone establishes enablement of the claimed

 subject matter, “[a] patent cannot both be non-obvious and enabled.” In re


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 ’318 Patent Infringement Litig., 578 F. Supp. 2d 711, 735 (D. Del. 2008).

 Conversely, “a description that does not render a claimed invention obvious

 does not sufficiently describe that invention for purposes of § 112,¶1.”

 Regents of Univ, of Cal. v. Eli Lilly & Co., 119 F.3d 1559, 1567 (Fed. Cir.

 1997) (emphasis omitted).

       132.   “[I]f a device was in public use or on sale before the critical date,

 then that device becomes a reference under section 103 against the claimed

 invention.” E.g., Taro Pharms. U.S.A., Inc. v. Perrigo Isr. Pharms. Ltd., No.

 14-cv-989-RGA, 2015 WL 7737310, at *2 (D. Del. Dec. 1, 2015). “The

 court’s task upon such a challenge is to determine whether the claimed

 invention would have been obvious from the on-sale device in conjunction

 with the prior art.” TorPharm, Inc. v. Ranbaxy Pharm., Inc., 336 F.3d 1322,

 1327 (Fed. Cir. 2003).

       133.   “[T]he public use bar applies to obvious variants of the

 demonstrated public use.” Clock Spring, L.P. v. Wrapmaster, Inc., 560 F.3d

 1317, 1326 (Fed. Cir. 2009) (citing Netscape Commc’ns Corp. v. Konrad, 295

 F.3d 1315, 1321 (Fed. Cir. 2002)).

       134.   “Where a claimed range overlaps with a range disclosed in the

 prior art, there is a presumption of obviousness.” Ormco Corp. v. Align Tech.,

 Inc., 463 F. 3d 1299, 1311 (Fed. Cir. 2006); see also In re Applied Materials,


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 Inc., 692 F.3d 1289, 1295 (Fed. Cir. 2012) (same); In re Peterson, 315 F.3d

 1325, 1329 (Fed. Cir. 2003) (same); In re Geisler, 116 F.3d 1465, 1469 (Fed.

 Cir. 1997) (same); In re Woodruff, 919 F.2d 1575, 1577-78 (Fed. Cir. 1990)

 (same); Tris Pharma, Inc. v. Actavis Labs. FL, Inc., 276 F. Supp. 3d 226, 252

 (D. Del. 2017) (same), vacated on other grounds, 755 F. App’x 983 (Fed. Cir.

 2019); Valeant Pharm. Int'l, Inc. v. Mylan Pharm. Inc., 955 F.3d 25, 31 (Fed.

 Cir. 2020).

         135.   This prima facie case exists where there is “even a slight overlap

 in range.” In re Peterson, 315 F.3d at 1329; see also, e.g., In re Geisler, 116

 F.3d at 1469 (claimed invention was rendered prima facie obvious by a prior

 art reference whose disclosed range (50-100 Angstroms) overlapped the

 claimed range (100-600 Angstroms)); In re Woodruff, 919 F.2d at 1576-77

 (claimed invention was rendered obvious by a prior art reference whose

 disclosed range of “about l-5%” carbon monoxide abutted the claimed range

 of “more than 5% to about 25%” carbon monoxide).

         136.   Even where the claimed range and the prior art range do not

 overlap, “a prima facie case of obviousness exists when the claimed range and

 the prior art range . . . are close enough such that one skilled in the art would

 have expected them to have the same properties.” In re Peterson, 315 F.3d at

 1329.


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       137.   “[T]he existence of overlapping or encompassing ranges shifts

 the burden to the applicant to show that his invention would not have been

 obvious.” In re Peterson, 315 F.3d at 1329-30; see also, e.g., Tris Pharma,

 276 F. Supp. 2d at 253; Warner Chilcott Co. v. Teva Pharm. USA, Inc., 89 F.

 Supp. 3d 641, 655-56 (D.N.J. 2015), aff’d, 642 F. App’x 996 (Fed. Cir. 2016).

 In such cases, “the burden of production falls upon the patentee to come

 forward with evidence that (1) the prior art taught away from the claimed

 invention; (2) there were new and unexpected results relative to the prior art;

 or (3) there are other pertinent secondary considerations.” Allergan, Inc. v.

 Sandoz, Inc., 796 F.3d 1293, 1304-05 (Fed. Cir. 2015); accord, Galderma,

 737 F.3d at 738 (citing Novo Nordisk A/S v. Caraco Pharm. Labs., Ltd., 719

 F.3d 1346, 1352-54 (Fed. Cir. 2013)).

       138.   “[T]he disclosure in the prior art of overlapping pH ranges would

 have provided sufficient motivation to optimize the pH, and it was not

 inventive to do so.” Tris Pharma, 276 F. Supp. 3d at 253.

       139.   Patentability is not imparted where the inventor did no more than

 engage in routine experimentation. See Merck & Co. v. Biocraft Labs., Inc.,

 874 F.2d 804, 809 (Fed. Cir. 1989) (“The evidence at trial showed that, though

 requiring time and care, the experimentation needed to arrive at the claimed

 dosages was nothing more than routine.”); see also Sinclair & Carroll Co. v.


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 Interchemical Corp., 325 U.S. 327, 335 (1945) (“Reading a list and selecting

 a known compound to meet known requirements is no more ingenious than

 selecting the last piece to put into the last opening in a jig-saw puzzle. It is not

 invention.”).

        140.   Furthermore, “[w]here the general conditions of a claim are

 disclosed in the prior art, it is not inventive to discover the optimum or

 workable ranges by routine experimentation.” Genentech, Inc. v. Hospira,

 Inc., 946 F.3d 1333, 1341-42 (Fed. Cir. 2020) (quoting In re Applied

 Materials, 692 F.3d at 1295); In re Aller, 220 F.2d 454, 456 (C.C.P.A. 1955)

 (same); In re Geisler, 116 F.3d at 1470 (same); see also In re Peterson, 315

 F.3d at 1330 (“The normal desire of scientists or artisans to improve upon

 what is already generally known provides the motivation to determine where

 in a disclosed set of percentage ranges is the optimum combination of

 percentages.”).

        141.   An obviousness determination requires both “the existence of a

 motivation to combine elements from different prior art references” and that

 “a skilled artisan would have perceived a reasonable expectation of success in

 making the invention via that combination.” Medichem, S.A. v. Rolabo, S.L.,

 437 F.3d 1157, 1165 (Fed. Cir. 2006); Merck & Co., 874 F.2d at 809




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 (explaining that a reasonable expectation of success does not require absolute

 predictability or certainty).

       142.    “Motivation to combine may be found in many different places

 and forms.” Allergan, Inc. v. Sandoz Inc., 726 F.3d 1286, 1292 (Fed. Cir.

 2013). The motivation to combine does not have to be explicitly stated in the

 prior art. Alza Corp. v. Mylan Labs., Inc., 464 F.3d 1286, 1290 (Fed. Cir.

 2006) (“[T]he teaching, motivation, or suggestion may be implicit from the

 prior art as a whole, rather than expressly stated in the references.” (citation

 omitted)); see also Anacor Pharm., Inc. v. Iancu, 889 F.3d 1372, 1385 (Fed.

 Cir. 2018) (“[T]he greater the structural similarity between the compounds,

 the greater the motivation to combine and reasonable expectation of

 success.”).

       143.    When determining obviousness, a court is “not limited to the

 same motivation that may have motivated the inventors.” PAR Pharm., Inc.

 v. TWI Pharm., Inc., 773 F.3d 1186, 1197 (Fed. Cir. 2014); see also Alcon

 Research, Ltd. v. Apotex Inc., 687 F.3d 1362, 1368 (Fed. Cir. 2012) (“We have

 repeatedly held that the motivation to modify a prior art reference to arrive at

 the claimed invention need not be the same motivation that the patentee

 had.”). In that vein, testimony of an expert witness regarding knowledge of a




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 person of skill in the art at the time of invention “is pertinent to [the]

 evaluation of a prima facie case of obviousness.” Alza, 464 F.3d at 1294.

       144.   Where the prior art would make a technique or combination

 obvious to try, it is generally obvious, unless the prior art did no more than

 make it obvious to vary all parameters, with no narrowing of the possibilities,

 or gave no guidance to a likely solution. See Bayer Schering Pharm. AG v.

 Barr Labs, Inc., 575 F.3d 1341, 1347 (Fed. Cir. 2009) (noting that an

 invention is generally obvious to try unless an inventor “would have had to

 try all possibilities in a field unreduced by direction of the prior art” or the

 “prior art does not guide an inventor toward a particular solution”). The

 Supreme Court has explained that:

       When there is a design need or market pressure to solve a
       problem and there are a finite number of identified, predictable
       solutions, a person of ordinary skill has good reason to pursue
       the known options within his or her technical grasp. If this leads
       to the anticipated success, it is likely the product not of
       innovation but of ordinary skill and common sense. In that
       instance the fact that a combination was obvious to try might
       show that it was obvious under § 103.
 KSR, 550 U.S. at 421. “But there is no requirement that for a variable to be

 obvious to try, it must be the first variable a person of skill would alter.”

 Valeant, 955 F.3d at 34.




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       145.   To “determine whether there was an apparent reason to combine

 the known elements in the fashion claimed by the patent at issue,” a court

 should “look to interrelated teachings of multiple patents; the effects of

 demands known to the design community or present in the marketplace; and

 the background knowledge possessed by a person having ordinary skill in the

 art.” KSR, 550 U.S. at 418. A patent may be obvious if, inter alia, there was

 a “known problem for which there was an obvious solution encompassed by

 the patent’s claims” or the combination of the patent’s claims was “obvious

 to try.” Id. at 419—421.

       146.   Courts may “find a motivation to combine prior art references in

 the nature of the problem to be solved.” Tokai Corp. v. Easton Enters., Inc.,

 632 F.3d 1358, 1371 (Fed. Cir. 2011) (quoting Ruiz v. A.B. Chance Co., 357

 F.3d 1270, 1276 (Fed. Cir. 2004)). “[M]otivation to combine may be found

 explicitly or implicitly in market forces; design incentives; the ‘interrelated

 teachings of multiple patents’; ‘any need or problem known in the field of

 endeavor at the time of invention and addressed by the patent’; and the

 background knowledge, creativity, and common sense of the person of

 ordinary skill.” Plantronics, Inc. v. Aliph, Inc., 724 F.3d 1343, 1354 (Fed. Cir.

 2013).




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       147.   “Obviousness requires a showing that ‘a skilled artisan would

 have perceived a reasonable expectation of success in making the invention

 in light of the prior art.’” AstraZeneca LP v. Breath Ltd., 603 F. App’x 999,

 1002 (Fed. Cir. 2015) (quoting Amgen Inc. v. F. Hoffman-La Roche Ltd., 580

 F.3d 1340, 1362 (Fed. Cir. 2009)). There need not be a “guarantee” of

 success. Id. (quoting Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1364 (Fed.

 Cir. 2007)); see also Medichem, 437 F.3d at 1165 (“Obviousness does not

 require absolute predictability of success ... .” (citation omitted)). To that end,

 “obviousness cannot be avoided simply by a showing of some degree of

 unpredictability in the art. . . .” Pfizer, 480 F.3d at 1364 (Fed. Cir. 2007); see

 also Warner Chilcott Co., LLC v. Teva Pharm. USA, Inc., 594 F. App’x 630,

 635-36 (Fed. Cir. 2014) (“[T]he record shows that there would have been a

 reasonable expectation of success in pursuing the 150 mg monthly dose . . .

 [even though] the highest single dose of risedronate that had actually been

 tested in a patient was 50 mg.”); In re Corkill, 771 F.2d 1496, 1500 (Fed. Cir.

 1985) (“Although [the inventor] declared that it cannot be predicted how any

 candidate will work in a detergent composition, but that it must be tested, this

 does not overcome [the prior art’s] teaching that hydrated zeolites will

 work.”); Hospira, Inc. v. Amneal Pharms., LLC, 285 F. Supp. 3d 776, 784,

 794 (D. Del. 2018) (noting that, as to a reasonable expectation of success,


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 “that ‘expectation of success need only be reasonable, not absolute’” and

 further stating that “Plaintiffs assertion that the requirement for testing every

 potential configuration counsels against finding a reasonable expectation of

 success improperly equates a reasonable expectation with absolute

 certainty”); Valeant, 955 F.3d at 34 (“Absolute predictability that the

 proposed pH range would yield the exact stability parameters in the claim is

 not required.”).

       148.   Although the doctrine of inherency was “originally rooted in

 anticipation,” the Federal Circuit has recognized that “inherency may supply

 a missing claim limitation in an obviousness analysis.” PAR Pharm., 773 F.3d

 at 1194-95 (collecting cases); see also Acorda Therapeutics, Inc. v. Roxane

 Labs., Inc., 903 F.3d 1310, 1328 (Fed. Cir. 2018) (affirming district court’s

 “determination that claim limitations relating to pharmacokinetics—i.e.,

 achieving 4-AP serum levels of 15-35 ng/ml—are inherent in the claimed

 invention and therefore obvious”); In re Huai-Hung Kao, 639 F.3d 1057, 1072

 (Fed. Cir. 2011) (affirming the BPAI’s finding of inherency where “the only

 claim element not expressly disclosed in the prior art was the previously-

 unknown, yet inherent, food-effect property”); In re Kubin, 561 F.3d 1351,

 1357 (Fed. Cir. 2009) (upholding the BPAI’s obviousness determination

 where, “(e]ven if no prior art of record explicitly discusses the ‘wherein the


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 polypeptide binds CD48’ aspect of claim 73, the Kubin-Goodwin application

 itself instructs that CD48 binding is not an additional requirement imposed by

 the claims on the NAIL protein, but rather a property necessarily present in

 NAIL”); Valeant, 955 F.3d at 34 (“And, lacking anything in the claim that is

 a stabilizer, it can be presumed, if the claim is valid, that the stability for up

 to 24 months must be due to the nature of the compound in the solution and

 the claimed pH level.”). Where a claim limitation is inherent in the prior art,

 “there is no question of a reasonable expectation of success in achieving it.”

 Hospira, Inc. v. Fresenius Kabi USA, LLC, 946 F.3d 1322, 1332 (Fed. Cir.

 2020).

       D.     Rebuttal To Prima Facie Obviousness

              1.     Criticality

       149.   “When an applicant seeks to overcome a prima facie case of

 obviousness by showing improved performance in a range that is within or

 overlaps with a range disclosed in the prior art, the applicant must show that

 the [claimed] range is critical, generally by showing that the claimed range

 achieves unexpected results relative to the prior art range.” In re Patel, 566

 F. App’x 1005, 1011 (Fed. Cir. 2014) (quotation omitted); see also In re

 Geisler, 116 F.3d 1465, 1470 (Fed. Cir. 1997) (“Only if the ‘results of




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 optimizing a variable’ are ‘unexpectedly good’ can a patent be obtained for

 the claimed critical range.” (citations omitted)).

       150.   When considering criticality, courts look to “whether ‘the

 claimed invention exhibits some superior property or advantage that a person

 of ordinary skill in the relevant art would have found surprising or

 unexpected.’” Forest Labs., LLC v. Sigmapharm Labs., LLC, 918 F.3d 928,

 937 (Fed. Cir. 2019) (quoting In re Soni, 54 F.3d 746, 750 (Fed. Cir. 1995));

 accord Procter & Gamble, Co. v. Teva Pharm. USA, Inc., 566 F.3d 989, 994

 (Fed. Cir. 2009) (citations omitted).

       151.   “[I]n order to properly evaluate whether a superior property was

 unexpected” for criticality, the Court must consider “what properties were

 expected.” Cf. Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1371 (Fed. Cir.

 2007); see also In re Mageli, 470 F.2d 1380, 1384-85 (C.C.P.A 1973)

 (“Unobviousness, however, cannot be predicated on superiority alone.

 Obviousness depends on what those skilled in the art would expect.”

 (emphasis in original)); Aventis Pharma S.A. v. Hospira, Inc., 743 F. Supp. 2d

 305, 348 (D. Del. 2010) (“To show unexpected benefits, the patent owner

 must first show ‘what properties were expected.’” (citation omitted)), aff’d,

 675 F.3d 1324 (Fed. Cir. 2012). There can be no showing of unexpected

 results where a patentee provides no evidence of what a POSA would have


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 expected. Pfizer, 480 F.3d at 1371 (“Here, Pfizer’s evidence must fail because

 the record is devoid of any evidence of what the skilled artisan would have

 expected. We will not simply presume that the skilled artisan would have

 expected that amlodipine besylate would have the same characteristics as

 amlodipine maleate, because as Pfizer asserts, its properties are not absolutely

 predictable.”).

       152.   In order to demonstrate criticality, it is insufficient to merely

 demonstrate a difference in degree. Rather, the patentee must demonstrate a

 difference in kind. Warner Chilcott Co. v. Teva Pharm. USA, Inc., 89 F. Supp.

 3d 641, 674 (D.N.J. 2015) (citation omitted), aff’d, 642 F. App’x 996 (Fed.

 Cir. 2016) (“But where selection of the claimed amount within the prior art

 range results in ‘only a difference in degree from the prior art results,’ the

 claimed amount is not critical.’”); Galderma Labs., L.P. v. Tolmar, Inc., 737

 F.3d 731, 739 (Fed. Cir. 2013); see also Bristol Myers Squibb Co. v. Teva

 Pharm. USA, Inc., 752 F.3d 967, 977 (Fed. Cir. 2014) (“While a ‘marked

 superiority’ in an expected property may be enough in some circumstances to

 render a compound patentable, a ‘mere difference in degree’ is insufficient . .

 . . And ‘differences in degree’ of a known and expected property are not as

 persuasive in rebutting obviousness as differences in ‘kind’ – i.e., a new

 property dissimilar to the known property.” (citations omitted)). “Results


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 which differ by percentages are differences in degree rather than kind, where

 the modification of the percentage is within the capabilities of one skilled in

 the art at the time.” Galderma, 737 F.3d at 739; see also In re Merck & Co.,

 800 F.2d 1091, 1099 (Fed. Cir. 1986) (a purported improvement in a known

 property is not unexpected unless there was an “appreciable degree” of

 improvement). Accordingly, courts must “evaluate the significance and

 ‘kind’ of expected results along with the unexpected results.” Bristol Myers

 Squibb, 752 F.3d at 977 (citations omitted).

       153.      Proving criticality “requires more than a modest deviation from

 what was disclosed in the prior art.” Allergan Inc. v. Teva Pharm. USA, Inc.,

 No. 15-cv- 1455-WCB, 2017 WL 4803941, at *46 (E.D. Tex. Oct. 16, 2017)

 (Bryson, J.).

       154.      For there to be a showing of criticality, the results must be truly

 unexpected and not the product of the desire of a person of ordinary skill to

 achieve the optimum value of performance for a known range. See In re

 Peterson, 315 F.3d 1325, 1330 (Fed. Cir. 2003) (“The normal desire of

 scientists or artisans to improve upon what is already generally known

 provides the motivation to determine where in a disclosed set of percentage

 ranges is the optimum combination of percentages. We therefore conclude

 that a prior art reference that discloses a range encompassing a somewhat


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 narrower claimed range is sufficient to establish a prima facie case of

 obviousness.”); see also In re Boesch, 617 F.2d 272, 276 (C.C.P.A. 1980)

 (“[Discovery of an optimum value of a result effective variable in a known

 process is ordinarily within the skill of the art.” (citations omitted)). Further,

 the superior result must rise to a significant enough level where it can be

 characterized as being “a new and unexpected result which is different in kind

 and not merely in degree from the results of the prior art.” In re Huang, 100

 F.3d 135, 139 (Fed. Cir. 1996) (citation omitted).

       155.   To assess criticality, one must compare the claimed invention to

 the prior art, rather than a narrower embodiment thereof. In re Woodruff, 919

 F.2d 1575, 1578 (Fed. Cir. 1990) (“The only test results presented by

 Woodruff are the results reported by Mr. Bell, comparing Woodruffs claimed

 invention to the commercial embodiment of McGill’s method.                 While

 Woodruffs invention certainly showed superior fungi-inhibiting effect in

 these tests, the critical comparison is not with the commercial embodiment of

 McGill’s invention, but with the method taught in his patent.”). Further,

 “there is no requirement that the closest prior art be commercialized.” Trs. of

 Columbia Univ. v. Illumina, Inc., 620 F. App’x 916, 932 (Fed. Cir. 2015); see

 also In re Merchant, 575 F.2d 865, 869 (CCPA 1978) (“In In re Wright . . . ,

 failure of a particular reference to constitute ‘the commercial standard’ did


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 not diminish its position as the closest prior art.” (internal citation omitted));

 In re Chupp, 816 F.2d 643, 644 (Fed. Cir. 1987) (“To rebut the prima facie

 case of obviousness, Chupp submitted a declaration discussing the results of

 tests comparing the herbicidal activity of the claimed compound with that of

 the closest prior art compounds and with two commercial herbicides.”

 (emphasis added)).

       156.   The closest prior art can be a patent or publication. See, e.g., In

 re Huston, 308 F.3d 1267, 1281 n.9 (Fed. Cir. 2002) (sustaining the Board’s

 obviousness rejection and discussing the ways in which it relied “on the Paul

 reference [U.S. Patent No. 5,524,081] (cited by the Board itself as the ‘closest

 prior art’)” for its analysis); Procter & Gamble Co. v. Paragon Trade Brands,

 Inc., 989 F. Supp. 547, 595 (D. Del. 1997) (holding the asserted patent obvious

 and noting that “[t]he Court finds particularly persuasive the fact that the

 Enloe patent, the closest prior art reference, expressly teaches away from the

 use of liquid impermeable materials for the BLC”).

       157.   In order to establish criticality, the alleged criticality must be

 commensurate in scope with the claims. E.I. DuPont de Nemours & Co. v.

 Synvina C. V., 904 F.3d 996, 1012 (Fed. Cir. 2018); see also Genetics Inst.,

 LLC v. Novartis Vaccines & Diagnostics, Inc., 655 F.3d 1291, 1308 (Fed. Cir.

 2011). This means that the evidence cannot be “plainly disproportionate to


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 the scope of the claim.” Id.; see, e.g., In re Harris, 409 F.3d 1339, 1344 (Fed.

 Cir. 2005) (affirming Board’s finding that showing of unexpected results was

 not commensurate in scope with the claims where “the elemental composition

 of CMSX®-486 [the applicant’s commercial embodiment relied on to show

 unexpected results] is at or near the midpoint of the claimed range”); Peterson,

 315 F.3d at 1331 (affirming obviousness finding where patentee claimed an

 alloy with 1-3% rhenium, but presented unexpected results only for 2%

 rhenium, and evidence suggested that 3% rhenium possessed inferior

 properties); In re Grasselli, 713 F.2d 731, 743 (Fed. Cir. 1983) (concluding

 that unexpected results “limited to sodium only” were not commensurate in

 scope with claims to a catalyst having “an alkali metal”); In re Greenfield,

 571 F.2d 1185,1189 (C.C.P.A. 1978) (affirming obviousness finding for a

 genus containing “several hundred compounds” where unexpected results

 were proved for “only one” such compound).

       158.   “[A] claimed amount [is] not critical where specification of

 patent disclosed that amounts . . . outside the claimed amount were also

 effective.” Tris Pharma, Inc. v. Actavis Labs. FL, Inc., 276 F. Supp. 3d 226,

 254 (D. Del. 2017) (citing Warner Chilcott, 89 F. Supp. 3d at 655-56), vacated

 on other grounds, 755 F. App’x 983 (Fed. Cir. 2019); see also, e.g., id. (“The

 patents-in-suit make clear that ‘the product is most stable at pH between 3.5


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 and 5.0. . . . Thus, there is nothing critical about the narrower range of 4 to

 4.5.”); Warner Chilcott, 89 F. Supp. 3d at 655-56 (“Thus, the patents assert

 that the disclosed range of 75 mg to 250 mg EDTA will work effectively with

 risedronate sodium. It does not indicate that any particular level of EDTA is

 critical for each type of bisphosphonate.”), aff’d, 642 F. App’x 996 (Fed. Cir.

 2016) (“Moreover, in view of the broad disclosures in the specification

 providing embodiments with varying amounts of EDTA, and nothing in the

 asserted claims teaching one of skill in the art that or how only the specific

 100 mg amount produces pharmaceutically effective absorption, Warner

 Chilcott failed to show the criticality of the claimed amount.”).

       159.   Differences of a specific condition or parameter will generally

 not support the patentability of subject matter encompassed by the prior art

 unless there is evidence indicating such specified condition or parameter is

 critical. “[W]here the general conditions of a claim are disclosed in the prior

 art, it is not inventive to discover the optimum or workable ranges by routine

 experimentation.” In re Aller, 220 F.2d 454, 456 (C.C.P.A. 1955) (claimed

 process which was performed at a temperature between 40°C and 80°C and

 an acid concentration between 25% and 70% was held to be prima facie

 obvious over a reference process which differed from the claims only in that

 the reference process was performed at a temperature of 100°C and an acid


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 concentration of 10%.); In re Hoeschele, 406 F.2d 1403, 1406 (C.C.P.A.

 1969) (claimed elastomeric polyurethanes which fell within the broad scope

 of the references were held to be unpatentable because, among other reasons,

 there was no evidence of the criticality of the claimed ranges of molecular

 weight or molar proportions).

       160.    “A recognition in the prior art that a property is affected by the

 variable is sufficient to find the variable result-effective.” E.I. DuPont de

 Nemours, 904 F.3d at 1006. Merely optimizing a result-effective variable

 does not render a claimed invention non-obvious because “discovery of an

 optimum value of a result effective variable . . . is ordinarily within the skill

 of the art.” See id.; In re Applied Materials, Inc., 692 F.3d 1289, 1297 (Fed.

 Cir. 2012).

               2.    Teaching Away

       161.    “Although a reference that teaches away is a significant factor to

 be considered in determining unobviousness, the nature of the teaching is

 highly relevant, and must be weighed in substance.” In re Gurley, 27 F.3d

 551, 553 (Fed. Cir. 1994). “A known or obvious composition does not

 become patentable simply because it has been described as somewhat inferior

 to some other product for the same use.” Id.; see also Santarus, Inc. v. Par

 Pharm., Inc., 694 F.3d 1344, 1356 (Fed. Cir. 2012) (prior art did not teach


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 away when it merely characterized alleged inventive feature as being the

 “second best choice”).

       162.   A reference teaches away “when a person of ordinary skill, upon

 reading the reference, would be discouraged from following the path set out

 in the reference, or would be led in a direction divergent from the path that

 was taken by the applicant.” Gator Tail, LLC. v. Mud Buddy, LLC, 618 F.

 App’x 992, 998-99 (Fed. Cir. 2015) (quoting In re Gurley, 27 F.3d at 553).

 Indeed, the only relevant inquiry is whether a person of ordinary skill would

 have considered the prior art to teach away; other reasons not to make the

 claimed invention (such as economic considerations) are irrelevant. See In re

 Farrenkopf, 713 F.2d 714, 718 (Fed. Cir. 1983) (“That a given combination

 would not be made by businessmen for economic reasons does not mean that

 persons skilled in the art would not make the combination because of some

 technological incompatibility. Only the latter fact would be relevant.”).

       163.   There is no “teaching away” if the reference “merely expresses a

 general preference for an alternative invention but does not ‘criticize,

 discredit, or otherwise discourage’ investigation into the invention claimed.”

 DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1327

 (Fed. Cir. 2009) (citation omitted). Nor does silence or a lack of certainty

 imply teaching away. Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 964 (Fed.


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 Cir. 2014) (addressing silence); Warner Chilcott Co. v. Teva Pharm. USA,

 Inc., 89 F. Supp. 3d 641, 667 n. 24 (D.N.J. 2015), aff’d, 642 F. App’x 996

 (Fed. Cir. 2016) (addressing uncertainty).

       164.   A reference does not teach away if it does not disclose the

 claimed invention. See, e.g., Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d

 731, 738 (Fed. Cir. 2013) (“Neither of these articles mentions 0.3% adapalene

 compositions, nor do they expressly teach away from the claimed invention.

 The district court inferred that these references taught away from a further

 tripling of the adapalene concentration. We cannot agree with this

 inference.”).

       165.   Similarly, “[a] teaching that a composition may be optimal or

 standard does not criticize, discredit, or otherwise discourage investigation

 into other compositions.” Galderma, 131 F.3d at 739; see also SightSound

 Techs., LLC v. Apple Inc., 809 F.3d 1307, 1320 (Fed. Cir. 2015) (“‘[M]ere

 disclosure of more than one alternative’ does not amount to teaching away

 from one of the alternatives where the reference does not ‘criticize, discredit,

 or otherwise discourage the solution claimed.’” (citation omitted)).

       166.   Moreover, the mere existence of drawbacks does not render the

 claimed invention non-obvious; the benefits and drawbacks of the claimed

 invention must be weighed accordingly. See Hoffman-La Roche Inc. v.


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 Apotex Inc., 748 F.3d 1326, 1333 (Fed. Cir. 2014) (“A higher frequency of

 diarrhea does not necessarily teach away . . . modest gastrointestinal side

 effects must be weighed in light of the benefits of the drug.”); Galderma, 737

 F.3d at 738-39 (“These articles show increased side effects associated with

 0.1% adapalene as compared to 0.03% adapalene, yet they failed to discourage

 even the use of 0.1% adapalene . . . . [N]or do these articles indicate in any

 way that the side effects would be serious enough to dissuade the development

 of a 0.3% adapalene product.”); Medichem, S.A. v. Rolabo, S.L., 437 F.3d

 1157,1165 (Fed. Cir. 2006) (“[A] given course of action often has

 simultaneous advantages and disadvantages, and this does not necessarily

 obviate motivation to combine.”).

       167.    “Evidence concerning whether the prior art teaches away from a

 given invention must relate to and be commensurate in scope with the ultimate

 claims at issue.” Idemitsu Kosan Co. v. SFC Co., 870 F.3d 1376, 1381 (Fed.

 Cir. 2017).

       E.      Written Description and Enablement

       168.    Under 35 U.S.C. § 112(a), the specification of a patent

       shall contain a written description of the invention, and of the
       manner and process of making and using it, in such full, clear,
       concise, and exact terms as to enable any person skilled in the art
       to which it pertains, or with which it is most nearly connected, to
       make and use the same . . . .


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 In other words, this paragraph sets forth two distinct requirements: (1) that

 the specification describe the invention in clear and concise terms (the written

 description requirement) and; (2) that the specification enables any person

 skilled in the art to practice the invention (the enablement requirement). See

 Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1344 (Fed. Cir. 2010)

 (en banc) (setting forth the distinct requirements of § 112, first paragraph,

 which is substantially identical to AIA § 112(a)).

       169.   While written description and enablement overlap in some

 regards, they are two distinct requirements. As the Federal Circuit stated in

 Ariad:

       Perhaps there is little difference in some fields between
       describing an invention and enabling one to make and use it, but
       that is not always true of certain inventions, including chemical
       and chemical-like inventions.           Thus, although written
       description and enablement often rise and fall together, requiring
       a written description of the invention plays a vital role in
       curtailing claims that do not require undue experimentation to
       make and use, and thus satisfy enablement, but that have not been
       invented, and thus cannot be described.
 Id. at 1352 (emphasis added).

              1.     Written Description

       170.   “[A] patent can be held invalid for failure to meet the written

 description requirement, based solely on the language of the patent

 specification.” Univ. Of Rochester v. G.D. Searle & Co., 358 F.3d 916, 927


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 (Fed. Cir. 2004) (citing PIN/NIP, Inc. v. Platte Chem. Co., 304 F.3d 1235

 (Fed. Cir. 2002)).

       171.   The written description requirement requires that the

 specification ‘“clearly allow persons of ordinary skill in the art to recognize

 that the inventor invented what is claimed.’ In other words, the test for

 sufficiency is whether the disclosure of the application relied upon reasonably

 conveys to those skilled in the art that the inventor had possession of the

 claimed subject matter as of the filing date.” Ariad, 5 Pharm., Inc. v. Eli Lilly

 & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (era banc) (citation omitted);

 Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991) (“Although

 the applicant does not have to describe exactly the subject matter claimed, the

 description must clearly allow persons of ordinary skill in the art to recognize

 that he or she invented what is claimed.” (internal quotation marks, brackets,

 and ellipses omitted)).

       172.   The test for written description “requires an objective inquiry

 into the four comers of the specification from the perspective of a person of

 ordinary skill in the art. Based on that inquiry, the specification must describe

 an invention understandable to that skilled artisan and show that the inventor

 actually invented the invention claimed.” Ariad, 598 F.3d at 1351. Each and

 every claim limitation must find support in the specification. See TurboCare


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 Div. of Demag Delaval Turbomachinery Corp. v. Gen. Elec. Co., 264 F.3d

 1111, 1118 (Fed. Cir. 2001) (“The written description requirement and its

 corollary, the new matter prohibition of 35 U.S.C. § 132, both serve to ensure

 that the patent applicant was in full possession of the claimed subject matter

 on the application filing date.”).

       173.   Merely reciting the claim language in the specification is

 insufficient to show possession. See Enzo Biochem, Inc. v. Gen-Probe Inc.,

 323 F.3d 956, 968-69 (Fed. Cir. 2002) (“[T]he fact that [a claim] appears as

 an original claim or in the specification does not save it. A claim does not

 become more descriptive by its repetition . . . .”). The specification must

 describe the claim “as an integrated whole rather than as a collection of

 independent limitations.” Novozymes A/S v. DuPont Nutrition Biosciences

 APS, 723 F.3d 1336, 1349 (Fed. Cir. 2013); accord, Purdue Pharma L.P. v.

 Recro Tech., LLC, 694 F. App’x 794, 797-98 (Fed. Cir. 2017). In other words,

 where the specification “merely renders the invention obvious,” the written

 description requirement is not satisfied. Purdue Pharma, 694 F. App’x at 796

 (quoting Ariad, 598 F.3d at 1352); see also Lockwood v. Am. Airlines, Inc.,

 107 F.3d 1565, 1572 (Fed. Cir. 1997) (“One shows that one is ‘in possession’

 of the invention by describing the invention, with all its claimed limitations,

 not that which makes it obvious.” (emphasis in original)).


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       174.   Describing a single embodiment or species in the specification

 may be insufficient if it is at all unclear that possession of the one embodiment

 inherently indicates possession of the whole range or genus. See LizardTech,

 Inc. v. Earth Res. Mapping, Inc., 424 F.3d 1336, 1346 (Fed. Cir. 2005) (“[A]

 patentee cannot always satisfy the requirements of section 112, in supporting

 expansive claim language, merely by clearly describing one embodiment of

 the thing claimed.”); see also LizardTech, Inc. v. Earth Res. Mapping, Inc.,

 433 F.3d 1373, 1375 (Fed. Cir. 2006) (“But merely calling an embodiment

 ‘preferred,’ when there are no others, does not entitle one to claims broader

 than the disclosure.”).

       175.   Indeed, “[i]t is well settled that claims in an application which

 are broader than the applicant’s disclosure are not allowable.” In re Sus, 306

 F.2d 494, 505 (C.C.P.A. 1962) (quoting In re Moore, 155 F.2d 379, 382

 (C.C.P.A. 1946); see also ICU Med., Inc. v. Alaris Med. Sys., Inc., 558 F.3d

 1368, 1378 (Fed. Cir. 2009) (“ICU’s asserted spikeless claims are broader

 than its asserted spike claims because they do not include a spike limitation;

 these spikeless claims thus refer to medical valves generically—covering

 those valves that operate with a spike and those that operate without a spike.

 But the specification describes only medical valves with spikes. . . . We reject

 ICU’s contention that the figures and descriptions that include spikes


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 somehow demonstrate that the inventor possessed a medical valve that

 operated without a spike.”); In re Alonso, 545 F.3d 1015, 1021 (Fed. Cir.

 2008) (no written description where specification disclosed only a single

 embodiment, finding the single embodiment “cannot be said to be

 representative of a densely populated genus”); Ariad, 598 F.3d at 1353

 (finding claims invalid for written description because they “cover[ed] any

 compound later actually invented and determined to fall within the claim’s

 functional boundaries—leaving it to the pharmaceutical industry to complete

 an unfinished invention”).

       176.   Pernix Ireland Pain DAC v. Alvogen Malta Operations is

 instructive. There, the claims at issue “read on all oral dosage units

 comprising extended-release hydrocodone in which hydrocodone is the only

 active ingredient,” but the “specification disclose[d] only one formulation that

 was found to satisfy all the limitations of any of the claims, including the

 functional limitations.” 323 F. Supp. 3d 566, 618-19 (D. Del. 2018) (Bryson,

 J.), aff’d on other grounds, 945 F.3d 1184 (Fed. Cir. 2019); see id. at 624

 (“But all that evidence shows is that that the inventors had possession of a

 single species. It does not show that they had possession of the broad genus

 covered by the claims.”). The court found that the specification, which

 disclosed “only a single embodiment within the broad scope of the claims,”


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 was insufficient to provide written description support because the result

 claimed by the patent method “depend[ed] entirely on whether the particular

 formulation function[ed] in the manner recited in the claims.” Id. at 624-26.

 Indeed, the court found that because “testing results would be fundamental to

 determining which formulations would satisfy the asserted claims, . . . in the

 absence of such testing data, the inventors cannot be said to have possessed

 the full scope of the claimed invention.” Id. at 628.

       177.   Finally, where a POSA would have to engage in an “iterative,

 trial-and- error process” to determine whether a given formulation worked for

 its intended purpose, the claims are invalid for lack of written description.

 See, e.g., MorphoSys AG v. Janssen Biotech, Inc., 358 F. Supp. 3d 354, 371

 (D. Del. 2019); see also Pernix, 323 F. Supp. 3d at 628 (“All that the

 specification discloses is that one such formulation will work for that purpose.

 Whether any others will work, and which they are, would depend entirely on

 testing, and thus cannot be said to have been within the scope of what the

 patentees invented.”).

              2.     Enablement

       178.   By statute, a patent must “enable any person skilled in the art to

 which it pertains, or with which it is most nearly connected, to make and use”

 the claimed invention. 35 U.S.C. § 112(a). “To be enabling, the specification


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 of a patent must teach those skilled in the art how to make and use the full

 scope of the claimed invention without undue experimentation.’” ALZA Corp.

 v. Andrx Pharm., LLC, 603 F.3d 935,940 (Fed. Cir. 2010) (internal quotation

 marks omitted). “[A] patentee chooses broad claim language at the peril of

 losing any claim that cannot be enabled across its full scope of coverage.”

 MagSil Corp. v. Hitachi Glob. StorageTechs., Inc., 687 F.3d 1377, 1381 (Fed.

 Cir. 2012); see also Par Pharma., Inc. v. TWi Pharm., Inc., 120 F. Supp. 3d

 468, 475-79 (D. Md. 2015) (invalidating claims because they were broad

 enough to read on inoperative particle sizes), aff’d without opinion, 624 F.

 App’x 756 (Fed. Cir. 2015).

       179.   It is well settled that the “full scope of the claimed invention must

 be enabled.” Sitrickv. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008);

 id. (“[a] patentee who chooses broad claim language must make sure the broad

 claims are fully enabled”); see also Liebel-Flarsheim Co. v. Medrad, Inc., 481

 F.3d 1371, 1379-80 (Fed. Cir. 2007) (“[I]n this case, the asserted claims read

 on, and the full scope of the claimed invention includes, an injector system

 with and without a pressure jacket. There must be ‘reasonable enablement of

 the scope of the range’ which, in this case, includes both injector systems with

 and without a pressure jacket. The specification’s reference that teaches away

 from an injector system with a disposable syringe without a pressure jacket, .


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 . . supports the district court’s conclusion that the specification fails to fulfill

 the enablement requirement of § 112”); Pharm. Res., Inc. v. Roxane Labs.,

 Inc., Civ. No. 03-3357(DRD), 2006 WL 3231427, at *13 (D.N.J. Nov. 8,

 2006) (“The claims encompass every possible megestrol acetate flocculated

 suspension made with any surfactant and one or more of the listed wetting

 agents, with the exception of the combination that Atzinger recommended.

 Par’s common specification fails to provide an enabling disclosure of similar

 scope.”), aff’d, 253 F. App’x 26 (Fed. Cir. 2007).

        180.   Claims are enabled when they may be practiced without undue

 experimentation. ALZA, 603 F.3d at 940. The factors to be considered in

 determining whether a disclosure would require undue experimentation

 include: (1) the quantity of experimentation necessary, (2) the amount of

 direction or guidance presented, (3) the presence or absence of working

 examples, (4) the nature of the invention, (5) the state of the prior art, (6) the

 relative skill of those in the art, (7) the predictability or unpredictability of the

 art, and (8) the breadth of the claims. In re Wands, 858 F.2d 731, 737 (Fed.

 Cir. 1988).

        181.   Breadth alone can be the basis for finding a lack of enablement.

 Amgen, Inc. v. Chugai Pharm. Co., 927 F.2d 1200, 1213-14 (Fed. Cir. 1991)

 (affirming district court’s invalidation under Section 112 based on breadth


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 alone where Amgen claimed every possible analog of a gene containing about

 4,000 nucleotides with details for preparing only a few EPO analog genes).

       182.   “Undue experimentation is evaluated from the vantage point of

 those experienced in the field of the invention.” Impax Labs., Inc. v. Aventis

 Pharm. Inc., 496 F. Supp. 2d 428, 432 (D. Del. 2007), aff’d, 545 F.3d 1312

 (Fed. Cir. 2008). Some “experimentation is permissible, if it is merely

 routine, or if the specification in question provides a reasonable amount of

 guidance with respect to the direction in which the experimentation should

 proceed.” Wands, 858F.2d at 737.

       183.   A patent with “a complete absence of data supporting the

 statements which set forth the desired results of the claimed invention” fails

 for lack of enablement. Rasmusson v. SmithKline Beecham Corp., 413 F.3d

 1318, 1323-24 (Fed. Cir. 2005) (stating that patentee needed to provide

 experimental proof that the patented invention was operable); Petito v.

 Puritan’s Pride, Inc., 35 F. Supp. 3d 494, 504 (S.D.N.Y. 2014) (quoting

 Rasmusson and finding a patent not enabled because the claims were “not

 supported by any experimental results” and the specification failed to

 “describe[] test results or other substantiating evidence”).

       184.   In the absence of sufficient test results, the mere fact that an

 assertion of use may be tested or a method carried out by a POSA also is


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 insufficient. For example, in Rasmusson the Federal Circuit rejected the

 assertion “that the specifications of the respective applications are enabling

 because a person of ordinary skill in the art could perform the steps of the

 disclosed method without the need for any experimentation.” Rasmusson, 413

 F.3d at 1322; see also Auto. Techs. Int’l, Inc. v. BMW of N. Am., Inc., 501 F.3d

 1274, 1285 (Fed. Cir. 2007) (finding claims “including both mechanical and

 electronic side impact sensors” lacked enablement where there was

 “[disclosure of only mechanical side impact sensors”); Chiron Corp. v.

 Genentech, Inc., 363 F.3d 1247, 1256 (Fed. Cir. 2004) (“Here, the scope of

 the claim includes not only murine but also chimeric antibodies. While

 Chiron’s applications certainly enable murine antibodies, they do not enable

 chimeric antibodies.”); cf. Pharm. Res., 253 F. App’x at 31 (agreeing with

 district court that “numerous unsuccessful attempts by Par to practice subject

 matter within the scope of the claims” supported a determination of no

 enablement).

       185.   Furthermore, “[e]nablement is determined as of the effective

 filing date of the patent’s application.” ALZA, 603 F.3d at 940. That is, “the

 enabling disclosure must appear in the specification at the time of filing.”

 MagSil, 687 F.3d at 1382. A patentee cannot rely on post-filing experimental

 data to establish utility. In re ‘318 Patent Infringement Litig., 583 F.3d 1317,


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 1325 (Fed. Cir. 2009) (affirming district court finding that test results not

 available at the time of the patent application could not be used to establish

 enablement).

       186.   A patent cannot be both non-obvious and enabled if the patentee

 relies on the prior art to establish enablement. See, e.g., In re ‘318 Patent

 Infringement Litig., 578 F. Supp. 2d 711, 736 (D. Del. 2008) (“Put another

 way, since plaintiffs rely exclusively on the prior art to establish enablement,

 the court agrees with defendants that the ‘318 patent cannot both be non-

 obvious and enabled.”).

 VI.   REMEDIES
       A.     Injunctive Relief

       187.   Once the issue of infringement has been resolved, damages must

 be determined. Rarely are monetary damages awarded, as there is seldom a

 commercial ANDA product on the market. See 35 U.S.C. § 271(e)(4)(C).

       188.   Instead, where a patentee proves infringement, “the court shall

 order the effective date of any approval of the drug . . . involved in the

 infringement to be a date which is not earlier than the date of the expiration

 of the patent which has been infringed.” 35 U.S.C. § 271(e)(4)(A).

       189.   Furthermore, in some cases, injunctive relief “may” be

 warranted, 35 U.S.C. § 271(e)(4)(B) (emphasis added), but only if the



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 patentee meets the traditional standard for obtaining a permanent injunction.

 See Bayer Pharma AG v. Watson Labs., Inc., C.A. No. 12-1726-LPS, 2016

 WL 7468172, at *2 (D. Del. Dec. 28, 2016) (“In order to obtain a permanent

 injunction [against an ANDA product], a party with a valid and infringed

 patent must show that the following factors favor the requested relief: (i) the

 patent holder has suffered or will suffer irreparable injury or harm, (ii) legal

 remedies are inadequate to compensate that injury, (iii) balance of hardships,

 and (iv) the public interest.” (citing eBay Inc. v. MercExchange, L.L.C., 547

 U.S. 388, 391 (2006))); see also Alcon, Inc. v. Teva Pharm. USA, Inc., C.A.

 No. 06-234-SLR, 2010 WL 3081327, at *2 (D. Del. Aug. 5, 2010) (explaining

 that the prevailing patentee in ANDA case is not automatically entitled to a §

 271 (e)(4)(B) injunction but, instead, must demonstrate that the four

 traditional factors weigh in its favor).

       B.     Costs and Fees

       190.   Federal Rule of Civil Procedure 54 states “[u]nless a federal

 statute, these rules, or a court order provides otherwise, costs—other than

 attorney’s fees—should be allowed to the prevailing party.” Fed. R. Civ. P.

 54(d)(1). To that end, 28 U.S.C. § 1920 permits judges or clerks to tax as

 costs the following:

       (1) Fees of the clerk and marshal; (2) Fees for printed or
       electronically recorded transcripts necessarily obtained for use in

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       this case; (3) Fees and disbursements for printing and witnesses;
       (4) Fees for exemplification and the costs of making copies of
       any materials where the copies are necessarily obtained for use
       in the case; (5) Docket fees under [28 U.S.C. § 1923]; and (6)
       Compensation of court appointed experts, compensation of
       interpreters, and salaries, fees, expenses, and costs of special
       interpretation services under [28 U.S.C. § 1828].
 See also D. Del. LR 54.1.
       C.     Attorneys’ Fees

       191.   In exceptional cases, a court may award reasonable attorneys’

 fees to the prevailing party. 35 U.S.C. § 285. The decision to award attorneys’

 fees is based on a two-step inquiry. Interspiro USA, Inc. v. Figgie Int’I Inc.,

 18 F.3d 927, 933 (Fed. Cir. 1994).

       192.   First, the court must evaluate whether the case is exceptional.

 Interspiro, 18 F.3d at 933. A case is exceptional if it “stands out from others

 with respect to the substantive strength of a party’s litigation position

 (considering both the governing law and the facts of the case) or the

 unreasonable manner in which the case was litigated.” Octane Fitness, LLC

 v. ICON Health & Fitness, Inc., 572 U.S. 545, 553 (2014). This determination

 is a “case-by-case exercise” to be made based on “the totality of the

 circumstances.” Id.

       193.   Second, the court must determine whether an award of attorneys’

 fees to the prevailing party is warranted. Interspiro, 18 F.3d at 933.



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       194.   The burden of proof rests with the prevailing party, but there is

 no particular standard of proof or evidentiary burden; “[s]ection 285 demands

 a simple discretionary inquiry.” Octane Fitness, 572 U.S. at 557.

       195.   Prevailing on a claim of inequitable conduct often makes a case

 “exceptional,” leading potentially to an award of attorneys’ fees under 35

 U.S.C. § 285. Therasense Inc. v. Becton Dickinson & Co., 649 F.3d 1276,

 1289 (Fed. Cir. 2011); see also, e.g., Regeneron Pharm., Inc. v. Merus N. V.,

 No. 1:14-cv- 01650-KBF, slip op. at 31-35 (S.D.N.Y. Mar. 26, 2018) (D.I.

 No. 468).

       196.   Moreover, a finding of “exceptional case” is warranted where a

 patentee takes contradictory positions before the PTO during prosecution of

 the patent-at-issue, and then before the Court in litigation. Route1 Inc. v.

 AirWatch LLC, No. 17-CV-331 (KAJ), 2020 WL 1955436, at *2 (D. Del. Apr.

 23, 2020); see also, Cartner v. Alamo Group, Inc., 561 F. App’x 958, 965

 (Fed. Cir. 2014) (finding the patentee's infringement allegations were

 frivolous where the accused product had the same feature that was present in

 prior art that the patentee distinguished during prosecution).




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                          EXHIBIT 6
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                                 EXHIBIT 6


                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE



  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO               C.A. No. 18-cv-2023-CJB
  PAR INNOVATION COMPANY, LLC,                 (Consolidated)

                    Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.


                    Defendants.


                             JOINT LIST OF EXHIBITS
                                Case 1:18-cv-02032-CFC-CJB DocumentPar305v. Amneal
                                                                                   Filed 08/30/21 Page 495 of 820 PageID #:
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                                                                 Joint Trial Exhibit List


JTX#       PTX #      DTX#      Date         Bates Begin         Bates End          Description                                                                             Depo. Exh No.   Confidentiality
                                                                                    Clean copy of United States Patent 9,687,526: Vasopressin Formulations for Use in
JTX-0001 PTX-0001                  2017-06-27 PAR-VASO_0295299   PAR-VASO_0295377   Treatment of Hypotension
                                                                                    Clean copy of United States Patent 9,744,209: Vasopressin Formulations for Use in
JTX-0002 PTX-0002                  2017-08-29 PAR-VASO_0295216   PAR-VASO_0295298   Treatment of Hypotension
                                                                                    Clean copy of United States Patent 9,750,785: Vasopressin Formulations for Use in
JTX-0003 PTX-0003                  2017-09-05 PAR-VASO_0295378   PAR-VASO_0295459   Treatment of Hypotension
                                                                                    Certified copy of United States Patent 9,687,526: Vasopressin Formulations for Use in
JTX-0004 PTX-0004     DTX-002      2017-06-27 PAR-VASO_0000034   PAR-VASO_0000113   Treatment of Hypotension
                                                                                    Certified copy of United States Patent 9,744,209: Vasopressin Formulations for Use in
JTX-0005 PTX-0005     DTX-003      2017-08-29 PAR-VASO_0000114   PAR-VASO_0000197   Treatment of Hypotension
                                                                                    Certified copy of United States Patent 9,750,785: Vasopressin Formulations for Use in
JTX-0006   PTX-0006   DTX-005      2017-09-05 PAR-VASO_0000232   PAR-VASO_0000314   Treatment of Hypotension
JTX-0007   PTX-0007   DTX-008      2016-10-10 PAR-VASO_0002629   PAR-VASO_0005399   Certified copy of File Wrapper for United States Patent 9,687,526
JTX-0008   PTX-0008   DTX-009      2017-08-29 PAR-VASO_0005400   PAR-VASO_0006452   Certified copy of File Wrapper for United States Patent 9,774,209
JTX-0009   PTX-0009   DTX-011      2017-09-05 PAR-VASO_0009319   PAR-VASO_0010365   Certified copy of File Wrapper for United States Patent 9,750,785
JTX-0010   PTX-0010   DTX-015      2017-04-19 PAR-VASO_0108290   PAR-VASO_0108299   Certified Assignment Reel/Frame 042097.0331
JTX-0011   PTX-0011   DTX-014      2016-10-26 PAR-VASO_0108300   PAR-VASO_0108307   Certified Assignment Reel/Frame 040491.0176
JTX-0012   PTX-0012   DTX-019      2017-03-02 PAR-VASO_0108308   PAR-VASO_0108313   Certified Assignment Reel/Frame 041442.0453
JTX-0013   PTX-0013   DTX-017      2017-03-02 PAR-VASO_0108321   PAR-VASO_0108326   Certified Assignment Reel/Frame 041442.0482
JTX-0014   PTX-0014   DTX-016      2017-04-20 PAR-VASO_0108333   PAR-VASO_0108341   Certified Assignment Reel/Frame 042293.0855
JTX-0015   PTX-0015   DTX-021      2017-06-08 PAR-VASO_0108342   PAR-VASO_0108373   Certified Assignment Reel/Frame 042743.0216




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                          EXHIBIT 7
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                                  107618
                                      EXHIBIT 7

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO                     C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                       (Consolidated)

                      Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.


                      Defendants.


                        PLAINTIFFS’ LIST OF EXHIBITS
       Plaintiffs Par Pharmaceutical, Inc., Par Sterile Products, LLC, and Endo Par

 Innovation Company, LLC (collectively “Plaintiffs”) reserve their right to

 incorporate by reference into their Trial Exhibit List any exhibit listed by Defendants

 on Defendants’ Trial Exhibit List. Plaintiffs reserve their right to amend, modify, or

 supplement their Trial Exhibit List throughout the balance of this case in response

 to case developments including but not limited to Defendants’ Trial Exhibit List,

 Defendants’ objections, and/or further streamlining of the case. Plaintiffs also

 reserve the right to supplement or modify their Trial Exhibit List in response to

 rulings by the Court (including on any motions) or upon settlement of any party.
                                           Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 498 of 820 PageID #:
                                                                             EXHIBIT
                                                                             1076197
                                                                             Plaintiffs Second Amended Exhibit List


PTX #      Date         Bates Begin        Bates End           Description                                                                        Amneal Depo. Exh.   Objections
                                                                                                                                                  No.
PTX-0001   2017-06-27   PAR-VASO_0295299   PAR-VASO_0295377    Moved to JTX-0001
PTX-0002   2017-08-29   PAR-VASO_0295216   PAR-VASO_0295298    Moved to JTX-0002
PTX-0003   2017-09-05   PAR-VASO_0295378   PAR-VASO_0295459    Moved to JTX-0003
PTX-0004   2017-06-27   PAR-VASO_0000034   PAR-VASO_0000113    Moved to JTX-0004
PTX-0005   2017-08-29   PAR-VASO_0000114   PAR-VASO_0000197    Moved to JTX-0005
PTX-0006   2017-09-05   PAR-VASO_0000232   PAR-VASO_0000314    Moved to JTX-0006
PTX-0007   2016-10-10   PAR-VASO_0002629   PAR-VASO_0005399    Moved to JTX-0007
PTX-0008   2017-08-29   PAR-VASO_0005400   PAR-VASO_0006452    Moved to JTX-0008
PTX-0009   2017-09-05   PAR-VASO_0009319   PAR-VASO_0010365    Moved to JTX-0009
PTX-0010   2017-04-19   PAR-VASO_0108290   PAR-VASO_0108299    Moved to JTX-0010
PTX-0011   2016-10-26   PAR-VASO_0108300   PAR-VASO_0108307    Moved to JTX-0011
PTX-0012   2017-03-02   PAR-VASO_0108308   PAR-VASO_0108313    Moved to JTX-0012
PTX-0013   2017-03-02   PAR-VASO_0108321   PAR-VASO_0108326    Moved to JTX-0013
PTX-0014   2017-04-20   PAR-VASO_0108333   PAR-VASO_0108341    Moved to JTX-0014
PTX-0015   2017-06-08   PAR-VASO_0108342   PAR-VASO_0108373    Moved to JTX-0015
PTX-0145   2012-09-25   EAGLEVAS0014051    EAGLEVAS0014364     Biopharmaceutics Review NDA 204485                                                                     Dup, H ,R, F, 403,
                                                                                                                                                                      1006, E
PTX-0146   2012-09-26   EAGLEVAS0014051    EAGLEVAS0014355     Biopharmaceutics Review: Vasopressin Injection, USP                                                    Dup, H, R, F, 403, IN,
                                                                                                                                                                      1006
PTX-0147   2012-09-26   EAGLEVAS0014351    EAGLEVAS0014364     Biopharmaceutics Review: Vasopressin Injection, USP                                                    Dup, H, R, F, 403,
                                                                                                                                                                      1006
PTX-0148   2012-09-26   EAGLEVAS0014351    EAGLEVAS0014364     Vasopressin Injection Biopharmaceutics Review                                                          Dup, H, R, F, 403,
                                                                                                                                                                      1006
PTX-0153   2015-06-01   EAGLEVAS0038897    EAGLEVAS0038905     Adamsons 1958 - The Stability of Natural and Synthetic Neurophysial Hormones in                        H, R, F, 403
                                                               Vitro
PTX-0232                EAGLEVAS0058064    EAGLEVAS0058337     Yoshioka, S. and Stella, V. Stability of Drugs and Dosage Forms. Kluwer Academic                       H, A, R, F, 403, 26
                                                               Publishers 2012
PTX-0236   2015-05-20   PAR-VASO_0000977   PAR-VASO_00001013   United States Patent and Trademark Filing Application                                                  Dup, E
PTX-0242   2014-06-03   PAR-VASO_0014805   PAR-VASO_0014809    Letter - General Advice on Content of Labeling for Vasostrict                                          H, A, R, F, 403
PTX-0243   2012-09-25   PAR-VASO_0015573   PAR-VASO_0015586    FDA NDA Approval Letter                                                                                Dup, E
PTX-0244   2012-09-25   PAR-VASO_0015573   PAR-VASO_0015586    Letter acknowledging receipt of amendments for Vasostrict                                              Dup, E
PTX-0245   2017-06-05   PAR-VASO_0024408   PAR-VASO_0024421    Tabulated Stability Data through 23 Month Interval                                                     H, A, R, 403, F
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                                                                             EXHIBIT
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                                                                              Plaintiffs Second Amended Exhibit List


PTX #      Date         Bates Begin        Bates End            Description                                                                        Amneal Depo. Exh.   Objections
                                                                                                                                                   No.
PTX-0246   2009-03-16   PAR-VASO_0025902   PAR-VASO_0025949 JHP Research Report 703-00159 Analytical Method Validation Report for the                                  H, A, R, 403, F
                                                            Determination of Vasopressin and Impurities in Pitressin Gradient HPLC
PTX-0247   2014-10-21   PAR-VASO_0028307   PAR-VASO_0028352 Pharmaceutical Development Technical Report - Document Approval (FRD-14-001R)                              H, A, R, F, 403

PTX-0248   2014-10-21   PAR-VASO_0028307   PAR-VASO_0028352 Vasostrict (Vasopressin injection, USP) Justification of Time Out of Refrigeration                         H, A, R, F, 403
PTX-0249   2014-08-26   PAR-VASO_0029501   PAR-VASO_0029502 Chain email from P. Dardaine to M. Kenney re SA Rochester Slides 8/29/14 Updated                           H, A, R, F, 403
                                                             needed (redacted)
PTX-0250                PAR-VASO_0030050   PAR-VASO_0030052 2014-05-28 Meeting Minutes                                                                                 H, A, R, F, 403
PTX-0251   2015-10      PAR-VASO_0030399   PAR-VASO_0030458 PAR Vasostrict, 20 Unites/mL, pH 3.8 Acetate Buffer, Single Dose (Preservative Free)                       H, A, Dup, R, F, 403
                                                             (Stock # 2002501) Product Development Technical Report FRD-15-012
PTX-0252                PAR-VASO_0030563   PAR-VASO_0030582 Product Development Stability Summary, Room Temperature Evaluation for                                     H, A, R, F, 403
                                                             Vasostrict pH 3.8 Acetate Buffer, Single Dose (Stock # 2002501)
PTX-0253   2016-02-17   PAR-VASO_0030979   PAR-VASO_00310015 Vasostrict, 20 units per ml Product Development Technical Report                                          H, A, Dup, R, F, 403
PTX-0254   2013-05-09   PAR-VASO_0031687   PAR-VASO_0031708 Product Development Procedure Validation Report                                                            H, A
PTX-0255   2017-06-05   PAR-VASO_0042538   PAR-VASO_0042551 Vaso 1mL stk 2002501_23M data for OOR studies_07Jun17.pdf                                                  Dup, H, A, R, 403, F
PTX-0256   2016-09-07   PAR-VASO_0046745                     Vasostrict, 20 Units.ML Stability Request/Initiation                                                      H, A, R, 403, F
PTX-0258   2015-01-27   PAR-VASO_0059897   PAR-VASO_0059949 Par R&D Lab Notebook of Vinayagam Kannan No. 44 Project Vasostrict                                         H, R, 403
PTX-0259   2014-06-01   PAR-VASO_0059950   PAR-VASO_0060041 Par R&D Lab Notebook of Kenney No. 71 Project Pitressin Formulation                                        H, Dup, R, 403
PTX-0260                PAR-VASO_0059950   PAR-VASO_0060041 Par R&D Lab Notebook of Kenney No. 71 Project Pitressin Formulation                                        H, Dup, R, 403
PTX-0261                PAR-VASO_0060083   PAR-VASO_0060106 3 month-Interim Stability Summary Vasostrict pH 3.8 Acetate Buffer, Multiple Dose                          H, A, DUP, R F, 403
                                                             (Stock # 2002525)
PTX-0262                PAR-VASO_0060127   PAR-VASO_0060163 Product Development Technical Report FRD-16-001                                                            H, A, DUP, R, F, 403
PTX-0263                PAR-VASO_0060713   PAR-VASO_0060736 3 month-Interim Stability Summary Vasostrict pH 3.8 Acetate Buffer, Single Dose                            H, A, DUP, R, F, 403
                                                             (Stock # 2002501)
PTX-0264                PAR-VASO_0061004   PAR-VASO_0061004 Par Spreadsheet with Vasostrict Reformulation Information                                                  H, A, R, F, 403, E
PTX-0265                PAR-VASO_0061005   PAR-VASO_0061005 Par Spreadsheet with Sample name and conditions                                                            H, A, R, F, 403, E
PTX-0266   2015-10-16   PAR-VASO_0062982   PAR-VASO_0062994 Tabulated Stability Data through 3 Month Interval                                                          H, A, DUP, R, F, 403
PTX-0267   2016-02-05   PAR-VASO_0066728   PAR-VASO_0066823 Vasostrict, 20 Units per 1ml Master Batch Record                                                           H, R, 403
PTX-0268                PAR-VASO_0067647   PAR-VASO_0067659 Stability Results NDA 204485, Sequence # 0059, Supplement S-004                                            H, A, Dup, R, 403, F
PTX-0270                PAR-VASO_0072472   PAR-VASO_0072502 Pitressin 2.3.P Drug Product Stability                                                                     H, E
PTX-0271   2012-06-27   PAR-VASO_0073573   PAR-VASO_0073583 Product Development Report DEV-12-033R                                                                     H, A, Dup, R, F, 403
PTX-0272   2014-11-22   PAR-VASO_0081195   PAR-VASO_0081292 Vasostrict, 20 Units per 1ml Master Batch Record                                                           H
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                                                                             EXHIBIT
                                                                             1076217
                                                                              Plaintiffs Second Amended Exhibit List


PTX #      Date         Bates Begin        Bates End            Description                                                                      Amneal Depo. Exh.   Objections
                                                                                                                                                 No.
PTX-0273                PAR-VASO_0082232   PAR-VASO_0082234 3.2.P.1 Vasostrict Description and Composition                                                           H
PTX-0274   2012-04-16   PAR-VASO_0088184   PAR-VASO_0088212 Product Development Technical Report DEV-12-16 - Identification of Pitressin                             H, A, R, F, 403
                                                            Impurities and Development of the AVP Impurity marker Solution D009-19
PTX-0275                PAR-VASO_0089744   PAR-VASO_0089750 Bi, Mingda., Effect of buffer pH, buffer concentration and skin with or without                          H, A, R, F, 403
                                                            enzyme inhibitors on the stability of [Arg8]-vasopressin, International Journal of
                                                            Pharmaceutics 197 (2000) 87-93
PTX-0276   2013-02-04   PAR-VASO_0089785   PAR-VASO_0089787 Email from V. Kannan to T. Kovalcik re: Pitressin NDA optimized product study                            H, A, R, F, 403
PTX-0277                PAR-VASO_0089788   PAR-VASO_0089791 Comparison of Vasopressin Formulations                                                                   H, A, R, F, 403
PTX-0278   2015-09-29   PAR-VASO_0093612   PAR-VASO_0093671 Product Development Technical Report FRD-15-012 Vasostrict, 20 Units/mL, pH 3.8                          H, A, Dup, R, F, 403
                                                            Acetate Buffer, Single Dose (Preservative Free) (Stock #2002501)
PTX-0279   2015-09-29   PAR-VASO_0093612   PAR-VASO_0093671 Product Development Technical Report FRD-15-012 Vasostrict, 20 Units/mL, pH 3.8                          H, A, Dup, R, F, 403
                                                            Acetate Buffer, Single Dose (Preservative Free) (Stock #2002501)
PTX-0280   2015-09-29   PAR-VASO_0093612   PAR-VASO_0093671 Product Development Technical Report FRD-15-012 Vasostrict, 20 Units/mL, pH 3.8                          H, A, Dup, R, F, 403
                                                            Acetate Buffer, Single Dose (Preservative Free) (Stock #2002501)
PTX-0281                PAR-VASO_0096366   PAR-VASO_0096447 Master Batch Record 2002532 Rev R002                                                                     H, A, E, R, F, 403
PTX-0282                PAR-VASO_0100092   PAR-VASO_0100188 Master Batch Record 2002501 Rev 9                                                                        H, A, R, F, 403, E
PTX-0283                PAR-VASO_0100393   PAR-VASO_0100491 Master Batch Record 2002525 Rev 7                                                                        H, A, R, F, 403
PTX-0284   2016-03-28   PAR-VASO_0101219   PAR-VASO_0101320 Master Batch Record 2002501, Revision 003                                                                H, A, R, F, 403
PTX-0285   2016-01-28   PAR-VASO_0101219   PAR-VASO_0101320 Vasostrict, 20 units per 1 ML Master Batch Record                                                        H, A, R, F, 403
PTX-0286   2014-10-09   PAR-VASO_0111795   PAR-VASO_0111795 E-mail from P. Dardaine to S. Ahmed et al. re SA Rochester Slides - 10/10/14                             H, A, R, F, 403
PTX-0287                PAR-VASO_0111796   PAR-VASO_0111829 2014-10-10 Project Management Slides                                                                     H, A, R, F, 403
PTX-0288   2014-08-14   PAR-VASO_0112061   PAR-VASO_0112061 E-mail from P. Dardaine to S. Ahmed et al. re SA Rochester Slides - 8/15/14                              H
PTX-0289                PAR-VASO_0112062   PAR-VASO_0112112 2014-08-15 Project Management Slides                                                                     H
PTX-0290   2014-07-17   PAR-VASO_0113001   PAR-VASO_0113001 E-mail from P. Dardaine to S. Ahmed et al. re SA Rochester Slides - 7/18/14                              H, A, R, F, 403
PTX-0291                PAR-VASO_0113002   PAR-VASO_0113037 2014-07-18 Project Management Slides                                                                     H, A, R, F, 403
PTX-0292   2014-12-04   PAR-VASO_0113467   PAR-VASO_0113467 E-mail from P. Dardaine to S. Ahmed et al. re SA Rochester Slides - 12/5/14                              H, A, R, F, 403
PTX-0293                PAR-VASO_0113468   PAR-VASO_0113500 2014-12-05 Project Management Slides                                                                     H, A, R, F, 403
PTX-0294   2011-09-19   PAR-VASO_0120243   PAR-VASO_0120263 SV 4200 Pitressin (Synthetic) USP, 20 units per 1 Ml Master Batch Record                                 H, Dup
PTX-0295   2011-09-19   PAR-VASO_0120243   PAR-VASO_0120363 SV 4200 Pitressin USP Master Batch Record                                                                H, Dup
PTX-0296   2015-05-07   PAR-VASO_0134068   PAR-VASO_0134068 E-mail from P. Dardaine to S. Ahmed et al. re SA Rochester Slides - 5/8/15                               H, A, R, F, 403, E
PTX-0297                PAR-VASO_0134069   PAR-VASO_0134103 2015-05-08-Project Management Slides                                                                     H, A, R, F, 403
PTX-0298   2014-11-06   PAR-VASO_0135570   PAR-VASO_0135570 E-mail from P. Dardaine to S. Ahmed et al. re SA Rochester Slides - 11/7/14                              H, A, R, F, 403
                                           Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 501 of 820 PageID #:
                                                                             EXHIBIT
                                                                             1076227
                                                                               Plaintiffs Second Amended Exhibit List


PTX #      Date         Bates Begin        Bates End             Description                                                                         Amneal Depo. Exh.   Objections
                                                                                                                                                     No.
PTX-0299                PAR-VASO_0135571   PAR-VASO_0135604 2014-11-07 Project Management Slides                                                                         H, A, R, F, 403
PTX-0300   2015-01-15   PAR-VASO_0200879                    Email from M. Kenney to S. Sanghvi re: Vasopressin Experimental Summary                                      H
PTX-0301                PAR-VASO_0200880   PAR-VASO_0200913 Vasopressin Experimental Summary                                                                             H, Dup
PTX-0302                PAR-VASO_0200880   PAR-VASO_0200913 Vasopressin Experimental Summary                                                                             H, Dup
PTX-0305                PAR-VASO_0219794   PAR-VASO_0219795 Pitressin (Vasopressin Injection, USP Synthetic Warning Label                                                H
PTX-0306                PAR-VASO_0226936   PAR-VASO_0227034 Spreadsheet                                                                                                  H, A, R, F, 403, E
PTX-0307                PAR-VASO_0226936   PAR-VASO_0227034 Spreadsheet                                                                                                  H, A, R, F, 403, E
PTX-0308                PAR-VASO_0230505   PAR-VASO_0230536 Table of Contents re: Stability                                                                              H, A, R, F, 403, E
PTX-0309   2013-10-18   PAR-VASO_0238720   PAR-VASO_0238757 Center for Drug Evaluation and Research, Chemistry Reviews                                                   H, A, R, F, 403, E
PTX-0310   2015-05-01   PAR-VASO_0239795   PAR-VASO_0239802 USP Monograph 38, NF 33                                                                                      H, A, R, F, 403, E
PTX-0311                PAR-VASO_0246222   PAR-VASO_0246429 Notebook No. 1281                                                                                            H
PTX-0312                PAR-VASO_0246430   PAR-VASO_0246652 Notebook No. 1283                                                                                            H
PTX-0313                PAR-VASO_0247613   PAR-VASO_0247819 Notebook No. 1277                                                                                            H, A, R, F, 403
PTX-0314                PAR-VASO_0248169   PAR-VASO_0248172 Vasostrict Chart                                                                                             H
PTX-0315                PAR-VASO_0248782   PAR-VASO_0249000 Notebook No. 1285                                                                                            H, A, R, F, 403
PTX-0316                PAR-VASO_0291641   PAR-VASO_0291658 FDA, Analytical Procedures and Methods Validations for Drugs and Biologics:                                  H, A, R, 403, F
                                                            Guidance for Industry, Ctr. For Drug Evaluation and Research (July 2015)
PTX-0317                PAR-VASO_0291724   PAR-VASO_0291760 Guidance for Industry: Analytical Procedures and Methods Validation (Draft                                   H, A, R, 403, F
                                                            Guidance) August 2000
PTX-0318                PAR-VASO_0291761   PAR-VASO_0291775 Pharmaceutical Stress Testing: Predicting Drug Degradation (S.W. Baertschi, ed.)                             H, A, R, 403, F
                                                            (2005)
PTX-0319                PAR-VASO_0291790   PAR-VASO_0291794 Webpage with information about patent examiner Christina Bradley                                             H, A, R, 403, F, E
PTX-0320                                                    A. Joshi, E. Rus, L. Kirsch, The degradation pathways of glucagon in acidic solutions,                       H, A, R, 403, F, 26
                                                            International Journal of Pharmaceutics 203 (2000)
PTX-0322                                                    CV of Lee E. Kirsch                                                                                          H, A, R, 403, F
PTX-0324                                                    CV of Zlatan Coralic, PharmD, BCPS                                                                           H, A, R, 403, F
PTX-0325   2019-03-22                                       Declaration of Zlatan Coralic                                                                                H
PTX-0326   2015-05-20                                       Declaration Under 37 CFR 1.32 by Inventor Sunil Vandse                                                       Dup, H, I, E
PTX-0328   2015-05-20                                       Declaration under 37 CFR by Inventor Sunil Vandse                                                            Dup, H, I, E
PTX-0329   2015-05-20                                       Declaration under 37 CFR by Inventor Vinayagam Kannan                                                        Dup, H, I, E
PTX-0330   2015-05-20                                       Declaration under 37 CFR by Inventor Vinayagam Kannan                                                        Dup, H, I, E
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                                                                            EXHIBIT
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PTX #      Date         Bates Begin       Bates End         Description                                                                          Amneal Depo. Exh.   Objections
                                                                                                                                                 No.
PTX-0339                                                    Ex. B. FDA Guidance for Industry, ANDA Submissions - Content and Format June                             H, A, R, F, 403, 26,
                                                            2019                                                                                                     DUP
PTX-0340                                                    Ex. C. FDA Guidance for Industry, ANDA's: Stability Testing of Drug Substances and                       H, A, R, F, 403, 26
                                                            Products: Quesitons and Answers: (May 2014)
PTX-0347                                                    H. Fresier and Q. Fernando, IONIC EQUILIBRIA IN ANALYTICAL CHEMISTRY, Wiley,                             H, A, R, F, 403,
                                                            New York (1963)
PTX-0349                                                    Holmes et al., Science Review: Vasopressin and the cardiovascular system part                            H, A, R, F, 403, 26
                                                            2—clinical physiology, Critical Care 2004, 8:15-23 (June 26, 2003)
PTX-0350                                                    Holmes, et al., Science Review: Vasopressin and the cardiovascular system part                           H, A, R, F, 403, 26
                                                            1—receptor physiology, Critical Care, 2003, 7:427-34 (June 26, 2003)

PTX-0353   2019-05-03                                       Joint Claim Construction Brief                                                                           H, R, F, 403
PTX-0355   2015-05-20                                       Office Action Summary                                                                                    R, 403, E
PTX-0372   2015-08-14                                       Response to Action: Peptide Congeners with Polymer Excipients                                            Dup, E
PTX-0373   2015-11-24                                       Response to Final Office Action and Request for Continued Examination re:                                Dup, E
                                                            Vasopressin Formulations for use in Treatment of Hypotension
PTX-0374                                                    Stratton, Lewis, Controlling Deamidation Rates in a Model Peptide: Effects of                            H, A, R, F, 403
                                                            Temperature, Peptide Concentration, and Additives, Journal of Pharmaceutical
                                                            Sciences Vol. 90, No. 12 (December 2001) 2141-2148
PTX-0375   2019-04-16                                       Supplemental Declaration of Zlatan Coralic                                                               H, A, R, F, 403
PTX-0376   2015-10-21                                       United States Patent Application NO. 14717877 Office Action Summary                                      Dup
PTX-0377   2015-05-20                                       United States Patent Application NO. 14717877 Office Action Summary                                      Dup
PTX-0378   2009-05-01   EAGLEVAS0058037   EAGLEVAS0058040   USP 32 (2009)                                                                                            H, A, R, F, 403
PTX-0379   2012-05-01                                       USP 35 (2012) <791>                                                                                      H, A, R, F, 403
PTX-0381                                                    Wang, Wei, Instability, stabilization and formulation of liquid protein                                  H, A, R, F, 403
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PTX-0382                                                    Vasostrict Label                                                                                         H, A
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PTX-0409   xx/xx/2013   AMPHPA0006136     AMPHPA0006184     Pharmaceutical Formulation Development of Peptides and Proteins (2d ed.) (L.                             H, A, R, F, 403
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PTX-0410   2015-05-01   AMPHPA0006744     AMPHPA0006747     USP Vasopressin Injection USP 38                                                                         H, A, R, F, 403
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PTX-0411   2017-04-28   PAR-VASO_0070200   PAR-VASO_0070289   Stability Data                                                                                             R, 403, 1006
PTX-0412   2013-05-17   PAR-VASO_0077369   PAR-VASO_0077369   JHP May 2013 Letter to FDA, Request for Reconsideration of Proprietary Name                                R, 403
PTX-0413   2013-02-04   PAR-VASO_0089792   PAR-VASO_0089792   Email from Kannan to Bergren re Pitressin Comparison                                                       H, A, R, F, 403
PTX-0414   2013-02-04   PAR-VASO_0089793   PAR-VASO_0089796   Comparison of Vasopressin Formulations                                                                     H, A, R, F, 403
PTX-0417   xx/xx/1993   PAR-VASO_0298219   PAR-VASO_0298224   Kirsch, L. E., Riggin, R., Gearhart, D., LeFeber, D., Lytle, D., “In-process Protein                       H, A, R, F, 403
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PTX-0421                PAR-VASO_0298451   PAR-VASO_0298599   Nail, S. L., & Akers, M. J. (2002). Development and manufacture of protein                                 H, A, R, F, 403
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PTX-0422                PAR-VASO_0298600   PAR-VASO_0298725   James E. De Muth, Basic Statistics and Pharmaceutical Statistical Application, 2nd,                        H, A, R, F, 403
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PTX-0423                PAR-VASO_0298726   PAR-VASO_0298740   C. Lawrence, A. Reilly, "Maximum Likelihood Estimation of Subsequence                                      H, A, R, F, 403
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PTX-0467                                                      Exhibit 1 - Guidance for Industry Q1E Evaluation of Stability Data June 2004                               H, A, R, F, 403
PTX-0468                                                      Exhibit 2 - ICH Harmonised Tripartite Guideline Evaluation for Stability Data Q1E                          H, A, R, F, 403
                                                              February 6 2003
PTX-0469   2016-03-18   PAR-VASO_0014613   PAR-VASO_0014618   NDA 204485 Approval Letter                                                                                 H, R, 403
PTX-0470                PAR-VASO_0298746   PAR-VASO_0298750   FDA Emergency Preparedness and Response: Expiration Dating Extension                                       H, A, R, F, 403
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PTX-0600                AMVAS0000001   AMVAS0009090     Amneal’s ANDA No. 212944 Sequences 1-9                                                H, R, F, 403
                        AMVAS0018317   AMVAS0018464
                        AMVAS0018618   AMVAS0018619
                        AMVAS0018622
                        AMVAS0018624   AMVAS0018667
                        AMVAS0078354   AMVAS0078383
                        AMVAS0120290   AMVAS0120334
                        AMVAS0120386   AMVAS0120486
                        AMVAS0120439   AMVAS0120447
                        AMVAS0131379   AMVAS0131646

PTX-0601                AMVAS0009091   AMVAS0018316     Amneal’s ANDA No. 212945 Sequences 1-9                                                H, R, F, 403
                        AMVAS0018465   AMVAS0018617
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                        AMVAS0018623
                        AMVAS0018668   AMVAS0018714
                        AMVAS0078384   AMVAS0078413
                        AMVAS0120335   AMVAS0120385
                        AMVAS0120407   AMVAS0120427
                        AMVAS0120448   AMVAS0120456
                        AMVAS0133647   AMVAS0133927

PTX-0602                AMVAS0018624   AMVAS0018667     Module 3.2.P.8.3 Stability Data                                                       Dup, R, 403
PTX-0603   2020-07-14   AMVAS0120290   AMVAS0120334     Module 3.2.P.8.3 Stability Data                                                       Dup, R, 403
PTX-0604   2020-07-17   AMVAS0120386   AMVAS0120406     Module 3.2.P.8.3 Stability Report for Additional Study                                Dup, R, 403
PTX-0605   2019-12-16   AMVAS0120439   AMVAS0120447     Amneal’s ANDA No. 212944 Sequences 1-8-SDV                                            Dup, R, 403
PTX-0606   2020-07-17   AMVAS0120407   AMVAS0120427     Module 3.2.P.8.3 Stability Report for Additional Study                                Dup, R, 403
PTX-0607                AMVAS0120448   AMVAS0120456     Amneal’s ANDA No. 212945 Sequences 1-8 -MDV                                           Dup, R, 403
PTX-0608   2018-12-11   AMVAS0000001   AMVAS0000002     Module 1.12.11 ANDA Basis for Submission Statement                                    Dup
PTX-0609   2018-12-11   AMVAS0000003   AMVAS0000006     SDV Module 1.12.11 Basis for Submission                                               R, 403
PTX-0610   2018-12-25   AMVAS0000010   AMVAS0000033     Module 1.12.15 Request for Waiver of In-VIVO BA/BE Studies                            R, 403
PTX-0611   2018-12-21   AMVAS0000296   AMVAS0000456     Module 2.3.P Drug Product                                                             R, 403, E
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PTX-0612   2018-12-20   AMVAS0001018   AMVAS0001056     Module 3.2.P.1 Description and Composition of the Drug Product                                            R, 403
PTX-0613   2018-12-19   AMVAS0001254   AMVAS0001384     Module 3.2.P.2 Pharmaceutical Development                                                                 R, 403, Dup
PTX-0614   2018-12-03   AMVAS0002202   AMVAS0002217     Product Bubble Point Ratio Determination Test Report                                                      R, 403, E
PTX-0615   2018-12-03   AMVAS0002218   AMVAS0002237     Filter Compatibility Test Protocol                                                                        R, 403
PTX-0616   2018-12-24   AMVAS0001385   AMVAS0001428     Module 3.2.P.3.1 Manufacturer(s)                                                                          R, 403
PTX-0617   2018-12-05   AMVAS0001429   AMVAS0001432     Module 3.2.P.3.2 Batch Formula                                                                            R, 403
PTX-0618   2018-12-06   AMVAS0001443   AMVAS0001496     Module 3.2.P.3.3 Description of the Manufacturing Process and Process Controls                            R, 403
PTX-0619   2018-12-03   AMVAS0001497   AMVAS0001511     Module 3.2.P.3.3 Batch Manufacturing Record Comparison (Rationale)                                        Dup, R, 403
PTX-0620   2018-11-27   AMVAS0001512   AMVAS0001640     Intended Batch Manufacturing Record                                                                       Dup, R, 403
PTX-0621   2018-05-30   AMVAS0002086   AMVAS0002092     Exhibit Batch In-Process Certificates of Analysis                                                         R, 403
PTX-0622   2019-09-16   AMVAS0018333   AMVAS0018338     Module 3.2.P.3.4 In-Process Specifications / Laboratory Test Report Form                                  R, 403
PTX-0623   2018-11-20   AMVAS0003963   AMVAS0003974     Module 3.2.P.5.2 Analytical Procedure for Assay of Vasopressin (In Unit)                                  R, F, 403
PTX-0624   2018-12-17   AMVAS0003983   AMVAS0003993     Module 3.2.P.5.2 Analytical Procedure for General Methods                                                 R, F, 403
PTX-0625   2018-11-28   AMVAS0003994   AMVAS0004083     Module 3.2.P.5.2 Analytical Procedure for Related Compounds                                               R, F, 403
PTX-0626   2018-12-17   AMVAS0004084   AMVAS0004143     Superiority/Equivalency Report of Analytical Procedure for Assay of Vasopressin                           R, 403
PTX-0627   2018-12-15   AMVAS0004144   AMVAS0004156     Module 3.2.P.5.3 Validation of Analytical Procedures and Sample Statement                                 R, 403
PTX-0628   2018-11-28   AMVAS0004157   AMVAS0004214     Comparative Analytical Evaluation Study Report for Assay                                                  R, 403
PTX-0629   2018-11-30   AMVAS0004215   AMVAS0004295     Module 3.2.P.5.3 Validation Report of Analytical Procedure for Assay of Vasopressin                       Dup, R, 403, 1006
                                                        (In Units)
PTX-0630   2018-10-12   AMVAS0004296   AMVAS0004429     Module 3.2.P.5.3 Validation Report of Revised Analytical Procedure for Assay of                           Dup, R, 403, 1006
                                                        Vasopressin (In Units)
PTX-0631                AMVAS0004505   AMVAS0004577     Comparative Analytical Evaluation Study Report for Related Compound                                       R, 403, 1006
PTX-0632   2018-12-10   AMVAS0004578   AMVAS0004859     Module 3.2.P.5.3 Validation Report of Analytical Procedure for Related Compounds                          R, 403, 1006
                                                        (By UPLC)
PTX-0633   2018-10-10   AMVAS0004860   AMVAS0005117     Module 3.2.P.5.3 Validation Report of Analytical Procedure for Related Compounds                          R, 403, 1006
                                                        (By HPLC)
PTX-0634   2018-12-17   AMVAS0005136   AMVAS0005186     Certificates of Analysis for Batch                                                                        R, 403
PTX-0635   2018-12-18   AMVAS0005187   AMVAS0005195     Module 3.2.P.5.5 Characterization of Impurities                                                           Dup, E, R, 403
PTX-0636   2018-12-17   AMVAS0005538   AMVAS0005544     Additional Study Protocol for Vasopressin Injection USP, 20 Units/mL                                      R, 403
PTX-0637   2018-12-17   AMVAS0005552   AMVAS0005560     Stability Protocol                                                                                        Dup, R, 403
PTX-0638   2018-12-14   AMVAS0005561   AMVAS0005562     Module 3.2.P.8.1 Stability Summary and Conclusion                                                         R, 403
PTX-0639   2018-12-13   AMVAS0005570   AMVAS0005577     Module 3.2.P.8.2 Post-Approval Stability Commitment                                                       R, 403
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PTX-0640   2018-12-24   AMVAS0005631   AMVAS0006252     Module 3.2.P.8.3 Stability Data Overview                                                             Dup, R, 403
PTX-0641   2018-11-23   AMVAS0006272   AMVAS0006288     Module 3.2.R.1.P.1 Executed Batch Records with Reconciliation                                        R, 403
PTX-0642   2018-05-04   AMVAS0006289   AMVAS0006620     Batch Manufacturing Record –                                                                         H, R, 403, Dup
PTX-0643   2018-05-10   AMVAS0006621   AMVAS0006943     Batch Manufacturing Record –                                                                         H, R, 403, Dup
PTX-0644   2018-05-10   AMVAS0006944   AMVAS0007390     Batch Manufacturing Record –             4                                                           H, R, 403, Dup
PTX-0645                N/A                             Unused Number
PTX-0646                N/A                             Unused Number
PTX-0647                N/A                             Unused Number
PTX-0648   2018-12-25   AMVAS0007625   AMVAS0007665     Module 3.2.S.3 Characterization                                                                      R, 403
PTX-0649                AMVAS0008966   AMVAS0008969     Final Carton or Container Labels                                                                     R, F, 403

PTX-0650                AMVAS0009026   AMVAS0009026     Final Carton or Container Labels                                                                     R, F, 403, E

PTX-0651                AMVAS0009027   AMVAS0009027     Final Carton or Container Labels                                                                     R, F, 403, E, Dup
PTX-0652   2019-03-01   AMVAS0008970   AMVAS0008971     1-14-2-3-final-package-insert-fpl                                                                    R, 403, Dup
PTX-0653   2019-03-01   AMVAS0008972   AMVAS0008982     1-14-2-3-final-package-insert                                                                        R, 403, E
PTX-0654   2019-09-18   AMVAS0018339   AMVAS0018353     Module 3.2.P.5.1 Finished Product Specifications                                                     Dup, R, 403
PTX-0655   2019-09-17   AMVAS0018354   AMVAS0018425     Module 3.2.P.5.6 Justification of Specifications for Finished Product                                R, 403
PTX-0656   2019-02-14   AMVAS0025200   AMVAS0025205     Paragraph IV Acknowledgement-ANDA Receipt from FDA to Amneal                                         R, 403
PTX-0657   2018-12-11   AMVAS0009091   AMVAS0009092     Module 1.12.11 ANDA Basis for Submission Statement                                                   R, 403
PTX-0658   2018-12-11   AMVAS0009093   AMVAS0009096     Module 1.12.12 Comparison Between Generic Drugs and RLD                                              R, 403
PTX-0659   2018-12-25   AMVAS0009100   AMVAS0009115     Module 1.12.15 Request for Waiver of In-VIVO BA/BE Studies                                           R, 403
PTX-0660   2018-12-15   AMVAS0009368   AMVAS0009544     Module 2.3.P Drug Product                                                                            Dup, R, 403, E
PTX-0661   2018-12-20   AMVAS0010136   AMVAS0010166     Module 3.2.P.1 Description and Composition of the Drug Product                                       R, 403
PTX-0662   2018-12-13   AMVAS0010387   AMVAS0010541     Module 3.2.P.2 Pharmaceutical Development                                                            R, 403, Dup
PTX-0663                AMVAS0011412   AMVAS0011425     Product Bubble Point Ratio Determination Test Report                                                 R, 403, Dup
PTX-0664   2018-05-23   AMVAS0011426   AMVAS0011439     Filter Compatibility Test Protocol                                                                   R, 403
PTX-0665   2018-12-24   AMVAS0010561   AMVAS0010607     Module 3.2.P.3.1 Manufacturer(s)                                                                     R, 403
PTX-0666   2018-12-05   AMVAS0010608   AMVAS0010611     Module 3.2.P.3.2 Batch Formula                                                                       R, 403
PTX-0667   2018-12-06   AMVAS0010622   AMVAS0010676     Module 3.2.P.3.3 Description of the Manufacturing Process and Process Controls                       R, 403
PTX-0668   2018-12-03   AMVAS0010677   AMVAS0010692     Module 3.2.P.3.3 Batch Manufacturing Record Comparison (Rationale)                                   R, 403
PTX-0669   2018-11-23   AMVAS0010693   AMVAS0010826     Intended Batch Manufacturing Record                                                                  R, 403
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PTX-0670   2019-09-16   AMVAS0018481   AMVAS0018486     Module 3.2.P.3.4 In-Process Specifications / Laboratory Test Report Form                                  R, 403
PTX-0671   2018-11-20   AMVAS0013399   AMVAS0013409     Module 3.2.P.5.2 Analytical Procedure for Assay of Vasopressin (In Unit)                                  R, F, 403
PTX-0672   2018-12-17   AMVAS0013428   AMVAS0013441     Module 3.2.P.5.2 Analytical Procedure for General Methods                                                 R, F, 403
PTX-0673   2018-12-10   AMVAS0013566   AMVAS0013579     Module 3.2.P.5.3 Validation of Analytical Procedures and Sample Statement                                 R, 403
PTX-0674   2018-11-28   AMVAS0013580   AMVAS0013638     Comparative Analytical Evaluation Study Report for Assay                                                  R, 403
PTX-0675   2018-12-15   AMVAS0013639   AMVAS0013724     Module 3.2.P.5.3 Validation Report of Analytical Procedure for Assay of Vasopressin                       R, 403
                                                        (In Units)
PTX-0676   2018-12-15   AMVAS0013725   AMVAS0013787     Module 3.2.P.5.3 Validation Report of Revised Analytical Procedure for Assay of                           R, 403, E
                                                        Vasopressin (In Units)
PTX-0677   2018-12-05   AMVAS0013913   AMVAS0013985     Comparative Analytical Evaluation Study Report for Related Compound                                       R, 403
PTX-0678   2018-12-08   AMVAS0013986   AMVAS0014266     Module 3.2.P.5.3 Validation Report of Analytical Procedure for Related Compounds                          R, 403
                                                        (By UPLC)
PTX-0679   2018-12-17   AMVAS0014267   AMVAS0014551     Module 3.2.P.5.3 Validation Report of Analytical Procedure for Related Compounds                          R, 403
                                                        (By HPLC)
PTX-0680   2018-12-17   AMVAS0014570   AMVAS0014638     Certificates of Analysis for Batch Nos                                                                    R, 403
PTX-0681   2018-12-11   AMVAS0014639   AMVAS0014647     Module 3.2.P.5.5 Characterization of Impurities                                                           Dup, E, R, 403
PTX-0682   2018-12-17   AMVAS0014982   AMVAS0014988     Additional Study Protocol for Vasopressin Injection USP, 20 Units/mL                                      R, 403
PTX-0683   2018-12-17   AMVAS0014996   AMVAS0015004     Stability Protocol                                                                                        Dup, R, 403
PTX-0684   2018-12-14   AMVAS0015005   AMVAS0015006     Module 3.2.P.8.1 Stability Summary and Conclusion                                                         R, 403
PTX-0685   2018-12-12   AMVAS0015014   AMVAS0015021     Module 3.2.P.8.2 Post-Approval Stability Commitment                                                       r, 403
PTX-0686   2018-12-21   AMVAS0015094   AMVAS0015766     Module 3.2.P.8.3 Stability Data Overview                                                                  Dup, R, 403
PTX-0687   2018-11-21   AMVAS0015786   AMVAS0015802     Module 3.2.R.1.P.1 Executed Batch Records with Reconciliation                                             R, 403
PTX-0688                N/A                             Unused Number
PTX-0689                N/A                             Unused Number
PTX-0690                N/A                             Unused Number
PTX-0691   2018-05-18   AMVAS0015803   AMVAS0016088     Batch Manufacturing Record –                                                                              R, 403
PTX-0692   2018-05-21   AMVAS0016089   AMVAS0016351     Batch Manufacturing Record –                                                                              R, 403
PTX-0693   2018-05-24   AMVAS0016352   AMVAS0016626     Batch Manufacturing Record –                                                                              R, 403
PTX-0694   2018-12-25   AMVAS0016856   AMVAS0016896     Module 3.2.S.3 Characterization                                                                           R, 403
PTX-0695   2019-03-16   AMVAS0018194   AMVAS0018196     Module 1.14.2.1 Final Carton or Container Labels                                                          Dup, R, 403
PTX-0696   2019-03-01   AMVAS0018253   AMVAS0018253     vasopressin-injection-usp-20-units-per-ml---10-ml-2                                                       Dup, R, 403
PTX-0697   2019-03-01   AMVAS0018254   AMVAS0018254     vasopressin-injection-usp-20-units-per-ml---10-ml-3-(10mL Carton)                                         Dup, R, 403
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PTX-0698   2019-03-01   AMVAS0018197       AMVAS0018198       MDV Package Insert                                                                                      Dup, R, 403
PTX-0699   2019-03-01   AMVAS0018199       AMVAS0018209       1-14-2-3-final-package-insert                                                                           Dup, R, 403
PTX-0700   2019-09-18   AMVAS0018487       AMVAS0018501       Module 3.2.P.5.1 Finished Product Specifications                                                        Dup, R, 403
PTX-0701   2019-09-17   AMVAS0018502       AMVAS0018575       Module 3.2.P.5.6 Justification of Specifications for Finished Product                                   R, 403
PTX-0702                AMVAS0018668       AMVAS0018714       Module 3.2.P.8.3 Stability Data                                                                         Dup, R, 403, E

PTX-0703                AMVAS0120335       AMVAS0120385       Module 3.2.P.8.3 Stability Data                                                                         R, 403

PTX-0704   2019-02-14   AMVAS0024704       AMVAS0024709       February 14, 2019, Paragraph IV Acknowledgement-ANDA Receipt from FDA to                                R, 403
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PTX-0705   2017-06-01   AMVAS0071848       AMVAS0071908       Laboratory Notebook, PD-LNB-155                                                                         H, R, 403
PTX-0706   2018-06-14   AMVAS0071786       AMVAS0071847       Laboratory Notebook, PD-LNB-176                                                                         H, R, 403
PTX-0707   2019-12-09                                         Amneals' Responses and Objections to Plaintiffs' RFPs (Nos. 1-40)                                       R, 403
PTX-0708   2019-12-09                                         Amneals' Responses and Objections to Plantiffs' First Set of Rogs. (Amneal)                             R, 403
PTX-0709   2020-03-02                                         Amneals' First Supplemental Responses and Objections to Plantiffs' First Set of                         R, 403
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PTX-0710   2020-08-03                                         Amneals' Second Supplemental Responses and Objections to Plaintiffs' First Set of                       R, 403, E
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PTX-0711   2020-07-02                                         Amneal's Responses and Objections to Plaintiffs' Second Set of Interrogatories                          R, 403
PTX-0712                AMVAS0051164       AMVAS0051164       Amneal Product Development Spreadsheet, Analytical Results Updated                                      R, 403, Dup
PTX-0713                AMVAS0057512       AMVAS0057512       Amneal Product Development Spreadsheet, Analytical Results Updated                                      R, 403, Dup
PTX-0714                PAR-VASO_0014782   PAR-VASO_0014787   March 2015 Vasostrict Label                                                                             H, A, E
PTX-0715   2017-04-25   PAR-VASO_0024462   PAR-VASO_0024475   Stability Tables, 2002501_21M data for OOR studies                                                      H, A, R, 403, F
PTX-0716   2014-10-21   PAR-VASO_0028307   PAR-VASO_0028352   Pharmaceutical Development Technical Report, FRD-14-001R                                                H, A, R, 403, F
PTX-0717   2018-05-03   PAR-VASO_0051301   PAR-VASO_0051369   Vasostrict - Stability Data for Annual Report                                                           H, R, 403
PTX-0718   2015-06-23   PAR-VASO_0063116   PAR-VASO_0063179   Certificate of Analysis, rc3279-bulk.pdf                                                                H, R, 403
PTX-0719   2015-07-13   PAR-VASO_0063191   PAR-VASO_0063238   Certificate of Analysis, rc3279-fill-part-1.pdf                                                         H, R, 403
PTX-0720   2015-06-03   PAR-VASO_0063367   PAR-VASO_0063432   Request for Sample/Testing, rc3280-bulk.pdf                                                             H, R, 403
PTX-0721   Undated      PAR-VASO_0063444   PAR-VASO_0063491   Certificate of Analysis, rc3280-fill-part-1.pdf                                                         H, R, 403
PTX-0722   2015-06-26   PAR-VASO_0063600   PAR-VASO_0063650   Certificate of Analysis, rc3281-bulk-part-1.pdf                                                         H, R, 403
PTX-0723   Undated      PAR-VASO_0063706   PAR-VASO_0063747   Certificate of Analysis - Release Chemistry, rc3281-fill-part-1.pdf                                     H, R, 403
PTX-0724   2015-10-12   PAR-VASO_0065457   PAR-VASO_0065546   Executed Master Batch Record, RC3300                                                                    H, A, R, 403, F
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PTX-0725   Undated      PAR-VASO_0065558   PAR-VASO_0065636   Executed Master Batch Record, rc3300-fill.pdf                                                            H, A, R, 403, F
PTX-0726   2015-10-21   PAR-VASO_0065688   PAR-VASO_0065760   Executed Master Batch Record, rc3301-bulk.pdf                                                            H, A, R, 403, F
PTX-0727                PAR-VASO_0065772   PAR-VASO_0065870   Executed Master Batch Record, rc3301-fill.pdf                                                            H, A, R, 403, F
PTX-0728   2015-10-27   PAR-VASO_0065929   PAR-VASO_0066011   Executed Master Batch Record, rc3302-bulk.pdf                                                            H, A, R, 403, F
PTX-0729   Undated      PAR-VASO_0066023   PAR-VASO_0066110   Executed Master Batch Record, rc3302-fill.pdf                                                            H, A, R, 403, F
PTX-0730                PAR-VASO_0071912   PAR-VASO_0071967   Stability Data - Annual Stability Lots                                                                   H, A, R, 403, F
PTX-0731   2019-02-07   PAR-VASO_0083614   PAR-VASO_0083646   Stability Tables, Stock No. 2002501                                                                      H, R, 403
PTX-0732   2015-03-17   PAR-VASO_0096634   PAR-VASO_0096687   Certificate of Analysis, 788436F Bulk                                                                    H, R, 403
PTX-0733   2016-07-01   PAR-VASO_0109117   PAR-VASO_0109128   License Agreement between Par Sterile Products and Endo Par Innovation                                   H, A, R, 403, F, Dup
                                                              Company, effective July 1, 2016
PTX-0734   2016-07-01   PAR-VASO_0109129   PAR-VASO_0109144   License Agreement between Par Sterile Products and Endo Par Innovation                                   H, A, R, 403, F, Dup
                                                              Company, effective July 1, 2016
PTX-0735   2018-05-30   PAR-VASO_0109145   PAR-VASO_0109146   Supplement to License Agreement dated July 1, 2016 between Par Sterile Products                          H, A, R, 403, F
                                                              and Endo Par Innovation Company
PTX-0736   2012-06-27   PAR-VASO_0138678   PAR-VASO_0138688   Product Development Report, Stability Comparison of Vasopressin, DEV-12-033R                             H, A, R, 403, F
PTX-0737                PAR-VASO_0292771   PAR-VASO_0292982   [Redacted] Kirsch Validity and Enforceability Expert Report.pdf                                          H, A, R, 403, F
PTX-0738                PAR-VASO_0254549   PAR-VASO_0254550   December 2016 Vasostrict Label                                                                           H, A
PTX-0739   2020-06-02   N/A                                   Pltfs. First Notice of Dep. Of Amneal Pharmaceuticals                           Exhibit 1 Joshi Volume   R, 403
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PTX-0740   2020-07-17   N/A                                   Email from J. Bennett t B. Goldberg re: Kenney Depositiion                      Exhibit 2 Joshi Volume   H, R, F, 403
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PTX-0741   2018-12-27   AMVAS0000178       AMVAS0000236       December 27, 2018 ANDA # 212944 Sequence # 0001 Cover Letter                    Exhibit 3 Joshi Volume   R, 403
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PTX-0742   2018-12-27   AMVAS0009258       AMVAS0009309       December 27, 2018 ANDA # 212945 Sequence # 0001 Cover Letter                    Exhibit 4 Joshi Volume   R, 403
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PTX-0743   2018-12-11   AMVAS0000001       AMVAS0000002       SDV Module 1.12.11 ANDA Basis for Submission Statement, December 11, 2018       Exhibit 5 Joshi Volume   R, 403
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PTX-0744   2018-12-11   AMVAS0009091       AMVAS0009092       MDV Module 1.12.11 ANDA Basis for Submission Statement, December 11, 2018       Exhibit 6 Joshi Volume   R, 403
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PTX-0745   2019-02-14   AMVAS0024704       AMVAS0024709       MDV Vasopressin Injection, USP Paragraph and Acknowledgement and Receipt        Exhibit 7 Joshi Volume   R, 403
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PTX-0746   2018-12-27   AMVAS0025200   AMVAS0025205     SDV Vasopressin Injection, USP Paragraph and Acknowledgement and Receipt          Exhibit 8 Joshi Volume   R, 403
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PTX-0747   2018-12-11   AMVAS0000003   AMVAS0000006     SDV Module 1.12.12 Comparison between Generic and RLD                             Exhibit 9 Joshi Volume   R, 403
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PTX-0748   2018-12-11   AMVAS0009093   AMVAS0009096     MDV Module 1.12.12 Comparison between Generic and RLD                             Exhibit 10 Joshi         R, 403
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PTX-0749   2018-12-25   AMVAS0016856   AMVAS0016896     Module 3.2.S.3 Characterization                                                   Exhibit 11 Joshi         R, 403
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PTX-0750   2018-12-13   AMVA0010387    AMVA0010541      MDV Module 3.2.P.2 Pharmaceutical Development                                     Exhibit 12 Joshi         R, 403
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PTX-0759   2019-09-16   AMVAS0018481   AMVAS0018486     MDV Module 3.2.P.3.4 In-Process Specifications (Sept. 16, 2019)                   Exhibit 21 Joshi         R, 403
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PTX-0761   2019-09-16   AMVAS0018487   AMVAS0018501     MDV Module 3.2.P.5.1 Finished Product Specifications (Sept. 16, 2019)             Exhibit 23 Joshi         R, 403
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PTX-0762   2019-09-17   AMVAS0018354    AMVAS0018425     SDV Module 3.2.P.5.6 Justification of Specification (Sept. 17, 2019)             Exhibit 24 Joshi    R, 403
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PTX-0772   2020-07-15   AMVAS0120335    AMVAS0120385     MDV Module 3.2.P.8.3 Stability Report for Accelerated and Long-Term Conditions   Exhibit 36 Joshi    R, 403
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PTX-0773   2020-07-17   AMVAS0120386    AMVAS0120406     SDV Module 3.2.P.8.3 Stability Report for Additional Study (Jul. 17, 2020)       Exhibit 37 Joshi    R, 403
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PTX-0775   Undated      AMVAS0008966    AMVAS0008969     1-14-2-1-final-carton-container-labels                                                               R, 403
PTX-0776   2019-09-18   AMVAS0018322    AMVAS0018327                                                                                                          R, 403
PTX-0777   2019-09-18   AMVAS0018470    AMVAS0018475     1-2-cover-letter-esigned-seq-0006-20190918-                                                          R, 403

PTX-0778   2020-09-11                                    Expert Report of Zlatan Coralic, Pharm.D., BCPS Regarding Infringement                               H, A, R, F, 403
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PTX-0780                                                      Materials Considered for Opening Expert Report of Coralic
PTX-0781                                                      Infringement Claim Chart for U.S. Patent No. 9,744,209 - Amneal's SDV and MDV                             H, A, R, F, 403
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PTX-0782   2020-09-11                                         Opening Expert Report of Lee E. Kirsch, Ph.D. Regarding Infringement of U.S. Patent                       H, A, R, F, 403
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PTX-0783                                                      CV of Lee E. Kirsch                                                                                       H, A, R, 403, F
PTX-0784   2018-12-27   AMVAS0000178       AMVAS0000236       December 27, 2018 ANDA # 212944 Sequence # 0001 Cover Letter                                              R, 403
PTX-0785   2018-12-06   AMVAS0001111       AMVAS0001172       SDV Dilution Study Report                                                                                 R, 403
PTX-0786   2018-12-22   AMVAS0005599       AMVAS0005630       SDV Module 3.2.P.8.3 Stability Report for Accelerated and Long Term Conditions                            R, 403
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PTX-0787   3/xx/2019    AMVAS0008983       AMVAS0008991       SDV Package Insert                                                                                        R, 403
PTX-0788   2018-12-06   AMVAS0010220       AMVAS0010281       MDV Dilution Study                                                                                        R, 403
PTX-0789   2018-12-22   AMVAS0015061       AMVAS0015093       MDV Module 3.2.P.8.3 Stability Report for Accelerated and Long Term Conditions                            R, 403
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PTX-0790   2019-03-12   AMVAS0063812       AMVAS0063824       Laboratory Investigation Report, OOS No.: 00S/19/20                                                       R, 403
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PTX-0792   2020-07-14   AMVAS0120151       AMVAS0120194       SDV Module 3.2.P.8.3 Stability Data for Accelerated and Long Term Conditions (Jul.                        R, 403
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PTX-0793   2020-07-14   AMVAS0120195       AMVAS0120241       MDV Module 3.2.P.8.3 Stability Data for Accelerated and Long Term Conditions (Jul.                        H, A, R, F, 403, 26
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PTX-0802   2020-09-08   PAR-VASO_0298190   PAR-VASO_0298193 NORMDIST function, Microsoft Excel, https://support.microsoft.com/en-                                      I, A, F, H, R, 403
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PTX-0806   2012-06-28   PAR-VASO_0073360   PAR-VASO_0073361 Certificate of Analysis Lot 310574F                                                                        H, R, 403
PTX-0807   2012-06-28   PAR-VASO_0073356   PAR-VASO_0073357 Certificate of Analysis, Lot 310571F                                                                       H, R, 403
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PTX-0812   Undated      PAR-VASO_0073630   PAR-VASO_0073677 NDA 204485 3.2.P.8 Stability Summary                                                                       H, A, R, F, 403
PTX-0813   2013-03-08   PAR-VASO_0078041   PAR-VASO_0078161 2000179 Master Batch Record Rev. 025                                                                       H, A, R, F, 403
PTX-0814   2012-11-05   PAR-VASO_0238720   PAR-VASO_0238757 FDA Chemistry Review                                                                                       H, A, R, F, 403, E
PTX-0815   2012-11-08   PAR-VASO_0240262   PAR-VASO_0240575 FDA Biopharmaceutics Review                                                                                H, A, R, F, 403, E
PTX-0816   Undated      VAS0000017         VAS0000021       Luitpold Pharmaceuticals Method Development Report for Vasopressin                                         H, A, R, F, 403
PTX-0817   4/xx/2014    PAR-VASO-0004583   PAR-VASO-0004593 Vasostrict April 2014 Label (Excerpt from ’526 Patent File History)                                        H, A
PTX-0818   10/xx/2012   PAR-VASO-0004293   PAR-VASO-0004299 Pitressin Label 2014 (Excerpt from ’526 Patent File History)                                               H, A
PTX-0819   2011-05-11   PAR-VASO-0004300   PAR-VASO-0004307 American Regent Vasopressin Label (Excerpt from ’526 Patent File History)                                  H, A
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PTX-0822   2015-11-10   PAR-VASO_0250581   PAR-VASO_0250635   Batch Record 310571F                                                                                         H, A, R, F, 403
PTX-0823   2012-01-27   PAR-VASO_0106685   PAR-VASO_0106783   Master Batch Record 2002132, Revision 001                                                                    H, A, R, F, 403
PTX-0824   2012-01-27   PAR-VASO_0249998   PAR-VASO_0250053   Master Batch Record 2002132, Revision 001                                                                    H, A, R, F, 403
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PTX-0836   2015-07-28   PAR-VASO-0001936   PAR-VASO-0001955   Office Action Summary dated July 28, 2015 (Excerpt of ’478 patent file history)                              R, 403
PTX-0837   2015-10-21   PAR-VASO-0008323   PAR-VASO-0008335   Office Action Summary dated Oct. 21, 2015 (Excerpt of '239 File History)                                     R, 403
PTX-0838   2015-11-24   PAR-VASO-0008379   PAR-VASO-0008387   Response to Office Action dated Nov. 24, 2015 ('239 File History)                                            R, 403
PTX-0839   2016-01-11   PAR-VASO-0008417   PAR-VASO-0008429   Office Action, Jan. 11, 2016 ('239 File History)                                                             R, 403
PTX-0840   2017-05-22   PAR-VASO_0008786   PAR-VASO_0008798   Response to Office Action, May 22, 2017 ('239 File History)                                                  R, 403
PTX-0841   2015-06-08   PAR-VASO-0000977   PAR-VASO-0001001   June 8, 2015 Office Action ('478 File History)                                                               R, 403
PTX-0842   2016-01-22   PAR-VASO-0002283   PAR-VASO-0002293   January 22, 2016 Response to Final Office Action and Request for Continued                                   R, 403
                                                              Examination ('478 File History).
PTX-0843   2017-06-28   PAR-VASO-0005809   PAR-VASO-0005819   June 28, 2017 Response to Non-Final Office Action ('209 File History) 209 patent                             R, 403
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PTX-0844   2017-06-28   PAR-VASO-0009715   PAR-VASO-0009724   June 28, 2017 Response to Non-Final Office Action ('785 File History)                              R, 403
PTX-0845   2020-11-11                                         Supplemental Expert Report of Lee E. Kirsch, Ph.D. Regarding Validity                              H, A, R, F, 403
PTX-0846   2020-10-29   AMVAS0131386       AMVAS0131503                                                                                                          R, 403
PTX-0847   2020-10-29   AMVAS0132645       AMVAS0132665       SDV 3.2.P.8.3 Stability Report for Additional Study                                                Dup
PTX-0848   2020-10-29   AMVAS0132666       AMVAS0132710       SDV 3.2.P.8.3 Stability Report for Accelerated and Long-Term Conditions                            Dup
PTX-0849   2020-10-29   AMVAS0133654       AMVAS0133779                                                                                                          R, 403
PTX-0850   2020-10-29   AMVAS0134921       AMVAS0134941       MDV 3.2.P.8.3 Stability Report for Additional Study                                                Dup
PTX-0851   2020-10-29   AMVAS0134942       AMVAS0134992       MDV 3.2.P.8.3 Stability Report for Accelerated and Long-Term Conditions                            Dup
PTX-0852   3/xx/2016    PAR-VASO_0014613   PAR-VASO_0014618   March 2016 Reformulated Vasostrict Label                                                           H, A
PTX-0853   2020-09-11                                         Expert Report of Ronald Stellon Regarding Amneal's VasoPressin Injection USP                       H, A, R, F, 403
                                                              ANDAS
PTX-0854                                                      CV of Ronald C. Stellon                                                                            H, A, R, F, 403
PTX-0855   Undated      AMVAS0008959       AMVAS0008965       (SDV Module 1.14.1.2 Annotated Labeling)                                                           R, 403
PTX-0856   Undated      AMVAS0131511       AMVAS0131514       1-14-2-1-final-carton-container-labels                                                             R, 403
PTX-0857   2020-10-01   AMVAS0131515       AMVAS0131516       SDV 1-14-2-3-final-package-insert-fpl                                                              Dup, R, 403
PTX-0858   2020-10-19   AMVAS0132302       AMVAS0132432       32p33-scaled-up-mfg-record                                                                         Dup, R, 403, E
PTX-0859   2020-10-07   AMVAS0132433       AMVAS0132439       32p34-in-process-specification                                                                     Dup, R, 403, E
PTX-0860   2020-10-22   AMVAS0132440       AMVAS0132455       32p51-specification                                                                                Dup, R, 403, E
PTX-0861   2020-10-24   AMVAS0132632       AMVAS0132634       32p81-stab-sum-n-conc                                                                              Dup, R, 403, E
PTX-0862   2020-10-28   AMVAS0132635       AMVAS0132644       32p82-postapproval-stability                                                                       Dup, R, 403, E
PTX-0863   2020-10-01   AMVAS0133786       AMVAS0131514       1-14-2-1-final-carton-container-labels                                                             R, 403, E
PTX-0864   2020-10-01   AMVAS0133789       AMVAS0133790       MDV 1-14-2-3-final-package-insert-fpl                                                              Dup, R, 403, E
PTX-0865   2020-10-19   AMVAS0134547       AMVAS0134682       32p33-scale-up-mfg-record                                                                          Dup, R, 403, E
PTX-0866   2020-10-07   AMVAS0134683       AMVAS0134688       32p34-in-process-specification                                                                     Dup, R, 403, E
PTX-0867   2020-10-22   AMVAS0134689       AMVAS0134706       32p51-specification                                                                                Dup, R, 403, E
PTX-0868   2019-06-13   AMVAS0134898       AMVAS0134907       32p81-stability-protocol                                                                           R, 403, E
PTX-0869   2020-10-24   AMVAS0134908       AMVAS0134910       32p81-stab-sum-n-conc                                                                              Dup, R, 403, E
PTX-0870   2020-10-28   AMVAS0134911       AMVAS0134920       32p82-postapproval-stability                                                                       Dup, R, 403, E
PTX-0871   2020-09-10   PAR-VASO_0297516   PAR-VASO_0297516   Amneal Recall                                                                                      H, A, R, F, 403
PTX-0872   2020-09-10   PAR-VASO_0297539   PAR-VASO_0297540   Amphastar recall 77988                                                                             H, A, R, F, 403
PTX-0873   2017-12-15   PAR-VASO_0297838   PAR-VASO_0297845   CDER Manual Dec 2017                                                                               H, A, R, F, 403
PTX-0874   2019-08-13   PAR-VASO_0297880   PAR-VASO_0297925   FDA Compliance 7346.832                                                                            H, A, R, F, 403
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                                                                                                                                                  No.
PTX-0875   2017-10-31   PAR-VASO_0297698   PAR-VASO_0297726   FDA Compliance Program 7356.00                                                                          H, A, R, F, 403, E
PTX-0876   Undated      PAR-VASO_0297729   PAR-VASO_0297730   FDA Fact Sheet                                                                                          H, A, R, F, 403
PTX-0877   2018-07-01   PAR-VASO_0297463   PAR-VASO_0297475   FDA FAR Submissions July 2018                                                                           H, A, R, F, 403
PTX-0878   2019-06-01   PAR-VASO_0297425   PAR-VASO_0297462   FDA Guidance ANDA Submissions June 2019                                                                 H, A, R, F, 403
PTX-0879   2004-04-01   PAR-VASO_0297476   PAR-VASO_0297515   FDA Guidance Changes to NDA_ANDA April 2004                                                             H, A, R, F, 403
PTX-0880   2000-12-01   PAR-VASO_0297951   PAR-VASO_0298004   FDA Guidance ICH Q6A December 2000                                                                      H, A, R, F, 403
PTX-0881   2009-11-01   PAR-VASO_0297792   PAR-VASO_0297820   FDA Guidance ICH Q8(R2) Nov 2009                                                                        H, A, R, F, 403
PTX-0882   2009-04-01   PAR-VASO_0297770   PAR-VASO_0297791   FDA Guidance ICH Q10 April 2009                                                                         H, A, R, F, 403
PTX-0883   2000-08-01   PAR-VASO_0297846   PAR-VASO_0297879   FDA Guidance M4Q CTD Quality August 2001                                                                H, A, R, F, 403
PTX-0884   2006-10-01   PAR-VASO_0297821   PAR-VASO_0297837   FDA Guidance OOS Test Results Oct 2006                                                                  H, A, R, F, 403
PTX-0885   2011-01-01   PAR-VASO_0297517   PAR-VASO_0297538   FDA Guidance Process Validation January 2011                                                            H, A, R, F, 403
PTX-0886   2020-03-01   PAR-VASO_0298040   PAR-VASO_0298056   FDA Guidance Product Recalls March 2020                                                                 H, A, R, F, 403
PTX-0887   2003-11-01   PAR-VASO_0297926   PAR-VASO_0297950   FDA Guidance Q1A R2 November 2003                                                                       H, A, R, F, 403
PTX-0888   2006-09-01   PAR-VASO_0298057   PAR-VASO_0298088   FDA Guidance Quality Systems Sept 2006                                                                  H, A, R, F, 403
PTX-0889   2013-06-01   PAR-VASO_0297693   PAR-VASO_0297697   FDA Guidance Stability Testing June 2013                                                                H, A, R, F, 403
PTX-0890   2020-06-01   PAR-VASO_0297558   PAR-VASO_0297692   FDA Reg Procedures Manual June 2020                                                                     H, A, R, F, 403
PTX-0891   2020-09-10   PAR-VASO_0297727   PAR-VASO_0297728   FDAs Role Drug Recalls                                                                                  H, A, R, F, 403
PTX-0892   2013-05-21   PAR-VASO_0297731   PAR-VASO_0297731   Fresenius Recall 118287                                                                                 H, A, R, F, 403
PTX-0893   1999-10-06   PAR-VASO_0298005   PAR-VASO_0298039   ICH Q6A October 1999                                                                                    R, 403
PTX-0894   2015-05-01   PAR-VASO_0298101   PAR-VASO_0298108   USP 38 Vasopressin USP                                                                                  H, A, R, F, 403
PTX-0895   Undated      PAR-VASO_0298089   PAR-VASO_0298100   USP-NF Notices and Requirements                                                                         H, A, R, F, 403
PTX-0896   2020-02-01   PAR-VASO_0298109   PAR-VASO_0298116   Vasostrict Product Insert                                                                               H, A, R, F, 403
PTX-0897   2018-06-08   AMVAS0011220       AMVAS0011226       Exhibit Batch In-Process Certificates of Analysis                                                       R, 403
PTX-0898   2020-12-02                                         Supplemental Opening Expert Report of Lee E. Kirsch, Ph.D. Regarding Infringement                       H, A, R, F, 403
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PTX-0899                                                      Appendices 1-5 to Kirsch Supplemental Infringement Report                                               H, A, R, F, 403
PTX-0900                                                      Unused Number
PTX-0901   2020-10-29   AMVAS0131386       AMVAS0131503       Amneal                                                                                                  R, 403
PTX-0902   2020-10-29   AMVAS0131515       AMVAS0131516       SDV Oct. 2020 Package Insert                                                                            R, 403
PTX-0903   2020-10-29   AMVAS0132302       AMVAS0132432       SDV October 29, 2020 Intended Batch Manufacturing Record                                                R, 403
PTX-0904   2020-10-29   AMVAS0132433       AMVAS0132439       SDV October 29, 2020 Module 3.2.P.3.4 In-Process Specification                                          R, 403
PTX-0905   2020-10-23   AMVAS0132440       AMVAS0132455       SDV October 29, 2020 Module 3.2.P.5.1 Finished Product Specification                                    R, 403
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PTX-0906   2020-10-26   AMVAS0132614       AMVAS0132631     SDV October 26, 2020 Module 3.2.P.5.6 Justification of Specifications                                       R, 403
PTX-0907   2020-10-24   AMVAS0132632       AMVAS0132634     SDV October 24, 2020 Module 3.2.P.8.1 Stability Summary and Conclusions                                     R, 403
PTX-0908   2020-10-27   AMVAS0132666       AMVAS0132710     SDV October 29, 2020 Module 3.2.P.8.3 Stability Report                                                      R, 403
PTX-0909   2020-10-29   AMVAS0133654       AMVAS0133779     Amneal                                                                                                      R, 403
PTX-0910   2020-10-29   AMVAS0133789       AMVAS0133790     MDV Oct. 2020 Package Insert                                                                                R, 403
PTX-0911   2020-10-29   AMVAS0134547       AMVAS0134682     MDV October 29, 2020 Intended Batch Manufacturing Record                                                    R, 403
PTX-0912   2020-10-29   AMVAS0134683       AMVAS0134688     MDV October 29, 2020 Module 3.2.P.3.4 In-Process Specification                                              R, 403
PTX-0913   2020-10-23   AMVAS0134689       AMVAS0134706     MDV October 29, 2020 Module 3.2.P.5.1 Finished Product Specification                                        R, 403
PTX-0914   2020-10-26   AMVAS0134872       AMVAS0134890     MDV October 26, 2020 Module 3.2.P.5.6 Justification of Specifications                                       R, 403
PTX-0915   2019-06-17   AMVAS0134891       AMVAS0134897     MDV June 2019, Module 3.2.P.8.1 Additional Study Protocol                                                   R, 403
PTX-0916   2020-10-24   AMVAS0134908       AMVAS0134910     MDV October 24, 2020 Module 3.2.P.8.1 Stability Summary and Conclusions                                     R, 403
PTX-0917   2020-10-29   AMVAS0134942       AMVAS0134992     MDV October 29, 2020 Module 3.2.P.8.3 Stability Report                                                      R, 403
PTX-0918   2020-05-01   AMVAS0135961       AMVAS0135962     Certificate of Analysis, AP-FB-20004                                                                        R, 403, Dup
PTX-0919   2020-05-01   AMVAS0135963       AMVAS0135964     Certificate of Analysis, AP-FB-20005                                                                        R, 403, Dup
PTX-0920   2020-05-01   AMVAS0135965       AMVAS0135966     Certificate of Analysis, AP-FB-20006                                                                        R, 403, Dup
PTX-0921   2020-05-01   AMVAS0135967       AMVAS0135968     Certificate of Analysis, AP-FB-20007                                                                        R, 403, Dup
PTX-0922   2020-05-01   AMVAS0135969       AMVAS0135970     Certificate of Analysis, AP-FB-20008                                                                        R, 403, Dup
PTX-0923   2020-05-01   AMVAS0135971       AMVAS0135972     Certificate of Analysis, AP-FB-20009                                                                        R, 403, Dup
PTX-0924   2020-05-18   AMVAS0135992       AMVAS0136008     Email from R. Soni to R. Prajapat re Vasopressin query response draft for Review                            R, 403
PTX-0925   xx/xx/2012   PAR-VASO_0205249   PAR-VASO_0205252 United States Pharmaceopeia and National Formulary (USP 35-NF 30), United                                   H, A, R, F, 403
                                                            States Pharmacopeial Convention (2012).
PTX-0926   xx/xx/2006   PAR-VASO_0298741   PAR-VASO_0298745 James E. De Muth, Basic Statistics and Pharmaceutical Statistical Applications                              H, A, R, F, 403
                                                            (Chapman & Hall 2d. Ed. 2006)
PTX-0927   2020-10-29   AMVAS0133654       AMVAS0133779     Amneal                                                                             Exhibit 1 Joshi Volume   R, 403
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PTX-0928   2020-10-29   AMVAS0131386       AMVAS0131503         Amneal                                                                         Exhibit 2 Joshi Volume   R, 403
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PTX-0929   2020-11-20                                           Email from B. Goldberg to S. Zhu confirming deposition                         Exhibit 3 Joshi Volume   H, R, F, 403
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PTX-0930   2020-05-01   AMVAS0135961       AMVAS0135962         AP-FB-20004 Certificate of Analysis                                            Exhibit 4 Joshi Volume   R, 403, Dup
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                                                                                                                                                 No.
PTX-0931   2020-05-01   AMVAS0135963       AMVAS0135964       AP-FB-20005 Certificate of Analysis                                                Exhibit 5 Joshi Volume   R, 403, Dup
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PTX-0932   2020-05-01   AMVAS1035965       AMVAS0135966       AP-FB-20006 Certificate of Analysis                                                Exhibit 6 Joshi Volume   R, 403, Dup
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PTX-0933   2020-05-01   AMVAS0135967       AMVAS0135968       AP-FB-20007 Certificate of Analysis                                                Exhibit 7 Joshi Volume   R, 403, Dup
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PTX-0934   2020-05-01   AMVAS0135969       AMVAS0135970       AP-FB-20008 Certificate of Analysis                                                Exhibit 8 Joshi Volume   R, 403, Dup
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PTX-0935   2020-05-01   AMVAS0135971       AMVAS0135972       AP-FB-20009 Certificate of Analysis                                                Exhibit 9 Joshi Volume   R, 403, Dup
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PTX-0936   2019-09-18   AMVAS0018470       AMVAS0018475                                                                                          Exhibit 10 Joshi         R, 403
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PTX-0937   2019-09-18   AMVAS0018322       AMVAS0018327                                                                                          Exhibit 11 Joshi         R, 403
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PTX-0938   2017-06-27   PAR-VASO-0000034   PAR-VASO-0000113   United States Patent No. 9,687,526                                                 Exhibit 12 Joshi         Dup, 1
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PTX-0939   2012-11-05   PAR-VASO_0238720   PAR-VASO_0238757 FDA Chemistry Review                                                                 Exhibit 13 Joshi         E
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PTX-0940   2020-10-10   AMVAS0134683       AMVAS0134688       MDV October 29, 2020 Module 3.2.P.3.4 In-Process Specification                     Exhibit 14 Joshi         E, R, 403
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PTX-0941   2020-10-10   AMVAS0132433       AMVAS0132439       SDV October 29, 2020 Module 3.2.P.3.4 In-Process Specification                     Exhibit 15 Joshi         E, R, 403
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PTX-0942   2020-10-23   AMVAS0134689       AMVAS0134706       MDV October 29, 2020 Module 3.2.P.5.1 Finished Product Specification               Exhibit 16 Joshi         E, R, 403
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PTX-0943   2020-10-23   AMVAS0132440       AMVAS0132455       SDV October 29, 2020 Module 3.2.P.5.1 Finished Product Specification               Exhibit 17 Joshi         E, R, 403
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PTX-0944   2020-05-18   AMVAS0135992       AMVAS0136008       Email from R. Soni to R. Prajapat re Vasopressin query response draft for Review   Exhibit 18 Joshi         R, 403
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PTX-0945   2020-10-27   AMVAS0132666       AMVAS0132710       SDV October 29, 2020 Module 3.2.P.8.3 Stability Report                             Exhibit 19 Joshi         E, R, 403
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PTX-0946   2020-10-29   AMVAS0134942       AMVAS0134992       MDV October 29, 2020 Module 3.2.P.8.3 Stability Report                             Exhibit 20 Joshi         E, R, 403
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                                                                                                                                               No.
PTX-0947   2020-10-29   AMVAS0133789       AMVAS0133790         MDV Oct. 2020 Final Package Insert                                             Exhibit 21 Joshi       Dup, E
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PTX-0948   2020-10-29   AMVAS0131515       AMVAS0131516         SDV Oct. 2020 Final Package Insert                                             Exhibit 22 Joshi       Dup, E
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PTX-0949   2015-08-14   PAR-VASO_0007062   PAR-VASO_0007073 Response to Office Action Regarding Application No. 14/7171,877                                           R, 403
PTX-0950   2014-11-18   PAR-VASO_0065296   PAR-VASO_0065341 Certificate of Analysis, Historical Batches                                                               H, R, 403
PTX-0951   2013-05-09   PAR-VASO_0019181   PAR-VASO_0019202 Product Development Procedure Validation Report, DEV-13-033R                       Exhibit 23 to Kenney   R, 403, 1006
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PTX-0952                                                    Kirsch Rebuttal Expert Report Corrected Paragraph 303 Table                                               H, A, R, F, 403, 26
PTX-0953                                                    Kirsch Supplemental Infringement Report Corrected Appendix 3                                              H, A, R, F, 403, 26
PTX-0954   2016-07-21   PAR-VASO_0090019   PAR-VASO_0090019 Email from M. Kenney to V. Kannan re vasostrict 12 mo analysis                                            H, A, R, F, 403, 26
PTX-0955                AMVAS0131528       AMVAS0131549     SDV 1.14.3.1 Annotated Comparison with Amneal Previous Label                                              R, 403
PTX-0956                AMVAS0133802       AMVAS0133822     MDV 1.14.3.1 Annotated Comparison with Amneal Previous Label                                              R, 403
PTX-0957   2021-04-15   AMVAS0136323       AMVAS0136330     ANDA 212944                                                                                               R, 403
PTX-0958   2021-04-15   AMVAS0136331       AMVAS0136338     ANDA 212945                                                                                               R, 403
PTX-0959   2021-05-17                                       Second Supplemental Expert Report of Lee E. Kirsch, Ph.D. Regarding Validity                              H, A, R, F, 403, 26
PTX-0960   2020-11-11                                       Supplemental Expert Report of Ronald Stellon Regarding Amneal's Proposed                                  H, A, R, F, 403, 26
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PTX-1320                                                    Mean Difference of pH 3.7, 3.8 and 3.9 Compared to pH Range 2.5-4.5                                       H, A, R, F, 403, 26,
                                                                                                                                                                      DEM, IC
                                                            FDA Guidance for Industry, Immunogenicity Assessment for Therapeutic Protein                              H, A, R, F, 403, 26
PTX-1323   2014-08-01   PAR-VASO_0298805   PAR-VASO_0298843 Products
                                                            Vasostrict Vasopressin Injection, USP, Tabulated Stability Data through 24-Month                          H, A, R, F, 403, 26
PTX-1324                PAR-VASO_0083909   PAR-VASO_0083922 Interval Stock No. 2002525
                                                                Steven L. Nail and Michael J. Akers, Development and Manufacture of Protein                           H, A, R, F, 403, 26
PTX-1436                AMPHPA0006362      AMPHPA0006559        Pharmaceuticals (2002) New York: Kluwer Academic/Plenum Publishers

PPX-001                                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-002                                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-003                                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-004                                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-005                                                         Placeholders for Plaintiffs' Physical Exhibits
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PTX #     Date   Bates Begin   Bates End        Description                                                       Amneal Depo. Exh.   Objections
                                                                                                                  No.
PPX-006                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-007                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-008                                         Placeholders for Plaintiffs' Physical Exhibits
PPX-009                                         Placeholders for Plaintiffs' Physical Exhibits
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                                              Amneal's Objection Code
CODE   OBJECTION
A      Fed. R. Evid. 901 - Requires proof of authenticity as a condition precedent to its admissibility
DEM    Demonstrative Only
DUP    Duplication of Another Exhibit
E      Mischaracterization in Description
F      Fed. R. Evid. 602 - No Foundation
H      Fed. R. Evid. 801 & 802 - Hearsay
I      Illegible (partly or wholly)
IC     Improper compilation
IN     Fed. R. Evid. 106 - Incomplete
NT     No Certified Translation
R      Fed. R. Evid. 402 - Not Relevant
RD     Redaction Required
26     Fed. R. Civ. P. 26 - Not timely disclosed
403    Fed. R. Evid. 403 - Any relevance substantially outweighed by confusion, prejudice or waster of time
1006   Fed. R. Evid. 1006 - Voluminous document requires summary
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                                 EXHIBIT 8


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO
                                                     C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                       (Consolidated)

                      Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.

                      Defendants.


                          DEFENDANTS’ EXHIBIT LIST

       Defendant Amneal reserves its right to incorporate by reference into its

 Exhibit List any exhibit listed by Plaintiffs Par Pharmaceutical, Inc., Par Sterile

 Products, LLC, and Endo Par Innovation Company, LLC (collectively

 “Plaintiffs”) on Plaintiffs’ Exhibit List. Amneal reserves its right to amend,

 modify, or supplement its Exhibit List throughout the balance of this case in

 response to case developments including but not limited to Plaintiffs’ Exhibit List,

 Plaintiffs’ objections, and/or further streamlining of the case. Amneal also

 reserves the right to supplement or modify its Exhibit List in response to rulings by

 the Court (including on any motions) or upon settlement of any party. Amneal also

 reserves its right to add demonstratives to its Exhibit List. Amneal agrees to
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                                 EXHIBIT 8


 exchange demonstratives with Plaintiffs in accordance with the procedures agreed

 upon by the parties in the Joint Pretrial Order.
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                          EXHIBIT 9
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                                 EXHIBIT 9


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO                                C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                                  (Consolidated)

                          Plaintiffs,
          v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.


                          Defendants.




                                   PLAINTIFFS’ WITNESS LIST

         Pursuant to Local Rule 16.3(c), Plaintiffs expect to call the following witnesses to testify

 live or by deposition at trial. Plaintiffs reserve the right to revise or supplement this list

 consistent with the Pretrial Order or as otherwise permitted by the Court. If any witness

 Plaintiffs intend to call to testify live is unavailable, Plaintiffs reserve the right to offer deposition

 testimony from such witness. Plaintiffs also reserve the right to call live or by deposition anyone

 appearing on Defendants’ witness list. Plaintiffs further reserve the right to call live or by

 deposition any witness to provide foundational testimony should any party contest the

 authenticity or admissibility of any material proffered at trial. Plaintiffs reserve the right to call

 any witness for impeachment purposes. Finally, Plaintiffs reserve the right to call live or by

 deposition any fact witness designated by Defendants in their List of Witnesses that Defendants



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                                 EXHIBIT 9


 elect not to call at trial. Plaintiffs are not required to present testimony from any witness on its

 list of witnesses.

                                             WILL CALL LIST

                      EXPERT WITNESS                              LIVE OR BY DEPOSITION

  Lee Kirsch (CV included as Attachment A hereto)             Live

  Zlatan Coralic (CV included as Attachment B hereto)         Live



                                             MAY CALL LIST

                         WITNESS                                  LIVE OR BY DEPOSITION

  Carla English                                               Live

  Vinay Kannan                                                Live or by deposition

  Suketu Sanghvi                                              Live or by deposition

  Matthew Kenney                                              Live or by deposition

  Hardik Joshi                                                Live or by deposition




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                           A TTA C H M E N T A
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                                             Lee E. Kirsch
                                          Professor Emeritus
                     Department of Pharmaceutical Science Experimental Therapeutics
                                         The University of Iowa
                                               S221 PHAR
                                       Iowa City, Iowa 52242-112



                                       Email: lee-kirsch@uiowa.edu


 EDUCATION AND PROFESSIONAL HISTORY

    Education

              Ph D, Pharmaceutics, 1982
                  The Ohio State University

              BS, Pharmacy, 1975
                  Purdue University

    Professional and Academic Positions

              Professor Emeritus, The University Iowa, January 2019 – present, Division of Pharmaceutics
                   and Translational Therapeutics
              Professor, The University of Iowa, August 2010 – December 2018, Division of Pharmaceutics
                   (Primary Appointment), Department of Chemical and Biochemical Engineering
                   (Secondary Appointment)
              Visiting Professor, Mahidol Univesity, Faculty of Pharmacy, Thailand (January, 2014 – April,
                   2014)
              Professor, Virginia Commonwealth University, Department of Pharmaceutics (Affiliate
                   Appointment). (May 2005 - December 2018).
              Adjunct Professor, Pharmaceutical Technology, Faculty of Pharmaceutical Sciences,
                   Chulalongkorn University, Thailand (2003 – 2018)
              Associate Professor, The University of Iowa, College of Pharmacy. (November 1994 - July
                   2010).
              Associate Professor, The University of Iowa, Department of Chemical and Biochemical
                   Engineering (Secondary Appointment). (May 2006 - July 2010).
              Senior Research Scientist/group leader, Lilly Research Laboratories. (January 1992 -
                   November 1994).
              Research Scientist/group leader, Lilly Research Laboratories. (January 1987 - January 1992).
              Senior Pharmaceutical Chemist, Lilly Research Laboratories. (November 1982 - January
                   1987).
              Research Associate, The Ohio State University. (June 1979 - November 1982).
              Teaching Assistant, The Ohio State University. (August 1978 - June 1979).
              Community Pharmacist, Family Pharmacy North Bloomington, Indiana. (July 1975 - August
                   1978).


   Lee E. Kirsch                                                                                             1
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    Honors and Recognition

              Editor-in-chief, AAPS PharmSciTech Journal. (July 2008 – December, 2014).
              Fellow of the American Association of Pharmaceutical Scientists (June 2013)
              Distinguished Service Award, Parenteral Drug Association. (February 2011).
              Editor, PDA Journal of Pharmaceutical Science and Technology. (July 2000 - June 2008).
              Fred Simon Award for best paper, PDA Journal of Pharmaceutical Science and Technology.
                  (October 1997).
              Jack L. Beal Postbaccalaureate Award, The Ohio State University College of Pharmacy. (May
                  1997).


 TEACHING AT THE UNIVERSITY OF IOWA AND EXTERNAL TEACHING: INTERNATIONAL AND US
         Professional PharmD Courses
         Macromolecular Drug Substance, PHAR 8136, 2015-2017
         Solution Drug Products, PHAR 8137, 2015
         Regulatory and Quality Systems, PHAR 8137, 2015
         Pharmacokinetics, PHAR 8112, 2015
         Pharmacokinetics and Biopharmaceutics, Pharmacy 46:138, 2002-2009
         Pharmaceutical Proteins unit in Pharmacy 46:123, 2002-2013
         Advanced Compounding, Pharmacy 46:120, 2004-2005
         Drug Stability in Pharmacy 46:123 and 46:124, 2005-2013, 1995-2000
                                     PHAR 8136, 2016-2017
         Fundamentals of Kinetics in Pharmacy 46:123, 46:050, 2005-2013
         Fundamentals of Pharmacokinetics in Pharmacy 46:124, 2010-2013
         Solids processing, Packaging, Capsules, Lyophilized Powders units in Pharmacy 46:124, 1995-
             2000

         Graduate Courses in Pharmaceutics
         Pharmacy Research, Pharmacy 46:233, 1995-2017
         Pharmaceutical Product Development, Pharmacy 46: 225, 1999 and 2006
         Drug Degradation Kinetics and Mechanisms (Drug Stability) 46:206, 1995, 1997, 1999, 2001,
             2003, 2007, 2009, 2011, 2013, 2015, 2017
         Stability of Pharmaceuticals, PHAR 6701, 2015

         External Teaching: International and US
         Pharmaceutical Technology, Federal University of Rio Grande do Norte, Natal, Brazil, 2015
         International Pharmaceutical Technology, University of the Philippines (Manila), 2015
         Pharmaceutical Package Integrity, PDA Research and Training Center, 1998
         Drug Degradation Kinetics Short Course, Chulalongkorn University, International Pharmaceutical
             Technology Graduate Program, 2002, 2003, 2005, 2008-2016
             Bangkok, Thailand
         Drug Degradation Kinetics Short Course, Virginia Commonwealth University, Pharmaceutical
             Sciences Graduate Program, 2005
         Drug Degradation Kinetics Short Course, Mahidol University, Bangkok, Pharmaceutical Sciences
             Graduate Program, 2014



   Lee E. Kirsch                                                                                          2
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         M.S. Students Directed
         Craig Moeckly (Non-thesis) degree conferred 1997
         Walaisiri Muangsiri (Thesis) degree conferred July, 2000
         Simei Li (Non-thesis) degree conferred December, 2000
         Bhanu Kalvakota (Non-thesis) degree conferred December, 2002
         Pipat Sittisak (Thesis) with W. Muangsiri, Chulalongkorn University, degree conferred 2010

         Ph.D. Students Directed
         Young-Sihn Sihn, degree conferred June 1997
         Lida Nguyen, degree conferred December, 2001
         Xiaoguang Zhang, degree conferred December, 2001
         Anjali Joshi, degree conferred December, 2001
         Walasiri Muangsiri, degree conferred December, 2003
         Madhushree Gokhale, degree conferred May, 2006
         Himanshu Naik (with L. Fleckenstein), degree conferred December, 2007
         Boontarika Chanvorachote (with W. Muangsiri), degree conferred June, 2009 (Chulalongkorn
              Univeristy)
         Salil Desai degree conferred December, 2009
         Zhixin Zong degree conferred May, 2012
         Jiang Qui, degree conferred May, 2013
         Hong Guann Lee (with D. Flanagan), degree conferred May, 2015
         Nguyen Quynh Hoa, degree conferred December, 2014
         Radaduen Tinmanee, thesis defended May, 2015, anticipated graduation December, 2015
         Mo’tasem Mohamed Alsmadi (with L. Fleckenstein), degree conferred December, 2014
         Phawanan Sawangchan, degree conferred December, 2017
         Pratak Ngeacharernkul degree conferred December, 2017
         Éverton do Nascimento Alencar, visiting Ph.D. scholar from Federal University of Rio Grande do
              Norte, Natal, Brazil, 2014-2015, degree conferred December, 2017
         Francisco Alexandrino Junior, visiting Ph.D. scholar from Federal University of Rio Grande do
              Norte, Natal, Brazil, 2016-2018
         Silvana Cartaxo Da Costa Urtiga, visiting Ph.D. scholar from Federal University of Rio Grande do
              Norte, Natal, Brazil, 2017-2018

         Post-doctoral Scholars
         Gisela N. Piccirilli, Ph.D., 2011
         Stephen Stamatis, Ph.D., 2011-2013
         Eiji Ueyama, Ph.D., 2013-2014

 SCHOLARSHIP/RESEARCH/PROFESSIONAL PRODUCTIVITY

    Publications

              1. Pratak Ngeacharernkul, Stephen D. Stamatis, Lee E. Kirsch (2018), Particle size distribution
                 equivalency as novel predictors for bioequivalence, AAPS PharmSciTech, 19(7):2787-
                 2800.
              2. Stephen D. Stamatis, Lee E. Kirsch (2018), Using Manufacturing Design Space Concepts
                 for Stability Risk Assessment—Gabapentin NIPTE/FDA Case Study, AAPS PharmSciTech,


   Lee E. Kirsch                                                                                                3
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                  19(7):2801-2807.
              3. Stephen D. Stamatis, Linas Mockus, Lee E. Kirsch, Gintaras V. Reklaitis (2018) Chapter 5-
                  Bayesian hierarchical modeling of gabapentin absorption and disposition with application
                  to dosing regimen assessment, Computer Aided Chemical Engineering, 42: 111-137.
              4. Radaduen Tinmanee, Stephen D. Stamatis, Eji Ueyama, Kenneth R. Morris, Lee E. Kirsch
                  (2018) Polymorphic and Covalent Transformations of Gabapentin in Binary Excipient
                  Mixtures after Milling-Induced Stress, Pharmaceutical Research, 35:39
              5. Radaduen Tinmanee, Sarah C. Larsen, Kenneth R. Morris, Lee E. Kirsch (2017)
                  Quantification of gabapentin polymorphs in gabapentin/excipient mixtures using solid
                  state 13C NMR spectroscopy and X-ray powder diffraction, Journal of Pharmaceutical and
                  Biomedical Analysis, 146: 29-36.
              6. Salil Dileep Desai and Lee E. Kirsch The Ortho Effect on the Acidic and Alkaline Hydrolysis
                  of Substituted Formanilides, (2015) International Journal of Chemical Kinetics, 47(8), 471-
                  488.
              7. Hoa Q. Nguyen, Stephen D. Stamatis, Lee E. Kirsch, (2015) A novel method for assessing
                  drug degradation product safety using physiologically-based pharmacokinetic models and
                  stochastic risk assessment, Journal of Pharmaceutical Science, 104(9), 3101-3199.
              8. Boontarika Chanvorachote, Jiang Qiu, Walaisiri Muangsiri, Ubonthip Nimmannit, and Lee
                  E. Kirsch (2015) The interaction mechanism between lipopeptide (daptomycin) and
                  polyamidoamine (PAMAM) dendrimers, Journal of Peptide Science, 21: 312-319, 2015.
              9. Qiu, J. and Kirsch, Lee E. (2014) Evaluation of Lipopeptide (Daptomycin) Aggregation
                  Using Fluorescence, Light Scattering, and Nuclear Magnetic Resonance Spectroscopy,
                  Journal of Pharmaceutical Sciences, 103(3), 853–861.
              5. Dempah KE, Barich DH, Kaushal AM, Zong Z, Desai SD, Suryanaranyanan R.; Kirsch L,
                  Munson EJ; (2013) Investigation Gabapentin Polymorphism Using Solid-State NMR
                  Spectrocsopy; AAPS PharmSciTech, 14(1), 19-28.
              6. Zong, Z., Qiu, J., Tinamnee, R., Kirsch, L. E. (2012). Kinetic model for solid-state
                  degradation of gabapentin. Journal of Pharmaceutical Science, 101(6), 2123-2133.
              7. Zong, Z., Kirsch, L. E. (2012). Studies on the Instability of Chlorhexidine, Part 1. Journal of
                  Pharmaceutical Science, 101(7), 2417-2427.
              8. Mockus, L., Lainez, J., Reklaitis, G., Kirsch, L. E. (2011). A Bayesian Approach to
                  Pharmaceutical Product Quality Risk Quantification. Informatica, 22(4), 537-558.
              9. Qiu, J., Yu, L., Kirsch, L. E. (2011). Estimated pKa values for specific amino acid residues
                  in daptomycin. Journal of Pharmaceutical Science, 100(10), 4225-4233.
              10. Ratcliff, J. L., Kirsch, L. E., Dykstra, J. W., Cooley, W. E. (2011). Fluoride and chlorine
                  dioxide-containing compositions and method for reducing demineralization of teeth.
                  PCT Int. Appl, WO 2010075419 A1 20100701.
              11. Zong, Z., Desai, S., Barich, A., Huang, H.-S., Munson, E., Suryanarayanan, R., Kirsch, L. E.
                  (2011). The Stabilizing Effect of Moisture on the Solid-State Degradation of Gabapentin.
                  AAPS PharmSciTech, 12(3), 924-931.
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                  Fluorometric Method for Determining Binding Parameters of Drug–Carrier Complexes
                  Using Mathematical Models Based on Total Drug Concentration. Journal of
                  Fluorescence, 19(4), 747-753.
              13. Gokhale, M., Kearney, W., Kirsch, L. E. (2009). Glycosylation of Aromatic Amines I:
                  Characterization of the Reaction Products of Kynurenine and Glucose in Aqueous
                  Solutions. AAPS PharmSciTech, 10(2), 317-328.
              14. Tan, B., Naik, H., Jang, I.-J., Yu, K.-S., Kirsch, L. E., Shin, C.-S., Fleckenstein, L. (2009).


   Lee E. Kirsch                                                                                                    4
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                    and Multiple-Dosing of Oral Artesunate in Healthy Subjects. Malaria Journal, 8(1), 304.
              15.   Gokhale, M., Kirsch, L. E. (2009). Glycosylation of aromatic amines II: Kinetics and
                    mechanisms of the hydrolytic reaction between kynurenine and glucose. Journal of
                    Pharmaceutical Science, DOI 10.1002/jps.21754.
              16.   Gokhale, M., Kirsch, L. E. (2009). Glycosylation of aromatic amines III: Mechanistic
                    implications of the pH-dependent glycosylation of various aromatic amines (kynurenine,
                    2’-aminoacetophenone, daptomycin, and sulfamethoxzaole). Journal of Pharmaceutical
                    Science, DOI 10.1002/jps.21765.
              17.   Kirsch, L. E. (2008). On Transforming Pharmaceutical Technology Education.
                    http://www.pharmamanufacturing.com/articles/2008/113.html
              18.   Hoppe, C. C., Nguyen, L. T., Kirsch, L. E., Wiencek, J. M. (2008). Characterization of seed
                    nuclei in glucagon aggregation using light scattering methods and field-flow
                    fractionation. Journal of Biological Engineering, 2(10).
              19.   Kirsch, L. E. (2007). Package Integrity Testing. CRC Press.
              20.   Muangsiri, W., Kirsch, L. E. (2006). The Protein-binding and Drug Release Properties of
                    Macromolecular Conjugates containing Daptomycin and Dextran. International Journal
                    of Pharmaceutics, 315, 30-43.
              21.   Naik, H., Murry, D. J., Kirsch, L. E., Fleckenstein, L. (2005). Development and validation of
                    a high-performance liquid chromatography-mass spectroscopy assay for determination
                    of artesunate and its metabolite dihydroartemisinin in human plasma. Journal of
                    Chromatography B, 816(1-2), 233-242.
              22.   Kirsch, L. E. (2005). Extemporaneous Quality. PDA Journal of Pharmaceutical Science and
                    Technology, 59(1 & 3).
              23.   Joshi, A., Kearney, W., Sawai, M., Kirsch, L. E. (2005). Studies on the Mechanism of
                    Aspartic Acid Cleavage and Deamidation in the Acidic Degradation of Glucagon. Journal
                    of Pharmaceutical Sciences, 94(9), 1912-1927.
              24.   Muangsiri, W., Kearney, W. R., Teesch, L. M., Kirsch, L. E. (2005). Studies on the
                    Reactions between Daptomycin and Glyceraldehyde. International Journal of
                    Pharmaceutics, 289(1-2), 133-150.
              25.   Zhang, X., Kirsch, L. E. (2004). Correlation of the Thermal Stability of Phospholipid-based
                    Emulsions and Microviscosity Measurements as Determined by Fluorescence
                    Polarization. Pharmaceutical Development and Technology, 9(2), 219-227.
              26.   Kirsch, L. E. (2004). Lessons unlearned. PDA Journal of Pharmaceutical Science and
                    Technology, 58(3), 119-120.
              27.   Kirsch, L. E. (2004). PDA Students. PDA Journal of Pharmaceutical Science and
                    Technology, 58(5), 241-242.
              28.   Joshi, A., Kirsch, L. E. (2004). The estimation of glutaminyl deamidation and aspartyl
                    cleavage rates in glucagon. International Journal of Pharmaceutics, 273(1-2), 213-219.
              29.   Zhang, X., Kirsch, L. E. (2003). An Assessment of Techniques for Evaluating the Physical
                    Stability of Parenteral Emulsions. PDA Journal of Pharmaceutical Science and
                    Technology, 57(4), 300-315.
              30.   Nguyen, L., Wiencek, J., Kirsch, L. E. (2003). Characterization Methods for the Physical
                    Stability of Biopharmaceuticals. PDA Journal of Pharmaceutical Science and Technology,
                    57(6), 429-445.
              31.   Zhang, X., Kirsch, L. E. (2003). The Physical Stability of Thermally-stressed Phospholipid-
                    based Emulsions Containing Methyl, Propyl and Heptyl Parabens as Model Drugs.
                    International Journal of Pharmaceutics, 265(1-2), 133-140.


   Lee E. Kirsch                                                                                                    5
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              32. Kirsch, L. E. (2002). Beyond bioterrorism. PDA Journal of Pharmaceutical Science and
                  Technology, 56(3), 113-114.
              33. Joshi, A., Kirsch, L. E. (2002). The Relative Rates of Asparaginyl and Glutaminyl in
                  Glucagon Fragment 22-29 under Acidic Conditions. Journal of Pharmaceutical Science,
                  91(11), 2332-2342.
              34. Kirsch, L. E., Zhang, X., Muangsiri, W., Redmon, M., Luner, P., Tartrate, D. (2001).
                  Development of a Lyophilized Formulation for (R,R)-Formoterol (L)-Tartrate. Drug
                  Development and Industrial Pharmacy, 27(1), 89-96.
              35. Kirsch, L. E. (2001). Power to the People. PDA Journal of Pharmaceutical Science and
                  Technology, 55(5), 261-262.
              36. Luner, P., Kirsch, L. E., Majuru, S., Oh, E., Joshi, A., Wurster, D., Redmon, M. (2001).
                  Preformulation Studies on the S-isomer of Oxybutynin Hydrochloride, an Improved
                  Chemical Entity (ICE). Drug Development and Industrial Pharmacy, 27(4), 321-329.
              37. Kirsch, L. E. (2001). Research Misconduct. PDA Journal of Pharmaceutical Science and
                  Technology, 55(4), 205-206.
              38. Muangsiri, W., Kirsch, L. E. (2001). The Kinetics of Daptomycin Degradation in Alkaline
                  Solutions. Journal of Pharmaceutical Science, 90(8), 1066-1075.
              39. Kirsch, L. E. (2000). Peer Review Fallibility. PDA Journal of Pharmaceutical Science and
                  Technology, 54(4), 279.
              40. Kirsch, L. E. (2000). Pharmaceutical Container/Closure Integrity VI: Correlations
                  Between Liquid Tracer Methods and Microbial Ingress. PDA Journal of Pharmaceutical
                  Science and Technology, 54(4), 305.
              41. Joshi, A., Kirsch, L. E. (2000). The Acidic Degradation Pathways of Glucagon.
                  International Journal of Pharmaceutics, 203(1-2), 115.
              42. Kirsch, L. E. (2000). The Ivied Halls of Industry. PDA Journal of Pharmaceutical Science
                  and Technology, 54(6), 433-434.
              43. Kirsch, L. E. (2000). The PDA Journal and the Validation of Science. PDA Journal of
                  Pharmaceutical Science and Technology, 54(3), 171.
              44. Kirsch, L. E. (2000). The Rule of Three. PDA Journal of Pharmaceutical Science and
                  Technology, 54(5), 365.
              45. Nguyen, L., Muangsiri, W., Kirsch, L. E., Schiere, R., Morton Guazzo, D. (1999).
                  Pharmaceutical Container/Closure Integrity IV: Development of an Indirect Correlation
                  Between Microbial Ingress and Vacuum Decay Leakage Detection. PDA Journal of
                  Pharmaceutical Science and Technology, 54(4), 211.
              46. Kirsch, L. E., Nguyen, L., Kirsch, A. M., Schmitt, G., Koch, M., Wertli, T., Lehmann, M.,
                  Schramm, G. (1999). Pharmaceutical Container/Closure Integrity V: Comparison of
                  Helium Leak Rate and LFC Methods. PDA Journal of Pharmaceutical Science and
                  Technology, 53(5), 235.
              47. Carroll, M. C., Denny, V. F., Guazzo, D. M., Kaiser, M. W., Kirsch, L. E., Ludwig, J. D.,
                  Masover, G. K., May, J. L., Moldenhauer, J. E., Olsen, J. I., Polson, T. M., Wright, G. E.
                  (1998). Technical Report No. 27: Pharmaceutical Package Integrity. PDA Journal of
                  Pharmaceutical Science and Technology, 52(S2).
              48. Kirsch, L. E., Nguyen, L., Moeckly, C. S. (1997). Pharmaceutical Container/Closure
                  Integrity I: Mass Spectrometry-based Helium Leak Rate Detection for Rubber-
                  stoppered Glass Vials. PDA Journal of Pharmaceutical Science and Technology, 51(5),
                  187.
              49. Kirsch, L. E., Nguyen, L., Gerth, R. (1997). Pharmaceutical Container/Closure Integrity II:
                  The Relationship Between Microbial Ingress and Helium Leak Rates in Rubber-stoppered


   Lee E. Kirsch                                                                                                6
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                  Glass Vials. PDA Journal of Pharmaceutical Science and Technology, 51(5), 203.
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                  Container/Closure Integrity III: The Relationship Between Microbial Ingress and
                  Helium Leak Rates in Rubber-stoppered Glass Vials. PDA Journal of Pharmaceutical
                  Science and Technology, 51(5), 195.
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                  Polymer Solutions by Chromotropic Acid Formaldehyde Assay Method. Journal of
                  Pharmaceutical and Biomedical Analysis, 16(4), 643.
              52. Kirsch, L. E., Sihn, Y.-S. (1997). The Effect of Polyvinylpyrrolidine on the Stability of
                  Taurolidine. Pharmaceutical Development and Technology, 2(4), 345.
              53. Kirsch, L. E., Nguyen, L., Moeckly, C. S., Gerth, R. (1996). The Application of Mass
                  Spectrometry Leak Testing to Pharmaceutical Container/Closure Integrity. Proceedings
                  of the PDA International Congress.
              54. Kirsch, L. E., Riggin, R., Gearhart, D., LeFeber, D., Lytle, D. (1993). In-process Protein
                  Degradation by Exposure to Trace Amounts of Sanitizing Agents. Journal of Parenteral
                  Science and Technology, 47, 155.
              55. Kirsch, L. E., Redmon, M. P. (1993). Quality Tools for Pharmaceutical Product
                  Development. Proceedings of the Biopharmaceuctical Section of the American Statistical
                  Association.
              56. Inman, E. L., Kirsch, L. E. (1990). Stabilized parenteral formulation of daptomycin. Eur.
                  Pat..
              57. Kirsch, L. E., Molloy, R., DeBono, M., Baker, P., Farid, K. (1989). Kinetics of the Aspartyl
                  Transpeptidation of Daptomycin, a Novel Lipopeptide Antibiotic. Pharmaceutical
                  Research, 6, 387.
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                  Ancitabine, Prodrug of the Antileukemic Agent Cytarabine. Journal of Pharmaceutical
                  Sciences, 73, 897.
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                  Kinetics and Mechanisms of Ancitabine Bioconversion to Cytarabine. Journal of
                  Pharmaceutical Sciences, 73, 728.
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                  Catalysis in the Presence of Predominating Hydroxide Catalysis. Journal of
                  Pharmaceutical Sciences, 73, 724.
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                  Distribution of Uniformly Labeled 14C-Pentachlorophenol in Rats. Journal of
                  Pharmaceutical Sciences, 61, 2004.

    Presentations

              1. Lee E. Kirsch, “Particle Size Distribution Overlap Metrics for the Evaluation of Disperse
                 System Drug Product Equivalency”, April 30, 2015, NIPTE/FDA Research Conference:
                 Pharmaceutical Critical Path Manufacturing-2015, Rockville, MD
              2. Lee Kirsch, Pharmaceutical Technology Lecture Series I at United Laboratories, Manila,
                 Philippines, October 1, 2015 “Quality-by-Design”, “Quality Risk Management”,
                 “Manufacturing Biopharmaceuticals”
              3. Lee Kirsch, Pharmaceutical Technology Lecture Series II at United Laboratories, Manila,
                 Philippines, October 9, 2015 “Pharmaceutical Packaging and Package Integrity”,
                 “Stability of Pharmaceuticals and Drug Degradation Kinetics Overview”


   Lee E. Kirsch                                                                                                  7
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              4. Lee Kirsch, “Physiologically-based Pharmacokinetic Models and Tools for Drug
                  Development and Therapeutics”, February 21, 2014, Universiti Kebangsaa Malaysia,
                  Kuala Lumpur, Malaysia.
              5. Lee Kirsch, “Linking Stability to Manufacturing in the Quality-By-Design Pharmaceutical
                  Development Paradigm”, February 20, 2014, The University of Nottingham-Malaysia,
                  Malaysia.
              6. Lee E. Kirsch, “Trends in Pharmaceutical Sciences: Education and Research”, February
                  28, 2014, University of Philippines-Manila, Philippines.
              7. Lee E. Kirsch, “Drug Degradant Risk Assessment using PBPK Modeling”, March 4, 2014,
                  Mahidol University, Thailand.
              8. Lee E. Kirsch, “Get ReadyGet SetPublish: the why, what and how of science
                  writing”, March 11, 2014, Mahidol University, Thailand.
              9. Lee E. Kirsch, “Modernized Pharmaceutical Stability Evaluation and Packaging Science”.
                  March 26, 2014, University of Surabaya, Indonesia.
              10. Lee E. Kirsch, “On the Role of Physical Stability in the Chemical Instability of
                  Pharmaceuticals”. March 28, 2014, Institut Teknologi Bangdung, Indonesia.
              11. Lee E. Kirsch, “Kinetics and Mechanisms of Gabapentin Instability”, March 29, 2014,
                  Universitas Gadjah Mada, Yogyakarta, Indonesia.
              12. Lee E. Kirsch, “Trends in Pharmaceutical Technology Education”, April 8, 2014,
                  University of Health Sciences, Vientiane, Lao PDR.
              13. Lee E. Kirsch, “Trends in Pharmaceutical Sciences, Manufacturing and Regulatory”,
                  Hanoi University of Pharmacy, April 5, 2014, Vietnam.
              14. Lee E. Kirsch, “Physiologically-based Pharmacokinetic Models and Tools for Drug
                  Development and Therapeutics Applications”. SINATER 2013, Federal University of
                  Pernambuco, Recife, Brazil, 2013.
              15. Mo’tasem M. Alsmadi, Stephen D. Stamatis, Lawrence Fleckenstein, and Lee E. Kirsch,
                   “Whole Body Physiologically Based Pharmacokinetic (WBPBPK) Model of Ivermectin
                   (IVM)” 2013, AAPS Annual Meeting and Exposition. San Antonio, TX.
              16. Nguyen HQ, Stamatis SD, Kirsch LE., “Risk assessment of drug degradants using a
                  physiologically‐based pharmacokinetic model approach”. 2013, AAPS Annual Meeting
                  and Exposition. San Antonio, TX.
              17. Radaduen Tinmanee, Stephen D. Stamatis, Lee E. Kirsch, “Modeling Chemical and
                  Physical Instability Pathways of Gabapentin/Excipient Mixtures”, 2013, AAPS Annual
                  Meeting and Exposition. San Antonio, TX.
              18. Nguyen HQ, Stamatis SD, Kirsch LE “Physiologically based risk assessment for drug
                  product degradants with a case study for aniline in rat”.. 2012. Health Sciences Research
                  Week. University of Iowa. Carver College of Medicine.
              19. Radaduen Tinmanee, Stephen D. Stamatis, Lee E. Kirsch, Sarah C. Larsen, Kenneth R.
                  Morris. “The Effect of Excipients on API Stability: Covalent and Polymorphic Transitions.”
                  Poster session presented at: 2012 AAPS Annual Meeting and Exposition; 2012 October
                  14‐18; Chicago, IL.
              20. Stamatis SD, McLennan MJ, and Kirsch LE, “Architecture of pHUBpk: A portal to active
                  learning environments for understanding rational linkages between drug and patient
                  characteristics and pharmacokinetics”, AAPS, Chicago IL, 2012
              21. Stamatis SD, McLennan MJ, and Kirsch LE, “Active learning environments for
                  understanding drug distribution, elimination and bioequivalence in pHUBpk on the
                  pharmaHUB”, AAPS, Chicago IL, 2012
              22. Nguyen H, Stamatis SD, and Kirsch LE, “Risk Assessment of drug degradants using a


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                  physiologically‐based Pharmacokinetic Model Approach”, AAPS Chicago IL, 2012
              23. Stamatis SD, McLennan MJ, and Kirsch LE, “Kpred and Vdss: Free Tools on the
                  PharmaHUB for Exploring Drug Tissue Partitioning and Distribution”, Podium
                  presentation, AIChE National Meeting, Pittsburgh, PA, 2012
              24. Tinmanee, R., Stamatis, S., Huang, H., Ngeacharernkul, P., Kirsch, L. E., AAPS Annual
                  Meeting, "Development of a shelf life prediction model using Bayesian parameter
                  estimation for kinetics of solid state gabapentin degradation", Washington DC, USA,
                  Contributed. (2011).
              25. Tinmanee, R., Stamatis, S., Dempah, E., Munson, E., Kirsch, L. E., AAPS Annual Meeting,
                  "Modeling polymorphic transformations of gabapentin and assessing the effect of
                  excipients using PXRD and ssNMR", Washington DC, USA, Contributed. (2011).
              26. Chanvorachote, B., Qiu, J., Muangsiri, W., Nimmannit, U., Kirsch, L. E., AAPS Annual
                  Meeting and Exposition, "The mechanism between PAMAM dendrimers and lipopeptide
                  (daptomycin)", Washington DC, Contributed. (October 2011).
              27. Tinmanee, R., Stamatis, S., Nguyen, Q., Zong, Z., Kirsch, L. E., NIPTE/FDA Research
                  Symposium, "Formulation of a gabapentin drug degradation model that combines
                  manufacturing and storage stress variables", Rockville, USA, Contributed. (June 2011).
              28. Tinmanee, R., Zong, Z., Kirsch, L. E., NIPTE/FDA Research Symposium, "Role of excipients
                  in the solid state lactamization of gabapentin", Rockville, USA, Contributed. (June 2011).
              29. Qiu, J., Kirsch, L. E., AAPS National Biotechnology Conference, "The effects of
                  aggregation and conformation on the ionization of lipopeptide (Daptomycin)", San
                  Francisco, CA, Contributed. (May 2011).
              30. Buckner, I., Dalal, N., Tinmanee, R., Zong, Z., Huang, H., Qiu, J., Kirsch, L. E., AAPS,
                  "Excipient effects on the solid-state stability of gabapentin", New Orleans, Lousiana,
                  USA, Contributed. (November 2010).
              31. Qiu, J., Yu, L., Kirsch, L. E., AAPS Annual Meeting and Exposition, "Determination of the
                  complex ionization behaviour of daptomycin", New Orleans, Louisiana, Contributed.
                  (November 2010).
              32. Zong, Z., Kirsch, L. E., Kaushal, A., Suryanarayanan, R., Dempah, E., Munson, E., FIP
                  Pharmaceutical Sciences World Congress in Association with the AAPS Annual Meeting
                  and Exposition, "A Kinetic Model for the Solid State Degradation of Gabapentin", New
                  Orleans, Louisiana, Contributed. (November 2010).
              33. Kaushal, A., Dempah, E., Huang, H. G., Qiu, J., Munson, E., Kirsch, L. E., Suryanarayanan,
                  R., FIP Pharmaceutical Sciences World Congress in Association with the AAPS Annual
                  Meeting and Exposition, "Phase transformations in gabapentin during wet granulation
                  and drying", New Orleans, Louisiana, Contributed. (November 2010).
              34. Dempah, K., Kaushal, A., Huang, H. G., Suryanarayanan, R., Kirsch, L. E., Munson, E., FIP
                  Pharmaceutical Sciences World Congress in Association with the AAPS Annual Meeting
                  and Exposition, "Predicting Gabapentin Stability upon Processing using SSNMR", New
                  Orleans, Louisiana, Contributed. (November 2010).
              35. Kirsch, L. E., Department of Chemical and Biological Engineering, Illinois Institute of
                  Technology, "On the Role of Physical Stability on the Chemical Instability of
                  Pharmaceuticals", Chicago, IL, Invited. (October 21, 2010).
              36. Kirsch, L. E., Primera Reunion Internacional De Ciencias Farmaceuticas (RICiFa 2010), "A
                  Case Study on Linking Solid-state Stability to Manufacturing Design in the FDA’s Quality-
                  by-Design Pharmaceutical Development Paradigm", Cordoba, Argentina, Invited. (June
                  25, 2010).
              37. Kaushal, A., Suryanarayanan, R., Zong, Z., Desai, S., Huang, H.-S., Khan, M., Kirsch, L. E.,


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                    Barich, D. H., Munson, E. J., AAPS Annual Meeting, "Anhydrous and monohydrate
                    gabapentin inter-conversion: Potential implications during solid dosage form
                    manufacture", Los Angeles, Contributed. (2009).
              38.   Barich, D. H., Munson, E. J., Kaushal, A., Suryanarayanan, R., Zong, Z., Desai, S., Huang,
                    H.-S., Khan, M., Kirsch, L. E., AAPS Annual Meeting, "Characterization of Gabapentin
                    Forms and Stability using Solid-State NMR Spectroscopy", Los Angeles, Contributed.
                    (2009).
              39.   Zong, Z., Desai, S., Kaushal, A., Barich, D., Huang, H., Munson, E., Suryanarayanan, R.,
                    Khan, M., Kirsch, L. E., AAPS Annual Meeting, "The Stabilizing Effect of Moisture on the
                    Solid-State Degradation of Gabapentin", Los Angeles, Contributed. (2009).
              40.   Zong, Z., Desai, S., Huang, H.-S., Kirsch, L. E., Kaushal, A., Suryanarayanan, R., Barich, D.
                    H., Munson, E. J., Wildfong, P., Buckner, I., Drennen, J., Pingali, K. C., Muzzio, F. J.,
                    Kayrak-Talay, D., Litster, J. D., Reklaitis, G., Bogner, R., Khan, M., AIChE Annual Meeting,
                    "The Development of Methods to Link Design Space Models to Product Stability",
                    Nashville, Contributed. (2009).
              41.   Kirsch, L. E., Symposium presentation at the University of Wisconsin, "Pharmaceutical
                    Chemistry of a Lipopeptide Antibiotic (Daptomycin)", Invited. (March 27, 2009).
              42.   Qiu, J., Kirsch, L. E., AAPS Annual meeting, "The effects of aggregation on the
                    pharmaceutical chemistry of daptomycin", Atlanta, Contributed. (November 2008).
              43.   Kirsch, L. E., NIPTE Stakeholders Meeting, "An Introduction to the NIPTE Curriculum",
                    Chicago, Contributed. (April 2008).
              44.   Kirsch, L. E., Annual AAPS meeting, "Transforming Pharmaceutical Technology
                    Education", San Diego, Invited. (2007).
              45.   Qiu, J., Kirsch, L. E., AAPS Annual Meeting, "Evaluation of Lipopeptide Aggregation Using
                    Light Scattering, Fluorescence and NMR Spectroscopy", San Diego, Contributed.
                    (November 2007).
              46.   Desai, S., Kirsch, L. E., AAPS Annual Meeting, "Ortho Substitution Effects in the
                    Hydrolysis of Formanilides", San Diego, Contributed. (November 2007).
              47.   Naik, H., Kirsch, L. E., Fleckenstein, L., AAPS Annual Meeting, "Population
                    pharmacokinetics of artesunate and its metabolite, dihydroartemisinin", San Diego,
                    Contributed. (November 2007).
              48.   Chanvorachote, B., Kirsch, L. E., AAPS Annual Meeting, "Studies on the Binding between
                    Daptomycin and PAMAM Dendrimers", San Diego, Contributed. (November 2007).
              49.   Zong, Z., Kirsch, L. E., AAPS Annual Meeting, "Studies on the Instability of
                    Chlorhexidine", San Diego, Contributed. (November 2007).
              50.   Kirsch, L. E., AAPS Annual Meeting, "Transforming Pharmaceutical Technology
                    Education: A NIPTE Proposal", Contributed. (November 2007).
              51.   Kirsch, L. E., Annual PDA Meeting, "NIPTE Roadmap", Las Vegas. (March 2007).
              52.   Kirsch, L. E., Science and Education Advisory Committee meeting, "NIPTE Roadmap",
                    Chicago, Contributed. (March 2007).
              53.   Kirsch, L. E., Chemical and Biochemical Engineering Symposium Series, "Physical and
                    Pharmaceutical Chemistry of Daptomycin", The University of Iowa, Invited. (February 15,
                    2007).
              54.   Zong, Z., Kirsch, L. E., AAPS meeting, "Kinetic Studies of the Formation of p-Chloroaniline
                    from the Degradation of Chlorhexidine", Nashville, Contributed. (November 2005).
              55.   Gokhale, M., Kirsch, L. E., AAPS meeting, "Kinetics and Mechanisms of the Glycosylation
                    of Weakly Basic Aromatic Amines and Monosaccharides", Nashville, Contributed.
                    (November 2005).


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              56. Desai, S., Kirsch, L. E., AAPS meeting, "Preliminary Studies of Ortho Substitution Effects
                  on Amide Hydrolysis using Formanilides as Model Compounds", Nashville, Contributed.
                  (November 2005).
              57. Kirsch, L. E., Pharmaceutical Forum, "Depot Injection Systems: Current Uses and Issues",
                  London, England, Invited. (November 2005).
              58. Kirsch, L. E., North Carolina Discussion Group, Research Triangle Part, "Adventures in
                  Peptide Degradation Kinetics", Durham, NC, Invited. (June 6, 2005).
              59. Gokhale, M., Kirsch, L. E., AAPS Annual Meeting, "The Effects of pH and Buffers on the
                  Kinetics of Kynurenine Glycosylation", Baltimore, MD, Contributed. (November 2004).
              60. Kirsch, L. E., Pharmaceutical Microbiology Forum, "Package Integrity Quality Assurance",
                  Fairport, NY, Invited. (October 2004).
              61. Gokhale, M., Kirsch, L. E., AAPS Annual Meeting, "Preliminary Kinetic Studies on the
                  Reaction of Kynurenine with D-glucose", Stalt Lake City, Contributed. (October 2003).
              62. Kirsch, L. E., University of North Carolina, College of Pharmacy, "Chemical Degradation
                  of Pharmaceutical Peptide", Invited. (April 15, 2003).
              63. Kirsch, L. E., Genentech, "The Science Behind Pharmaceutical Packaging Quality
                  Assurance", South San Francisco, CA, Invited. (February 2003).
              64. Muangsiri, W., Kirsch, L. E., Annual Meeting of the American Association of
                  Pharmaceutical Scientists, "In Vitro Characterization of Macromolecular Antibiotic
                  Prodrugs", Toronto, Canada, Contributed. (November 2002).
              65. Muangsiri, W., Kirsch, L. E., Annual Meeting of the American Association of
                  Pharmaceutical Scientists, "Preparation of Macromolecular Antibiotic Prodrugs",
                  Toronto, Canada, Contributed. (November 2002).
              66. Kirsch, L. E., Annual Meeting of the American Association of Pharmaceutical Scientists,
                  "Techniques for Establishing Critical Leakage Specifications", Toronto, Canada,
                  Contributed. (November 13, 2002).
              67. Kalvakota, B., Kirsch, L. E., Redmon, M., Thakur, A., Annual Meeting of the American
                  Association of Pharmaceutical Scientists, "The Degradation of (R,R)-formoterol-L-
                  tartrate in Aqueous Solutions", Denver, Colorado, Contributed. (October 2001).
              68. Joshi, A., Kirsch, L. E., Annual Meeting of the American Association of Pharmaceutical
                  Scientists, "The Relative Rates of Asparaginyl and Glutaminyl Deamidation in Glucagon
                  Fragment 22-29 under Acidic Conditions", Denver, Colorado, Contributed. (October
                  2001).
              69. Kirsch, L. E., Pulmonary Delivery and Disposition of Inhaled Aerosols Workshop,
                  Controlled Release Society 28th International Symposium, "Protein and Peptide Stability
                  in the Liquid and Solid States", San Diego, California, Contributed. (June 24, 2001).
              70. Joshi, A., Kirsch, L. E., Annual Meeting of the Pharmaceutical Congress of the Americas,
                  "Determination of Relative Cleavage and Deamidation Rates in Acidic Glucagon
                  Solutions to Evaluate Sequence Effects", Orlando, Florida, Contributed. (March 2001).
              71. Kirsch, L. E., Pharmacia, "Package Integrity Testing for Sterility Assurance", Portage, MI,
                  Invited. (October 2000).
              72. Kirsch, L. E., Cubist Pharmaceutical, "The Role of Aggregation in the Kinetics of
                  Daptomycin Degradation", Cambridge, MA, Invited. (August 2000).
              73. Joshi, A. B., Kirsch, L. E., 1999 Annual American Association of Pharmaceutical Scientists
                  Meeting, "Acidic Degradation Pathways of Glucagon", New Orleans, Contributed.
                  (November 1999).
              74. Muangsiri, W., Kirsch, L. E., 1999 Annual American Association of Pharmaceutical
                  Scientists Meeting, "Aqueous Degradation of Daptomycin in Alkaline Solutions", New


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                  Orleans, Contributed. (November 1999).
              75. Nguyen, L., Kirsch, L. E., Wiencek, J., 1999 Annual American Association of
                  Pharmaceutical Scientists Meeting, "Effects of Shear Stress on the Structural and
                  Mechanical Characteristics of Glucagon Gel Systems", New Orleans, Contributed.
                  (November 1999).
              76. Zhang, X., Kirsch, L. E., 1999 Annual American Association of Pharmaceutical Scientists
                  Meeting, "Microviscosity of the Emulsion Determined by Fluorescence Polarization",
                  New Orleans, Contributed. (November 1999).
              77. Kirsch, L. E., Zhang, Z., Muangsiri, W., Luner, P., Wurster, D., Redmon, M., 1999 Annual
                  American Association of Pharmaceutical Scientists Meeting, "RR-Formterol (L) Tartrate
                  Development", New Orleans, Contributed. (November 1999).
              78. Kirsch, L. E., Majuru, S., Oh, E., Joshi, A., Luner, P., Wurster, D., Redmon, M., 1999
                  Annual American Association of Pharmaceutical Scientists Meeting, "S-Oxybutynin
                  Preformulation Studies", New Orleans, Contributed. (November 1999).
              79. Zhang, X., Kirsch, L. E., 1999 Annual American Association of Pharmaceutical Scientists
                  Meeting, "Study of the Mechanism of Thermally-stressed Parenteral Fat Emulsion", New
                  Orleans, Contributed. (November 1999).
              80. Kirsch, L. E., PDA and American Association of Pharmaceutical Scientists Chicagoland
                  discussion groups, "Debunking Pharmaceutical Package Integrity Testing", Chicago,
                  Invited. (September 1999).
              81. Zhang, X., Kirsch, L. E., 1997 Annual American Association of Pharmaceutical Scientists
                  Meeting, "Drug Effects on the Coalescence Rate of Thermally-stressed Emulsions", San
                  Francisco, Contributed. (November 1998).
              82. Nguyen, L. T., Kirsch, L. E., 1998 Annual American Association of Pharmaceutical
                  Scientists Meeting, "Establishing the Microbial Barrier Properties of Pharmaceutical
                  Packaging by Physical Leak Rate Measurements", San Francisco, Contributed.
                  (November 1998).
              83. Kirsch, L. E., Israel Chapter of the PDA, "Pharmaceutical Package Integrity", Herzelia,
                  Israel, Invited. (October 28, 1998).
              84. Kirsch, L. E., Medical College of Virginia, "Pharmaceutical Instability of Peptides", Invited.
                  (September 1998).
              85. Kirsch, L. E., Morton Guazzo, D., PDA Training and Research Center, "Leakage and
                  Parenteral Packaging Seal Integrity", Baltimore, MD, Invited. (July 1998).
              86. Kirsch, L. E., the International Blow-Fill-Seal Operators Meeting, "Current and Future
                  State of Pharmaceutical Package Integrity", Cambridge, MA, Invited. (April 30, 1998).
              87. Kirsch, L. E., Nguyen, L. T., Morton Guazzo, D., Scheire, R., Muangsiri, W., Western PDA
                  meeting, "Methods for the Development of Indirect Correlations between Physical Leak
                  Rate Methods and Microbial Ingress into Parenteral Packaging", San Francisco,
                  Contributed. (March 1998).
             88. Kirsch, L. E., ESI-Lederle, "Current Issues in Pharmaceutical Container/Closure Integrity
                  Technologies", Invited. (February 2, 1998).
             89. Nguyen, L. T., Gerth, R., Kirsch, L. E., 1997 Annual American Association of
                  Pharmaceutical Scientists Meeting, "A Model for Predicting Helium Leak Rates of
                  Defective Sealed Vials and Its Application in the Validation of Helium Leak Rate Method
                  for Pharmaceutical Container/Closure Systems", Boston, Contributed. (November 1997).
             90. Zhang, X., Kirsch, L. E., 1997 Annual American Association of Pharmaceutical Scientists
                  Meeting, "An Assessment of Techniques for Evaluating the Physical Stability of
                  Parenteral Microemulsions", Boston, Contributed. (November 1997).


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            91. Nguyen, L. T., Gerth, R., Moeckly, C. S., Kirsch, L. E., 1997 Annual American Association
                of Pharmaceutical Scientists Meeting, "Correlation of Mass Spectrometry-based Helium
                Leak Measurements to Microbial Ingress for Pharmaceutical Container/Closure Integrity
                Testing", Boston, Contributed. (November 1997).
            92. Kirsch, L. E., Executive MBA program offered by the College of Business Administration
                at The University of Iowa, "A Technologist’s View of the Pharmaceutical Industry",
                Invited. (August 1997).
            93. Kirsch, L. E., Glaxo Welcome, "Pharmaceutical Container/Closure Integrity
                Technologies", Invited. (April 14, 1997).
            94. Kirsch, L. E., PDA International Congress, "PDA Container/Closure Study", Osaka, Japan,
                Invited. (February 18, 1997).
            95. Nguyen, L., Moeckly, C., Kirsch, L. E., 1996 Annual American Association of
                Pharmaceutical Scientists Meeting, "Pharmaceutical Container Closure Integrity by Mass
                Spectrometry-based Leak Detection", Seattle, Contributed. (1996).
            96. Kirsch, L. E., 50th Annual PDA meeting, "Application of Mass Spectrometry Leak Testing
                to Pharmaceutical Package Integrity Quality Assurance", Philadelphia, Invited.
                (November 20, 1996).
            97. Kirsch, L. E., Seminar at Fujisawa USA, "Pharmaceutical Container/Closure Integrity
                Technologies", Chicago, Invited. (April 19, 1996).
           98. Sihn, Y., Guillory, K., Kirsch, L. E., 1995 Annual American Association of Pharmaceutical
                Scientists meeting, "Degradation Kinetics and Interaction Studies of Taurolidine
                Equilibrium Products with PVP in Aqueous Media", Contributed. (1995).
           99. Kirsch, L. E., 1995 Annual American Association of Pharmaceutical Scientists Meeting,
                "Challenges in the Sterilization of Injectable Disperse Systems", Miami, Invited.
                (November 1995).
           100. Kirsch, L. E., Genetics Institute, "Re-engineering Pharmaceutical Product Development",
                Andover, Invited. (December 1994).
           101. Kirsch, L. E., Redmon, M. P., 16th Annual Midwest Biopharmaceutical Statistics
                Workshop, "Quality Tools Applied to Pharmaceutical Product Development: Quality
                Function Deployment, Business Function Deployment, and Failure Modes and Effects
                Analysis", Invited. (May 1993).
           102. Kirsch, L. E., Redmon, M. P., Arden House Conference, "Biopharmaceutical Product
                Development", Invited. (February 1993).
           103. Kirsch, L. E., Annual American Association of Pharmaceutical Scientists Meeting, "New
                Method for Predicting Arrhenius Behavior in Accelerated Drug Degradation Studies",
                Washington DC, Contributed. (October 1991).
           104. Kirsch, L. E., Virginia Commonwealth University, School of Pharmacy faculty and
                graduate students, "Degradation Kinetics Short Course and Simulation Laboratory",
                Invited. (April 1991).
           105. Stout, P., Khoury, N., Mauger, J., Kirsch, L. E., Annual American Association of
                Pharmaceutical Scientists Meeting, "Human Zinc Insulin Suspension Release Kinetics",
                Las Vegas, Nevada, Contributed. (November 1990).
           106. Kirsch, L. E., Land O Lakes meeting, "Protein Reactivity", Invited. (June 1990).
           107. Kirsch, L. E., Lefeber, D., Riggin, R., Gearhart, D., Clone to Clinic Biotechnology Meeting,
                "The Susceptibility of Human Growth Hormone to In-process Degradation", Amsterdam,
                the Netherlands, Contributed. (March 1990).
           108. Kirsch, L. E., University of Nebraska, College of Pharmacy, Pharmaceutical Sciences
                Research Retreat, "Strategies for Research Collaboration with Industrial Sites",


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                Boystown, Nebraska, Invited. (November 1989).
           109. Mauger, K., Shaeiwitz, J., Mauger, J., Kirsch, L. E., Annual American Association of
                Pharmaceutical Scientists meeting, "Mechanism of Crystalline Zinc Insulin Dissolution",
                Atlanta, Georgia, Contributed. (October 1989).
           110. Kirsch, L. E., Annual American Association of Pharmaceutical Scientists meeting, "Protein
                Degradation Pathways in Parenteral Dosage Forms", Atlanta, Georgia, Invited. (October
                1989).
           111. Gearhart, D., Lefeber, D., Riggin, R., Kirsch, L. E., Annual American Association of
                Pharmaceutical Scientists meeting, "The Effects of Parenteral Sterilants on the
                Generation of Protein Degradation Products During Pharmaceutical Processing",
                Atlanta, Georgia, Contributed. (October 1989).
           112. Khoury, N., Stout, P., Mauger, J., Shaeiwitz, J., Kirsch, L. E., ACS Colloid and Surface
                Science Symposium, "Dissolution of Recombinant Human Insulin Crystal", Seattle,
                Washington, Contributed. (June 1989).
           113. Kirsch, L. E., Rho Chi lecturer, "Biotechnic Drug Development", Duquesne University,
                Invited. (December 1988).
           114. Stout, P., Mauger, J., Koury, N., Kirsch, L. E., American Association of Pharmaceutical
                Scientists meeting, "Dissolution Characteristics of Changing Mixtures of Amorphous:
                Crystalline Humulin Zinc Insulin", Orlando, Florida, Contributed. (November 1988).
           115. Gearhart, D., Kirsch, L. E., Annual American Association of Pharmaceutical Scientists
                meeting, "Dry-state Deamidation of Glucagon", Orlando, Florida, Contributed.
                (November 1988).
           116. Kirsch, L. E., Short course presented to the West Virginia University, School of Pharmacy
                graduate students, "Degradation Kinetics Short Course and Simulation Laboratory",
                Invited. (May 1988).
           117. Kirsch, L. E., West Virginia University, University of Kentucky, Duquesne University,
                Medical College of Virginia, Biochemical Development Seminar Series, "The Role of
                Transpeptidation and Deamidation in the Pharmaceutical Instability of Proteins and
                Peptides", Invited. (1987).
           118. Kirsch, L. E., Biotechnology symposium at the American Association of Pharmaceutical
                Scientists meeting, "The Role of Transpeptidation and Deamidation in the
                Pharmaceutical Instability of Proteins and Peptides", Boston, Invited. (June 1987).
           119. Kirsch, L. E., Short Course presented to the West Virginia University, School of Pharmacy
                graduate students, "Degradation Kinetics Short Course and Simulation Laboratory",
                Invited. (May 1987).
           120. Kirsch, L. E., Bucko, J., Smith, W., Akers, M., Hargrove, W., 1986 American Association of
                Pharmaceutical Scientists meeting, "Development of a Quantitative Model for the In
                Vitro and In Vivo Delivery Kinetics of CRIS, a Novel Intravenous System", Washington DC,
                Contributed. (November 1986).
           121. Stout, P., Mauger, J., Kirsch, L. E., Khoury, N., Sheliga, T., Annual American Association of
                Pharmaceutical Scientists, "Dissolution of Lente Insulins", Washington DC, Contributed.
                (November 1986).
           122. Kirsch, L. E., Humana Corporate Center, "IVAC CRIS System Performance", Louisville,
                Kentucky, Invited. (May 1986).
           123. Kirsch, L. E., Delaware Valley Society of Hospital Pharmacists, "Drug Delivery with the
                IVAC CRIS System", Philadelphia, Pennsylvania, Invited. (April 1986).
           124. Kirsch, L. E., Graduate Faculty Seminar, "Kinetics and Pharmacokinetics of Intravenous
                Drug Delivery", School of Pharmacy West Virginia, Invited. (January 1986).


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           125. Kirsch, L. E., American Society of Hospital Pharmacists 20th Midyear Clinical Meeting,
                "Drug Delivery with the IVAC CRIS System", New Orleans, Louisiana, Contributed.
                (December 1985).
           126. Kirsch, L. E., Smith, W., Massey, E., Bechtel, L., Davies, D., Thirty-seventh National
                Meeting of the Academy of Pharmaceutical Sciences, "The Evaluation of Human Insulin
                Formulations by Kinetic Analysis of Time-Action Profiles in Rabbits", Philadelphia,
                Pennsylvania, Contributed. (October 1984).
           127. Kirsch, L. E., Notari, R., 130th American Pharmaceutical Association Annual Meeting,
                "Kinetics and Mechanism of In Vitro Prodrug Conversion to Cytarabine (ARA-C)", New
                Orleans, Louisiana, Contributed. (April 1983).
           128. Kirsch, L. E., Notari, R., 130th American Pharmaceutical Association Annual Meeting,
                "Pharmacokinetics of Prodrug Bioconversion to Cytarabine (ARC-C)", New Orleans,
                Louisiana, Contributed. (April 1983).

 Grantsmanship

       Over 55 research grants and contracts

 PROFESSIONAL, GOVERNMENTAL, UNIVERSITY AND OTHER SERVICE

    Professional/Clinical Services and Committees

         Internal Committee

              University of Iowa STEM Advisory Council. (2011 - 2013).
              College of Pharmacy Curriculum Re-engineering Task Force, “Transformers”. (2009 - 2014).
              Faculty Senate. (2008 - 2011).
              College of Pharmacy IT Committee Chairman. (2008 - 2009).
              Graduate College Council. (2006 - 2009).
              College of Pharmacy Admissions Committee. (2007 - 2008).
              College of Pharmacy Curriculum Committee. (2006 - 2007).
              College of Pharmacy Continuing Education Oversight Committee. (2003 - 2006).
              College of Pharmacy Industrial Consortium. (2003 - 2006).
              College of Pharmacy Admissions Committee Chairman. (2001 - 2003).
              College of Pharmacy Research Equipment Committee. (1999 - 2003).
              Pharmaceutics Search Committee Chairman. (2001 - 2002).
              Ad Hoc Planning Committee for the 1999 Collegiate Research Retreat. (1999).
              Advisory Committee to the Vice President for Research for Medical and Biological Sciences.
                  (1998 - 1999).

         General

              Member of the American Association of Pharmaceutical Scientists (1993 – present)
              Member of USP <1207> Expert Panel. (January 2011 - 2013).
              Editor-in-chief, AAPS Pharmaceutical Science and Technology Journal. (July 2008 –
                  December, 2014).
              Faculty Committee Leadership in the National Institute for Pharmaceutical Technology and
                  Education, Faculty Committee, Chairman and Leadership Team (2009-2011): Education


   Lee E. Kirsch                                                                                           15
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                                  107676


                  Roadmap, Co Chairman: Pharmaceutical Material Section of Technology Roadmap.
                  (2005 - 2008). Chaired the education committee for NIPTE working on the design of a
                  national curriculum in pharmaceutical technology. (2005 – 2008)
              Editorial Advisory Board, Drug Development and Industrial Pharmacy. (June 2000 - 2009).
              Member of the Parenteral Drug Association Executive Committee. (2000 - 2002).
              Member of USP <1059> Advisory Committee of Excipient Quality. (January 2009 - January
                  2011).
              PQRI Working Group Member, Aseptic Processing. (2003 - 2008).
              Regulatory Affairs Advisory Board for the Parenteral Drug Association. (2003 - 2008).
              Scientific Advisory Board for the Parenteral Drug Association. (2003 - 2008).
              Strategic Planning Committee for the Parenteral Drug Association. (2003 - 2008).
              Editorial Advisory Board, Pharmaceutical Development and Technology. (1995 - 2008).
              Editor, The PDA Journal of Pharmaceutical Science and Technology. (February 2000 - June
                  2008).
              Reviewer for United Arab Emirate University Research Fund. (2004).
              The University of Iowa Research Review Committee in the Biological Sciences. (2003 - 2004).
              Reviewer for State of Indiana 21st Century Fund proposals. (2003).
              Member of the Ad Hoc National Institutes of Health SBIR and STTR Study Section for Drug
                  Development and Delivery. (2000).
              Reviewer for the National Science Foundation Directorate for Engineering. (2000).
              Member of the Pharmaceutical Sciences Alliance Council, Aseptic Processing Advisory Panel,
                  PDA-TRI Container/Closure Applied Research Task Force, and Faculty member for the
                  Parenteral Drug Association Research and Training Center. (1998 - 1999).
              Chairman of the American Association of Pharmaceutical Scientists Sterile Products Focus
                  Group. (1997).
              AAPS Pharmaceutical Technology Section Leadership Team. (1995 - 1997).
              Conference co-chairman (with Dr. John Clements of the Royal Pharmaceutical Society of
                  Great Britain) for the 1996 Arden House Conferences. (1996).




   Lee E. Kirsch                                                                                            16
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                           A TTA C H M E N T B
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                                        107678

                          Zlatan Coralic, PharmD, BCPS

                                          Zlatan.Coralic@ucsf.edu


EDUCATION

Jul 2008 - Jul 2009      Pharmacy Practice Residency, PGY-1
                         ASHP Accredited
                         University of California, San Francisco (UCSF)
                         Residency Director: Cathi Dennehy, PharmD
                         San Francisco, California

Aug 2005 - Jun 2008      Doctor of Pharmacy
                         University of Southern Nevada (USN)
                         College of Pharmacy
                         Henderson, Nevada

Sep 2000 - Jun 2005      B.S. in Biology​ (Cell and Molecular concentration)
                         Minor in Chemistry
                         University of Nevada, Las Vegas (UNLV)
                         Las Vegas, Nevada


LICENSES / CERTIFICATIONS
Nov 2012                 Board Certified Pharmacotherapy Specialist
                         Board of Pharmacy Specialties

Oct 2009                 Pediatric Advanced Life Support (PALS)

Jul 2009                 Advanced Teaching Certificate
                         UCSF School of Pharmacy

Jul 2008 - present       Registered Pharmacist #17361
                         Nevada State Board of Pharmacy

Jul 2008 - present       Registered Pharmacist #61422
                         California State Board of Pharmacy

Jun 2009                 Certified Clinical Preceptor

Jul 2006 - Feb 2019      Advanced Cardiac Life Support (ACLS)

Sep 2005- present        Basic Life Support (BLS)




                                                                               Zlatan Coralic, PharmD
                                                                                      September 2020
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PROFESSIONAL EXPERIENCE
Oct 2013 – present      Assistant Clinical Professor of Emergency Medicine (WOS)
                        UCSF School of Medicine (Department of Emergency Medicine)
                        Director: Peter Sokolove, MD

Jul 2009 – Nov 2016     Health Sciences Assistant Clinical Professor (Pharmacy/WOS)
Nov 2016 – present      Promotion: Health Sciences Associate Clinical Professor (Pharmacy/WOS)
                        UCSF School of Pharmacy
                        Director: B. Joseph Guglielmo, PharmD

Jul 2009 – present      Emergency Medicine Clinical Pharmacist
                        UCSF Medical Center
                        Director: Desi Kotis, PharmD

Jul 2010 – present      Clinical Preceptor – Emergency Medicine
                        Pharmacy (PGY 1-2) and Medical (PGY 3-4) Residents

Oct 2006 - Jul 2008     Pharmacist Intern
                        University Medical Center, Southern Nevada (UMCSN)
                        Director of Pharmaceutical Services: Diana Bond, RPh

May 2005 - Jul 2008     Pharmacist Technician / Intern
                        Walgreens #3873
                        Las Vegas, Nevada
                        Pharmacy Supervisor: Matt Forster, PharmD




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                                                                                                        September 2020
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PEER-REVIEWED PUBLICATIONS

    Murphy CE, Wang RC,​ Coralic Z​, Lai AR, Raven M. Association between Methamphetamine Use and Psychiatric
    Hospitalization, Chemical Restraint, and Emergency Department Length of Stay. Acad Emerg Med 2020; July 26; e-pub
    ahead of print.

    Brown C, Noble J,​ Coralic Z​. Brief Summary of Potential SARS-CoV-2 Prophylactic and Treatment Drugs in the
    Emergency Department. West J Emerg Med. 2020;21(3):510-513.

    Montoy JCC, ​Coralic Z​, Herring AA, Clattenburg EJ, Raven MC. Association of Default Electronic Medical Record
    Settings With Health Care Professional Patterns of Opioid Prescribing in Emergency Departments: A Randomized Quality
    Improvement Study. JAMA Intern Med. 2020 Jan 21;180(4):487-93.

    Chamberlain JM, Kapur J, (UCSF Trial Principal Investigator ​Coralic, Z.​), et al. Efficacy of levetiracetam, fosphenytoin,
    and valproate for established status epilepticus by age group (ESETT): a double-blind, responsive-adaptive, randomised
    controlled trial. Lancet. 2020;395(10231):1217-1224.

    Kapur J, Elm J, (UCSF Trial Principal Investigator ​Coralic, Z.​), et al. Randomized Trial of Three Anticonvulsant
    Medications for Status Epilepticus. N Engl J Med 2019;381:2103-13.

    Coralic Z​. Medication reconciliation studies: High quantity, low quality. Am J Health Syst Pharm 2019;76:1996-7.

    Avdagic K, Geier M, ​Coralic Z​, Finley P. Evaluation of the Impact of a Multimodel Intervention on Prescribing Patterns of
    Sedative-Hypnotics in a Behavioral Health System. Prim Care Companion CNS Disord 2018;20.

    Morgan SR, Acquisto NM, ​Coralic Z​, et al.​ ​Clinical pharmacy services in the emergency department. Am J Emerg Med.
    Am J Emerg Med. 2018 Oct;36(10):1727-1732.

    Coralic Z,​ et al. Ketamine Procedural Sedation in the Emergency Department of an Urban Tertiary Hospital in Dar es
    Salaam, Tanzania. Emerg Med J. 2018 Apr;35(4):214-219.

    Li, K., Vo, K., Addo N., Lee, B., ​Coralic, Z​. Effect of a single dose of i.v. ondansetron on QTc interval in emergency
    department patients. Am J Health Syst Pharm. 2018 Mar 1;75(5):276-282.

    Coralic Z, ​Hayes BD​.​ Emergency Medicine Pharmacists on an International Scale. Emerg Med J. Emerg Med J. 2017 Aug;
    34(8): 492-493.

    Coralic Z​, Kim SA, Vinson DR. Prochlorperazine-Induced Hemidystonia Mimicking Acute Stroke. Western Journal of
    Emergency Medicine. 2015;16(4):1-3.

    Burnett MM, Zimmermann L, ​Coralic Z​, et al. A simple text-messaging intervention is associated with improved
    door-to-needle times for acute ischemic stroke. Stroke. 2014 Dec;45(12):3714-6.

    Coralic Z​, Kanzaria HK, Bero L, Stein J. Staff perceptions of an on-site clinical pharmacist program in an academic
    emergency department after one year. West J Emerg Med. 2014 Mar;15(2):205-10.

    Gertler SA, ​Coralic Z​, et al. Root cause analysis of ambulatory adverse drug events that present to the emergency
    department. J Patient Saf. 2014 Feb 27.

    James KT, Detz A, ​Coralic Z​, Kanzaria H. Levamisole contaminated cocaine induced cutaneous vasculitis syndrome. West
    J Emerg Med. 2013 Sep;14(5):448-9.

    Coralic Z,​ Lenhoff T, Kanzaria HK, Gerona R. A 120-hour case of priapism from an over-the-counter herbal supplement.
    Ann Pharmacother. 2013 Feb;47(2):289-90.
                                                                                                               Zlatan Coralic, PharmD
                                                                                                                      September 2020
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  Case 1:18-cv-02032-CFC-CJB Document 305 Filed 08/30/21 Page 559 of 820 PageID #:
    Kanzaria HK, Farzan N, ​Coralic Z.​ Adie's tonic pupil. West J Emerg Med. 2012 Dec;13(6):543.

    Chung-Esaki H, Knight R, Noble J, Wang R, ​Coralic Z​. Detection of Acute Pulmonary Embolism by Bedside Ultrasound in
    a Patient Presenting in PEA Arrest: A Case Report​. ​Case Reports in Emergency Medicine​, vol. 2012, Article ID 794019, 5
    pages, 2012.

    Frymoyer A, Hersh AL, ​Coralic Z​, Benet LZ, Joseph Guglielmo B. Prediction of vancomycin pharmacodynamics in
    children with invasive methicillin-resistant staphylococcus aureus infections: A monte carlo simulation. Clin Ther. 2010
    Mar;32(3):534-42.

    Avdagic Z, Purisevic E, Omanovic S, ​Coralic Z​. Artificial intelligence in prediction of secondary protein structure using
    CB513 database. Summit on Translat Bioinforma. 2009 Mar 1; 2009:1-5.


BOOK AUTHORSHIPS AND CHAPTERS

    Coralic, Z.​ Magnesium Sulfate. In: Poisoning & Drug Overdose, 8th Edition. Olson K, Anderson I, Benowitz N, (eds). The
    McGraw-Hill Companies. (Publishing TBD 2021).

    Coralic, Z.​ Operational Delay in Starting an Epinephrine Drip. In: Tricks of the Trade in Emergency Medicine. Lin M,
    Haas MRC, Hayes BD, Joshi N (eds). Redwood City, CA: ALiEM Publishing, 2020; pp 24-25. ISBN 978-0-9992825-5-7

    Coralic, Z​ (Associate Editor), Farzee B, Chin R. Emergency Management of Infectious Diseases, 2​nd​ edition. [Textbook].
    Cambridge University Press. Publication date: September 8, 2018. ISBN 978-1107153158

    Koehl J, DeWitt K, Procopio G, ​Coralic Z​. In: ALiEMU Capsules Module 11: Acute Agitation. Hays B (ed). Web. 16 Nov
    2018. ​https://www.aliem.com/aliemu-capsules-module-11-acute-agitation/

    Coralic Z. ​Anaphylaxis and Angioedema. Pulmonary and Emergency Medicine: Pharmacotherapy Self Assessment
    Program (PSAP), Book 2. American College of Clinical Pharmacy. Jun 2017.

    Coralic Z​, Awad N. ALiEMU Capsules Module 5: Procedural Sedation and Analgesia in the ED. Hays B (ed). Web.10 Feb
    2016. ​https://www.aliem.com/aliemu-capsules-procedural-sedation-analgesia-ed/

    Coralic, Z​. Anticoagulation. In: AFEM Handbook of Acute and Emergency Care. Wallis, L & Reynolds, T (eds).
    Cape Town: Oxford University Press Southern Africa. 2013; pp. 959-965. ISBN 978-0190722821

    Coralic Z​, Nemer JA. Acute Pain Management. In: GEMSoft [electronic media]. Lin M, Chin R (eds). GEMSoft
    (General Emergency Medicine Software). Queensland, Australia: Pemsoft Pty Ltd. In press, 2012.

    Coralic Z​, Duong D. Acute Agitation Management. In: GEMSoft [electronic media]. Lin M, Chin R (eds). GEMSoft
    (General Emergency Medicine Software). Queensland, Australia: Pemsoft Pty Ltd. In press, 2012

    Coralic Z​, Mongelluzzo J. Procedural Sedation. In: GEMSoft [electronic media]. Lin M, Chin R (eds). GEMSoft (General
    Emergency Medicine Software). Queensland, Australia: Pemsoft Pty Ltd. In press, 2012


OTHER SCIENTIFIC CONTRIBUTIONS
    Coralic, Z. ​ALiEM​. “Trick of the Trade: Mix Ceftriaxone IM with Lidocaine for Less Pain.” Web. 6 Nov. 2014.
    http://bit.ly/1CpVbWi

    Coralic, Z. ​ALiEM​. “I am giving prochlorperazine. Should I give diphenhydramine too?” Web. 3 Sep. 2014.
    http://bit.ly/12d7KUg
                                                                                                               Zlatan Coralic, PharmD
                                                                                                                      September 2020
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           Coralic, Z. ​ALiEM​. “My EpiPen expired! Can I still use it?” Web. 19 May 2014. ​http://bit.ly/1tyZtk3

           Coralic, Z. ​ALiEM​. “New Antibiotic Dalbavancin: Should we use this in the ED?” Web. 12 May 2014. ​http://bit.ly/1z2tUUf

           Coralic, Z. ​ALiEM​. “The Ultimate Consult Service: Emergency Pharmacists.” Web. 3 Oct 2013. ​http://bit.ly/1y8fftu

           Coralic, Z. ​ALiEM​. “The Dirty Epi Drip: IV Epinephrine When You Need It.” Web. 27 Jun 2013. ​http://bit.ly/1tyZxjw

           Coralic, Z. ​ALiEM.​ “On the Horizon: Propofol for Migraines.” Web. 25 May 2013. ​http://bit.ly/15Io7dK

           Coralic, Z. ​ALiEM​. “One-dose vancomycin for SSTIs: Just don’t do it.” 23 Jan 2013. Web. ​http://bit.ly/124pYbs

           Coralic, Z. ​ALiEM. “​ Trick of the Trade: Converting % to mg/mL.” 17 Jun 2012. Web. ​http://bit.ly/1vWKffU


Podcasts

           Herbert, M. (Producer), Lin, M., Poree, L., Coralic, Z. (Contributors). 2015 Nov 1. “Lin Sessions – Intrathecal Pumps in
           Emergency Medicine” Available through subscription ​http://www.emrap.org/​ ​[Audio Podcast].

           Herbert, M. (Producer), Lin, M., and Coralic, Z. (Contributors). 2014 Jan 1. “Lin Sessions - PO vs IV Clindamycin - Dirty
           Epi Drip - Propofol for Migraines.” Available through subscription ​http://www.emrap.org/​ ​[Audio Podcast].

           Herbert, M.,(Producer), Lin, M., and Coralic, Z. (Contributors). 2015 Jan 1. tPA in Pregnancy? Available through
           subscription ​http://www.emrap.org/​ ​[Audio Podcast].



PRESENTATIONS
Jan 2020                             Acute Management of Shortness of Breath in ED
                                     UCSF Department of Emergency Medicine Nursing Education Series, San Francisco, CA: ​Lecture

Apr 2019                             Drug Shortages: Woes and Opportunities
                                     Vituity Spring Symposium, San Diego, CA: ​Lecture

Oct 2018                             Updates in Reversal of Anticoagulation
                                     Advanced Critical Care & Emergency Nursing, Las Vegas, NV: ​Lecture

Oct 2018                             A Discussion about the Opioid Epidemic
                                     Advanced Critical Care & Emergency Nursing, Las Vegas, NV: ​Lecture

Oct 2018                             Drug Shortages: Woes and Opportunities
                                     Advanced Critical Care & Emergency Nursing, Las Vegas, NV: ​Lecture

Apr 2018                             Hyponatremic Emergencies in the ED
                                     High Risk Emergency Medicine, Maui, Hawaii: ​Lecture

Dec 2017                             Opioids for Pain: Drug Seeking Behavior, Acute Pain Management, and Drug Monitoring
                                     Databases
                                     ASHP 2017 Mid-Year Meeting, Orlando, FL:​ Lecture

Nov 2017                             EM Meds: Pearls and Pitfalls
                                     Advanced Critical Care & Emergency Nursing, Las Vegas, NV: ​Lecture

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Dec 2016                Stop the Bloodshed: What Every Pharmacists Needs to Know About Anticoagulation
                        Reversal
                        ASHP 2016 Mid-Year Meeting, Las Vegas, NV:​ Lecture

May 2016                Medication Price Gouging in Emergency Medicine
                        Essentials of Emergency Medicine, Las Vegas, NV: ​Lecture

May 2016                Dangerous Drug Interactions in Emergency Medicine
                        Essentials of Emergency Medicine, Las Vegas, NV: ​Lecture

May 2016                Careful with Some of These in the Resus Room
                        Essentials of Emergency Medicine, Las Vegas, NV: ​Lecture

April 2016              Emergent Anticoagulation Reversal
                        CEP America continuing education (Long Beach, CA; Chicago, IL; San Francisco, CA): ​Lecture

Mar 2016                NOACS in the ED
                        Kaiser South San Francisco CE: ​Lecture

Dec 2015                ASHP Clinical Pearls Session
                        ASHP 2014 Mid-Year Meeting, New Orleans, LA: ​Lecture

Dec 2015                The Use of Ketamine in a Low Resource Hospital: Dar es Salaam, Tanzania
                        ASHP 2014 Mid-Year Meeting, New Orleans, LA: ​Poster presentation

Nov 2015                A Drug Study Sponsored by Industry…What Does That Mean?
                        Essentials of Emergency Medicine - Los Angeles, CA: ​Lecture/Livestream

Nov 2015                Novel Antibiotics: Should We Use These in the ED​?
                        Essentials of Emergency Medicine - Los Angeles, CA: ​Lecture/Livestream

Nov 2015                What Happens In July…Stays in July!
                        Essentials of Emergency Medicine - Los Angeles, CA: ​Lecture/Livestream

Nov 2015                Common Medication Errors in the ED
                        Essentials of Emergency Medicine - Los Angeles, CA: ​Lecture/Livestream

Oct 2015                Paralyzed and Awake: Lessons from ED Intubation Research
                        UCSF Clinical Pharmacy Research Seminar Series: ​Lecture

Aug 2015                Treatment of Skin and Soft Tissue Infections in the ED
                        UCSF Emergency Medicine Conference: ​Lecture

Aug 2015                Common Pitfalls with Antibiotics
                        UCSF Emergency Medicine Conference: ​Lecture

Jun 2015                Blood Thinners – Pearls and Pitfalls
                        High Risk Emergency Medicine San Francisco Conference: ​Lecture

Jun 2015                Medication Errors - Pearls and Pitfalls
                        High Risk Emergency Medicine San Francisco Conference: ​Lecture

May 2015                Opioids in the ED
                        UCSF School of Medicine Emergency Medicine Elective: ​Lecture

April 2015              Drugs in Pregnancy in Emergency Medicine
                                                                                                  Zlatan Coralic, PharmD
                                                                                                         September 2020
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                        UCSF Emergency Medicine Conference: ​Lecture

Dec 2014                Perceived Value of Resource-Specific Treatment Protocols in Dar es Salaam, Tanzania
                        ASHP 2014 Mid-Year Meeting, Aneheim, CA: ​Poster Presentation

Dec 2014                Demystifying Acute Management of Atrial Fibrillation
                        ASHP 2014 Mid-Year Meeting, Aneheim, CA: ​Lecture

Dec 2014                The Errors We Make…
                        ASHP 2014 Mid-Year Meeting, Aneheim, CA: ​Lecture

Oct 2014                Adverse Drug Events in the Community
                        Continuous Pharmacy Education; Alameda Highland Hospital: ​Lecture

Oct 2014                Fun with Drugs in the ED
                        UCSF Emergency Medicine Conference: ​Lecture

Jun 2014                Your Medications: Making Sense of Treatments, Benefits, and Risks
                        UCSF Osher Mini Medical School for the Public: ​Lecture / YouTube Series

May 2014                Emerging in the ED: Primer for Starting in the Emergency Department
                        ASHP: ​Webinar​ (460 attendees)

Apr 2014                Toxicology Review
                        UCSF Emergency Department; Department of Nursing:​ Lecture

Apr 2014                A Qualitative Study Evaluating the Current Landscape of Healthcare Social Media and
                        Podcasts
                        UCSF Spring Research Seminar: ​Poster Presentation

Dec 2013                Post Rapid-Sequence-Intubation Analgesia and Sedation Practices
                        ASHP 2013 Mid-Year Meeting/Society for Academic Emergency Medicine: ​Poster Presentation

Dec 2013                Root-Cause Analysis of Adverse Drug Events Leading to an Emergency Department Visit
                        ASHP 2013 Mid-Year Meeting/Society for Academic Emergency Medicine: ​Poster Presentation

Dec 2013                Cannabinoid Induced Hyperemesis Syndrome & Treatment
                        ASHP 2013 Mid-Year Meeting: Hot Topics in Emergency Medicine: ​Lecture

Nov 2013                Controversies in Migraine Management / Fun with Drugs in the ED
                        UCSF’s Continuing Medical Education Series: Topics in Emergency Medicine: ​Lecture

Oct 2013                Emergency Department Clinical Pharmacists: Pros and Cons
                        CSHP 2013 Annual Meeting: ​Lecture

Dec 2012                Give Me Fat, or Give Me Death! The Use of Fat Emulsion Therapy for Calcium Channel
                        Blockers and Other Toxicities
                        ASHP 2012 Mid-Year Meeting: Hot Topics in Emergency Medicine: ​Lecture

Dec 2012                Impact of ED Pharmacists in Improving Door-to-tPA Administration Times in Ischemic
                        Stroke
                        ASHP 2012 Mid-Year Meeting: ​Poster Presentation

Dec 2012                Prospective Observational Study of Adverse Drug Events Leading to an Emergency
                        Department Visit Identified by a Clinical Pharmacist
                        ASHP 2012 Mid-Year Meeting: ​Poster Presentation
                                                                                                   Zlatan Coralic, PharmD
                                                                                                          September 2020
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Dec 2012                Prothrombin Complex Concentrates INR Dose Response Analysis in Patients with
                        Intracranial Hemorrhage: PIDRA-ICH Study
                        ASHP 2012 Mid-Year Meeting: ​Poster Presentation

Nov 2012                Simulation Training in Emergency Medicine
                        Association of American Medical Colleges (AAMC) national conference in San Francisco:
                        Simulation

Apr 2012                Emergency Department Override Medication List
                        Pharmacy and Therapeutics Committee at UCSF: ​Policy Approval

Apr 2012                UCSF Nursing Grand Rounds: Code Stroke
                        UCSF Department of Nursing: ​Lecture

Jan 2012                Emergency Medicine Pharmacotherapy – Global Initiative
                        Emergency Medicine Conference; Dar es Salaam, Tanzania:​ Lecture

Jan 2012                Medication Use in Pregnancy – Global Initiative
                        Emergency Medicine Conference; Dar es Salaam, Tanzania:​ Lecture

Dec 2011                Emergency Medicine Clinical Pearls - tPA and ED Pharmacists
                        ASHP 2011 Mid-Year Meeting: ​Lecture

Oct 2011                California Poison Control Center Rounds – GHB Ingestion
                        California Poison Control Center San Francisco Division: ​Lecture

Jun 2011                California Poison Control Center Rounds – Amphetamines from India
                        California Poison Control Center San Francisco Division: ​Lecture

May 2011                Successful Implementation of Emergency Department Clinical Pharmacists at UCSF
                        UCSF Spring Research Seminar: ​Poster Presentation

Aug 2010 - present      ED Nursing Annual In-service: Meds in the Code Room
                        UCSF Medical Center Emergency Department: ​Lecture

May 2009                Current Recommended Dosing for Vancomycin in Children is Inadequate – a Montecarlo
                        Simulation
                        UCSF Spring Research Seminar ​Poster Presentation,​ Western States Conference, and UCSF
                        Pharmacy and Therapeutics Committee

Nov 2008                Proposal for Addition to UCSF’s Formulary: Regadenoson
                        UCSF Pharmacy and Therapeutics Committee: ​Policy Approval

Dec 2007                Treatment of Cysticercosis
                        UMCSN: ​Student Lecture

Nov 2007                Diabetic Medications
                        UMCSN – Family Resource Center Services: ​Community Outreach Lecture

Oct 2007                Detecting EPS in Patients on Metoclopramide
                        UMCSN: ​Student Lecture

Jun 2007                Maraviroc in Antiretroviral Experienced HIV Patients
                        UMCSN: ​Student Lecture

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                                                                                                         September 2020
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Dec 2006                         Etiology and Treatment of Pulmonary Fibrosis
                                 USN College of Pharmacy: ​Student Lecture

Apr 2006                         OTC Supplements: Garlic
                                 USN College of Pharmacy: ​Student Lecture


TEACHING EXPERIENCE

Year(s)          Quarter         Course Number and Title          Nature of Contribution        Hours               Student#
2019 - present   All             EM Pharmacology                  Longitudinal Section Leader   1-2/mo              60

2019 - present   Fall            Therapeutics: Stroke             Lecturer                      2                   120

2016 - present   Spring          EM Boot Camp:                    Lecturer                      1                   30
                                 Pain Management

2015 - 2017      Winter          CP 111: Critical Thinking        Lecturer                      1                   120

2015             Spring          PC/PCOL: CNS Drugs               Lecturer                      2                   120

2012 - present   Spring          Therapeutics: ACS                Lecturer                      2                   120

2010 - 2015      Spring          ICU Elective: Toxicology         Lecturer                      1                   30

2009             Spring          Pediatric Elective               Lecturer                      1                   50
                                 Juvenile Idiopathic Arthritis

2008 - present   Spring          CP 120: Acid – Base              Lecturer                      2                   120

2009             Spring          Physical Assessment Seminar:     Instructor                    1                   45
                                 Blood Pressure Measurement

2009             Spring          Biochemistry 112:                Mock Patient Role             1                   120
                                 Hepatic Encephalopathy

2009             Winter/Spring   Ambulatory Care                  Preceptor                     480                 8

2008 - 2018      Fall            CP 111:                          Lecturer                      2                   120
                                 Diarrhea, Gas, and
                                 Hemorrhoids OTC

2008             Fall            CP 130: Headaches                Lecturer                      2                   120

2008             Fall            CP 130: Student Conference       Conference Leader             48                  30




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PROFESSIONAL ORGANIZATIONS / AFFILIATIONS / LEADERSHIP
June 2020 - ongoing     Pharmacy Representative: Door-to-Needle Code Stroke Taskforce

Mar 2020 - ongoing      Lead Clinical Pharmacist: Emergency Department COVID19 Response Team

Mar 2020 – ongoing      Co-PI: Novel treatment for alcohol dependent frequent users of the emergency department
                        (ED): ED-initiated extended release naltrexone, tele-addiction services, and case
                        management.
                        ClinicalTrials.gov: NCT04094584

Feb 2020 – ongoing      Lead Clinical Pharmacist: TIMELESS Multicenter Randomized Trial
                        ClinicalTrials.gov: NCT03785678

Feb 2020 – ongoing      Lead Clinical Pharmacist: MOST Multicenter Randomized Trial
                        ClinicalTrials.gov: NCT03735979

Oct 2019                UCSF Medical Center Guideline for the Management of Suspected Skin and
                        Soft Tissue Infections in Adults
                        Collaborating author

Sep 2019 - ongoing      Pharmacy Representative: ED Unit Based Leadership Team (UBLT)

Sep 2019 - ongoing      Lead Clinical Pharmacist: Geriatric Emergency Department Certification

Aug 2017                Emergency Medicine Pharmacy Role Delineation Task Force Member
                        Board of Pharmacy Specialties

Jul 2016 – Jul 2018     Vice Chair /​ ​Chair / Past Chair: ASHP Science Advisory Group on Emergency Care

Jan 2016 – Jul 2017     Lead Institution Clinical Pharmacist: ESETT Multicenter Randomized Trial
                        ClinicalTrials.gov: NCT01960075

Oct 2015 - present      Reviewer: Annals of Emergency Medicine

Oct 2014                Lead Author: Proposition 44 (national). American College of Emergency Physician Policy
                        Statement​: ​Support for Clinical Pharmacists as Part of the Emergency Medicine Team

Oct 2014 – present      Reviewer: Emergency Medicine Journal (British Medical Journals)

Aug 2013 – Jul 2018     ASHP’s Science Advisory Group on Emergency Care Member

Dec 2012- present       Reviewer: American Journal of Health-System Pharmacy

Jun 2011- present       Contributor: Academic Life in Emergency Medicine Blog

Feb 2010 – present      Founding Member:​ ​California Emergency Medicine Pharmacy Network

Sep 2008                UCSF Pharmacy Residency Chief Resident

Oct 2008 – Oct 2009     California Society of Health Systems Pharmacists (CSHP)

Oct 2007- Jul 2018      American Society of Health Systems Pharmacists (ASHP)

Sep 2005- Jun 2006      USN College of Pharmacy Class President
                                                                                                 Zlatan Coralic, PharmD
                                                                                                        September 2020
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                                       107687
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SPECIALIZED TRAINING / OTHER EXPERIENCE
July 2020         Philips Patient Monitor Training
                  UCSF Department of Emergency Medicine

Feb 2018          Hospital Emergency Response Team (HERT) Training
                  FEMA’s Center for Disaster Preparedness, Anniston, AL

Jul-Sep 2017      STATA Statistical Analysis Course (BIOSTAT 212)
                  UCSF Department of Epidemiology and Biostatistics

Feb 2015          First Responder for Implantable Drug Infusion Systems
                  Training in interrogation and emergent management of common intrathecal pump malfunctions
                  UCSF Department of Anesthesia and Neuromodulation

Oct 2014          Emergency Department Violence Training: Code 100.
                  Training in approach, restraint, and treatment of agitated patients in the Emergency Department
                  UCSF Department of Emergency Medicine

Jan-Apr 2014      Scientific Writing Course
                  UCSF Department of Surgery

Jul-Sep 2011      Training in Clinical Research (EPI 202)
                  UCSF Department of Epidemiology and Biostatistics


HONORS AND AWARDS

Aug 2020                           Excellence in Interprofessional Teaching Award
                                   The UCSF Program for Interprofessional Practice and Education
                                   Haile T. Debas Academy of Medical Educators

Jan 2018                           Top 50 Peer-Reviewer
& Jan 2019                         Annals of Emergency Medicine

Dec 2015                           Employee of the Year
                                   UCSF Department of Emergency Medicine

Aug 2015                           Excellence in Teaching Award
                                   UCSF Academy of Medical Educators

Jun 2012 & 2014                    Clinical Preceptor of the Year
                                   Department of Clinical Pharmacy

Aug 2012                           ASHP New Investigator Award
                                   Research: Prospective Observational Study of Adverse Drug Events Leading to an Emergency
                                   Department Visit Identified by a Clinical Pharmacist

Jan 2010                           Employee of the Month
                                   UCSF Medical Center Department of Emergency Medicine

May 2009                           Gary Rifkind Award - Best Research
                                   UCSF’s Spring Research Seminar

Nov 2007                           ASHP Clinical Skills Competition
                                                                                                                    Zlatan Coralic, PharmD
                                                                                                                           September 2020
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                                      Local Competition Finalist

Aug 2007                              USN Annual Scholarship

Sep 2000                              Millennium Scholarship of Nevada


EXPERT WITNESS WORK

Year       Lawyer/Firm                     Case                                        Consulted by   Type of Work
2020       Floyd, Pflueger & Ames          Brown v. Providence                         Defendant      Review
2020       La Follette, Johnson,           Cisneros v. Santa Rosa Memorial Hospital    Defendant      Review
           DeHaas, Fesler & Ames
2020       FAVROS Law                      Johnson v. Harrison                         Defendant      Review
2020       Floyd, Pflueger & Ringer        Harned v. Swedish                           Defendant      Review
2020       Salvi, Sschostok &              Thompson v. OSF Healthcare                  Plaintiff      Review
           Pritchard P.C.
2020       Dechert LLP                     Par v. Amneal                               Plaintiff      Review, opinion
2019       Dechert LLP                     Par v. Eagle                                Plaintiff      Review, opinion,
                                                                                                      deposition
2019       Dechert LLP                     Par v. Sandoz                               Plaintiff      Review, opinion
2019       Floyd, Pflueger & Ringer        Coache v. MultiCare                         Defendant      Review
2018       La Follette, Johnson,           Gutierrez v. Santa Rosa Memorial Hospital   Defendant      Review, opinion,
           DeHaas, Fesler & Ames                                                                      deposition
2018       David L. Hunter                 N/A                                         Plaintiff      Review
2013       Virginia C. Nelson              Mau v. Rady Children's Hospital             Plaintiff      Review




                                                                                                           Zlatan Coralic, PharmD
                                                                                                                  September 2020
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                                         107689
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                   EXHIBIT 10
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO
  PAR INNOVATION COMPANY, LLC,                       C.A. No. 18-cv-2032-CFC-CJB
                                                     (Consolidated)
                      Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.

                      Defendants.


                         DEFENDANTS’ WITNESS LIST
       Pursuant to Local Rule 16.3(c), Amneal identifies the following witnesses

 whom Amneal intends to or may call live or by deposition at trial. This list is not a

 commitment that Amneal will call any particular witness at trial, or a representation

 that any of the witnesses listed are available or will appear for trial. By identifying

 these witnesses, Amneal is not required to call any listed witness at trial, nor is

 Amneal limited in the manner in which such testimony is presented at trial. With

 respect to Plaintiffs’ witnesses, Amneal reserves the right to introduce testimony

 through deposition or live examination, as appropriate or by agreement. Amneal

 also reserves the right to call any witnesses called by Plaintiffs or anyone currently

 or formerly employed by or for Plaintiffs appearing on Plaintiffs’ witness list, and

 to revise this list in light of further rulings by the Court or any other changed
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 circumstances. Amneal further reserves the right to call one or more additional

 witnesses to provide foundational testimony to establish the authenticity or

 admissibility of any material proffered at trial if the admissibility or authenticity is

 challenged by Plaintiffs. Amneal also reserves the right to call any witness for

 impeachment purposes. Amneal reserves the right to further modify, supplement,

 and/or amend the Final Pretrial Order and attachments in light of issues that remain

 open and until entry of the Final Pretrial Order.

   I.   Expert Witnesses
        Below are the expert witnesses Amneal intends to call live at trial. The
        curriculum vitae for each expert is also attached herein.

        1. Patricia A. Gupta (CV included as Attachment A hereto)
        2. M. Laurentius Marais, Ph.D. (CV included as Attachment B hereto)
        3. Aaron B. Waxman, M.D., Ph.D. (CV included as Attachment C hereto)
        4. Gerhard Winter, Ph.D. (CV included as Attachment D hereto)

  II.   Fact Witnesses
        Below are the fact witnesses that Amneal may call at trial live or by
        deposition (as indicated).

        1. Brian Boesch (by deposition)

        2. Michelle Bonomi-Huvala (by deposition)
        3. Carla English (by deposition)

        4. Hardik Joshi (live or by deposition)

        5. Vinayagam Kannan (by deposition)
        6. Craig Kenesky (by deposition)
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       7. Matthew Kenney (by deposition)

       8. Michelle Rennwald (by deposition)
       9. Suketu Sanghvi (by deposition)

       10.Sunil Vandse (by deposition)
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                      Attachment A
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                                  Complete Curriculum Vitae for

                                       PATRICIA A. GUPTA
                                       Henderson, NV USA

                                  Email: guptapat@hotmail.com

                                           EXPERIENCE

 More than 13 years experience as a GMP Compliance Consultant to the pharmaceutical / biotech
 industries; eleven years experience with corporate Quality Assurance/Compliance departments
 within Merck & Co., Genentech Inc.and Janssen Supply Group (Johnson & Johnson); eleven years
 experience in the U.S. Food and Drug Administration with eight years as an investigator and three
 years as a supervisory investigator. In addition, eight years of clinical microbiology experience;
 two years of research experience in interferon production and tissue culture techniques.

 9/07 – 9/10 GMP Consultant and President, Patti Gupta & Associates LLC, Henderson, NV
 10/11 – Present

                Provide GMP compliance consulting services to the biotech and pharmaceutical
                industries. Able to perform pre‐approval, due diligence, routine or for‐cause
                GMP audits/assessments in manufacturing and/or quality departments of
                pharmaceutical manufacturers (small molecule, biotech, biologic, active
                pharmaceutical ingredient (API), solid dosage forms, aseptic/sterile drugs, liquid
                oral, etc.). Audit findings are based on knowledge and experience with U.S. FDA
                regulations (21 CFR Part 11, 210 and 211) as well as regulations from foreign
                countries, including European Union (Vol. 4 Eudralex and all annexes), Japan and
                Brazil. Assist companies in performing system assessments to identify and
                prioritize compliance/quality deviations and issues. Provide advice and solutions
                in making corrective actions. Extensive experience in assisting companies in
                responding to regulatory agency inspection reports (e.g. FDA 483’s, EMEA
                inspectional reports, etc.) to avoid regulatory actions, including Warning Letters.
                Assist companies in meeting Warning Letter or other regulatory commitments.
                Provide GMP training and updates on current FDA regulations. Able to perform
                benchmarking on significant issues compared with other pharmaceutical
                companies. Also served as an Expert Witness for pharmaceutical company in
                lengthy lawsuit regarding product quality and recall. Suit resulted in settlement
                in January 2020 after 9 years of litigation, in large part due to extensive
                knowledge and experience in the pharmaceutical industry, particularly
                demonstrated in testimony during the deposition process. Past pharmaceutical
                company clients have included: Abbott, Hospira, Pfizer, Wyeth, Amgen,
                Genentech, GE Healthcare, Enzon, Diosynth, Reckitt Benckiser, Pfizer, Becton
                Dickinson, BMS, Astra Zeneca plus numerous companies outside of the U.S.
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 9/10 – 10/11 Vice President Compliance, Pharmaceutical Sector, Janssen Supply Group
              (Johnson & Johnson), Horsham, PA

               Served as Vice President of Compliance for the pharmaceutical sector of J&J,
               which encompasses 30 Janssen Pharmaceutical/Centocor and R&D
               manufacturing sites and 70 global marketing companies. Provided guidance and
               developed strategy on GMP compliance issues for group of 21 auditors and
               compliance professionals. Created and implemented escalation process for
               notification and decision making in recalls or other significant quality issues used
               by all sites worldwide. Responsible for executing and reporting on all U.S.
               pharmaceutical product recalls. Responsible for establishing compliance and
               inspection readiness plan for all Janssen manufacturing sites. Interacted with
               FDA / CDER personnel on key compliance issues.

 2/07 – 8/07   Senior Director GMP Compliance, Genentech, Inc., South San Francisco, CA

               Responsible for managing GMP audit program of internal sites and external
               contract manufacturers, laboratories, distribution centers and clinical depots.
               Managed a department that included 25 personnel who performed
               approximately 180 Drug/Device/Computer System GMP audits/year. Have high
               degree of expertise in addressing compliance questions and GMP issues
               involving bulk biotech manufacturing, aseptic filling, small molecule API’s,
               tablets, laboratories, computer systems and warehouse/distribution centers.
               Responsible for maintaining and communicating surveillance information on
               changing FDA expectations, guidelines, Warning Letters, etc. as well as seeking
               out and sharing benchmarking information with other pharma companies.
               Completed reorganization of department and simplification or re‐design of
               TrackWise audit database and reports. Provided compliance metrics
               (compliance status) to senior management for all internal and external sites on a
               quarterly basis, as well as kept management abreast of critical audit findings and
               other compliance concerns. Developed and delivered compliance updates and
               GMP training to company’s senior management 2‐5 times/year.

 1/06 – 2/07   Director, GCP/GLP Corporate Compliance, Genentech, Inc., South San Francisco,
               CA

               Served as Acting Director over GCP/GLP Compliance auditing group which
               consisted of 10 auditors and 2 managers. Responsible for interacting with
               operational and GCP/GLP QA groups in identifying, scheduling and performing
               GCP or GLP audits and reporting audit findings. Largely responsible for
               stabilizing the audit group and enhancing communications with key customers
               (GCP/GLP QA, Clinical Operations, Development Sciences, Medical Safety, etc.).
               Hired 3 new auditors and created permanently staffed GLP Quality Assurance
               Unit (QAU). Continued to assist GMP Compliance group, as needed.
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 12/01 – 1/06 Director, GMP Corporate Compliance, Genentech Inc., South San Francisco, CA

              Responsible for managing the corporate internal and external audit program for
              Genentech, Inc. Managed group of 10 auditors and two Associate Director who
              performed approximately 120 “system” audits of various operations and
              departments as well as external contractors, collaborators and partners.
              Provided awareness and input to Genentech senior management on significant
              compliance issues based on risk management. Participated in development of
              Quality Manual by writing or providing comments on draft Quality Policies.
              Performed benchmarking activities by interacting with Compliance/QA
              representatives from many large US pharmaceutical and biotech manufacturers
              to assess Genentech practices vs. other companies in all manufacturing and QA
              areas. Identified and assessed new risks from benchmarking activities and
              communicated risks and recommendations to Genentech senior management.

 5/01 – 12/01 Director, Quality Assurance Worldwide Auditing, Merck & Company, Inc.,
              Whitehouse Station, NJ

              Responsible for managing corporate Quality audit program for 32 Merck sites
              worldwide. Responsibilities include supervising and training 9 auditors to
              perform FDA/EMEA type of GMP audits at Merck manufacturing sites, licensees,
              contractors and suppliers (API’s, excipients, raw materials and
              packaging/labeling components). Scheduled, planned and reviewed all audit
              reports (approx. 200/yr.) and participated in most complex or high priority
              audits. Served in FDA consulting role and as liaison in communications with
              Agency, performing FDA preparatory audits of Merck sites and worked with core
              group of individuals in responding to all 483. Assisted in divisional quality policy
              development and GMP guidelines for Merck sites worldwide.

 11/99 – 5/01 Manager, North American Compliance, Merck & Company, Inc., Whitehouse
              Station, NJ

              Managed corporate audit program overseeing 6 North American sites (finished
              pharmaceutical and API) located in US and Canada. Supervised and managed 4
              auditors; reviewed and approved audit reports of Merck sites, suppliers and
              contractors; worked with Procurement in identifying, correcting or replacing
              non‐compliant suppliers. Responsible for identifying and scheduling all pre‐
              approval audits (PAI) at Merck sites worldwide. Served as Lead Auditor in
              numerous GMP and PAI audits; acted as in‐house GMP consultant in preparing
              domestic and foreign API and finished dosage form sites for FDA inspections.
              Assisted Merck Senior Management in developing corporate Quality Policy and
              other, divisional quality policies and guidelines. Worked with sites and other
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               senior managers in communicating with FDA regarding inspections. Kept abreast
               of FDA changes and initiatives; developed QSIT audit program at Merck nine
               months before FDA QSIT announcement. Worked with GMP Training
               Coordinator in identifying training needs and developing auditor training
               modules.

 2/99 – 11/99 Senior QA Project Analyst, Merck & Company, Inc., Whitehouse Station, NJ.

               Served as senior project analyst for corporate Quality Assurance department.
               Assisted in evaluating Merck manufacturing sites for compliance with FDA
               requirements and made appropriate recommendations for corrective action.
               Also, provided training on FDA inspections and expectations to various
               departments and sites. Assisted in writing and developing divisional policies
               regarding quality issues.

 10/88 – 1/99 Consumer Safety Officer (Investigator), United States Food and Drug
              Administration, Chicago, IL; Minneapolis, MN; Philadelphia, PA; Phoenix, AZ.

               Performed inspections of pharmaceutical (sterile, solid dosage form and API
               bulk) and biological/biotechnology drug manufacturers. Inspected large sterile
               and non‐sterile drug manufacturers, both domestic and international including
               Merck, Abbott, Searle, Smith Kline Beecham, Ciba‐Geigy (Novartis), Bayer,
               Baxter, Rhone‐Poulenc, Steris, etc., which resulted in product recalls, Warning
               Letters or other significant regulatory actions. Lead Investigator and Compliance
               Officer for FDA’s largest drug seizure and subsequent consent decree.
               Performed domestic and international NDA/ANDA pre‐approval inspections,
               some of which resulted in recommendation for non‐approval. Also inspected
               vaccine manufacturers, bioequivalency test facilities, contract research
               organizations (CRO’s), non‐clinical laboratories, clinical investigators and
               institutional review boards. Knowledgeable in food and drug related regulations
               and served as Drug Team Compliance Officer, writing Warning Letters and
               recommendations for Seizure, Injunction, and AIP actions. Made presentations
               and conducted training workshops at local and national industry meetings
               including annual conventions of ASM and AAPS. Received numerous awards,
               national recognition, and Commissioner’s Commendations for excellence in
               inspectional and compliance achievements. Testified in front of U.S.
               Congressional Sub‐Committee on inspections of two generic companies as part
               of the Generic Drug Scandal in 1989 and 1990.

               Supervisory Investigator ‐ Served as supervisor of eight inspectors and three
               investigators in the Chicago district office, seven investigators and two inspectors
               in Minneapolis. Endorsed and recommended legal actions on GMP and
               NDA/ANDA pre‐approval inspections performed by investigators, including
C a s e          1 : 1 8 - c v - 0 2 0 3 2 - C F C - C J B                                           D o
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                Seizure and Warning Letter recommendations for drug, device, and food
                manufacturers. Was responsible for import operations at district offices, O'Hare
                Airport resident post, and more than 50 border ports on Canadian border.
                Worked closely with other Federal agencies including U.S. Customs, F.B.I., Offices
                of U.S. Attorney, and U.S.D.A. Additionally, responsible for Consumer Complaint
                investigations and product recalls. Also performed international inspections of
                pharmaceutical manufacturers of bulk (API), sterile, and solid dosage forms.

 11/78 ‐ 10/88 Clinical and Supervisory Microbiologist in 4 research/clinical hospital settings.

                EDUCATION

 1973 ‐ 1975    University of Wisconsin ‐ LaCrosse
                Major: Biology

 1976 ‐ 1977    University of Wisconsin ‐ Madison
                Degree:                   Bachelor of Arts
                Major: Medical Microbiology

                       PROFESSIONAL ASSOCIATIONS AND CERTIFICATION

 Member of:     American Society for Microbiology (ASM) ‐ 1983
                American Society of Medical Technology (ASMT) ‐ 1984
                American Society of Clinical Pathologists (ASCP)
                Specialty in Microbiology Certification (SM)ASCP #1611, (M)ASCP #1623
                Parenteral Drug Association (PDA) – 2001‐2015
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                      Attachment B
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 PUBLICATIONS and WORKING PAPERS:

 “The experimental design of classification models: an application of recursive partitioning and
      bootstrapping to commercial bank loan classifications,” (with James M. Patell and Mark A.
      Wolfson), Journal of Accounting Research, 1984.

 “An application of the bootstrap method to the distribution of squared, standardized market
      model prediction errors,” Journal of Accounting Research, 1984.

 “An analysis of a multivariate regression model in the context of a regulatory event study by
      computer intensive resampling,” Working Paper, Institute of Professional Accounting,
      University of Chicago, July 1986.

 “A note on the algebraic and statistical properties of the multivariate market model,” Working
      Paper, Institute of Professional Accounting, University of Chicago, September 1986.

 “On drawing inferences about market reactions to the regulation of accounting for oil and gas
      exploration: An application of computer intensive resampling methods,” Working Paper,
      Institute of Professional Accounting, University of Chicago, September 1986.

 “On detecting abnormal returns to a portfolio of nonsynchronously traded securities,” Working
      Paper, Institute of Professional Accounting, University of Chicago, October 1986.

 “Reduced demands on recovery room resources with Diprivan compared to thiopental-
     isoflurane,” (with Michael W. Maher et al.), Anesthesiology Review, January/February
     1989.

 “Wealth effects of going private for senior securities,” (with Katherine Schipper and Abbie J.
     Smith), Journal of Financial Economics, 1989.

 “Consequences of going-private buyouts for public debt and preferred stock: 1974 to 1985,”
     (with Katherine Schipper and Abbie J. Smith), in Proceedings of the 25th Annual
     Conference on Bank Structure and Competition: Banking System Risk - Charting a New
     Course, Federal Reserve Bank of Chicago, 1989.

 “Discussion of ‘Post-earnings-announcement drift: Delayed price response or risk premium?’,”
      Journal of Accounting Research, 1989.

 “Using relative productivity assessments for allocating housestaff to departments,” (with
      Michael W. Maher, Michael F. Roizen, et al.), Medical Care, 1990.

 “An adaptable computer model of the economic effects of alternative anesthetic regimens in
      outpatient surgery,” (abstract; with Michael W. Maher et al.), Anesthesiology
      (Supplement), September 1990.

 “On the finite sample performance of estimated generalized least squares in seemingly unrelated
      regressions: nonnormal disturbances and alternative standard error estimators,” Working
      Paper, Institute of Professional Accounting, University of Chicago, January 1991.


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 “Exploiting tax attributes of spinoffs to structure takeovers and takeover-related defenses,” (with
      Katherine Schipper), Working Paper, Institute of Professional Accounting, University of
      Chicago, August 1991.

 “Technological innovation and firm decision-making: accounting, finance and strategy,” (with
      Paul J. H. Schoemaker), Working Paper, Institute of Professional Accounting, University
      of Chicago, September 1991.

 “Process-oriented activity-based costing,” (with Michael W. Maher), Working Paper, Institute of
      Professional Accounting, University of Chicago, June 1992.

 “A field study on the limitations of activity-based costing when resources are provided on a joint
       and indivisible basis” (with Michael W. Maher), Journal of Accounting Research, 1998.

 “Correcting for omitted-variables and measurement-error bias in regression with an application
      to the effect of lead on IQ” (with William E. Wecker), Journal of the American Statistical
      Association, June 1998.

 “Event study methods: detecting and measuring the security price effects of disclosures and
      interventions” (with Katherine Schipper), in Litigation Services Handbook: The Role of the
      Financial Expert, 2005 Cumulative Supplement, 3rd Ed., John Wiley & Sons.

 “Estimating Cost Behavior” (with Michael W. Maher), in Handbook of Cost Management, 2005,
      2nd Ed., John Wiley & Sons.

 “Audit Committee Financial Literacy: A Work in Progress” (with Douglas J. Coates and Roman
     L. Weil), Journal of Accounting Auditing and Finance, March 2007.

 “Statistical Estimation of Incremental Cost from Accounting Data” (with William E. Wecker and
       Roman L. Weil), in Litigation Services Handbook: The Role of the Financial Expert, 2017,
       6th Ed., John Wiley & Sons.




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                      Attachment C
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                             Harvard Medical School Curriculum Vitae

Date Prepared:      October 25, 2020
Name:               Aaron B. Waxman, M.D., Ph.D.
Office Address:     Pulmonary and Critical Care Medicine, Brigham and Women’s Hospital, Boston,
                    MA
Home Address:       673 Centre Street, Newton, MA 02458
Work Phone:
Work Email:         abwaxman@bwh.harvard.edu
Work FAX:
Place of Birth:     London, Ontario, Canada

Education
 1978          BS                  Zoology                  The George Washington University,
                                                            Washington, DC
1987           Ph.D.               Anatomy and Neuroscience Albany Medical College, Albany, NY
1992           M.D.                Medicine                 Yale University School of Medicine,
                                                            New Haven, CT
Postdoctoral Training
 1/92 – 9/92 Intern                Internal Medicine          Yale New Haven Hospital
 9/92 – 6/94 Resident              Internal Medicine          Yale New Haven Hospital
 7/94 – 6/97 Fellow                Pulmonary and Critical     Yale University School of Medicine
                                   Care Medicine
 7/87 – 6/88  Postdoctoral         Neuroanatomy               Yale University School of Medicine
              Associate
 6/88 – 12/90 Postdoctoral         Molecular Neurobiology     Howard Hughes Medical Institute and
              Associate                                       Yale University School of Medicine
Faculty Academic Appointments
 1997 – 1998 Instructor                Medicine                Yale University School of Medicine
 1998 – 2000 Assistant Professor       Medicine                Yale University School of Medicine
 2000 – 2001 Assistant Professor       Medicine                Tufts University School of Medicine
 2001 – 2011 Assistant Professor       Medicine                Harvard Medical School, Boston, MA
 2011 -      Associate Professor       Medicine                Harvard Medical School, Boston, MA

Appointments at Hospitals/Affiliated Institutions
 1993-1994   Attending Physician Emergency Room               West Haven VA Hospital
 1994-1995   Attending Physician Emergency Medicine           Bristol Hospital, Bristol CT
 1995-1997   Attending Physician Emergency Medicine           Yale New Haven Hospital
 1995-1999   Attending Physician Emergency Medicine           Hospital of Saint Raphael
 7/96-12/99  Attending Physician Pulmonary Critical Care      West Haven VA Hospital
 7/97-12/99  Attending Physician Pulmonary Critical Care      Yale New Haven Hospital

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 1/00-12/01     Attending Physician   Pulmonary Critical Care     Winchester Hospital
 1/00-12/01     Attending Physician   Pulmonary Critical Care     New England Medical Center, Boston
 1/00-12/09     Attending Physician   Emergency Medicine          Faulkner Hospital, Boston, MA
 1/02 – 11/09   Attending Physician   Pulmonary Critical Care     Massachusetts General Hospital
 08/13– 07/16   Attending Physician   Cardiology                  Boston Children’s Hospital
 11/09 -        Consulting Staff      Medical Oncology            Dana-Farber Cancer Institute
 11/09 -        Associate Physician   Pulmonary Critical Care     Brigham and Women’s Hospital
 05/19 -        Attending Physician   Pulmonary Critical Care     Newton Wellesley Hospital

Major Administrative Leadership Positions
Local
 1998-1999      Associate Medical Director, Medical Intensive     Yale New Haven Hospital
                Care Unit
 1999-2001      Director of Bronchoscopy Services                 Yale New Haven Hospital
 2001           Medical Director of Respiratory Therapy           New England Medical Center
 2005-2009      Director, Pulmonary Vascular Disease Program      Massachusetts General Hospital
 2009 -         Director, Pulmonary Vascular Disease Program      Brigham and Women’s Hospital
 2011-          Director, Dyspnea and Performance Evaluation      Brigham and Women’s Hospital
                Center
 2012-2015      Associate Program Director, PCCM fellowship       Brigham and Women’s Hospital and
                training program                                  Harvard Medical School
 2013-          Executive Director, Center for Pulmonary Heart    Brigham and Women’s Hospital Heart
                Diseases                                          and Vascular Center

Committee Service
Local
1983-1984       Curriculum Committee                             Albany Medical College.
                1983-1984                                        Member, Graduate Studies Program
1993-1994       Education Committee                              Yale University School of Medicine,
                                                                 Department of Medicine
                1993-1994                                        Member
1996-1999       Fellowship Curriculum Committee                  Yale University School of Medicine,
                                                                 Section of Pulmonary and Critical Care
                1996-1999                                        Chairperson
1996-1999       Fellowship Admissions Committee                  Yale University School of Medicine,
                                                                 Section of Pulmonary and Critical Care
                1996-1999                                        Member
1996-1999       Bronchoscopy Quality Assurance Committee         Yale New Haven Hospital
                1996-1999                                        Chairperson
2002-2003       Fellowship Admissions Committee                  Yale University School of Medicine
                                                                 Member
2004            Task Force on Sepsis Management and Early        Massachusetts General Hospital
                Goal Directed Therapy, Critical Care
                Committee
                2004                                             Chairperson

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2004           Task Force on the Use of Albumin in             Massachusetts General Hospital
               Resuscitation in Shock, Critical Care
               Committee
               2004                                            Chairperson
2004-2009      Optimum Care Committee                          Massachusetts General Hospital
               2004-2009                                       Member
2007-2009      Clinical Research Council,                      Massachusetts General Hospital
               2007-2009                                       Member
2014           Acute Pulmonary Embolism Program                Director of Steering Committee,
                                                               Brigham and Women’s Hospital
National and International
2003-2011     Partnership for Excellence in Critical Care      One of the founding members with a
                                                               leadership role in a number of quality
                                                               improvement initiatives

2008-2010      Biomarkers in Pulmonary Vascular Disease        Chair of Planning Committee for
                                                               International Meeting

2012, 2013,    International Right Heart Failure Summit        Co-Chair of organizational committee
2014           Annual Meeting                                  developing an international expert
                                                               forum focused on pathophysiologic and
                                                               clinical issues focused on right heart
                                                               failure from multiple pathways.

2013-2016      International Right Heart Failure Foundation    Founding member and Chair of the
                                                               Scientific Steering Committee
2013           Pulmonary Vascular Research Institute - joint   Member of the scientific committee
               Symposium of the Excellence Cluster             responsible for meeting organization
               Cardiopulmonary System (ECCPS) and              and content.
               Pulmonary Vascular Research Institute (PVRI)
               in Bad Nauheim, Germany
2014           Pulmonary Vascular Research Institute – 8th     Director of Scientific Affairs and head
               World Congress                                  of committee responsible for meeting
                                                               organization and content.
2017           Pulmonary Vascular Research Institute –         Formulation, administration, review,
               Grants Advisory Committee                       and distribution of research funds as
                                                               part of the PVRI and Dinosaur Trust,
                                                               UK
2018           Pulmonary Hypertension Association              Pulmonary Hypertension Care Centers
                                                               (PHCC) Review Committee

2020           Pulmonary Vascular Research Institute           Global Health Working Group




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Professional Societies
 1983-1992    American Association of Anatomists
 1996-        Society for Critical Care Medicine
 1996-        American College of Physicians
              2013                                        Fellow
 1996-        American College of Chest Physicians
              1998-                                       Fellow
              2006-2007                                   Member, Chest Journal CME Task
                                                          Force
1996-         American Thoracic Society
              ATS Pulmonary Circulation Assembly          Program committee to plan the
              Program Committee for 2012.                 Pulmonary Circulation Assembly’s
                                                          sessions for the 2013 International
                                                          Conference, May 17-24 in Philadelphia,
                                                          PA. Review abstracts submitted to the
                                                          Assembly and help program acceptable
                                                          abstracts into the appropriate format
2004-         Pulmonary Hypertension Association
              2004-                                       Member, Clinicians and Researchers
              2008-2010                                   Scientific Leadership Council,
                                                          Scientific Sessions Committee.
                                                          Committee responsible for planning
                                                          structure and content of sessions at
                                                          2010 PHA International Conference
              2011-2012                                   Scientific Leadership Council,
                                                          Scientific Sessions Committee.
                                                          Committee responsible for planning
                                                          structure and content of sessions at
                                                          2012 PHA International Conference
2006-2008     Pulmonary Arterial Hypertension Education
              Initiative
              2006-2008                                   Member, Educational Council
2008          European Respiratory Society                Member
2008-2014     Wilderness Medical Society                  Member
2009          Pulmonary Vascular Research Institute       Fellow
2013          Pulmonary Vascular Research Institute       Chair, Right Heart Failure Task Force
2013          Pulmonary Vascular Research Institute       Chair, Exercise Task Force
2014-2015     Pulmonary Vascular Research Institute       Director, Scientific Affairs – Organize
                                                          the annual international meeting,
                                                          oversee all educational activities of the
                                                          institute
2017          Pulmonary Vascular Research Institute       Organized the first PVRI Symposium
                                                          on PAH for the Cuban Society of
                                                          Cardiology and the Hospital Hermanos
                                                          Ameijeiras




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Editorial Activities
Ad Hoc Reviewer
New England Journal of Medicine, Brain, Pediatric Research, Journal of Intensive Care Medicine,
American Journal of Medicine, American Journal of Physiology: Lung Cellular and Molecular
Physiology, Chest, American Journal of Respiratory Cell and Molecular Biology, Cytokine, Journal of
Experimental Medicine, Respiratory Medicine, American Heart Journal, Circulation, Thrombosis and
Hemostasis, Circulation Heart Failure, Circulation: Imaging, Journal of Heart and Lung Transplantation,
Circulation Research, Pulmonary Circulation, American Journal of Respiratory and Critical Care
Medicine, Journal of the American College of Cardiology, European Respiratory Journal, Journal of the
American Medical Association, Annals of Internal Medicine
Other Editorial Roles
2010          Editorial Board                               Pulmonary Circulation
2012          Editorial Board                               The Journal of Heart and Lung
                                                            Transplantation
Honors and Prizes
 1982-1987   Trustee Scholarship             Albany Medical College          Academic
 1985, 1986 Dean’s Award and Prize for       Albany Medical College          Leadership
             Leadership
 1985, 1986 Dean’s Award and Prize for       Albany Medical College          Teaching
             Excellence in Teaching
 1987        Alumni Association Medal        Albany Medical College          Research and Teaching
             and Prize
 1987        Sigma Xi                        Sigma Xi Research Society       Excellence in scientific
                                                                             investigation
 1997          Young Investigator’s          American College of Chest       Excellence in scientific
               Awards                        Physicians                      investigation
 1999          Merck Respiratory Young       Merck and Company, Inc          Excellence in scientific
               Investigator                                                  investigation
 1999          Fellowship Teaching           Yale University School of       Excellence in Teaching and
               Award, Pulmonary Critical     Medicine                        Mentorship
               Care Fellowship
 2001          Oliver Smith Award            Tufts Medical Center            Recognition for outstanding
                                                                             patient care
 2002          Pulmonary Critical Care       Tufts Medical Center            Excellence in Teaching and
               Fellows Award for                                             Mentorship
               Teaching and Mentorship
 2011          Susan & Katherine             Brigham and Women’s             Research and Clinical
               McArthur-Radovsky             Hospital
               Award
 2014          Partners in Excellence        Brigham and Women’s             Development of Right Heart
               Award                         Hospital                        Failure Team
 2014          Excellence in Mentoring       Harvard Medical School          Nominee
               Award

Report of Funded and Unfunded Projects
Funding Information
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Past
 1997-1999   IL-11 protection from hyperoxic lung injury
             Parker B. Francis Fellowship Award
             Role: Principle Investigator
             Goals: Characterize the protective effects of IL-11 pretreatment in the setting of hyperoxic
             injury. Characterize the mechanism(s) of IL-11-induced protection in the setting of
             hyperoxic injury.
1998-2004    Mechanisms of IL-11 protection from hyperoxic lung injury
             Mentored Clinical Scientist Research Award (KO8 HL03888-01)
             Role: Principle Investigator
             Goals: Compare the expression of apoptosis regulators in IL-11 transgene (+) and
             littermate control mice before and after exposure to 100% oxygen. Establish an in vitro
             system that can be used to define the mechanism of hyperoxia- (oxidant) induced apoptosis
             and the protective effects of IL-11.
1999-2001    Mechanisms of IL-11 protection from hyperoxic lung injury
             American Lung Association Research Grant
             Role: Principle Investigator
             Goals: Define the kinetics and the specific cell populations that undergo apoptosis in
             hyperoxic lung injury. Define the alterations in apoptosis regulatory processes and,
             characterize the alterations in regulators of apoptosis induced by IL-11 and determine their
             role in mediating IL-11-induced protection in lung injury.
2004-2009    Interleukin-11 and Interleukin-6 protection from oxidant mediated lung injury
             NIH RO1 Research Grant RO1 HL074859
             Role: Principle Investigator
             Goals: Characterize the signal transduction pathways that mediate IL-11 and IL-6 induced
             protection from oxidant stress in vitro and examine the relationship to upregulation of
             mediators of cell death. Evaluate the contribution(s) of Bcl 2 family proteins to protection
             of pulmonary epithelial and microvascular endothelial cells in vitro. Evaluate the
             contribution(s) of Bcl 2 family proteins to protection in vivo.
2006-2009    MGH Pulmonary Vascular Development Fund
             Internal award for research on pathogenesis of pulmonary hypertension
             Role: Principle Investigator
             Evaluation of the role of inflammatory mediators in pulmonary vascular remodeling in a
             mouse model of pulmonary hypertension
2007-2009    A study to quantify the number of circulating endothelial cells in patients with severe
             sepsis.
             Sponsor: Eli Lilly and Company - Investigator Initiated Grant
             Role: Principle Investigator
             Goals: Quantify and characterize abnormal circulating populations of endothelial cells in
             patients with severe sepsis and septic shock as a mechanism for multi organ failure
             syndrome
2007-2011    Open-label Study to Evaluate the Safety and Efficacy of PRX-08066 in Patients with
             Pulmonary Hypertension and Chronic Obstructive Pulmonary Disease.
             Sponsor: EPIX Pharmaceuticals - Investigator Initiated Study
             Role: Principle Investigator
2007-2011    A randomized, double blind, placebo-controlled study of oral UT-15C SR in Subjects with
             Pulmonary Arterial Hypertension
             Sponsor: United Therapeutics, Protocol No. TDE-PH-201
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            Role: Principle Investigator
2008-2012   A Phase 2, Randomized, Double-blind, Placebo-controlled, Multicenter, Dose-ranging
            study of Cicletanine in Subjects with Pulmonary Arterial Hypertension
            Sponsor Gilead Sciences (Chair of Steering Committee)
            Role: Principle Investigator and Steering Committee Chairman
            Goals: Assess the efficacy and safety of a novel eNOS coupler, Cicletanine, in patients
            with pulmonary arterial hypertension.
2011-2013   Brigham and Women’s Hospital Clinical Innovations Grant, Development of a
            Multidisciplinary Dyspnea/Exercise Intolerance Center
            Role: Principle Investigator and Director
            Goals: Establish of a comprehensive center to evaluate patients with resting or exertional
            dyspnea, bringing together a core group of clinical experts to collaboratively develop a
            streamlined efficient and effective approach to assessing and treating the patient with
            dyspnea.
2005-2012   REVEAL Registry
            Sponsor: Actelion, Protocol No. RIV PH-408
            Role: Site Principle Investigator
            Goals: Development of a 5000 patient database of patients with PAH in order to better
            define the natural history of the disease.
2013-2016   Study to assess the fate, safety, and efficacy of allogeneic mesenchymal stromal cells in a
            large animal model of precapillary pulmonary hypertension and right ventricular
            dysfunction
            United Therapeutics, Investigator Initiated Grant
            Role: Principle Investigator
            Goals: preclinical and clinical study to assess the safety and efficacy of allogeneic
            mesenchymal stromal cells infused into the right coronary artery in a large animal model of
            pulmonary hypertension and in patients with PAH and right ventricular dysfunction.
2012-2016   Heme Oxygenase – 1/Carbon Monoxide in Lung Vascular Injury
            Role: Site Principle Investigator
            NHLBI: R01HL06023412A1
            Goals: My role is specific to Aim 3 and includes an assessment of the efficacy of carbon
            monoxide in ameliorating pulmonary vascular remodeling via inhibition of inflammasome
2014-2016   PCORI Clinical Data Research Network (CDRN) - Scalable Collaborative Infrastructure
            for Learning Healthcare System, PCORNet Rare Diseases Task Force, Harvard University
            Representative
            Goals: 29 clinical research data networks that together will form an ambitious new
            resource known as PCORnet, the National Patient-Centered Clinical Research Network.
            PCORnet served as a large, highly representative, national network for conducting clinical
            outcomes research.
2008-2016   An open label uncontrolled study of the safety and efficacy of ambrisentan in patients with
            exercise induced pulmonary arterial hypertension.
            Gilead Science, Investigator Initiated Grant
            Role: Principle Investigator
            Goals: 6-month study to evaluate the effects of Ambrisentan (selective ETRA)
            administered orally on exercise capacity utilizing invasive cardiopulmonary exercise
            testing in patients with either exercise induced pulmonary arterial hypertension or diastolic
            dysfunction.
2013-2016   Targeting metabolism to reverse RV dysfunction in PAH
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             The Cardiovascular Medical Research and Education Fund
             Role: Co-Principle Investigator (Co-Principle Investigator with Dr. Yuchi Han at
             University of Pennsylvania)
             Goals: Multicenter study with colleagues at the University of Pennsylvania and the
             University of Maryland. This proposal will identify: (A) Key molecular and metabolic
             regulatory pathways that may be targeted for recovery of RV function in patients with
             PAH; and (B) Specific imaging, plasma, and metabolic markers to better guide prognosis
             and therapy of the RV dysfunction in PAH.
2016-2019    Molecular imaging of angiogenic activity in pulmonary arterial hypertension
             1R01HL131910-01 (Yu)
             Role: Consultant
             Goals: Molecular imaging of angiogenic activity in pulmonary arterial hypertension
Current
 2014-2020   United Therapeutics- Investigator Initiated Grant
             A double-blinded, placebo-controlled, crossover study to assess efficacy of oral treprostinil
             titrated to highest tolerable dose in 20 patients with symptomatic primary or secondary
             Raynaud’s phenomenon resistant to vasodilatory therapy
             Role: PI


2014-2019    Integrated Endothelial Phenotyping to Redefine Pulmonary Hypertension.
             NHLBI U01 HL125215-01
             Role: Co-Principle Investigator (with Dr. Jane Leopold)
             Goals: performing patient phenotyping, which will lead to novel sub classifications of
             patients with pulmonary vascular-right ventricular disease, based on molecular and
             radiographic as well as clinical characteristics, which can be associated with specific
             molecular mechanisms of pathogenesis.
2019-2020    Biomarkers of for early diagnosis of PAH
             Actelion and Janssen Research & Development-Investigator Initiated Grant
             Role: Principle Investigator
             Goals: Micro-RNA Diagnostic Biomarker Profiling Study Using Banked Clinical Samples
             This microRNA (miRNA) biomarker profiling study will apply a proprietary qPCR-based
             miRNA assay technology developed by MiRXES to assay a total of 600 miRNA
             biomarkers using banked clinical samples in patients with PAH in the hopes of a
             diagnostic biomarker.
2019-2020    Gossamer Biopharm – Investigator Initiated Grant
             Role: Principle Investigator
             Assessment of Inspiratory Flow Rate and Pattern in Patients with Pulmonary Arterial
             Hypertension
             Goals: Generate data from patients with pulmonary arterial hypertension (PAH) in order to
             model dry powder inhalation and distribution into the airways to aid in selecting the
             appropriate flow resistance of the DPI for patients with pulmonary hypertension




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 2017-2021     United Therapeutics Corp – INCREASE Clinical Trial
               Role: Principle Investigator
               A Multicenter, Randomized, Double-Blinded, Placebo Controlled Trial to Evaluate the
               Safety and Efficacy of Inhaled Treprostinil in Subjects with Pulmonary Hypertension due
               to Parenchymal Lung Disease

 2017-2021     United Therapeutics Corp – PERFECT Clinical Trial
               Role: Principle Investigator
               A Phase 3, Randomized, Placebo-controlled, Double-blind, Adaptive Study to Evaluate the
               Safety and Efficacy of Inhaled Treprostinil in Patients with Pulmonary Hypertension due
               to Chronic Obstructive Pulmonary Disease (PH-COPD)

 2020-2022     Aria CV – ASPIRE PH Clinical Trial Protocol: ASPIREPH202001
               Role: Principle Investigator
               An Early Feasibility Study Assessing Treatment of Pulmonary Arterial Hypertension
               Using the Aria CV Pulmonary Hypertension System (ASPIRE PH)

Current Unfunded Projects
 2007-       Principle Investigator
             Patient registry and biological database
             Ongoing collection of patient samples obtained during right heart catheterization and
             invasive CPET from the pulmonary artery and radial artery at rest, peak exercise, and one-
             hour post exercise

Report of Local Teaching and Training
Teaching of Students in Courses
Yale University School of Medicine
 1995-1997     Yale Physician Associate Program, Introduction to    Lecturer, Course Coordinator
               Clinical Medicine for Pulmonary Section
               1st year students.                                   6 hours
 1996-1999     Introduction to Clinical medicine for Pulmonary      Lecturer
               Medicine Section
               2nd year medical students                            4 1-hour lectures over a 2 mos
                                                                    period
 1997-1999     Introduction to Clinical Medicine Course             Preclinical Tutor
               2nd year medical students                            4-hrs/wk for 16-wks
 1998-1999     Introduction to Clinical Medicine Course, Cellular   Lecturer
               and Molecular Basis of Acute Lung Injury
               2nd year medical students                            1-hour lecture

Harvard Medical School
2003-2012    Introduction to Clinical Medicine Course, Human        Preclinical Tutor
             Systems, Respiratory/Cardiovascular Sections
             2nd year medical students                              2-hrs/day 3-days/wk for 8 wks
2004-2008    Respiratory Infections, Human Systems,                 Lecturer
             Respiratory/Cardiovascular Sections
             2nd year medical students                              1-hr per year
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Formal Teaching of Residents, Clinical Fellows and Research Fellows (post-docs)
 1997-1999   Acute Care Lecture Series,                        Lecturer - Yale New Haven
                                                               Hospital
             Internal Medicine Residency Program, Critical     2 1-hour lectures
             Care Summer Lecture Series
 2000-2008   Critical Care Lecture Series                      Lecturer – MGH
             Internal Medicine Residency Program               2 hours per month
 2003-2008   Airway Workshop, airway management course;        Course Director and Lecturer -
             Pulmonary Critical Care Training Program          HMS
             Presented annually to incoming first year fellows 1-full day
             in the Harvard Combined Program
 2003-2008   Introduction to Bronchoscopy Course, Indication, Lecturer - HMS
             Contraindication and Consent
             Presented annually to incoming first year fellows 1-full day
             throughout New England
 2004-2009   Pulmonary Vascular Physiology Clinical Training Preceptor - HMS
             Includes training and supervision of fellows      3-hours every week
 2005-2009   Cardiopulmonary Physiology Lecture Series         Lecturer and Organizer – HMS
                                                               training program
             Pulmonary Critical Care fellowship trainees       1-hour every week
Clinical Supervisory and Training Responsibilities
Yale University School of Medicine
1996-1997      Service Attending in the Medical Intensive Care     One month
               Unit and Pulmonary Consultation Service, West
               Haven Veterans Hospital, Yale University Internal
               Medicine Training Program (1 Fellow, 1 Resident,
               1 Student)
1996-1997      Service Attending in the Medical Intensive Care     One month
               Unit and Pulmonary Consultation Service, West
               Haven Veterans Hospital, Yale University Internal
               Medicine Training Program (1 Fellow, 1 Resident,
               1 Student)
1996-1999      Attending Physician, Pulmonary Consultation         One month
               Service, West Haven Veterans’ Administration
               Hospital
1996-1999      Service Attending in the Medical Intensive Care     Three months each year
               Unit, Yale New Haven Hospital, Yale University
               Internal Medicine Training Program (1 Fellow, 3
               Residents, 3 Interns, 2 Students)
1997-1999      Pulmonary Consultations Service Attending, Yale
                                                                   2 weeks each year
               New Haven Hospital, Yale University Pulmonary
               Fellowship Training Program (1-2 Fellows, 1-2
               Residents, 1-2 Students)
1997-1999      Attending Physician, Medical Intensive Care Unit,   3 months each year
               YNHH

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1997-1999     Attending Physician, Pulmonary Consultation        2 months each year
              Service, YNHH

New England Medical Center
2000 – 2001 Pulmonary Service Attending, Tufts University        Four weeks each year for 2 years
            Internal Medicine Training Program (1 Fellow, 1
            Resident, 2 Interns, and 1-2 Students)
2000-2001   Service Attending in the Medical Intensive Care      Three months each year for two
            Unit, New England Medical Center, Tufts              years
            University Internal Medicine Training Program (1
            Fellow, 5 Residents, 3 interns, and 1-2 Students)
2000-2001   Attending Physician, Medical Intensive Care Unit,    2 months
            NEMC

Winchester Hospital
2000-2001    Attending Physician Medical Intensive Care Unit,    2 months per year
             Winchester Hospital

Harvard Medical School
2002-2009    Pulmonary Consult Attending, Massachusetts          Two weeks each year
             General Hospital, Harvard Medical School
             Pulmonary Critical Care Training Program (2
             Fellows, 1-2 Residents, and 1-2 Students)
2002-2009    Critical Care Attending, Medical Intensive Care     Three months each year
             Unit, Massachusetts General Hospital, Harvard
             Medical School Internal Medicine and Pulmonary
             Critical Care Training Program (1 Fellow, 3
             Residents, 3 interns, and 1-2 Students)
2003-2009    Pulmonary Clinic, Clinical Preceptor, Internal      2 and a half days per week
             Medicine Residency Program (1st, 2nd and 3rd year
             medical residents)
2009-        Pulmonary Vascular Disease and Critical Care        Two months each year
             Attending, Brigham and Women’s Hospital,
             Harvard Medical School Anesthesiology, Ob-Gyn,
             Surgery, Internal Medicine, and Pulmonary
             Critical Care Training Programs (1 Fellow, 4
             Residents, 1 interns)

Laboratory and Other Research Supervisory and Training Responsibilities
Massachusetts General Hospital
2001- 2010 Principle Investigator Pulmonary Research             15% effort
              Laboratory

Formally Supervised Trainees
 1997-1998   Jonathan Corne, MBBS, Yale School of Medicine. Current position: Senior Consultant,
             Queens University Medical Center Nottingham, England, Funded by the Medical

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             Research Council of the United Kingdom, Research Advisor, 2 years. IL-13 stimulates
             vascular endothelial cell growth factor and protects against hyperoxic lung injury.
1996-1999    Nicholas Ward, M.D., Yale School of Medicine. Current position: Associate Professor,
             Brown University School of Medicine. Research Advisor, 2 years. Evaluation of IL-6
             induced protection in hyperoxic acute lung injury using an overexpression transgenic
             model
2001-2002    Hubert Chen, M.D.,MPH,. Research Advisor, 1 year. Potential Cost-Effectiveness of
             Epoprostenol as First-line Therapy for Pulmonary Arterial Hypertension. Current
             position: Medical Director at Genentech
2003-2005    Po-Shun Lee, M.D., Current position in industry. Research Advisor, 2 years, Plasma
             Gelsolin is a Critical Pro-Survival Factor in Sepsis; Evaluation of the role of
             cytoskeletal components and cellular debris in the initiation of the systemic
             inflammatory response. Second Prize 2005 New England Respiratory Research
             Competition Award, Research Advisor, Current position Translational Medicine Expert
             at Novartis Institutes for BioMedical Research
2003-2007    George Barker, M.D., Ph.D. Current position, Clinical faculty Harvard Medical School,
             Mount Auburn Hospital, Primary Mentor, Research Advisor, 3 years. DNA Damage in
             Hyperoxic Lung Injury. Recipient of the GSK Mentored Pulmonary Research
             Fellowship 2004-2005, First Prize 2005 New England Respiratory Research
             Competition Award.
2005-2008    James Tolle, M.D., Current position, Assistant Professor, Vanderbilt University School
             of Medicine, Research Advisor, 3- years. Abnormal Systemic Oxygen Extraction in
             Pulmonary Hypertension During Incremental Exercise.
2006-2008    M. Kathryn E. Steiner, M.D., Current position, Staff Pulmonologist, New England
             Baptist Hospital, Primary Mentor, Research Advisor, 2-years. Role of IL-6 in the
             Pathogenesis of Pulmonary Hypertension.
2005- 2010   Narasiah Kolliputi, Ph.D., Current position, Associate Professor, University of South
             Florida, Primary Mentor, 5-years. Role of IL-6 in protection from cell death. Recipient
             of an AHA research award in lung injury, FASEB Young Investigator Award, and
             successfully RO1 funded
2013         Bart Boerrigter, M.D., Ph.D., Current Position, Clinical fellowship in pulmonary
             medicine, VU University Medical Center, Amsterdam. Research mentor as part of pre-
             doctoral research, Pulmonary hemodynamics and exercise in chronic obstructive
             pulmonary disease.
2012-2014    Mario Santos, M.D., Ph.D., Current position, Department of Physiology and
             Cardiothoracic Surgery, Cardiovascular R&D Unit, Faculty of Medicine, University of
             Porto, Portugal, Research mentor, Study of the physiologic limits to aerobic capacity in
             heart failure with preserved ejection fraction, and pulmonary hypertension.
2014-2015    Manyoo Agarwal, MBBS, Research Fellowship in pulmonary vascular disease and
             exercise physiology. Research Mentor as part of postdoctoral research fellowship,
             Treatment of Group-3 PH with pulmonary vasodilator therapy. Current position, Fellow
             in Cardiology, Department of Internal Medicine, University of California, Los Angeles


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 2014-2015     Rudolph Oliveira, M.D., Research Fellowship in pulmonary vascular disease and
               exercise physiology. Research Mentor as part of postdoctoral research fellowship,
               Hemodynamic and physiologic characteristics of patients with connective tissue disease
               related lung disease., Current position – Associate Professor, Department of Respiratory
               Medicine, Federal University of São Paulo
 2014-2015     Wei Huang, M.D., Ph.D, Research Fellowship and Clinical Observership funded by the
               State Hospital In Chongqing China. Research and Clinical mentor, Outcomes of patients
               with EPAH and HFpEF. Current position – Cardiology Faculty at Chongqing Medical
               University in Chongqing China
 2014-2016     Roza Badreslam, M.D., Erin-Schrodinger-Fellowship, Austrian Science Fund. Research
               Mentor, post-doctoral research fellowship, Right ventricular remodeling and
               mitochondrial function. Current position – Cardiology Faculty Medical University of
               Vienna, Vienna Austria
 2014-2017     Tamara Roldan Sevilla, Pre-Doctoral Student, Universidad Autónoma De Madrid
               Facultad De Medicina, Departamento De Medicina, Doctoral Thesis: Safety Evaluation
               of Oral Anticoagulation in Pulmonary Arterial Hypertension: Observational Study of
               Patients Followed in Two Pulmonary Hypertension Referral Centers in Spain and
               United States.
 2016-2018     Inderjit Singh, M.D., Pulmonary Vascular Disease Fellowship, 2 years, Primary Mentor,
               Evaluation of RV-PA coupling during exercise in patients with pulmonary hypertension.
               Current position – Assistant Professor, Internal Medicine, Pulmonary Critical Care
               Medicine, Yale University School of Medicine
 2017- 2018    Andrew Schissler, M.D., Primary Mentor, Research Mentor, 2 years, Evaluation of
               outcomes in patients with submassive pulmonary embolism. Current Position – Staff
               Pulmonary Critical Care, Suburban Hospital, Bethesda, MD
 2015-2020     Farbod N Rahaghi M.D., Ph.D., Research Mentor, Computed Tomographic Insights into
               Pulmonary Hypertension., Funded by NIH NHLBI K23 HL136905, Instructor in
               Medicine, Pulmonary Critical Care Medicine, Brigham and Women’s Hospital, Boston,
               MA
 2015-2020     Marianna Faria Urbina, M.D., Research Fellowship in pulmonary vascular disease and
               exercise physiology. Primary Research Mentor, Physiologic assessment of precapillary
               pulmonary hypertension in the setting of hypoxic lung disease. Current position -
               Research Staff, Vertex Pharmaceuticals
 2018-2020     Jason Sanders, M.D., Ph.D, Research Mentor, Metabolomic signatures of precapillary
               pulmonary hypertension
 2018-2020     Nicole Ruopp, M.D., Primary Mentor, Primary Research Mentor, Assessment of
               pulmonary vasoreactivity. Current position - Instructor in Medicine, Tufts Medical
               Center
 2019-         Eileen Harder, M.D., Primary Mentor, Primary Research Mentor, Assessment of
 present       pulmonary vasoreactivity

Formal Teaching of Peers (e.g., CME and other continuing education courses)
No presentations below were sponsored by outside entities

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2002          Bioterrorism Preparedness and Response                           Single presentation
              Harvard Medical School, Continuing Medical Education,            Cambridge, MA
              Pulmonary Critical Care Postgraduate Course, MGH
2002          Bioterrorism Preparedness and Response. Harvard University       Cambridge MA
              Wide Health Policy Program Core Seminar Series, Public Health
              Section, Kennedy School of Government, Harvard University
2002          73-year-old woman with Pneumonia and Respiratory Failure.        Boston, MA
              Clinical Pathologic Conference of the Massachusetts General
              Hospital and Harvard Medical School
2003          Severe Sepsis and Septic Shock: New Options for Treatment.       Boston, MA
              Anesthesia Critical Care Grand Rounds, Beth Israel Deaconess
              Medical Center and Harvard Medical School
2003          Pulmonary Arterial Hypertension, Evaluation and Management.      Boston, MA
              Medical Grand Rounds, Massachusetts General Hospital
2003, 2004    Fluid Resuscitation in Septic Shock                              Single presentation
              Harvard Medical School, Continuing Medical Education,            Cambridge, MA
              Pulmonary Critical Care Postgraduate Course, MGH
2003, 2004    Severe Sepsis: New Options in the Treatment of Sepsis            Single presentation
              Harvard Medical School, Continuing Medical Education,            Cambridge, MA
              Pulmonary Critical Care Postgraduate Course, MGH
2003, 2004    Pulmonary Arterial Hypertension                                  Single presentation
              Harvard Medical School, Continuing Medical Education, Internal   Cambridge, MA
              Medicine Postgraduate Review Course, MGH
2004          Acute Respiratory Distress Syndrome                              Single presentation
              Harvard Medical School Continuing Medical Education,             Boston, MA
              Intensive Review of Internal Medicine, Postgraduate Review
              Course, Brigham and Women’s Hospital
2004, 2006,   Fluid Resuscitation in Vasodilatory Shock; Crystalloids versus
2007,         Colloids
              Harvard Medical School Continuing Medical Education,             Cambridge, MA
              Pulmonary Critical Care Postgraduate Course, MGH
2005, 2006,   Pulmonary Arterial Hypertension: Evaluation and Management
2007, 2008
              Harvard Medical School Continuing Medical Education:             Cambridge, MA
              • Internal Medicine Postgraduate Review Course (2005)
              • Pulmonary Critical Care Postgraduate Course (2008), MGH
2006          Update on Therapy in Pulmonary Arterial Hypertension             Single presentation
              Harvard Medical School Continuing Medical Education,             Cambridge, MA
              Advanced Heart and Lung Disease, MGH
2007          Inflammation and Pulmonary Vascular Remodeling. Harvard          Boston MA
              Medical School Combined Pulmonary Critical Care Grand
              Rounds


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2007         Evaluation and Management of Pulmonary Arterial Hypertension Single presentation
             for the General Internist
             Harvard Medical School Continuing Medical Education, Internal Cambridge, MA
             Medicine Postgraduate Review Course, MGH
2007         Simply Speaking - Post Conference Update: American Thoracic
             Society
             Pulmonary Arterial Hypertension Educator’s CME Lecture             Boston, MA
             Series
             (Unrestricted Industry Grants)
2007         Evolving Management of ARDS; Less is Definitely Better. Boston, MA
             Pediatric Pulmonary Conference, Massachusetts General Hospital
2008, 2009   Fluid Resuscitation in Shock; Crystalloids and Colloids, is there  Single presentation
             any difference?
             Harvard Medical School Continuing Medical Education,               Cambridge, MA
             Pulmonary Critical Care Postgraduate Course, MGH
2009         Pulmonary Arterial Hypertension: Chronic and Acute and             Single presentation
             Management
             Harvard Medical School Continuing Medical Education,               Cambridge, MA
             Pulmonary Critical Care Postgraduate Course, MGH
2009         Pulmonary Arterial Hypertension; A Systemic Disease. Boston, MA
             Rheumatology Grand Rounds, Massachusetts General Hospital
2009         Systemic Issues in PHT: The View from the Rest of the Body. Boston, MA
             Congenital Heart Disease-Associated Pulmonary Hypertension: A
             Two Day “Master Class”, Children’s Hospital
2010         Pulmonary Arterial Hypertension – Management in the Acute Boston, MA
             Setting. Anesthesia Critical Care Grand Rounds, Brigham and
             Women’s Hospital
2010         Pulmonary Arterial Hypertension – A Systemic Inflammatory Boston, MA
             Disease. Cardiovascular Medicine Grand Rounds, Brigham and
             Women’s Hospital
2010         Making the Diagnosis of Pulmonary Arterial Hypertension, It Still Boston, MA
             Takes too Long, Brigham and Women’s Hospital
2011         New Therapies: Targeting The Right Ventricle in PAH.
             Pulmonary Grand Rounds, Brigham and Women’s Hospital, Boston, MA
2012         Pulmonary Hypertension; Controversy in Diagnosis and management. Medical Grand
             Rounds, Faulkner Hospital, Boston, MA
2013         CTEPH – Diagnostic Approaches and Therapeutic Options. Combined Cardiac Surgery
             and Thoracic Surgery Clinical Conference, Brigham and Women’s Hospital
2013         Idiopathic Pulmonary Arterial Hypertension; Clinical Presentation, Diagnosis, Therapy,
             and Prognosis. Harvard Medical School Continuing Medical Education, Biannual
             Cardiovascular Medicine Review Course
2015         Chronic Thromboembolic Pulmonary Hypertension, Biannual Thrombosis and
             Thromboembolism Course, Harvard Medical School Continuing Medical Education
             Brigham and Women’s Hospital, Boston, MA
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 2016          Clinical Case of the Month; 61 year old woman with dyspnea on exertion., Medical
               Grand Rounds, Brigham and Women’s Hospital, Boston, MA
 2016          Recent advances in Pulmonary Arterial Hypertension; Translating preclinical studies
               into clinical practice., Medical Grand Rounds, Brigham and Women’s Hospital, Boston,
               MA
 2016          Novel Therapeutic Approaches to the Treatment of Pulmonary Hypertension., Advances
               in the Practice of Pulmonary and Critical Care Medicine, Harvard Medical School and
               the Brigham and Women’s Hospital, Boston MA
 2016          Updates in Pathophysiology, Genetics, and Medical Management of Idiopathic
               Pulmonary Hypertension, Brigham and Women’s Hospital / Mayo Clinic course:
               Cardiovascular Medicine Updates 2016: Updates for Practitioners, Harvard Medical
               School, Boston MA
 2017          Pulmonary Arterial Hypertension; Clinical Presentation, Diagnosis, and Emerging
               Therapies., Harvard Medical School Continuing Medical Education, Biannual
               Cardiovascular Medicine Review Course, Boston, MA
 2017          Novel Therapeutic Approaches to the Treatment of Pulmonary Hypertension., Second
               Annual Advances in the Practice of Pulmonary and Critical Care Medicine, Harvard
               Medical School and the Brigham and Women’s Hospital, Boston MA
 2018          What is new in Pulmonary Arterial Hypertension., Innovations and New Practices in
               Internal Medicine 2018, Harvard Medical School and the Brigham and Women’s
               Hospital, Boston MA
 2019          Pulmonary Arterial Hypertension: Combination Pharmacological Therapy—Rationale
               and Results., Harvard Medical School Continuing Medical Education, Biannual
               Cardiovascular Medicine Review Course, Boston, MA
 2019          Novel Therapeutic Approaches to the Treatment of Pulmonary Hypertension.,
               Innovations and New Practices in Internal Medicine 2019, Harvard Medical School and
               the Brigham and Women’s Hospital, Boston MA



Local Invited Presentations
No presentations below were sponsored by outside entities
 1997       The Pulmonary Artery Catheter; A Technology Assessment.
            Yale University School of Medicine, Connecticut State Chest Conference, New Haven,
            CT
 1997       The Pulmonary Artery Catheter Under Fire; Do The Data Support It's Continued Use In
            The ICU Medical Grand Rounds, Greenwich Hospital, Greenwich, CT
 1997       Critical Care Update on Mechanical Ventilation. Yale University School of Medicine,
            Connecticut State Chest Conference, New Haven, CT
 1999       Protection from oxidant induced lung injury: Modulation of cell death pathways
            The John B. Pierce Laboratory, Center for Research in Health and the Environment and
            Yale University School of Medicine, New Haven, CT
 1999       Patient with acute onset of dyspnea. Medical Grand Rounds, Yale New Haven Hospital
            and Yale School of Medicine, New Haven, CT
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1999    Management of Shock with an emphasis on septic shock. Yale University School of
        Medicine, Connecticut State Chest Conference, New Haven, CT
2001    A patient with rapidly progressive dyspnea and hemodynamic collapse –Medical Grand
        Rounds, New England Medical Center, Boston, MA
2001    27-Week Pregnant Patient with Massive Pulmonary Embolism – Critical Care
        Management. Yale University School of Medicine, Pulmonary Critical Care Fellowship
        Clinical Conference, New Haven, CT
2004    Chronic Obstructive Pulmonary Disease, Update on Evaluation and Management
        Harvard Vanguard Medical Associates, Continuing Medical Education Series, Boston,
        MA
2004    Pulmonary Arterial Hypertension, Evaluation and Management in the 21st Century.
        Massachusetts Society for Respiratory Care (MSRC) Twenty-Seventh Annual Meeting,
        Springfield, MA
2004    Diagnosis and Management of Pulmonary Arterial Hypertension: ACCP Evidence-Based
        Clinical Practice Guidelines. What are they? Should we use them? 2nd Annual Update in
        Pulmonary Hypertension, Boston, MA
2007    Inflammatory Mediators and the Pathogenesis of Pulmonary Arterial Hypertension, a New
        Paradigm. 5th Annual Update in Pulmonary Hypertension, Boston, MA
2008    Pulmonary Arterial Hypertension. Massachusetts General Hospital, The Norman Knight
        Nursing Center for Clinical and Professional Development, Pulmonary Hypertension
        Education Day, Boston, MA
2008    Pathway Directed Therapy, A Look Towards The Future – 6th Annual Update in
        Pulmonary Hypertension, Boston MA
2009    Pulmonary Arterial Hypertension, A Systemic – Inflammatory Disease. The Warren
        Alpert Medical School of Brown University, Division of Pulmonary, Sleep and Critical
        Care Medicine, Rhode Island Hospital, Providence, RI
2010    Cancer Chemotherapies: Role in PAH? 7th Annual Update in Pulmonary Hypertension
        Boston, MA
2011    Non-Group-1 Pulmonary Hypertension, Evaluation and Management. Combined
        Pulmonary and Cardiology Conference, Mount Auburn Hospital, Cambridge, MA
2011    Unexplained shortness of breath; A systematic approach to evaluation in women vs. men.
        Women’s Health CME Course, Brigham and Women’s / Massachusetts General Hospital
        and Harvard Medical School, Foxborough, MA
2011    PAH, Clinical Presentation, Diagnosis, and Therapy. Combined Cardiology and
        Pulmonary Grand Rounds, South Shore Hospital, Weymouth MA
2011    Pulmonary Hypertension, Definition, Presentation, Diagnosis, and Therapy. Combined
        Cardiology and Pulmonary Grand Rounds, Leonard Morse – Metro West Medical Center,
        Natick MA
2012    Cellular Respiration: Advances in Therapeutic Targeting in PH. Pulmonary Research
        Seminar, Tufts University School of Medicine, Tufts Medical Center, Pulmonary Critical
        Care Division, Boston, MA
2013    Unexplained Dyspnea; A Systematic Approach to Evaluation. Medical Grand Rounds,
        Melrose Wakefield Hospital, Melrose, MA
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 2014       Pulmonary Arterial Hypertension: Diagnostic Approach and Treatment. Spaulding
            Rehabilitation Hospital, Cambridge MA
 2014       Improving Outcomes in Pulmonary Heart Disease: Diagnostic Approach and Treatment.
            Medical Grand Rounds, Beth Israel Deaconess Medical Center - Needham, Needham, MA
 2014       Practical Management of PAH: A Case-Based Approach. Prima Care Medical, Pulmonary
            Medicine, Fall River, MA
 2014       Improving Outcomes in Pulmonary Heart Disease; Diagnostic Approach and Treatment.
            Medical Grand Rounds, Good Samaritan Hospital, Brockton, MA
 2014       Non-Group-1 Pulmonary Hypertension, Ignored but not Forgotten. Medical Grand
            Rounds, Saint Elizabeth’s Medical Center, Boston, MA
 2014       Improving Outcomes in Pulmonary Vascular Disease; Sometimes it is a Zebra. Medical
            Grand Rounds, Lowell General Hospital, Lowell, MA
 2014       Prostaglandin Pathway – New Drugs and Approaches. 12th Annual Update in Pulmonary
            Hypertension, Boston, MA
 2016       Unexplained Dyspnea; Diagnosis based on physiology., Harvard University Health
            Services, Grand Rounds, Cambridge, MA
 2017       Explaining unexplained exertional dyspnea., Medical Grand Rounds, Metrowest Medical
            Center, Natick, MA
 2019       Explaining Unexplained Dyspnea: Dynamic assessment of cardiopulmonary and
            metabolic function during invasive exercise testing., Medical Grand Rounds, Newton
            Wellesley Hospital, Newton MA

Report of Regional, National and International Invited Teaching and Presentations
Invited Presentations and Courses
Regional
No presentations below were sponsored by outside entities
 1997       Interleukin-11 Protection from Hyperoxic Lung Injury - Connecticut Thoracic Society,
            1997 Connecticut Lung Research Conference, Meriden, CT
 2001       Update on Therapy for Pulmonary Hypertension - Yale University School of Medicine,
            Connecticut State Chest Conference, New Haven, CT
 2002       Therapy for Pulmonary Artery Hypertension in the 21st Century –Medical Grand Rounds
            The North Shore Medical Center, Salem Hospital, Salem, MA
 2002       National Asthma Education and Prevention Program, Update on Asthma Therapy –
            Medical Grand Rounds, Caritas Norwood Hospital, Norwood, MA
 2003       Spirometry and Asthma – Lung Update Series, American Lung Association of Greater
            Norfolk County Norwood, MA
 2003       Community Acquired Pneumonia: Epidemiology, Diagnosis, and Management – Medical
            Grand Rounds, Caritas Saint Anne’s Hospital, Fall River, MA
 2003       Community Acquired Pneumonia: Diagnosis and Management – Medical Grand Rounds
            New England Sinai Hospital and Rehabilitation Center, Stoughton, MA

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2004    Chronic Obstructive Pulmonary Disease, Evaluation, Management, and Treatment –
        Medical Grand Rounds, Veterans Administration Hospital, Togus, ME
2006    Management of ARDS: Less May Be Better – Medical Grand Rounds, Newton-Wellesley
        Hospital, Newton, MA
2008    Pulmonary Hypertension, Controversies in Management – Medical Grand Rounds,
        Newton-Wellesley Hospital, Newton, MA
2008    Treatment of Pulmonary Hypertension: Approach to the Patient Who Worsens on Therapy
        – 3rd Annual Update on Pulmonary Hypertension, Brown University School of Medicine,
        Rhode Island Hospital, Providence, RI
2009    Pulmonary Arterial Hypertension; A Systemic Disease – 12th Annual Yale Pulmonary
        Critical Care Alumni Lecture, New Haven CT
2009    Pulmonary Arterial Hypertension, Update on Evaluation and Management – Medical
        Grand Rounds, Hospital of Saint Raphael’s, Yale School of Medicine, New Haven, CT
2010    Pulmonary Arterial Hypertension: Management Of PAH In The Acute Setting – What Do
        You Do When The Patient Is Decompensating – Pulmonary Critical Care Fellows
        Conference, Division of Pulmonary Critical Care Medicine, Yale University School of
        Medicine
2010    Pulmonary Arterial Hypertension, A Systemic - Inflammatory Disease – Connecticut State
        Chest Conference Yale University School of Medicine
2012    Improving Outcomes in Pulmonary Hypertension; Diagnostic Approaches and
        Therapeutic Options. Medical Grand Rounds, Memorial Hospital, Pawtucket, RI
2013    Innovation in Targeting Pulmonary Heart Disease. Connecticut State Chest Conference,
        Yale University School of Medicine, New Haven, CT – Visiting Professor Spring 2013
2013    Inflammation – Playing a Central Role in Pulmonary Heart Disease. Pulmonary Critical
        Care Research Conference, Yale University School of Medicine, New Haven, CT –
        Visiting Professor Spring 2013
2013    Improving Outcomes in Pulmonary Hypertension; Diagnosis and Treatment. Medical
        Grand Rounds, Berkshire Medical Center, Pittsfield, MA
2014    Improving Outcomes in Pulmonary Heart Disease: Diagnostic Approach and Treatment.
        St. Vincent’s Hospital, Worcester, MA
2014    Making Therapy Decisions in Individual PAH Patients: Balancing Efficacy, Safety and
        Tolerability. Cardiology Seminar, Hartford Cardiology Associates, New Haven, CT
2014    Improving Outcomes in Pulmonary Heart Disease: A Pathophysiologic Approach.
        Medical Grand Rounds, University of Massachusetts, Worcester, MA
2014    Long-term Management of Patients with PAH. Adult Medicine Noon Conference,
        Community Health Services, Hartford, CT
2016    Exercise Induced Pulmonary Hypertension; Is it a real disease? Cardiology Grand Rounds,
        Yale University School of Medicine, New Haven, CT
2016    Chronic Thromboembolic Disease and Chronic Thromboembolic Pulmonary
        Hypertension., Medical Grand Rounds, Department of Internal Medicine, Hartford
        Hospital, Hartford CT
2016    Chronic Thromboembolic Pulmonary Hypertension – Evaluation and Management., Heart
        and Vascular Center Grand Rounds, Dartmouth Medical Center, Hitchcock NH
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 2017       Pulmonary Arterial Hypertension; Clinical Presentation, Diagnosis, and Emerging
            Therapies., Medical Grand Rounds, Gaylord Hospital, Wallingford CT
 2018       Explaining unexplained exertional dyspnea: Application of the full Fick Principle.,
            29th Annual Samuel Frumkin Lecture, Medical Grand Rounds, Norwalk Hospital,
            Norwalk CT
 2018       In the age of combination therapy: How do we know we are headed in the right
            direction? 12th Annual Yale Pulmonary Hypertension Symposium, Yale University
            School of Medicine, New Haven, CT
 2019       Treprostinil Administered Using a Fully Implantable Programmable Intravascular
            Delivery System, 13th Annual Yale Pulmonary Hypertension Symposium, Yale
            University School of Medicine, New Haven, CT
 2019       Exercise Pulmonary Hypertension., 13th Annual Yale Pulmonary Hypertension
            Symposium, Yale University School of Medicine, New Haven, CT
National
No presentations below were sponsored by outside entities
 1998       Modulation of acute lung injury in transgenic mice.
            New York Academy of Sciences and The Inflammation Research Association, Joint
            Meeting on Cytokines and Chemokines in Pulmonary Disease, New York, NY
 1998       Targeted lung expression of interleukin-11 enhances murine tolerance of 100% oxygen and
            diminishes hyperoxia-induced DNA fragmentation.
            Thomas L. Petty Aspen Lung Conference, 41st Annual Meeting, Aspen CO
 2001        IL-6 type cytokines protect from hyperoxic acute lung injury.
            University of Rochester School of Medicine Lung Biology Research Program, Rochester,
            NY
 2001       Workup and Management of Pulmonary Hypertension – City Wide Pulmonary Grand
            Rounds, University of Rochester School of Medicine, Rochester, NY - City Wide
            Pulmonary Grand Rounds
 2005       Cytokines and Organ Injury; Rethinking Old Concepts – Pulmonary Critical Care Training
            Program, Critical Care Grand Rounds, Denver Health Medical Center, University of
            Colorado, Denver, CO
 2006       Assessing the Evidence: Clinical Applications of Therapeutic Interventions in the
            Treatment of PAH - American College of Chest Physicians, Chest 2006, October 23, 2006
            Satellite Symposium on Pulmonary Arterial Hypertension in 2006: Treating to Goal
 2007       Pulmonary Arterial Hypertension: Current Controversies in Management – Combined
            Pulmonary, Cardiology, and Rheumatology Grand Rounds, Dekalb Hospital, Atlanta GA
 2007       Pulmonary Arterial Hypertension: Current Controversies in Management – Medical
            Grand Rounds, Northside Hospital, Atlanta GA
 2007       Inflammation and Pulmonary Vascular Remodeling - Cleveland Clinic Pulmonary
            Hypertension Summit 2007, Translating Discoveries into Patient Care, Cleveland, OH
 2008       Treatment Decisions in the Complex Patient with PAH – Cardiology Grand Rounds,
            Carolinas Medical Center, Carolinas Heart Institute, Charlotte, NC



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2008    Pulmonary Arterial Hypertension: Management in the Acute Setting – Critical Care
        Medicine for the Hospitalist, Society of Hospital Medicine One Day University
        Baltimore, MD
2010    Diagnosis to Treatment: Facing the Challenges of Pulmonary Arterial Hypertension.
        Clinical Case Challenge. http://cmecorner.articulate-
        online.com/p/6103578089/DocumentViewRouter.ashx?Cust=61035&DocumentID=8f33
        d44d-07d5-4e9b-ae3c-6d53133c9688&Popped=True&InitialPage=quiz.html
2011    PAH: Clinical Presentation, Evaluation, and Treatment, an Update for 2011. Internal
        Medicine Grand Rounds, Northside Hospital, Atlanta GA
2011    Exercise Induced Pulmonary Arterial Hypertension; Does it exist and what does it mean?
        Baltimore Right Heart Failure Summit, University of Maryland School of Medicine,
        Baltimore, MD
2011    The Right Ventricle as Victim of Heart Failure Preserved Ejection Fraction. Heart Failure
        Society of America, Boston, MA
2012    Cellular Respiration: Targeting Metabolism in PH. Pulmonary Critical Care Grand
        Rounds, University of Pittsburgh Medical Center, Pittsburgh PA.
2013    Pulmonary Hypertension; Diagnosis and Treatment. Combined Pulmonary and
        Cardiology Rounds. Northside Hospital Pulmonary Hypertension Conference, Atlanta
        GA
2013    Improving Outcomes in Pulmonary Hypertension; Diagnostic Approach’s & Treatment.
        Medical Grand Rounds, Lankenau Medical Center, Jefferson Medical College,
        Philadelphia PA
2013    Form Follows Function: Understanding the Structural Basis on Pulmonary Arterial
        Hypertension. Heart Failure Society of America Annual Meeting, Orlando FL
2013    Regenerative Medicine: Are Opportunities Growing? Pulmonary Hypertension
        Association Pulmonary Hypertension Professional Network Symposium, Arlington VA
2014    Unexplained shortness of breath; A systematic approach to evaluation, Pulmonary Grand
        Rounds, Stanford University School of Medicine, Palo Alto, CA
2015    Explaining unexplained dyspnea. Pulmonary Critical Care Grand Rounds, Division of
        Pulmonary Critical Care Medicine, University of North Carolina School of Medicine,
        Chapel Hill, NC
2015    Exercise Induced Pulmonary arterial hypertension; What is it? And what do we do about
        it? 7th North Carolina Research Triangle Pulmonary Hypertension Symposium, Joint
        Symposium sponsored by Duke University and University of North Carolina Schools of
        Medicine, Durham, NC
2016    Exercise in the Diagnosis of Patients without/maybe with/with Pulmonary Hypertension.
        The Alfred P. Fishman Symposium: Exercise in the Diagnosis, Assessment and
        Treatment of Pulmonary Hypertension. University of Pennsylvania School of Medicine,
        Philadelphia PA.
2016    How should we standardize proteomic approach for phenotyping? Proteomic & Genomic
        Deep Phenotyping in Pulmonary Arterial Hypertension, Stanford University, Palo Alto,
        CA
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 2016       Invasive-CPET: Dynamic Assessment of Cardiovascular, Respiratory, and Metabolic
            Function During Exercise, Cardiopulmonary Exercise Testing Course September 2016,
            American College of Chest Physicians Global Headquarters, Glenview, IL
 2016       CTEPH: predicting who is at risk and how to follow patients after a PE., Venous
            Thromboembolism Symposium, The Difficult Questions Re-Visited 2016 A Global
            Perspective., Lankenau Medical Center, Philadelphia PA
 2017       Invasive Exercise Testing; The full Fick equation., Cardiopulmonary Exercise Testing
            Course September 2017, American College of Chest Physicians Global Headquarters,
            Glenview, IL
 2018       Invasive cardiopulmonary exercise testing to predict outcomes in heart failure preserved
            ejection fraction. University of Utah Cardiac Recovery Symposium, University of Utah
            School of Medicine, Salt Lake City, UT
 2018       Treprostinil Administered Using a Fully Implantable Programmable Intravascular
            Delivery System. Intermountain Medical Center, Murray UT
 2018       Unexplained exertional intolerance: Dynamic assessment of cardiopulmonary and
            metabolic function during invasive exercise testing., Lung Force Expo, Loma Linda
            University School of Medicine, and The American Lung Association, Loma Linda, CA
 2018       Totally Implantable Subcutaneous Devices for Continuous Prostanoid Delivery.,
            University of California, San Francisco's 11th International Conference, Neonatal &
            Childhood Pulmonary Vascular Disease, San Francisco, CA
 2018       Invasive Cardiopulmonary Exercise Testing; The full Fick equation., Cardiopulmonary
            Exercise Testing Course September 2018, American College of Chest Physicians Global
            Headquarters, Glenview, IL
 2019       Exercise Pulmonary Hypertension; An entity worthy of treatment., University of Arizona
            College of Medicine and Banner Health Care, Visiting Professor, Medical Grand Rounds.
            Phoenix, AZ
 2019       Explaining unexplained exertional intolerance; Application of the full Fick Principle.,
            University of Arizona College of Medicine and Banner Health Care, Visiting Professor,
            Combined Pulmonary Critical Care and Cardiovascular Medicine Conference, Phoenix,
            AZ
 2019       The role of exercise hemodynamics in the diagnosis and treatment of pulmonary
            hypertension. Advances In Pulmonary Hypertension 2019, Bluhm Cardiovascular
            Institute, Northwestern University Feinberg School of Medicine, Chicago, IL
 2019       Using Cardiopulmonary Exercise Testing in PH Evaluation and Management, Pulmonary
            Hypertension Professional Network Annual Symposium, Washington, DC

International
Those presentations below sponsored by outside entities are so noted and the sponsor is identified.
 1998   Etiology and Treatment of Acute Lung Injury: From Bench to Bedside – IL-6 type cytokine
        protection from lung injury. NATO Advanced Study Institute, Corfu, Greece
 1999    IL-6 type cytokine protection in hyperoxic lung injury – Symposium on Basic and Clinical
        Aspects of Apoptosis in the Lung, American Thoracic Society, International Conference, San
        Diego, CA
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2000   Current Management of Pulmonary Hypertension American Thoracic Society, International
       Conference, Toronto, Ont
2003   Transgenic Investigations of Apoptosis in Acute Lung Injury – Symposium on Mechanisms of
       Apoptosis During Acute Lung Injury, American Thoracic Society, International Conference,
       Seattle, WA
2008   Diagnosis and Evaluation of Pulmonary Arterial Hypertension: What Do We Really Need to
       Know? – Chairperson and Organizer, American Thoracic Society Toronto, Ontario Evening
       Postgraduate Seminar. Seminar focuses on diagnostic tools used to evaluate pulmonary arterial
       hypertension (PAH) in clinical practice and in clinical trials.
2009   Inflammation in Pulmonary Hypertension and Pulmonary Vascular Remodeling – Session Chair,
       American Thoracic Society International Conference, San Diego, California
2009   Practical Solutions to Modern Clinical Dilemmas: PAH Case Studies. The Case of a Patient With
       Poor Functional Class and Prognosis. Symposium on Prostacyclins in Treatment of PAH.
       European Respiratory Society, International Conference, Vienna Austria (United Therapeutics)
2010   Inflammation And Bone Marrow Derived Cells In Pulmonary Arterial Hypertension Session
       Chair, American Thoracic Society International Conference, New Orleans, LA
2010   IL-6 and Pulmonary Arterial Hypertension. The 11th International Workshop on Scleroderma
       Research, Boston, Massachusetts
2011   IL-6 in PAH; Downstream targets for therapy. Pulmonary Vascular Research Institute Workshop
       and Debates, Panama City, Panama
2011   New Therapies: Advances in Targeting, The Right Ventricle as a Therapeutic Target in PAH.
       Symposium on Pulmonary Hypertension: new targets, new goals, and new therapies. European
       Respiratory Society, International Conference, Amsterdam, Netherlands (Bayer Healthcare)
2012   Survival data and results of most relevant clinical trials. Teach in Seminar: Basics of Pulmonary
       Hypertension: Classification, Definitions, and Management, Pulmonary Vascular Research
       Institute International Conference, Cape Town South Africa
2012   Be it resolved. The most important target of therapy in advanced WHO category 1 Pulmonary
       Hypertension is the right ventricle. Right ventricular pathobiology in pulmonary vascular
       disease. Pulmonary Vascular Research Institute International Conference, Cape Town South
       Africa
2012   Targeting Mitochondria and Metabolism in Pulmonary Hypertension and Right Heart Failure.
       Chinese Heart Congress 2012, Beijing, China
2012   Any news from the right ventricle? Innovative therapy for the RV. 5th Annual Central European
       Pulmonary Hypertension Conference, Salzburg, Austria
2013   The Role of Inflammation in PAH – Possible Inflammatory Pathways Causing PAH. Pulmonary
       Vascular Research Institute International Conference, Istanbul, Turkey
2013   Exercise training and rehabilitation in patients with PH, safe and effective. Pulmonary Vascular
       Research Institute International Conference, Istanbul, Turkey
2013   Inflammation – Playing a Central Role In Pulmonary Arterial Hypertension. Invited speaker for
       the Annual Meeting of the International Society of Heart Lung Transplantation, Montreal
       Quebec, Canada
2013   The Roll of Inflammation in Pulmonary Arterial Hypertension. Pulmonary Hypertension from
       Bench to Bedside, Post Graduate Course, American Thoracic Society International Conference,
       Philadelphia, PA

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2013   Right Ventricular Metabolic Shift And Ischemia In Pulmonary Arterial Hypertension. Session
       Chair, American Thoracic Society International Conference, Philadelphia, PA
2013   Initiating the right prostanoid, in the right patient at the right time. Symposium on Changing the
       parenteral paradigm – Keeping prostanoids front and centre in PAH management thinking.
       European Respiratory Society, International Conference, Barcelona, Spain (United
       Therapeutics)
2014   Chronic Altitude Sickness. Pulmonary Vascular Research Institute International Conference,
       Bad Nauheim, Germany
2014   Prostacyclin Therapy for PAH; Choosing the right prostanoid at the right time in the right person.
       Chinese Medical Doctors Association, Cardiovascular Section, Guangzhou, China (Lee’s
       Pharmaceuticals)
2014   Prostacyclin Therapy for PAH; Choosing the right prostanoid at the right time in the right person.
       Chinese Medical Doctors Association and the Fuwai Cardiovascular Hospital, Beijing, China
       (Lee’s Pharmaceuticals)
2014   Combination Treatment for PAH: What is the evidence telling us so far? Right Heart Failure
       Summit and American Heart Association joint meeting, Chicago IL
2016   Assessing heart function in patients with early to advanced pulmonary vascular disease. PH
       Global Science Forum 2016, Berlin Germany (Bayer Pharmaceutical)
2016   Abnormal Transpulmonary Metabolite Flux In Exercise Induced Pulmonary Arterial
       Vasculopathy., American Thoracic Society International Conference, San Francisco, CA
2016   Pulmonary Arterial Hypertension; Clinical Presentation, Diagnosis, and Approach to Therapy.,
       Department of Cardiology, Chongqing Medical University, Chongqing China
2016   Recent advances in Pulmonary Arterial Hypertension; Translating preclinical studies into
       clinical practice., Long March Cardiovascular Conference, Fuwai Hospital, Beijing China
2016   Clinical Trials for Exercise Pulmonary Hypertension Are Warranted, 3rd International Drug
       Discovery & Development Symposium, PVRI/FDA/NIH Bethesda MD
2016   Unexplained Exertional Intolerance; A systematic approach to diagnosis., Respiratory
       Medicine Conference, The Royal Brompton Hospital, London England
2017   Twenty Years of Therapy for PAH; Where are we now, and where are we headed., PAH
       Symposium La Sociedad Cubana De Cardiologia and Hospital Hermanos Ameijeiras, Havana
       Cuba
2017   Imaging the Right Ventricle During Exercise, Pulmonary Vascular Research Institute
       International Conference, Miami FL
2017   Is there a therapeutic opportunity for prostacyclins in patients with PH secondary to primary
       pulmonary disease? 12th John Vane Memorial Symposium on Prostacyclin Science and
       Pulmonary Vascular Disease, 17th and 18th March 2017 at the Royal Society London, United
       Kingdom
2017   Practical use of different methods of exercise testing in PH, including 6-minute walk test,
       cardiopulmonary exercise test, and treadmill exercise., Berlin Pulmonary Hypertension
       Symposium, Berlin Germany (Bayer and Merck Sharp and Dohme)
2018   Exercise Pulmonary Arterial Hypertension: To treat or not to treat., Chongqing Medical
       University Department of Cardiology, Pulmonary Hypertension Symposium, Chongqing China

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 2019   Pulmonary Hypertension – An Overview and Update., Visiting Professorship, Chongqing
        Medical University Grand Rounds, Chongqing China
 2019   World Symposium on Pulmonary Hypertension 2019 - One step forward, one step back., 2019
        Visiting Professor International Grand Rounds, FuWai Hospital & Key Laboratory of
        Pulmonary Vascular Medicine, Peking Union Medical College and Chinese Academy of
        Medical Sciences, Beijing China
 2020   Optimized risk assessment, non - invasive imaging and CPET will substitute right heart
        catherization in PH, Pulmonary Vascular Research Institute, 14th World Congress, Lima Peru
 2020   How to assess exercise hemodynamics in a patient with unexplained dyspnea., European
        Society of Cardiology, ESC Congress 2020, Amsterdam NL
 2020   SPECTRA and Beyond: Signs of Disease Modification?, American Heart Association, Virtual
        Sessions

Report of Clinical Activities and Innovations
Current Licensure and Certification
1993         Massachusetts State License (77804)
1993         National Board of Examiners, Diplomat
1994         Connecticut state License (inactive as of 2/2002)
1995         American Board of Internal Medicine, Diplomat (Recertified 2015)
1997         American Board of Internal Medicine, Diplomat in Pulmonary Disease (Recertified 2017)
1998         American Board of Internal Medicine, Diplomat in Critical Care (Recertified 2018)
2009         Utah State License (7318309-1205)

Practice Activities
2009 -        Ambulatory Care      Watkins Clinic, Brigham and Women’s Hospital        2 sessions/week
2009 - 2016 Ambulatory Care        Center for Chest Diseases, Brigham and              ½ session/week
                                   Women’s Hospital

Clinical Innovations
 1. Bronchoscopy Credentialing Guidelines for YNHH (1998)– developed clinical guidelines for
     credentialing for the practice of Bronchoscopy at Yale New Haven Hospital. Prior to this there
     were no prepared standards for the hospital. As part of this guideline I instituted maintenance of
     privileges standards and a record keeping system.
 2. Community Acquired Pneumonia Clinical Practice Guideline, YNHH (1999) – As part of a
     hospital-working group, I helped develop guidelines for Yale New Haven Hospital for diagnosis
     and treatment of community acquired pneumonia.
 3. Pulmonary Vasodilator Clinical Practice Guideline YNHH (1999) – Developed clinical
     practice guideline for acute pulmonary vasodilator testing. This was first developed at Yale New
     Haven Hospital. This was revised and implemented at MGH (2001) and continued now at the BWH
     (2010).
 4. Ventilator Weaning Protocol, T-NEMC (2001) – Developed guidelines and instituted a protocol
     based approach to liberating patients from mechanical ventilation at Tufts-New England Medical
     Center MICU.
 5. Right heart catheterization and invasive cardiopulmonary exercise testing Clinical Practice
     Guideline, MGH (2004) – Developed procedure guideline for all aspects of right heart
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      catheterization and acute pulmonary vasodilator testing. Also developed guidelines regarding
      placement of right heart catheters and radial arterial lines for invasive cardiopulmonary exercise
      testing. These guidelines have formed the basis for a new clinical exercise-testing program at the
      BWH (2010).
6.    Intravenous Prostacyclin Clinical Practice Guideline, MGH (2006) – Developed clinical
      protocol for continuous delivery of intravenous prostacyclins for patients with pulmonary
      hypertension. This was initially developed for patients at the MGH. In November 2011 this was
      updated for use at the BWH and for new pump technologies.
7.    Exercise Training Clinical Practice Guideline, MGH (2006) – Developed a guideline for starting
      exercise rehabilitation programs in patients with PAH. This was initially designed for our clinical
      practice. Through involvement in national committee’s on practice guidelines for patients with
      PAH, we have contributed components of this guideline to the formulation of a national guideline.
      These guidelines have been updated recently based on data that we have generated in our exercise
      laboratory.
8.    Cicletanine for treatment of PAH (2006) - Evaluated the use of a novel eNOS coupler for treatment
      of PAH as part of a compassionate use program. Compound was acquired by Gilead Sciences and
      has now entered Phase II clinical trial. Steering Cmt. Chairman, Study Sponsor: Gilead Sciences.
      The initial work on this project has been published, see research publication #20.
9.    Sepsis Management Clinical Practice Guideline, MGH (2007) – Led a working group that
      developed practice guideline for management of severe sepsis and septic shock in the ICU at MGH.
      As part of this program I oversaw the development of a computer ordering admission template for
      template for patients admitted to the ICU with severe sepsis and septic shock.
10.   Mechanical Ventilation Clinical Practice Guideline (2008) – Developed a best practice approach
      to liberating patients from mechanical ventilation. This was presented to a national working group
      and portions of our guidelines were adapted into a national multicenter guideline for determining
      readiness for liberation from mechanical ventilation. Work related to this effort was published, see
      research publication #19.
11.   Implantable Drug Delivery System of Treprostinil in PAH (2009) - Proposed use of Medtronic
      Synchromed pump as part of a fully implantable IV drug delivery system. Steering committee
      member designing device trial supported by Medtronic’s and United Therapeutics, see research
      publication #s 53, 60, and 82
12.   CTEPH Clinical Program, BWH (2011)– Developing a systematic approach to the patient with
      chronic thromboembolic pulmonary hypertension in consideration for surgical or medical therapy.
      This program was developed as a multispecialty approach to the evaluation and treatment of patient
      with both surgical and medical thromboembolic disease.
13.   Dyspnea and Performance Evaluation Center (2011) - successful clinical innovation grant to
      develop a clinical program for the efficient evaluation and diagnosis of patients with unexplained
      dyspnea. This was a collaborative program with participants from Pulmonary and Cardiovascular
      Medicine, Radiology, and Neurology. This included the establishment of a structured multilevel
      cardiopulmonary exercise evaluation program. Work related to this effort was published, see
      research publication #s 38, 43, 46, 48, 49, 52, 56, 57, 59, 61, 64, 68, 70, 73
14.   First in human percutaneous Potts Shunt as salvage therapy for PAH and right heart failure
      (2013) – Working as a member of the RV Salvage group, a collaborative team of physicians from
      the Brigham and Women’s Hospital and Boston Children’s Hospital developed a percutaneous
      descending aorta-left main pulmonary artery conduit to unload the failing right ventricle. Work
      related to this effort has been published, see research publication #34
15.   Acute Pulmonary Embolism Program at BWH (2014). Program designed to improve triage and
      optimize timely management of patients presenting to the ED with Acute Pulmonary Embolism.
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       This is a multidisciplinary program and members of the Cardiovascular Division (Vascular
       Medicine, CCU, Interventional Cardiology), Pulmonary Vascular Medicine, Cardiac Surgery, and
       Cardiovascular Imaging are also involved.
 16.   Center for Pulmonary Heart Disease (2014). Executive Director and organizer of the first center
       of its kind in the country, the Center brings together BWH experts in both lung and cardiac disease
       to tackle pulmonary heart diseases from all possible angles. The center’s clinical programs are
       closely tied to its translational research platform, bringing findings made in the laboratory to the
       clinic, and then back to the laboratory for further improvement.
 17.   Advanced Fellowship in Pulmonary Heart Disease (2014). The program focuses on the
       evaluation and management of patients with diseases of the right heart system including pulmonary
       vascular disease, congenital heart disease, and end stage lung disease. The program provides
       trainees with several unique clinical opportunities that are not available in most centers across the
       country and provide more in depth and focused training than what is provided in general Pulmonary
       and Critical Care Medicine and Cardiovascular training programs.
 18.   PHA-Accredited Pulmonary Hypertension Care Center (2015). BWH pulmonary vascular
       disease program, under my direction, was formally accredited by the Pulmonary Hypertension
       Association after undergoing a thorough evaluation based on quality and depth of resources
       available for the expert care of patients with pulmonary vascular disease.
 19.   Yale New Haven-Brigham and Women’s Joint Symposium on Pulmonary Heart Disease
       (2019). First joint symposium held covering advanced topics in pulmonary hypertension, and right
       heart failure.

Report of Education of Patients and Service to the Community
Activities
2006              Pulmonary Hypertension Association 6th International Conference
                  Chaired patient education forum on prostacyclin’s - Prostacyclin treatment options
2006              Developed educational pamphlet for patients who are undergoing right heart
                  catheterization at the MGH. This is being adapted now for distribution at the BWH
2008              Pulmonary Hypertension Association 7th International Conference
                  Discussant - Patient education forum on clinical lab testing as part of the care of patients
                  with PAH - The ABC’s of BNP (and Other PH Test Results)
2009              PHA 30-City Tour Medical Education Program
                  Information on PAH diagnosis and management to physicians and other health
                  professionals located in areas without nationally recognized PAH centers
2009              Pulmonary Hypertension Patient PHorum
                  Patient education forums held around the United States and sponsored by the Pulmonary
                  Hypertension Association
2009 -            Volunteer Physician for Snowbird Ski Patrol / Wasatch Mountain Rescue
                  Physician first responder on Ski patrol and backcountry rescue for Snowbird Utah and
                  Wasatch Mountain Rescue – 10 shifts per season
2009 -            Continuing education lecturer, Snowbird Ski Patrol and Wasatch Mountain Rescue
                  Physician speaker for continuing education program, 4 lectures per year
2010              Pulmonary Hypertension Association 8th International Conference
                  Discussant – Managing emergency situations for care givers and patients with PAH
2012              Pulmonary Hypertension Patient Support Group – Taking control of your pulmonary
                  hypertension treatment – A question and answer session for patients and caregivers.
                  Seabrook NH
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2015             Established and organized a community outreach program for the Roxbury Tenants of
                 Harvard Community with focus on improving health in heart and lung disease, and
                 diabetes. This is an ongoing program that includes health screening and education.
2016             Pulmonary Hypertension Association 10th International Conference
                 Panel Discussant – Living with a chronic disease
2017             Appointed to the Governors Pulmonary Hypertension Task Force, Massachusetts
                 General Laws Chapter 6A, Section 16Z
2017-2019        Exercise and exercise testing. Teen Talent ID Camp, USA Cycling’s National
                 Development Program, Gill MA


Educational Material for Patients and the Lay Community
Books, monographs, articles and presentations in other media
2005         Patient Care Manual                Massachusetts    Patient care manual detailing
                                                General Hospital guidelines on initiating treatment,
                                                                 side effect management, Hickman
                                                                 catheter care, and management of
                                                                 line infections
2008         Pulmonary Arterial Hypertension, MedScape CME http://cme.medscape.com/viewpr
             Diagnostic Challenges and                           ogram/17133
             Selecting Optimal Therapy

2012            Shortness of breath, lung disease   Massachusetts     Invited by the MSAC to present
                and pulmonary hypertension          Senior Action     to the council and provide a
                                                    Council           question and answer period for
                                                                      members because of high
                                                                      prevalence of lung and vascular
                                                                      disease among seniors
2016            Chapter 7-More on PH Drugs          Patients Survival Book developed for patients and
                                                    Guide – 5th       care givers by the Pulmonary
                                                    Edition           Hypertension Association, covers
                                                                      all aspects of living with the
                                                                      disease
Recognition
2005-2020       Best Doctors in America             Castle Connelly Medical, Ltd.
2007-2009       Best Doctors in Boston              Boston Magazine
2016-2020       Best Doctors in Boston              Boston Magazine

Report of Scholarship
Peer reviewed publications in print or other media
 Research Investigations:
 1.   Klemm WR, Sherry CJ, Sis RF, Schake LM and Waxman AB. (1984) Evidence of a role for the
      vomeronasal organ in social hierarchy in feedlot cattle. Applied Animal Behavior Science 1980;
      12:53-62


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2.   Higgins D, Waxman AB, and Banker GA. The distribution of microtubule-associated protein 2
     changes when dendritic growth is induced in rat sympathetic neurons in vitro. Neuroscience 1988;
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3.   Waxman AB, Goldie SJ, Brett-Smith H, Matthay RA. Cytomegalovirus as a Primary Pulmonary
     Pathogen in AIDS. Chest 1997; 111:128-34 PMID: 8996006
4.   Waxman AB, White K, Trawick DR. Electromechanical dissociation following verapamil and
     propranolol ingestion: a physiologic profile. Cardiology 1997; 8:478-82 PMID: 9286512
5.   Goldie SJ, Waxman AB. Cytomegalovirus as a Pulmonary Pathogen. Chest 1997; 112:1151
6.   Waxman AB, Einarsson O, Seres T, Knickelbein RG, Homer R, Warshaw JB, Johnston R, Elias,
     JA. Targeted lung expression of interleukin-11 enhances murine tolerance of 100% oxygen and
     diminishes hyperoxia-induced DNA fragmentation. Journal of Clinical Investigation 1998;
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7.   Waxman AB*, Ward N*, Homer R, Du Y, Mantel L, Elias JA. IL-6 induced protection in
     hyperoxic acute lung injury, American Journal of Respiratory Cell and Molecular Biology 2000;
     22:535-542 PMID: 10783124 *Co-First authorship
8.   Corne, J, Chupp G, Lee GG, Homer RJ, Zhu Z, Chen Q, Ma B, Du Y, McArdle J, Waxman AB,
     Elias JA. IL-13 stimulates vascular endothelial cell growth factor and protects against hyperoxic
     acute lung injury. Journal of Clinical Investigation 2000; 106:783-91 PMID: 10995789
9.   Waxman AB, Zhu Z, Lee CG, Elias JA. Transgenic Modeling of Mechanisms of Protection in
     Acute Lung Injury, Matalon S, Sznajder JI, editors. NATO ASI Series, Etiology and Treatment of
     Acute Lung Injury: From Bench to Bedside. BV Amsterdam, Netherlands: IOS Press, NATO
     Science Series, Series 1 January 2000; 336:140-51
10. Waxman AB, Mahboubi K, Knickelbein RG, Mantel L, Manzo ND, Pober JS, Elias JA,
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    death. American Journal of Respiratory Cell and Molecular Biology 2003; 29:5513-522 PMID:
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11. He CH, Waxman AB, Lee CG, Link H, Rabach ME, Ma B, Chen Q, Zhu Z, Homer R, and Elias
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    in hyperoxic acute lung injury. Journal of Clinical Investigation 2005; 115:1039-48 PMID:
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12. Chetty A, Manzo N, Waxman AB, Nielsen HC. Modulation of IGF-binding protein-2 and -3 in
    hyperoxic injury in developing rat lung. Pediatric Research, 2005; 58(2): 222-28 PMID: 16055936
13. Lee PS, Waxman AB. The importance of differentiating gelsolin isoforms. American Journal of
    Respiratory and Critical Care Medicine 2006; 173:685-86 PMID: 16522767
14. Barker GF, Manzo JG, Cotich K, Shone RK, Waxman AB. DNA damage induced by hyperoxia:
    quantitation and correlation with lung injury, American Journal of Respiratory Cell and Molecular
    Biology 2006; 35(3): 277-89 PMID: 16574945
15. Steiner MK, Preston IR, Waxman AB, Klinger JR, Criner GJ, Hill NS. Conversion to bosentan
    from prostacyclin infusion therapy in pulmonary arterial hypertension: a pilot study. Chest 2006;
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16. Lee PS, Waxman AB, Cotich KL, Chung SW, Perrella MA, Stossel TP. Plasma Gelsolin is a
    Marker and Therapeutic Agent in Animal Sepsis. Critical Care Medicine 2007; 35(3): 849-55.
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18. Chetty A, Cao GJ, Manzo N, Nielsen HC, Waxman AB. The role of IL-6 and IL-11 in hyperoxic
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19. Robertson T, Mann H, Hyzy R, Rogers A, Waxman AB, Weinert C, Douglas I, Alapat P,
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    spontaneous breathing trial protocol. Critical Care Medicine 2008; 36(10): 2753-62, PMID:
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20. Waxman AB, Lawler L, Cornett G. Cicletanine for the treatment of pulmonary arterial
    hypertension, Archives of Internal Medicine 2008; 168(19): 2164-66 PMID: 18955648
21. Tolle JJ, Waxman AB, Pappagianopoulos PP, Systrom DM. Exercise-induced pulmonary arterial
    hypertension. Circulation 2008; 118(21): 2183 – 89 PMID: 18981305
22. Lee PS, Patel S, Christiani DC, Bajwa E, Stossel TP, Waxman AB. Plasma gelsolin depletion and
    circulating actin in sepsis – A pilot study. PLoS One. 2008; 3(11): e3712. PMID: 19002257
23. Kolliputi N, Waxman AB. IL-6 cytoprotection in hyperoxic acute lung injury occurs via
    suppressor of cytokine signaling-1-induced apoptosis signal-regulating kinase-1 degradation. Am.
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24. Steiner MK, Syrkina OL, Kolliputi N, Mark EJ, Hales CA, Waxman AB. Lung-specific IL-6
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    PMID: 19074475
25. Waxman AB, Kolliputi N. IL-6 protects against hyperoxia induced mitochondrial damage via
    BCL-2 induced BAK interactions with mitofusions, Am. J. Respir. Cell Mol. Biol 2009; 41: 385-
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26. Kolliputi N, Waxman AB. IL-6 cytoprotection in hyperoxic lung injury occurs via PI3K/AKT-
    mediated Bax phosphorylation., American Journal of Physiology, Lung Cellular and Molecular
    Physiology. 2009; 297: L6 - L16 PMID: 19376889
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    and application to models of pulmonary hypertension. Circulation Cardiovasc Imaging, 2010; 3:
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                      Attachment D
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      Curricium Vitae – Prof. Dr. Gerhard Winter
      Academic Qualifications: PhD in Pharmacy, University of Heidelberg, 1987;
      Professor for Pharm. Technology and Biopharmaceutics, LMU München, 1999
      Research and Professional Experience:
      - 1999- ongoing, Professor for Pharmaceutical Technology and Biopharmaceutics,
      Ludwig-Maximilians-University Munich, Germany
      - 1988-1999 Different Positions in Pharmaceutical R&D at Boehringer Mannheim,
      later Roche GmbH, Mannheim, Germany ( Drug delivery, Technology Assessement,
      External cooperations, Formulations research, GMP Manufacturing, Stability studies,
      Upscaling, Production transfer, CMC Dossier writing etc. )
      - 1987-1988 Laboratory Head, Solid dosage Form Development, E. Merck,
      Darmstadt, Germany
      - 1983-1987 Ph.D. Student in the area of transdermal delivery, University of
      Heidelberg, Germany
      - 1977-1982 Pharmacy student, University of Heidelberg, Germany
      Present research/professional specialty: Protein formulation and analytics,
      immunogenicity of protein aggregates, vaccine delivery, Colloidal drug carriers,
      biomaterials, Drying technologies, Parenteral depot systems.
      Number of Refereed Journal Articles: > 100
      Patents: > 45
      Other publications: > 150 posters
      Oral presentations : > 50
      Editorial board : EJPB, J Pharm. Sci;
      Symposium Organizer : Freeze drying conferences Garmisch and Breckenridge
      ( 4x), Protein Production meetings at Schaffhausen and ULM ( 4x), AF4 meeting
      Munich, CRS German Chapter Meeting
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   Patents
   1.
   EP 0528313
   H. Woog, W. Gruber, H.J. Markl, G. Winter, F. Demmer
   „Verfahren zur Herstellung von humanproteinhaltigen, konservierten Arzneimitteln für
   Infusions- oder Injektionszwecke“

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   H. Woog, F. Demmer, G. Winter, H.J., Markl, W. Gruber
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   „Pharmaceutical preparations containing human protein for infusion or injection purpose”
   (EPO-Injektionslösung, schmerzfrei II)

   4.
   US 5919757
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   „Lagerstabile wässrige pharmazeutische Zubereitungen von G-CSF“
   (Galenik-CSF I)

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   „Diphosphonsäuren und deren Salze enthaltende Arzneimittel“
   „Pharmaceutical agents containing diphosphonic acids and salts thereof”
   (Diphosphonhaltige Injektionslösungen)


   EP 0674524 – US 5919443
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   „Polypeptid-enthaltende pharmazeutische Darreichungsformen in Form von Mikropartikeln
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    PCT WO 97/15288
   M. Mattern, G. Winter
   „Zubereitungen und Verfahren zur Stabilisierung biologischer Materialien mittels
   Trocknungsverfahren ohne Einfrieren“

   8.
   PCT WO98/22136
   G. Kallmeyer, G. Winter, Ch. Klessen, H. Woog
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   M. Wiggenhorn, H. Haas, K. Drexler, G. Winter
   „Enhancing the Lyophilization Efficiency of a Liposomal Paclitaxel Formulation
   (EndoTAGTM-1)”
   Pharmaceutical Sciences World Congress 2007
   Amsterdam 22.04.-25.04.2007

      66.
   M. Wiggenhorn, H. Haas, K. Drexler, G. Winter
   „Application of Inert-Spray-Drying fort he Formation and Stabilization of Liposomes
   AFSIA
   Biaritz, May 2007

      67.
   R. Lang ; G. Winter
   „Improvement of Virus-Like Particle characterization using new AF4 channel technology“
   Wyatt's Application Note Contest, Eclipse FFF Meeting, 21 June 07

       68.
   T. Serno, R. Lang, S. Gottschalk and G. Winter
   “Convenient separation of rh-GCSF using a new small channel for Asymmetrical Flow Field-
   Flow Fractionation”
   Wyatt's Application Note Contest, Eclipse FFF Meeting, 21 June 07

       69.
   E. Rosenberg, K. Heinrich, S. Hepbildikler, W. Kuhne, J. Burg, G. Winter
   Optimization of TFF in DSP for highly concentrated MAB Intermediate Solutions with
   respect to Aggregation
   Colorado Protein Stability Conference, Breckenridge, 18.-21.07.2007,

       70.
   T. Serno, J. F. Carpenter, E. Pittenauer, G. Allmaier, G. Winter
   Interaction of various cyclodextrin - derivatives with rh –GCSF
   Colorado Protein Stability Conference, Breckenridge, 18.-21.07.2007,

      71.
   W. Hild, R. Lang, G. Winter, A. Goepferich
   “Towards the characterization of quantum dots by asymmetrical flow field flow fraction”
   DPhG Tagung 2007; Erlangen

      72.
   R. Lang, S. Gottschalk, G. Winter
   „Comparison of Asymmetrical Flow Field-Flow Fractionation to various commonly used
   analytical tools for biopharmaceuticals
   2007 AAPS Annual Meeting and Expositon
   San Diego, 11. – 14. Nov. 2007,




      73.

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   R. Lang, L. Vogt, A. Züricher, G. Winter
   Stabilization of a virus-like particle based vaccine by freeze-drying
   2007 AAPS Annual Meeting and Expositon
   San Diego, 11. – 14. Nov. 2007,

      74.
   A. Youssef, F. Gruber, G. Winter
   Systemic Correlation of Microcalorimetry Data with Conventional Stability Study Results for
   Protein Drug Formulations: Liquid GCSF formulations
   2007 AAPS Annual Meeting and Expositon
   San Diego, 11. – 14. Nov. 2007,

      75.
   M. Schwab, B. Kessler, E. Wolf, G. Jordan , S. Mohl , G Winter
   Correlation of in vivo and in vitro release data for rh-INFα lipid implants
   2007 AAPS Annual Meeting and Expositon
   San Diego, 11. – 14. Nov. 2007,

       76.
   S. Schultes, G. Winter, C. Coester
   Automatic microviscosimetry as a toll for fast biopolymer analysis compared to AF4 interact
   PhD Symposium München, Dez. 2007

      77.
   K. Freitag, J. Gradl, M. Neu, H.J. Krause, W. Peukert, G. Winter
   “Investigations on particle formation and particle growth for establishinga mathematical
   model for Precipitation Processes”
   APV-Meeting, Barcelona 07.-10.04.2008

      78.
   Michael Wiggenhorn, Heinrich Haas, Klaus Drexler, Bas Vermeulen, Gerhard Winter
   “Comparison of Freeze-drying, Spray-freeze-drying, (Inert)-spray-drying, Supercritical- and
   Subcritial-fluid-drying for the stabilization of liposomal formulations“
   APV-Meeting, Barcelona 07.-10.04.2008

      79.
   W. Tian, S. Herrman, M. Brandl, G. Winter
   Texture analysis as an analytical tool for the characterization of
   FITC-Dextran loaded vesicular phospholipids gels”
   APV-Meeting, Barcelona 07.-10.04.2008

      80.
   Sandra Herrmann, Florence Siepmann, Juergen Siepmann, Gerhard Winter
   “Protein release from PEG-containing lipid implants: Importance of drug solubility”
   APV-Meeting, Barcelona 07.-10.04.2008




      81.

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   Sandra Herrmann, Ahmed Youssef, Tim Serno, Gerhard Winter
   “Increased thermal stability of IFN-alpha by HP-β-CD was detected
   by FTIR but not by microcalorimetry”
   APV-Meeting, Barcelona 07.-10.04.2008

      82.
   E. Rosenberg, K. Heinrich, S. Hepbildikler, W. Kuhne, G. Winter
   “The influence of shear stress and preformed soluble aggregates in TFF on the protein
   aggregation in concentrated MAb intermediate solutions in DSP”
   APV-Meeting, Barcelona 07.-10.04.2008

       83.
   A. Youssef, F. Gruber, G. Winter
   “Systematic correlation study of thermodynamic parameters determined by μDSC for
   liquid GCSF formulations with conventional isothermal stability study”
   APV-Meeting, Barcelona 07.-10.04.2008

      84.
   Tim Serno, John F. Carpenter, Gerhard Winter
   “Cyclodextrins inhibit surface – induced aggregation of a monoclonal antibody”
   APV-Meeting, Barcelona 07.-10.04.2008

       85.
   S. Schultes, G. Winter, C. Coester
   “Simulated in-vivo endothelial cell adhesion of cationic polysaccharide-gelatine
   nanoparticles”
   APV-Meeting, Barcelona 07.-10.04.2008

       86.
   S. Schultes, G. Winter, C. Coester
   “Novel hydrophobic prototype gelatins for nanoparticles preparation analyse by asymmetrical
   flow field-flow fraction and multi-angle light scattering”
   APV-Meeting, Barcelona 07.-10.04.2008

       87.
   S. Fuchs, R. Parlitz, D. Gau, G. Winter, C. Coester
   “Towards better auality control of Nanoparticulate DNA Delivery Preparations by Ultrasonic
   resonator technology”
   APV-Meeting, Barcelona 07.-10.04.2008

      88.
   W. Tian, S. Herrmann, M. Brandl , G. Winter
   “Macromolecular Drug Loaded Vesicular Phospholipid Gels: Preparation and
   Characterization”
   2nd Midnight Sun Meeting on Drug Transport and Delivery, University of Tromsö,
   Norwegen, 25.-27.Juni 2008




      89.

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   S. Herrmann, A. Youssef, T. Serno, G. Winter
   “Thermal Stability of Proteins in the Presence of Hydroxypropyl-ß-Cyclodestrin:
   Discrepancies between Fourier Transform Infrared Spectroscopy and Microcalorimetry”
   AAPS National Biotechnology Conference 2008, Toronto, 22-25.06.2008

       90.
   T. Serno, John F. Carpenter , G. Winter
   “Cyclodextrins as stabilizing excipients for Monoclonal Antibody formulations: evaluation of
   effects and mechanisms and comparison to other excipients”
   AAPS National Biotech Conference , Toronto, Ontario, Canada, June 22-25, 2008

       91.
   A. Youssef, G. Winter.
   “The use of Microcalorimetry for prediction of the physical stability of a Monoclonal
   antibody”
   Application of Bio-calorimetry (abc6), 7th-10th July 2008, Heidelberg, Germany

      92.
   A. Youssef, K. Reiche, G. Winter
   “The effect of aggregates present in protein formulations on microcalorimetry parameters”
   Application of Bio-calorimetry (abc6), 7th-10th July 2008, Heidelberg, Germany

      93.
   K. Freitag, J. Gradl, M. Neu, H. J. Krause, W. Peukert, G. Winter
   “Modeling of Precipitation Conditions for Poorly Soluble Drugs”
   2008 AAPS Annual Meeting and Exposition, 16th to 20th November 2008, Atlanta, GA

       94.
   S. Fuchs, J. Auernheimer, K. Zwiorek, H.-J. Wester, G. Winter, C. Coester
   “In Vivo Tracking of 68Ga Labeled Gelatin Nanoparticles
   by Positron Emission Tomography“
   AAPS Annual Meeting and Exposition , Atlanta, GA, November 16 – 20, 2008

       95.
   S. Tinkov, M. Mayer, L.Almendinger, M. Ogris, E. Wagner, R. Bekeredjian, G. Winter,
   C. Coester
   “Secondary carrier-associated microbubbles for enhanced ultrasound targeted gene therapy”
   AAPS Annual Meeting and Exposition , Atlanta, GA, November 16 – 20, 2008

       96.
   Long Xu, Manfred Ogris, Gerhard Winter, Ernst Wagner, Thomas Anchordoquy
   “In vivo study of Cationic Lipid/DNA Complexes with high cholesterol content”
   AAPS Seattle, June 2009

        97.
   Veronika Spalthoff, Gerhard Winter
   “Micro-Flow Imaging and low threshold particle counting
   - Is a new pharmacopoeial method necessary? –“
   Science to Market Conference, Hannover, 6.-7.10.2009

      98.

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   Hofer M, Lammel A, Schwab M, Myschik J, Scheibel T, Winter G
   “Spider Silk Proteins – A New Biopolymer for Drug Delivery Applications”
   Science to Market Conference, Hannover, 6.-7.10.2009


       99.
   Freitag A, Myschik J, Schulze S, Winter G
   “Immunogenicity of Protein Aggregates”
   Science to Market Conference, Hannover, 6.-7.10.2009

       100.
   W. Tian, S. Schulze, M. Brandl, G. Winter
   “Sustained release formulation of pharmaceutical proteins based on vesicular phospholipid
   gels: development and in vitro evaluation”
   Science to Market Conference, Hannover, 6.-7.10.2009


       101.
   Tim Serno, John F. Carpenter, Theodore W. Randolph, Gerhard Winter
   “Cyclodextrins as alternative to non-ionic surfactants in monoclonal antibody formulation”
   Science to Market Conference, Hannover, 6.-7.10.2009


        102.
   V.Spalthoff, G. Winter
   “Is submicron particle counting relevant for the development and quality assurance of protein
   pharmaceuticals?”
   10.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


       103.
   W. Tian, S. Schulze, M. Brandl , G. Winter , J. Myschik
   “Vesicular phospholipid gel-based depot formulations for pharmaceutical proteins:
   development and in vitro evaluation“
   10.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


        104.
   Kis EE, Lell P, Winter G, Myschik J
   “Evaluation of a surrogate apparatus for epidermal ballistic powder injection.”
   11.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


        105.
   Hofer M, Lammel A, Schwab M, Myschik J, Scheibel T, Winter G
   ”Preparation of spider silk particles and their evaluation as a new particulate drug delivery
   system.”


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   Pharmaceutical Technology


       106.
   Freitag AJ, Myschik J, Schulze S, Winter G
   ”Preparative methods to reproducibly generate aggregates of monoclonal antibodies.”
   10.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


      107.
   Straller G., Serno T., Winter G., Lee G.
   „Spray-Freeze-Drying of Carbonic Anhydrase with online Light Scattering, Assymetric Flow
   Field Flow Fractionation vs. SEC”
   09.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


      108.
   M. Sprengholz, H. Spilgies, G. Winter
   “How in vitro drug release from biodegradable subcutaneaous implants can be switched from
   real-time to short-term”
   10.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


       109.
   S. Fuchs, M. Kutscher, T. Hertel, G. Winter, M. Pietzsch, C. Coester
   „Transglutaminase, a new approach in gelatin nanoparticle cross-linking“
   09.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


      110.
   S. Fuchs, J. Klier, A. May, G. Winter, H. Gehlen, C. Coester
   „Towards an inhalative in vivo application of immunomodulating gelatin nanoparticles in cob
   horses – related preformulation studies“
   09.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


      111.
   E. E. Kis, P. Lell, G. Winter, J. Myschik
   “Can collapse freeze-drying provide high density protein sugar particles
   for ballistic powder injection?“
   16. – 18.09.2010 8th Central European Symposium on Pharmaceutical Technology, Graz




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     112.
   V. Spalthoff, G. Winter
   Prediction of particle formation after stir stress of IgG1
   DPHG Conference 2010, 4th to 7th October 2010, Braunschweig, Germany

     113.
   Thomas Bosch, Nico Erlewein, Gerhard Winter
   Influence of formulation composition on physical characteristics of collapse-dried
   lyophilizates
   Freeze-Drying of Pharmaceuticals and Biologicals,
   28th of September to 1st of October 2010, Garmisch-Partenkirchen, Germany

     114.
   Bosch T, Schersch KB, Winter G
   Effect of process parameters on collapse-drying performance
   7th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology, 8th
   to 11th March 2010, Valletta, Malta

     115.
   Gerhard Sax, Sandra Schulze, Gerhard Winter
   Sustained release of a monoclonal antibody from lipid twin-screw extrudates
   37th Annual Meeting and Exposition of the Controlled Release Society, Portland, Oregon,
   USA, July 10-14, 2010

    116.
   Thomas Bosch, Kathrin Schersch, Gerhard Winter
   “Aggressive collapse-drying as a faster alternative to conventional freeze-drying of
   Biologics“
   Forum Life Sciences Munich, 23.03.2011 - 24.03.2011

    117.
   Raimund Geidobler, Elisabeth Härtl, Ahmed Besheer, Gerhard Winter
   „Cyclodextrins as stabilizing excipients in protein formulation”
   Forum Life Sciences Munich, 23.03.2011 - 24.03.2011

    118.
   Elsa E. Kis, Yibin Deng, Peter Lell, Gerhard Winter, Julia Myschik
   “Novel intradermal vaccination devices using ballistic delivery of powder particles”
   Forum Life Sciences Munich, 23.03.2011 - 24.03.2011

     119.
   Gerhard Sax, Christian Hildebrandt, Wei Wei Tian, Sandra Schulze, Gerhard Winter
   “Delivery of drug proteins from lipid based implants”
   Forum Life Sciences Munich, 23.03.2011 - 24.03.2011

     120.
   Hofer M, Agostini E, Winter G, Myschik J
   “Recombinant spider silk proteins as new biomaterial for innovative drug delivery system
   (DDS)”
   Forum Life Sciences Munich, 23.03.2011 - 24.03.2011


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    121.
   Sebastian P. Hertel, Wolfgang Frieß, Gerhard Winter
   “Comparison of Aerosol Collection Methods for Liquid Protein Formulations”
   Respiratory Drug Delivery Europe 2011, Berlin 03.05.2011 – 06.05.2011

     122.
   Sarah Zölls, Ruederporn Tantipolphan, Michael Wiggenhorn, Wolfgang Frieß, Gerhard
   Winter, Andrea Hawe
   “Comparative analysis of subvisible particles induced by freeze-thawing, stirring and heating
   of an IgG antibody”
   National Biotechnology Conference, San Francisco, May 16th – May 18th 2011

     123.
   Elisabeth Härtl, Ahmed Besheer, Gerhard Winter
   „Influence of HPβCD on stability of highly concentrated antibody formulations during
   stirring”
   Bio Production Forum, Ulm, 08.06. – 10.06.2011

    124.
   V. Spalthoff, G. Winter
   “Dilution of stressed IgG1-solution into serum: Effects on particulate matter”
   Colorado Protein Stability Conference, Breckenridge, July 19th – July 21st, 2011

     125.
   V. Spalthoff, G. Winter
   “Prediction of particle formation after stir stress of IgG1”
   Colorado Protein Stability Conference, Breckenridge, July 19th – July 21st, 2011

    126.
   V. Spalthoff, G. Winter
   “Relevance of submicron particle counting”
   Colorado Protein Stability Conference, Breckenridge, July 19th – July 21st, 2011

     127.
   M. Hofer, G. Winter, J. Myschik
   “Protein loading of recombinant spider silk particles”
   2011 AAPS ANNUAL MEETING AND EXPOSITION, OCTOBER 23-27, WASHINGTON
   D.C., USA

     128.
   E. E. Kis, Y. Deng, P. Lell, G. Winter, J. Myschik
   “Intradermal ballistic delivery - New approaches to deliver powdered particles using a
   surrogate accelerator”
   2011 AAPS ANNUAL MEETING AND EXPOSITION, OCTOBER 23-27, WASHINGTON
   D.C., USA

     129.
   E. E. Kis, J. Pott, G. Winter, J. Myschik
   “Evaluation of a cryo-mill for the production of particles for intradermal ballistic delivery”
   2011 AAPS ANNUAL MEETING AND EXPOSITION, OCTOBER 23-27, WASHINGTON D.C.,
   USA


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    130.
   Freitag AJ, Immohr LI, Winter G, Myschik J
   The Endotoxin-free Separation of Protein Species via Asymmetrical Flow Field-Flow
   Fractionation (AF4)
   22nd Annual International Light Scattering Colloquium - October 31st – November 1st 2011,
   Santa Barbara, California, USA

     131.
   Elisa Agostini, Gerhard Winter, Julia Myschik
   Preparation and Investigation of Water-based Spider Silk Films
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     132.
   Cihad Anamur, Andreas Schmitt, Gerhard Winter, Julia Myschik
   Mechanical properties of alginate gels for a stem cell matrix system
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     133.
   Thomas Bosch, Manuel Gregoritza, Gerhard Winter
   Stabilization of protein pharmaceuticals by aggressive freeze-drying
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     134.
   Elisabeth Härtl, Ahmed Besheer, Reinhard Miller, Gerhard Winter
   Comparing the behavior of Hydroxypropyl-β-cyclodextrin and polysorbate 80 at the air water
   interface of an IgG solution
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     135.
   Elisabeth Härtl, Ahmed Besheer, Gerhard Winter
   Influence of Hydroxypropyl-beta-cyclodextrin on the Stability of Highly Concentrated IgG
   Formulations
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     136.
   Hildebrandt C, Saedler R, Tschöpe M, Weber C, Winter G
   Bulk drying of protein (lysozyme) crystals with inert drying gas
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     137.
   Hildebrandt C, Saedler R, Tschöpe M, Weber C, Winter G
   Lysozyme crystals of various morphology show different mechanical stability and solubility
   in organic solvents.
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

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     138.
   Joos L, Saedler R, Tschöpe M, Weber C, Winter G
   Reduction of peroxide and formaldehyde content in polyethylene glycol (PEG) 4000 solutions
   by drying
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     139.
   Joos L, Saedler R, Tschöpe M, Weber C, Winter G
   Stability of PEG 4000 solutions during temperature and light stress
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     140.
   R. Liebner, G. Winter, A. Besheer
   Synthesis and physicochemical characterization of PEGylated Anakinra
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     141.
   R. Mathäs, G. Winter, J. Myschik, A. Besheer
   Application of different analytical methods for the characterisation of non-spherical micro-
   and nanoparticulate standards
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     142.
   Christian Neuhofer, Ahmed Besheer, Carsten Olbrich, Gerhard Winter
   Development of lipid based depot formulations for protein delivery
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     143.
   Matthäus Noga, Daniel Edinger, Ernst Wagner, Gerhard Winter, Ahmed Besheer
   Can nano-dandelions overcome the “PEG dilemma” in gene delivery? -
   Designing HES-decorated core-shell polyplexes with controlled shielding
   and deshielding
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     144.
   Matthäus Noga, Gerhard Winter, Ahmed Besheer
   HES-PEI COPOLYMERS FOR GENE DELIVERY: SYNTHESIS, CHARACTERIZATION
   AND
   GENERATION OF HES-DECORATED POLYPLEXES
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul




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     145.
   Martina Sprengholz, Sabine Hauck, Gerhard Winter
   INTERACTION OF OXYBUTYNIN HYDROCHLORIDE AND POLY(LACTIC-CO-
   GLYCOLIC ACID) IN DEGRADING IMPLANTS
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     146.
   S. P. Hertel, W. Friess, G. Winter
   ENABLING NEBULIZATION OF THERMO LABILE PROTEINS WITH VIBRATING
   MESH NEBULIZERS
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     147.
   S. P. Hertel, F. Wurst, M. Patzak, W. Friess, G. Winter
   HIGH-THROUGHPUT STABILITY SCREENING METHOD FOR VIBRATING-MESH
   NEBULIZATION OF PROTEIN FORMULATIONS
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceutical Technology
   19th to 22th of March 2012, Istanbul

     148.
   Sarah Zölls, Ruedeeporn Tantipolphan, Michael Wiggenhorn, Gerhard Winter,
   Wolfgang Frieß, Andrea Hawe
   Evaluation of Archimedes and Coulter counter for the analysis of (protein) particles
   National Biotech Conference (NBC) San Diego, Workshop on Protein Aggregation and
   Immunogenicity Breckenridge

     149.
   Sarah Zölls, Manueal Gregoritza, Ruedeeporn Tantipolphan, Michael Wiggenhorn,
   Gerhard Winter, Wolfgang Frieß, Andrea Hawe
   How subvisible particles get invisible - Relevance of refractive index for protein particle
   analysis
   National Biotech Conference (NBC) San Diego, Protein Engineering Summit (PEGS) Boston,
   Workshop on Protein Aggregation and Immunogenicity Breckenridge

     150.
   M. Noga, D. Edinger, E. Wagner, G. Winter, and A. Besheer
   Controlled shielding & deshielding of HES-decorated polyplexes using alpha amylase
   The 39th Annual Meeting & Exposition of the Controlled Release Society
   15-18 July 2012, Quebec




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   PhDs.


      1.
   Michael Morlock
   Erythropoietin-Mikropartikel – Eine Untersuchung zur Mikroverkapselung von Proteinen mit
   Hilfe bioabbaubarer Polyester
   Marburg, 1995 (Prof- Kissel)

      2.
   Markus Mattern
   Stabilisierung von therapeutischen Proteinen mittels Gefrier- und Vakuumtrocknung
   Erlangen, 1997 ( Prof. Lee)

      3.
   Claudia Roth
   Moderne Steuerungsverfahren für die Gefriertrocknung – Wägesystem
   Erlangen, 2000 ( Prof. Lee)

     4.
   Ralf Zippelius
   Untersuchungen zum Einfrieren- und Auftauverhalten pharmazeutischer
   Humanproteinlösungen im Großmaßstab
   München, 2002

     5.
   Dirk Haefner
   Untersuchungen zu Wechselwirkungen zwischen flexiblen kationischen Lipidvesikeln und
   DNS sowie in vitro und in vivo Eigenschaften der daraus hergestellten Komplexe
   München, 2002 (mit Prof. Cevz)

      6.
   Ingo Presser
   Innovative Online Messverfahren zur Optimierung von Gefriertrocknungsprozessen
   München, 2003

     7.
   Anke Stabenau
   Trocknung und Stabilisierung von Proteinen mittels Warmlufttrocknung und Applikation von
   Mikrotropfen
   München, 2003

      8.
   Sabine Effer
   Optimierung der pharmakokinetischen Eigenschaften von schwerlöslichen Substanzen mit
   Hilfe von Mikroemulsionen
   München, 2003




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      9.
   Wolfgang Fraunhofer
   Asymmetrical Flow Field-Flow-Fractionation in Pharmaceutical Analytics
   Investigations in Aggregation Tendencies of Pharmaceutical Antibodies
   München, 2003

     10.
   Saskia Waibler
   Comparative studies on manufacturing methods for cationic liposomes
   München, 2003

      11.
   Matthias Willmann
   Stabilisierung von pharmazeutischen Proteinlösungen durch Vakuumtrocknung
   Verfahrenstechnische Optimierung verschiedener Vakuumtrocknungsverfahren, Untersuchung von
   Aggregations-Phänomenen und Evaluierung von Hilfsstoffen
   München, 2003

     12.
   Fritz Gruber
   Untersuchungen zur Enkapsulierung von Paclitaxel in kationischen Liposomen
   München, 2004

      13.
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       106.
   Veronika Spalthoff, Gerhard Winter
   “Micro-Flow Imaging and low threshold particle counting - Is a new pharmacopoeial method
   necessary? “
   Science to Market Conference, EAPB, October 6th-7th 2009, Hannover, Germany


       107.
   Hofer M, Lammel A, Schwab M, Myschik J, Scheibel T, Winter G
   “Spider Silk Proteins – a new biopolymer for drug delivery applications”
   Science to Market Conference, EAPB, October 6th-7th 2009, Hannover, Germany


       108.
    Tim Serno, John F. Carpenter, Theodore W. Randolph, Gerhard Winter
   “Cyclodextrins as alternative to non-ionic surfactants in monoclonal antibody formulation”
   Science to Market Conference, Hannover, 6.-7.10.2009


       109.
   Dr. J. Myschik
   “Lysozyme release from lipid twin-screw extrudates:
   Influence of the composition of the triglyceride matrix”
   11.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology

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       110.
   Ahmed Youssef
   “Prediction of real time stability of GCSF liquid formulations: Comparison of
   microcalorimety (Tm) vs. Accelerated stability studies“
   11.03.2010 in Valletta/Malta, 7th World meeting on Pharmaceutics, Biopharmaceutics and
   Pharmaceutical Technology


       111.
   Ahmed Youssef
   “Prediction of real time stability of GCSF liquid formulations: Comparison of
   microcalorimety (Tm) vs. Accelerated stability studies“
   02.11.2010 in Hamburg, 1. Hamburger MicroCal Anwendertag


       112.
   Kathrin Schersch
   “New insights into freeze-drying with collapse”
   Freeze-Drying of Pharmacuticals and Biologicals, Sept 28th – October 1st 2010, Garmisch-
   Partenkirchen, Germany


      113.
   Dr. J. Myschik
   “Spider silk – a new biomaterial for pharmaceutical applications”
   16.02.2011 in Dunedin/New Zealand,
   Conference on Formulation and Delivery of Bioactives 2011

       114.
   Prof. Dr. G. Winter
   “Novel concepts for protein depots and low aggregate formulations”
   25.02.2011 in Halle / Saale
   4th Halle conference on recombinant protein production, 24.-26.02.2011

      115.
   Prof. Dr. G. Winter
   “Recent progress in formulation development for biologics”
   08.06. – 10.06.2011 in Ulm
   Concept Bio Production Forum, 08.–10.06.2011

     116.
   Prof. Dr. G. Winter
   “Formulation of protein pharmaceuticals - Trends, truths and surprises”
   29.09. – 01.10.2011 in Bled, Slowenien
   4th BBBB – Bled International Conference on Pharmaceutical Sciences

     117.
   Markus Hofer
   „Investigation of spider silk particles as a potential drug carrier for biotec drugs”
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceut- ical Technology
   19th to 20nd March 2012, Istanbul

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     118.
   Thomas Bosch
   „Bulk freeze-drying of sensitive pharmaceuticals by stirred freeze-drying”
   8th World Meeting on Pharmaceutics, Biopharmaceutics and Pharmaceut- ical Technology
   19th to 20nd March 2012, Istanbul




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                                    EXHIBIT 11

                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO                   C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                     (Consolidated)

                     Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.


                     Defendants.


                PLAINTIFFS’ DEPOSITION DESIGNATIONS
       Pursuant to Local Rule 16.3(c)(7), Plaintiffs Par Pharmaceutical, Inc., Par

 Sterile Products, LLC, and Endo Par Innovation Company, LLC (collectively

 “Plaintiffs”) submit herein their list of deposition designations, Defendants’

 objections to Plaintiffs’ designations, Defendants’ counter-designations, and

 Plaintiffs’ objections to such counter-designations. Plaintiffs reserve the right to

 counter-designate testimony in response to Defendants’ designations.
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                                                         Exhibit 11
                                                     107827

                                              Amneal's Objection Code
CODE   OBJECTION
A      Fed. R. Evid. 901 - Requires proof of authenticity as a condition precedent to its admissibility
DEM    Demonstrative Only
DUP    Duplication of Another Exhibit
E      Mischaracterization in Description
F      Fed. R. Evid. 602 - No Foundation
H      Fed. R. Evid. 801 & 802 - Hearsay
I      Illegible (partly or wholly)
IC     Improper compilation
IN     Fed. R. Evid. 106 - Incomplete
NT     No Certified Translation
R      Fed. R. Evid. 402 - Not Relevant
RD     Redaction Required
26     Fed. R. Civ. P. 26 - Not timely disclosed
403    Fed. R. Evid. 403 - Any relevance substantially outweighed by confusion, prejudice or waster of time
1006   Fed. R. Evid. 1006 - Voluminous document requires summary
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                                EXHIBIT 12


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO
  PAR INNOVATION COMPANY, LLC,                    C.A. No. 18-cv-2032-CFC-CJB
                                                  (Consolidated)
                      Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.

                      Defendants.



                DEFENDANTS’ DEPOSITION DESIGNATIONS
       Pursuant to Local Rule 16.3(c)(7) and the Court's Scheduling Order (D.I. 20,

 148), Defendant Amneal respectfully submits herein its list of deposition

 designations, Plaintiffs Par Pharmaceutical, Inc., Par Sterile Products, LLC, and

 Endo Par Innovation Company, LLC’s (collectively “Plaintiffs”) objections to

 Amneal's designations, Plaintiffs’ counter-designations, and Amneal’s objections to

 such counter-designations. Amneal reserves the right to counter designate testimony

 in response to Plaintiffs’ designations.
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                                                                   Boesch, Brian
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       Amneal's Initial Designations                                                       Par's Counter Designations
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      12        20        12         23                                                  46         7        47         7                 R, 403, 32
      37        11        37         16                                602, LOF          52        13        52        18                 R, 403, 32
      37        19        37         23                                                  53         4        53        18                 R, 403, 32
      37        25        37         25                                                  56         4        56        11                 R, 403, 32
      38         3        38          7                                                  56        13        56        15                 R, 403, 32
      38         9        38         11                     602, LOF, 701, 702           59         3        59        10                 R, 403, 32
      38        14        38         18                     602, LOF, 701, 702           59        13        59        24                 R, 403, 32
      38        20        38         21                401, 402, 403, 602, LOF           63        24        64         3                 R, 403, 32
      38        24        38         25                401, 402, 403, 602, LOF           77        21        77        25                 R, 403, 32
      39         2        39          2                401, 402, 403, 602, LOF           80        23        81         9                 R, 403, 32
     126        22       126         25               No testimony designated            90        20        91        16            R, 403, 32, F, S
     127        13       127         22                               801, 802           91        19        91        19            R, 403, 32, F, S
     128         2       128          3                               801, 802          107        22       108        25                 R, 403, 32
     128         5       128         23                     602, LOF, 801, 802          111         4       111        16                 R, 403, 32
     129         2       129         10                     602, LOF, 801, 802          115        19       115        23                 R, 403, 32
     129        12       129         14                     602, LOF, 801, 802          116         3       116        15                 R, 403, 32
     130        16       130         18               No testimony designated           117         5       117        23                 R, 403, 32
     130        20       130         25                                                 125        18       125        21                 R, 403, 32
     138        20       138         23                                                 127         3       127         8                    F, S, 32
     139        24       139         25                                602, LOF         146         3       146         5            R, 403, 32, F, S
     140         2       140          2                                602, LOF         146         8       146        10            R, 403, 32, F, S
     140         5       140          5                                602, LOF         146        12       146        17            R, 403, 32, F, S
     141        23       141         25     401, 402, 403, 602, LOF, 801, 802, V        146        24       146        25            R, 403, F, S, 32
     142         2       142          5     401, 402, 403, 602, LOF, 801, 802, V        147         4       147        13            R, 403, F, S, 32
     142         8       142         10     401, 402, 403, 602, LOF, 801, 802, V        150        15       150        16                 R, 403, 32
     142        12       142         15                 401, 402, 403, 801, 802         150        19       150        23                 R, 403, 32
     142        19       142         22                                602, LOF         151        20       151        21                 R, 403, 32
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                                                                  Boesch, Brian
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       Amneal's Initial Designations                                                      Par's Counter Designations
Start Page Start Line End Page End Line            Par's Objections               Start Page Start Line End Page End Line   Amneal's Objections
     142        24       142         25                               602, LOF         151        24       152         5                R, 403, 32
     143         2       143          4                               602, LOF         153         4       153        11           R, 403, 32, F, S
     143        10       143         15                                                169        18       169        19      R, 403, F, S, LAY, 32
     144         7       144          8                401, 402, 403, 602, LOF         169        22       169        23      R, 403, F, S, LAY, 32
     144        11       144         13                401, 402, 403, 602, LOF         169        25       170         2      R, 403, F, S, LAY, 32
     144        15       144         18                401, 402, 403, 602, LOF         170         5       170         5      R, 403, F, S, LAY, 32
     145        16       145         18                401, 402, 403, 602, LOF         170         7       170         7      R, 403, F, S, LAY, 32
     145        21       145         24                401, 402, 403, 602, LOF         170        10       170        20      R, 403, F, S, LAY, 32
     146        18       146         23                                                180        13       180        22           R, 403, 32, F, S
     148         7       148          8                 401, 402, 403, 602, LOF        180        25       181         4           R, 403, 32, F, S
     148        11       148         15       401, 402, 403, 602, LOF, 801, 802        181         9       181        10           R, 403, 32, F, S
     148        18       148         18       401, 402, 403, 602, LOF, 801, 802        181        12       181        17           R, 403, 32, F, S
     150         5       150          8                 401, 402, 403, 602, LOF        185        23       185        24             NQP, NA, 32
     150        12       150         14                                                186        16       186        20                    F, S, 32
     150        25       150         25                401, 402, 403, 602, LOF         210         3       210         7      R, 403, F, S, LAY, 32
     151         2       151          2                401, 402, 403, 602, LOF         210        10       210        15      R, 403, F, S, LAY, 32
     151         5       151          7                401, 402, 403, 602, LOF         216        18       216        19           R, 403, 32, F, S
     151        17       151         19                                                216        22       216        22           R, 403, 32, F, S
     152        14       152         16                 401, 402, 403, 602, LOF        250        18       250        23                R, 403, 32
     152        19       152         22                 401, 402, 403, 602, LOF        253        19       254         3                R, 403, 32
     162        16       162         18       401, 402, 403, 602, LOF, 701, 702        256        24       257         5                R, 403, 32
     162        21       162         25       401, 402, 403, 602, LOF, 701, 702        257         7       257        13                R, 403, 32
     163         2       163          3       401, 402, 403, 602, LOF, 701, 702        257        15       257        17                R, 403, 32
     170        22       170         25                                602, LOF
     171         4       171          4                                602, LOF
     186        25       186         25                                602, LOF
     187         2       187          3                                602, LOF
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     187         6       187         17                                602, LOF
     187        19       187         22                                602, LOF
     187        25       187         25                                602, LOF
     188         2       188          3                                602, LOF
     196        13       196         16                                       V
     204        21       204         25
     205         2       205          5       401, 402, 403, 602, LOF, 701, 702
     205         8       205         14       401, 402, 403, 602, LOF, 701, 702
     205        16       205         16       401, 402, 403, 602, LOF, 701, 702
     205        19       205         20       401, 402, 403, 602, LOF, 701, 702
     205        22       205         25                 401, 402, 403, 602, LOF
     206         4       206          6                 401, 402, 403, 602, LOF
     206         8       206          9                 401, 402, 403, 602, LOF
     206        12       206         25                 401, 402, 403, 602, LOF
     207         3       207          5     401, 402, 403, 602, LOF, 701, 702, V
     207         8       207         16     401, 402, 403, 602, LOF, 701, 702, V
     207        22       207         25                           401, 402, 403
     208         2       208         12                           401, 402, 403
     209         3       209          7               401, 402, 403, 602, LOF V
     209        11       209         17               401, 402, 403, 602, LOF V
     210        17       210         23            401, 402, 403, 602, LOF, C, V
     211         2       211          2            401, 402, 403, 602, LOF, C, V
     211         6       211         16                         401, 402, 403, V
     221        22       221         23                 401, 402, 403, 602, LOF
     222         2       222          5                 401, 402, 403, 602, LOF
     222         7       222          9       401, 402, 403, 602, LOF, 701, 702
     222        13       222         15       401, 402, 403, 602, LOF, 701, 702
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       Amneal's Initial Designations                                                      Par's Counter Designations
Start Page Start Line End Page End Line            Par's Objections               Start Page Start Line End Page End Line   Amneal's Objections
     250        24       250         25           401, 402, 403, 602, LOF, V, C
     251         2       251         12           401, 402, 403, 602, LOF, V, C
     251        15       251         17           401, 402, 403, 602, LOF, V, C
     251        19       251         23           401, 402, 403, 602, LOF, V, C
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       Amneal's Initial Designations                                                      Par's Counter Designations
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      10         3        10         11                                                  9        21        10         2
      11         2        11          9                                                 12        12        13         3
      11        19        11         24                                                 13        19        14         3
      12         2        12          5                                                 14         8        14        16                     S, F, 32
      12         7        12         10                                                 15        18        16         6                     F, R, 32
      13         5        13         18                                                 24        14        24        24                           32
      14         4        14          7                                                 26        13        27        15                  R, 403, 32
      14        17        14         21                                                 28         4        28        22                  R, 403, 32
      15        13        15         17                                                 29        14        30         2                     F, S, 32
      16         9        16         14                                                 30         9        30        17                           32
      19        17        19         23                                                 31         7        31        19                     F, S, 32
      19        25        19         25                                                 32         6        32        23                     F, S, 32
      20         2        20         13                                                 33        14        33        17                     F, S, 32
      20        18        20         20                                                 34        11        34        21                     NQP, F
      20        24        20         25                                                 35         9        36         5            F, S, R, 403, 32
      21         3        21         13                                                 38         5        38        15                     F, S, 32
      21        15        21         20                                                 39        23        40        20                     F, S, 32
      21        24        21         25                                                 42        24        43        11                      NR, 32
      22         2        22          5                                                 43        14        43        17                NR, F, S, 32
      22         7        22         18                                                 44        12        44        14                           32
      22        22        22         25                                                 44        17        45        14                NR, F, S, 32
      23         2        23          6                                                 45        19        45        22                           32
      23         8        23         10                                                 45        24        45        24                     F, S, 32
      24         2        24         10                                                 46         4        46        22                     F, S, 32
      24        12        24         13                                                 47         7        47        11                     F, S, 32
      24        25        24         25                                                 48        15        49         2                     F, S, 32
      25         2        25          8                                                 50        23        51         8                           32
      25        10        25         20                                                 51        13        51        20                           32
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       Amneal's Initial Designations                                                      Par's Counter Designations
Start Page Start Line End Page End Line             Par's Objections              Start Page Start Line End Page End Line     Amneal's Objections
      26         8        26         10                                                  55       18        56        17                      F, S, 32
      26        12        26         12                                                  62       20        63         9                      F, S, 32
      28        23        28         25                                                  63       20        63        23                            32
      29         2        29         12                                                  63       25        64        19                  NR, F, S, 32
      30        20        30         22                                                  66       20        67         2         F, S, R, 403, 32, AF
      30        24        30         25                                                  67       20        67        24     NR, F, S, R, 403, 32, AF
      31         2        31          6                                                  92       13        92        18                         32, R
      31        20        31         24                                                  92       20        92        25                      F, S, 32
      32         3        32          4                                                  93       17        93        21                      F, S, 32
      33         2        33         13                                                  94       19        95         7          FORM, R, 403, 32
      33        19        33         25                                                  95        9        96        20      FORM, R, 403, 32, F, S
      34         2        34         10                                                  96       23        97         6             F, S, R, 403, 32
      34        22        34         25                                                  97        8        97        10    NQP, NA, R, 403, F, S, 32
      35         2        35          8                                 602/LOF          97       24        98         3      FORM, R, 403, 32, F, S
      36         6        36         22                                                  98        6        98        13      FORM, R, 403, 32, F, S
      36        25        36         25                                                  98       17        99        11      FORM, R, 403, 32, F, S
      37        13        37         23                                                  99       15        99        18      FORM, R, 403, 32, F, S
      37        25        37         25                                                  99       21       100         9      FORM, R, 403, 32, F, S
      38         2        38          4                                                 100       11       100        11      FORM, R, 403, 32, F, S
      38        18        38         25                                                 100       16       101         2      FORM, R, 403, 32, F, S
      39         2        39         10                                                 101        5       101         5      FORM, R, 403, 32, F, S
      44         7        44         11                                                 101        7       101        18      FORM, R, 403, 32, F, S
      45        15        45         18                                                 101       21       102         2      FORM, R, 403, 32, F, S
      45        25        45         25                                                 102        7       102         8      FORM, R, 403, 32, F, S
      46         2        46          3                                                 102       10       102        21      FORM, R, 403, 32, F, S
      46        24        46         25                                                 102       24       102        24      FORM, R, 403, 32, F, S
      47         2        47          6                                                 103        3       103         5             F, S, 32, R, 403
      48         6        48         14                                                 103        7       103        13      FORM, R, 403, 32, F, S
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      49         3        49         10                                                 103       16       103        25    FORM, R, 403, 32, F, S
      49        13        49         19                                                 104        4       104        15    FORM, R, 403, 32, F, S
      49        21        49         21                                                 104       18       104        19    FORM, R, 403, 32, F, S
      49        24        49         25                                                 105        7       105        20          F, S, 32, R, 403
      50         2        50          6                         602/LOF, AA, MC         106        2       106         7          F, S, 32, R, 403
      50         9        50         20                                                 109        6       109        18          F, S, 32, R, 403
      51         9        51         12                                                 110        2       110        14          F, S, 32, R, 403
      54         5        54         19                                                 110       16       111         8          F, S, 32, R, 403
      56        18        56         25                                                 111       22       112        13          F, S, 32, R, 403
      57         2        57         13                                                 112       17       112        21    FORM, R, 403, 32, F, S
      58         2        58          5                                                 112       24       112        24    FORM, R, 403, 32, F, S
      58         7        58         13
      59         3        59          5
      59         8        59         11
      60         7        60         10
      60        25        60         25
      61         2        61          6
      61         8        61         14
      61        16        61         22
      61        24        61         25
      62         3        62          3
      62         9        62         12
      62        14        62         18
      65         7        65         10
      65        12        65         12
      68        17        68         20                         602/LOF, AA, MC
      68        24        68         24
      73        13        73         17
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       Amneal's Initial Designations                                                      Par's Counter Designations
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      73        20        73         24
      74        15        74         18
      74        20        74         24
      75         3        75         15
      75        17        75         24
      76         2        76          2
      81         5        81         10         602/LOF, AA, MC, V/incomplete
      91        13        91         17
      91        25        91         25
      92         2        92          2
      92         4        92          9
      92        11        92         11
      93         4        93         16
      93        24        93         25
      94         2        94          5
     106        11       106         25
     107         2       107         19
     107        21       107         25
     108         2       108          3
     108         5       108         25                                  AA, MC
     109         2       109          2
     109        19       109         23
     111        10       111         16
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       9        17         9         19                                                  9        20         9        21                   R, 403, 32
      10        17        10         22                                                 18        12        18        16                   R, 403, 32
      42        25        43          6                                                 18        22        19         2                   R, 403, 32
      46        23        47         14                                                 23         9        23        12                   R, 403, 32
      47        23        48          7                        801-802, 602/LOF         23        17        23        20             R, 403, 32, F, S
      63         3        63         23                                                 24        24        25         3             R, 403, 32, F, S
      64        11        64         13                                                 63        24        64         7         NA, C, INC, R, 403
      64        15        64         15                                                 64        17        64        19                   R, 403, 32
      70        22        70         25                                                 71         2        71         6    NQP, NA, C, 32, R, 403
      71        15        71         15                                                 82        25        83         3    NQP, NA, C, 32, R, 403
      75         9        75         15                                                 83         9        84        14             F, S, 32, R, 403
      75        24        75         25                                                158         2       158         4             F, S, 32, R, 403
      76         2        76          2                                                158         6       158         8             F, S, 32, R, 403
      79        19        79         25                                                159        24       160         3             F, S, 32, R, 403
      80         2        80          4                                                160         5       160         7             F, S, 32, R, 403
      80        23        80         25                                                161        25       162         4             F, S, 32, R, 403
      81         5        81          5                                                162         6       162         9             F, S, 32, R, 403
      82        21        82         24                                                163        10       163        13             F, S, 32, R, 403
      85        18        85         25                                                163        15       163        17             F, S, 32, R, 403
      86         2        86          2                                                168         2       168         4             F, S, 32, R, 403
     129         8       129         15                                 602/LOF        168         6       168        11             F, S, 32, R, 403
     129        18       129         23                                                172        18       172        19             F, S, 32, R, 403
     140        13       140         23                                                172        22       172        25             F, S, 32, R, 403
     140        24       140         25                                                199         3       199        20      F, S, LAY, R, 403, 32
     141         2       141          2                                                201         3       201         5      F, S, LAY, R, 403, 32
     141        11       141         23                                                202        18       202        22      F, S, LAY, R, 403, 32
     155        12       155         25                                                202        25       203         6      F, S, LAY, R, 403, 32
     156         2       156          2                                                219         4       219        10             F, S, R, 403, 32
     156         4       156          8                                                219        13       219        24             F, S, R, 403, 32
     156        14       156         25                                                220        19       220        21    NQP, NA, C, 32, R, 403
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     157        10       157         13                                               283        23       284         3            F, S, R, 403, 32
     158        10       158         25                   OS, 801-802, 602/LOF        284        11       284        15            F, S, R, 403, 32
     159         1       159          7                   OS, 801-802, 602/LOF        284        18       285         5            F, S, R, 403, 32
     160        19       160         25                                               285         7       285        11            F, S, R, 403, 32
     161         2       161          4                                               290         5       290         8            F, S, R, 403, 32
     162        24       162         25                                               290        11       290        25            F, S, R, 403, 32
     163         2       163          9                                               318        24       319        11            F, S, R, 403, 32
     165        23       165         25                                               320        12       320        24            F, S, R, 403, 32
     166         2       166         15
     166        24       166         25
     167         2       167         10
     167        19       167         25
     169        19       169         25
     170         2       170          7
     170        18       170         25
     171         2       171         21
     173        22       173         25
     174         2       174          2
     177        17       177         25
     178         2       178         10
     178        25       178         25                   OS, 801-802, 602/LOF
     179         2       179          2                   OS, 801-802, 602/LOF
     179         5       179          7
     200         9       200         25
     201         2       201          2
     217        21       217         25
     218         2       218         25
     219         2       219          3
     219        25       219         25
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     221         2       221          5
     221         8       221         20
     221        22       221         24
     222         2       222          8                                     602/LOF
     222        11       222         14
     222        17       222         19                                     602/LOF
     222        21       222         22
     223        10       223         13
     223        16       223         20
     223        22       223         25                                  OS, 801-802
     224         2       224          2                                  OS, 801-802
     224         4       224          5
     282         9       282         19
     286         7       286         14
     287         5       287         23
     291        22       291         25
     292         2       292          4
     319        12       319         25                     OS, 801-802, 602/LOF
     320         2       320          2                     OS, 801-802, 602/LOF
     320         7       320          7
     320         9       320         11

*Par objects to all designated testimony for this witness pursuant to Fed. R. Evid. 801, 802, and 804, and Fed. R. Civ. P. 45 as the witness is within
the subpoena power of the District of Delaware and Amneal has not demonstrated the witness is unavailable.
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                                                                        20        21        21         1                                     32, F
                                                                        21         4        21        12                                     32, F
                                                                        21        16        22         2                                     32, F
       14        19        15        11         401/402, 801-802        22         7        22        21
       23         2        23         5         401/402, 801-802
       23        12        23        17         401/402, 801-802
                                                                       66         11       66         12
                                                                       66         21       67          4
                                                                      141         22      142          5
                                                                      142          7      142          8
       24         4        24         8         401/402, 801-802      142         10      142         13
                                                                       28         18       28         24
       28        13        28        17         401/402, 801-802       29         21       30          2


                                                                        30         9        30       22
                                                                        31         5        31        9
       30         3        30         8         401/402, 801-802        32         2        32       19                                      32, F
       37         3        37        18         401/402, 801-802        37        23        38       11                            32, 403, FORM
       40        18        41        12
       42         1        42         4
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                                                                        47         2        47        18                                 32
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                                                                        48        23        49        17                                 32
                                                                        49        19        49        20                                 32
       42         8        42        23 401/402, 602/LOF, 801-802       76        21        78         3                                 32
                                                                        52        23        53        20                                 32
      52          5        52        22 401/402, 602/LOF, 801-802       76        21        78         3                                 32
     130          7       130        13
     132          1       132        12 401/402, 602/LOF, 801-802     134         23      135          3

     135         22       136        21 401/402, 602/LOF, 801-802
     137          6       138         4 401/402, 602/LOF, 801-802

                                                                      139          9      139         14                                 OS
     138         10       138        14 401/402, 602/LOF, 801-802
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                                                                      142          7      142          8
                                                                      142         10      142         13
                                                                      142         21      143          5
     140          2       140         5 401/402, 602/LOF, 801-802     143          7      143         11
     144          6       144         8                               144          9      144         12                                 32
     162          4       162        16 401/402, 602/LOF, 801-802     163         17      163         19
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     164         22       165         9
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     169         13       170        18                   801-802       37        23        38       11                            32, 403, FORM
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                                                                      177          8      177         17
     171          4       171        18 401/402, 602/LOF, 801-802     178         23      179         12

     172          4       172        19 401/402, 602/LOF, 801-802
                                           401/402, 403, 602/LOF,
     173          2       173        17                   801-802
     174         12       176         3    401/402, 403, 602/LOF,      42         24       43          7
                                                701-702, 801-802       43         24       44         14
                                                                       45          2       45          4
                                                                       46         17       46         24
                                                                       47          2       47         18
                                                                       47         24       48         21
                                                                       48         23       49         17
                                                                       49         19       49         20
                                                                       52         23       53         20
                                                                                                                                             32
                                                                       76         21       78          3
                                                                                                                                             32
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Par incorporates by reference its initial designations from the 11/25/2020 deposition of Hardik Joshi. In addition to the objections to Amneal's
designations listed above, Par objects to Amneal's designations of its own 30(b)(6) designee as impermissible under Fed. R. Civ. P. 32 and Fed. R.
Evid. 601-602, 801-804.

Amneal incorporates by reference its objections to Par's initial designations from the 11/25/2020 deposition of Hardik Joshi.
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     11       24         11          25                                            10         18         11       11    C, R, 403, NQP, NA , 32
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     16        3         16          12                                            77          4         77       19             F, S, R, 403, 32
     16       17         16          20                                           108         19        108       25             F, S, R, 403, 32
     17        3         17           9                                           109          7        109       13             F, S, R, 403, 32
     23       25         23          25                                           109         19        109       22             F, S, R, 403, 32
     24        2         24           3
     24        6         24           6
     24        8         24          13                     P, AA, 401, 403
     24       14         24          14                     P, AA, 401, 403
     24       15         24          19                     P, AA, 401, 403
     26       22         26          25                     P, AA, 401, 403
     27        2         27           2                     P, AA, 401, 403
     27        3         27           6                     P, AA, 401, 403
     27        8         27          14                     P, AA, 401, 403
     32       24         32          25
     33        2         33           3
     33       22         33          25
     34        2         34          10
     34       17         34          25
     35        2         35          14
     37        6         37          15
     43       14         43          22                      P, AA, 401-403
     43       24         43          25                      P, AA, 401-403
     44        2         44           7                      P, AA, 401-403
     51       22         51          25
     52        2         52          25
     53        2         53          25
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     56        9         56          18
     57        9         57          25
     58        2         58           5
     58       15         58          25
     59        2         59          24
     60       23         60          25
     61        2         61          25
     62        2         62           3
     62       23         62          25
     63        2         63          20
     64       14         64          25
     65        2         65          18
     65       20         65          20
     65       22         65          25
     66        2         66          25
     67        2         67           7
     68       17         68          25
     69        2         69           2
     69       25         69          25                      P, AA, 401-403
     70        2         70           8                      P, AA, 401-403
     70        9         70           9                      P, AA, 401-403
     70       11         70          17                      P, AA, 401-403
     70       18         70          18                      P, AA, 401-403
     70       20         70          25                      P, AA, 401-403
     71        2         71           2                      P, AA, 401-403
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     75       17         75          25
     76        2         76           6
     77       20         77          25                 602/LOF, 701/702
     78        4         78           6                 602/LOF, 701/702
     78        7         78           7                 602/LOF, 701/702
     79        6         79           9        602/LOF, 401-403, 701/702
     79       13         79          16        602/LOF, 401-403, 701/702
     80       10         80          16
     80       20         80          21
     82       17         82          22        602/LOF, 401-403, 701/702
     82       24         82          25        602/LOF, 401-403, 701/702
     83        2         83          11        602/LOF, 401-403, 701/702
     83       13         83          15
     83       18         83          18
     83       20         83          24                      P, AA, 401-403
     84        3         84          10                      P, AA, 401-403
     84       12         84          18                      P, AA, 401-403
     84       19         84          20                      P, AA, 401-403
     84       22         84          25                      P, AA, 401-403
     85        2         85           6                      P, AA, 401-403
     85       19         85          25
     86        2         86           8
     86       20         86          25
     87        2         87          14
     87       21         87          25
     88        2         88           6
     88       15         88          17
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     88       22        88           25
     89       20        89           25
     90        2        90           24
     91       10        91           17
     91       19        91           20
     93        9        93           21
     94        5        94            7
     94        9        94           16
     95        7        95           11
     95       13        95           14
     97       11        97           22
     98       14        98           21
     99        3        99            5
     99       19        99           23
    100        2       100            4
    100        9       100           13
    101       25       101           25
    102        2       102            9
    102       12       102           13
    102       15       102           18
    102       21       102           23
    102       25       102           25
    103        2       103           25
    104        2       104            8
    104       21       104           25
    106       13       106           20
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    107       14       107           14                      P, AA, 401-403
    107       16       107           20                      P, AA, 401-403
    107       22       107           25                      P, AA, 401-403
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    108         2      108               7          P, 602/LOF, AA, 401-403
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    108       10       108           14             P, 602/LOF, AA, 401-403
    110       13       110           20                AA, Misstates the law
    111        3       111            4                AA, Misstates the law
    111        6       111           14                AA, Misstates the law
    111       20       111           21                AA, Misstates the law
    111       23       111           25
    112        2       112            5
    112       11       112           12
    113        6       113           15                AA, Misstates the law
    113       19       113           20                AA, Misstates the law
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    115       21       115           25                              701/702
    116        2       116            5       AA, Misstates the law, 401-403
    116       11       116           14       AA, Misstates the law, 401-403
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    117         3      117           19                              701/702
                                             AA, Misstates the law, 601/LOF,
    117       22       117           25                              701/702
    119       19       119           25
    120        7       120            7
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    121        3       121           25                      AA, P, 401-403
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    122        2       122           13
    122       15       122           17                      401-403, AA, P
    122       20       122           25                      401-403, AA, P
    123        2       123            9                      401-403, AA, P
    123       13       123           21                      401-403, AA, P
    123       23       123           25                      401-403, AA, P
    124        2       124           17                      401-403, AA, P
    125       18       125           25
    126        6       126            6
    126        8       126           25                      401-403, AA, P
    127        2       127            3                      401-403, AA, P
    127        5       127           15                      401-403, AA, P
    127       17       127           25
    128        2       128            9
    128       17       128           17
    128       19       128           25                      401-403, AA, P
    129        2       129            3                      401-403, AA, P
    129        5       129           11                      401-403, AA, P
    129       13       129           22                      401-403, AA, P
    129       24       129           25
    130        2       130           12
    130       20       130           20
    130       22       130           25                      401-403, AA, P
    131        2       131            6                      401-403, AA, P
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    132        2       132            6                      401-403, AA, P
    132        8       132           20
    133        3       133            8                      401-403, AA, P
    133       11       133           12                      401-403, AA, P
    133       14       133           18                      401-403, AA, P
    133       20       133           23                      401-403, AA, P
    133       25       133           25                      401-403, AA, P
    134        2       134            9                      401-403, AA, P
    135       19       135           23
    136        3       136            4
    136        6       136           18                      401-403, AA, P
    136       20       136           25                      401-403, AA, P
    137        2       137            4                      401-403, AA, P
    137        6       137           16                      401-403, AA, P
    137       18       137           20                      401-403, AA, P
    137       24       137           25                      401-403, AA, P
    138        2       138            9                      401-403, AA, P
    139       12       139           25
    140        4       140            4
    140       13       140           25
    141        2       141            3
    141       15       141           25
    142        2       142           18
    142       20       142           21
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    143        2       143           25
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    144       17       144           25                      401-403, AA, P
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    145        2       145            3                      401-403, AA, P
    145        4       145            5                      401-403, AA, P
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    147       24       147           25                      401-403, AA, P
    148        2       148            3                      401-403, AA, P
    148        6       148           17                      401-403, AA, P
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    151       10       151           10
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    151       22       151           25                      401-403, AA, P
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    155        2       155           14
    156        4       156           25
    157        2       157            2
    157        5       157           10
    158       22       158           25
    159        2       159            5
    159        9       159           12
    159       20       159           25     AA, 401-403, 602/LOF, 701/702
    160        6       160            8     AA, 401-403, 602/LOF, 701/702
    161        8       161           14     AA, 401-403, 602/LOF, 701/702
    161       19       161           23     AA, 401-403, 602/LOF, 701/702
    161       25       161           25              AA, 602/LOF, 701/702
    162        2       162           17              AA, 602/LOF, 701/702
    164        3       164            9     AA, 401-403, 602/LOF, 701/702
    164       12       164           16     AA, 401-403, 602/LOF, 701/702
    165       23       165           25     AA, 401-403, 602/LOF, 701/702
    166        2       166            6     AA, 401-403, 602/LOF, 701/702
    166       10       166           14     AA, 401-403, 602/LOF, 701/702
    166       16       166           22     AA, 401-403, 602/LOF, 701/702
    167        2       167            6     AA, 401-403, 602/LOF, 701/702
    167        8       167           13
    167       20       167           20
    168       18       168           23     AA, 401-403, 602/LOF, 701/702
    169        4       169            8     AA, 401-403, 602/LOF, 701/702
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    172        2       172            5
    172        7       172            9
    173       12       173           16
    173       19       173           20
    174       17       174           23     AA, 401-403, 602/LOF, 701/702
    175        3       175            5     AA, 401-403, 602/LOF, 701/702
    175        7       175           11     AA, 401-403, 602/LOF, 701/702
    175       15       175           16     AA, 401-403, 602/LOF, 701/702
    197        9       197           13
    201       10       201           24
    202        4       202            6
    204       23       204           25
    205        2       205            4
    205        9       205           25
    206        2       206            2
    206       21       206           25
    207        2       207            2
    207        9       207           17
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      10         2        10          4                                                    18        14        18        25             R, NQP, 403, 32
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      17        14        17         23                          401, 402, 403, V          20        24        20        25              F, S, R, 403, 32
      17        25        17         25                          401, 402, 403, V          23        13        23        20                            32
      18         2        18          2                          401, 402, 403, V          23        21        23        24              F, S, R, 403, 32
      18         4        18          7                          401, 402, 403, V          24        11        24        13              F, S, R, 403, 32
      18         9        18         10                          401, 402, 403, V          27        10        27        14              F, S, R, 403, 32
      19        22        19         25                                                    28        20        28        22              F, S, R, 403, 32
      20         2        20          5                                                    29        15        29        18              F, S, R, 403, 32

      20        16        20         22    401, 402, 403, 602, LOF, 801, 802, 901          30         5        30         7                    R, 403, 32
      21         6        21         12                   401, 402, 403, 801, 802          30         9        30        11                    R, 403, 32
      23        25        23         25              401, 402, 403, 602, LOF, 901          33        18        34        19                            32
      24         2        24          4              401, 402, 403, 602, LOF, 901          35         5        35         8                    R, 403, 32
      24         6        24         10              401, 402, 403, 602, LOF, 901          35        10        35        11                    R, 403, 32
      28         6        28         10              401, 402, 403, 602, LOF, 901          35        16        35        25                    R, 403, 32
      28        14        28         18                     602, LOF, 801, 802, V          36         3        36         4             NR, F, R, 403, 32
      29         7        29          9                     602, LOF, 801, 802, V          36         6        36        13                 F, R, 403, 32
      29        11        29         13                     602, LOF, 801, 802, V          36        15        36        17             NR, F, R, 403, 32
      30        21        30         25                401, 402, 403, 602, LOF, V          42        15        42        24              F, S, R, 403, 32
      31         2        31          2                401, 402, 403, 602, LOF, V          43         3        43         4              F, S, R, 403, 32
      31        12        31         25              401, 402, 403, 602, LOF, 901          43        14        43        18              F, S, R, 403, 32
      32         2        32         23                   401, 402, 403, 602, LOF          45         6        45        24         LAY, F, R, 403, S, 32
      33        11        33         17                             401, 402, 403          46        15        46        21         LAY, F, R, 403, S, 32
      34        20        34         23                   401, 402, 403, 602, LOF          47        16        47        24          H, NR, F, S, 403, 32
      34        25        34         25                   401, 402, 403, 602, LOF          48         2        48         4          H, NR, F, S, 403, 32
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      36        20        36         24                           401, 402, 403               58        20        58        24              F, S, R, 403, 32
      38        16        38         25                           401, 402, 403               70        18        70        25         LAY, F, R, 403, S, 32
      39         2        39          4                           401, 402, 403               71         2        71         5         LAY, F, R, 403, S, 32
      39        14        39         17                        401, 402, 403, V               77         4        77        18         LAY, F, S, R, 403, 32
      39        19        39         20                        401, 402, 403, V               78         6        78         9         LAY, F, S, R, 403, 32
      39        22        39         25                           401, 402, 403               78        12        78        13         LAY, F, S, R, 403, 32
      40         2        40         25                           401, 402, 403               78        15        78        17         LAY, F, S, R, 403, 32
      41         2        41         25                           401, 402, 403               80         5        80        10              F, S, R, 403, 32
      42         2        42         14                           401, 402, 403               80        23        80        25              F, S, R, 403, 32
      43         6        43          9                 401, 402, 403, 602, LOF               81         2        81         4              F, S, R, 403, 32
      43        11        43         12                 401, 402, 403, 602, LOF               81        12        81        18              F, S, R, 403, 32
      44         5        44         25                 401, 402, 403, 602, LOF               81        25        81        25              F, S, R, 403, 32
      45         2        45          2                                                       82         2        82        15              F, S, R, 403, 32
      46        22        46         24                            106, 602, LOF              82        18        82        19              F, S, R, 403, 32
      46        25        46         25                            106, 602, LOF              86         5        86        13         LAY, F, S, R, 403, 32
      47         2        47          3                            106, 602, LOF              86        16        86        20         LAY, F, S, R, 403, 32
      47        11        47         14                            106, 602, LOF              86        22        86        25         LAY, F, S, R, 403, 32
      48         6        48         14                            106, 602, LOF              87         2        87         3         LAY, F, S, R, 403, 32
      48        17        48         19                            106, 602, LOF              87        13        87        25         LAY, F, S, R, 403, 32
      48        25        48         25                                                       88         2        88         5         LAY, F, S, R, 403, 32
      49         2        49         18                 401, 402, 403, 701, 702               89         8        89        13         LAY, F, S, R, 403, 32
      49        21        49         22                 401, 402, 403, 701, 702               89        16        89        18         LAY, F, S, R, 403, 32
      50        11        50         17               401, 402, 403, 701, 702, V              89        20        89        21         LAY, F, S, R, 403, 32
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      51         5        51         15                 401, 402, 403, 701, 702              101        22       102         4              F, S, R, 403, 32
      55         3        55         16                                                      102        10       102        25              F, S, R, 403, 32
      56        15        56         21                                401, 402, 403         103         2       103         3              F, S, R, 403, 32
      58        25        58         25                                401, 402, 403         103        17       103        20              F, S, R, 403, 32
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      59        12        59         13                    401, 402, 403, 602, LOF          104        21       104        22              F, S, R, 403, 32
      59        19        59         24               106, 401, 402, 403, 602, LOF          105         9       105        11           H, F, S, R, 403, 32
      62        21        62         25                    401, 402, 403, 602, LOF          109        20       109        21              F, S, R, 403, 32
      63         2        63         10                    401, 402, 403, 602, LOF          109        23       109        24              F, S, R, 403, 32
      64         5        64         13                    401, 402, 403, 602, LOF          111        14       111        17              F, S, R, 403, 32
      74         8        74         18                    401, 402, 403, 602, LOF          118         4       118         5         LAY, F, S, R, 403, 32
      74        20        74         21                    401, 402, 403, 602, LOF          118         7       118         7         LAY, F, S, R, 403, 32
      74        23        74         25                 401, 402, 403, 602, LOF, C          118         9       118        25         LAY, F, S, R, 403, 32
      75         2        75          3                 401, 402, 403, 602, LOF, C          119         2       119         2         LAY, F, S, R, 403, 32
      75         5        75          5                 401, 402, 403, 602, LOF, C          119         5       119         5         LAY, F, S, R, 403, 32
      75         7        75         11                    401, 402, 403, 602, LOF          119         8       119        13         LAY, F, S, R, 403, 32
      75        13        75         14                    401, 402, 403, 602, LOF          121         3       121         6         LAY, F, S, R, 403, 32
      75        24        75         25                                   602, LOF          121        13       121        16         LAY, F, S, R, 403, 32
      76         2        76          2                                   602, LOF          121        19       121        20         LAY, F, S, R, 403, 32
      76         4        76          5                                   602, LOF          122        15       122        17         LAY, F, S, R, 403, 32
      76        16        76         18          401, 402, 403, 602, LOF, 701, 702          122        20       122        22         LAY, F, S, R, 403, 32
      76        22        76         25          401, 402, 403, 602, LOF, 701, 702          123        13       123        19         LAY, F, S, R, 403, 32
      77         2        77          2          401, 402, 403, 602, LOF, 701, 702          123        22       123        24         LAY, F, S, R, 403, 32
      78        24        78         25          401, 402, 403, 602, LOF, 701,702           124         2       124         5         LAY, F, S, R, 403, 32
      79         2        79          2          401, 402, 403, 602, LOF, 701,702           124         7       124         8         LAY, F, S, R, 403, 32
      79         5        79          7          401, 402, 403, 602, LOF, 701,702           124        25       124        25              F, S, R, 403, 32
      79         9        79         12                              401, 402, 403          125         2       125         7              F, S, R, 403, 32
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      79        13        79         17                                          V                                                    LAY, 32, F, S, R, 403
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      79        19        79         19                                          V          127         2       127         3         LAY, 32, F, S, R, 403
      79        23        79         25               401, 402, 403, 602, LOF, 901          127         5       127        11         LAY, 32, F, S, R, 403
      80         2        80          3               401, 402, 403, 602, LOF, 901          127        13       127        16         LAY, 32, F, S, R, 403
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      81        19        81         24                  401, 402, 403, 602, LOF          130       16       130        20        LAY, F, S, R, 403, 32
      85        13        85         17        401, 402, 403, 602, LOF, 701, 702          150       24       150        25      LAY, 32, H, F, S, R, 403
      85        20        85         21        401, 402, 403, 602, LOF, 701, 702          151        2       151        22      LAY, 32, H, F, S, R, 403
      87         4        87         12                            401, 402, 403          153        5       153        12      LAY, 32, H, F, S, R, 403
      97         8        97         18                            401, 402, 403          153       15       153        18      LAY, 32, H, F, S, R, 403
      99        22        99         24                                                   153       20       153        25      LAY, 32, H, F, S, R, 403
     100         5       100         11                                                   154        2       154        21      LAY, 32, H, F, S, R, 403
     101         3       101         21        401, 402, 403, 602, LOF, 901, 902          154       24       154        25      LAY, 32, H, F, S, R, 403
     103         4       103          5                                                   155        3       155         5      LAY, 32, H, F, S, R, 403
     103         6       103          9                                                   156        5       156        12      LAY, 32, H, F, S, R, 403
     104         4       104         16                                602, LOF           156       15       156        17      LAY, 32, H, F, S, R, 403
     107        14       107         17                      602, LOF, 701, 702           156       19       156        21        LAY, 32, F, S, R, 403
     107        20       107         22                      602, LOF, 701, 702           156       24       156        25        LAY, 32, F, S, R, 403
     108         6       108          9                      602, LOF, 701, 702           157        2       157         3        LAY, 32, F, S, R, 403
     108        12       108         14                      602, LOF, 701, 702           157        5       157         6        LAY, 32, F, S, R, 403
     108        16       108         25              602, LOF, 701, 702, MC, AA           157        9       157        11        LAY, 32, F, S, R, 403
     109         2       109         13              602, LOF, 701, 702, MC, AA           157       13       157        25        LAY, 32, F, S, R, 403
     109        15       109         19                                602, LOF           158        2       158        20        LAY, 32, F, S, R, 403
     110         4       110         17                           106, 701, 702           161       16       161        22                   R, 403, 32
     110        20       110         22                                701, 702           163       13       163        21                   R, 403, 32
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     111        19       111         25                                                   175       17       175        20        LAY, 32, F, S, R, 403
     112         2       112          7                                                   175       22       175        22        LAY, 32, F, S, R, 403
     112         9       112         11                                                   175       25       175        25        LAY, 32, F, S, R, 403
     114        16       114         19                       602, LOF, 701, 702          176        3       176         6        LAY, 32, F, S, R, 403
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     115         2       115          6                       602, LOF, 701, 702          177        3       177         5         LAY, 32, F, S, R, 403
     116        11       116         16                       602, LOF, 701, 702          177        8       177        14         LAY, 32, F, S, R, 403
     116        19       116         23                       602, LOF, 701, 702          177       16       178         7         LAY, 32, F, S, R, 403
     117         3       117          5                       602, LOF, 701, 702          182       13       182        18              F, S, R, 32, 403
     117         8       117          9                       602, LOF, 701, 702          182       20       182        25              F, S, R, 32, 403
     117        11       117         13                       602, LOF, 701, 702          183        2       183         7              F, S, R, 32, 403
     117        15       117         17                       602, LOF, 701, 702          183       21       183        23              F, S, R, 32, 403
     117        19       117         21                       602, LOF, 701, 702          183       25       183        25              F, S, R, 32, 403
     117        23       117         25                       602, LOF, 701, 702          184        2       184         2              F, S, R, 32, 403
     118         2       118          2                       602, LOF, 701, 702          184        4       184         7              F, S, R, 32, 403
     119        15       119         22                                                   184        9       184        11              F, S, R, 32, 403
     121         7       121          8                                701, 702           184       13       184        20              F, S, R, 32, 403
     121         9       121         12                                701, 702           184       22       184        25              F, S, R, 32, 403
     123         2       123          7                 106, 602, LOF, 701, 702           185        2       185         7              F, S, R, 32, 403
     123        10       123         11                 106, 602, LOF, 701, 702           185       10       185        11              F, S, R, 32, 403
     124        12       124         16                                                   185       13       185        25         LAY, F, S, R, 32, 403
     124        18       124         24                                                   186        2       186         7         LAY, F, S, R, 32, 403
     125         8       125          8                           401, 402, 403           186        9       186        18         LAY, F, S, R, 32, 403
     125         9       125         17                           401, 402, 403           187        7       187        10         LAY, F, S, R, 32, 403
     127        18       127         21                 401, 402, 403, 701, 702           187       13       187        20         LAY, F, S, R, 32, 403
     127        23       127         25                 401, 402, 403, 701, 702           188        3       188         5         LAY, F, S, R, 32, 403
     128         8       128         19                 401, 402, 403, 701, 702           188        8       188        11         LAY, F, S, R, 32, 403
     128        22       128         24                 401, 402, 403, 701, 702           209       14       209        19              32, F, S, R, 403
     129         6       129         20                           401, 402, 403           209       21       209        25              32, F, S, R, 403
     129        25       129         25                 401, 402, 403, 701, 702           210        2       210         7              32, F, S, R, 403
     130         2       130         10                 401, 402, 403, 701, 702           210        9       210        10              32, F, S, R, 403
     130        13       130         14                 401, 402, 403, 701, 702           210       12       210        16              32, F, S, R, 403
     132        14       132         25                           401, 402, 403           210       24       210        25              32, F, S, R, 403
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     133         4       133          6                            401, 402, 403          211       18       211        25              32, F, S, R, 403
     133         8       133         20                            401, 402, 403          212        2       212         4              32, F, S, R, 403
     133        23       133         24                            401, 402, 403          213       10       213        13              32, F, S, R, 403
     145        25       145         25                                 602, LOF          213       15       213        15              32, F, S, R, 403
     146         2       146          9                                 602, LOF          213       17       213        20              32, F, S, R, 403
     147         9       147         25                            401, 402, 403          214       16       214        20              32, F, S, R, 403
     148         2       148          5                            401, 402, 403          215       11       215        15                    R, 403, 32
     161        23       161         24                  401, 402,403, 602, LOF           216       11       216        18                            32
     162         2       162         13                  401, 402,403, 602, LOF           218       23       218        25        LAY, 32, F, S, R, 403
     162        15       162         25         401, 402,403, 602, LOF, 701, 702          219        2       219         8        LAY, 32, F, S, R, 403
     163        22       163         25                                                   219       10       219        12        LAY, 32, F, S, R, 403
     164         2       164          8         401, 402,403, 602, LOF, 701, 702          222       15       222        24                    R, 403, 32
     171        13       171         25                  401, 402, 403, 701, 702          223       24       223        25              F, S, R, 403, 32
     172         2       172          6                            401, 402, 403          224        2       224        25              F, S, R, 403, 32
     172         8       172          9                            401, 402, 403          225        2       225         7              F, S, R, 403, 32
     172        11       172         19                            401, 402, 403          225        8       225        12              F, S, R, 403, 32
     173         9       173         11         401, 402,403, 602, LOF, 701, 702          226       25       226        25              F, S, R, 403, 32
     173        14       173         14         401, 402,403, 602, LOF, 701, 702          227        2       227         3              F, S, R, 403, 32
     173        16       173         19         401, 402,403, 602, LOF, 701, 702          227        6       227         7              F, S, R, 403, 32
     173        22       173         25         401, 402,403, 602, LOF, 701, 702          227        9       227        11              F, S, R, 403, 32
     174         2       174          3         401, 402,403, 602, LOF, 701, 702          227       14       227        15              F, S, R, 403, 32
     174         5       174          7         401, 402,403, 602, LOF, 701, 702          228       19       228        25          32, F, S, R, 403, H
     174        10       174         12         401, 402,403, 602, LOF, 701, 702          229        2       229        25          32, F, S, R, 403, H
     174        16       174         22                             401, 402,403          230        2       230        25        32, F, S, R, 403, C, H
     175         2       175          4                             401, 402,403          231        2       231         2          32, F, S, R, 403, H
     175         7       175          8                             401, 402,403          232        7       232        20              F, S, R, 403, 32
     214        24       214         25                                                   233       10       232        18              F, S, R, 403, 32
     215         2       215          4                                                   234        3       234        12              F, S, R, 403, 32
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     215        23       215         25                                         V          236       15       236        21     F, S, R, 403, H, LAY, 32
     216         2       216          2                                         V          237       11       237        14               F, S, R, 403, 32
     217        20       217         25                                                    237       16       237        19               F, S, R, 403, 32
     218         2       218          3                                                    241        4       241         6                     R, 403, 32
     218         5       218          8                                                    241       17       241        18                     R, 403, 32
     218        10       218         12                                                    241       20       241        24                     R, 403, 32
     219        22       219         25                401, 402, 403, 602, LOF, V          244       18       244        20                     R, 403, 32
     220         2       220          8                401, 402, 403, 602, LOF, V          244       23       244        25                     R, 403, 32
     220        11       220         12      401, 402, 403, 602, LOF, 701, 702, V          246       16       247         8                     R, 403, 32
     220        16       220         20      401, 402, 403, 602, LOF, 701, 702, V          247       18       247        23            F, LAY, R, 403, 32
     220        23       220         25      401, 402, 403, 602, LOF, 701, 702, V          248        2       248         4            F, LAY, R, 403, 32
     221         2       221          8      401, 402, 403, 602, LOF, 701, 702, V          255       10       255        12                     R, 403, 32
     221        10       221         12      401, 402, 403, 602, LOF, 701, 702, V          258        2       258         4         LAY, F, S, R, 403, 32
     221        15       221         18      401, 402, 403, 602, LOF, 701, 702, V          258        7       258         9         LAY, F, S, R, 403, 32
     221        20       221         23                  401, 402, 403, 701, 702           261       20       261        23         LAY, F, S, R, 403, 32
     222         2       222          3                  401, 402, 403, 701, 702           262        2       262         4         LAY, F, S, R, 403, 32
     222         5       222          8      401, 402, 403, 602, LOF, 701, 702, V          262        6       262        13         LAY, F, S, R, 403, 32
     222        11       222         12      401, 402, 403, 602, LOF, 701, 702, V          262       25       262        25               32, LAY, R, 403
     222        25       222         25                                                    263        2       263         3               32, LAY, R, 403
     223         2       223         13                                                    263        5       263        10               32, LAY, R, 403
     225        19       225         25                            401, 402, 403           271       21       271        25                  32, R, 403, C
     226         2       226         15                401, 402, 403, 701, 702, V          272        7       272        10           32, F, S, H, R, 403
     226        18       226         24                401, 402, 403, 701, 702, V          272       13       272        17           32, F, S, H, R, 403
     228         3       228         15                                         V          272       19       272        19   32, F, S, H, R, 403, FORM
     228        16       228         18                                                    273        5       273         7   32, F, S, H, R, 403, FORM
     231         6       231         19                                                    273        9       273        13   32, F, S, H, R, 403, FORM
     231        24       231         25                                                    273       15       273        25   32, F, S, H, R, 403, FORM
     232         2       232          6                                                    274       16       274        20           32, F, S, H, R, 403
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     233         3       233          9                                                   274       22       274        25              32, F, S, H, R, 403
     233        19       233         25                                                   275        2       275        10              32, F, S, H, R, 403
     234         2       234          2                                                   275       20       275        21                      R, 403, 32
     234        13       234         25                                                   276       25       276        25   LAY, FORM, H, 32, F, S, R, 403
     235         2       235         25                                                   277        2       277        10   LAY, FORM, H, 32, F, S, R, 403
     236         2       236         10                                                   277       21       277        23   LAY, FORM, H, 32, F, S, R, 403
     236        23       236         25                                                   277       25       277        25   LAY, FORM, H, 32, F, S, R, 403
     237         2       237          6                                        V          278        2       278         2   LAY, FORM, H, 32, F, S, R, 403
     237         8       237          9                                        V          278        4       278         7            LAY, 32, F, S, R, 403
     238         5       238         11                                                   278       11       278        14                 32, F, S, R, 403
     238        14       238         25                                      106          278       15       278        17                      R, 403, 32
     239         2       239         25                                                   278       22       278        25              H, R, 403, 32, F, S
     240         2       240          5                                                   279        2       279         8              H, R, 403, 32, F, S
     240         7       240         10                                                   279       15       279        21              H, R, 403, 32, F, S
     240        12       240         16
     240        21       240         25
     241         2       241          3
     246         3       246          7
     246         9       246         15
     248         6       248          7           401, 402, 403, 602, LOF, Legal
     248        10       248         12           401, 402, 403, 602, LOF, Legal
     251        16       251         25                 401, 402, 403, 602, LOF
     252         2       252          2                 401, 402, 403, 602, LOF
     252         4       252          4                 401, 402, 403, 602, LOF
     252        22       252         25                     401, 402, 403, Legal
     253         2       253          2                     401, 402, 403, Legal
     253         6       253          6                     401, 402, 403, Legal
     253        25       253         25                 401, 402, 403, 602, LOF
     254         2       254          6                 401, 402, 403, 602, LOF
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     254         8       254         10                             401, 402, 403
     254        12       254         16                          401, 402, 403, V
     254        18       254         18                          401, 402, 403, V
     254        20       254         25                             401, 402, 403
     255         2       255          4                             401, 402, 403
     257        10       257         12   401, 402, 403, 602, LOF, 701, 702, Legal

     257        16       257         20   401, 402, 403, 602, LOF, 701, 702, Legal

     257        22       257         25   401, 402, 403, 602, LOF, 701, 702, Legal

     260        15       260         17         401, 402, 403, 602, LOF, 701, 702
     260        21       260         25         401, 402, 403, 602, LOF, 701, 702
     262        14       262         16         401, 402, 403, 602, LOF, 701, 702
     262        19       262         24    106, 401, 402, 403, 602, LOF, 701, 702

     281         7       281         11
     281        23       281         25
     282         2       282         14
     282        16       282         18
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         8          8          8      10                                                  8         19         8        24
        8        13         8        18                                                  13         12        13        15
       27         4        27         8                                                  16         20        17        23               R, 403, S, 32
       39         7        39        15      106, 401, 402, 403, 602, LOF, Legal         18         11        18        17                  R, 403, 32
       42         6        43         3      106, 401, 402, 403, 602, LOF, Legal         18         21        19         2                  R, 403, 32
       46        21        46        23      106, 401, 402, 403, 602, LOF, Legal         19          4        19         6                  R, 403, 32
       47        14        47        17      106, 401, 402, 403, 602, LOF, Legal         19         16        19        20                  R, 403, 32
       47        19        47        19      106, 401, 402, 403, 602, LOF, Legal         19         22        20         5                  R, 403, 32
       58        23        59         3                                     LOF          20         11        20        16                  R, 403, 32
       60        24        61         6       401, 402, 403, 602, LOF, 701, 702          23         25        24        13                  R, 403, 32
       61         9        61        13       401, 402, 403, 602, LOF, 701, 702          24         17        24        20            R, 403, 32, NR
       61        15        61        22     401, 402, 403, 602, LOF, 701, 702, V         25         21        25        22            R, 403, 32, F, S
       61        25        62         6     401, 402, 403, 602, LOF, 701, 702, V         25         24        26         5            R, 403, 32, F, S
       65         2        65         4                 401, 402, 403, 602, LOF          26          7        26        16            R, 403, 32, F, S
       65         7        65        13                 401, 402, 403, 602, LOF          26         24        27         3            R, 403, 32, F, S
       66         8        66        21                 401, 402, 403, 602, LOF          36         11        36        13            R, 403, 32, F, S
       67         8        67        13       401, 402, 403, 602, LOF, 701, 702          36         15        36        21            R, 403, 32, F, S
       67        16        67        17       401, 402, 403, 602, LOF, 701, 702          36         23        36        24            R, 403, 32, F, S
       68         7        68         9                 401, 402, 403, 602, LOF          37         23        38         2                          32
       68        11        68        14            106, 401, 402, 403, 602, LOF          38          8        38        13                  R, 403, 32
       71        17        71        21                                                  38         17        39         6   LAY, NR, R, 403, 32, F, S
       72         4        72         8                                                  40         13        40        21                NR, 32, LAY
       72        10        72        11                                                  42          2        42         5               F, R, 403, 32
       72        21        72        23                                 602, LOF         59         18        59        20         R, 403, 32, F, LAY
       73         5        73        13        401, 402, 403, 602, LOF, 701, 702         59         22        60         3         R, 403, 32, F, LAY
       73        15        73        17        401, 402, 403, 602, LOF, 701, 702         60         12        60        18         R, 403, 32, F, LAY
       74         5        74        10                  401, 402, 403, 602, LOF         60         21        60        23         R, 403, 32, F, LAY
       77        10        77        22                  401, 402, 403, 602, LOF         68         18        68        20                  R, 403, 32
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       98        21        98        24                       401, 402, 403, LOF             72         12        72        16          R, 403, S, F, 32
       99        11        99        18                                                      74         11        74        17            R, 403, 32, H
       99        22        99        23                                                      75          3        75        16             LAY, 403, 32
     100          3       101         2                                401, 402, 403         80          6        80        23          403, S, F, 32, H
     101          4       101         5                                                      80         25        81         4          403, S, F, 32, H
     102         23       103         5        401, 402, 403, 602, LOF, 701, 702             81          9        81        23          403, S, F, 32, H
     103          8       103        15        401, 402, 403, 602, LOF, 701, 702             91          3        91        25          403, S, F, 32, H
     103         24       104        13                                                      92          4        92         7             403, S, F, 32
     104         15       105         2                                                      94         17        95        13             403, S, F, 32
     105         25       106        10                                                      98         13        98        20          403, S, F, 32, H
     106         12       106        24        401, 402, 403, 602, LOF, 701, 702             98         25        99         2       LAY, S, F, 403, 32
     107          2       107        23        401, 402, 403, 602, LOF, 701, 702             99          4        99        10       LAY, S, F, 403, 32
     107         25       108        15                  401, 402, 403, 701, 702            101         11       101        14       LAY, S, F, 403, 32
     109          9       109        16                  401, 402, 403, 602, LOF            101         17       102        10       LAY, S, F, 403, 32
     115         23       115        25                                                     102         12       102        22       LAY, S, F, 403, 32
     116          4       116        13                                                     103         16       103        18       LAY, S, F, 403, 32
     123         10       123        14                                                     103         21       103        23       LAY, S, F, 403, 32
     124          2       124         4                                                     105         13       105        24          R, 403, 32, LAY
     124         11       124        13                                                     126          3       126         4          R, 403, 32, S, F
     124         22       124        23                                                     126          7       126         7          R, 403, 32, S, F
     125          2       125         6                                                     136          9       136        13            R, 403, H, 32
     125         18       125        20                                                     138          6       138         8          R, 403, 32, S, F
     125         24       126         2                                                     138         10       138        13          R, 403, 32, S, F
     127         22       128         4                                                     139         13       139        21     403, 32, S, F, H, LAY
     135         19       135        25                 401, 402, 403, 602, LOF             139         25       140         6     403, 32, S, F, H, LAY
     136          5       136         8                 401, 402, 403, 602, LOF             140          8       140        21     403, 32, S, F, H, LAY
     136         14       137         5                 401, 402, 403, 602, LOF             147         22       147        25                        32
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     144         22       145        15        401, 402, 403, 602, LOF, 701, 702        148          8       148        16             LAY, 403, 32
     151         16       151        19                       401, 402, 403, LOF        152         17       152        20          R, 403, 32, S, F
     151         21       151        25                                                 153         24       154         2     R, 403, 32, S, F, LAY
     152          7       152        16                       401, 402, 403, LOF        154          5       154        15     R, 403, 32, S, F, LAY
                                                                                        154         17       154        25     R, 403, 32, S, F, LAY
                                                                                        179          8       179         9               R, 403, 32
                                                                                        179         14       179        20               R, 403, 32
                                                                                        179         21       179        23               R, 403, 32
                                                                                        209         13       209        19     R, 403, 32, FORM, S
                                                                                        209         21       209        24     R, 403, 32, FORM, S
                                                                                        210          2       211        13          R, 403, 32, LAY
                                                                                        211         15       214        13     R, 403, 32, LAY, H, F
                                                                                        214         19       215        15     R, 403, 32, LAY, H, F
                                                                                        215         18       216        14     R, 403, 32, LAY, H, F
                                                                                        216         18       217        17     R, 403, 32, LAY, H, F
                                                                                        217         19       217        25     R, 403, 32, LAY, H, F
                                                                                        218          3       218         4     R, 403, 32, LAY, H, F
                                                                                        218          6       218         9     R, 403, 32, LAY, H, F
                                                                                        218         19       219         5     R, 403, 32, LAY, H, F
                                                                                        219          7       219        10     R, 403, 32, LAY, H, F
                                                                                        219         12       219        24     R, 403, 32, LAY, H, F
                                                                                        220         20       221         7          403, 32, LAY, F
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      60         2        60         15                  401/402, 403, 602/LOF          118          2       118        20            F, S, R, 403, 32
      60        17        60         19                  401/402, 403, 602/LOF          118         24       118        25            F, S, R, 403, 32
     197         5       197         10                                                 119          2       119         6            F, S, R, 403, 32
     198         5       198         19                                                 119          8       119        16            F, S, R, 403, 32
     198        21       198         22                                                 197         11       197        25            F, S, R, 403, 32
     199         6       199          8                                                 198          2       198         4            F, S, R, 403, 32
     199        10       199         12                                                 198         24       198        25         F, S, R, 403, 32, H
     199        14       199         15                                                 199          2       199         5         F, S, R, 403, 32, H
     199        17       199         18                                                 199         20       199        25            F, S, R, 403, 32
     200        21       200         25             401/402, 403, 602/LOF, OS           200          2       200         7            F, S, R, 403, 32
     201         1       201          8             401/402, 403, 602/LOF, OS           200         10       200        12            F, S, R, 403, 32
     201        10       201         16                 401/402, 403, 602/LOF           202         10       202        17      F, S, R, 403, 32, LAY
     201        17       201         24             401/402, 403, 602/LOF, OS           213         10       213        15      F, S, R, 403, 32, LAY
     202         3       202          8             401/402, 403, 602/LOF, OS           214          2       214        25         H, F, S, R, 403, 32
     202        21       202         25                 401/402, 403, 602/LOF           215          2       215        10         H, F, S, R, 403, 32
     203         1       203         13        401/402, 403, 602/LOF, 701/702
     203        16       203         21        401/402, 403, 602/LOF, 701/702
     203        23       203         25        401/402, 403, 602/LOF, 701/702
     204         2       204          5        401/402, 403, 602/LOF, 701/702
     204         8       204         11        401/402, 403, 602/LOF, 701/702
     204        15       204         23        401/402, 403, 602/LOF, 701/702
     205         2       205          3        401/402, 403, 602/LOF, 701/702
     205         5       205          7        401/402, 403, 602/LOF, 701/702
     205        10       205         12        401/402, 403, 602/LOF, 701/702
     205        14       205         19        401/402, 403, 602/LOF, 701/702
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     206         2       206          3        401/402, 403, 602/LOF, 701/702
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     206        17       206         24        401/402, 403, 602/LOF, 701/702
     207         2       207          4                          401/402, 403
     207         6       207         10                          401/402, 403
     207        12       207         18                          401/402, 403
     207        20       207         24                 401/402, 403, 602/LOF
     208         3       208          3                 401/402, 403, 602/LOF
     208         6       208          8                 401/402, 403, 602/LOF
     208        10       208         15                 401/402, 403, 602/LOF
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      13         3        13         10                                                      25         10          25          17        H, R, F, 32, 403, S
      13        21        13         25                                                      25         22          26          15                 32, R, 403
      19        22        19         25                                                      28          4          28           6
      20         2        20          7                                                      28         23          28          25
      20         9        20         10                                                      29          2          29           3
      20        21        20         25                           401, 402, 403              30          5          30           7       NQP, R, 403, C, 32
      21         2        21          2                           401, 402, 403              31          4          31           9       NQP, R, 403, C, 32
      26        20        26         24                      401, 402, 403, LOF              39         20          40           7             H, R, F, 403
      26        25        27          6                                     LOF              44          4          44           9                    R, 403
      28         7        28         10                 106, 401, 402, 403, LOF              47          3          47           7         32, NQP, R, 403
      29        15        29         25                                801, 802              67         11          67          21              F, S, R, 403
      30         2        30          4                                                      68          2          68           4              S, F, R, 403
      30         8        30         17                                                      78          2          78           8
      30        19        30         21                                                      78         12          78          16
      36        11        36         19                                    602, LOF          79         12          79          23          32, F, R, S, 403
      36        24        36         25                                                      80          2          80           3          32, F, R, S, 403
      37         2        37          4                                                      80          9          80          13        32, F, R, S, 403, H
      37         6        37          8                                801, 802              80         17          80          25        32, F, R, S, 403, H
      37        22        37         25                                801, 802              81          8          81           9          32, F, R, S, 403
      38         2        38         16                                801, 802              81         11          81          25        32, F, R, S, 403, H
      39         9        39         19                 401, 402, 403, 801, 802              98         18          98          23               F, S, R, 403
      43        14        43         25                 401, 402, 403, 602, LOF             111         12         111          18          32, F, S, R, 403
      44         2        44          3                           401, 402, 403             113         11         113          12          32, F, S, R, 403
      47         8        47         16                        106, 602, LOF, V             121         21         121          25
      47        18        47         19                             602, LOF, V             122          2         122           6
      47        21        47         25                             602, LOF, V             126         14         126          19      LAY, 32, R, F, 403, S
      49        25        49         25                 602, LOF, 801, 802, 901             126         22         126          24      LAY, 32, R, F, 403, S
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      50         2        50          9                 602, LOF, 801, 802, 901             133          2         133           2
      50        11        50         15                 602, LOF, 801, 802, 901             135          6         135          12           R, 32, F, 403, NR
      52         2        52          6                        401, 402, 403, V             143          4         143           8                 F, S, R, 403
      52         8        52         10                        401, 402, 403, V             147          7         147          13   NR, F, S, R, LAY, 403, 32
      52        12        52         15                        401, 402, 403, V             147         16         147          17   NR, F, S, R, LAY, 403, 32
      52        17        52         19                        401, 402, 403, V             147         19         148          12   NR, F, S, R, LAY, 403, 32
      52        21        52         25                                801, 802             152         10         152          18      32, LAY, F, S, R, 403
      53         2        53         22                                801, 802             153         19         153          21   NR, F, S, R, LAY, 403, 32
      54         9        54         25                                801, 802             153         23         154           4   NR, F, S, R, LAY, 403, 32
      55         2        55          3                                801, 802             154          6         154           8   NR, F, S, R, LAY, 403, 32
      55         6        55         12                                801, 802             154         15         154          21                 R, 403, S, F
      55        13        55         25                                801, 802             155          2         155           6
      56         2        56          2                                801, 802             155          8         155          14
      57        15        57         25                                602, LOF             156         24         157           6
      58         2        58         21                                602, LOF             159          9         159          15
      58        22        58         25                                                     159         18         159          20            R, 403, 32, S, F
      59         2        59         25                                                     159         23         160           2            R, 403, 32, S, F
      60         2        60         25        401, 402, 403, 701, 702, 801, 802            174         23         175           3            R, 403, 32, S, F
      61         2        61          3                            401, 402, 403            175          7         175          10            R, 403, 32, S, F
      61        18        61         22                       602, LOF, 801, 802            175         13         175          15            R, 403, 32, S, F
      61        25        61         25                              602, LOF, V            182         17         183           8            H, 32, R, F, 403
      62         2        62          6                              602, LOF, V            192         11         192          12                           F
      62         8        62         12                              602, LOF, V            192         15         192          16                           F
      62        14        62         21                  401, 402, 403, 602, LOF            193         20         193          23                           F
      62        24        62         25                  401, 402, 403, 602, LOF            194          3         194           4                           F
      63         2        63          3                  401, 402, 403, 602, LOF            195         25         195          25                           F
      63        13        63         20                  401, 402, 403, 602, LOF            196          2         196          11                           F
      64         4        64          9                  401, 402, 403, 602, LOF            202         12         202          16            H, 32, R, 403, F
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      64        23        64         25                                                     202         18         202          19          H, 32, R, 403, F
      65         2        65         12                                    602, LOF         202         21         202          24           32, R, 403, F, S
      65        15        65         17                                    602, LOF         203          4         203          19           32, R, 403, F, S
      65        19        65         25                                                     203         22         203          23           32, R, 403, F, S
      66        11        66         22                               602, LOF              206          6         206           9               F, S, R, 403
      67        22        67         25                          106, 602, LOF              212         22         213           5        32, NR, F, R, 403
      68        10        68         25                               801, 802              216         10         216          15                         32
      69         2        69          3                               801, 802              218          3         218           6           32, F, S, R, 403
      69        16        69         20                          LOF, 801, 802              218         22         219          10      LAY, 32, F, S, R, 403
      70        12        70         16                            602, LOF, OS             221          8         221          22      LAY, 32, F, S, R, 403
      70        21        70         25                            602, LOF, OS             226         12         226          18
      71         2        71          7                                      OS             226         22         226          25
      71        19        71         25                       602, LOF, MC, OS              227          2         227           2
      72         2        72          5                            602, LOF, OS             229          9         229          13      32, R, F, S, 403, LAY
      72        10        72         14                         602, LOF, OS, V             229         16         229          20      32, R, F, S, 403, LAY
      72        20        72         22                            602, LOF, OS
      73         9        73         20                            602, LOF, OS
      73        23        73         25                            602, LOF, OS
      74         2        74          3                            602, LOF, OS
      74         5        74          8                                  403, V
      75         7        75         12                            602, LOF, OS
      75        18        75         25                            602, LOF, OS
      76         2        76          6                            602, LOF, OS
      76         9        76         10                            602, LOF, OS
      76        12        76         25                            602, LOF, OS
      77         2        77         19                                 403, OS
      78        18        78         25             401, 402, 403, 602, LOF, OS
      79         2        79          2                       401, 402, 403, OS
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      82         9        82         24                                      OS
      91         3        91          7                                    OS, V
      91        15        91         17                                      OS
      91        19        91         24                     401, 402, 403, OS, C
      92         3        92          4                     401, 402, 403, OS, C
      92         6        92          8
      92        16        92         24                                           OS
      93         3        93          5                                           OS
      98        15        98         17                                106, 602, LOF
      98        24        98         25
      99         2        99          5                           401, 402, 403
      99        10        99         25                           401, 402, 403
     100         2       100          6                           401, 402, 403
     100         7       100         15              401, 402, 403, 602, LOF, OS
     101        23       101         25    401, 402, 403, 602, LOF, 701, 702, OS
     102         2       102          3    401, 402, 403, 602, LOF, 701, 702, OS
     102         7       102         10    401, 402, 403, 602, LOF, 701, 702, OS
     102        12       102         18    401, 402, 403, 602, LOF, 701, 702, OS
     102        21       102         22    401, 402, 403, 602, LOF, 701, 702, OS
     103         3       103          7    401, 402, 403, 602, LOF, 701, 702, OS
     103        10       103         13    401, 402, 403, 602, LOF, 701, 702, OS
     103        19       103         22
     104         2       104         20                           401, 402, 403
     105        20       105         24    401, 402, 403, 602, LOF, 701, 702, OS
     106         3       106          6    401, 402, 403, 602, LOF, 701, 702, OS
     106         8       106         14                           401, 402, 403
     108        14       108         20    401, 402, 403, 602, LOF, 701, 702, OS
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     109         2       109          2    401, 402, 403, 602, LOF, 701, 702, OS
     109         4       109         25                           401, 402, 403
     110         2       110          2                           401, 402, 403
     110        11       110         15                           401, 402, 403
     110        17       110         19                           401, 402, 403
     111        24       111         25                                602, LOF
     112         2       112          8                                602, LOF
     112        16       112         21
     113        13       113         16                                 602, LOF
     113        18       113         19                                 602, LOF
     113        21       113         25                                 602, LOF
     114         2       114         25                                 602, LOF
     115         2       115          3                                 602, LOF
     115         6       115          7                                 602, LOF
     115         9       115         11        401, 402, 403, 602, LOF, 701, 702
     115        14       115         18        401, 402, 403, 602, LOF, 701, 702
     115        20       115         25        401, 402, 403, 602, LOF, 701, 702
     116         2       116         11        401, 402, 403, 602, LOF, 701, 702
     116        14       116         15        401, 402, 403, 602, LOF, 701, 702
     117        16       117         25
     118         3       118          4
     118         6       118         13                            401, 402, 403
     118        15       118         20                            401, 402, 403
     118        22       118         25                            401, 402, 403
     119         3       119          8                            401, 402, 403
     119        18       119         25                          401, 402, 403, V
     120         3       120          7                          401, 402, 403, V
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     122         9       122         14                            401, 402, 403
     123         5       123         13        401, 402, 403, 602, LOF, 701, 702
     123        16       123         18        401, 402, 403, 602, LOF, 701, 702
     123        20       123         23        401, 402, 403, 602, LOF, 701, 702
     124         2       124          4        401, 402, 403, 602, LOF, 701, 702
     127         3       127          6        401, 402, 403, 602, LOF, 701, 702
     127         9       127         12        401, 402, 403, 602, LOF, 701, 702
     127        14       127         18        401, 402, 403, 602, LOF, 701, 702
     127        21       127         24        401, 402, 403, 602, LOF, 701, 702
     128         3       128         11        401, 402, 403, 602, LOF, 701, 702
     128        14       128         15        401, 402, 403, 602, LOF, 701, 702
     128        17       128         20        401, 402, 403, 602, LOF, 701, 702
     128        23       128         24        401, 402, 403, 602, LOF, 701, 702
     129        12       129         16        401, 402, 403, 602, LOF, 701, 702
     129        19       129         21        401, 402, 403, 602, LOF, 701, 702
     129        23       129         24        401, 402, 403, 602, LOF, 701, 702
     130         3       130          5        401, 402, 403, 602, LOF, 701, 702
     130         7       130         15        401, 402, 403, 602, LOF, 701, 702
     130        19       130         21        401, 402, 403, 602, LOF, 701, 702
     130        23       130         25        401, 402, 403, 602, LOF, 701, 702
     131         4       131          5        401, 402, 403, 602, LOF, 701, 702
     131         7       131         18
     131        20       131         21
     132        19       132         22                           106, 602, LOF
     132        25       132         25                           106, 602, LOF
     133         8       134         10                 401, 402, 403, 602, LOF
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     138         2       138         10
     138        12       138         13
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     141         7       141         25
     142         2       142         25
     143         2       143          3
     143        12       143         23                            401, 402, 403
     144         5       144         14                       106, 401, 402, 403
     144        17       144         20                       106, 401, 402, 403
     145         9       145         12                            401, 402, 403
     145        14       145         16                            401, 402, 403
     146        16       146         25        401, 402, 403, 602, LOF, 701, 702
     147         4       147          5        401, 402, 403, 602, LOF, 701, 702
     148        14       148         20        401, 402, 403, 602, LOF, 701, 702
     148        23       148         25        401, 402, 403, 602, LOF, 701, 702
     149         1       149          3        401, 402, 403, 602, LOF, 701, 702
     149         5       149          8        401, 402, 403, 602, LOF, 701, 702
     150        13       150         14        401, 402, 403, 602, LOF, 701, 702
     150        16       150         18        401, 402, 403, 602, LOF, 701, 702
     150        20       150         25                            401, 402, 403
     151         2       151         10        401, 402, 403, 602, LOF, 701, 702
     151        13       151         14        401, 402, 403, 602, LOF, 701, 702
     151        16       151         18        401, 402, 403, 602, LOF, 701, 702
     151        21       151         22        401, 402, 403, 602, LOF, 701, 702
     151        24       151         25        401, 402, 403, 602, LOF, 701, 702
     152         2       152          2        401, 402, 403, 602, LOF, 701, 702
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     152        19       152         21        401, 402, 403, 602, LOF, 701, 702
     152        23       152         24        401, 402, 403, 602, LOF, 701, 702
     153         3       153          6                  401, 402, 403, 602, LOF
     153         8       153         10                  401, 402, 403, 602, LOF
     154         9       154         14                            401, 402, 403
     155        16       155         20                  401, 402, 403, 602, LOF
     155        22       155         24                  401, 402, 403, 602, LOF
     156         3       156          6                         401, 402, 403, V
     156         8       156          9                         401, 402, 403, V
     157         8       157         16                         401, 402, 403, V
     157        22       157         25
     158         2       158          7
     158        15       158         20                                 801, 802
     159         2       159          8                                 801, 802
     160         4       160         21        401, 402, 403, 602, LOF, 801, 802
     162        23       162         25        401, 402, 403, 602, LOF, 801, 802
     163         2       163         10        401, 402, 403, 602, LOF, 801, 802
     170        12       170         25        401, 402, 403, 602, LOF, 801, 802
     171         2       171         12        401, 402, 403, 602, LOF, 801, 802
     171        19       171         25        401, 402, 403, 602, LOF, 801, 802
     172         2       172         10        401, 402, 403, 602, LOF, 801, 802
     174        14       174         22                  401, 402, 403, 602, LOF
     175        23       175         25                  401, 402, 403, 602, LOF
     176         2       176          2                  401, 402, 403, 602, LOF
     176         3       176         18                  401, 402, 403, 602, LOF
     177        17       177         23                  401, 402, 403, 602, LOF
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     179         2       179         14                    401, 402, 403, 602, LOF
     179        17       179         18                    401, 402, 403, 602, LOF
     179        25       179         25                    401, 402, 403, 602, LOF
     180         2       180         21                    401, 402, 403, 602, LOF
     181         6       181         18    401, 402, 403, 602, LOF, 701, 702, 801,
                                                                               802
     181        21       181         24    401, 402, 403, 602, LOF, 701, 702, 801,
                                                                               802
     182         3       182          7          401, 402, 403, 602, LOF, 701, 702
     182        10       182         11          401, 402, 403, 602, LOF, 701, 702
     187        16       187         22                                   602, LOF
     187        25       187         25                                   602, LOF
     188         2       188          4                                   602, LOF
     188        11       188         13                              401, 402, 403
     188        18       188         24                              401, 402, 403
     192         5       192         10                              401, 402, 403
     192        24       193          9             401, 402, 403, 602, LOF, Legal
     193        11       193         13             401, 402, 403, 602, LOF, Legal
     193        15       193         19                              401, 402, 403
     194         6       194         12   401, 402, 403, 602, LOF, 701, 702, Legal

     194        15       194         17   401, 402, 403, 602, LOF, 701, 702, Legal

     195         6       195         24                   401, 402, 403, 701, 702
     197        13       198          4                             401, 402, 403
     198        15       198         19   401, 402, 403, 602, LOF, 701, 702, Legal
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     204         2       204         25                                 401, 402, 403
     205         2       205          4                                 401, 402, 403
     205        12       205         25                                      602, LOF
     206         2       206          5                                      602, LOF
     209        22       209         25
     210         2       210         25
     211         2       211         12
     211        14       211         25
     212         2       212         16
     212        17       212         21
     213         6       213         24
     214         6       214          9
     214        12       214         12
     214        15       214         17
     214        19       214         25
     215         2       215          3
     223         7       223          9                            401, 402, 403
     223        14       223         16                            401, 402, 403
     223        18       223         24               401, 402, 403, 501, 502, AA
     224         3       224         16               401, 402, 403, 501, 502, AA
     224        18       224         25               401, 402, 403, 501, 502, AA
     225         2       225          2               401, 402, 403, 501, 502, AA
     225        23       225         25                            401, 402, 403
     226         2       226          2                            401, 402, 403
     226         4       226          6                            401, 402, 403
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     231         2       231         10
     231        21       231         25
     232         2       232          5                                    701, 702
     232         8       232         11                                    701, 702
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        6        24         7         6                                           LOF           16         23        17        1
        8        18         9        13                                                         24         22        26        8                     R, H, F
       11        24        12         2                        401, 402, 403, LOF               26         16        27        3
       14        24        15         3                   401, 402, 403, 602, LOF               28         25        29        1                 32, R, Lay

       16         7        16        12    106, 401, 402, 403, 602, LOF, 801, 802               29          4        30         7                32, R, Lay
                                           401, 402, 403, 602, LOF, 701, 702, 801,
       17         9        18         6                                    802,OS               32          8        32       24                        R, F
       31        18        32         7         401, 402, 403, 602, LOF, 701, 702               33          2        33        7                        R, F
       33        17        34         1                                                         37         24        38        5             32, R, F, Form
       34        21        35         1                                                         38         11        38       15             32, R, F, Form
       48        24        49        18                              401, 402, 403              38         18        39        3             32, R, F, Form
       50         1        50         5                              401, 402, 403              39          5        39       10             32, R, F, Form
       50        11        50        15                              401, 402, 403              39         12        39       15             32, R, F, Form
       52        15        52        22                              401, 402, 403              39         17        39       18             32, R, F, Form
       53         8        53        19                    401, 402, 403, 801, 802              49         19        49       19
       54        12        54        24         401, 402, 403, 602, LOF, 801, 802               49         22        49       24
       56         6        56        16                    401, 402, 403, 801, 802              50          6        50       10                          F
                                           401, 402, 403, 602, LOF, 701, 702, 801,              50         16        50       20
       57        11        58         9                                        802                                                                        F
       60        15        60        24                   401, 402, 403, 602, LOF               51         20        51        24                         F
       61        15        62         3         401, 402, 403, 602, LOF, 701, 702               52          5        52         7
       62        20        63         7         401, 402, 403, 602, LOF, 701, 702               54         25        56         2                    R, H, F
     107         14       107        22                                                         57          4        57         7                       H, F
     109         24       110         9                        401, 402, 403, LOF               59          1        59         6                       R, H
     110         22       110        24                        401, 402, 403, LOF               59         21        60         5                          R
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     121          8       121        22          401, 402, 403, 602, LOF, 701, 702               72          5        72         8                         Lay
                                           401, 402, 403, 602, LOF, 701, 702, Legal              72         12        72        14
     122         20       123         5                                                                                                                    Lay
     126         22       127         9                                                         110         25       111         2                           F
                                           401, 402, 403, 602, LOF, 701, 702, Legal             111          4       111         5
     128          1       128        20                                                                                                                    F
     135         16       136         3                    401, 402, 403, 602, LOF              115         25       116        1                     R, Lay
     137         23       138         3                                                         116          4       116        5                     R, Lay
     141         21       142         2                         401, 402, 403, LOF              116         10       116       16                     R, Lay
     142         15       142        22                              401, 402, 403              121         23       122        3
                                                                                                122          5       122       11
                                                                                                127         10       127       19                     F, Lay
                                                                                                127         22       127       25                     F, Lay
                                                                                                139          7       139       14
                                                                                                176         17       176       25                        32
                                                                                                177         10       177       13                      32, H
                                                                                                177         15       178        4                      32, H
                                                                                                178          6       178        7                        32
                                                                                                178         10       178       21                        32
                                                                                                179         16       179       20                        32
                                                                                                180          4       180        8                        32
                                                                                                180         10       180       11                        32
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        Amneal's Initial Designations                                                    Par's Counter Designations
Start Page Start Line End Page End Line           Par's Objections            Start Page Start Line      End Page     End Line        Amneal's Objections
      10        21        10         23                                             11             10            11         15
      19         9        19         12                                             34              8            34         12
      22         7        22         16                                             84              1            84         11
      22        25        22         25                                             90              3            90          7
      23         2        23          6                                             90             10            90         19                       F, S, R, 403
      26         9        26         18                                            100              6           100         12                        R, 403, 32
      27         3        27          8                                            100             14           100         25                   R, 403, 32, F, S
      35         5        35         20                   602/LOF, 701/702         101              2           101          8              R, 403, 32, F, S, LAY
      35        23        35         25                   602/LOF, 701/702         101             11           101         12              R, 403, 32, F, S, LAY
      40        20        40         24                                            101             14           101         16              R, 403, 32, F, S, LAY
      42        23        42         25                        401/402, 403        103             12           103         25                  LAY, F, S, R, 403
      43         2        43          5                        401/402, 403        104              2           104         16                  LAY, F, S, R, 403
      43         8        43         10                        401/402, 403        105             13           105         25                  LAY, F, S, R, 403
      44         3        44         13                        401/402, 403        106              2           106         25                  LAY, F, S, R, 403
      46         8        46         11                                            107              4           107         19               C, LAY, F, S, R, 403
      46        14        46         22                                            123             14           143         20
      47         3        47         14                      401/402, 403          143             15           143         25
      48         4        48         15                      401/402, 403          144              2           144          9                   32, R, 403, S, F
      50        16        50         16                      401/402, 403          146             14           146         25                  LAY, F, S, R, 403
      50        17        50         25                      401/402, 403          147              2           147         15                  LAY, F, S, R, 403
      51         2        51          2                      401/402, 403          148             15           148         19                  LAY, F, S, R, 403
      53         3        53         12                      401/402, 403          148             22           148         25                  LAY, F, S, R, 403
      69         4        69         17                      401/402, 403          149              2           149         14                  LAY, F, S, R, 403
      69        20        69         23                      401/402, 403          149             17           149         25                  LAY, F, S, R, 403
      69        25        69         25                      401/402, 403          152              3           152          9   INC, NQP, 32, F, S, R, 403 , LAY
      70         2        70         25                      401/402, 403          152             12           152         25             32, F, S, R, 403 , LAY
      71         2        71         12                      401/402, 403          153              2           153         15             32, F, S, R, 403 , LAY
      71        15        71         23                  602/LOF, 801-802          154             18           154         24             32, F, S, R, 403 , LAY
      72        17        72         20    401/402, 403, 602/LOF, 801-802          155              3           155         25             32, F, S, R, 403 , LAY
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        Amneal's Initial Designations                                                   Par's Counter Designations
Start Page Start Line End Page End Line           Par's Objections           Start Page Start Line      End Page     End Line   Amneal's Objections
      72        23        72         24    401/402, 403, 602/LOF, 801-802         156              2           156          2        32, F, S, R, 403 , LAY
      73         6        73          9    401/402, 403, 602/LOF, 801-802         159             17           159         25
      73        15        73         25    401/402, 403, 602/LOF, 801-802         160              2           160         12
      74        12        74         25    401/402, 403, 602/LOF, 801-802         161             11           161         15        32, F, S, R, 403 , LAY
      75         2        75         25    401/402, 403, 602/LOF, 801-802         161             18           161         23        32, F, S, R, 403 , LAY
      81        24        81         25                                           162             15           162         20        32, F, S, R, 403 , LAY
      82         2        82         23                                           162             22           162         25        32, F, S, R, 403 , LAY
      83         2        83          4                                           163              2           163          2        32, F, S, R, 403 , LAY
      85        13        85         16             401/402, 403, 602/LOF         176             17           176         21             LAY, F, S, R, 403
      85        19        85         22             401/402, 403, 602/LOF         176             24           176         25             LAY, F, S, R, 403
      86        23        86         25             401/402, 403, 602/LOF         177              2           177          7             LAY, F, S, R, 403
      87         2        87         19             401/402, 403, 602/LOF         177             12           177         18             LAY, F, S, R, 403
      87        23        87         23             401/402, 403, 602/LOF         177             21           177         25             LAY, F, S, R, 403
      89        17        89         20             401/402, 403, 602/LOF         178              2           178          6             LAY, F, S, R, 403
      89        23        89         25             401/402, 403, 602/LOF         179             17           179         22             LAY, F, S, R, 403
      90        22        90         25             401/402, 403, 602/LOF         179             25           179         25             LAY, F, S, R, 403
      91         4        91          5             401/402, 403, 602/LOF         180              2           180         23             LAY, F, S, R, 403
      91         8        91         12             401/402, 403, 602/LOF         189             20           189         25             LAY, F, S, R, 403
      91        17        91         25                                           190              2           190         25         H, LAY, F, S, R, 403
      92         2        92          9             401/402, 403, 602/LOF         191              2           191         11             LAY, F, S, R, 403
      92        12        92         18             401/402, 403, 602/LOF         199             14           199         23
      92        20        92         25    401/402, 403, 602/LOF, 701/702         202              6           202         25                   R, 403, F, S
      93         4        93          9    401/402, 403, 602/LOF, 701/702         203              2           203          3                   R, 403, F, S
      93        11        93         21             401/402, 403, 701/702         206             20           206         25              32, F, S, R, 403
      94         2        94          7    401/402, 403, 602/LOF, 701/702         207              2           207          2              32, F, S, R, 403
      94        10        94         13    401/402, 403, 602/LOF, 701/702         207              5           207         21              32, F, S, R, 403
      94        17        94         25             401/402, 403, 701/702         208              2           208          3              32, F, S, R, 403
      95         2        95          6             401/402, 403, 701/702         210              6           210          9     32, F, S, R, 403 , H, LAY
      95         9        95         14             401/402, 403, 701/702         210             12           210         25     32, F, S, R, 403 , H, LAY
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        Amneal's Initial Designations                                                   Par's Counter Designations
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      95        18        95         25             401/402, 403, 701/702         211              2           211          8     32, F, S, R, 403 , H, LAY
      96         2        96         13             401/402, 403, 701/702         234             19           234         25               32, F, S, R, 403
      97         5        97         25             401/402, 403, 701/702         235              2           235         17               32, F, S, R, 403
      98         2        98          3             401/402, 403, 701/702         240             19           240         20                   F, S, R, 403
      98         6        98          7             401/402, 403, 701/702         240             23           240         24                   F, S, R, 403
      98         9        98         17    401/402, 403, 602/LOF, 701/702         241              2           241          8                   F, S, R, 403
      98        20        98         25    401/402, 403, 602/LOF, 701/702         251             22           251         25             F, S, R, 403, LAY
      99         4        99         12    401/402, 403, 602/LOF, 701/702         252              2           252          6             F, S, R, 403, LAY
      99        14        99         21    401/402, 403, 602/LOF, 701/702         252             25           252         25             F, S, R, 403, LAY
      99        24        99         25    401/402, 403, 602/LOF, 701/702         253              2           253          7             F, S, R, 403, LAY
     100         2       100          4    401/402, 403, 602/LOF, 701/702         253             10           253         24             F, S, R, 403, LAY
     102        12       102         16             401/402, 403, 701/702         254              4           254         15             F, S, R, 403, LAY
     102        19       102         20             401/402, 403, 701/702         270              4           270          9     FORM, F, S, R, 403, LAY
     102        22       102         25             401/402, 403, 701/702         270             13           270         17     FORM, F, S, R, 403, LAY
     103         2       103          2             401/402, 403, 701/702         270             19           270         25          H, LAY, F, S, R, 403
     103         3       103         11             401/402, 403, 701/702         271              2           271         25          H, LAY, F, S, R, 403
     104        19       104         24             401/402, 403, 701/702         272              2           272         24   FORM, H, LAY, F, S, R, 403
     105         3       105          5             401/402, 403, 701/702         273              3           273          4   FORM, H, LAY, F, S, R, 403
     105         7       105         12             401/402, 403, 701/702
     112        15       112         17    401/402, 403, 602/LOF, 701/702
     112        20       112         24    401/402, 403, 602/LOF, 701/702
     113         2       113          5    401/402, 403, 602/LOF, 701/702
     113        16       113         23             401/402, 403, 602/LOF
     113        25       113         25    401/402, 403, 602/LOF, 701/702
     114         2       114          6    401/402, 403, 602/LOF, 701/702
     114         9       114         10    401/402, 403, 602/LOF, 701/702
     115        21       115         25
     116         2       116          3
     118        16       118         19
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     118        21       118         21
     119        14       119         25             401/402, 403, 602/LOF
     120         3       120         12             401/402, 403, 602/LOF
     122        11       122         25
     123         3       123         13
     124         2       124         14
     125        15       125         25    401/402, 403, 602/LOF, 701/702
     126         2       126          3    401/402, 403, 602/LOF, 701/702
     126         6       126          7    401/402, 403, 602/LOF, 701/702
     127         7       127         25
     128         2       128          9    401/402, 403, 602/LOF, 701/702
     128        12       128         25    401/402, 403, 602/LOF, 701/702
     129         2       129          3    401/402, 403, 602/LOF, 701/702
     129         6       129          9    401/402, 403, 602/LOF, 701/702
     130        19       130         25                           701/702
     131         2       131          3                           701/702
     131         6       131         11                           701/702
     131        14       131         22    401/402, 403, 602/LOF, 701/702
     131        24       131         25    401/402, 403, 602/LOF, 701/702
     132         3       132         12    401/402, 403, 602/LOF, 701/702
     132        15       132         19    401/402, 403, 602/LOF, 701/702
     132        21       132         25    401/402, 403, 602/LOF, 701/702
     133         2       133          9    401/402, 403, 602/LOF, 701/702
     133        13       133         24    401/402, 403, 602/LOF, 701/702
     134         2       134          3    401/402, 403, 602/LOF, 701/702
     134         5       134          8    401/402, 403, 602/LOF, 701/702
     142        17       142         25    401/402, 403, 602/LOF, 701/702
     143         2       143         13    401/402, 403, 602/LOF, 701/702
     144        11       144         25    401/402, 403, 602/LOF, 701/702
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     145         2       145         25    401/402, 403, 602/LOF, 701/702
     146         2       146          3    401/402, 403, 602/LOF, 701/702
     146         6       146         11    401/402, 403, 602/LOF, 701/702
     167        21       167         25
     168         2       168          4
     168        14       168         25
     169         2       169          5
     169        21       169         25                              602/LOF
     170         2       170          9                              602/LOF
     170        12       170         13
     170        15       170         19    401/402, 403, 602/LOF, 701/702
     170        22       170         25    401/402, 403, 602/LOF, 701/702
     171         3       171         15
     175        25       175         25   401/402, 403, 602/LOF, 701/702
     176         1       176         13   401/402, 403, 602/LOF, 701/702
     178         9       178         25   401/402, 403, 602/LOF, 701/702
     179         2       179          4   401/402, 403, 602/LOF, 701/702
     183        13       183         20             401/402, 403, 701/702
     183        23       183         24             401/402, 403, 701/702
     184         2       184         19             401/402, 403, 701/702
     184        22       184         25             401/402, 403, 701/702
     185         2       185          4             401/402, 403, 701/702
     185         6       185         25                           801/802
     186         2       186         25   401/402, 403, 602/LOF, 801/802
     187         2       187          8   401/402, 403, 602/LOF, 701/702,
                                                                  801/802
     187        11       187         17
     187        20       187         25
     188         2       188          4
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        Amneal's Initial Designations                                                   Par's Counter Designations
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     188         8       188         20    401/402, 403, 602/LOF, 701/702
     188        23       188         25    401/402, 403, 602/LOF, 701/702
     189        12       189         19                      401/402, 403
     191        12       191         25             401/402, 403, 602/LOF
     192         2       192         10             401/402, 403, 602/LOF
     192        15       192         17             401/402, 403, 602/LOF
     192        20       192         25             401/402, 403, 602/LOF
     193         2       193          3             401/402, 403, 602/LOF
     193        18       193         21             401/402, 403, 602/LOF
     196        14       196         25
     197         2       197         25
     198         1       198          5
     198        15       198         23             401/402, 403, 602/LOF
     200         2       200         25                      401/402, 403
     201         2       201         25                      401/402, 403
     202         2       202          5
     203         4       203         25                401/402, 403, P, AA
     204         2       204         18               401/402, 403, NR, AA
     205         2       205          5                  401/402, 403, MC
     205         8       205         12                  401/402, 403, MC
     208         5       208         25
     209         2       209         10
     209        13       209         25
     210         2       210          5                      401/402, 403
     211        11       211         25                401/402, 403, P, AA
     212         2       212          3                401/402, 403, P, AA
     212         5       212         11                401/402, 403, P, AA
     212        13       212         19                      401/402, 403
     238         5       238         15             401/402, 403, 602/LOF
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        Amneal's Initial Designations                                                   Par's Counter Designations
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     239         4       239          9             401/402, 403, 602/LOF
     240         7       240         18             401/402, 403, 602/LOF
     241        10       241         20             401/402, 403, 602/LOF
     241        23       241         25
     242         2       242         25
     243         2       243         22             401/402, 403, 602/LOF
     247         4       247         25
     248         2       248         25    401/402, 403, 602/LOF, 701/702
     249         1       249         13    401/402, 403, 602/LOF, 701/702
     249        16       249         25    401/402, 403, 602/LOF, 701/702
     250         2       250          6    401/402, 403, 602/LOF, 701/702
     250         9       250         10    401/402, 403, 602/LOF, 701/702
     250        22       250         25
     251         2       251         21             401/402, 403, 602/LOF
     252         7       252         23    401/402, 403, 602/LOF, 701/702
     254        16       254         22             401/402, 403, 602/LOF
     255        12       255         25    401/402, 403, 602/LOF, 701/702
     256         2       256          5    401/402, 403, 602/LOF, 701/702
     256         8       256         18                      401/402, 403
     258        19       258         25                      401/402, 403
     260         2       260         25    401/402, 403, 602/LOF, 701/702
     261         2       261          2    401/402, 403, 602/LOF, 701/702
     261         5       261          6    401/402, 403, 602/LOF, 701/702
     261         8       261         14    401/402, 403, 602/LOF, 701/702
     264         5       264         10       401/402, 403, 602/LOF, Legal
     264        13       264         13       401/402, 403, 602/LOF, Legal
     266        11       266         25             401/402, 403, 602/LOF
     267         2       267          7       401/402, 403, 602/LOF, Legal
     267        10       267         11       401/402, 403, 602/LOF, Legal
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      267          13        267          25           401/402, 403, 602/LOF, Legal
      268           3        268          13           401/402, 403, 602/LOF, Legal

*Par objects to all designated testimony for this witness pursuant to Fed. R. Evid. 801, 802, and 804, and Fed. R. Civ. P. 45 as the witness is within the subpoena power of the District
of Delaware and Amneal has not demonstrated the witness is unavailable.
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        Amneal's Initial Designations                                                                     Par's Counter Designations
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        50         24          51      2               401/402, 403, 602/LOF, 701-702                   8           22              9              7
        51          5          51           8          401/402, 403, 602/LOF, 701-702                   9           15             11             16
        52         14          52         16           401/402, 403, 602/LOF, 701-702                  12           10             12             16
        52         18          52         23           401/402, 403, 602/LOF, 701-702                  51           13             52              7
        53          2          53         21           401/402, 403, 602/LOF, 701-702                  52           10             52             11
        96         14          98           5                                                          99           10             99             22
        99         23        100            3                                                         100            4            100              7
      100          10        102            9                                 401/402, 403            153            3            153             17                                H
      144           3        145            3                                                         154            2            154             22                                F
      152          20        153            2          401/402, 403, 602/LOF, 701-702                 164           24            165             17                               32
      153          18        153          25           401/402, 403, 602/LOF, 701-702                 179            7            179             25                               32
      154          23        155          11           401/402, 403, 602/LOF, 701-702                 180           21            182             12                               32
                                                                                                      182           18            185              8                            32, H
                                                                                                      185           11            185             18                            32, H
                                                                                                      185           21            188             10                            32, H
                                                                                                      188           13            188             20                            32, H
                                                                                                      188           23            189             14                            32, H
                                                                                                      189           16            190             13                       32, H, Lay
                                                                                                      190           16            191              4                       32, H, Lay
                                                                                                      191           25            192              7                       32, H, Lay
                                                                                                      192            9            192             11                       32, H, Lay
                                                                                                      195           16            196              2                               32

*Par objects to all designated testimony for this witness pursuant to Fed. R. Evid. 801, 802, and 804, and Fed. R. Civ. P. 45 as the witness is within the subpoena power of the
District of Delaware and Amneal has not demonstrated the witness is unavailable.
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                        EXHIBIT 13
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                                      EXHIBIT 13

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO                     C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                       (Consolidated)

                      Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.


                      Defendants.


     BRIEF STATEMENT OF WHAT PLAINTIFFS INTEND TO PROVE

       Pursuant to Local Rule 16.3(c)(8), Plaintiffs Par Pharmaceutical, Inc., Par

 Sterile Products, LLC, and Endo Par Innovation Company, LLC (collectively

 “Par” or “Plaintiffs”) submit the following brief statement of the principal matters

 Plaintiffs intend to prove at trial. This statement is not exhaustive, and Plaintiffs

 reserve the right to prove any matter identified in its pleadings, discovery

 responses, expert reports, and the accompanying statement of issues of facts and

 issues of law that remain to be litigated at trial. Plaintiffs may also provide

 additional proof to rebut any proof offered by Defendants before and during trial,

 in response to rulings by the Court, or for other good cause. Plaintiffs reserve the



                                            1
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                                      EXHIBIT 13

 right to modify or amend this Statement to the extent necessary to reflect any

 future rulings by the Court, to supplement or amend this Statement to fairly

 respond to any new issues that Defendants may raise, to address any new discovery

 produced by Amneal, or to address any further amendments to Amneal’s ANDAs.

 Plaintiffs incorporate by reference their expert reports in support of any proof to be

 presented by expert testimony.

 I.    ISSUES ON WHICH PLAINTIFFS BEAR THE BURDEN OF PROOF
       1.     On June 9, 2021, Judge Connolly severed issues of infringement from

 the July 7, 2021 trial, such that Par’s allegations of infringement will be tried, if

 necessary, at a later date to be determined. Accordingly, Par will set forth its

 statement of what it intends to prove with respect to Amneal’s infringement of the

 Asserted Patents, the relief Par seeks to address Amneal’s infringement, and the

 exceptional nature the case against Amneal at the appropriate time.

 II.   ISSUES ON WHICH DEFENDANTS BEAR THE BURDEN OF
       PROOF

       A.     Invalidity
       2.     Amneal bears the burden of proof by clear and convincing evidence

 on the invalidity of the Asserted Claims of the ’209 and ’785 patents. Amneal

 cannot meet that burden with respect to any Asserted Claim.

       3.     Par will show that Amneal has not met that burden of proof with

 respect to any of its asserted grounds of invalidity. Par will, to the extent


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         11.   Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim of the ’209 patent is invalid as

 obvious over the prior sale and public use of PITRESSIN with its prescribing

 information in view of Bi 1999, Gahart, and/or Russell 2008, in light of the full

 scope and content of the prior art and the level of ordinary skill in the art at the

 time.

         12.   Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim of the ’785 patent is invalid as

 obvious over the prior sale and public use of PITRESSIN with its prescribing

 information in view of Bi 1999, in light of the full scope and content of the prior

 art and the level of ordinary skill in the art at the time.

         13.   Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim of the ’209 patent is invalid as

 obvious over the prior sale and public use of Luitpold (American Regent)

 Vasopressin Product with its prescribing information in view of Bi 1999, Gahart,

 and/or Russell 2008, in light of the full scope and content of the prior art and the

 level of ordinary skill in the art at the time.

         14.   Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim of the ’785 patent is invalid as

 obvious over the prior sale and public use of Luitpold (American Regent)



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 Vasopressin Product with its prescribing information in view of Bi 1999, in light of

 the full scope and content of the prior art and the level of ordinary skill in the art at

 the time.

        15.    Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim of the ’209 patent is invalid as

 obvious over the Lithuanian Patent in view of Bi 1999, Gahart, and/or Russell

 2008, in light of the full scope and content of the prior art and the level of ordinary

 skill in the art at the time.

        16.    Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim of the ’785 patent is invalid as

 obvious over the Lithuanian Patent in view of Bi 1999, in light of the full scope

 and content of the prior art and the level of ordinary skill in the art at the time.

        17.    In its Statement of Intended Proof, Amneal contends that it “will

 prove that [the Asserted Claims] are invalid as obvious over the April 2014

 Vasostrict® Label in view of Bi 1999, in light of the full scope and content of the

 prior art and the level of ordinary skill in the art at the time.” Pretrial Order Ex. 14

 ¶¶ 7, 21. Par objects to this obviousness ground because: (1) Amneal did not

 identify the April 2014 VASOSTRICT Label when, pursuant to the parties’

 agreement to narrow the scope of discovery, it identified its narrowed list of lead

 obviousness references; and (2) it is outside of the scope of invalidity opinions



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 expressed by Amneal’s expert. For at least these reasons, Amneal and its

 invalidity expert should be precluded from raising this obviousness ground at trial.

       18.      Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim is invalid for lack of adequate written

 description.

       19.      Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim is invalid for lack of adequate written

 description of the full scope of the claimed compositions.

       20.      Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim is invalid for lack of adequate written

 description because a POSA would not understand the patentees of the ’209 and

 ’785 patents to be in possession of the “from about 85% to about 100% sequence

 homology to SEQ ID NO.: 1” limitation.

       21.      Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim is invalid for lack of enablement.

       22.      Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim is invalid for lack of enablement of

 the full scope of the claimed compositions.

       23.      Par will show that Amneal has failed to demonstrate by clear and

 convincing evidence that any Asserted Claim is invalid for lack of enablement



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 because a POSA would not understand how to practice the “from about 85% to

 about 100% sequence homology to SEQ ID NO.: 1” limitation.

       24.    Thus, with respect to each of Amneal’s invalidity allegations, Par will

 show that Amneal has failed to satisfy its burden of proving invalidity by clear and

 convincing evidence.

       B.     Inequitable Conduct
       25.    Amneal has failed to prove by clear and convincing evidence that any

 Asserted Claim of the patents-in-suit is unenforceable.

       26.    Par will demonstrate that Amneal has not met its burden in proving

 that Vinayagam Kannan, Craig Kenesky, and/or Michelle Bonomi-Huvala

 committed inequitable conduct during the prosecution of U.S. Patent No.

 9,744,239 (the “’239 patent”).

       27.    Par will demonstrate that Amneal has not met its burden in proving

 that Vinayagam Kannan, Craig Kenesky, and/or Michelle Bonomi-Huvala

 committed affirmative egregious misconduct through submission of declarations to

 the U.S. Patent & Trademark Office (“PTO”) during the prosecution of the ’239

 patent.

       28.    Par will demonstrate that Amneal has not met its burden in proving that

 the Kannan and Bonomi-Huvala declarations are material to patentability.




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       29.    Par will demonstrate that Amneal has not met its burden in proving that

 the Kannan and Bonomi-Huvala declarations were submitted with specific intent to

 deceive the PTO.

       30.    Par will demonstrate that Amneal has not met its burden in proving

 that Vinayagam Kannan, Craig Kenesky, and/or Michelle Bonomi-Huvala acted

 with the specific intent to mislead or deceive the PTO.

       31.    Par will demonstrate that Amneal has not met its burden in proving

 that the April 2014 VASOSTRICT Label was material to the patentability of the

 Asserted Patents or related patents.

       32.    Par will demonstrate that Amneal has not met its burden in proving

 that the Asserted Patents are unenforceable under the doctrine of infectious

 unenforceability.

       33.    Par will demonstrate that Amneal has not met its burden in proving

 that the Asserted Patents are unenforceable as a result of alleged non-disclosure of

 the properties of the prior art PITRESSIN product.

       34.    Par will demonstrate that Amneal has not met its burden in proving

 that the information allegedly not disclosed to the PTO by the named inventors

 regarding the prior art PITRESSIN product was material to the patentability of the

 Asserted Patents.




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       35.    Par will demonstrate that Amneal has not met its burden in proving

 that the named inventors failed to disclose the prior art PITRESSIN product with

 specific intent to deceive the PTO.

       36.    Par will demonstrate that Amneal has not met its burden in proving

 that the named inventors withheld or misrepresented information relevant to the

 criticality of the pH limitations of the Asserted Patents or related patents, that such

 alleged non-disclosure was but-for material to the patentability of the Asserted

 Patents or related patents, or that such alleged non-disclosure was conducted with

 the specific intent to deceive the PTO.1

       37.    Par will demonstrate that Amneal has not met its burden in proving

 that the Asserted Patents are unenforceable based on submitting the pH declarations

 to the PTO during prosecution of the Asserted Patents and related patents.

       C.     Exceptional Case

       38.    Par will demonstrate that Amneal has not met its burden in proving

 that this is an exceptional case under 35 U.S.C. § 285, such that Defendants should

 not be awarded attorneys’ fees.




 1
   Amneal has provided no statement of fact and no expert testimony with respect to
 its statements of intended proof at Paragraphs 44-48 of Exhibit 14 to this Pretrial
 Order, and thus cannot meet its burden of proof with respect to those paragraphs.


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       D.    Other Affirmative Defenses and Counterclaims
       39.   Par will, to the extent necessary, introduce evidence to rebut any other

 affirmative defenses and counterclaims presented by Amneal.




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


  PAR PHARMACEUTICAL, INC., PAR
  STERILE PRODUCTS, LLC and ENDO
                                               C.A. No. 18-cv-2032-CFC-CJB
  PAR INNOVATION COMPANY, LLC,                 (Consolidated)

                    Plaintiffs,
        v.

  AMNEAL PHARMACEUTICALS OF
  NEW YORK, LLC, et al.

                    Defendants.


             DEFENDANTS’ STATEMENT OF INTENDED PROOF




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       Pursuant to Local Rule 16.3(c)(9), Defendants Amneal EU, Limited, Amneal

 Pharmaceuticals of New York, LLC, Amneal Biosciences LLC, and Amneal

 Pharmaceutical Pvt. Ltd. (“Defendants” or “Amneal”) (collectively, “Amneal”)

 respectfully submits the following brief statement of what it intends to prove at

 trial. Amneal may prove the matters set forth in its pleadings, contentions, written

 discovery responses, experts’ reports, and experts’ depositions. In addition, in

 support of such proofs, Amneal may provide background testimony in connection

 with such proofs. Amneal also intends to offer proof on the issues of fact and law

 identified in this Pretrial Order as well as proof to rebut items on which Plaintiffs

 Par Pharmaceuticals, Inc., Par Sterile Product, LLC., and Endo Par Innovation Co.,

 LLC (collectively, “Plaintiffs”) offer proof.

       In this action, Plaintiffs are currently asserting U.S. Patent No. 9,744,209

 (“the ’209 patent”) and U.S. Patent No. 9,750,785 (“the ’785 patent”) (collectively,

 the “Patents-in-Suit”).1 Specifically, Plaintiffs are asserting claims 1-8 of the ’209

 patent and claims 1, 5, and 8 of the ’785 patent (the “Asserted Claims”).




 1
  The Patents-in-Suit name two common inventors and share a common chain of
 priority to U.S. Patent No. 9,744,239 (“the ’239 patent”), and therefore may be
 referred to as “the ’239 family.” Each of these patents also claims priority to U.S.
 Application 14/610,499. Par has not disputed that the Patents-in-Suit are not
 entitled to priority dates earlier than their own filing dates, based on their claims of
 priority to the ’239 patent and ’499 application.

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       Amneal’s following statement is based, in relevant part, on its current

 understanding of Plaintiffs’ positions and the prior proceedings in this litigation.

 Amneal reserves the right to amend or supplement this statement to fairly respond

 to any new positions or evidence Plaintiffs raise or any future ruling of this Court.

 Amneal expressly reserves the right to amend or supplement this statement in

 response to Plaintiffs’ Pretrial Order submissions, pretrial proceedings, trial

 proceedings, or post-trial briefing.

       To the extent Amneal asserts that Plaintiffs have failed to meet their burden

 of proof on any issue, such statement does not constitute an admission that Amneal

 has any obligation to prove or disprove any element or any part of any claim or

 defense on which Plaintiffs bear the burden of proof or production. Amneal does

 not assume the burden of proof or production as to any matter set forth below

 unless required to do so by law.

       In addition to the below statement, Amneal incorporates by reference its

 experts’ reports regarding those matters to be proved by or in part by expert

 testimony.

 I.    CONSTRUCTION OF THE ASSERTED CLAIMS

       1.     Amneal will prove that a person of ordinary skill in the art (POSA)

 would have understood that the plain and ordinary meaning of “a pH of 3.7-3.9”




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 would exclude any pH value below 3.7 or above 3.9 in view of the intrinsic

 evidence.

 II.   NONINFRINGEMENT

       2.    Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that the submission of Amneal’s

 ANDA Nos. 212944 and 212945 to the FDA constitutes infringement of the

 Patents-in-Suit pursuant to 35 U.S.C. § 271(e)(2).

       3.     Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that, if Amneal’s ANDA Nos. 212944

 and 212945 were to be approved by the FDA, the manufacture, use, offer for sale,

 sale, or importation of the drug products that are the subject of these ANDAs

 would constitute direct infringement of any of the Asserted Claims by Amneal.

       4.    Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that, if Amneal’s ANDA Nos. 212944

 and 212945 were to be approved by the FDA, the manufacture, use, offer for sale,

 sale, or importation of the drug products that are the subject of these ANDAs

 would constitute direct infringement of any of the Asserted Claims by any third

 parties.

       5.    Amneal will show that, to the extent Plaintiffs prove direct

 infringement of the Asserted Claims by a third party (rather than by Amneal),


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 Plaintiffs cannot satisfy their burden of proving by a preponderance of the

 evidence that, if Amneal’s ANDA Nos. 212944 and 212945 were to be approved

 by the FDA, Amneal will actively induce infringement of any of the Asserted

 Claims of the Patents-in-Suit.

       A.     ’209 Patent

       6.     Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that the drug products that are the

 subject of Amneal’s ANDA Nos. 212944 and 212945 will, if approved, literally

 meet the pH limitation of claims 1-8 of the ’209 patent.

       7.     Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that the use of the drug products that

 are the subject of Amneal’s ANDA Nos. 212944 and 212945 will, if approved,

 literally infringe claims 1-8 of the ’209 patent.

       8.     Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that Amneal has the specific intent to

 induce others to literally infringe claims 1-8 of the ’209 patent using the drugs that

 are the subject of Amneal’s ANDA Nos. 212944 and 212945, if approved.

       B.     ’785 Patent

       9.     Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that the drug products that are the


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 subject of Amneal’s ANDA Nos. 212944 and 212945 will, if approved, literally

 meet the pH limitation of claims 1, 5, and 8 of the ’785 patent.

        10.   Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that the use of the drug products that

 are the subject of Amneal’s ANDA Nos. 212944 and 212945 will, if approved,

 literally infringe claims 1, 5, and 8 of the ’785 patent.

        11.   Amneal will show that Plaintiffs cannot satisfy their burden of

 proving by a preponderance of the evidence that Amneal has the specific intent to

 induce others to literally infringe claims 1, 5, and 8 of the ’785 patent using the

 drugs that are the subject of Amneal’s ANDA Nos. 212944 and 212945, if

 approved.

 III.   INVALIDITY

        A.    ’209 Patent

        12.   Amneal will prove by clear and convincing evidence that claims 1-8

 of the ’209 patent are invalid as anticipated.

        13.   Amneal will prove by clear and convincing evidence that claims 1-8

 of the ’209 patent are invalid because the claimed inventions would have been

 obvious to a POSA as of the effective filing date of that claim, in light of the scope

 and content of the prior art, the differences between the claim and the prior art, and

 the level of ordinary skill in the art at the time.


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       14.    Specifically, Amneal will prove by clear and convincing evidence that

 claims 1-8 of the ’209 patent are invalid as obvious in light of various

 combinations of prior art references and/or the knowledge and skill in the art as of

 the effective filing date of that claim. Amneal will prove by clear and convincing

 evidence that the combinations of these prior art references disclose, either

 expressly or inherently, every limitation of claims 1-8 of the ’209 patent, that a

 POSA would have had a reasonable motivation to combine the teachings of the

 references to obtain the subject matter of those claims, and that a POSA would

 have had a reasonable expectation of success.

       15.    Amneal will prove that claims 1-8 of the ’209 patent are invalid as

 anticipated by the prior sale and public use of Original Vasostrict® with its

 prescribing information, in light of the full scope and content of the prior art and

 the level of ordinary skill in the art at the time.

       16.    Amneal will prove that claims 1-8 of the ’209 patent are invalid as

 obvious over the prior sale and public use of Original Vasostrict® with its

 prescribing information in view of Bi 1999, in light of the full scope and content of

 the prior art and the level of ordinary skill in the art at the time.

       17.    Amneal will prove that claims 1-8 of the ’209 patent are invalid as

 obvious over the April 2014 Vasostrict® Label in view of Bi 1999, in light of the




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 full scope and content of the prior art and the level of ordinary skill in the art at the

 time.

         18.   Amneal will prove that claims 1-8 of the ’209 patent are invalid as

 obvious over the prior sale and public use of Pitressin® with its prescribing

 information in view of Bi 1999, Gahart, and/or Russell 2008, in light of the full

 scope and content of the prior art and the level of ordinary skill in the art at the

 time.

         19.   Amneal will prove that claims 1-8 of the ’209 patent are invalid as

 obvious over the prior sale and public use of American Regent Vasopressin

 Injection with its prescribing information in view of Bi 1999, Gahart, and/or

 Russell 2008, in light of the full scope and content of the prior art and the level of

 ordinary skill in the art at the time.

         20.   Amneal will prove that claims 1-8 of the ’209 patent are invalid as

 obvious over LT ‘487 in view of Bi 1999, Gahart, and/or Russell 2008, in light of

 the full scope and content of the prior art and the level of ordinary skill in the art at

 the time

         21.   The specific obviousness combinations listed above do not include the

 background references Amneal may rely on for establishing the state of the art,

 motivation, or expectation of success. Amneal may rely on additional references

 to establish the state of the art, motivation, or expectation of success. Amneal may


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 also rely on additional references to rebut non-obviousness arguments raised by

 Plaintiffs. Amneal may also rely on any obviousness combination disclosed in its

 experts’ reports.

       22.    Amneal will prove by clear and convincing evidence that claims 1-8

 of the ’209 patent are invalid for lack of adequate written description.

       23.    Amneal will prove that claims 1-8 of the ’209 patent are invalid for

 lack of adequate written description of the full scope of the claimed compositions.

       24.    Amneal will prove by clear and convincing evidence that claims 1-8

 of the ’209 patent are invalid for lack of enablement.

       25.    Amneal will prove that claims 1-8 of the ’209 patent are invalid for

 lacking enablement of the full scope of the claimed compositions.

       B.     ’785 Patent

       26.    Amneal will prove by clear and convincing evidence that claims 1, 5,

 and 8 of the ’785 patent are invalid as anticipated.

       27.    Amneal will prove by clear and convincing evidence that claims 1, 5,

 and 8 of the ’785 patent are invalid because the claimed inventions would have

 been obvious to a POSA as of the effective filing date of that claim, in light of the

 scope and content of the prior art, the differences between the claim and the prior

 art, and the level of ordinary skill in the art at the time.




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       28.    Specifically, Amneal will prove by clear and convincing evidence that

 claims 1, 5, and 8 of the ’785 patent are invalid as obvious in light of various

 combinations of prior art references and/or the knowledge and skill in the art as of

 the effective filing date of that claim. Amneal will prove by clear and convincing

 evidence that the combinations of these prior art references disclose, expressly or

 inherently, every limitation of claims 1, 5, and 8 of the ’785 patent, that a POSA

 would have had a reasonable motivation to combine the teachings of the references

 to obtain the subject matter of those claims, and that a POSA would have had a

 reasonable expectation of success.

       29.    Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid as anticipated by the prior sale and public use of Original Vasostrict® with

 its prescribing information.

       30.    Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid as obvious over the prior sale and public use of Original Vasostrict® with

 its prescribing information in view of Bi 1999, in light of the full scope and content

 of the prior art and the level of ordinary skill in the art at the time.

       31.    Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid as obvious over the April 2014 Vasostrict® Label in view of Bi 1999, in

 light of the full scope and content of the prior art and the level of ordinary skill in

 the art at the time.


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       32.      Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid as obvious over the prior sale and public use of Pitressin® with its

 prescribing information in view of Bi 1999, in light of the full scope and content of

 the prior art and the level of ordinary skill in the art at the time.

       33.      Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid as obvious over the prior sale and public use of American Regent

 Vasopressin Injection with its prescribing information in view of Bi 1999, in light

 of the full scope and content of the prior art and the level of ordinary skill in the art

 at the time.

       34.      Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid as obvious over LT ’487 in view of Bi 1999, in light of the full scope and

 content of the prior art and the level of ordinary skill in the art at the time.

       35.      The specific obviousness combinations listed above do not include the

 background references Amneal may rely on for establishing the state of the art,

 motivation, or expectation of success. Amneal may rely on additional references

 to establish the state of the art, motivation, or expectation of success. Amneal may

 also rely on additional references to rebut non-obviousness arguments raised by

 Plaintiffs. Amneal may also rely on any obviousness combination disclosed in its

 experts’ reports.




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       36.    Amneal will prove by clear and convincing evidence that claims 1, 5,

 and 8 of the ’785 patent are invalid for lack of adequate written description.

       37.    Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid for lack of adequate written description of the full scope of the claimed

 compositions.

       38.    Amneal will prove by clear and convincing evidence that claims 1, 5,

 and 8 of the ’785 patent are invalid for lack of enablement.

       39.    Amneal will prove that claims 1, 5, and 8 of the ’785 patent are

 invalid for lacking enablement of the full scope of the claimed compositions.

 IV.   INEQUITABLE CONDUCT

       40.    Amneal will prove that Vinayagam Kannan, Craig Kenesky, and

 Michelle Bonomi-Huvala committed inequitable conduct during the prosecution of

 U.S. Patent No. 9,744,239 (“the ’239 patent”), which renders that patent

 unenforceable.

       41.    Amneal will prove that Vinayagam Kannan, Craig Kenesky, and

 Michelle Bonomi-Huvala committed affirmative egregious misconduct through

 submission of false declarations to the U.S. Patent & Trademark Office (“PTO”)

 during the prosecution of the ’239 patent.

       42.    Specifically, facing an anticipation and obviousness rejection by the

 Examiner over the prior art April 2014 Vasostrict® Label, the declarations falsely


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 represented to the Examiner that the named inventors of the ’239 patent

 Vinayagam Kannan and Matthew Kenney-invented the subject matter set forth in

 the April 2014 Vasostrict® Label relied on by the Examiner, and that the named

 inventors had provided that subject matter to Par’s Regulatory Group for

 submission to the FDA.

       43.      Based on the false representations, Par’s prosecution counsel Craig

 Kenesky asked the Examiner to remove the April 2014 Vasostrict® Label from her

 consideration as prior art pursuant to Title 35, Section 102(b)(l)(A) of the America

 Invents Act.

       44.      Amneal will prove that the named inventors did not in fact invent the

 subject matter set forth in the April 2014 Vasostrict® Label, and that the declarants

 and Mr. Kenesky knew that the named inventors did not in fact invent the subject

 matter set forth in the April 2014 Vasostrict® Label.

       45.      Amneal will prove that the Examiner accepted the false

 representations set forth in the Kannan and Bonomi-Huvala declarations, and as a

 result, the Examiner proceeded to remove the April 2014 Vasostrict® Label from

 her consideration as prior art and withdrew her anticipation and obviousness

 rejections based on that reference.

       46.      Par does not dispute that the April 2014 Vasostrict® Label is prior art

 to the ’239 patent or the Patents-in-Suit.


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       47.    The unmistakably false Kannan and Bonomi-Huvala declarations are

 presumed to be material and submitted with intent to deceive. However, to the

 extent necessary, Amneal will prove that the submission of the false declarations

 during the prosecution of the ’239 patent, and the Examiner's subsequent

 withdrawal of her anticipation rejection based on the April 2014 Vasostrict®

 Label, were material to the patentability of the patent.

       48.    Further, to the extent necessary, Amneal will prove that Vinayagam

 Kannan, Craig Kenesky, and Michelle Bonomi-Huvala submitted the false

 declarations with the specific intent to mislead or deceive the PTO.

       49.    Amneal will prove that the Patents-in-Suit, which are continuations-

 in-part of the ’239 patent, are also unenforceable due to the inequitable conduct

 committed during the prosecution of the ’239 patent, under the doctrine of

 infectious unenforceability.

       50.    Amneal will prove that the Patents-in-Suit are also unenforceable

 because the named inventors committed inequitable conduct by withholding

 information regarding the prior art Pitressin® product from the PTO.

       51.    Amneal will prove that the information withheld from the PTO by the

 named inventors regarding the prior art Pitressin® product was material to the

 patentability of the Patents-in-Suit.




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       52.     Amneal will prove that the named inventors withheld the information

 regarding the prior art Pitressin® product from the PTO with specific intent to

 mislead or deceive the PTO.

       53.     Amneal will prove that the Patents-in-Suit are further unenforceable

 because the named inventors committed inequitable conduct by intentionally

 withholding and misrepresenting information relevant to their assertions of

 criticality of the pH limitations set forth in the claims of the ’239 patent and the

 Patents-in-Suit.

       54.     Specifically, the named inventors only secured the issuance of the

 ’239 patent and the Patents-in-Suit by submitting a series of declarations during

 prosecution alleging that three distinct pH values and ranges (i.e., 3.5-4.1, 3.7-3.9,

 and 3.8) are critical to stability of vasopressin formulations, and therefore are

 nonobvious.

       55.     Amneal will prove that the named inventors misrepresented to the

 PTO that the stability data for their vasopressin formulations demonstrated the

 criticality of the claimed pH values and ranges.

       56.     Amneal will prove that the inventors’ misrepresentations regarding

 the alleged criticality of the claimed pH values and ranges was material to the

 patentability of the Patents-in-Suit.




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           57.   Amneal will prove that the named inventors misrepresented the

 criticality of the claimed pH values with specific intent to mislead or deceive the

 PTO.

 V.        REMEDIES

           58.   Amneal will show that it is entitled to judgment that it has not

 infringed any of the Patents-in-Suit and that the Asserted Claims are invalid and

 unenforceable.

           59.   Amneal will show that Plaintiffs are not entitled to an order, pursuant

 to 35 U.S.C. § 271(e)(4)(A), that the effective date of any approval of Amneal’s

 ANDA Nos. 212944 and 212945 shall not be earlier than the last expiration date of

 the Patents-in-Suit.

           60.   Amneal will show that Plaintiffs are not entitled to injunctive relief

 and cannot satisfy their burden for obtaining an injunction. Amneal may introduce

 evidence to rebut any assertion by Plaintiffs that they are entitled to injunctive

 relief.

           61.   Amneal will show that Plaintiffs are not entitled to judgment against

 Amneal for infringement of any Asserted Claim. Amneal may introduce evidence

 to rebut any assertion by Plaintiffs that they are entitled to judgment against

 Amneal for infringement of any Asserted Claim.




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         62.   Amneal will show that Plaintiffs are not entitled to damages or other

 monetary relief. Amneal may introduce evidence to rebut any assertion by

 Plaintiffs that they are asserted to damages or other monetary relief.

         63.   Amneal will show that this case is exceptional under 35 U.S.C. § 285

 and the Court should award reasonable attorney fees to Amneal.

         64.   Amneal will show that the Court should award costs to Amneal.

         65.   Amneal will show that Plaintiffs are not entitled to costs or attorney

 fees.




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